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                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA



 East Bay Sanctuary Covenant, et al.,

                Plaintiffs,
                                                          Case No.: 18-cv-06810-JST
                v.

 Joseph R. Biden, President of the United States, et
 al.,

                Defendants.


                        PLAINTIFFS’ SUPPLEMENTAL APPENDIX
        The following documents are supplemental excerpts of the administrative records cited

in support of Plaintiffs’ concurrently-filed reply in support of their motion for summary

judgment and opposition to Defendants’ cross motion for summary judgment.

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 1.   Comprehensive Regional Protection and Solutions Framework, CLP_AR_0005009-32
      MIRPS National Action Plan: Belize, Costa Rica, El Salvador,
      Guatemala, Honduras, Mexico, Panama
 2.   Creative Associates, Saliendo Adelante: Why Migrants Risk It CLP_AR_0005077-88
      All (Sept. 2019)
 3.   Inter-Agency Coordination Platform for Refugees & Migrants CLP_AR_0006307-53
      from Venezuela, Regional Refugee and Migrant Response
      Plan Jan. 2023-Dec. 2024 [Colombia & Ecuador] (Nov. 30,
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 1.   Diego Fernandez-Pages Public Comment (Mar. 7, 2023)                CLP_PC_003999-4002
 2.   American Immigration Lawyers Association and American              CLP_PC_020712-38
      Immigration Council Public Comment (Mar. 26, 2023)
 3.   Brooklyn Defender Services Public Comment (Mar. 27, 2023)          CLP_PC_021450-70
 4.   U.S. Dep’t of State, Nicaragua 2021 Human Rights Report            CLP_PC_024058-104
      (Apr. 2022)
 5.   U.S. Dep’t of State, Panama 2021 Human Rights Report (Apr.         CLP_PC_024113-43
      2022)
 6.   International Refugee Assistance Project Public Comment            CLP_PC_031200-32
      (Mar. 27, 2023)
 7.   American Gateways Public Comment (Mar. 27, 2023)                   CLP_PC_031496-518
 8.   U.S. Dep’t of State, Mexico Travel Advisory (Oct. 5, 2022)         CLP_PC_033467-79



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MIRPS NATIONAL
   ACTION PLAN
                      BELIZE
                COSTA RICA
               EL SALVADOR
                GUATEMALA
                 HONDURAS
                     MEXICO
                    PANAMA
                                                      CLP_AR_005009
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     NATIONAL PLANS OBJECTIVES

           • Improve mechanisms for reception and admission

 • Respond to immediate and persistent humanitarian and protection needs

                • Support host countries and communities

              • Enhance opportunities for durable solutions




FOCUS AREAS:




         PROTECTION             JOBS AND               SOCIAL
                              LIVELIHOODS            PROTECTION




                      EDUCATION             HEALTH




COMMITMENTS BY COUNTRY
        BELIZE · COSTA RICA · EL SALVADOR · GUATEMALA ·
                   HONDURAS · MEXICO · PANAMA

                                                           CLP_AR_005011
                                                                           3
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MIRPS NATIONAL ACTION PLAN IN
                       BELIZE

10 TOTAL COMMITMENTS
FOCUS AREAS:




           PROTECTION                       JOBS AND                      EDUCATION
         7 COMMITMENTS                    LIVELIHOODS                   1 COMMITMENT
                                        2 COMMITMENTS




 Committed to a comprehensive refugee response, Belize has been improving standard operating
 procedures for identiﬁcation, reception and referral of refugees, while simultaneously upgrading
 the quality of refugee status determination processes. Effects of the current pandemic however
 have created obstacles, delaying envisioned progress. Similar delays have occurred in advancing
 sustainable solutions in the livelihoods sector as negative socioeconomic fall-out from the pandem-
 ic has limited the absorption capacity of the formal and informal economies. Within its recovery
 plan, Belize has identiﬁed Technical Vocational Education and Training, when adopting new trans-
 formational vocations, as key instrument for creating new growth industries, while possessing suffi-
 cient potential to rebuild Belize’s economy and to include young refugees, migrants and vulnerable
 nationals in delivering individual and common beneﬁts.




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                                                                                          BELIZE
        PROTECTION                                                  EDUCATION
•   Capacity building for all relevant Government au-       •   Support to comprehensive knowledge-, skills-, and
    thorities, delivering Standard Operating Proce-             livelihood-based integration opportunities
    dures for POC referral
•   Provision of information to POC in relation to ad-
    mission to territory and asylum processes                       JOBS AND LIVELIHOODS
•   Provision of public information campaigns, to sen-
    sitize the general population about the reality of      •   Collaboration with international community in rela-
    refugees in Belize                                          tion to improved opportunities for refugee integra-
•   Improved comprehensive data collection (applica-            tion
    tions; admissions; rejections) and analysis System      •   Optimize internal coordination, ensuring that asy-
•   Consideration of participation in the Quality Assur-        lum-seekers access all social services to which
    ance Initiative (QAI) for strengthening of the asylum       they are entitled
    process                                                 •   Mapping and data collection exercises on POC and
•   Exchange of information with MIRPS States on best           host communities to create evidence for inclusion
    practices and mechanisms of responsibility sharing          in national plans




                                                                                         CLP_AR_005013
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MIRPS NATIONAL ACTION PLAN IN
                  COSTA RICA

32 TOTAL COMMITMENTS
FOCUS AREAS:




   PROTECTION                 JOBS AND                     SOCIAL                    EDUCATION
11 COMMITMENTS              LIVELIHOODS                  PROTECTION               5 COMMITMENTS
                          4 COMMITMENTS               12 COMMITMENTS




 Costa Rica stands on a long tradition of providing asylum and protection to refugees and asylum
 seekers. However, its national asylum system is under pressure as a result of displacement situ-
 ations in the region, particularly Nicaragua. The country hosts approximately 100,891 persons in
 need of international protection, this ﬁgure represents 2% of Costa Rica total population. Out of that
 number 90,891 are asylum seekers (mostly Nicaraguans) and 9,801 refugees.
 Through the implementation of its national chapter Costa Rica increased the overall recognition
 rate of refugees from 21% (2019) to 49% in 2020. Similarly, the Refugee Unit opened an office in
 the northern border to ensure access to the national asylum system. The access to state-run social
 services extended to include asylum seekers and refugees on an equal standing with nationals and
 provided medical insurance to 6,000 refugees and asylum seekers in high vulnerability.
 Despite these efforts, the pandemic has aggravated the challenges to respond to this population,
 including extended claim processing times, loss of livelihoods, economic hardships, and xenopho-
 bia. In response to this scenario, the national technical team quantiﬁed and developed three con-
 cept notes on key sectors that include social assistance services, health services and the access to
 the national asylum system for refugees and asylum seekers




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                                                                         COSTA RICA
        PROTECTION                                            •   Adaptation of the RSD Procedures for people with
                                                                  disabilities: CONAPDIS will advise the DGME to de-
                                                                  velop a mechanism to assist asylum-seekers with
•   Presence at the border: Strengthen the agree-                 cognitive, physical or sensory disabilities during the
    ment that exists between the DGME and UNHCR                   refugee status determination procedures
    to maintain the current presence of personnel at
    border migration posts in Peñas Blancas, Los Chil-
    es and Tablillas in the north, Paseo Canoas in the
    south; as well as extend it with at least one person
    in the ports of Golﬁto, Limón, Caldera and in both
    international airports                                            EDUCATION
•   Regionalization of the Shelter Unit: Advance in the
    regionalization of the Shelter Unit in Upala, Liberia,    •   Flexible requirements for academic training: The
    Paso Canoas and Limón to decentralize the func-               INA will develop an alternative mechanism to check
    tions of this Unit                                            the academic requirements and / or the matching
•   Strengthening CATEM: Ensure the allocation of                 of technical skills of refugees who want to enter
    funds for the maintenance of the infrastructure,              technical training courses. Likewise, it will carry out
    equipment and administration of CATEM as a good               joint actions with the private sector for the promo-
    regional practice as an alternative to administrative         tion of learning internships and the certiﬁcation of
    detention                                                     competencies through dual training opportunities
•   Promote national or international public-public and/      •   Provision of alternative evidence for the recogni-
    or public-private alliances for fundraising and re-           tion of academic degrees: CONARE will incorpo-
    sponse to the needs for legal assistance and spon-            rate the Consular Section of the Ministry of Foreign
    sorship for applicants in procedures for determin-            Affairs to the agreement of understanding with UN-
    ing refugee status                                            HCR for the provision of alternative evidence for
•   Project for the prevention of delays: Project for the         the formalization of the application for recognition
    prevention of delays: Increase the number of spe-             of academic degrees and professional degrees in
    cialized officers in refuge matters, in at least 6 peo-       country of origin in favour of refugees
    ple for each of the instances                             •   Technological Literacy Project: The Ministry of Cul-
•   Strengthening the CVRR: Assign a full-time Special-           ture, IMAS and the Ministry of Science and Tech-
    ized Legal Advisor to each Commissioner, by the               nology will promote the technological literacy of
    respective Ministries in order to assist in the review        asylum-seekers and refugees through literacy ac-
    of ﬁles received by the Unit of Shelter, and in the           tivities of the National Library System (SINABI) and
    elaboration of draft resolutions of the CVRR                  the National Strategy of Costa Rica Digital (access
                                                                  to equipment)
•   Modernization of the TAM: Establish the Migratory
    Administrative Court (TAM) with two specialized           •   Project for the recognition of the contributions of
    administrative sections: one for refuge matters and           the population to the culture of the host communi-
    another in immigration.                                       ties: The Ministry of Culture and Youth will strength-
                                                                  en the information and training processes of the
•   Documentation for refuge applicants: Submit the
                                                                  cultural advisors of the local governments that are
    provisional identiﬁcation document with DIMEX
                                                                  carrying out activities with population of interest, to
    numbering and temporary work permit at the time
                                                                  promote the recognition of refugees to the cultural
    of ﬁling the application for the condition of refugee.
                                                                  dynamics of the host communities
•   Maintain no-cost documentation for the applicants
                                                              •   Refugee children in the SINEM project: The Nation-
    for refugee status and reduce the cost of documen-
                                                                  al Music Education System (SINEM) will give free
    tation for refugees
                                                                  access to refugee minors to music education pro-
•   Guarantee the non-refoulement principle: Establish            cesses, including free access to musical instrument
    complementary protection or other mechanisms to
    guarantee the non-refoulement principle for peo-
    ple who do not meet the requirements to be rec-
    ognized as refugees but should not be returned to
    their country of origin, because of reasonable risk
    of suffering harm




                                                                                             CLP_AR_005015
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                                                                           COSTA RICA
                                                               •   Protocol for the attention of refugee women: INAMU
        JOBS AND LIVELIHOODS                                       together with the DGME, PANI and UNHCR will de-
                                                                   velop a protocol for the assistance of women, ad-
                                                                   olescent mothers and victims of gender-based vio-
•   Employment opportunities for LGTBI populations:                lence that allows the coordination and attention of
    The Ministry of Human Development and Social In-               refugees and asylum-seekers cases in Costa Rica;
    clusion, in coordination with the Costa Rican Cham-            this will include women in Attention Centres
    ber of Commerce and with the support of UNHCR,
    will develop a training and job placement program          •   Protocol for the protection and attention of refugee
    for refugees from LGBTI communities                            children: The PANI, with support from UNHCR and
                                                                   DGME, will update the Protocol for the protection
•   Digital Consultation initiative for Work Permits: The          and attention of refugee children following interna-
    DGME, in coordination with the Ministry of Labour              tional standards. The protocol shall include actions
    and Social Security and the support of UNHCR, will             for the protection of unaccompanied or separated
    create a digital consultation mechanism that allows            children and at risk of Statelessness
    refugees to certify the validity of their work permit to
    potential employers                                        •   Fund for DNA testing: The PANI will develop a pro-
                                                                   ject for the creation of a fund for DNA testing for ref-
•   Intermediation for the inclusion for refugees in the           ugee families or asylum-seekers, to be used when in
    labour market: (a) The Ministry of Labour and Social           doubt of the ﬁlial link to prevent trafficking or other
    Security will provide effective access to labour in-           type of activities that affect children
    termediation programs such as www.buscoempleo.
    go.cr, EMPLEATE Program, My First Job and PRO-             •   Protocol for the elderly refugee population: The Min-
    NAE 4x4, in addition to the micro-enterprise support           istry of Human Development and Social Inclusion in
    programs. (b) The National Labour Inspectorate will            coordination with CONAPAM will manage the devel-
    consider refugee persons in its procedures with the            opment of a specialized protocol for the attention of
    objective of ensuring that their labour rights and em-         elderly refugee populations, allowing access to pub-
    ployer obligations are recognized on equal terms as            lic services and the right to health
    nationals. (c) Informative actions will also be carried    •   Protocol for the attention of refugees with problem-
    out on current legislation to improve the recognition          atic use of psychoactive substances: The IAFA will
    of ID documents and reduce discrimination and xen-             develop a protocol for the attention of refugee pop-
    ophobia during recruitment and selection processes             ulation in recovery centres for people with addition
•   Project for the promotion of entrepreneurship: The             and under the supervision of the Institute
    Ministry of Economy, Industry and Commerce will            •   Solidarity networks for refugees: The Ministry of Hu-
    include ventures led by refugees in the Entrepre-              man Development and Social Inclusion, with the col-
    neurs Registry and will encourage their participation          laboration of UNHCR, will promote the participation
    in business meetings and other activities organized            of civil society in the attention of refugees through
    by the Ministry to strengthen micro and small busi-            research and professional practice initiatives with
    nesses                                                         public and private universities
                                                               •   Methodology for the quantiﬁcation of the state’s
                                                                   contribution to refugees: The Ministry of National
        SOCIAL PROTECTION                                          Planning and Economic Policy (MIDEPLAN), with
                                                                   technical support from the OECD, will develop a
                                                                   methodology for quantifying the state’s contribu-
•   Inclusion of a category of “refugee or asylum-seeker”          tion on refugees. Formulation, validation and imple-
    in the Social Information Sheet: The Ministry of Hu-           mentation of a system of simultaneous generation
    man Development and Social Inclusion will instruct             of actual data on ﬁnancial gaps to cover all the pro-
    all institutions of the social sector and the National         grammes available for refugees and asylum-seek-
    Registration System of Beneﬁciaries (SINIRUBE) to              ers. Also, training for officers at institutional levels for
    include the categories in their information sheets             the optimal use and analysis capacity that facilitates
•   Protocols for refugee assistance in the social sec-            decision-making and the collection of resources in
    tor: The Ministry of Human Development and Social              international cooperation
    Inclusion will provide technical support to all institu-   •   MINARE permanent team: The MINARE Technical
    tions in the social sector to establish protocols that         Team will be a permanent mechanism for monitor-
    allow the standardization of the assistance provid-            ing, evaluation and fundraising that ensures the
    ed to refugees and asylum-seekers, and for the im-             sustainability of the MINARE’s implementation. The
    plementation of internal awareness processes that              team will be coordinated by the Ministry of Govern-
    guarantee the application of these protocols at all            ance and Police through monthly meetings. UNHCR
    levels within the institution                                  will participate as a technical secretariat
•   National programmes for the reduction of poverty:          •   Temporary housing program: The Ministry of Hous-
    The Ministry of Human Development and Social In-               ing and Human Settlements (MIVAH) will look for
    clusion will include refugees and asylum-seekers in            ways to incorporate asylum-seekers into their ser-
    the poverty reduction programmes implemented by                vices in order to facilitate a housing solution, with an
    the Institute of Social Assistance                             inclusive approach
                                                                                                CLP_AR_005016
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MIRPS NATIONAL ACTION PLAN IN
                EL SALVADOR

49 TOTAL COMMITMENTS
FOCUS AREAS:




  PROTECTION                   JOBS AND                     EDUCATION                    HEALTH
27 COMMITMENTS               LIVELIHOODS                 5 COMMITMENTS               7 COMMITMENTS
                           10 COMMITMENTS




 Since joining the MIRPS, El Salvador is highly committed to address forced displacement, deﬁning
 a comprehensive National Action Plan that involves 7 line-ministries. Despite challenges posed by
 Covid-19, during 2020 the country managed to advance more than 15 commitments, particularly in
 the areas of protection and education, including the IDP Law approval, hiring and specialized train-
 ing of staff, adequation of a shelter, enhancement of asylum capacity, deﬁnition of a roadmap for the
 protection of displaced children and adolescents in the education system, among others. During
 2021, efforts will be focused in the areas of education, health, and livelihoods / jobs, as priorities to
 reduce greater vulnerability of POC, as well partnership-building with relevant cooperation actors
 to cover gaps and reach goals.




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                                                                 EL SALVADOR
        PROTECTION                                          •   Establish a specialized unit for displaced popu-
                                                                lations with technical teams trained to attend to
                                                                those with different proﬁles within the DAV.
•   Creation and installation of shelters and shelters to   •   Creation of the Single Registration of displaced
    serve internally displaced persons and deported             populations and people at risk of forced displace-
    persons in need of protection (with a focus on the          ment, carrying out annual statistical analyses.
    family unit); that have adequate protocols for their    •   Update the study on internal displacement proﬁl-
    management.                                                 ing.
•   Training of personnel in specialized legal assis-       •   Develop studies and analyses on the types of dis-
    tance (economic, social and cultural rights), and on        possession of property and housing; analyse the
    the protection of property and assets for popula-           legal, regulatory and institutional framework to pro-
    tions of interest                                           pose possible protection actions
•   Review and update of existing protocols and road-       •   Identify spaces for the installation of shelters for
    maps in the GAMI to include specialized care for            asylum-seekers
    vulnerable populations (children and adolescents,
                                                            •   Design and implement a strategy with a communi-
    women, families, LGBTI population, persons with
                                                                ty approach, for monitoring protection services at
    disabilities, elderly).
                                                                local offices
•   Implementation of the single migratory registry by
                                                            •   Design and implement contingency plans at the
    all institutions in the GAMI; design and implemen-
                                                                municipal level to generate early alerts and re-
    tation of a module on protection, to strengthen the
                                                                sponses to forced displacement.
    identiﬁcation and management of cases of depor-
    tees with protection needs (children and adoles-        •   Strengthen the community approach of local offic-
    cents, women, families, LGBTI population, people            es through interinstitutional and intersectoral coor-
    with disabilities, elderly).                                dination.
•   Establishment of a training plan for the GAMI per-      •   Present the project for the creation of a Special
    sonnel, which ﬁlls the identiﬁed needs with the in-         Law for the Attention of Populations At-Risk of
    volvement of competent institutions according to            Forced Displacement and other regulatory frame-
    their expertise.                                            works that provide greater protection for internally
                                                                displaced persons.
•   Creation, printing and dissemination of informative
    material on the services available in the GAMI.         •   Coordinate with COMURES for the elaboration of
                                                                guidelines and principles related to the implemen-
•   Training processes on the identiﬁcation of people
                                                                tation of policies and roadmaps for the attention on
    with protection needs, for the consular networks in
                                                                forced displacement at the local level, to boost the
    Mexico, the United States and Guatemala.
                                                                participation of local governments in the response.
•   Design of a protocol for the identiﬁcation and assis-
                                                            •   Promote the development of a policy for the at-
    tance of people with protection needs outside the
                                                                tention, protection and solutions for internally dis-
    country, including roadmaps for the direct linkages
                                                                placed persons at the national and local levels.
    with national services.
                                                            •   Present the Law initiative for the granting of “Inter-
•   Conduct training on international protection and
                                                                national Protection and Statelessness”. Integration
    Refugee Status Determination for DGME officers
                                                                of the refugee population in El Salvador.
    and child protection institutions at the borders and
    in other institutions involved.                         •   Encourage the creation of spaces for dialogue, par-
                                                                ticipation and consultation between the central and
•   Strengthen the CODER Secretariat and Subcom-
                                                                local government and the forcibly displaced popu-
    mittee, and increase their capacities for the analy-
                                                                lation to promote their participation in the design of
    sis and resolution of applications.
                                                                local, municipal or departmental plans or policies
•   Design and disseminate educational materials on             for comprehensive care.
    Refugee Status Determination in El Salvador.
                                                            •   Promote, together with the municipalities, the crea-
•   Establish a document that certiﬁes that a person            tion or adjustment of mechanisms, programs, plans
    has started the Refugee Status Determination and            or local, municipal or departmental policies for hu-
    is awaiting for a resolution.                               manitarian assistance and reception for internally
•   Review and update the protocol for the assistance           displaced persons in prioritized municipalities that
    for internally displaced persons, establishing road-        have a greater number of displaced population or
    maps according to speciﬁc proﬁles and their needs,          at risk of being displaced.
    for monitoring cases and mapping existing servic-
    es.



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                                                                EL SALVADOR
        EDUCATION                                                  HEALTH
•   Develop and implement an internal roadmap for          •   Design and implement information and awareness
    the protection of displaced children and adoles-           campaigns on the right of access to health for dis-
    cents, and for at-risk teachers.                           placed persons, deportees in need of protection,
•   Inclusion of variable on school dropout due to dis-        refugees and asylum seekers.
    placement in the SIGES NID SYSTEM, to get relia-       •   Preparation of a specialized protocol for compre-
    ble information on the magnitude of the impact on          hensive health care (medical and psychosocial) for
    the educational community.                                 displaced persons, deportees in need of protec-
•   Include courses on forced displacement caused by           tion, refugees and asylum seekers.
    violence, and on primary psychological attention, in   •   Provide specialized training to health system offi-
    the training programmes for teachers.                      cials on psychological, psychiatric and psychoso-
•   Implement psychosocial care programs to mitigate           cial care for people affected by forced displace-
    the impact of violence, with children and adoles-          ment (internally displaced people, deportees in
    cents in contexts of social violence and at risk of        need of protection, refugees and asylum seekers).
    dropping out of school.
                                                           •   Coordinate comprehensive mobile care (Medical
•   Design and implement an educational strategy in            and psychosocial) for health services in shelters
    schools, to raise awareness on the inclusion of dis-       and reception areas to care for displaced people,
    placed children and adolescents.
                                                               deported people in need of protection, refugees
                                                               and asylum seekers.
                                                           •   Design a model of psychological / psychosocial
        JOBS AND LIVELIHOOD                                    care for people affected by violence (internally dis-
                                                               placed people, deportees in need of protection,
                                                               refugees and asylum seekers).
•   Design campaigns to inform and raise awareness
    on the rights of displaced populations and existing    •   Design indicators of internal forced displacement
    services                                                   for inclusion in the MINSAL Information System for
                                                               the analysis of the impact on health of internally
•   Disseminate information to raise awareness in gov-         displaced persons, as an input for the design of
    ernmental institutions and the private sector about
                                                               programs and interventions.
    the rights and issuance of identity documents for
    asylum-seekers and refugees.                           •   Include within its policies and protocols of compre-
•   Prioritize displaced and at-risk women and youth in        hensive health care (direct medical care, psychoso-
    employment rosters                                         cial care, care for chronic diseases, special health
                                                               conditions) to guarantee the continuity of care and
•   Strengthen and coordinate the Roundtable for La-           access to speciﬁc medicines for displaced people,
    bour Insertion, and coordinate with different LGBTI
                                                               deported people in need of protection, refugees
    associations and INSAFORP for the technical train-
                                                               and asylum seekers, without discrimination.
    ing of populations of interest.
•   Awareness campaign with the private sector to pro-
    mote the recruitment of LGBTI population.
•   Expand and strengthen the entrepreneurship pro-
    gramme to support and sponsor displaced per-
    sons, asylum-seekers and deportees with protec-
    tion needs.
•   Create a Specialized Centre that promotes tech-
    nical and vocational programs, access to tertiary
    education, livelihoods, and labour insertion (in co-
    ordination with the private sector) for displaced
    populations.
•   Promote a programme for skills training for dis-
    placed populations.
•   Design of a local integration model for refugees
    and asylum-seekers that includes legal, economic
    and social actions.
•   Dissemination of the new Migration and Foreigners
    Law for the population nationwide
                                                                                         CLP_AR_005019
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MIRPS NATIONAL ACTION PLAN IN
                 GUATEMALA

30 TOTAL COMMITMENTS
FOCUS AREAS:




   PROTECTION                 JOBS AND                    EDUCATION                    HEALTH
19 COMMITMENTS              LIVELIHOODS                2 COMMITMENTS                1 COMMITMENT
                          8 COMMITMENTS




 The purpose of the National Action Plan is to provide a comprehensive response to persons with
 protection needs, among the results obtained in its implementation, is the strengthening of the
 capacities of government institutions, as well as the improvement in the procedure of registration
 and resolution of asylum seekers and alliances between the public and private sectors about the
 importance of formal employment when it comes to equality of opportunities for vulnerable groups.
 Guatemala has prioritized working in the protection, jobs and livelihood sectors, the expected re-
 sults for this year are the labour inclusion of asylum-seekers and refugees, improve the protection
 for children and adolescents especially in border areas and the creation of decent and specialized
 shelters for the care of persons in need of international protection. To achieve the expected results,
 it is necessary to expand resources to complement state efforts.




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                                                                       GUATEMALA
        PROTECTION                                           •   Design, create and implement a mechanism for
                                                                 registering cases and complaints about human
                                                                 rights violations against migrants in transit through
•   Strengthen the institutional capacity of the General         Guatemalan territory.
    Directorate of Migration / Guatemalan Institute of       •   Create and/or improve adequate spaces with inter-
    Migration, particularly those capacities related to          view rooms that guarantee the conﬁdentiality of the
    attention and protection.                                    information of asylum-seekers, as well as special-
•   Awareness raising and training of migration dele-            ized and friendly spaces for children and adoles-
    gates, National Police, Army, Jurisdictional Bodies          cents.
    and border security personnel and airports in the        •   Expand the staff of eligibility officers that process
    ﬁeld of international protection.                            refugee applications at the General Directorate of
•   Inclusion of refugee-related courses in the training         Migration / Guatemalan Migration Institute.
    programmes for authorities involved in the nation-       •   Start the creation of a multidisciplinary team for the
    al protection systems, including information from            international care and protection of refugees and
    the Migration Code, the Law for the Protection of            refugee applicants.
    Children and Adolescents, and other international        •   Preparation of a diagnosis for the creation of open
    protection measures and instruments.                         shelters in decent conditions, specialized for the
•   Prepare and update the regulations and proto-                population with international protection needs, with
    cols for attention and protection of refugees and            specialized and trained teams.
    asylum-seekers, in accordance with the Migration         •   Restructure the Temporary Foster Care Program,
    Code, including information on refugees and other            for the care of returned girls, boys and adolescents
    measures taken by the Government, such as the                in transit with international protection needs.
    humanitarian visa.
                                                             •   Strengthen inter-institutional and intersectoral co-
•   Strengthen the awareness raising and training pro-           ordination to expand basic service options to refu-
    cesses for border migration delegates on the iden-           gees and refugees.
    tiﬁcation of people with protection needs.
                                                             •   Create the international protection mechanism in
•   Preparation and distribution of informative materi-          transit for people at high risk who need support
    als on access to refuge and other systems of inter-          for safe and regular access to countries of refuge
    national protection and care for migrants.                   (MINEX-UNHCR)
•   Strengthening of the Reception Centres for the           •    Include in the Institutional Strategic Plans, Multian-
    identiﬁcation (in situ) of returned Guatemalan peo-          nual Plan and Annual Operational Plan the provi-
    ple with protection needs and victims of rights vio-         sion of basic services to people with international
    lations in the returning process.                            protection needs.
•   Training and awareness raising of officials who
    work with the migrant population, for a comprehen-
    sive approach, taking into account the age, gender
    and diversity of the people, with special attention to
    unaccompanied girls, boys and adolescents, wom-
    en at risk, LGTBI population, victims trafficking, the           HEALTH
    elderly and people with different abilities.
•   Strengthening the governing institutions for the         •   Strengthening of the Directorate for the Attention
    protection of children and adolescents, especially           to Migrants of the Ministry of Public Health and So-
    in border areas.                                             cial Assistance.
•   Develop the Regulation of the Migration Code for
    the continuity of the permit mechanism for people
    in transit, in order to ensure regular transit through
    the country.




                                                                                            CLP_AR_005021
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                                                                      GUATEMALA
        EDUCATION                                                   JOBS AND LIVELIHOOD

•   Negotiation and implementation of regional and in-      •   Propose changes to the labour regulations to allow
    ternational agreements for the recognition of study         the access to work permits for refugees and asy-
    certiﬁcates with special attention to the speciﬁc           lum-seekers.
    needs and difficulties of refugees in presenting        •   Design awareness campaigns for the private sector
    documentation from their countries of origin.               and public officers on rights of refugees, especially
•   Coordination of actions with local authorities and          on labour market and access to services ( job fairs).
    educational institutions throughout the country for     •   Strengthening information campaigns for general
    the inclusion of children and young people into the         public on labour rights and insertion of refugees
    national education system. These include aware-             and asylum-seekers.
    ness campaigns about the risks and consequences         •   Prioritize the process and resolution of work per-
    of the migration route; and the socialization of the        mits requests for refugees and asylum-seekers.
    guide for the attention of the student population
    on the move. Preparation and implementation of          •   Facilitate access to Spanish language courses for
    the roadmap for the attention of the Guatemalan             refugee and refugee applicants.
    migrant population in the process of accreditation      •   Create an intersectoral mechanism for the estab-
    and certiﬁcation of labor competencies. Implemen-           lishment of roadmaps and national strategies for
    tation and socialization of Ministerial Agreement           the labour insertion of returned Guatemalans with
    696-2017 which establishes “to validate the stud-           or without needs of international protection.
    ies of deported Guatemalans who will continue           •   Give continuity to statistical studies and improve
    their training in the National Educational System”          registration systems to understand the proﬁles of
    (Agreement 696-2017 was repealed, by Ministerial            returnees, asylum seekers or refugees, including
    Agreement 1753-2019 “Regulation of Equalization             labour proﬁling, for their integration and, if neces-
    and Equivalences of studies at the levels of pre-pri-       sary, internal relocation.
    mary, primary and secondary education, and in the       •   Design awareness campaigns for the private sec-
    subsystems of school and extracurricular educa-             tor on labor inclusion of returned Guatemalan mi-
    tion ”)                                                     grants.




                                                                                          CLP_AR_005022
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MIRPS NATIONAL ACTION PLAN IN
                  HONDURAS

44 TOTAL COMMITMENTS
FOCUS AREAS:




           PROTECTION                        JOBS AND                        EDUCATION
         39 COMMITMENTS                    LIVELIHOODS                     1 COMMITMENT
                                         4 COMMITMENTS




 Honduras made progress on (i) identifying the causes, impacts, and magnitude of displacement
 through a Characterization Study at the national level; (ii) the technical and participatory drafting of
 a Bill that deﬁnes the framework of protection and care for the internally displaced population; (iii)
 the consolidation of a system for registering of land and assets abandoned or dispossessed.
 Progress was also made in strengthening care protocols for returnees with protection needs, in-
 cluding the training of 120 officials from the central, municipal and foreign service governments.
 Registration and processing capacities within the asylum system were increased, and registration
 and interview brigades continue to be implemented in border areas, with the aim of centralizing
 access to the asylum system.
 As for 2021 it is expected; increase access in high-risk areas, as well as increase reception capac-
 ities and humanitarian assistance for returnees with protection needs and refugees and promote
 access to livelihoods for the persons of interest




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                                                                          HONDURAS
        PROTECTION                                                proﬁles that includes a prioritized access to doc-
                                                                  umentation, and maintain updated information on
                                                                  displacement for an adequate response.
•   Strengthen the capacity to identify people with in-       •   Create a contingency plan in cases of massive dis-
    ternational protection needs.                                 placements due to violence.
•   Undertake training processes for migration public         •   Implement a humanitarian assistance mechanism
    officials in border areas to strengthen their capacity        articulated with the existing state response.
    to identify protection needs.                             •   Progress in the formulation and implementation of
•   Provide information material in offices and border            prevention and protection strategy at schools.
    areas.                                                    •   Develop strategies to prevent and address speciﬁc
•   Increase the capacity of municipal officials who as-          risks for women and girls, commercial transporters,
    sist returnees, migrants and their families.                  people at risk due to land dispossession, returnees
•   Follow-up on the protocol to assist returnees/de-             with protection needs, and LGBTI persons.
    portees with protection needs.                            •   Establish an information mechanism on displace-
•   Develop a referrals protocol to follow-up on cases            ment that provides periodic data.
    of returnees with protection needs through the Mu-        •   Promote measures to facilitate the access to per-
    nicipal Units for the Attention to Returnees.                 sonal identiﬁcation documents
•   Strengthen and update existing capacities of con-         •   Develop a communication and awareness-raising
    sular officials for the identiﬁcation and referral of         strategy on the rights of internally displaced people
    cases with protection needs abroad.                           together with local governments.
•   Train and update consular representations on inter-       •   Develop an information and awareness-raising
    national protection.                                          strategy on the rights of internally displaced peo-
•   Implement the assistance and protection roadmap               ple.
    to facilitate the reception, assistance and referral of   •   Design a methodology that enables a close rela-
    cases, and strengthen the technical and ﬁnancial              tionship with communities and internally displaced
    capacities of the DPPDIV.                                     people without increasing their risk.
•   Strengthen the technical and operational capaci-          •   Implement a national protection system for inter-
    ties of DPPDIV.                                               nally displaced people, progress towards the es-
•   Undertake awareness-raising activities for deci-              tablishment of a mechanism to register abandoned
    sion-makers on internal displacement and the as-              goods, facilitate access of internally displaced
    sistance and protection roadmap.                              people to vocational training programmes and ini-
                                                                  tiatives to generate income, promote dialogue and
•   Continue strengthening humanitarian and legal as-
                                                                  consultation spaces with displaced populations.
    sistance mechanisms
                                                              •   Promote dialogue spaces among state institutions
•   Provide humanitarian and legal assistance at CAMIs
                                                                  and groups of displaced people or at risk.
    at the national level.
                                                              •   Create a conﬁdential system to register abandoned
•   Develop an awareness-raising initiative for authori-
                                                                  goods and housing.
    ties and the private sector on the category of refu-
    gees and asylum seekers, and their rights.                •   Strengthen the institutional response through coor-
                                                                  dination and referral of cases.
•   Strengthen the assistance provided to returnees
    with protection needs to cover their basic needs          •   Include the population within the prevention and
    of shelter, food and health at the short and medium           protection mechanism in affected communities.
    term.                                                     •   Establish dialogue spaces to achieve the inclusion
•   Enhance the coverage of humanitarian assistance               of the population in prevention and protection
    during the reintegration process.                         •   mechanisms.
•   Strengthen mechanisms of referral and legal orien-        •   Include the interests of refugees within the insti-
    tation abroad.                                                tutional response and continue strengthening the
•   Establish partnerships with free legal representa-            capacities of groups and organizations through the
    tions abroad to provide effective assistance                  Refugee Commission.
•   Train staff to provide better assistance and guid-        •   Promote initiatives for the participation of the Refu-
    ance at consulates.                                           gee Committee to incorporate their needs through
                                                                  the Refugee Commission.
•   Implement a roadmap to coordinate the actions
    and services provided abroad.
•   Continue strengthening the state presence in com-
    munities at risk, develop programmes for the pre-
    vention and protection based on causes and risk
                                                                                            CLP_AR_005024
                                                                                                                     16
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                                                                         HONDURAS
        EDUCATION                                                   JOBS AND LIVELIHOOD

•   Establish a dialogue with the Ministry of Labor and     •   Promote priority access for returnees to existing la-
    the Ministry of Education to resolve obstacles in the       bour reintegration programmes.
    access to employment and education for refugees         •   Promote interinstitutional partnerships at the cen-
    and applicants for refugee status                           tral and local levels to provide priority access to la-
                                                                bour reintegration programmes.
                                                            •   Strengthen leadership at the community level.
                                                            •   Facilitate access to vocational training programmes
                                                                and initiatives to generate income.




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MIRPS NATIONAL ACTION PLAN IN
                     MEXICO

38 TOTAL COMMITMENTS
FOCUS AREAS:




            PROTECTION                      JOBS AND                       SOCIAL
         19 COMMITMENTS                   LIVELIHOODS                    PROTECTION
                                        5 COMMITMENTS                  9 COMMITMENTS




                             EDUCATION                      HEALTH
                           1 COMMITMENT                 4 COMMITMENTS




 Mexico promotes the integration of asylum seekers and refugees in national systems, with full
 access to employment, public health services, and education at all levels. The MIRPS framework
 has been key to achieve a more efficient registration of asylum seekers, and to achieve progress
 in the protection of the best interests of children in migratory contexts, including those in need of
 international protection. A policy to internal displacement is currently being developed by the Mex-
 ican government. Simpliﬁed asylum procedures, ﬁnancial inclusion and the strenghtening of public
 services in host communities in the south, also remain priorities of the 2021 action plan.




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                                                                                       MEXICO
        PROTECTION                                              ugees, the Migration Law and the Complementary
                                                                Protection and Political Asylum regulations.
                                                            •   The SIPINNA, from the Protection Commission for
•   Increase COMAR’s presence in INM Immigration                migrant children and asylum-seekers, will promote
    Stations for a greater number of applicants for ref-        the harmonization of the General Law on the Rights
    ugee status.                                                of Children and Adolescents with the Law on Ref-
•   COMAR will train INM personnel in airports, where           ugees, the Migration Law and the Complementary
    there is greater ﬂow of people requesting refugee           Protection and Political Asylum regulations.
    status.                                                 •   CONAVIM will promote access to services for fe-
•   Promote permanent information campaigns that in-            male asylum-seekers or refugees in the Justice
    form about rights and the process for the recogni-          Centres for Women (CJM), by coordinating with the
    tion of refugee status, in a simple and understand-         3 governmental levels. CONAVIM and COMAR will
    able way.                                                   carry out actions aimed at preventing and eradicat-
                                                                ing gender-based violence against girls and women.
•   Provide training to public servants who assist or
    work directly with refugee applicants, refugees and     •   COMAR, UNHCR and UNICEF will review and
    beneﬁciaries of complementary protection, to en-            standardize the interview format for children seek-
    sure decent attention; institutions that make up the        ing asylum for quality assurance during the inter-
    Interinstitutional Roundtable on Refugee and Com-           views; a guide for the use of appropriate language
    plementary Protection will be prioritized.                  with children will be developed and used in all in-
                                                                terviews and questionnaires.
•   COMAR and UNHCR will promote the “Jaguar” in-
    formation and awareness campaign on the rights          •   COMAR, UNHCR and UNICEF will develop and
    of applicants and refugees in the areas of greatest         share support materials with appropriate language
    transit and destination.                                    for children, to be used during eligibility interviews
                                                                and other questionnaires addressed to this popula-
•   SE-SIPINNA, the DIF and the PFPNNA will strength-
                                                                tion of interest.
    en alternative care centres for temporary housing,
    preventing the use of Migration Stations for shelter.   •   Disseminate a handbook of available shelters (pub-
                                                                lic and private) by federation, for asylum-seekers,
•   INM, COMAR, SE-SIPINNA and UNHCR will seek for
                                                                refugees and beneﬁciaries of complementary pro-
    alternatives for shelters to lower the use of the Mi-
                                                                tection.
    gration Stations, particularly for family groups with
    children.                                               •   Review and accelerate current procedures for the is-
                                                                suance of documents for asylum-seekers, refugees
•   Improve coordination mechanisms between the
                                                                and beneﬁciaries of complementary protection.
    authorities that assist children (COMAR, INM, PF-
    PNNA, SIPINNA) to facilitate the identiﬁcation of       •   Guarantee the right to the identity to asylum-seek-
    international protection needs and access to Refu-          ers, refugees and beneﬁciaries of complementary
    gee Status Determination.                                   protection, through the issuance of the temporary
                                                                and/or permanent CURP, and establish coordi-
•   The INM and the Procurator’s Office for the Protec-
                                                                nation mechanisms between RENAPO, INM and
    tion of the Rights of Children and Adolescents (fed-
                                                                COMAR to strengthen management, implementa-
    eral, state and municipal) will apply the specialized
                                                                tion and training; also, review and make regulatory
    protocol for the care of children developed by CO-
                                                                changes, for the assignation of CURPs in a more
    MAR, UNICEF and UNHCR; also for interview tech-
                                                                efficient and simple way.
    niques to identify needs of international protection
    and for the referral of cases to the COMAR or to the    •   INM, COMAR and UNHCR will promote measures
    competent authority.                                        to accelerate the signing process at the COMAR
                                                                and INM offices, in accordance with the obligations
•   Increase the operational capacity of the federal,
                                                                of people requesting refugee status.
    state and municipal Child Protection Offices, prin-
    cipally in the states with the largest migrant and
    asylum-seeker population, (Chiapas, Tabasco and
    Veracruz).
•   The PFPNNA, through SIPINNA, will generate coor-
    dination mechanisms with state and municipal pro-               EDUCATION
    tection offices to standardize criteria that regulate
    the determination, coordination, monitoring and
                                                            •   SEP, INEA and COMAR will promote actions that allow
    restitution plans for child protection.
                                                                the formal inclusion of children seeking asylum, refu-
•   The SIPINNA, from the Protection Commission for             gees and beneﬁciaries of complementary protection
    migrant children and asylum-seekers, will promote           to mandatory school education (preschool, primary,
    the harmonization of the General Law on the Rights          secondary and preparatory), as well as access to ed-
    of Children and Adolescents with the Law on Ref-            ucational programs nationwide through the INEA.
                                                                                          CLP_AR_005027
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                                                                                         MEXICO
        JOBS AND LIVELIHOOD                                          SOCIAL PROTECTION
•   Within the scope of their competencies, the agen-        •   Together with COMAR and UNHCR, the participat-
    cies will promote the incorporation of asylum-seek-          ing institutions of the Interinstitutional Roundtable
    ers, refugees and beneﬁciaries of complementary              on Refugee and Complementary Protection will de-
    protection, to public and private institutions for job       velop materials that describe and explain how to
    training and certiﬁcation processes.                         access the programs and services available to the
•   UNHCR will carry out projects aimed at peaceful              populations of interest.
    coexistence in the main host communities, and will       •   COMAR, together with the participating agencies
    foster spaces for cultural and learning exchange,            in the Interinstitutional Roundtable on Refugee and
    which will favour the integration of the population          Complementary Protection, will promote access to
    of interest.                                                 public services and programs at the federal and
•   Promote the recruitment of asylum-seekers, refu-             state levels, through the revision of guidelines and
    gees and beneﬁciaries of complementary protec-               the creation of integration modules
    tion for job vacancies available in the National Em-     •   Development and dissemination of awareness mass
    ployment Service; disseminate the calendar of job            campaigns, through television, radio and social
    fairs organized nationwide.                                  networks to counteract xenophobic manifestations
•   Promote actions to include asylum-seekers, refu-             against migrants and refugees, including informa-
    gees and beneﬁciaries of complementary protec-               tion on the mechanisms to ﬁle complaints with CON-
    tion to housing programs.                                    APRED for discriminatory acts committed by public
                                                                 or private servants.
•   CNBV will promote access to ﬁnancial services
    for asylum-seekers, refugees and beneﬁciaries of         •   CONAPRED will provide courses and workshops to
    complementary protection with the Association of             public officers and media to avoid prejudiced
    Banks of Mexico.                                         •   and stigmatizing news coverage and communica-
                                                                 tion for asylum-seekers, refugees and beneﬁciaries
                                                                 of complementary protection.
                                                             •   INDESOL will promote asylum-seekers, refugees
        HEALTH                                                   and beneﬁciaries of complementary protection, in
                                                                 the activities organized by civil society organiza-
                                                                 tions, and will review social joint venture programs
•   The Ministry of Health and COMAR will carry out ac-          for the inclusion of this population.
    tions aimed at risk prevention and access to health      •   Promote actions for the inclusion and issuance of
    services for asylum-seekers, refugees and bene-              credentials for elder asylum-seekers, refugees and
    ﬁciaries of complementary protection; the CNPSS              beneﬁciaries of complementary protection, to as-
    will promote strategies for Primary Health Care,             sure their access to services offered by INAPAM at
    Childbirth, puerperium and new born care, preven-            the national and state levels.
    tion of gender-based violence and addiction, by
                                                             •   COMAR, in coordination with UPM, will generate and
    training public officers on the speciﬁc needs of this
                                                                 publish statistical information including data disag-
    population.
                                                                 gregated by sex, age, place of origin, and other var-
•   Perform actions aimed at ensuring access to men-             iables, with the objective of analysing the character-
    tal health services for asylum-seekers, refugees             istics of the populations of interest for its inclusion to
    and beneﬁciaries of complementary protection.                programs and services.
•   Promote the inclusion of asylum-seekers, refugees        •   UPM, in coordination with COMAR, will promote col-
    and beneﬁciaries of complementary protection, in             laboration and joint efforts between governmental
    all reforms to the General Health Law, secondary             institutions, academia and civil society organizations
    laws and administrative provisions, in terms of ac-          for the generation of studies and information linked
    cess to health services and medicines, and con-              to the design and evaluation of public policy related
    sideration of the documentation issued by the CO-            to populations of interest.
    MAR and the INM, instead of social security, for the
                                                             •   The Welfare Secretariat will promote actions for the
    populations of interest.
                                                                 inclusion of asylum-seekers, refugees and beneﬁ-
•   UNDP, UNHCR and PAHO will conduct studies of                 ciaries of complementary protection in all social pro-
    the capacities of public health services in the host         grams, especially in “Sembrando Vida” and “Emer-
    communities in southern Mexico (mainly Chiapas               gencia Social”.
    and Tabasco), identifying opportunities to strength-
    en them and meet the needs of the host communi-
    ties and populations of interest.

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MIRPS NATIONAL ACTION PLAN IN
                     PANAMA

26 TOTAL COMMITMENTS
FOCUS AREAS:




            PROTECTION                       JOBS AND                       SOCIAL
         12 COMMITMENTS                    LIVELIHOODS                    PROTECTION
                                         7 COMMITMENTS                  5 COMMITMENTS




                             EDUCATION                       HEALTH
                           3 COMMITMENT                  1 COMMITMENTS




 Panama, as a transit and asylum country, has strengthened its capacities to ensure access to refu-
 gee protection for those ﬂeeing violence. The implementation of the MIRPS National Plan has led to
 a signiﬁcant improvement in the access to their basic rights, livelihoods, and local integration. This
 includes the approval of work permits for asylum seekers admitted to the procedure, strengthening
 of ONPAR’s presence at the southern border and the implementation of innovative employability
 programs, among other achievements.
 However, there are still some challenges that need to be addressed. The COVID-19’s emergency
 worsened the already vulnerable condition of some refugees and asylum seekers, forcing to rede-
 ﬁne priorities and actions to continue providing refugees and asylum seekers protection, inclusion
 and humanitarian assistance.



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                                                                                    PANAMA
        PROTECTION                                                   EDUCATION
•   Strengthen training processes for public servants        •   Share information with asylum seekers on workshops,
    at the national and local levels on international pro-       courses and trainings provided by the National Insti-
    tection, in order to enhance their capacity to identi-       tute for Professional Training (INADEH), as follow-up
    fy and refer people with protection needs. Special           to the agreements reached in the beginning of 2019.
    focus will be provided to SENAFRONT, SNM, SEN-           •   Match tuition costs for refugee students who are un-
    AN, ONPAR, INAMU, SENNIAF, Ombudspersons                     dertaking a bachelor’s degree or technical careers
    Office and local authorities in priority areas.              at University of Panama with the cost for a national,
•   Promote an agreement between the Ministry of                 recognizing the special protection condition of this
    Safety and Ministry of Government (ONPAR) to                 population and their recognition by the Panamanian
    formalize and set in motion referral protocols and           state.
    guidelines between SNM – ONPAR, and SENA-                •   Promote the creation of an instruction manual ‘Proce-
    FRONT – ONPAR. In order to provide a timely re-              dure and placement tests’ for the operation of Decree
    sponse to the identiﬁcation and referral of people           1225 of 2015
    with international protection needs in border areas
    and airports, and in line with what is established in
    Executive Decree N.5 of 2018
•   Improve the registration system (TRE) to facilitate a
    cross-cutting revision of asylum claims among au-
    thorized public institutions, ensuring conﬁdentiality.
•   Reduce the backlog of claims submitted to ON-
                                                                     HEALTH
    PAR under the jurisdiction of Decree N. 23 of 1998,
    which gave way to the development of Law N. 5            •   Promote and establish an attention roadmap and
    of 1977, that approves the 1951 Convention and the           protocol between the Ministry of Government (ON-
    1967 Protocol.                                               PAR) and Ministry of Health (Department of mental
•   Facilitate the management of larger human and ﬁ-             health and other services) for the attention and re-
    nancial resources of ONPAR in order to ensure the            ferral of refugees and asylum seeker for whom it is
    capacity to provide a response to an increasing              required as a result of their mental health.
    number of asylum seekers, which includes, inter
    alia, personnel for project management, data man-
    agement, lawyers, social workers, psychologists
    and other relevant professions.
•   Undertake meetings with technical teams of
    CONARE to analyze cases to be presented during
    ordinary meetings of the National Commission for
    the Protection of Refugees, with the aim of ensuring
    a swifter response for cases admitted by ONPAR.
•   Undertake brigades to issue documents in areas of
    difficult access, to renew refugee identity documents.
•   Promote the elaboration of a legal instrument so
    that people recognized as stateless can opt for a
    permanent residence and Panamanian nationality.
•   Promote an attention and referral roadmap and a
    protocol between the Ministry of Government (ON-
    PAR) and the National Institute for Women (INAMU)
    and other partners for refugee and asylum-seeking
    women, survivors of SGBV.
•   Engage legal clinics of Law faculties in private and
    public universities in providing free orientation ac-
    companiment and legal assistance to asylum seekers.
•   Promote the university social service and or in-
    ternships within ONPAR for University of Panama
    students undertaking careers in law, psychology,
    social work, archives, public administration, among
    others.
                                                                                           CLP_AR_005030
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                                                                                      PANAMA
        JOBS AND LIVELIHOOD                                            SOCIAL PROTECTION
•   Manage the certiﬁcation of extension of work per-          •   Launch the incorporation of actions within existing
    mits in cases where people recognized as refugees              social policies for highly vulnerable refugees.
    present a request before the Ministry of Labour            •   Promote existing programmes to cover basic needs
    and Labour Development (department of migra-                   with key actors (including food and temporary shel-
    tion), with 30 days or more prior to the expiration            ter) for extremely vulnerable people.
    of their permit, and that the extension request is in      •   Promote the participation and consultation of com-
    progress.                                                      munities in the design of activities and public poli-
•   Promote the issuance of work permits for asylum                cies and enhance joint work with identiﬁed facilita-
    seekers admitted to procedure by ONPAR                         tors within communities.
•   Promote the issuance of drivers licenses for asylum        •   Promote anti-xenophobia campaigns for different
    seekers who have possession of their claim certiﬁ-             entities for the integration of refugees and asylum
    cation issued by ONPAR                                         seekers in Panama.
•   Search for income generation alternatives for refu-        •   Promote community-based integration initiatives for
    gees. Focus will be given to institutions, the private         refugees and host communities.
    sector and the civil society to explore alternatives
    and put in motion concrete strategies for the eco-
    nomic inclusion of refugees.
•   Raise awareness within the private sector on refu-
    gees seeking employment.
•   Incorporate asylum seekers admitted to procedure
    and refugees within the database of the Ministry of
    Labour, for their participation in job fairs and job ex-
    change.
•   Manage the viability of opening bank accounts for
    refugees




                                                                                             CLP_AR_005031
                                                                                                                    23
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                                                      CLP_AR_005032
                                                                      24
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                                                         CLP_AR_005077
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                       At the root of migration
                       The pervasive challenges of the Northern Triangle, its fragile economies and
                       epidemic levels of gang violence, lead thousands to cross borders in search
                       of a better future. If the global development community is to respond to the
                       ongoing but constantly shifting migration crisis, it requires nuanced and in-
                       depth data that go beyond common knowledge of the region’s economics
                       and security situation.


                       Creative Associates International believes that     combined account for more than half of all the
                       development can signiﬁcantly mitigate irregular     region’s emigration. In those 60 municipalities,
                       migration through a ﬁrst mile approach – one        Creative then conducted 2,400 individual in-
                       that addresses the speciﬁc factors that trigger     person surveys to gather data on intentions to
                       someone to leave their home. With an intentional    migrate, family, the economic situation of the
                       and targeted ﬁrst mile approach, development        household and exposure to crime, among other
                       programs can address the root causes that drive     points. Based on these surveys and extensive
                       migration and ultimately reduce the number of       data analysis, Creative was able to distinguish
                       people embarking on an often dangerous journey,     the different triggers of migration in each
                       whose absence reverberates through their            municipality, as well as paint a general portrait of
                       communities.                                        potential migrants. These conclusions shed light
                                                                           on the region’s textured migration landscape and
                       It is important to note that this ﬁrst mile
                                                                           can be used to inform highly focused programming
                       approach must be tailored for each location,
                                                                           that can mitigate irregular migration and improve
                       based on the speciﬁc factors that push people
                                                                           the conditions of Central Americans.
                       to emigrate from one high-migration area as
                       opposed to another. In fact, the success of this    The study took on the name “Saliendo Adelante,”
                       approach in mitigating migration hinges on a        borrowing from a Spanish phrase that was heard
                       localized strategy.                                 frequently across the region as people described
                                                                           what drives them to migrate – their resilience and
                       In February 2019, Creative commissioned an
                                                                           desire to move forward in life.
                       ambitious research study that ﬁrst zeroed in on
                       those municipalities that have the highest rates    The factors at play in each of these 60 mostly
                       of outward migration from Honduras, El Salvador     urban municipalities, while varied, can be broken
                       and Guatemala. Analyzing data from nearly 900       down into three principal categories: economics,
                       municipalities, Creative identiﬁed the 60 that      victimization and transnational ties.




                                   Percentage of survey respondents who intend to migrate



                              El Salvador                             Guatemala                             Honduras

                               24      %
                                                                          18%
                                                                                                             33       %



                                                                                                                   CLP_AR_005078
2 | Why
    Whymigrants
        migrantsrisk
                riskititall
                        all
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                               ECONOMICS


The principal factors that differentiate those who do intend to migrate from those
who do not in the 60 high-migration municipalities surveyed fall under the category                        Figure 1:
of economics. When asked what their primary reason for migrating would be, more                            Percentage of those who intend to
than 60 percent of respondents cited economic-related concerns. Migration from                             migrate who cite economic concerns as
                                                                                                           their primary reason for migration.
the Northern Triangle occurs against the backdrop of a vulnerable regional economy,
where many of those who are working do so in an informal capacity with few                                             EL SALVADOR - 50%
protections or opportunities for advancement.
                                                                                                                        GUATEMALA - 71%
Within the broader context of economics, three main factors were found to be                                            HONDURAS - 67%
differentiators:




          Unemployment                                    Household Earnings                                  Pessimistic Outlook

 On average across the region’s high-                  Those whose households earn less than               Believing that their household’s
 migration municipalities, being                       $400 a month and who cannot make ends               economic situation is on the decline
 unemployed makes someone nearly                       meet are 1.25 times more likely to consider         is an interestingly strong indicator of
 twice as likely to consider migrating.                migrating. More than one-third of survey            migration. This is particularly true in high-
 According to Creative’s analysis, the issue           respondents reported household earnings             migration municipalities in Honduras,
 of unemployment is particularly inﬂuential            under the $400 line and said they could not         where believing that the household is
 in Guatemala and El Salvador, and slightly            make ends meet.                                     worse off than it was the previous year
 less so in Honduras.                                                                                      makes individuals 1.5 times more likely to
                                                       However, in breaking this information
                                                                                                           consider migrating.
 By looking closely at the local data, the             down further, Creative found that
 study can also identify the municipalities            individuals in that group whose households          Looking closely at the coastal municipality
 in which unemployment is a stronger push              earn under $200 monthly and who cannot              of La Ceiba, Honduras, pessimistic
 factor for migration. In Guatemala City,              make ends meet are actually less likely to          economic outlook is a clear differentiator:
 for example, 16 percent of those who have             migrate. One explanation could be that              71 percent of those who have considered
 considered migrating are unemployed,                  those with the most limited resources               migrating think their economic situation
 compared to just 5 percent who have not               cannot afford the journey; depending on             will be worse next year, compared to 39
 considered migrating but are unemployed.              the country, hiring a coyote, or smuggler, to       percent who have not considered migrating
 Holding a low-skill and unstable job is also          lead the trip to the U.S. border can cost up        but feel the same.
 a differentiator in Guatemala City, and               to $8,000 per person.
 20 percent of those who have considered
 migrating are low-skill workers.




 Figure 2:
 Migration and unemployment among youth ages 18 to 29

                                        EL SALVADOR                                GUATEMALA                                   HONDURAS
                          Plans to migrate &      No plans          Plans to migrate &        No plans         Plans to migrate &         No plans
                            unemployed          to migrate &          unemployed            to migrate &         unemployed             to migrate &
                                                unemployed                                  unemployed                                  unemployed
 Young men                      20%                   10.4%               18.4%                  2.2%                  23.6%                18.4%
 Young women                    18.5%                 1.9%                 11.5%                 8.6%                  8.3%                 4.2%
                                                                                                                       CLP_AR_005080
4 | Why migrants risk it all
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                               VICTIMIZATION


Across the Northern Triangle, and particularly in high-migration, urban municipalities, residents are coping with levels of violence
that are among the highest in the world. Creative’s study sought to look beyond the alarming homicide rates and focus instead
on personal experiences of victimization and how they relate to migration. The study focused not just on homicides, but also on
exposure to other crimes that breed feelings of insecurity, including extortion, robbery, bribery and violence against women.
Regionally, having been a victim of a crime or having a family member or someone close to you who has been makes an individual
1.5 times more likely to consider migrating. The analysis suggests that how people react to these crimes varies signiﬁcantly by
country and by municipality; Hondurans and Salvadorans appear to be more greatly impacted by victimization than Guatemalans.




               Homicides                                           Robbery                                      Extortion

 Having personal exposure to homicide is a           Even more so than homicides, robberies        Extortions are particularly concentrated
 clear differentiating factor in the high-           are a powerful inﬂuencer of migration         in the high-migration municipalities
 migration municipalities of both Honduras           decisions. Again, this is truer in Honduras   surveyed. Eighty-six percent of the total
 and El Salvador.                                    and El Salvador than in Guatemala.            registered extortions in Honduras in
                                                                                                   2017 occurred in these municipalities,
 Nearly one-third of survey respondents              In Honduras, 61 percent of those who have
                                                                                                   which are home to less than 60 percent
 who have considered migrating from                  considered migrating have been robbed
                                                                                                   of the total population. In El Salvador, 70
 Honduras have had a family member or                on the street, compared to 39 percent who
                                                                                                   percent of registered extortions occurred
 close friend murdered, while 15 percent of          haven’t considered migrating but have been
                                                                                                   in high-migration municipalities, and in
 those who do not intend to migrate have             robbed.
                                                                                                   Guatemala, 43 percent. Extortions seem
 lost a relative or friend to homicide.
                                                                                                   to have the biggest impact in El Salvador:
                                                                                                   Nearly a quarter of those who have
                                                                                                   considered migrating have been extorted,
                                                                                                   compared to 11 percent of people who have
                                                                                                   not considered migrating but have been
Figure 4:                                                                                          extorted.
Percentage of those who intend to migrate who cite victimization
factors as their primary reason for migration

        EL SALVADOR                   GUATEMALA                      HONDURAS
             38%                           14%                           18%



Figure 5:
                                                                                                      52% of those who say
                                                                                                   they have thought about
In Guatemala, victimization affects municipalities differently,
as seen in Guatemala City and Totonicapán.                                                         migrating say they would
Municipality                      Intends to migrate and     Does not intend to migrate            do so alone; 26% say they
                                 has been exposed to at       but has been exposed to              would migrate with their
                                least two acts of crime or   at least two acts of crime or
                                        violence                        violence                           children
Guatemala City, Guatemala                  57%                           39%
Totonicapán, Guatemala                    50%                            27%
                                                                                                              CLP_AR_005082
6 | Why migrants risk it all
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                               TRANSNATIONAL TIES


Transnational ties – deﬁned here as existence of family in the U.S., receipt of                        Over 20%
remittances, and prior migration to the U.S. – is an important pull factor in the                     of income for
migration equation, although far less impactful than economics and victimization.                  households across
In the larger regional context, a culture of migration has been and continues to                   the region comes
be solidiﬁed through the generations. Nearly two-thirds of all survey respondents
have a relative living abroad, 75 percent of those relatives have lived in the U.S. for
                                                                                                    from remittances
10 years or more, and about 25 percent for over 20 yeas. However, an expectation
that family reuniﬁcation would be a signiﬁcant driver of migration was disproven by
the data collected, with only 3 percent of survey respondents citing reuniting with
relatives as their primary reason for migration.
In addition, statistical analysis shows that simply having a family member in the U.S.
is not a differentiating factor between those who intend to migrate and those who
don’t, despite the large number of people who reported family ties.
Remittances, however, are indicative of a strong family connection to the U.S. while
                                                                                                      Remittances
also pointing to viable job opportunities, an existing support system in the U.S. and
the potential for economic prosperity.                                                    Nearly a quarter of those who say they have
                                                                                          thought of migrating receive remittances
                                                                                          across the Northern Triangle’s high-migration
                                                                                          municipalities, in comparison to 15 percent
                                                                                          of those who haven’t thought of migrating but
                                                                                          receive remittances. The statistical signiﬁcance
                                                                                          of remittances is greatest in Guatemala, where
                                                                                          receiving remittances makes an individual nearly
                                                                                          twice as likely to have thought about migrating.
                                                                                          But remittances also have a positive effect in
                                                                                          reducing poverty and help families below the
                                                                                          $400 monthly income threshold make ends meet.




                                                                                                  Only 3% of those
                                                                                                     who intend to
                                                                                                   migrate cite family
                                                                                                  reuniﬁcation as their
                                                                                                   primary reason for
                                                                                                       migration



                                                                                                       CLP_AR_005084
8 | Why migrants risk it all
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                                                         CLP_AR_005086
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                            CONCLUSIONS &
                           RECOMMENDATIONS
        The results of the Creative Associates International migration study underscore the need for a ﬁrst-
        mile approach to reducing migration that addresses speciﬁc drivers, strengthens communities and
         creates opportunity locally. The following ﬁndings and recommendations are intended to help
                    shape effective migration-focused programming in the Northern Triangle.




                 Key conclusions                                   Recommendations for development


         Migration is highly localized                                   Focus on high-migration areas
A small number of municipalities, largely urban, account        For the most effective and efﬁcient results in mitigating
   for the bulk of all irregular out-migration from the          migration, programs should focus on high-migration
 Northern Triangle. While trends emerge at the national        municipalities. Interventions should be designed to address
level, the factors that inﬂuence one’s decision to migrate         the speciﬁc factors inﬂuencing migration in each.
             vary dramatically by municipality.




      Economics are driving migration                                      Expand economic programs
 Economic factors are the most salient in inﬂuencing              Programming should seek to stabilize vulnerable local
migration and are cited far more often as the primary             economies and then expand on traditional economic
  motivator for migration than victimization factors.               development interventions to address the speciﬁc
                                                                   economic realities of high-migration municipalities,
                                                                           including the informal economy.




       Youth are most likely to migrate                                     Meet youths’ urgent needs
    People from the ages of 18 to 29 report distinct             Youth, and positive youth development, should be at the
   levels of exposure to economic and victimization            center of migration-speciﬁc programs. Implementers should
   factors and react to these factors differently than        also be cognizant of differences in young women’s and young
          adults in their decisions to migrate.                              men’s motivations for migration.




              Victimization is varied                                 Address the victimization spectrum
   Extortion, robbery and other crimes are, in most                 Programs should seek to reduce the high levels of
   cases, an even stronger motivator for migration               victimization in target areas, taking into account not only
              than exposure to homicide.                         homicides but all types of crime and violence that create
                                                                              highly victimized communities.



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                                                        Study Methodology
About Creative
Creative Associates International works with           Creative’s study began in early 2019 with           identiﬁed the 60 municipalities that 1) each
underserved communities by sharing expertise           an extensive review of available data at the        account for more than 1 percent of irregular
and experience in education, elections, eco-           regional, national and municipal levels that        migration from their respective countries and
nomic growth, citizen security, governance and         relate to migration.                                2) combined, make up a majority of outward
transitions from conﬂict to peace.                                                                         irregular migration from the Northern Triangle.
                                                       To narrow down the study to those
Based in Washington, D.C., Creative has active         municipalities that have the highest rates of       Creative then commissioned a randomized
projects in nearly 30 countries. Since 1977,           emigration, Creative relied on a methodology        survey of residents in those 60 municipalities,
it has worked in nearly 90 countries and on            that uses remittance payment points in the          ﬁrst testing the detailed survey instrument in two
almost every continent. Recognized for its             recipient country to identify the place of          municipalities in Honduras. Trained enumerators
ability to work rapidly, ﬂexibly and effectively       origin of migrants who are in the United            were then dispatched to conduct 2,400 in-
in conﬂict-affected environments, Creative is          States. This methodology was designed by            person surveys, which ultimately generated
committed to generating long-term sustainable          Manuel Orozco and has been adopted and              about 100,000 individual data points.
solutions to complex development problems.             used by the International Fund for Agricultural
                                                                                                           With municipal-level data on 48 distinct social,
Creative has grown to become a leader among            Development and the Inter-American Dialogue
                                                                                                           economic and crime variables that relate to
U.S. private sector implementers of global             since 2009. In the Northern Triangle, there are
                                                                                                           migration, Creative analyzed migratory trends
development projects. Creative is minority             more than 100,000 payment points where
                                                                                                           and their relationship to the survey indicators.
owned and operated.                                    families collect remittances.
                                                                                                           Statistical regression models were used to
                                                       Drawing data from 893 municipalities in El          identify any statistical signiﬁcance of these
                                                       Salvador, Guatemala and Honduras, Creative          indicators on the likelihood of migration.
Creative in Latin America
and the Caribbean
                                                                      The 60 municipalities surveyed were (by country, in
Creative has been leading innovative, sustain-                           order of emigration from highest to lowest):
able development programs in Latin America
and the Caribbean for four decades.
Creative’s programming in the hemisphere
is built on evidence, proven tools and a deep            El Salvador                        Guatemala                         Honduras
understanding of local contexts. Projects                San Salvador (18% of               Guatemala City (16% of            Central District
are designed to be inclusive of marginalized             Salvadoran emigration),            Guatemalan emigration),           (Tegucigalpa and
groups, operate with local organizations and             San Miguel, La Libertad,           Mixco, Villa Nueva,               Comayagüela, 27% of
engage the private sector to ensure that the             Soyapango, Santa Ana,              Totonicapán, Chiquimula,          Honduran emigration),
positive change put in motion lasts long after           Sonsonate, La Unión,               Huehuetenango,                    San Pedro Sula (20% of
Creative’s interventions.                                Apopa, Zacatecoluca,               Jutiapa, Chimaltenango,           Honduran emigration),
                                                         Usulután, Cojutepeque,             Retalhuleu, Sololá, San           La Ceiba, Comayagua,
Creative began its work in the Northern
                                                         Metapán, Ahuachapán,               Pedro Sacatepéquez,               El Progreso, Choluteca,
Triangle in 1983 with a training of Peace Corps
                                                         Ilopango, Santa Rosa               Cobán, Villa Canales,             Santa Rita, Puerto Cortés,
volunteers in Guatemala. Since then, Creative
                                                         de Lima, Juayúa, San               Escuintla, Flores, La             Choloma, Siguatepeque,
has implemented dozens of programs in the
                                                         Francisco Gotera, Antiguo          Libertad, Coatepeque,             Danlí, Juticalpa
region’s most challenging communities and
                                                         Cuscatlán, Chalatenango,           Morales, San Marcos,
contexts, supporting gang violence prevention,
                                                         San Vicente                        Antigua Guatemala,
peace and reconciliation, education and civic
                                                                                            Salamá, San Juan
engagement, positive youth development, rule
                                                                                            Sacatepéquez, Jalapa,
of law and governance strengthening and more.
                                                                                            Zacapa, Sayaxché,
Creative currently implements four programs
                                                                                            Esquipulas, Puerto Barrios
in Honduras, El Salvador and Guatemala,
reaching many of the region’s highest-migra-
tion municipalities. Q
                                                                                     *Municipalities listed above without a number account for between
                                                                                        1 percent and 5 percent of their respective country’s emigration.




                   To see more study results and                  Creative Associates International
                        hear migrant stories, visit:
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                         Saliendo-Adelante.com
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COLOMBIA
AT A GLANCE
                                                                                        2023
                                                                                        2024




                     POPULATION            PEOPLE IN             PIN            PEOPLE
                     PROJECTION            NEED (PiN)        PERCENTAGE        TARGETED


VENEZUELANS                     1         1                           /
IN-DESTINATION                  1         1                           /

                               /        /                           /
IN-TRANSIT
                               /        /                            /

                                1          1                          /
PENDULAR
                                1         1                           /

COLOMBIAN                      /         /                           /
RETURNEES                      /        /                           /

AFFECTED HOST                         -         /               -               /
COMMUNITIES                           -          /              -               /




AGE AND GENDER        34.0%        37.7%             34.4%    37.3%            34.4%        37.3%
DISAGGREGRATION
                       14.1%       14.2%             14.2%    14.1%             14.2%          14.1%




       TOTAL REQUIREMENTS                                             RMRP PARTNERS
       $664.87 M $575.86 M                                            74
                                                                            CLP_AR_006308
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 RMRP 2023 - 2024                                                                                                                        COLOMBIA                133



COLOMBIA: BENEFICIARIES TARGETED




                                 Caribbean Sea                                                                                                             ±
                                                                                La Guajira
                                                       Atlántico


                                                                Magdalena Cesar



                     PANAMA                                 Sucre
                                                                                    Norte de
                                                Córdoba             Bolivar         Santander                            BOLIVARIAN REPUBLIC
                                                                                                                         OF VENEZUELA


                                                 Antioquia                 Santander                     Arauca

                                    Chocó
                                                                                  Boyacá
                                                      Caldas
                                                                  Cundinamarca                Casanare
                                                Risaralda
      Pacific Ocean                             Quindio
                                                                  Bogotá D.C.                                               Vichada


                                    Valle del        Tolima
                                    Cauca
                                                                                     Meta
                                                     Huila                                                                        Guainía
                                 Cauca

                                                                                       Guaviare
                        Nariño

                                                                                                            Vaupés
                                      Putumayo
                                                                       Caquetá

                                                                                                                                               BRAZIL

                      ECUADOR
                                                                                            Amazonas


     PEOPLE TARGETED 2023
                    14 - 5,000                                         PERU
                    5,001 - 30,000
                    30,001 - 90,000
                    90,001 - 200,000
                    200,001 - 280,000                          This map is for illustration purposes only. The boundaries and names shown and the designations
                                                               used on this map do not imply official endorsement or acceptance by the UN.
                                                                                                                                CLP_AR_006309
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COLOMBIA: KEY FIGURES BY DEPARTMENTS

                  4STYPEXMSR4VSNIGXMSR        People in Need (PiN)         People Targeted           Total Requirements



                                                   2023                                        2024


AMAZONAS                           /     /             /     /      /            /
ANTIOQUIA                      / /        /     1    / / /           1
ARAUCA                         / /        /     1    / / /           1
ATLÁNTICO                      / /         /     1    / / /             1
BOGOTÁ DC                      / / /            1     1 / /           1
BOLÍVAR                         / /        /     1    / / /              1
BOYACÁ                           /    /      /     1     / /       /         1
CALDAS                           /    /       /       1    / /       /           1
CAQUETÁ                            /    /       /       /     /     /                /
CASANARE                          /   /       /      1     / /        /        1
CAUCA                            /    /       /       1    / /       /          1
CESAR                            / /       /     1    / / /             1
CHOCÓ                              /    /       /       1      /    /     /          1
CÓRDOBA                          /    /      /     /     / /       /         /
CUNDINAMARCA                   / /         /     1    / / /            1
GUAINÍA                           /    /       /       1    /     /   /         1
GUAVIARE                          /     /              /     /     /                /
HUILA                            /    /       /      /     /    /    /          /
LA GUAJIRA                      / / /           1    / / /           1
MAGDALENA                        /   /     /     1    / /      /         1
META                             /    /      /      1     /    /    /         1
NARIÑO                           /    /       /     1     /    /    /         1
NORTE DE SANTANDER               1 / /           1     1 / /            1
PUTUMAYO                         /    /       /       1    /    /    /           1
QUINDÍO                          /    /       /     /     /    /     /          1
RISARALDA                        /    /      /       1    / /       /          1
SAN ANDRÉS Y
                                                          /                              /
PROVIDENCIA
SANTANDER                      / /         /     1    / / /            1
SUCRE                           /     /      /      /     / /       /                  0
TOLIMA                           /    /      /      1     / /       /        1
VALLE DEL CAUCA                / /         /     1    / /      /        1
VAUPÉS                                                          0               50           11                 0
VICHADA                          /    /       /      1      /   /    /         1
                                                                                               CLP_AR_006310
            Case 4:18-cv-06810-JST Document 181-3 Filed 06/23/23 Page 42 of 283
RMRP 2023 - 2024                                      COLOMBIA: NUMBER OF ORGANIZATIONS AND FINANCIAL REQUIREMENTS BY ORGANIZATION TYPE                         135

 2023
  NUMBER OF ORGANIZATIONS AND FINANCIAL REQUIREMENTS BY ORGANIZATION TYPE

                                                                         International              National
                                                      TOTAL                                                                  Othersii        UN Agencies
                                                                             NGOs                 NGOs / CSOsi

        Financial requirements                 $664.87 M                                                                                  
        Organizations                                       74                                                     21                                   12
  i
            Civil Society Organizations.                                                 The list of organizations only includes appealing organizations under the
  ii
            Others include the Red Cross Movement, academia and faith based              RMRP, many of which collaborate with implementing partners to carry out
            organizations.                                                               RMRP activities.


  POPULATION IN NEED AND TARGET, FINANCIAL REQUIREMENTS
  AND NUMBER OF PARTNERS BY SECTOR*
                                                 People in     PiN       People                              Targeted           Financial
                          Sector                                                                                                           Partners
                                                Need (PiN) percentage** targeted                             In need          requirements

                  Education                        1                         /              11.0%              1              

                  Food Security                   1                          /              24.7%            1               

                  Health                           1                           1             26.8%             1              
                  Humanitarian
                  Transportation                    1                          /            6.5%                1               10

                  Integration                      1                          /             4.6%             1              

                  Nutrition                         1                          /            9.6%                1               12

                  Protection***                    1                         /              11.8%              1             

                  Child Protection                  1                         /             7.0%              1               
                  Gender-Based
                  Violence (GBV)                   1                          /             6.0%              1              
                  ,YQER8VEƾGOMRK
                  & Smuggling                    /                           /              3.1%                1               

                  Shelter                          1                         /              4.6%              1               

                  WASH                            1                          /              7.6%              1              

                  Multipurpose Cash
                                                            -                    -      /                -               1                21
                  Assistance

                  Common Services****                       -                    -                -              -                1               21
          ;LMPIRSXFIMRK7IGXSVWHEXEJSV1YPXMTYVTSWI'EWLERHJSV'SQQSR7IVZMGIWMWMRGPYHIHXSMRJSVQSRXLISZIVEPPXEVKIXWERHHMWXVMFYXMSRSJƼRERGMEP
            requirements in the RMRP 2023-2024.
        8LI4M2GEPGYPEXMSRWJSVWSQIWIGXSVW REQIP]2YXVMXMSR)HYGEXMSRERHEPP4VSXIGXMSRWYFWIGXSVW EVIFEWIHSRWTIGMƼGEKIERHKIRHIVKVSYTW
            resulting in a low PiN percentage as a proportion of the total population.
       *** This includes Support Spaces.
       **** This includes AAP-CwC, Communication, Coordination, Information Management, PSEA, and Reporting.
                                                                                                                               CLP_AR_006311
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136                   COLOMBIA: NUMBER OF ORGANIZATIONS AND FINANCIAL REQUIREMENTS BY ORGANIZATION TYPE                                             RMRP 2023 - 2024


                                                                                                                                                      2024
NUMBER OF ORGANIZATIONS AND FINANCIAL REQUIREMENTS BY ORGANIZATION TYPE

                                                                        International               National
                                                     TOTAL                                                                   Othersii        UN Agencies
                                                                            NGOs                  NGOs / CSOsi

       Financial requirements                 $575.86 M                                                                                     
       Organizations                                       59                         25                                                                  11
 i
           Civil Society Organizations.                                                   The list of organizations only includes appealing organizations under the
 ii
           Others include the Red Cross Movement, academia and faith based                RMRP, many of which collaborate with implementing partners to carry out
           organizations.                                                                 RMRP activities.


POPULATION IN NEED AND TARGET, FINANCIAL REQUIREMENTS
AND NUMBER OF PARTNERS BY SECTOR*
                                                People in     PiN       People                               Targeted           Financial
                         Sector                                                                                                            Partners
                                               Need (PiN) percentage** targeted                              In need          requirements

                 Education                        1                            /             9.6%              1               

                 Food Security                    1                        /                16.5%             1                 15

                 Health                           1                            /            15.0%              1                21
                 Humanitarian
                 Transportation                   1                            /              4.9%                1               

                 Integration                      1                            /             4.3%             1              

                 Nutrition                         1                           /            12.0%                1               

                 Protection***                     1                           /             5.0%                1            

                 Child Protection                  1                            /            6.2%              1                15
                 Gender-Based
                 Violence (GBV)                    1                           /             3.3%               1             
                 ,YQER8VEƾGOMRK
                 & Smuggling                       1                            /             2.8%                1               

                 Shelter                          1                            /             3.4%               1              

                 WASH                             1                            /             7.0%              1               20

                 Multipurpose Cash
                                                           -                   -          /              -                1               
                 Assistance

                 Common Services****                       -                   -                  -              -                 1              
         ;LMPIRSXFIMRK7IGXSVWHEXEJSV1YPXMTYVTSWI'EWLERHJSV'SQQSR7IVZMGIWMWMRGPYHIHXSMRJSVQSRXLISZIVEPPXEVKIXWERHHMWXVMFYXMSRSJƼRERGMEP
           requirements in the RMRP 2023-2024.
       8LI4M2GEPGYPEXMSRWJSVWSQIWIGXSVW REQIP]2YXVMXMSR)HYGEXMSRERHEPP4VSXIGXMSRWYFWIGXSVW EVIFEWIHSRWTIGMƼGEKIERHKIRHIVKVSYTW
           resulting in a low PiN percentage as a proportion of the total population.
      *** This includes Support Spaces.
      **** This includes AAP-CwC, Communication, Coordination, Information Management, PSEA, and Reporting.
                                                                                                                                      CLP_AR_006312
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  RMRP 2023 - 2024                                                                                                                    COLOMBIA               137




COUNTRY OVERVIEW


Colombia is the country hosting the largest number of                               Protection Status for Venezuelans (TPS), and the
refugees and migrants from Venezuela in the region,                                 subsequent access to the General Social Security Health
2.48 million.1228LIVISTIRMRKSJSƾGMEPFSVHIVGVSWWMRKW                          System (SGSSS) and other social protection programmes
in the course of 2022 facilitated onward movements, as                              through the 7MWFʣR,128 multiple challenges persist. As
[IPPEWEHHMXMSREPMRƽS[WSJVIJYKIIWERHQMKVERXWJVSQ                            such, the results of the JNA conducted for the population
Venezuela and Ecuador and increased the proportion of                               in-destination129 VIƽIGX TIVWMWXIRX LYQERMXEVMER RIIHW
regular entries in recent months.123 Irregular arrivals are                         and integration challenges, particularly for those that do
expected to continue, in parallel with onward movements                             not have TPS and asylum-seekers (many of whom face
towards Central and North America of refugees and                                   barriers in accessing the asylum system). Eighty-two per
migrants of various nationalities. Pendular movements                               cent of households live in inadequate indoor housing
between Colombia and Venezuela remain frequent.124                                  conditions, 51 per cent eat two meals a day or less, 92 per
                                                                                    GIRXLEZIMRWYƾGMIRXSVMRXIVQMXXIRXEGGIWWXS[EXIVERH
The results of the joint needs assessment for in-transit
                                                                                    only 48 per cent of children attend school. Meanwhile, 52
and pendular population,125 by the National R4V Platform
                                                                                    per cent earn less than the minimum wage, 19 per cent
in Colombia (GIFMM) show a persistence of humanitarian
                                                                                    are unemployed and 24 per cent of households resort
needs. For example, 92 per cent of those in-transit have
                                                                                    to risky activities as a negative coping mechanism.
no resources for their journey; 51 per cent are severely
                                                                                    *YVXLIVQSVI E WMKRMƼGERX RYQFIV SJ VIJYKIIW ERH
JSSH MRWIGYVI  TIV GIRX JEGI HMƾGYPXMIW EGGIWWMRK
                                                                                    migrants face multiple challenges in a context of armed
potable water; and important gaps for assistance to
                                                                                    GSRƽMGXERHHMWEWXIVWGEYWIHF]REXYVEPXLVIEXW[LIVI
GLMPHVIREKIHXS[IVIMHIRXMƼIH126 Fifty-two per cent
                                                                                    indigenous populations are particularly affected.130
faced protection risks and 33 per cent knew someone
                                                                                    Services in some territories are saturated due to the
within their environment who was a GBV survivor. Those
                                                                                    increase of the population in need, posing challenges to
engaging in pendular movements enter Colombia mainly
                                                                                    access to health, education, shelter, water and sanitation,
to access food, healthcare (including mental health and
                                                                                    basic goods and services.
SRH127), medicines and livelihoods.
                                                                                    The current government has prioritized the integration
For refugees and migrants in-destination, despite the
                                                                                    of refugees and migrants through the TPS, in particular
efforts of the Colombian government to regularize and
                                                                                    focusing on homologation of higher education degrees
integrate refugees and migrants through the Temporary
                                                                                    and employability. However, Colombia's socio-economic


[122] Migration Colombia. Distribution of Venezuelans in Colombia as of 28 February 2022. LXXTWFMXP]7%&NXZ

[123] 3ƾGMEPƼKYVIW EZEMPEFPIEX1MKVEXMSR'SPSQFMEHEWLFSEVHSR1MKVEXMSR*PS[WSJ*SVIMKRIVWMRLXXTWXEFWSJXGSW/1( VIKMWXIV"SƾGMEP
      IRXVMIWSJ:IRI^YIPERREXMSREPWMRXLIƼVWXRMRIQSRXLWSJXLVSYKLXLI:IRI^YIPERFSVHIVERH"JVSQ)GYEHSVWMQMPEVP]XLI2EXMSREP6:4PEXJSVQ
      (GIFMM) estimates, based on the extrapolation of Migration Colombia data and movements monitored through an R4V partner’s Wi-Fi Analytics project,
      indicate >112,000 irregular entries between Venezuela and Colombia and >11,800 from Ecuador.

[124] 37% of the groups of refugees and migrants interviewed perform pendular movements "whenever required", 19% undertake them on a monthly basis and 8%
      undertake them daily. R4V, RMNA, October 202

[125] Ibid.

[126] 60% of children ages 0 to 5 have not accessed nutritional interventions, only 2% reported attending a kindergarten, institutional or community-based child
      development centre or school, and 25% are cared for by their parents while they are working (mostly in informal settings), which exposes them to risks

[127] 60% of pendular groups required mental health services while 41% mentioned needs in sexual and reproductive health.

[128] 8LI7MWFʣRMWXLI7]WXIQJSVXLI-HIRXMƼGEXMSRSJ4SXIRXMEP&IRIƼGMEVMIWSJ7SGMEP4VSKVEQQIW[LMGLGPEWWMƼIWXLITSTYPEXMSREGGSVHMRKXSXLIMVPMZMRK
      GSRHMXMSRWERHMRGSQI8LMWGPEWWMƼGEXMSRMWYWIHXSXEVKIXWSGMEPMRZIWXQIRXERHIRWYVIXLEXXLMWEGGIWWXSWSGMEPTVSKVEQQIW LSYWMRKLIEPXLIHYGEXMSR
      among others) is allocated to those who need it most. The Sisbén is administered by the National Planning Department (DNP). According to an R4V partner’s
      EREP]WMWFEWIHSR(24HEXEFIX[IIR.ERYEV]ERH.YP]VIJYKIIWERHQMKVERXW[LSLEHE8IQTSVEV]4VSXIGXMSR4IVQMX[IVIEƾPMEXIHXS
      Sisbén IV (38% of total Venezuelans with a TPP). See more at: https://bit.ly/3uyDiCV

[129] R4V, RMNA, October 2022;https://rmrp.r4v.info

[130] 8LILYQERMXEVMERIQIVKIRGMIWXLEXSGGYVVIHMREWEVIWYPXSJXLIEVQIHGSRƽMGXMR%VEYGE:MGLEHEERH1EKHEPIREWXERHSYXEW[IPPEWMQTEGXW
      in regions such as Nariño, Norte de Santander and Cauca; and those caused by disasters also in Vichada and Arauca, in Norte de Santander and in the
      Caribbean region (including the Mojana).
                                                                                                                             CLP_AR_006313
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   138             COLOMBIA                                                                                                                   RMRP 2023 - 2024



conditions, characterized by income inequality131, high                           In line with government priorities, R4V partners will
PEFSYVMRJSVQEPMX]KVS[MRKMRƽEXMSRERHYRIQTPS]QIRX                            support the socio-economic and cultural integration
are challenges that require a differentiated approach                             of refugees and migrants from Venezuela, including
to effectively integrate refugees and migrants from                               through their registration in the Sisbén, facilitating
Venezuela.132 Coupled with above-mentioned challenges                             EGGIWW XS IHYGEXMSR ERH LIEPXL7+777 EƾPMEXMSR ERH
to integration, concerning levels of xenophobia and                               will work on capacity development for the State’s health,
discrimination against refugees and migrants are                                  protection, education and justice services. Support for
expected to persist.133                                                           regularization will remain a priority, providing the basis
                                                                                  for integration. The overall aim is to ensure refugees’
SCOPE OF THE RESPONSE AND PRIORITIES                                              and migrants’ effective access to rights, goods and
                                                                                  services, advancing the generation of sustainable
This Plan contains a comprehensive and coordinated                                livelihoods, jobs and entrepreneurship opportunities, and
response in 31 of Colombia's 32 departments134                                    promoting harmonious relations with host communities.
implemented through 74 partners. Priority is given to                             Corresponding RMRP activities will particularly target
departments on the country’s borders with Venezuela,                              female heads of households, young people of productive
Ecuador and Panama, as well as cities and territories                             age, entrepreneurs, and people in areas affected by
with a high proportion of refugees and migrants in rural                          GSRƽMGXSVHMWEWXIVW
and remote areas.                                                                 Humanitarian assistance will be provided through
;LMPI EHHVIWWMRK XLI RIIHW MHIRXMƼIH XLVSYKL XLI                           direct assistance/activities, such as Cash and Voucher
RMNA, the RMRP will support the State’s response with                             Assistance (CVA), nutritional assistance, provision of
complementary programmes funded through bilateral                                 food and sanitation items, humanitarian transportation
cooperation, particularly in the area of medium to longer-                        and collective temporary shelters. These interventions
term socio-economic inclusion of refugees and migrants                            will target the most vulnerable, such as those in-transit on
from Venezuela in their host communities. To achieve                              foot ('caminantes'), refugees and migrants who recently
this goal, the planning process included consultations                            arrived or who live in informal settlements, indigenous
with International Financial Institutions (IFI),135 donors                        TSTYPEXMSRWTIVWSRW[MXLWTIGMƼGTVSXIGXMSRRIIHW IK
and the government of Colombia to ensure a coherent                               UASC, women at-risk, people with disabilities and/or
and complementary response by stakeholders within                                 chronic diseases) and those who cannot access the TPS
and outside the RMRP. Following a roundtable with                                 SVEW]PYQTVSGIHYVIWERHXLIVIJSVIGERRSXFIRIƼXJVSQ
bilateral, multilateral donors and IFIs in July, the GIFMM                        social protection schemes.
mapped key areas of bilateral donor support to the                                Protection is central in all activities under this Plan. As
state.136 The National Council on Economic and Social                             such, partners will support and strengthen mechanisms
Policy (CONPES) document on migration,137 adopted                                 XSMHIRXMJ]VIJIVERHEWWMWXZYPRIVEFPIGEWIWERHTVSƼPIW
MR .YP]  VIƽIGXW XLI +SZIVRQIRXƅW OI] VIWTSRWI                       Mass information strategies on access to rights and
priorities to the socio-economic inclusion of refugees and                        VMWOW[MPPXEVKIXTEVXMGYPEVTVSƼPIWERHGSRXI\XW IKSR
migrants from Venezuela for the next decade, a direction                          XVERWMXVSYXIWERHSVWMXYEXMSRWSJGSRƽMGXERHHMWEWXIVW
[LMGLLEWFIIRVIEƾVQIHF]XLIGYVVIRXKSZIVRQIRXXS                             among others).
R4V partners in 2022.


[131] The Gini index, which measures income distribution and inequality on a scale from 0 (least unequal) to 1 (most unequal), Colombia was ranked 0.523 in 2021.
      According to World Bank Data, the country ranks as the most unequal among the 38 OECD countries (OECD average Gini index is 0.334) and the third most
      unequal in Latin America and the Caribbean (average Gini index from the 25 LAC countries with available data is 0.461).(https://datos.bancomundial.org/
      MRHMGEHSV7-43:+-2-)

[132] According to an assessment conducted by an R4V partner on the integration of refugees and migrants from Venezuela in Colombia, 30 out of every 100
      refugees and migrants who report having been living in the country for more than two years still have humanitarian needs. Norwegian Refugee Council,
      Report on the integration of refugees and migrants in Colombia, 2022, https://nrc.org.co/wp-content/uploads/2022/07/Annex-4-NRC-Reporte-Quedarse-no-
      rendirse-Colombia.pdf

[133] Even though in the different rounds of the GIFMM JNA this proportion has gradually decreased, by 2022, 37% of interviewees in -destination had experienced
      discrimination, 96% due to their nationality. R4V, RMNA, October 2022.

[134] With the exception of Vaupés, given the low presence of both refugee and migrant populations and humanitarian actors.

[135] World Bank and Inter-American Development Bank.

[136] The CONPES priorities as well as the donor mapping can be found at: LXXTW[[[HRTKSZGS'324)7HSGYQIRXSWGSRTIW

[137] National Planning Department (DNP), National Council on Economic and Social Policy (CONPES). CONPES document N° 4100: Strategy for the integration of
      the Venezuelan migrant population as a factor for the country's development. 11 July 2022. LXXTWFMXP]8,3)N2.

                                                                                                                               CLP_AR_006314
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 RMRP 2023 - 2024                                                                                                                  COLOMBIA              139


The RMRP incorporates cross-cutting principles relating                          sectoral gaps. Protection will be mainstreamed across
to gender, environment, Centrality of Protection (CoP),                          interventions to ensure safety and dignity of all people
Protection from Sexual Exploitation and Abuse (PSEA)                             reached, to promote their exercise of fundamental rights,
and Accountability to Affected Populations (AAP). PiN                            safe access to services and their participation in decision-
and target populations are therefore disaggregated by                            making without discrimination. Aligned with the principle
age and gender; while partners self-evaluated through                            of “Do No Harm” and to promote minimum standards
the Gender and Age Marker (GAM)138 the differential                              in PSEA, R4V partners will establish actions to prevent
considerations of their response. Under the joint                                and mitigate sexual exploitation and abuse (SEA). AAP
guidance from the Environment focal point and the                                will inform the design and implementation of context-
national coordination team, partners will expand the                             WTIGMƼG GSRƼHIRXMEP ERH WEJI GSQQYRMX] GSQTPEMRX
scope of the environmental approach,139 including                                and feedback mechanisms, for reporting possible SEA
environmental considerations to improve the design                               situations, as well as other sectoral community feedback
of the response and also to identify and minimize                                requirements.




 CASH AND VOUCHER ASSISTANCE (CVA)
 According to the JNA,140 food is the main need for                              Multi-Purpose Cash Assistance (MPC) will be
 the different population groups: in-destination (74                             employed to:
 per cent), in-transit (82 per cent), pendulars (85 per
                                                                                 Support refugees and migrants in-need to meet all
 cent) and host communities141 (66 per cent). Other
                                                                                 or part of their basic needs while respecting direct
 RIIHWHMJJIVEGGSVHMRKXSXLITSTYPEXMSRƅWTVSƼPIJSV
                                                                                 decision-making at the individual and household level.
 those in-destination and affected host communities
 employment or income generation (69 per cent and 61                             Prevent the use of negative coping mechanisms. CVA
 per cent respectively), shelter (52 per cent and 44 per                         programmes will be implemented in all territories
 cent) and education (22 per cent and 15 per cent) are                           where targeted population groups are present, both in
 the prevalent needs; for those in-transit, humanitarian                         border areas and in the interior of the country.
 transportation (62 per cent), medical care (39 per cent),                       The CVA Group (CCWG) will take into account
 and shelter (37 per cent) are the most important needs;                         the estimate of the minimum expenditure basket
 and for the pendular population medical care (78 per                            (MEB) for 2022143 and updated guidelines of the
 cent), medication (58 per cent), and employment or                              national government that promote the inclusion of
 income generation (55 per cent) are the key needs.                              host populations and the strengthening of the link
 -RWYƾGMIRXƼRERGMEPVIWSYVGIWEQSRKSXLIVWTVIZIRX                           with national social protection systems. The CCWG
 the populations from meeting their multiple needs,                              will also ensure that targeting criteria and procedures,
 leading refugees and migrants to resort to negative                             intersectoral coordination and exit strategies are
 coping mechanisms.142                                                           coordinated. It will also promote the implementation
                                                                                 of accountability models, community engagement,
                                                                                 CwC and cross-cutting issues such as PSEA, gender,
                                                                                 environment, diversity, age and disability.

 [138] According to the GAM marker self-assessments, 97% of R4V 2023-2024 partners in Colombia incorporated considerations of gender equity according
       to age and/or disability in their activities (this is 19% higher than RMRP 2022 results), while 1% expect to promote and/or contribute to gender
       equity without incorporating age and/or disability. However, only two thirds (67%) aim at actions to transform gender roles, which are root causes of
      discrimination and violence. -REHHMXMSR SJXLIWYFQMWWMSRWIZEPYEXIHMRGPYHIWTIGMƼGRIIHWSJ0+&85-TIVWSRWMRXLITVSNIGXHIWMKR

 [139] In Colombia, 81 R4V partners self-assessed their interventions using the cross-sectoral questionnaire of the Environmental Scoreboard, through 1,020
       answers to questions regarding 13 humanitarian sectors. As a result, 38% of the responses indicate that the environmental considerations consulted
       have been previously or are currently carried out by the organizations, 42% are considering the evaluated aspects; while in 9% of the cases such
       indications are not being considered and only 1% were not aware of these criteria (for the remaining 10%, such considerations did not apply to the
       evaluated submission).

 [140] R4V, RMNA, October 2022.

 [141] 'SRWMHIVMRKSRP]ƼZIQYRMGMTEPMXMIW%VEYGE'ʱGYXE4EWXS6MSLEGLEERH7ER1MKYIP[LIVI:IRI^YIPERWERHLSWXGSQQYRMXMIW[IVIMRXIVZMI[IHMR
       the GIFMM’s JNA for in-destination and returnee populations.

 [142] Mechanisms such as: begging, spending savings, buying food on credit, selling goods, or doing some activity that they had never thought would do and
       prefer not to mention.

 [143] GTM Colombia and REACH, Gap Analysis, 2022, https://www.r4v.info/es/document/gifmm-colombia-canasta-basica-de-gastos-minimos-humanitaria-
       para-poblacion-migrante                                                                                            CLP_AR_006315
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   140              COLOMBIA                                                                                                                     RMRP 2023 - 2024




                EDUCATION
     2023               2024

                                                          34.2%         37.1%                                                                 34.3%            37.0%
              PEOPLE IN NEED                                                                      PEOPLE TARGETED

                   4.09 M              4.36 M             14.5%         14.2%                         449.4 K              419.4 K             14.5%            14.2%




              PIN PERCENTAGE                                         TOTAL REQUIREMENTS                                    RMRP PARTNERS

                   54.9%               55.4%                           $56.21 M           $46.27 M                               18


SECTOR LEADS:                  NRC, SAVE THE CHILDREN, UNICEF



The Education Sector will prioritize:144                                                 children and adolescents in the education system
                                                                                         and education services within the welfare system.
1. Promote access and retention in the education
   system of children and adolescents, with an emphasis                             • Capacity development for educational authorities,
   on education phases with the greatest enrolment and                                   teachers and providers of early childhood education;
   retention gaps, such as early childhood education                                     application of educational strategies tailored to
   and high school.145                                                                   WTIGMƼGGLEVEGXIVMWXMGWERHGLEPPIRKIWSJXLIXEVKIX
                                                                                         population, as well as strengthening social cohesion
2. Improve capacities of educational institutions                                        and integration with host community children.
   and authorities, and welfare systems, teachers and
                                                                                    • In-kind distribution of educational supplies, guides
   providers of early childhood education to support
                                                                                         and school meals to assist families in enrolling their
   the inclusion and permanence of children and
                                                                                         children and reducing school dropouts, including
   adolescents in the educational system.146
                                                                                         through CVA.
3. Promote the recovery of post-pandemic learning                                   The Education Sector will ensure an integrated
   through remedial learning, curricular adaptation,                                response in collaboration with several other Sectors.
   KVIEXIV ƽI\MFMPMX] MR EWWIWWQIRXW JSV GLMPHVIR ERH                        It will promote PSEA actions and will coordinate with
   adolescents, and capacity development for teachers                               the Ministry of Education in line with the Ministry’s
   to create more inclusive and protective learning                                 strategy on education of Venezuelans and Decree 1288
   environments.                                                                    of 2018.147 It will also coordinate with the Food Security
                                                                                    and Nutrition Sectors to promote childhood nutrition
Response modalities:                                                                and WASH to rehabilitate sanitary facilities and hygiene
These priorities will be delivered through:                                         promotion (including menstrual hygiene campaigns) in
                                                                                    educational institutions and early childhood education
• Technical assistance to national and local
                                                                                    services. It will bolster child protection and GBV efforts
    educational institutions to support the effective
                                                                                    by promoting regularization of refugee and migrant
    inclusion and retention of refugee and migrant


[144] The response will focus on border areas, and municipalities with higher rates of refugee and migrant children and adolescents from Venezuela enrolled in the
      school system.

[145] 8LMWMRGPYHIWXLITVSZMWMSRSJWGLSSPWYTTPMIWERHWYTTSVXWIVZMGIWƽI\MFPIERHEGGIPIVEXIHIHYGEXMSRQSHIPWERHXEMPSVIHIHYGEXMSREPWXVEXIKMIWJSV
      children and adolescents in-transit.

[146] This includes the information-sharing with education actors to allow the completion of school trajectory and the link with socio-economic integration.

                                                                                                                                  CLP_AR_006316
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children, and develop joint strategies that aim to prevent                           [MXLTEXL[E]WMRXIGLRSPSKMGEPSVIRXVITVIRIYVMEPƼIPHW
violence, xenophobia and recruitment by illegal armed                                for the youth. The Sector will also coordinate alternative
actors and organized criminal groups. The Sector will                                education solutions for children living in shelters and
coordinate efforts with the Integration Sector to promote                            school transportation services with the Humanitarian
obtention and validation of academic degrees and assist                              Transportation and Shelter Sectors.




                FOOD SECURITY
     2023               2024

                                                          34.7%         37.3%                                                                   34.7%        37.3%
              PEOPLE IN NEED                                                                       PEOPLE TARGETED

                   3.96 M              4.20 M              14.0%        14.0%                          975.8 K             693.5 K              14.0%         14.0%




              PIN PERCENTAGE                                         TOTAL REQUIREMENTS                                     RMRP PARTNERS

                    53.2%               53.4%                         $125.36 M           $99.98 M                                17


SECTOR LEAD:                  WFP



8LI QEMR VIWTSRWI TVMSVMXMIW MHIRXMƼIH F] XLI *SSH                           households, households with pregnant and lactating
Security Sector partners are:                                                        members, children, and those located in highly affected
                                                                                     departments149 will be prioritized. Actions will integrate,
1. Food assistance for refugees and migrants in highly
                                                                                     wherever possible, gender equity in food assistance and
   vulnerable situations with an AGD and ethnicity-
                                                                                     livelihoods, and will engage populations in accountability
   sensitive approach, and a focus on community
                                                                                     processes including awareness on PSEA.
   integration.
                                                                                     The following response modalities will be used by Food
2. Recovery of productive capacities and sustainable                                 Security Sector:
   agricultural    livelihoods    through     agro-food
                                                                                     • Food assistance through CVA (both vouchers and
   systems tailored to the local context,148 taking into
                                                                                          MPC), as well as targeted150 in-kind food assistance
   consideration environmental impact evaluations,
                                                                                          for households or groups in locations without
   anticipatory action, and socio-economic integration
                                                                                          adequate access to markets. Environmentally
   approaches.
                                                                                          conscious management of organic waste will also be
3. Food and nutrition education activities, including on                                  promoted.
   healthy lifestyle habits, in accordance with peoples’                             • In-kind provision of and technical assistance on
   age, food practices and their income and livelihood                                    the use of agricultural supplies for the rehabilitation,
   prospects.                                                                             maintenance and/or protection of livelihoods and
                                                                                          rapid food production, while protecting natural
Populations in-transit and in pendular movements, peri-                                   resources.
urban and rural populations in-destination, indigenous


[147] LXXTW[[[WYMRNYVMWGSPKSZGSZMI[(SGYQIRXEWT#VYXE!(IGVIXSW

[148] Includes ecosystems, productive uses, market access, culture, and local identity.

[149] Antioquia, Arauca, Atlántico, Bolívar, Cauca, La Guajira, Nariño, Norte de Santander, Santander, and Valle del Cauca are prioritized departments; however,
      sectoral response covers other departments.
                                                                                                                               CLP_AR_006317
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• Capacity building through community workshops,               agricultural livelihoods, while promoting handwashing
   practical activities on optimization of agricultural        practices. Partners will also work with the Health Sector
   production,    food    purchases    and   cooking,          to integrate food assistance and agricultural livelihoods
   dissemination of key messages on food and healthy           TVSKVEQQIWXSTVSQSXIEƾPMEXMSRXSXLI+IRIVEP,IEPXL
   life habits with an age, gender and ethnically              Social Security System (SGSSS). With the Integration
   sensitive approach.                                         Sector, access to agricultural livelihoods through
                                                               entrepreneurship will be promoted. Intersectoral actions
Integral response approaches:
                                                               will also be carried out with the Education, Protection
Collaborative approaches will be undertaken with               and Shelter Sectors, the GBV Sub-sector and the CVA
multiple sectors to ensure food security actions are more      Working Group.
effective. For example, working with the WASH Sector
to ensure water is available for food production and for




            HEALTH
   2023           2024

                                           34.3%     37.3%                                                34.3%       37.3%
          PEOPLE IN NEED                                                 PEOPLE TARGETED

              5.32 M          5.66 M        14.3%     14.1%                   1.43 M       849.4 K         14.3%       14.1%




          PIN PERCENTAGE                            TOTAL REQUIREMENTS                      RMRP PARTNERS

               71.5%          71.9%                 $97.29 M       $78.42 M                     34


SECTOR LEADS:             MINISTRY OF HEALTH, WHO/PAHO



8LIQEMRVIWTSRWITVMSVMXMIWMHIRXMƼIHF],IEPXL7IGXSV          communicable diseases; g) health prevention and
partners are to:                                                  promotion for children; h) promotion of oral health;
                                                                  and i) environmental health.
1. Contribute to the effective access of refugees and
   migrants to health services, by increasing access to
                                                               3. Strengthen institutional and community capacity
   health insurance among the regularized population,
                                                                  support to facilitate effective access to health services
   and through the implementation of health access
                                                                  that ensure durable solutions. Additionally, health
   mechanisms targeting those in irregular situations
                                                                  services and referral and counter-referral processes
   and those with unmet health needs.
                                                                  at different levels of care will be strengthened aimed
                                                                  at ensuring comprehensive and safe care for the
2. Provide effective and complementary health
                                                                  population.
   services based on quality standards according to
   individual needs and risks. Health services will include:
                                                               Response modalities:
   a) primary healthcare; b) nutritional health; c) mental
   health; d) sexual and reproductive health (maternal         • In-kind assistance will be provided applying a case-
   care, voluntary termination of pregnancy (VTP),                management approach. Direct provision of health
   contraception, prevention, and care for GBV, STI/              supplies (including medicines, equipment, assistive
   HIV); e) assistance for chronic or ‘high-cost’ diseases;       devices, etc.) and telemedicine/teleassistance.
   f) epidemiological surveillance and response to
                                                                                                 CLP_AR_006318
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• Support the enrolment in national health insurances                               will prioritize assistance to refugees and migrants
    and access to services through communication                                    in highly vulnerable situations, such as children and
    campaigns and health fairs with the Ministry of                                 adolescents, pregnant and lactating women, people
    Health and relating advocacy.                                                   PMZMRK [MXL ,-:%-(7 TISTPI [MXL WTIGMƼG RIIHW ERH
                                                                                    LGBTQI+ persons.
• Institutional and community capacity development
    XS MQTVSZI LIEPXLGEVI WXERHEVHW especially for                             In addition to coordinating with the Ministry of Health,
    TVMQEV] LIEPXLGEVI JEGMPMXMIW ƼVWX VIWTSRHIVW                            the Sector will coordinate with the Protection Sector
    community health vigilance, dialogues on ancestral                              and the GBV Sub-sector to provide assistance for GBV
    knowledge151 and health education, as well as                                   survivors, psychosocial support and establish referral
    coordination between host communities and                                       pathways for critical mental health cases, and with
    healthcare institutions, articulating intersectoral                             Humanitarian Transportation to support access to
    plans, and monitoring of accountability and advocacy                            healthcare. Coordination will take place with the WASH,
    measures.                                                                       Food Security, Nutrition, Education and Shelter Sectors
                                                                                    related to social determinants of health.152 This response
Integral response approaches:
                                                                                    will contribute to SDG 3 to ensure healthy lives, free from
Interventions of Health Sector partners will incorporate                            violence, and promote well-being at all ages.
human rights-based, gender-based, cross-cultural, and
multi-sectoral approaches and PSEA actions. Partners




                HUMANITARIAN TRANSPORTATION
     2023              2024

                                                         35.3%         35.3%                                                                 35.3%        35.3%
              PEOPLE IN NEED                                                                     PEOPLE TARGETED

                    1.85 M            2.03 M              15.2%        14.3%                           119.4 K             99.9 K             15.2%        14.3%




              PIN PERCENTAGE                                        TOTAL REQUIREMENTS                                    RMRP PARTNERS

                    24.9%              25.8%                           $4.66 M             $4.54 M                              10


SECTOR LEADS:                 IOM, NATIONAL RED CROSS SOCIETY, UNHCR



The Sector will prioritize the following responses:                                     crossings, in close coordination with migration
                                                                                        EYXLSVMXMIW ERH WYFNIGX XS TVMSV ZIVMƼGEXMSR SJ XLI
1. Transportation between cities and municipalities
                                                                                        documentation required for regular transit to a third
   MR 'SPSQFME XS JEGMPMXEXI JEQMP] VIYRMƼGEXMSR WSGMS
                                                                                        country and is underpinned by R4V partner case
   economic integration and assistance within the
                                                                                        management of each individual case. The response
   framework of other sectoral activities (Health,
                                                                                        generally does not include cross-border or border-to-
   Education and Protection). It also includes
                                                                                        border transportation.
   XVERWTSVXEXMSR [MXLMR XLI GSYRXV] XS SƾGMEP FSVHIV


[150] %GGSVHMRKXSXLIWTIGMƼGRIIHWSJGLMPHVIRERHEHSPIWGIRXWTVIKRERXPEGXEXMRK[SQIRIPHIVP]TISTPITISTPI[MXLHMWEFMPMXMIWERHIXLRMGKVSYTW

[151] (MEPSKYIWSRMRHMKIRSYWTVEGXMGIWMRXLIƼIPHSJLIEPXLXVIEXQIRXERHQIHMGMRIW[MXLMRHMKIRSYWKVSYTW

[152] ;,3HIƼRIWXLIWSGMEPHIXIVQMRERXWSJLIEPXL 7(, EWXLIGSRHMXMSRWMR[LMGLTISTPIEVIFSVRKVS[[SVOPMZIERHEKIERHXLI[MHIVWIXSJJSVGIWERH

                                                                                                                            CLP_AR_006319
      W]WXIQWWLETMRKXLIGSRHMXMSRWSJHEMP]PMJIXLEXMRƽYIRGILIEPXLSYXGSQIWLXXTW[[[[LSMRXLIEPXLXSTMGWWSGMEPHIXIVQMRERXWSJLIEPXLXEF!XEFC
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2. Local transportation assistance (within cities/           Response modalities:
   municipalities) to facilitate access to basic goods and
                                                             In-kind assistance through the procurement of land
   services (protection, education, food, documentation,
                                                             transportation services and distribution of individual
   regularization, health, socio-economic integration,
                                                             land transportation tickets. CVA, both restricted and
   among others). The Sector will seek to encourage
                                                             multipurpose (MPC), will allow refugees and migrants
   engagement and advocacy with the national and
                                                             to make the direct purchase of land transportation
   PSGEP EYXLSVMXMIW XS TVSQSXI WEJI ERH HMKRMƼIH
                                                             tickets. All activities will be implemented within a case
   transportation solutions for refugees and migrants in
                                                             management framework.
   an irregular situation.
                                                             Integral response approaches:
Priority will be given to women at-risk (unaccompanied
                                                             Coordination with the CVA Group is a priority. The
women, women heads of households responsible
                                                             Humanitarian Transportation Sector will also work with
for children, pregnant and lactating women, and GBV
                                                             Education and Integration Sectors to promote access to
survivors), LGBTQI+ persons at-risk and/or GBV survivors,
                                                             services for those in rural areas, as well with Protection
households with children and adolescents, UASC (within
                                                             and Health Sectors to update protocols and guidelines
the framework of best interest determination processes
                                                             for the incorporation of a comprehensive approach in the
with prior coordination between the R4V partner and
                                                             response, including case management and prioritization
the Colombian Family Welfare Institute), persons with
                                                             SJ TVSƼPIW MR ZYPRIVEFPI WMXYEXMSRW JEGMPMXEXMRK XLI
WTIGMƼGRIIHWSV[MXLGVMXMGEPGLVSRMGHMWIEWIWIPHIVP]
                                                             TVIZIRXMSR MHIRXMƼGEXMSR ERH QEREKIQIRX SJ ZMGXMQW
people, and families threatened or at-risk within the
                                                             SJ LYQER XVEƾGOMRK EW [IPP EW GEWIW EWWSGMEXIH
GSRXI\XSJXLIMRXIVREPEVQIHGSRƽMGXSVMRGSRXI\XWSJ
                                                             with smuggling. Cross-cutting approaches to GBV,
generalized violence.
                                                             environment, PSEA, and AAP, in coordination with CwC,
                                                             will be applied.




                                                                                              k-31)PM^EFIXL6MZIVE

                                                                                               CLP_AR_006320
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                INTEGRATION
     2023              2024

                                                         34.1%        37.4%                                                                  34.1%       37.4%
              PEOPLE IN NEED                                                                    PEOPLE TARGETED

                   5.25 M             5.59 M             14.3%          14.1%                        239.1 K             237.6 K             14.3%           14.1%




              PIN PERCENTAGE                                        TOTAL REQUIREMENTS                                   RMRP PARTNERS

                   70.6%               71.0%                        $126.84 M           $127.26 M                              46


SECTOR LEADS:                 IOM, PADF, UNDP



The Sector will work towards the socio-economic                                         Comprehensive Migration Policy155 and the new
integration of refugees and migrants from Venezuela,                                    “Income Generation Strategy for the Migrant
with an emphasis on activities targeting youth, women                                   Population and Host Communities”.156
and LGBTQI+ persons,153 by:
                                                                                   Response modalities:
1. Improving access to decent work, through the
   ZEPMHEXMSRSJLMKLIVIHYGEXMSRHIKVIIWGIVXMƼGEXMSRSJ                        Capacity building through guidance and trainings, as
   competencies, job trainings and human development,                              well as technical assistance, distribution of work tools
   among others.                                                                   and equipment will be provided on an in-kind basis to
                                                                                   refugees and migrants from Venezuela and affected
2. Promoting support services JSVIRXVITVIRIYVWLMT154                             host communities. Cash grants will also be provided to
   aiding refugee and migrant entrepreneurs to create,                             support refugees and migrants with their rents, food,
   capitalize and develop their businesses, while                                  transportation and connectivity needs, among others, to
   boosting local economies.                                                       complement employability pathways, entrepreneurship,
                                                                                   ƼRERGMEPMRGPYWMSRERHWSGMEPGSLIWMSR
3. Strengthening       ƼRERGMEP     autonomy      through
                                                                                   To improve capacities of government institutions, private
   JEGMPMXEXMRKEGGIWWXSƼRERGMEPIHYGEXMSRWIVZMGIWERH
                                                                                   sector and R4V partners, the Sector will provide technical
   access to savings and credit products.
                                                                                   assistance, assist with the recruitment of personnel,
4. Strengthening social cohesion and peaceful                                      conduct research exercises, provide equipment and the
   coexistence in order to reduce incidents of                                     strengthen of information systems.
   discrimination and xenophobia when accessing                                    Integral response approaches:
   economic and social rights.
                                                                                   The Integration Sector will coordinate with the CVA
5. Strengthening the public offer of socio-economic                                Group to develop mechanisms that complement
   and cultural integration services, by assisting                                 entrepreneurship and employability pathways and
   the implementation of the TPS, the Government’s                                 MQTVSZI ƼRERGMEP MRGPYWMSR ;MXL XLI *SSH 7IGYVMX]



[153] Environmentally conscientious solutions will also be considered and promoted, including green jobs, green ventures, and green loans.

[154] Especially in territories where the implementation of the “Centros Intégrate” (Integration Centres for Development) strategy and INNPULSA Colombia’s
      entrepreneurship programme coincide.

[155] The CONPES 4100 “Strategy for the Integration of the Venezuelan Migrant Population as a Development Factor”, LXXTWGSPEFSVEGMSRHRTKSZGS'(8
      Conpes/Econ%C3%B3micos/4100.pdf

[156] https://www.undp.org/es/colombia/publications/estrategia-de-ingresos-para-migrantes-venezolanos
                                                                                                                            CLP_AR_006321
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and Nutrition Sectors, the Integration Sector will jointly                       labour rights and the prevention of child labour will be
promote access to agricultural livelihoods; while with                           developed and implemented.
the Education Sector, technical secondary education will
                                                                                 The Integration Sector will work closely with government
be supported; and with the Protection Sector, the GBV
                                                                                 authorities to strengthen socio-economic integration
and, Child Protection Sub-sectors, and with the PSEA
                                                                                 strategies, according to Action Line #3 of the CONPES
focal point, strategies for the prevention of xenophobia,
                                                                                 4100, which includes employability entrepreneurship,
prevention and assistance to GBV, PSEA, protection of
                                                                                 HMTPSQEVIGSKRMXMSRERHWOMPPWGIVXMƼGEXMSR157




               NUTRITION
     2023              2024

                                                         0.0%        42.2%                                                                0.0%        42.2%
              PEOPLE IN NEED                                                                  PEOPLE TARGETED

                   1.20 M             1.25 M            27.9%       29.8%                           114.8 K           149.9 K            27.9%        29.8%




              PIN PERCENTAGE                                      TOTAL REQUIREMENTS                                   RMRP PARTNERS

                    16.1%             15.9%                          $4.36 M            $3.85 M                              12


SECTOR LEADS:                 WFP, UNICEF



The response priorities based on the needs and gaps                              3. Awareness raising and information provision on
MHIRXMƼIHF]2YXVMXMSR7IGXSVTEVXRIVWEVI                                         breastfeeding, infant and young child feeding practices
                                                                                    for parents, caregivers, families, health workers
1. 4VSZMHMRK HMVIGX RYXVMXMSREP EWWMWXERGI to prevent
                                                                                    and community agents. The active participation of
   and manage malnutrition among refugee and
                                                                                    refugees and migrants will be promoted in the design
   migrant children, and pregnant and lactating women.
                                                                                    and monitoring of nutrition interventions, through an
   Assistance will include measures to prevent and treat
                                                                                    AGD approach.
   acute malnutrition, such as nutritional assessments,
   micronutrient supplementation and deworming
                                                                                 Response modalities:
   treatments, taking into account an AGD approach.
                                                                                 • Ensure provision of services to concerned refugees,
2. Strengthening the capacity of health and social                                    migrants and affected host communities provided by
   protection services to ensure access to nutrition                                  local health institutions.
   interventions including nutritional assessments
                                                                                 • Community focused participatory and practical
   and referral, and interventions (e.g. deworming,
                                                                                      sessions with refugee and migrant families on
   QMGVSRYXVMIRX WYTTPIQIRXEXMSR MHIRXMƼGEXMSR ERH
                                                                                      breastfeeding, young child feeding and key nutrition
   XVIEXQIRX SJ QEPRYXVMXMSR HYI XS HIƼGMIRG] ERH
                                                                                      practices.
   excesses in children under 5 and pregnant and
   lactating women).




[157] Government authorities include: Ministry of Labour and the Public Employment Service; Ministry of Commerce, Industry and Tourism; The National Learning
      Service (SENA); Ministry of Finance, and the Ministry of Education.
                                                                                                                             CLP_AR_006322
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• Capacity building for health and social protection                                 their strategies through education, information provision
    [SVOIVW on regulations on nutritional care and                                  and factoring in nutritional outcomes of refugees and
    good practices in reducing barriers to access to                                 migrants, while enhancing key actions (e.g. breastfeeding
    health services and social protection for refugee and                            counselling, nutrition services engagement) including
    migrant populations.                                                             with CVA programmes.
All the actions described will apply PSEA considerations.
Integral response approaches:
The Nutrition Sector will coordinate and liaise with the
Education, Health, WASH and Protection Sectors to
promote and incorporate nutrition considerations in




                PROTECTION
     2023               2024

                                                           34.1%       36.4%                                                                    34.1%     36.4%
              PEOPLE IN NEED                                                                      PEOPLE TARGETED

                   4.58 M               4.91 M             15.1%        14.4%                          542.0 K             247.8 K              15.1%      14.4%




              PIN PERCENTAGE                                         TOTAL REQUIREMENTS                                     RMRP PARTNERS

                    61.6%              62.4%                           $64.12 M             $51.31 M                              38


SECTOR LEADS:                 DRC, UNHCR



The response activities of the Protection Sector aim to                              and will be prioritized. Priority is also given to individuals
identify refugees and migrants with protection needs,                                and communities subject to double affectation.160
including those exposed to double impact contexts
                                                                                     Capacity building and advocacy with the Government161
 PMROIH XS EVQIH GSRƽMGX ERHSV SVKERM^IH GVMQI 
                                                                                     regarding Refugee Status Determination (RSD)
The departments of Antioquia, Arauca, Bolívar, Cauca,
                                                                                     procedures is a response priority, as well as mass
Nariño, Norte de Santander, and the Bogotá area,158 as
                                                                                     information, counselling and follow-up strategies on
well as the sub-region of Urabá,159 are the most affected
                                                                                     access to rights.162




[158] 3QFYHWTIVWSRƅW3ƾGIƉ(]REQMG(EWLFSEVHSR)EVP];EVRMRKWƉEGGIWWIH.YP]LXXTWEPIVXEWXIQTVEREWHIJIRWSVMEKSZGS%PIVXE8EFPIVS

[159] %WXVEXIK]LEWFIIRTVMSVMXM^IHMRXLI9VEFʛEVIEMRVIWTSRWIXSXLIMHIRXMƼIHTVSXIGXMSRVMWOWSJQM\IHQSZIQIRXWMRXLIEVIE

[160] -REGGSVHERGI[MXLXLIFEGOXSFEGOGSSVHMREXMSRQIGLERMWQ[MXLXLI4VSXIGXMSR'PYWXIVERHJSGYWMRKSRTVSƼPIWXLEXMRGPYHIMRHMKIRSYWTISTPIWMRFSVHIV
      contexts, people at risk of eviction, pregnant and lactating women, LGBTQI+ people, youth between 18-23 years old, people with serious medical situations,
      and those in-transit.

[161] By complementing the actions developed by the authorities through the ICBF, the Ministry of Health and Social Protection, Social Prosperity, among other
      entities, and also through guidance, advisory and legal representation, aiming to guarantee protection services.

[162] 7YGLEWEGGIWWXSQIHMGEPWIVZMGIWƼRERGMEPERHFEROWIVZMGIWETTVSTVMEXILSYWMRKTVSKVEQQIWEGGIWWXSPIKEP[SVOSTTSVXYRMXMIWIHYGEXMSRMREPPPIZIPW
      and work specialized trainings.
                                                                                                                              CLP_AR_006323
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The Sector will work on reducing access gaps to                                      • Capacity-building for relevant national and local
nationality and the risk of statelessness for children of                                 authorities to enhance ongoing regularization
Venezuelan parents,163 Colombian returnees born in                                        programmes (particularly the TPS process),
Venezuela, and those affected by discretionary document                                   international protection capacities, especially to
cancellation measures.                                                                    enhance RSD processing.
The response will prioritize reducing gaps to                                        • Direct services such as mass information, counselling
specialized protection services for Venezuelans lacking                                   and follow-up strategies on access to rights, aiming
documentation, those requiring access to the TPS164 and                                   at promoting informed decision-making of refugees
asylum procedures, those who are homeless or at risk of                                   and migrants.
eviction, or who do not have the possibility of accessing
                                                                                     Integral response approaches:
decent housing in Colombia.165 Priority will be given to
the response to indigenous peoples in border contexts,                               The Protection Sector will promote and ensure the
in coordination with national and local authorities, as well                         mainstreaming of protection in all Sectors with a focus
as indigenous organizations.                                                         SRXLIMHIRXMƼGEXMSRSJMRHMZMHYEPWJEGMRKTVSXIGXMSRVMWOW
                                                                                     and needs, and the strengthening of Support Spaces
Response modalities:
                                                                                     and other key points for the provision of services and
The Sector will provide:                                                             assistance for persons with protection needs; while
                                                                                     ensuring close collaboration on AAP approaches
• Protection assistance and specialized services,
                                                                                     and PSEA considerations with respective R4V
    including case management and referral, for refugees
                                                                                     Working Groups.
    and migrants to address their protection needs.




                                                                                                                                  k+3%07MPZME'EPHIVʬR




[163] Pursuant to Resolution 8470/2019-Law 1997/2019, children born to Venezuelan parents in Colombia are entitled to Colombian citizenship;
      LXXTWFMXP]F[0-;%.

[164] 8LMWEPWSMRGPYHIWXLIMHIRXMƼGEXMSRSJFEVVMIVWXSEGGIWWMRKVMKLXWJSVXLSWI[LSGEVV]XLI844ERHXLIHIWMKRSJWXVEXIKMIWXSSZIVGSQIXLSWIFEVVMIVW

[165] According to the R4V Protection Sector’s regional housing survey, 90% of people pay rent in host countries and 99.5% do not have access to housing
      programmes.
                                                                                                                                   CLP_AR_006324
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                CHILD PROTECTION
     2023               2024

                                                           0.0%          0.0%                                                                    0.0%          0.0%
              PEOPLE IN NEED                                                                       PEOPLE TARGETED

                    1.70 M              1.82 M             51.0%        49.0%                           119.6 K              113.4 K            51.0%        49.0%




              PIN PERCENTAGE                                         TOTAL REQUIREMENTS                                     RMRP PARTNERS

                    22.8%               23.1%                         $28.02 M             $25.02 M                               17


SUB-SECTOR LEADS: IOM, CID



8LI 'LMPH 4VSXIGXMSR 7YFWIGXSV LEW MHIRXMƼIH XLI                                  to facilitate access to care services to enhance
following response priorities:166                                                         access to rights and prevent violations. This includes
                                                                                          promoting strategies to reduce barriers on access to
1. Creation     and    strengthening       of     protective
                                                                                          nationality and prevent the risk of statelessness.
   environments to carry out activities to prevent the
   recruitment, use, utilization,167 and sexual violence
                                                                                     Response modalities:
   by illegal armed groups and criminal groups, or any
   type of violence that violates the rights of refugee and                          Support national and partner protection services, with
   migrant children, especially in border areas.168                                  a capacity building perspective through:
                                                                                     • The creation and strengthening of child friendly
2. Support the response to unaccompanied and
                                                                                          WTEGIW TVSXIGXMZI WTEGIW SV WEJI GSQQYRMX]
   separated refugee and migrant children to monitor
                                                                                          spaces to prevent protection risks and assist refugee
   risks, strengthen access to protection pathways at
                                                                                          and migrant children and adolescent.
   the national and local levels, and develop activities to
   TVIZIRXJEQMP]WITEVEXMSRJEGMPMXEXIVIYRMƼGEXMSR[MXL                          • Comprehensive         strengthening of protective
   families and/or caregivers and strengthen their life                                   environments to prevent violence against refugee
   plans and prospects.                                                                   and migrant children and adolescents.
                                                                                     • Integration activities for children and adolescents to
3. Support national strategies for the regularization and
                                                                                          TVSQSXIGSQQYRMX]FEWIHEƾVQEXMZIEGXMSR169
   social integration of refugee and migrant children,
   and the strengthening of their life plans and prospects                           • Activities with adolescent refugees and migrants to
   and the socio-economic integration of their families,                                  enhance their plans and prospects (as autonomously
                                                                                          as possible).


[166] In complementarity with the State's public policy frameworks, such as the "Strategy for stabilization, integration and future of children, adolescents, young
      migrants and their families from Venezuela" implemented by the Colombian Institute for Family Welfare (ICBF), among others https://www.icbf.gov.co/sites/
      HIJEYPXƼPIWCIWXVEXIKMECQMKVEGMSRCZCƼREPCIWXECWMTHJ

[167] %GGSVHMRKXS-'&*ƈ6IGPYXEQMIRXSƉƈ9WSƉERHƈ9XMPM^EGMʬRƉMR7TERMWLEVIGSRGITXYEPM^IHEWXLVIIWTIGMƼGEJJIGXEXMSRW7IIQSVIEX-'&*8IGLRMGEP+YMHIPMRI
      for the Prevention of Recruitment Use and Utilization of Adolescents and Youth - Technical Appendix (page 6), LXXTW[[[MGFJKSZGSWMXIWHIJEYPXƼPIW
      HSGYQIRXSWGSRWXVYGGMSRCERI\SCXIGRMGSCTEVECPECTVIZIRGMSRCHIPCVIGPYXEQMIRXSCYWSC]CYXMPM^EGMSRCHICEHSPIWGIRXIWC]CNSZIRIWCTHJ

[168] The Recruitment Probability Index designed by the Technical Secretariat of the Intersectoral Commission for the Prevention of Recruitment, Utilization,
      and Sexual Violence against Boys, Girls, and Adolescents indicates prioritizing prevention actions in the following border departments: Norte de Santander,
      Arauca, Vichada, La Guajira, Putumayo, and Antioquia.

[169] 8LI'SPSQFMER'SRWXMXYXMSREP'SYVXYRHIVWXERHWEƾVQEXMZIEGXMSREWTSPMGMIWSVQIEWYVIWEMQIHEXJEZSYVMRKGIVXEMRMRHMZMHYEPWSVKVSYTWIMXLIV
      to eliminate or reduce social, cultural or economic inequalities that affect them or to ensure that members of an underrepresented group, which has
      usually suffered from historical discrimination, have greater representation. LXXTW[[[GSVXIGSRWXMXYGMSREPKSZGS8VERWTEVIRGMETYFPMGEGMSRIW
      Igualaci%C3%B3n%20material%20v2%2071020.pdf.
                                                                                                                               CLP_AR_006325
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• Carry out GEWI QEREKIQIRX EGXMZEXMSR ERH Integral response approaches:
    territorialization of pathways enhancing individual
                                                                                        The Sub-sector will work in coordination with the
    and community care.
                                                                                        Protection Sector and the Sub-sectors on GBV,
• Technical assistance to partners and authorities to                                   ,YQER 8VEƾGOMRK ERH 7QYKKPMRK EW [IPP EW XLI
    integrate child- and adolescent approaches in the                                   Health, Education, WASH, Food Security, Nutrition,
    context of mixed movements.                                                         and Integration Sectors to mainstream child
                                                                                        protection initiatives.
• Technical assistance at the national and local level
    for the protection and integration of UASC, with an
    emphasis on the search for durable solutions.




                 GENDER-BASED VIOLENCE (GBV)
     2023                2024

                                                            26.0%          40.5%                                                                     26.0%         40.5%
               PEOPLE IN NEED                                                                          PEOPLE TARGETED

                    2.97 M                3.17 M             14.2%         19.4%                             177.7 K             103.2 K              14.2%         19.4%




               PIN PERCENTAGE                                           TOTAL REQUIREMENTS                                       RMRP PARTNERS

                    39.9%                40.2%                           $20.23 M              $18.49 M                                35


SUB-SECTOR LEADS: UNFPA, UNHCR, UN WOMEN



8LI +&: 7YFWIGXSV LEW MHIRXMƼIH ER MRGVIEWI MR +&:                            2. GBV prevention actions through the challenging of
incidences suffered by refugees and migrants, especially                                   stereotypes and relating gender roles, and actions for
sexual violence against those in-transit and engaging                                      the protection of GBV survivors and those at-risk.
in pendular movements, a concern for early unions,
economic and institutional violence.170 The following                                   3. Promotion of inclusion of women at-risk or survivors
response priorities will be at the core the Sub-sector’s                                   of intimate partner/ex-partner violence in economic
engagement:                                                                                empowerment programmes.

1. Provision of GBV response services through case                                      The response priorities have the long-term objective
   management services, safe spaces for women and                                       of driving gender transformations to eradicate GBV.
   girls, as well as to survivor-centred assistance for                                 Prioritized population groups for the Sub-sector’s
   LGBTQI+ persons, and increasing services at the                                      response are adolescents, youth and women caught
   institutional (capacity building), community, and                                    MR LYQER XVEƾGOMRK ERH WI\YEP I\TPSMXEXMSR RIX[SVOW
   organizational levels for GBV survivors.                                             women community leaders, women heads of




[170] Institutional violence is recognized as a form of GBV: The sentence T-462-18 by the Colombian Constitutional Court recognizes that "when women victims
      of violence turn to the public authorities for the protection of their rights, on repeated occasions there is a "re-victimization" by the legal operators, since the
      VIWTSRWII\TIGXIHJVSQXLIWIEYXLSVMXMIWMWRSXWEXMWJEGXSV]ERHMREHHMXMSRSJXIRGSRƼVQWTEXXIVRWSJMRIUYEPMX]HMWGVMQMREXMSRERHZMSPIRGIEKEMRWXXLMW
      population." Additionally, in the case of refugees and migrant GBV survivors, according to analysis conducted by the Sub-sector, this pattern is reinforced by
      xenophobia. LXXTW[[[GSVXIGSRWXMXYGMSREPKSZGSVIPEXSVME8LXQ
                                                                                                                                         CLP_AR_006326
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households, pregnant women, women with disabilities                                 psychosocial support, including in-kind assistance and
and LGBTQI+171 persons.172                                                          CVA for GBV survivors and those at-risk.
Response modalities:                                                                Integral response approaches:
The following response modalities are proposed:                                     The GBV Sub-sector will ensure that intersectoral
                                                                                    approaches are planned in the response for refugee and
Capacity-building of public institutions, social and
                                                                                    migrant GBV survivors and at-risk populations. With the
community organizations to enhance GBV prevention,
                                                                                    Integration Sector, access to livelihoods opportunities
response and solutions for survivors.173
                                                                                    will be prioritized.
Guidance, and design of protocols and documentation
                                                                                    With the Health Sector, clinical management of
to strengthen processes and procedures of public
                                                                                    sexual violence, PEP kits, emergency and long-term
institutions and social and community organizations in
                                                                                    contraception, and strengthening services with survivor-
providing services for survivor-centred care.
                                                                                    centred care (including mental health) will be featured.
Direct actions with the community at the individual and                             Joint work with the Shelter Sector will help identify
group levels such as: strengthening of community-based                              and mitigate GBV risks. Throughout, PSEA and AAP
protection, monitoring and reporting, case management,                              approaches will be applied.




                HUMAN TRAFFICKING AND SMUGGLING
     2023               2024

                                                         35.7%         36.1%                                                                 35.7%         36.1%
              PEOPLE IN NEED                                                                     PEOPLE TARGETED

                 948.2 K               1.02 M              14.1%        14.1%                          29.0 K              27.9 K              14.1%        14.1%




              PIN PERCENTAGE                                        TOTAL REQUIREMENTS                                    RMRP PARTNERS

                    12.7%               12.9%                          $6.75 M             $5.54 M                               8


SUB-SECTOR LEADS: IOM, UNODC



8LI ,YQER 8VEƾGOMRK ERH 7QYKKPMRK 7YFWIGXSV                                  2. 6IMRJSVGI EGXMSRW WXVEXIKMIW ERH TEXL[E]W
MHIRXMƼIHXLIJSPPS[MRKVIWTSRWITVMSVMXMIW174                                        aimed at providing comprehensive assistance
                                                                                       and protection XS ZMGXMQW SJ LYQER XVEƾGOMRK ERH
1. 7XVIRKXLIR QIGLERMWQW MRWXVYQIRXW WXVEXIKMIW
                                                                                       smuggling at national and local levels through the
   and actions aimed at identifying and preventing
                                                                                       relevant inter-institutional coordination mechanisms.
   SJ GEWIW SJ LYQER XVEƾGOMRK ERH WQYKKPMRK SJ
   refugees and migrants. This will target state and non-
                                                                                    3. Promote spaces and processes for knowledge
   state actors.
                                                                                       generation and management to identify emerging



[171] Especially men and boys with diverse sexual orientations and gender identities.

[172] *YVXLIVQSVIXLIKISKVETLMGWGSTISJXLIVIWTSRWIMRGPYHIWFSVHIVVIKMSRWEPWSGSZIVMRK'EVMFFIERERH4EGMƼGGSEWXWEW[IPPEWMRXLIQEMRGETMXEPGMXMIW
      of Bogotá, Cali, Barranquilla, and Medellín.

[173] For instance, through trainings, GBV awareness, dissemination, and visibility activities, and empowerment of women leaders.

[174] Under a cross-cutting scope of enhancing a human rights-based, gender, intersectional, and victim-centered approach.
                                                                                                                             CLP_AR_006327
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    trends and new phenomena related to these crimes in                                  with the national assistance pathway for victims of
    order to enable relevant, timely, effective, evidenced-                              LYQERXVEƾGOMRKSJXLI1MRMWXV]SJXLI-RXIVMSV175 and
    based response actions.                                                              the Protocol Against the Smuggling of Migrants by
                                                                                         Land, Sea and Air.176
All priorities will be implemented working closely with the
                                                                                     • Comprehensive        direct short and mid-term
national and local authorities, including the Ministry of
                                                                                         assistance to victims of both crimes, based on
the Interior ERHXLI3QFYHWTIVWSRƅW3ƾGIEW[IPPEW
                                                                                         the needs of each case, in coordination with the
PSGEPLYQERXVEƾGOMRKGSQQMXXIIW
                                                                                         designated local and national authorities.177
Response modalities:
                                                                                     Integral response approaches:
The corresponding response modalities of the Sub-
                                                                                     The Sub-sector will coordinate with the Protection,
sector will be:
                                                                                     Health, GBV and Child Protection Sectors/Sub-sectors
• Technical capacity development of state actors,                                    XS IRWYVI EWWMWXERGI TVSZMHIH XS ZMGXMQW SJ XVEƾGOMRK
    civil society, R4V partners, academia and others                                 and smuggling integrates the response priorities of
    MRZSPZIH MR ƼKLXMRK EKEMRWX LYQER XVEƾGOMRK ERH                           these Sectors. Assistance will be provided with an
    smuggling across the country. Prevention, protection,                            AGD approach. Coordination with the Humanitarian
    assistance and guidance to victims and their families                            Transportation Sector will ensure assistance is provided
    will be prioritized.                                                             when required. The Sub-sector will also work with the
• Enhance and consolidate TVSEGXMZI MHIRXMƼGEXMSR                                  Integration Sector to feature medium-term actions and
    processes related to the referral of cases to                                    the generation of livelihoods for persons at risk and/or
    competent authorities and entities, in accordance                                ZMGXMQWSJLYQERXVEƾGOMRKSVWQYKKPMRK




                                                                                                                                    k+3%0%HVMERE6YM^




[175] Documented in Chapter II of Decree 1066/2015 of the Ministry of the Interior: https://bit.ly/3xNkrqP

[176]1MRMWXV]SJXLI-RXIVMSV2EXMSREP7XVEXIK]XS'SQFEX,YQER8VEƾGOMRKhttps://bit.ly/3BCIZnv

[177] This will be implemented by: i) supporting interinstitutional coordination for immediate attention and response to victims (by state entities or through
      subsidiary routes), particularly in shelter, medical and psychological healthcare; and ii) capacity development through training of institutional actors
      responsible for providing assistance to victims to ensure the adequate restitution of rights from a victim-centered approach throughout the assistance
      process.
                                                                                                                                   CLP_AR_006328
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                SHELTER
     2023               2024

                                                          34.3%         37.0%                                                                    34.3%        37.0%
              PEOPLE IN NEED                                                                       PEOPLE TARGETED

                   5.08 M               5.42 M             14.6%         14.2%                          232.5 K              186.7 K             14.6%         14.2%




              PIN PERCENTAGE                                          TOTAL REQUIREMENTS                                     RMRP PARTNERS

                   68.2%                68.8%                          $36.02 M             $28.14 M                               18


SECTOR LEADS:                  IOM, NATIONAL RED CROSS SOCIETY, UNHCR



The Shelter Sector will aim to promote timely,                                        • -ROMRHWLIPXIVWSPYXMSRW such as collective shelters
contextualized,178 comprehensive, decent and safe                                         and reception and transit centres, or hotel rooms,
shelter solutions through the implementation of the                                       as well as provision of household items, assistance
following priorities:                                                                     in reaching agreements between landlords and
                                                                                          organizations, interventions in community and
1. Medium to longer-term collective and individual
                                                                                          housing infrastructure and settlement management.
   shelter solutionsFEWIHSRƼRERGMEPWYTTSVXJSVVIRX
   and utility payments, and interventions to improve                                 • CVA to access short-term and long-term shelter
   community infrastructure (including settlement                                         WSPYXMSRW IK ƼRERGMEP WYTTSVX JSV VIRX ERH YXMPMX]
   management) and housing.179                                                            payments), as well as to purchase household items.
                                                                                      • Technical capacity development to manage, handle
2. Short-term collective and individual shelter
                                                                                          and coordinate shelter solutions through roundtable
   solutions as an emergency response for transit
                                                                                          working groups and training sessions with local and
   locations of refugees and migrants,180 as well as for
                                                                                          national authorities, Sector partners, community
   the population in-destination to support integration
                                                                                          organizations and other relevant stakeholders.
   processes in host cities. This will be implemented in
   close coordination with local authorities.181                                      Integral response approaches:
                                                                                      Within collective shelters and transit centers, it will be a
3. Distribution of household items182 complementing
                                                                                      priority to strengthen the mechanisms for case referral
   individual (short and long-term) and collective shelter
                                                                                      through complementary response activities provided
   response strategies for refugees and migrants in-
                                                                                      by Sectors such as Protection, Food Security, Nutrition,
   destination and in-transit.
                                                                                      WASH and Health as well as the provision of basic services
Response modalities:                                                                  associated with these Sectors. For WASH, Protection
                                                                                      and Integration Sectors, joint and complementary
The response priorities will be delivered through:                                    actions will be implemented focusing on community


[178] Designed and implemented with AGD considerations, as well as targeted to each local context.

[179] Mainly in departments with the highest concentration of population in- destination, such as Bogotá, Antioquia, Norte de Santander, Valle del Cauca, and
      Atlántico.

[180] Norte de Santander, Arauca, Bogotá, Valle del Cauca, and Nariño departments.

[181] These solutions include activities related to Collective Centres, Reception and Transit Centres, and hotel rooms.

[182] E.g., those for sleeping, preparing and preserving food, eating and drinking, maintaining thermal comfort, lighting, personal clothing, construction materials
      and tools.
                                                                                                                                CLP_AR_006329
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infrastructure and settlements. This will contribute to                             Close coordination with the CVA Working Group is
capacity building for its management, promoting access                              key to contribute to the planning, implementation,
to basic services and knowledge transfer on land tenure                             and monitoring of activities for the provision of
security and legalization, favouring durable shelter                                ƼRERGMEPWYTTSVX
solutions supporting integration of the target population.
The adoption of cross-cutting approaches to GBV,
environment, PSEA, and AAP is a priority.




                WASH
     2023               2024

                                                         34.3%          37.1%                                                34.3%       37.1%
              PEOPLE IN NEED                                                                      PEOPLE TARGETED

                   3.80 M              4.04 M             14.5%         14.2%                         288.7 K     284.5 K    14.5%      14.2%




              PIN PERCENTAGE                                         TOTAL REQUIREMENTS                           RMRP PARTNERS

                    51.0%               51.3%                         $22.63 M            $20.85 M                    29


SECTOR LEADS:                  ACTION AGAINST HUNGER, UNICEF, UNIVERSIDAD TECNOLÓGICA DE PEREIRA



The response priorities of the WASH Sector will address                                  the response for vulnerable refugees and migrants
the needs and gaps, in line with the comprehensive                                       and affected host communities (especially for
WASH response approach, through:                                                         binational indigenous peoples) from a multiple
                                                                                         impact perspective and differential AGD approaches.
1. 7IVZMGIGSRWXVYGXMSRMQTVSZIQIRXVILEFMPMXEXMSR
   installation and hygiene promotion in non-
                                                                                    Response modalities:
   formalized settlements where refugees and migrants
   in-destination and host communities reside.                                      Response modalities will include capacity building
                                                                                    through technical assistance and training for community
2. Implementation and maintenance of WASH                                           associations responsible for the management of WASH
   WIVZMGIW L]KMIRI TVSQSXMSR ERH HMWXVMFYXMSR SJ                            services; technical assistance to such organizations and
   critical supplies183 for those in-transit and those                              indigenous groups, as well as to the administrations of
   engaging in pendular movements at key assistance                                 municipalities and departments, especially those facing
   points and facilities providing other humanitarian                               multiple impacts and challenges.185
   services.184
                                                                                    Support the provision of services (including
                                                                                    infrastructure interventions), relating to construction,
3. Technical assistance and advocacy with
                                                                                    repair, improvement and rehabilitation of systems
   government authorities on WASH policies and for
                                                                                    and alternatives for water supply and sanitation


[183] For personal and household hygiene, water storage and treatment for consumption.

[184] 7TIGMƼGEPP]MRFSVHIVHITEVXQIRXWERHXLSWIEVIEW[MXLGSRWXVEMRXWJSVEGGIWWMRKWYGLWIVZMGIW

[185] )KHIVMZIHJVSQXLIGSI\MWXIRGISJHMWTPEGIQIRXERHGSRƽMGXERHSVREXYVEPHMWEWXIVVIPEXIHWMXYEXMSRW
                                                                                                                       CLP_AR_006330
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 RMRP 2023 - 2024                                                                                                                COLOMBIA     155


in settlements and host communities, as well as                                     the Ministry of Housing, City and Territory and the Ministry
implementation and maintenance of WASH services in                                  of Health and Social Prosperity, as well as with local
community facilities.186                                                            authorities. An integrated response with other Sectors
                                                                                    will be applied. WASH strategies and hygiene promotion
Hygiene        supplies/communication           campaigns
                                                                                    will be articulated with Education, Health, Protection,
on hygiene practices to drive behavioural change,
                                                                                    Food Security and Nutrition interventions. CVA and
according to the socio-cultural context and distribution
                                                                                    Shelter strategies will articulate for hygiene promotion.
of critical supplies;187 foster spaces that promote access
                                                                                    Also, the Sector will coordinate with the Integration
to menstrual rights (for refugee and migrant women,
                                                                                    Sector on initiatives, promoting medium/longer-term
girls and transgender men) and disaster risk prevention
                                                                                    WASH activities which are tied to the RMRP’s HDPN
and survival techniques.
                                                                                    priorities. The WASH Sector will coordinate with the GBV
Integral response approaches:                                                       Sub-sector on the installation and/or refurbishment
The WASH Sector response will be implemented in                                     of safe and illuminated WASH spaces with protection-
accordance with international humanitarian response                                 sensitive approaches to prevent violence (especially
standards, as well as national standards. Assistance and                            GBV). All projects and programmes will consider PSEA
coordination will be carried out at the national level with                         and AAP priorities.




                                                                                                                           k92,'67IFEWXMER+MP




[186] Including in health centres, shelters, schools, community kitchens, and points of care for refugees and migrants.

                                                                                                                          CLP_AR_006331
[187] Including in-kind or CVA for personal hygiene, household, storage, waste management and water treatment for consumption.
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                                                      CLP_AR_006332
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                                                                                              157




                                                                                k*PʬVIW7SPʛRS

ECUADOR
AT A GLANCE
                                                                                         2023
                                                                                         2024




                    POPULATION            PEOPLE IN             PIN               PEOPLE
                    PROJECTION            NEED (PiN)        PERCENTAGE           TARGETED


                             /          /                              /
VENEZUELANS
IN-DESTINATION
                             /          /                            /


                             /         /                              /
IN-TRANSIT
                              /         /                            /


                                     -         /                    -             /
AFFECTED HOST
COMMUNITIES
                                     -          /                   -             /




AGE AND GENDER       32.0%        31.5%             32.0%    31.4%               30.0%       32.6%
DISAGGREGRATION
                     18.9%        17.6%             19.0%    17.6%               19.5%        17.9%




        TOTAL REQUIREMENTS                                           RMRP PARTNERS
        $300.92 M $289.68 M                                          71
                                                                            CLP_AR_006333
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 158        ECUADOR                                                                                                                 RMRP 2023 - 2024




ECUADOR: BENEFICIARIES TARGETED




         Pacific Ocean
                                                                                                          COLOMBIA
                                                                                                                                             ±
                                          Esmeraldas                       Carchi

                                                                Imbabura


                                                              Pichincha                                           Sucumbíos
                                              Santo Domingo
                                              de los
                                              Tsáchilas


                          Manabí                                          Napo
                                                                                                                     Orellana
                                                     Cotopaxi

                                                          Tungurahua
                                   Los Ríos
                                                Bolívar
                                                                                                      Pastaza
                              Guayas
                                                    Chimborazo
                Santa Elena


                                                   Cañar              Morona Santiago


                                              Azuay


                                 El Oro
                                                   Zamora
                                                   Chinchipe
                                       Loja


                                                                                                    PERÚ




       PEOPLE TARGETED 2023
            100 - 3,000
            3,001 - 8,000
            8,001 - 15,000
            15,001 - 40,000
                                                    This map is for illustration purposes only. The boundaries and names shown and the designations
            40,001 - 125,000                        used on this map do not imply official endorsement or acceptance by the UN.


                                                                                                                     CLP_AR_006334
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 RMRP 2023 - 2024                                                                                      ECUADOR           159



ECUADOR: KEY FIGURES BY REGION

                    4STYPEXMSR4VSNIGXMSR           People in Need (PiN)        People Targeted             Total Requirements



                                                     2023                                            2024


AZUAY                             /     /    /    1     /     /       / 1

BOLÍVAR                             /      /         /       /       /            /

CAÑAR                              /     /       /     1     /      /        /      1

CARCHI                             /    /     /     1    /     /        /      1

CHIMBORAZO                         /     /    /      1     /       /       /      1

COTOPAXI                           /     /      /      1     /      /        /     1

EL ORO                             / / /           1    /     /       /     1

ESMERALDAS                          /   /     /      1      /     /        /     1

GALÁPAGOS                             125                 -            -                            -              -

GUAYAS                           / / /          1    / /          / 1

IMBABURA                           /    /    /     1    /     /       /    1

LOJA                               /     /     /      1      /      /        /     1

LOS RÍOS                           /    /     /      1    /     /        /      1

MANABÍ                            / / /           1     /     /      /     1

MORONA SANTIAGO                    /      /     200        /      /      /         200        /

NAPO                                /     /          /      /       /        /

ORELLANA                           /     /     /      1      /       /       /     1

PASTAZA                            /      /          /      /       /             /

PICHINCHA                        / / /         1   /     /      / 1

SANTA ELENA                        /    /      /    /     /      /        /     1

SANTO DOMINGO DE LOS
                                  /     /    /      1    /     /        /    1
TSÁCHILAS

SUCUMBÍOS                          /    /     /     1      /     /        /    1

TUNGURAHUA                        /     /    /     1     /      /      /      1

ZAMORA CHINCHIPE                    /      /     100       /       /       /       100       /
                                                                                              CLP_AR_006335
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160                   ECUADOR: NUMBER OF ORGANIZATIONS AND FINANCIAL REQUIREMENTS BY ORGANIZATION TYPE                                                RMRP 2023 - 2024


                                                                                                                                                        2023
NUMBER OF ORGANIZATIONS AND FINANCIAL REQUIREMENTS BY ORGANIZATION TYPE

                                                                        International                 National
                                                     TOTAL                                                                     Othersii        UN Agencies
                                                                            NGOs                    NGOs / CSOsi

       Financial requirements                 $300.92 M                                                                                      
       Organizations                                        71                         25                                              5                    
 i
           Civil Society Organizations.                                                     The list of organizations only includes appealing organizations under the
 ii
           Others include the Red Cross Movement, academia and faith based                  RMRP, many of which collaborate with implementing partners to carry out
           organizations.                                                                   RMRP activities.


POPULATION IN NEED AND TARGET, FINANCIAL REQUIREMENTS
AND NUMBER OF PARTNERS BY SECTOR*
                                                People in     PiN       People                                 Targeted           Financial
                         Sector                                                                                                              Partners
                                               Need (PiN) percentage** targeted                                In need          requirements

                 Education                       /                             /             70.5%               1             

                 Food Security                  /                              /             45.1%               1               12

                 Health                          /                             /             38.5%              1              
                 Humanitarian
                 Transportation                     /                             /            8.3%               /                2

                 Integration                     /                             /             38.4%              1              

                 Nutrition                        /                               /             6.5%                 1              

                 Protection***                  /                              /             51.8%              1              

                 Child Protection                /                              /             12.9%               1              
                 Gender-Based
                 Violence (GBV)                 /                              /             49.5%               1             
                 ,YQER8VEƾGOMRK
                 & Smuggling                      /                                                1.6%                1                5

                 Shelter                        /                               /            48.6%               1              

                 WASH                           /                              /             47.3%                1               10

                 Multipurpose Cash
                                                           -                    -          /               -                 1              
                 Assistance

                 Common Services****                       -                    -                  -               -                  1            
         ;LMPIRSXFIMRK7IGXSVWHEXEJSV1YPXMTYVTSWI'EWLERHJSV'SQQSR7IVZMGIWMWMRGPYHIHXSMRJSVQSRXLISZIVEPPXEVKIXWERHHMWXVMFYXMSRSJƼRERGMEP
           requirements in the RMRP 2023-2024.
       8LI4M2GEPGYPEXMSRWJSVWSQIWIGXSVW REQIP]2YXVMXMSR)HYGEXMSRERHEPP4VSXIGXMSRWYFWIGXSVW EVIFEWIHSRWTIGMƼGEKIERHKIRHIVKVSYTW
           resulting in a low PiN percentage as a proportion of the total population.
      *** This includes Support Spaces.
      **** This includes AAP-CwC, Communication, Coordination, Information Management, PSEA, and Reporting.
                                                                                                                                         CLP_AR_006336
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RMRP 2023 - 2024                                      ECUADOR: NUMBER OF ORGANIZATIONS AND FINANCIAL REQUIREMENTS BY ORGANIZATION TYPE                             161

 2024
  NUMBER OF ORGANIZATIONS AND FINANCIAL REQUIREMENTS BY ORGANIZATION TYPE

                                                                          International               National
                                                      TOTAL                                                                    Othersii         UN Agencies
                                                                              NGOs                  NGOs / CSOsi

        Financial requirements                 $289.68 M                                                                                     
        Organizations                                       68                                                                                           12
  i
            Civil Society Organizations.                                                    The list of organizations only includes appealing organizations under the
  ii
            Others include the Red Cross Movement, academia and faith based                 RMRP, many of which collaborate with implementing partners to carry out
            organizations.                                                                  RMRP activities.


  POPULATION IN NEED AND TARGET, FINANCIAL REQUIREMENTS
  AND NUMBER OF PARTNERS BY SECTOR*
                                                 People in     PiN       People                                Targeted           Financial
                          Sector                                                                                                             Partners
                                                Need (PiN) percentage** targeted                               In need          requirements

                  Education                       /                             /            70.6%               1              25

                  Food Security                  /                              /            41.9%               1                11

                  Health                          /                             /            42.5%              1                21
                  Humanitarian
                  Transportation                  /                               /           7.8%               /                 2

                  Integration                     /                             /            35.9%              1              

                  Nutrition                        /                              /             6.4%                1               

                  Protection***                   /                             /            51.2%              1              

                  Child Protection                 /                              /           12.4%               1               15
                  Gender-Based
                  Violence (GBV)                  /                             /            47.9%                 1           
                  ,YQER8VEƾGOMRK
                  & Smuggling                       /                                /           1.8%                 1                5

                  Shelter                        /                              /            45.2%               1              

                  WASH                            /                             /            46.4%                1               

                  Multipurpose Cash
                                                            -                    -          /              -                 1                11
                  Assistance

                  Common Services****                       -                    -                  -              -                     1          25
          ;LMPIRSXFIMRK7IGXSVWHEXEJSV1YPXMTYVTSWI'EWLERHJSV'SQQSR7IVZMGIWMWMRGPYHIHXSMRJSVQSRXLISZIVEPPXEVKIXWERHHMWXVMFYXMSRSJƼRERGMEP
            requirements in the RMRP 2023-2024.
        8LI4M2GEPGYPEXMSRWJSVWSQIWIGXSVW REQIP]2YXVMXMSR)HYGEXMSRERHEPP4VSXIGXMSRWYFWIGXSVW EVIFEWIHSRWTIGMƼGEKIERHKIRHIVKVSYTW
            resulting in a low PiN percentage as a proportion of the total population.
       *** This includes Support Spaces.
       **** This includes AAP-CwC, Communication, Coordination, Information Management, PSEA, and Reporting.
                                                                                                                                  CLP_AR_006337
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   162                 ECUADOR                                                                                                              RMRP 2023 - 2024




COUNTRY OVERVIEW


It is estimated that approximately half a million refugees                        deepened by a deteriorating economic situation, made
and migrants from Venezuela live in Ecuador. A high                               [SVWI F] XLI MQTEGX SJ XLI GSRƽMGX MR 9OVEMRI ERH
proportion of this population is in an irregular situation in                     continued post-COVID-19 global supply chain factors,
the country (73 per cent).188 Their irregular status affects                      [LMGL LEZI GEYWIH VMWMRK MRƽEXMSR ERH TVSHYGXMSR
their access to services and to the formal labour market,                         HIƼGMXW ERH ER MRGVIEWI MR XLI GSWX SJ XLI QMRMQYQ
exposing them to protection risks and limiting their                              expenditure basket. The slow economic recovery and
socio-economic integration prospects. In this context,                            insecurity affect both host communities and refugees
the broad regularization exercise announced by the                                and migrants, particularly those already in vulnerable
Government of Ecuador,189 which started in September                              situations. It contributes to increased xenophobia (93 per
2022, will be key for enabling the needs of this population                       cent190 of those who report episodes of discrimination
to be met and to advance solutions for refugees and                               mention it is due to their nationality), and heightens
migrants from Venezuela in Ecuador as part of a broader                           protection risks, as almost 9 out 10 Venezuelans report
socio-economic integration and social inclusion strategy.                         resorting to negative coping strategies.191
The country is also witnessing population movements                               Despite this situation, Ecuador´s legal framework does
from countries such as Haiti, who transit through the                             guarantee universal access to services such as health
territory in complex routes and secondary movements                               and education, including for refugees and migrants in an
both towards the north and the south of the continent.                            irregular situation, and the Government has continuously
R4V partners monitor these movements through an                                   worked to promote their inclusion. However, being the
MRXIVEKIRG]&SVHIV1SRMXSVMRKERH4STYPEXMSR4VSƼPMRK                           country hosting the third largest refugee and migrant
System, which also serves as an important entry point to                          population from Venezuela, the pressure on public
identify and assist people in-need. The irregular nature                          capacities often translates into practical barriers for
of these movements, due to visa requirements for                                  accessing services.
Venezuelans and other populations, leads to heightened
protection risks and increased vulnerabilities for refugees                       SCOPE OF THE RESPONSE AND PRIORITIES
and migrants, who are often exposed to sexual abuse,
XVEƾGOMRKERHSXLIVLYQERVMKLXWZMSPEXMSRW                                     Seventy-one R4V partners in Ecuador will work in a
With the assumption that Venezuelans, as well as                                  coordinated manner in order to address the protection,
refugees and migrants of other nationalities, will continue                       humanitarian and integration needs of refugees
arriving to and transiting through Ecuador, mainly through                        and migrants from Venezuela as well as their host
irregular channels, it is estimated that approximately                            communities in 23 provinces of the country. The
519,000 refugees and migrants from Venezuela will be                              response will include technical and material support
living in Ecuador by December 2023, while some 368,000                            to the Government, both at the national and local
will be transiting to third countries throughout the year                         levels, contributing to strengthening national systems
(of which approximately 19,000 are of other nationalities,                        that assist both refugees and migrants, and their host
mainly Haitians).                                                                 communities. It will develop the capacity of civil society
                                                                                  and provide direct support through in-kind assistance
The presence of irregular armed groups and criminal                               and CVA. Moreover, strategic partnerships with
gangs in the country and the continued deterioration of                           development actors, including development banks, and
the security situation results in an increasingly complex                         with the private sector, will be at the centre of the strategy
operational environment. The challenges are further


[188] GTRM, Joint Needs Assessment, May 2022, LXXTW[[[VZMRJSIWHSGYQIRXKXVQIGYEHSVIZEPYEGMSRGSRNYRXERIGIWMHEHIWQE]S

[189] Executive Decree No. 436, 1 June 2022, (IGVIXS)NIGYXMZSHIPHINYRMSHIWSFVITVSGIWSHIVIKYPEVM^EGMʬRHIGMYHEHERSWZIRI^SPERSWTVMQIVE
      IXETE`)GYEHSV+YʧE3ƼGMEPHI8VʛQMXIW]7IVZMGMSW [[[KSFIG 

[190] Ibid, pag. 41.

[191] Ibid, pag. 41.
                                                                                                                              CLP_AR_006338
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 RMRP 2023 - 2024                                                                                      ECUADOR         163


of the national R4V Platform in Ecuador (GTRM), with             and those who need support in the aftermath of events
a view to promote coherence and synergies between                that can destabilize communities or families.
humanitarian and development actions. This will also
                                                                 CVA for food, health, shelter, education, protection
allow for strategic policy, alliances and investments to
                                                                 and other sectoral responses will complement in-kind
advance the Sustainable Development Goals, ensuring
                                                                 assistance and will be delivered both to people in-transit
RSSRIMWPIJXFILMRHEWVIƽIGXIHMRXLIVIGIRXP]EHSTXIH
                                                                 and those considered in-destination, and living in Ecuador
United Nations Sustainable Development Cooperation
                                                                 in vulnerable situations, to safeguard their well-being
Framework (UNSDCF).
                                                                 while helping to support local markets. Moreover, where
To respond to protection needs, R4V partners                     appropriate, multipurpose CVA will be used to stabilize
will support the Government in implementing the                  families and increase the impact of other sectorial
registration and regularization exercises, including             interventions, including those related to livelihoods.
XLVSYKL XIGLRMGEP QEXIVMEP ERH ƼRERGMEP WYTTSVX F]
                                                                 8LI RIIHW MHIRXMƼIH XLVSYKL XLI .2% XLI 7IGSRHEV]
facilitating communication with refugees and migrants
                                                                 Data Review, and other relevant information, will inform
from Venezuela. R4V partners will also provide direct
                                                                 the geographical prioritization of the response. Targeting
assistance to refugees and migrants to facilitate access
                                                                 criteria will consider protection and socio-economic
to the regularization exercise, and by coordinating the
                                                                 considerations and will be applied, where appropriate,
implementation of the process across the country. While
                                                                 using inter-agency tools. Inclusive protection and
these processes go hand in hand with socio-economic
                                                                 integration strategies will target refugees and migrants
integration efforts, it will also function as an entry point
                                                                 from Venezuela in-need living in Ecuador as well as
for partners to identify and respond to immediate urgent
                                                                 vulnerable members of affected host communities,
needs of refugees and migrants. Legal assistance and
                                                                 particularly in the provinces of Pichincha, Guayas,
support to the Government will also be provided to uphold
                                                                 Manabí, El Oro, Azuay and Imbabura, as it is estimated
the right to access to asylum and the process of Refugee
                                                                 these host the biggest numbers of Venezuelans in the
Status Determination (RSD). Furthermore, partners will
                                                                 country, mainly concentrated in these provinces´ capital
work with different authorities to strengthen national
                                                                 cities. As for those in-transit, the response will focus on
protection systems, enhancing prevention mechanisms
                                                                 Carchi, El Oro, Sucumbíos, Imbabura as well as Loja.
and specialized services for people with protection
RIIHW MRGPYHMRK XLSWI MR RIIH SJ JEQMP] VIYRMƼGEXMSR
GBV survivors, unaccompanied and separated children,             RESPONSE PRINCIPLES, GOOD PROGRAMMING/
among others.                                                    COLLECTIVE ACCOUNTABILITY CONSIDERATIONS

Advocacy and technical support will also aim at                  Communicating with refugees and migrants will be
advancing the mainstreaming of human mobility                    a cross-cutting action that is key to ensuring their
considerations into public policies, and to foster the           protection and integration in Ecuador, particularly in light
inclusion of refugees and migrants in social protection          of changing movement dynamics. Hence, partners will
systems and public services such as health, education            aim to strengthen communication and accountability
and WASH. Partners will work to promote access                   through two-way mechanisms that can contribute to
to decent work, support self-employment, reduce                  understanding and responding to population needs. Using
\IRSTLSFMEMQTVSZIEGGIWWXSƼRERGMEPWIVZMGIWEW[IPP        existing local networks will help partners to disseminate
as other strategies to advance refugees’ and migrants´           key information more effectively. Moreover, it will improve
self-reliance and contribute to their integration in Ecuador,    two-way-communication throughout the programme
while contributing to boosting the country´s economy.            cycle, enabling feedback and direct input in programme
The response will support the most vulnerable among              decisions, based on refugees and migrants as well
affected host community members through a holistic               as affected host communities´ needs, concerns and
response that aims to boost community capacities and             capacities. At the coordination level, continuous feedback
foster harmonious coexistence. Food and non-food                 will be collected through joint needs assessments and
items (NFIs), temporary shelter, and other forms of more         rapid inter-agency assessments, that among other
urgent assistance will be directed mainly to refugees            initiatives, inform partners´ programming. These cross-
and migrants in-transit through Ecuador, particularly in         cutting actions will aim at promoting accountability to
border provinces such as Carchi and El Oro, but also to          affected populations acrossthe response.
new arrivals for whom Ecuador is a destination country

                                                                                               CLP_AR_006339
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With respect to integrated approaches to prevent,            work to enable that temporary shelters, facilities along
mitigate and respond to protection needs, the Protection     travel routes and communal spaces serve as safe
Sector and its Sub-sectors will work in a coordinated        WTEGIW JSV MHIRXMƼGEXMSR ERH VIWTSRWI XS TVSXIGXMSR
manner with the Government’s Secretariat for Human           cases. The Food Security Sector will collect ongoing
Rights to implement GBV protocols and will build upon        feedback through post-distribution monitoring and risk
efforts made in 2022 in order to advance the roll-out of     assessments with actors and institutions that deliver
the inter-agency SOPs on GBV. This will entail technical     food. Finally, the Integration Sector will work closely with
support and training to relevant public and humanitarian     protection partners to support in breaking the cycle of
actors, including on the protection of LGBTQI+ people.       violence for GBV survivors by supporting their access
                                                             to livelihoods. Regarding PSEA, the GBV Sub-sector will
The Sector will work with a wide range of actors to
                                                             lead capacity development initiatives and roll-out of
promote a multisectoral response to protection cases.
                                                             tools on PSEA targeting a wide range of partners and
The Education and WASH Sectors will work closely to
                                                             other actors involved in the response, in order to prevent,
ensure education facilities serve as assistance points for
                                                             mitigate the risks and respond to misconduct and to put
access to menstrual hygiene items, that school sanitary
                                                             the protection of victims at the forefront.
installations are safe, and that spaces are accessible
for persons with disabilities. In coordination with health
and GBV actors, the Education Sector will also promote
comprehensive education on adolescents’ sexual and
reproductive health. Moreover, the Shelter Sector will




                                                                                               CLP_AR_006340
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               EDUCATION
    2023              2024

                                                       14.1%      19.5%                                                              14.1%         19.6%
             PEOPLE IN NEED                                                               PEOPLE TARGETED

                 189.2 K           195.9 K           34.5%        31.9%                        133.5 K            138.3 K           34.6%          31.7%




             PIN PERCENTAGE                                     TOTAL REQUIREMENTS                                RMRP PARTNERS

                    15.8%            16.2%                       $18.93 M           $24.17 M                           28


SECTOR LEADS:               RET, UNESCO, UNICEF



The Education Sector will coordinate the actions of 28                        the provision of educational kits and CVA to the most
partners in 23 provinces, with particular attention to                        vulnerable families, as a strategy to address access gaps
Pichincha, Guayas and Carchi, with a focus on:                                and increase school retention rates.
1. improving access to the national education system in                       Teachers and staff from the Student Counselling
   order to boost enrolment levels among refugee and                          Departments (DECE) and from the Ministry of Education
   migrant children;                                                          will be provided with support and mentoring, including
                                                                              on the process of inclusion and detection of cases
2. promoting a safe and inclusive education system that                       of bullying and violence. Furthermore, they will be
   positively impacts the socio-emotional well-being of                       supported to develop their teaching practice and will
   students; and                                                              receive training that aims at enhancing their capacities
                                                                              in incorporating, among other things, psychosocial care
3. improving school retention and the completion of                           and socio-cultural education into their practice. Support
   school stages through a holistic and quality learning                      to the national education system will also aim to improve
   in a safe environment.                                                     school access for children from host communities and
                                                                              generate safe learning spaces that promote harmonious
Awareness raising exercises on the importance of
                                                                              coexistence.
inclusive education accessible and catered to all children
will target a wide range of actors in the educational                         Levelling and academic reinforcement programmes
community including parents and caregivers of children                        will be carried out with an emphasis on adolescents,
and adolescents from prioritized educational institutions.                    [MXLƽI\MFPIQSHEPMXMIWEHETXIHXSXLIMVRIIHXSEHHVIWW
An active search process will be promoted to identify                         PIEVRMRKKETWGVIEXIHF]WMKRMƼGERXFVIEOWMRIHYGEXMSR
refugee and migrant children in vulnerable situations                         At the same time, in coordination with the WASH and
who are out of the educational system, as well as those                       Shelter Sectors, improvements of school infrastructure of
who are at risk of dropping out.                                              the prioritized educational institutions will be conducted
                                                                              so they can be safe and accessible and function
Parents and caregivers will receive guidance on access
                                                                              as access points for hygiene items and menstrual
to the education system, within the framework of
                                                                              hygiene kits.
the national 026A agreement.192 Given the multiple
vulnerabilities and barriers to education faced by
many children, this process will be accompanied by


[192] Ministry of Education, Ecuador. Ministerial Agreement 2021-00026-A, LXXTWIHYGEGMSRKSFIG[TGSRXIRXYTPSEHWHS[RPSEHW1-2)(9'
      1-2)(9'%THJ
                                                                                                                    CLP_AR_006341
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           FOOD SECURITY
   2023          2024

                                         32.3%     31.2%                                               29.0%       32.2%
          PEOPLE IN NEED                                               PEOPLE TARGETED

            643.6 K        648.8 K       19.0%      17.6%                 290.2 K        271.7 K       20.3%       18.6%




          PIN PERCENTAGE                         TOTAL REQUIREMENTS                      RMRP PARTNERS

              53.7%         53.6%                  $67.13 M       $62.51 M                    12


SECTOR LEADS:           HIAS, WFP



The Food Security Sector, composed of 12 R4V partners,        Food assistance provision to vulnerable populations will
will coordinate actions in 20 provinces, with an emphasis     prioritize households with pregnant and lactating women,
on those with the highest numbers of refugees and             children under 2 years old, elderly people, and people
migrants from Venezuela in vulnerable situations, namely      [MXLWTIGMƼGRIIHWERHSVGLVSRMGMPPRIWWIW1SVISZIV
the northern and southern borders and Pichincha and           programming will follow gender-sensitive approaches
Imbabura provinces.                                           and emphasize cooperation with host communities.
                                                              Direct assistance will be complemented by sensitization
Sector partners will centre their response around three
                                                              campaigns directed to personnel managing temporary
main objectives: 1) Improve the food security situation
                                                              shelters and communal spaces, and by messages that
for the most vulnerable refugees and migrants, both
                                                              help the targeted population to improve their food and
those in-transit and in-destination, as well as host
                                                              nutritional security, such as families managing home
community members, through direct food assistance
                                                              and communal gardens. CVA will be the main assistance
as well as support to food delivery services in temporary
                                                              modality, primarily through rechargeable and single-use
shelters and other communal spaces; 2) Enhance
                                                              cards that can be used to purchase nutritious food.
the harmonization of the different food assistance
TVSKVEQQIW XS MRGVIEWI XLIMV IƾGMIRG] MRGPYHMRK F]    Providing an adequate food security response will require
strengthening inter-sectoral cooperation; 3) strengthen       close inter-sectoral coordination, especially between
food security strategies that engage the most vulnerable      the Nutrition, Shelter, WASH and Protection Sectors.
host community populations, with an aim to reducing           Particularly for refugees and migrants from Venezuela
xenophobia against refugees and migrants.                     in temporary accommodations, close coordination
                                                              between shelter providers and food delivery services will
The Sector plans to introduce a cash and voucher
                                                              be sought.
assistance (CVA) modality aligned with national
programmes directed at vulnerable households with
pregnant and lactating women, and children under 2
years old. Direct in-kind food delivery will complement
this strategy, especially at the borders and through food
assistance provided in shelters and community kitchens.




                                                                                              CLP_AR_006342
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              HEALTH
    2023              2024

                                           30.7%     31.5%                                               28.5%     32.6%
            PEOPLE IN NEED                                              PEOPLE TARGETED

                547.5 K        554.3 K     19.7%     18.0%                    210.9 K     235.6 K        20.2%      18.7%




            PIN PERCENTAGE                         TOTAL REQUIREMENTS                      RMRP PARTNERS

                    45.7%       45.8%               $24.86 M       $22.74 M                    24


SECTOR LEADS:               KIMIRINA, UNFPA, WHO/PAHO



The Health Sector response will include 24 partners with       medical appointments, basic and specialized laboratory
actions in 21 provinces, prioritizing border provinces         tests and purchase of medicines. Sexual and reproductive
and those with the highest concentration of refugee and        health is also a key priority: it will include the clinical
migrant populations. The response will focus on:               management of sexual violence, specialized kits, and a
                                                               comprehensive care for people living with HIV/AIDS.
1. Strengthening the Ecuadorian public health system
   through support to the Ministry of Public Health,           Special attention will be given to populations with
   including through technical assistance to develop           chronic and serious diseases and those with specialized
   ERHSV YTHEXI WTIGMƼG EHQMRMWXVEXMZI VIKYPEXMSRW       health needs such as pregnant women, nursing mothers,
   to enhance the mainstreaming of human mobility              new-born children and those under 5 years of age,
   considerations, investment in health infrastructure,        elderly people and people with disabilities. The main
   provision of equipment, medicines, medical devices          assistance modality will be capacity development and
   and personal protective equipment.                          technical assistance to the Ministry of Public Health,
                                                               direct in-kind assistance that will be complemented
2. Enhancing the capacities of health personnel,               with educational and communication campaigns that
   including training to communities' health promoters,        include, among others, public health system access;
   on topics such as health and human mobility, and            sexual and reproductive health awareness; prenatal care
   mental health.                                              and healthy childhood, among others. The Sector has
                                                               planned 29 per cent of the total sectorial budget to be
3. Strengthening national vaccination campaigns                delivered through CVA.
   against COVID-19 as well as the regular vaccination
   schedule, with special attention to children. By            The Health Sector will work closely with the Nutrition
   strengthening the capacities of the national health         Sector to assist children under 5 years of age and
   system, the Sector also aims at having a positive           pregnant and lactating women in order combat chronic
   impact on the levels of access to medical services for      child malnutrition including child health assessments
   the host community.                                         and nutritional follow-up for both healthy as well as
                                                               malnourished children (provision of nutritional guidelines,
Additionally, direct assistance interventions are planned,     food and vitamins). Similarly, it will coordinate with the
aimed at promoting access to primary health care through       WASH Sector in order to provide safe potable water,
medical brigades, including prenatal care, healthy child       sanitation and hand wash facilities in transit facilities;
GSRXVSPTW]GLSWSGMEPGEVIERHƼVWXEMHGVMWMWGSRXEMRQIRX   as well as the Protection Sector to assist persons with
and the delivery of medicines. Moreover, partners will         WTIGMƼGTVSXIGXMSRRIIHWXLEXVIUYMVIEXXIRXMSRGEVIERH
deliver vouchers to cover costs related to attending           monitoring of their physical and mental health.
                                                                                             CLP_AR_006343
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           HUMANITARIAN TRANSPORTATION
   2023          2024

                                          40.1%    27.9%                                                34.9%       29.7%
          PEOPLE IN NEED                                               PEOPLE TARGETED

              171.1 K       168.2 K       16.8%    15.2%                     14.1 K        13.2 K        18.6%      16.8%




          PIN PERCENTAGE                          TOTAL REQUIREMENTS                      RMRP PARTNERS

              14.3%          13.9%                 $612.8 K       $598.6 K                     2


SECTOR LEADS:           IOM, NRC, UNHCR



The Humanitarian Transportation Sector will provide           in reaching areas with support networks and potentially
assistance to in-transit and in-destination refugees and      more integration opportunities. Information on safe
migrants in 13 provinces, through:                            transportation routes will be provided in border areas,
                                                              shelters and transportation terminals. In-kind assistance
1. Provision of safe transportation from borders to
                                                              will complement direct payment to transportation
   urban centres in Ecuador in order to enable family
                                                              providers and CVA. Sector partners will coordinate
   VIYRMƼGEXMSR VIEGL HIWXMREXMSRW ERH VIHYGI
                                                              actions to develop transportation providers capacities to
   protection risks;
                                                              deliver principled, inclusive and safe services to refugees
2. Day-to-day transportation within cities or inter-          and migrants.
   province transportation to access essential goods          Close coordination with the Protection Sector and the
   and services, especially health, employment and            +&:ERH8VEƾGOMRKERH7QYKKPMRK7YFWIGXSVW[MPPFI
   consular services.                                         critical in order to meet transportation needs, prevent
                                                              and respond to GBV, and reduce the use of unsafe means
Priority will be given to people in vulnerable situations     and strategies of travel. Collaboration with the WASH
such as pregnant and lactating woman, women with              Sector will be promoted to improve access to hydration
children, elderly people, and people with disabilities or     and sanitation services on-route and in terminals.
chronic illnesses.
These interventions will contribute to alleviating the
pressure on services and host communities in border
areas and those with intense population movements as
well as support refugees and migrants from Venezuela




                                                                                               CLP_AR_006344
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              INTEGRATION
    2023              2024

                                            26.5%     33.7%                                                26.2%     33.7%
            PEOPLE IN NEED                                                PEOPLE TARGETED

               557.3 K          572.3 K     20.5%      19.3%                   213.8 K      205.4 K        20.7%     19.4%




            PIN PERCENTAGE                          TOTAL REQUIREMENTS                      RMRP PARTNERS

                    46.5%        47.3%               $53.97 M       $53.26 M                     43


SECTOR LEADS:               IOM, FUDELA



The Integration Sector will coordinate the actions of           chambers, will be essential to achieve the objectives of
43 partners in 22 provinces, with a focus on those with         labour inclusion of the population.
higher concentration of refugees and migrants living in
                                                                Promote social cohesion through support to
Ecuador, prioritizing the following:
                                                                community networks with a view to foster resilience and
%GGIWWXSMRGSQIKIRIVEXMRKSTTSVXYRMXMIWMRGPYHMRK            empowerment and facilitate social inclusion of refugees
different types of technical training, market-oriented          and migrants with the communities that host them. For
entrepreneurship support and seed funding, targeting            example, support for cultural initiatives led by refugees
entrepreneurs in the ideation stage and those with small        ERHQMKVERXWXLEXVIEƾVQXLIMVGYPXYVEPMHIRXMX]MRZMXMRK
and medium-sized enterprises. Financial inclusion will          the host community to join in the exchange of cultural
FI IRLERGIH XLVSYKL WEZMRK MRMXMEXMZIW ERH ƼRERGMEP      practices that strengthen ties with the community and
education. Support to access formal employment                  advance the construction of the social fabric.
through sensitization and alliances with private sector
                                                                Partners will implement the Sector strategy through
stakeholders as well as job placement initiatives, and
                                                                direct in-kind assistance and CVA, support to relevant
support for validation of competences and recognition
                                                                Government institutions, and capacity development
of professional titles, will be made available to refugees
                                                                focusing on both public and private actors. Strategic
and migrants from Venezuela.
                                                                TEVXRIVWLMTW[MXLƼRERGMEPMRWXMXYXMSRWERHHIZIPSTQIRX
Advocacy and technical support to public and private            actors will be at the centre of the Sector strategy, with
stakeholders in order to strengthen their capacities to         a view to promote coherence and synergies between
advance the socio-economic integration of refugees and          humanitarian and development actions in relation to
migrants, while supporting host communities. Actions            strategic policy, alliances and investments to advance
will target relevant public institutions both at the national   the Sustainable Development Goals.
and local levels as well as private sector actors, including
                                                                The Sector will work closely with the Cash Working
through initiatives such as the UN Global Compact. The
                                                                Group on guidance to harmonize seed funding
Sector will develop joint strategies with state institutions
                                                                targeting criteria, including levels of funding. Moreover,
that promote the integration of refugees and migrants,
                                                                it will coordinate actions with the Protection Sector to
such as the Ministry of Labour, Ministry of Economic
                                                                foster the socio-economic integration of refugees and
and Social Inclusion and Ministry of Production, aimed
                                                                migrants, enhancing referral mechanisms both for those
at improving services and capacities of state initiatives
                                                                in an irregular situation facing various vulnerabilities, as
to respond to the integration needs of refugees and
                                                                [IPPEWTISTPI[LSFIRIƼXIHJVSQXLIVIKMWXVEXMSRERH
migrants. As for the private sector, raising awareness
                                                                regularization processes launched by the Government in
and creating alliances with key actors, such as industrial
                                                                2022. For the latter, the response will focus on access
                                                                                              CLP_AR_006345
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to formal employment and support to meet national                ERH,YQER8VEƾGOMRKERH7QYKKPMRK7YFWIGXSVW[MPP
requirements to establish formal businesses and access           also be key to promote the economic empowerment of
XLIREXMSREPƼRERGMEPW]WXIQ'SSVHMREXMSR[MXLXLI+&:         +&:WYVZMZSVWERHZMGXMQWSJLYQERXVEƾGOMRK




            NUTRITION
   2023           2024

                                            0.0%       38.8%                                                   0.0%      41.7%
          PEOPLE IN NEED                                                   PEOPLE TARGETED

              131.6 K        133.1 K        31.4%      29.8%                     8.6 K          8.6 K        29.8%       28.5%




          PIN PERCENTAGE                              TOTAL REQUIREMENTS                       RMRP PARTNERS

               11.0%          11.0%                    $3.16 M        $2.54 M                       6


SECTOR LEAD:             UNICEF



The Nutrition Sector will implement its response through         the Government's campaign to eradicate chronic child
six partner organizations across 19 prioritized provinces.       malnutrition, also reaching children and mothers in
                                                                 affected host communities.
The actions will focus on the following activities:
                                                                 The response modality for these actions will include direct
1. Nutrition counselling aimed at strengthening Infant
                                                                 service provision through mobile teams; in kind-support
   and Young Child Feeding (IYCF) practices for children
                                                                 through the provision of micronutrients and nutritional
   under 5 years old, and nutrition practices for pregnant
                                                                 supplements; capacity development of health care
   women and adolescents;
                                                                 providers and local authorities in areas related to nutrition
2. Nutritional and health screenings of children under           in emergencies. CVA will be delivered and represents 35 per
   5 years old, pregnant women and adolescents,                  cent of the total Sector budget and will include transfers for
   including children anthropometric testing and                 access to medical consultations, rehabilitation, medicines
   anaemia testing, ensuring children under 2 years old          and access to nutritional supplements. The activities
   and pregnant women receive a prioritized package of           will also be complemented by social and behavioural
   health services to prevent stunting and other forms of        change strategies and campaigns to sensitize people on
   malnutrition; and                                             the relationships between nutritional factors and health
                                                                 outcomes, improving cooking practices and promoting
3. Provision of nutritional supplements for pregnant             changes in unfavourable dietary habits, with the aim to
   women, adolescents and children under 5 years                 improve the nutritional status of vulnerable populations.
   old, including micronutrient supplementation and              %GXMSRW XS EHHVIWWMRK RYXVMXMSREP HIƼGMIRGMIW ERH
   nutritional supplements.                                      malnutrition require multisectoral efforts, including
                                                                 with the WASH, Education, Health, Food Security and
The activities delivered by the Nutrition Sector will
                                                                 Protection Sectors. Collaboration with these Sectors will
target vulnerable groups of children under 5 years old,
                                                                 aim at improving access to safe water for consumption,
pregnant women and lactating women, and adolescent
                                                                 working to ensure that children under 2 years old receive
girls both in-transit and in-destination. By targeting these
                                                                 the package of care required to prevent stunting, and
groups, the actions will prioritize the work with women
                                                                 working to implement actions to promote healthy habits
by supporting them and responding to their needs.
                                                                 among school-aged children andCLP_AR_006346
                                                                                                   adolescents.
Moreover, the response will aim to support strengthening
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                PROTECTION
     2023              2024

                                                       32.0%         31.2%                                                               30.3%         31.3%
              PEOPLE IN NEED                                                                  PEOPLE TARGETED

                 838.5 K              846.1 K            19.1%       17.6%                         434.7 K            433.0 K             20.1%        18.2%




              PIN PERCENTAGE                                      TOTAL REQUIREMENTS                                   RMRP PARTNERS

                   70.0%               69.9%                       $44.05 M            $40.46 M                             40


SECTOR LEADS:                 NRC, UNHCR



The Protection Sector will coordinate the actions of 40                          in these processes. The Sector will support Government
partners in 21 provinces and will prioritize:                                    MRWXMXYXMSRWXLVSYKLXLITVSZMWMSRSJƼRERGMEPXIGLRMGEP
                                                                                 and material support in order to enhance their capacities
1. Supporting relevant Government institutions to
                                                                                 to effectively implement these processes.
   facilitate access to the territory, asylum, and regular
   stay arrangements, and will support other national                            Legal assistance to promote access to essential rights
   protection systems, to promote a holistic protection                          and services, particularly the right to access to asylum
   response and advance durable solutions for refugees                           and the process of RSD, as well as the different types of
   and migrants.                                                                 migratory arrangements available in Ecuador, will also be
                                                                                 prioritized.
2. Promote the peaceful coexistence between refugees
                                                                                 Peaceful coexistence is a central aspect to enhancing
   and migrants from Venezuela and their hosts
                                                                                 protection mechanisms for refugees, migrants and
   communities to enhance protection mechanisms.
                                                                                 their host communities. To promote this, the Sector will
In support of the registration and regularization                                engage with communities to harness their knowledge
exercise initiated by the Government of Ecuador on 1                             and resources to strengthen their capacities to protect
September 2022,193 partners will focus on disseminating                          themselves, promote integration and rebuild their
and strengthening the scope and coverage of the                                  lives. Communities will have an active and leading role
registration and regularization processes. This will be                          in the response.
achieved through the deployment of teams to different                            With a population largely concentrated in urban and peri-
areas of the country to support the Government-led                               urban areas (80 per cent) and often sharing similar risks,
communication campaign,194 of legal teams that will                              vulnerabilities and opportunities with local communities,
enhance referral mechanisms and provide legal services,                          7IGXSV TEVXRIVWƅ [SVO [MPP JSGYW SR MQTPIQIRXMRK ƼIPH
specialized counselling services, and assistance                                 activities that promote access to rights, particularly
JSGYWIH SR SFXEMRMRK XLI GIVXMƼGEXI SJ TIVQERIRGI                        for the most vulnerable. Over 340 community-based
subsequently applying for the Exception Temporary                                organizations have been mapped across the country, and
Residence Visa for Venezuelan citizens (VIRTE), and                              the Sector will build upon existing efforts to strengthen
ƼREPP]SFXEMRMRKEREXMSREPMHIRXMX]HSGYQIRX':%[MPP                         community-based groups and engage them, among
be provided for the payment of the consular fees, identity                       other things, in social media and other innovative
orders, mobilization expenses and other costs involved                           MRMXMEXMZIWXSƼKLXEKEMRWX\IRSTLSFMEERHHMWGVMQMREXMSR

[193] Executive Decree No. 436, 1 June 2022: Decreto Ejecutivo 436 del 01 de junio de 2022 sobre proceso de regularización de ciudadanos venezolanos, primera
      etapaLXXTW[[[KSFIGVIKYPEGMSRIWHIGVIXSINIGYXMZSNYRMSTVSGIWSVIKYPEVM^EGMSRGMYHEHERSWZIRI^SPERSWTVMQIVEIXETE

[194] ϛ)WXS]%UYʧϛ Campaign: https://estoyaqui.ec/
                                                                                                                         CLP_AR_006347
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As part of the Sector strategy, partners will prioritize,         and enable a holistic response. Coordination with other
among others, women heads of households, pregnant                 Sectors such as Shelter (for preventing evictions) and
and lactating women, sex workers, children, elderly               Health (for community-based health initiatives) will also
people, people affected by evictions, people with                 be key. Finally, in view of the regularization exercise,
disabilities and those with serious and chronic diseases.         joint strategies with the Integration Sector will be a
An overall vision, close collaboration and continuous             cornerstone of the response, with a view to advancing
feedback with the Child Protection, GBV and Human                 the socio-economic integration of refugees and migrants
8VEƾGOMRK ERH 7QYKKPMRK 7YFWIGXSVW [MPP WXVIRKXLIR         from Venezuela and thus fostering peaceful coexistence
referral mechanisms and protocols between partners                and mitigating protection risks.




            CHILD PROTECTION
    2023          2024

                                              17.1%     16.7%                                                13.8%      16.7%
           PEOPLE IN NEED                                                   PEOPLE TARGETED

              407.9 K         414.5 K        34.3%      31.8%                    52.6 K         51.4 K      36.3%       33.3%




           PIN PERCENTAGE                             TOTAL REQUIREMENTS                      RMRP PARTNERS

               34.0%          34.3%                    $12.64 M       $14.30 M                     17


SUB-SECTOR LEADS: COOPI, UNICEF



With 17 R4V partners, the Child Protection Sub-sector will           focus on unaccompanied and separated children
focus its intervention on three main response priorities:            and adolescents as a cross-cutting consideration
                                                                     throughout all response interventions, given their
1. Provision of psychosocial support and recreational
                                                                     WTIGMƼG ZYPRIVEFMPMX] XS FIMRK I\TSWIH XS WI\YEP
   activities in child-friendly spaces, strengthening
                                                                     I\TPSMXEXMSRLYQERXVEƾGOMRKERHSXLIVTVSXIGXMSR
   community mechanisms and safe spaces for
                                                                     risks.
   XLI MHIRXMƼGEXMSR SJ GLMPH TVSXIGXMSR GEWIW -X [MPP
   include mental health services, psychosocial
                                                                  3. Advocacy and capacity development aimed to
   assistance, inclusion strategies through art, sports
                                                                     strengthening the national protection system for
   and recreational activities, as well as leadership
                                                                     children and adolescents through the development
   programmes for adolescents and support groups for
                                                                     SJWTIGMƼGQIXLSHSPSKMIWXSTVIZIRXGLMPHVIRƅWVMKLXW
   adolescent parents.
                                                                     ZMSPEXMSRWXVEMRMRKXSTYFPMGSƾGMEPWERHGMZMPWSGMIX]
                                                                     organizations in comprehensive care for refugee
2. )RLERGI MHIRXMƼGEXMSR VIJIVVEP ERH GEWI
                                                                     and migrant children at risk, and the development
   management services of children and adolescents
                                                                     of campaigns for the integration of children that
   at risk, including unaccompanied and separated
                                                                     promote social cohesion, interculturality and non-
   children. Among other services, this will entail the
                                                                     discrimination.
   provision of legal assistance to refugee and migrant
   families with children and adolescents to mitigate
                                                                  Assistance for children and adolescents at-risk and
   the vulnerabilities and protection risks that may arise
                                                                  those unaccompanied and separated will prioritize
   from their lack of documentation and irregular status
                                                                  care in border provinces for the population in-transit,
   in Ecuador. The Sub-sector will place a particular
                                                                  and in the main cities for the population in-destination,
                                                                                                    CLP_AR_006348
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ensuring coordination among partners in different areas.         refugee and migrant children in-need, as well as those for
The main form of assistance will be direct, through case         host communities.
management, referrals and the provision of recreational
                                                                 In order to provide an effective child protection response,
activities and psychosocial assistance. CVA will also
                                                                 the Sub-sector will focus on intersectoral planning and
FI YXMPM^IH  TIV GIRX SJ XLI 7YFWIGXSVW ƼRERGMEP
                                                                 coordination with Sectors such as Education, Health
requirements), particularly for supporting alternative
                                                                 and Nutrition to respond in a comprehensive and
care and supervised independent living arrangements
                                                                 complementary way to the needs related to accessing
for unaccompanied adolescents as well as to support
                                                                 national educational system, completing vaccination
access to the registration and regularization process for
                                                                 schedules and combating chronic child malnutrition.
children and adolescents. Advocacy and strengthening
                                                                 Moreover, it will work in an articulated manner as part of
of local and national child protection systems will also
                                                                 the Protection Sector strategy and its Sub-sectors, such
be a key component of the Sub-sector response, with
                                                                 as GBV.
a view to promoting access to protection services for




              GENDER-BASED VIOLENCE (GBV)
    2023              2024

                                               6.5%    75.4%                                                 5.6%    76.6%
            PEOPLE IN NEED                                                PEOPLE TARGETED

               268.9 K       272.4 K           9.7%    8.3%                      133.0 K     130.5 K         9.6%     8.2%




            PIN PERCENTAGE                            TOTAL REQUIREMENTS                     RMRP PARTNERS

                    22.4%     22.5%                   $12.66 M        $11.91 M                   27


SUB-SECTOR LEADS: UNFPA, UN WOMEN



The GBV Sub-sector will coordinate the actions of 27                clinical management of sexual violence and referral
partners in 21 provinces, with particular focus on border           pathways and protocols.
areas and cities with high concentration of refuges and
migrants.                                                        2. Enhancing safe spaces and safe reporting
                                                                    mechanisms (such as partners’ complaint and
The response priorities will be oriented to:
                                                                    reporting mechanisms and helplines articulated
1. Strengthening public policies and mechanisms                     with national and local GBV responses) and
   for the prevention and protection against GBV,                   comprehensive response services for GBV survivors
   including technical assistance and national and                  to access safe spaces, legal assistance and the
   local-level advocacy for the mitigation, prevention              justice system, sexual and reproductive health, and
   and response to GBV, as well as for the protection               psychosocial support. This will also include the
   of the rights of the LGBTQI+ refugees and migrants.              delivery of specialized GBV kits.
   8LMW [MPP MRGPYHI GETEGMX] FYMPHMRK JSV ƼVWX PMRI
   responders such as public servants, civil society             3. Developing edu-communicational campaigns to
   organizations and humanitarian actors on GBV,                    prevent GBV, xenophobia and discrimination, and to
   positive masculinities, PSEA, minimum standards                  disseminate life-saving information about GBV risks
   and IASC Guidelines on GBV, GBV Case Management                  and response services. This includes campaigns
   Standard Operating Procedures, LGBTQI+ protection,               in public schools on preventing GBV and teenage
                                                                                               CLP_AR_006349
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   pregnancy; and campaigns targeting refugees,                accommodation, health services, and livelihoods (12 per
   migrants and affected host communities on                   cent of the planned budget). Direct assistance will be
   masculinities and gender diversities.                       accompanied by information campaigns and roll-out of
                                                               behaviour change methodologies.
The delivery of GBV assistance to both in-transit
                                                               As part of the overall protection strategy, the GBV Sub-
and in-destination populations will prioritize women,
                                                               WIGXSV [MPP GSSVHMREXI [MXL XLI ,YQER 8VEƾGOMRK ERH
children and LGBTQI+ refugees and migrants, as well
                                                               Smuggling Sub-sector, including through a shared
as vulnerable cases detected in host communities.
                                                               coordination working group, to advance advocacy
The main response modality will be support to relevant
                                                               and communication efforts. Close collaboration will
Government institutions at the national and local levels,
                                                               also be sought with the Integration Sector to promote
with a view to strengthening public policies and the
                                                               access to livelihoods for GBV survivors. Finally, Sectors
implementation of referral mechanisms and protocols
                                                               such as Health, Shelter and WASH as well as partners
both for refugees and migrants from Venezuela in-
                                                               providing multi-purpose CVA will be key for articulating
need as well as for their host communities. This will be
                                                               comprehensive multisectoral GBV response.
complemented by direct in-kind assistance, such as
kits, and through CVA for GBV survivors to access safe




            HUMAN TRAFFICKING AND SMUGGLING
   2023          2024

                                           40.4%     28.0%                                               31.8%       31.6%
          PEOPLE IN NEED                                                PEOPLE TARGETED

              58.3 K         57.0 K        16.5%      15.1%                    920           1.0 K       18.9%       17.6%




          PIN PERCENTAGE                           TOTAL REQUIREMENTS                      RMRP PARTNERS

               4.9%           4.7%                   $2.55 M        $2.53 M                     5


SUB-SECTOR LEAD: IOM



8LI ,YQER8VEƾGOMRK ERH 7QYKKPMRK 7YFWIGXSV [MPP           XVEƾGOMRK ERH WQYKKPMRK GVMQIW ERH E[EVIRIWW
GSSVHMREXIXLIEGXMSRWSJƼZITEVXRIVSVKERM^EXMSRW[MXL         raising and training sessions on specialized SOPs
the following priorities:                                         and other relevant topics to partners. Technical
                                                                  assistance will be provided to prevent human
1. Provide direct assistance that supports the recovery
                                                                  XVEƾGOMRKERHWQYKKPMRKXLVSYKLXLIHIZIPSTQIRX
   SJZMGXMQWSJXVEƾGOMRKERHVIHYGIWTVSXIGXMSRVMWOW
                                                                  of tools for handling cases, improving detection
   of people at-risk and in situations of exploitation,
                                                                  ERH MHIRXMƼGEXMSR QIGLERMWQW ERH HIZIPSTMRK
   including psychosocial and medical assistance,
                                                                  and implementing referral pathways. These tools
   development of a life plan and prospects, and
                                                                  will facilitate specialized case management by
   integration activities.
                                                                  law enforcement and migration authorities as well
2. 7XVIRKXLIR XLI GETEGMXMIW SJ TYFPMG SƾGMEPW 2+3W      as other state actors, in addition to humanitarian
   civil society organizations and UN partners. This              personnel.
   will include capacity development targeting judicial
                                                               3. Support the strengthening of public policies and
   SƾGMEPWMRXLIMRZIWXMKEXMSRERHTVSWIGYXMSRSJLYQER
                                                                  prevention and protection mechanisms by building
                                                                                                CLP_AR_006350
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   national and local networks and case committees,              Direct multisectoral assistance to victims and people
   TVSZMHMRK XIGLRMGEP ERH ƼRERGMEP EWWMWXERGI XS          at-risk will be provided through CVA (47 per cent) and
   promote the application of local ordinances, and              in-kind assistance. It will be complemented by capacity
   supporting the development of care protocols and              HIZIPSTQIRXERHXIGLRMGEPERHƼRERGMEPWYTTSVXXSXLI
   the improvement of mechanisms for identifying and             civil society and Government authorities.
   referring cases.
                                                                 ,YQER8VEƾGOMRKERH7QYKKPMRK7YFWIGXSVTEVXRIVW
                                                                 will coordinate with GBV Sub-sector partners both to
The delivery of assistance will prioritize border provinces
                                                                 articulate activities and to complement direct assistances
as Tulcán, Sucumbíos, and Orellana in the north, and
                                                                 and advocacy efforts. In addition, it will implement a
El Oro in the south. It will also focus on provinces with
                                                                 comprehensive response through close articulation with
high concentrations of refugees and migrants, such as
                                                                 other Sectors such as Health, Education and Integration
Guayas, Pichincha and Ibarra. Assistance to refugees
                                                                 through improved coordination, information exchange
and migrants will target single women and men,
                                                                 and joint referral pathways.
adolescents’ girls, and boys, and LGBTQI+ people at-risk.




              SHELTER
    2023              2024

                                          32.7%        30.7%                                                35.0%     29.8%
            PEOPLE IN NEED                                                 PEOPLE TARGETED

               495.9 K         499.0 K        19.1%    17.4%                    241.1 K      225.4 K        18.5%     16.8%




            PIN PERCENTAGE                            TOTAL REQUIREMENTS                     RMRP PARTNERS

                    41.4%        41.2%                $18.29 M       $18.62 M                     14


SECTOR LEADS:               IOM, NRC, UNHCR



Through its 14 partners, the Shelter Sector will focus its       2. Rental support both directly through CVA for up
response on 19 provinces, particularly Pichincha, El Oro            to three months (cash-for-rent) as well as through
and Guayas, prioritizing the following interventions:               MRJVEWXVYGXYVI YTKVEHIW XLEX [MPP EPWS FIRIƼX LSWX
                                                                    community homeowners, with a focus on WASH
1. Establishment of and support to temporary
                                                                    improvements.
   shelters and communal spaces, including through
   infrastructure upgrades of collective shelters and
                                                                 3. Delivery of non-food items (NFIs), including kits,
   communal spaces to meet minimum standards,
                                                                    essential household items and equipment, for
   community infrastructure improvements in prioritized
                                                                    individual families and to support community spaces.
   neighbourhoods, provision of equipment, and
   strengthening of management capacities, including             The response will focus on both in-transit and in-
   through the effective mainstreaming of protection             destination populations, targeting households with
   considerations. Within the Sector strategy, spaces            high levels of vulnerability, including those where
   such as community kitchens and educational facilities         children, elderly people and people with disabilities are
   will be supported, and partnerships with private actors       present. Family groups at imminent risk of eviction
   will be sought for temporary accommodation options.           will be considered as a priority within the rental
                                                                 support assistance.
                                                                                               CLP_AR_006351
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The main response modalities will consist of direct            for rent coupled with information campaigns on rental
collective shelters upgrades, including through                rights and host community sensibilization.
STIVEXMSREPERHƼRERGMEPWYTTSVXGETEGMX]HIZIPSTQIRX
                                                               For the development of the response, close coordination
and technical support in communal spaces
                                                               with the WASH, Health, Education and Integration
management and protection; infrastructure support to
                                                               Sectors will be key to broaden the shelter support
improve community spaces, aiming to serve both the
                                                               spectrum within a safe-space perspective. Moreover,
host and refugee and migrant communities and foster
                                                               joint strategies with the Protection Sector will be a key
peaceful coexistence; direct assistance through NFIs
                                                               priority in order to prevent and respond to eviction cases.
distributions, including the provision of household items
such as mattresses, blankets, among others; and CVA




            WASH
   2023          2024

                                           31.4%     31.5%                                                31.7%      31.5%
          PEOPLE IN NEED                                                PEOPLE TARGETED

             468.6 K        473.8 K        19.2%     17.8%                    221.5 K      219.8 K        19.1%       17.7%




          PIN PERCENTAGE                           TOTAL REQUIREMENTS                      RMRP PARTNERS

              39.1%          39.2%                   $6.27 M        $5.93 M                     10


SECTOR LEAD:            UNICEF



The WASH Sector, composed of 10 partners, will                 3. For those residing in Ecuador, to mitigate protections
coordinate actions in 22 provinces. The Sector will seek          risks that can arise from sharing a bathroom with
to provide assistance both to refugees and migrants               other households, shelters will be upgraded to
in-transit and new arrivals, to satisfy their essential           promote access to adequate housing, including
needs, as well the communities hosting them, with                 through improvements to WASH facilities in homes,
priority to women and girls, with a gender approach and           in coordination with the Shelter Sector.
accessibility considerations to people with disabilities or
serious illnesses.                                             The main response modalities will include direct
                                                               assistance through hygiene kits distribution, CVA for
The response will focus on assistance to access drinking
                                                               people in-need living in prioritized provinces, WASH
water, personal hygiene items and sanitation services
                                                               infrastructure upgrades, and capacity-development to
along highways, in temporary shelters and at border
                                                               manage WASH infrastructure.
crossing points through:
                                                               Public institutions, such as schools and health centres
1. Provision of hygiene services, distribution of
                                                               that provide services to a considerable number of
   water and establishment of hydration points and
                                                               refugees and migrants will be supported by increasing
   bathrooms/showers at information points in border
                                                               their installed capacity, improving, adapting or building
   areas and along the route.
                                                               WASH facilities so that they meet minimum standards,
                                                               and thus provide better services to both refugees and
2. Distribution of NFIs such as hygiene supplies for
                                                               migrants and their host communities. Moreover, partners
   [SQIRERHQIREW[IPPEWWTIGMƼG2*-OMXWJSVFEFMIW
                                                               will work on improvements, repairs, and construction of
                                                                                                CLP_AR_006352
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WASH infrastructure and services in community and                                 Sector will coordinate with Nutrition partners in order
public spaces. This will require close coordination with                          to address underlying causes of malnutrition related to
the Shelter, Health and Education Sectors. Finally, the                           inadequate access to water, sanitation and hygiene.




    CASH AND VOUCHER ASSISTANCE (CVA)


    In Ecuador, 14 partners will provide multipurpose CVA                         mechanisms; and advocating to improve access to
    through recurring as well as one-time assistance,                             ƼRERGMEP WIVZMGIW ERH IEWI /RS[ =SYV 'YWXSQIV
    while 31 partners will use CVA as part of their sectorial                      /=' VIUYMVIQIRXW MHIRXMƼGEXMSRERHEYXLIRXMGEXMSR
    interventions, including Food Security, Protection,                           WXERHEVHW JSV ƼRERGMEP WIVZMGIW  JSV VIJYKIIW ERH
    Health, Shelter and Education. CVA represents 38                              migrants from Venezuela, in coordination with the
    per cent (USD 223M) of RMRP activities in Ecuador.                            Integration Sector. Finally, the Working Group will
                                                                                  aim to strengthen the nexus between CVA and social
    Most refugees and migrants from Venezuela, 74
                                                                                  protection schemes, including by closer collaboration
    per cent of households, live in poverty195 and have
                                                                                  with relevant public actors.
    considerably less income than is needed to afford
    minimum needs based on the minimum expenditure                                The Cash Working Group will promote exchanges
    basket. The Cash Working Group will coordinate                                among partners on best practices, monitor the
    ':% ETTVSEGLIW XS IRWYVI WYTTSVX MW VIƽIGXMZI SJ                      results of multipurpose CVA and collect data to
    the cost-of-living and to the update the Minimum                              inform and improve programming. It will share
    Expenditure Basket, which is set at USD 853 per                               experiences and solutions from other countries with
    month for an average family of four members                                   the aim to apply those considered relevant in Ecuador
    according to a recent study196 (compared to USD 713                           through collaborative initiatives such as the UN
    in 2019), an amount considerably higher than the                              Common Cash System (UNCCS), the Collaborative
    average income in Ecuador.197                                                 Cash Delivery Network (CCD) and the Cash Learning
                                                                                  Partnership (CaLP). The coordination model will
    The Cash Working Group will focus on monitoring
                                                                                  incorporate IASC guidance, while acknowledging the
    QEVOIXXVIRHWYTHEXMRKMHIRXMƼGEXMSRERHXEVKIXMRK
                                                                                  context and particularities of the Venezuela situation.
    methodologies; fostering coordination between
    partners in different provinces; harmonizing transfer




   [195] For 74 per cent of households, the average per capita income is lower than USD 85.60 (which is the income poverty threshold established by the
         Ecuadorian Statistic and Census National Institute, INEC). R4V, RMNA 2022, page. 152.

   [196] Minimum Expenditure Basket Taskforce, Cash Working Group. Market and basic goods evaluation and monitoring study. Ecuador, July 2022.
         Publication forthcoming

   [197] The cost of living and thus the minimum expenditure basket are on the rise in Ecuador (1.22 per cent and 2.16 per cent monthly increases for the
         survival and the livelihood baskets, respectively, set at USD 529.07 and USD 751.04 as of June 2022). At the same time, as the JNA shows, the
         average monthly income of USD 235.54 for a Venezuelan family of four is notably lower than the minimum expenditure basket. R4V, RMNA 2022,
         page 152.


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Circumvention of Lawful Pathways

Comment On: USCIS-2022-0016-0001
Circumvention of Lawful Pathways

Document: USCIS-2022-0016-3267
Comment Submitted by Diego Fernandez-Pages



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                                       General Comment
See attached file(s)



                                         Attachments
Asylum Rule_Comment




                                                                         CLP_PC_003999
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This proposed rule is flawed in several respects, and, should it be promulgated in its current
state, does not account for several fatal problems:

   1. Speculative Projections

   The proposed rule is based primarily on “planning assumptions [that] suggest that
   encounter numbers may increase to 11,000-13,000 per day following the termination of the
   Title 42 public health Order.” The model used to project that is difficult to access and not
   apparently available to the general public. The model should by law be available for perusal
   from statistical experts to ensure its accuracy. United States v. Nova Scotia Food Products
   Corp., 568 F.2d 240 (1977).

   Apart from the model’s unavailability, the Departments offer no justification for these
   conceded assumptions in the body of the proposed rule. Indeed, the Departments use
   vague and imprecise language to describe the potential increase in encounter numbers at
   the Southwest Border: “could,” (p. 11705), and “may” (p. 11728), “assumes” or
   “assumption,” (p. 11712) and “projections” (p. 11705) all suggest a high level of
   uncertainty—one not at all alleviated by any explanation of the assumptions in the text.
   Further, the Departments concede that “a number of factors make it particularly difficult to
   precisely project the numbers of migrants who would seek to cross the border, without
   authorization, after the lifting of the Title 42 public health Order.” (p. 11705). These factors
   are also unexplained.

   When a rule of such magnitude, affecting the entire breadth of the asylum system, relies on
   such unclear, uncertain, and unsubstantiated projections, it must be arbitrary.

   2. Reliance on CBP One

       The proposed rule relies on CBP One, the new application extensively discussed, to
       operationalize the “scheduling system” referenced in § 1280.33(a)(ii) of the proposed
       rule. CBP One is poorly tested. Three primary problems remain unaddressed: A. People
       that have attempted to use the app to schedule entry—CBP’s preferred method—report
       long, arbitrary wait times reminiscent of “a lottery.” B. The assumption that most
       asylum seekers have devices that will allow them to access the CBP One app is poorly
       substantiated. C. Exceptions to the use of the application are not sufficient to account
       for technical problems with the application that are not due to user error.

       A. The Departments do not address the concern that the CBP One app functions as a
          lottery. The Departments have not looked into these claims, or conducted any
          surveys to that end. (Miriam Johnson, Biden Administration Announces New Border
          Crackdown, NY Times (Feb 21 2023).) If CBP One does function as a lottery, then it
          may contradict the Immigration and Nationality Act. 8 USC § 1158 makes clear that
          “any” migrant who arrives at or enters the United States can apply for asylum. If it
          functions as a lottery, then CBP One first prevents arriving migrants from applying


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          for asylum, and second, removes procedural protections afforded migrants who are
          seeking asylum.

       B. While the Departments have addressed concerns that asylum seekers will not have
          the necessary devices to access the CBP One app, the study they rely on to
          substantiate their dismissal of the concerns only looks at 95 migrants at a single port
          of entry. (Part III.E.7) This represents .8% of the number of encounters at the
          Southwest Border CBP projects at minimum. To establish an additional barrier to
          asylum based on a single small-scale study at a single port of entry is irresponsible
          and does not substantially address the concerns the Departments themselves
          reference.

       C. The Departments do not offer alternative processes for asylum seekers who
          encounter technical difficulties not due to their own error with the CBP One app. If,
          for example, the app crashes, is unavailable, or is compromised by cyberattack,
          asylum seekers may lose their place in line, may have to restart their application, or
          may have their valuable personal data stolen. The Departments’ exception creates
          an unreasonable additional procedural barrier to asylum seekers by creating a
          threshold adjudication where the burden of proof is on the asylum seeker rather
          than on the Department to prove inability to access the application. (Part III.E.7)

   3. Inaccurate Comparison to U4U

       The Departments rely on the Uniting for Ukraine (U4U) and Venezuela parole processes
       to justify promulgating this rule. (Part V.A.) This reliance is inaccurate. Both processes
       introduce affirmative parole procedures in addition to regular asylum procedures for
       migrants from two specific countries undergoing emergencies. The U4U parole process
       lowers barriers to entry: The U4U program required Ukrainian migrants to show only
       that they: Resided in Ukraine before February 11, 2022; are a Ukrainian citizen or
       possessed a valid Ukrainian passport; have a vetted supporter file an I-134A form; and
       pass biometric and biographic security checks. (https://www.uscis.gov/ukraine).

       These four requirements represent significantly less stringent procedural barriers to
       Ukrainian asylum or parole seekers. They also do not establish a rebuttable presumption
       of ineligibility; they affirmatively create a presumption of eligibility if Ukrainian migrants
       meet these four criteria. The new rule, meanwhile, establishes higher procedural
       barriers for asylum seekers by introducing a stringent presumption, rebuttable only on
       very specific, hard-to-meet grounds.

The proposed rule suffers on several other grounds. Exceptions to the rebuttable presumption,
for instance, are impermissibly high and do not give migrants a reasonable opportunity to make
a credible fear argument before an asylum officer. The risk of error that those subject to the
presumption but do have a credible fear of persecution will be even higher than it already is.
The Departments do not address this and other due process problems in any part of the rule. I


                                                                                     CLP_PC_004001
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do not believe that the Departments should issue this rule at all for the reasons stated, but also
because I believe this is a violation of asylum seekers’ right to seek asylum per long-standing
and ratified international law.




                                                                                   CLP_PC_004002
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Docket: USCIS-2022-0016
Circumvention of Lawful Pathways

Comment On: USCIS-2022-0016-0001
Circumvention of Lawful Pathways

Document: USCIS-2022-0016-12228
Comment Submitted by American Immigration Lawyers Association and American Immigration Council



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                                        General Comment
Please see the attached comment and four attachments.



                                            Attachments
2023 AILA AIC Asylum Transit Ban Comment

Attachment 001_AICAILACommentMar23

Attachment 002_AICAILACommentMar23-compressed

Attachment 003_AICAILACommentMar23-compressed

Attachment 004_AICAILAComment Mar23




                                                                                 CLP_PC_020712
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March 26, 2023

    Daniel Delgado                                      Lauren Alder Reid
    Acting Director, Border and Immigration             Assistant Director
    Policy, Office of Strategy, Policy, and Plans       Office of Policy
    Department of Homeland Security                     Executive Office for Immigration Review
    Washington, DC 20528                                Department of Justice
                                                        5107 Leesburg Pike
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Submitted via http://www.regulations.gov

Re:       American Immigration Lawyers Association and American Immigration Council
          Comment on Circumvention of Lawful Pathways
          DHS Docket Number USCIS 2022-0016

Dear Mr. Delgado and Ms. Alder Reid:

The American Immigration Lawyers Association (AILA) and the American Immigration Council
(Council) submit the following comments in response to the above-referenced Department of
Homeland Security (DHS) and Department of Justice (DOJ) (collectively, “the Departments”)
Notice of proposed rulemaking (proposed rule), Circumvention of Lawful Pathways (DHS
Docket Number USCIS 2022-0016), 88 Fed. Reg. 11704 (February 23, 2023). The Departments
request comment on, among other things, “[w]hether the proposed rule appropriately provides
migrants a meaningful and realistic opportunity to seek protection.”1

The situation the Departments face is a uniquely difficult one. Regional migratory and
displacement patterns have shifted significantly in recent years. Increased numbers of asylum
seekers at the Southern Border are a symptom of these shifting patterns and long-term
Congressional inaction to address humanitarian needs holistically to fix issues within the wider
immigration system that would alleviate the pressure at the Southern border. Compounding this
is a historic asylum backlog across both Departments.



1
 Circumvention of Lawful Pathways, 88 FR 11704, 11708 (proposed Feb. 23, 2023) (to be codified at 8 CFR 208
and 8 CFR 1208),
https://www.federalregister.gov/documents/2023/02/23/2023-03718/circumvention-of-lawful-pathways. [hereinafter:
“NPRM”]


                                                                                                             1
                                                                                             CLP_PC_020713
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However, the proposed rule is a step in the wrong direction. The proposed rule will prevent
meaningful access to asylum to individuals who arrive at the U.S.-Mexico border, which covers
the majority of asylum seekers who are unable to afford a passport (or had their passport revoked
by a persecuting government) and a flight. The proposed rule amounts to an asylum transit
ban—relying on transit countries that can neither ensure asylum seekers' safety nor meaningful
access to a system that protects the human rights guaranteed under U.S. law. It further conditions
access to asylum based on how asylum seekers enter the country. Furthermore, the proposed
“core protections” and safeguards will not sufficiently protect access to asylum and other forms
of humanitarian relief, particularly in light of our significant concerns surrounding its
implementation and access to counsel.

AILA and the Council urge the Biden administration to remain true to its commitment to asylum
law and humanitarian protections.
     I.    About AILA and the Council
Established in 1946, AILA is a voluntary bar association of more than 16,000 attorneys and law
professors practicing, researching, and teaching in the field of immigration and nationality law.
AILA’s mission includes the advancement of the law pertaining to immigration and
naturalization and the facilitation of justice in the field. AILA members regularly advise and
represent businesses, U.S. citizens, U.S. lawful permanent residents, and foreign nationals
regarding the application and interpretation of U.S. immigration laws.

The Council is a non-profit organization established to increase public understanding of
immigration law and policy, advocate for the just and fair administration of our immigration
laws, protect the legal rights of noncitizens, and educate the public about the enduring
contributions of America’s immigrants. The Council litigates in the federal courts to protect the
statutory, regulatory, and constitutional rights of noncitizens, advocates on behalf of noncitizens
before Congress, and has a direct interest in ensuring that those seeking protection in the United
States have a meaningful opportunity to do so.
    II.    The proposed rule violates international and domestic law, as it functionally denies
           individuals safety from persecution
               (A) The proposed rule undermines both U.S. domestic and international law
                   obligations

The proposed rule violates the United States’ obligations to protect individuals fleeing
persecution under both international and domestic law. As a signatory to the 1967 Refugee
Protocol, the United States has agreed to uphold the principles of the 1951 Convention Relating
to the Status of Refugees, including the right to seek asylum and the prohibition on refoulement.
Domestic law also requires the United States to protect asylum seekers. Under the Immigration
and Nationality Act (INA), an individual may apply for asylum regardless of their manner of
entry, subject to certain very limited exceptions.2 The INA also sets limits on when an asylum
seeker can be denied protection based on residing in a third country. The proposed rule denies


2
    8 U.S.C. § 1158(a)(1) (1952).


                                                                                                      2
                                                                                    CLP_PC_020714
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access to asylum to individuals primarily on the basis of their manner of entry and is therefore
contrary to international and domestic law.
The proposed rule is inconsistent with fundamental international law principles aimed at
protecting refugees, which the United States has agreed to uphold. The Refugee Convention’s
principle of non-refoulement prohibits the United States from returning an individual seeking
humanitarian protection to a country where they could face persecution.3 Under the proposed
rule, asylum seekers subject to the ban will be ineligible for asylum and face a heightened risk of
being returned to countries where they fear persecution based on factors that have nothing to do
with the merits of their underlying asylum claim. The proposed rule’s requirement that asylum
seekers enter through a port of entry with an appointment or via parole also violates the Refugee
Convention’s prohibition against imposing penalties on asylum seekers based on their irregular
entry into the country.4
The United States incorporated these international law principles into domestic law when it
passed the 1980 Refugee Act.5 In 8 U.S.C. § 1158, Congress established a comprehensive
asylum system, which includes limited exceptions to noncitizens’ ability to apply for and be
granted asylum. The rule relies on 8 U.S.C. § 1158(b)(2)(C), which allows the Attorney General
to establish regulations with additional limitations, to justify its ability to implement a new bar to
asylum. However, 8 U.S.C. § 1158(b)(2)(C) mandates that any additional limitations be
“consistent with” the statute.6 The limitations in the proposed rule are in direct conflict with the
INA.7 For example, the INA states that, subject to certain exceptions, anyone “who is physically
present in the United States or who arrives in the United States (whether or not at a designated
port of arrival . . .), irrespective of [their] status, may apply for asylum.”8 The proposed rule
contravenes the statute by barring from asylum individuals who enter between ports of entry and
those who arrive at a port of entry without utilizing DHS’s appointment system, unless there is a
specific reason why they could not.9
Additionally, Congress already explicitly addressed asylum restrictions for people who may find
safety in other countries in two separate statutory provisions. First, under
8 U.S.C. § 1158(a)(2)(A), individuals generally cannot apply for asylum if they can be removed
to a country that has a formal safe third country agreement with the United States. A “safe third
country” is defined as a country where that person’s life or freedom would not be threatened and
3
  United Nations High Commissioner for Refugees (UNHCR), Note on Non-Refoulement (Submitted by the High
Commissioner), Aug. 1977,
https://www.unhcr.org/en-us/excom/scip/3ae68ccd10/note-non-refoulement-submitted-high-commissioner.html.
4
  See UNHCR, Brief of the Office of the United Nations High Commissioner for Refugees, O.A., et al. v. Trump, et
al., Aug. 13, 2020, No. 19-5272 (“[n]either the 1951 Convention nor the 1967 Protocol permits parties to condition
access to asylum procedures on regular entry”), https://www.refworld.org/docid/5f3f90ea4.html, at 24.
5
  Matter of D-L-S, 28 I. & N. Dec. 568, 571 (BIA 2022) (“It is well established that Congress enacted the Refugee
Act of 1980 to ‘bring United States refugee law into conformance with the country’s obligations under the
Protocol.’” (citing and quoting Matter of Q-T-M-T-, 21 I. & N. Dec. 639, 645 (BIA 1996)).
6
  8 U.S.C. § 1158(b)(2)(C) (“The Attorney General may by regulation establish additional limitations and
conditions, consistent with this section, under which a [noncitizen] shall be ineligible for asylum under paragraph
(1).”).
7
  See E. Bay Sanctuary Covenant v. Garland, 994 F.3d 962 (9th Cir. 2020) (upholding preliminary injunction of
Trump administration transit ban interim final rule) [hereinafter “East Bay I”].
8
  8 U.S.C. § 1158(a). Emphasis added.
9
  See E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 669 (9th Cir. 2021) (concluding that a 2018 asylum
restriction based on manner of entry was “not in accordance with law”) [hereinafter “East Bay III”].


                                                                                                                      3
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where they would have “access to a full and fair procedure” for accessing humanitarian
protection. Second, under 8 U.S.C. § 1158(b)(2)(A)(vi), an asylum seeker who was “firmly
resettled,” meaning that the person was eligible for or received permanent legal status, in another
country is generally not eligible for asylum.
Finally, 8 U.S.C. § 1231 codified the Convention’s prohibition against returning refugees to
countries where they face persecution. The proposed rule, which conditions access to asylum on
manner of entry and transit, would result in the return of refugees to danger and contravenes
these provisions of U.S. law.
The proposed rule is also contrary to the credible fear screening standard Congress established in
1996, when it created the expedited removal process through the Illegal Immigration Reform and
Immigrant Responsibility Act (“IIRIRA”). Under this process, asylum seekers placed in
expedited removal who establish a credible fear of persecution must be referred to full removal
proceedings, where they can apply for asylum.10 Congress intended the “significant possibility”
standard used in credible fear interviews to be a low threshold.11 If an asylum officer determines
that an applicant is not eligible for asylum under the proposed rule, the officer must interview the
person under the heightened standard generally applicable in reasonable fear proceedings to
determine if they may qualify for withholding of removal or protection under the Convention
Against Torture.12 Given the higher standard required for withholding and CAT, the proposed
rule will drain resources from USCIS by requiring asylum officers to apply a two-step process
while making it more difficult for individuals to qualify for life-saving protection. Even those
who meet the higher standard for withholding of removal or CAT will not receive the same
benefits that asylum provides, which could lead noncitizens to experience instability, lack of
permanency, and family separation.13
The proposed rule undermines our domestic law obligations. As a result, most individuals who
cross the southern border without an appointment, except Mexican nationals or those who meet
the proposed rule’s limited exceptions, would be ineligible for asylum in the United States
because they would have transited through a country that is a signatory to the Convention or the
Protocol. Additionally, nearly every country in the world is a signatory to the Convention or the
Protocol.14 Thus, this proposed rule will adversely impact asylum seekers from all over the world
who are seeking protection in the United States.
Such a ban undermines congressional mandates regarding our domestic asylum system and
betrays our international law obligations. Indeed, federal courts repeatedly vacated and enjoined
similar Trump administration asylum bans based on manner of entry and transit because they


10
   See 8 U.S.C. § 1225(b)(1)(B)(ii).
11
   See 142 CONG. REC. S11491–02 (daily ed. Sept. 27, 1996) (statement of Sen. Hatch) (“The conference report
struck a compromise by rejecting the higher standard of credibility included in the House bill. The standard
adopted . . . is intended to be a low screening standard for admission into the usual full asylum process”),
https://www.govinfo.gov/content/pkg/CREC-1996-09-27/html/CREC-1996-09-27-pt1-PgS11491-2.htm.
12
   NPRM at 11750.
13
   See American Immigration Council, Fact Sheet: The Difference Between Asylum and Withholding of Removal,
https://www.americanimmigrationcouncil.org/research/asylum-withholding-of-removal (Oct. 6, 2020).
14
   148 countries signed one or both of the 1951 Convention and the 1967 Protocol. See UNHCR, States Parties to
the 1951 Convention relating to the Status of Refugees and the 1967 Protocol,
https://www.unhcr.org/protect/PROTECTION/3b73b0d63.pdf.


                                                                                                                 4
                                                                                               CLP_PC_020716
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were contrary to U.S. law.15 The proposed rule relies on these same premises that courts have
already found unlawful.

             (B) Mexico, Guatemala, and other common transit countries lack fair and functioning
                 asylum systems
The proposed rule exempts people who apply for protection in a third country and receive a
denial. However, Mexico, Guatemala, and most countries through which asylum seekers
regularly transit en route to the United States have deficient asylum systems that fail to meet the
INA’s requirements of a “full and fair” process. In particular, Mexico and Guatemala lack the
capacity, infrastructure, and rule of law required to process high numbers of asylum claims while
providing safety to the number of refugees in need.16
It is well documented that the Mexican asylum system is deeply flawed and underfunded.17
Mexico already receives high numbers of asylum applications, but it struggles to adjudicate them
in a timely manner. From January to August 2021, Mexico received nearly 78,000 asylum
applications but resolved only about 23,000 cases.18 In 2019, the Mexican Commission for
Refugee Assistance (“COMAR”) had only 48 staff members adjudicating asylum claims.19
According to the Department of State, “COMAR’s budget increased modestly in recent years but
was not commensurate with the growth in refugee claims.”20 Asylum approval rates also differ
widely based on country of origin, with most Haitian and Guatemalan asylum seekers being
denied asylum in Mexico.21 Given current backlogs and resource constraints, Mexico is not
prepared to adjudicate the increased volume of applications that will be generated by the
proposed rule.




15
   See Cap. Area Immigrants' Rts. Coal. v. Trump, 471 F. Supp. 3d 25, 60 (D.D.C. 2020) (vacating Trump
administration transit ban interim final rule); see also East Bay I (concluding that a 2019 third country transit bar is
not “consistent with this section”); O.A. v. Trump, 404 F. Supp. 3d 109, 154 (D.D.C. 2019) (vacating Trump
administration interim final rule barring asylum for individuals who entered between ports of entry).
16
   See Human Rights First, Is Guatemala Safe for Refugees and Asylum Seekers?,
https://humanrightsfirst.org/wp-content/uploads/2022/10/IsGuatemalaSafeforRefugeesandAsylumSeekers.pdf (June
2019); see also Human Rights First, Is Mexico Safe for Refugees and Asylum Seekers?,
https://humanrightsfirst.org/wp-content/uploads/2022/10/MEXICO_FACT_SHEET_PDF.pdf (Nov. 2018).
17
   See Human Rights First, Is Mexico Safe for Refugees and Asylum Seekers? (Nov. 2018).
18
   See Human Rights Watch, World Report 2022: Mexico,
https://www.hrw.org/world-report/2022/country-chapters/mexico#39f1f6 (n.d.).
19
    See Refugees International, Harmful Returns: The Compounded Vulnerabilities of Returned Guatemalans in the
Time of COVID-19,
https://www.refugeesinternational.org/reports/2020/6/16/harmful-returns-the-compounded-vulnerabilities-of-returne
d-guatemalans-in-the-time-of-covid-19 (June 23, 2020).
20
    U.S. Dep’t of State, 2021 Country Reports on Human Rights Practices: Mexico,
https://www.state.gov/reports/2021-country-reports-on-human-rights-practices/mexico/.
21
    See Refugees International, Harmful Returns: The Compounded Vulnerabilities of Returned Guatemalans in the
Time of COVID-19 (June 23, 2020); see also Alex J. Rouhandeh, “Haitians Stuck in Mexico’s ‘Open Air Prison’
City Claim Racism as Asylum Cases are Denied,” NEWSWEEK,
https://www.newsweek.com/haitians-stuck-mexicos-open-air-prison-city-claim-racism-asylum-cases-are-denied-166
2251 (Dec. 22, 2021).


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                                                                                                     CLP_PC_020717
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Additionally, Mexico’s asylum process presents asylum seekers with many hurdles, which
severely limit access to asylum.22 Mexican officials often expel individuals seeking protection or
violently detain them.23 Black migrants in particular report experiencing longer periods of
detention and discriminatory treatment by officials while detained.24 Asylum seekers in Mexico
must also generally apply for asylum within 30 days of arriving in Mexico and they must remain
in the state where they applied for asylum until their application is decided.25 Given the
instability faced by recently arrived asylum seekers, Mexico’s onerous asylum requirements and
lack of capacity severely limit the availability of protection.
Guatemala has a “nascent and cumbersome asylum system” that is unable to meet current
demands, much less process a significant increase in asylum applications. In 2018, around 260
people applied for asylum in Guatemala (an increase of 75 percent from previous years), and
only 20 cases were approved.26 A Guatemalan Office of the Ombudsman official warned, “If we
had, in two years, 472 cases and we were not able to resolve them, what is going to happen if we
have thousands of cases or hundreds each day? We are not going to be able to resolve them. We
don’t resolve the cases because the [National] Migration Authority, the institution responsible for
resolving the cases, is not interested in resolving them . . . Asylum is not a priority for our
country.”27 Instead, the Guatemalan government shifts the burden to civil society groups to
provide critical legal orientation and humanitarian aid to asylum seekers.28
Though the preamble to the proposed rule mentions developments in Guatemala’s asylum system
during the last two years, it is unfathomable that Guatemala’s very new asylum system could be
prepared to provide a full and fair asylum process for people in need of protection. Indeed, the
preamble states that as of March 2022, the Guatemalan Migration Institute (“IGM”) had “already
received nearly 300 applications in 2022 and granted asylum to 590 individuals.”29 However,
according to the document cited in the preamble, 590 actually refers to the total number of
individuals ever granted asylum in Guatemala, not to the number of applications granted in
2022.30 Other Central American countries are also ill-equipped to offer necessary protection to a




22
   See Kirk Semple, “A Flawed Asylum System in Mexico, Strained Further by U.S. Changes,” New York Times,
https://www.nytimes.com/2017/08/05/world/americas/mexico-central-america-migrants-refugees-asylum-comar.htm
l (Aug. 5, 2017); see also Human Rights First, Is Mexico Safe for Refugees and Asylum Seekers? (Nov. 2018).
23
   See Human Rights Watch, World Report 2022: Mexico.
24
   See S. Priya Morley et al., “There is a Target on Us” – The Impact of Mexico’s Anti-Black Racism on African
Migrants at Mexico’s Southern Border,
https://baji.org/wp-content/uploads/2021/01/The-Impact-of-Anti-Black-Racism-on-African-Migrants-at-Mexico.pdf
(2021).
25
   See Asylum Access, Mexican Asylum System for U.S. Immigration Lawyers FAQ,
https://asylumaccess.org/wp-content/uploads/2019/11/Mexican-Asylum-FAQ-for-US-Immigration-Lawyers.pdf
(Nov. 2019).
26
   See Human Rights First, Is Guatemala Safe for Refugees and Asylum Seekers? (June 2019).
27
   Georgetown Law Human Rights Institute, Dead Ends: No Path To Protection for Asylum Seekers Under the
Guatemala Asylum Cooperative Agreement, https://www.refworld.org/docid/5f0eeeb04.html (June 10, 2020).
28
   Id.
29
   NPRM at 11722.
30
   See Instituto Guatemalteco de Migración, Información Sobre Personas Solicitantes y Refugiadas en Guatemala:
Enero 2002–Marzo 2022, https://igm.gob.gt/wp-content/uploads/2022/04/Informe-con-Graficos-Marzo-2022.pdf
(Mar. 2022).


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large number of asylum seekers because their asylum systems are either not well-established or
suffer from severe resource constraints.31
Given these known deficiencies in Guatemala’s and Mexico’s asylum systems—the two
countries most migrants transit through—the proposed rule does not adequately explain why
only those who seek asylum in such countries and are denied can rebut a presumption against
asylum in the United States.

             (C) The proposed rule would place bona fide asylum seekers in danger
The proposed rule will return bona fide asylum seekers to danger and persecution abroad or force
them to remain in dangerous transit countries. Individuals will be forced to attempt to find
protection in transit countries, such as Mexico and Guatemala, that are not equipped to offer safe
harbor.
Mexico and Guatemala are deeply affected by violence and instability. Non-Mexican asylum
seekers have been subjected to extortion, kidnapping, rape, and other violent crime while in
Mexico, especially following the implementation of the “Migrant Protection Protocols” (MPP).32
The State Department has also documented numerous risks to migrants in Mexico and it has
stated that “violence against migrants by government officers and organized criminal groups” is
one of the “most significant human rights issues” in Mexico.33 In his October 2021 memorandum
terminating the Migrant Protection Protocols, DHS Secretary Mayorkas cited concern for
migrant safety as one of the reasons for ending MPP, as “there were pervasive and widespread
reports of MPP enrollees being exposed to extreme violence and insecurity at the hands of
transnational criminal organizations that prey on vulnerable migrants.”34 Black migrants in
Mexico “faced widespread racial discrimination from individuals and authorities” and are
particularly vulnerable.35 Mexico also has high rates of gender-based violence, with the
government reporting nearly 1,000 femicides in 2020.36
Guatemala has high rates of systemic violence, instability, and corruption, making it unsafe for
asylum seekers.37 The Department of State has reported that Guatemala “remains among the
most dangerous countries in the world,” due to “endemic poverty, an abundance of weapons, a

31
   See Karen Musalo, “Biden’s Embrace of Trump’s Transit Ban Violates US Legal and Moral Refugee Obligations,”
Just Security,
https://www.justsecurity.org/84977/bidens-embrace-of-trumps-transit-ban-violates-us-legal-and-moral-refugee-oblig
ations (Feb. 8, 2023).
32
   See American Immigration Council, Letter Urges Sec. Nielsen to End the Migrant Protection Protocols Policy,
https://immigrationjustice.us/advocacy/advocacy-issues/access-to-counsel/letter-migrant-protection-protocols/ (Feb.
6, 2019); See also Human Rights First, Delivered to Danger: Illegal Remain in Mexico Policy Imperils Asylum
Seekers’ Lives and Denies Due Process,
https://humanrightsfirst.org/library/delivered-to-danger-illegal-remain-in-mexico-policy-imperils-asylum-seekers-liv
es-and-denies-due-process (Aug. 2019).
33
   U.S. Dep’t of State, Country Reports on Human Rights Practices for 2017: Mexico (2018),
https://www.state.gov/reports/2017-country-reports-on-human-rights-practices/mexico/.
34
   U.S. Dep’t of Homeland Security, Explanation of the Decision to Terminate the Migrant Protection Protocols,
https://www.dhs.gov/sites/default/files/2022-01/21_1029_mpp-termination-justification-memo-508.pdf (Oct. 29,
2021).
35
   U.S. Dep’t of State, 2021 Country Reports on Human Rights Practices: Mexico.
36
   See Human Rights Watch, World Report 2022: Mexico.
37
   Human Rights First, Is Guatemala Safe for Refugees and Asylum Seekers? (June 2019).


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legacy of societal conflict, and the presence of organized criminal gangs.”38 According to the
Department of State, “[v]iolent crime such as extortion, murder, armed robbery, carjacking,
narcotics trafficking and gang activity are common.”39 It also notes that “Guatemala’s high
murder rate is driven by narcotrafficking activity, gang-related violence, a heavily armed
population, and a law enforcement and judicial system unable to hold criminals accountable.”40
Moreover, Guatemala, like other Central American countries, has recently attempted to crack
down on migration, implementing new regulations in January 2023 that could criminalize
religious workers and volunteers for assisting asylum seekers.41 Leaders of the Catholic Church
in Guatemala reported that the new regulations could force them to close all nine of their
shelters.42 This would leave asylum seekers in Guatemala without a crucial source of
humanitarian aid.
Seeking asylum in neighboring countries is not a viable option for Central American asylum
seekers in particular, because the border between Mexico and Guatemala is porous and law
enforcement in both countries lack resources and are susceptible to corruption. Central American
gangs and other armed groups can easily find and persecute their victims in Mexico.43 Conditions
throughout Central America’s Northern Triangle are no better, as Guatemala, Honduras, and El
Salvador have the highest rate of femicide in the world and all three countries have extremely
high rates of violence against LGBTQ+ individuals.44
By forcing individuals transiting through countries such as Mexico and Guatemala to seek
asylum there, the rule will in practice lead to asylum seekers being caught in countries where
they are not safe.
III.    The proposed rule is not materially different from previous entry and transit rules
        enjoined by the 9th Circuit
The proposed rule suggests that it is significantly different from two rules previously issued and
then vacated due to subsequent litigation.45 In those cases (collectively East Bay I, II, and III) the
9th Circuit’s reasoning was crystal clear—a categorical bar to asylum based on either how a
person enters the country and/or what processes they do or do not avail themselves of in a
country through which they transit is in violation of Section 208 of the INA.46 The proposed
rule’s suggestion that this iteration is distinct because it only applies a rebuttable presumption
instead of a categorical bar is a distinction without a difference. The presumption can only be
38
   U.S. Dep’t of State, Overseas Security Advisory Council, Crime & Safety Report (2022),
https://www.osac.gov/Content/Report/2013f384-296b-4394-bfcb-1c9c40b9c7df.
39
   U.S. Dep’t of State, Guatemala Travel Advisory,
https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/guatemala-travel-advisory.html (Mar. 1,
2023).
40
   U.S. Dep’t of State, Overseas Security Advisory Council, Crime & Safety Report (2022),
https://www.osac.gov/Content/Report/2013f384-296b-4394-bfcb-1c9c40b9c7df.
41
   Jeff Abbott, “Migrant Shelters in Guatemala under Threat from Legal Reforms,” Al Jazeera,
https://www.aljazeera.com/news/2023/2/18/migrant-shelters-in-guatemala-under-threat-from-legal-reforms (Feb. 18,
2023).
42
   Id.
43
   U.S. Dep’t of State, Country Reports on Human Rights Practices for 2017: Mexico (2018).
44
   See Karen Musalo, “Biden’s Embrace of Trump’s Transit Ban Violates US Legal and Moral Refugee Obligations.”
45
   East Bay III; East Bay I, and an injunction in E. Bay Sanctuary Covenant v. Barr, 519 F. Supp. 3d 663 (N.D. Cal.
2021) (“East Bay II”).
46
   Id.


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rebutted by a demonstration of extremely narrow circumstances that are wholly unrelated to a
person’s asylum claim.

While the proposed rule claims that this system is designed to vet out meritorious claims, the
bases for rebuttal do nothing of the sort. Those bases—acute medical issues, imminent and
extreme threats to life or safety, or severe forms of trafficking—do not relate to whether an
individual is more or less likely to have a meritorious claim for asylum. While the rule allows for
adjudicators to accept a rebuttal based on other “extremely compelling circumstances,” the
proposed rule is designed to exempt people from the presumption based only on circumstances
related to their manner of entry.

Further, the means of implementing this system of presumption and rebuttal is so fraught that it
will in practice become a de facto categorical bar. According to the rule as currently designed, an
adjudicator would first assess whether a person is subject to the presumed ineligibility. If that
adjudicator finds the presumption applies, the burden shifts to the asylum seeker to prove by a
preponderance of the evidence that they can rebut it. Functionally, this burden is nearly
impossible for an asylum seeker to meet. These determinations are made in a single interview
with an asylum officer. The idea that a person who has just fled across the border seeking safety
would have the means to provide evidence of an acute medical issue, an imminent and extreme
threat, or trafficking is absurd. There is no indication that the asylum officer would be directed to
affirmatively elicit from an applicant facts related to a possible basis for rebuttal.

This process is significantly different from how other presumed bars to asylum function. For
example, when an asylum officer believes at a credible fear interview that a person is likely to be
subject to the firm resettlement bar, this determination is not dispositive. While it is indicated on
the credible fear worksheet, it is ultimately up to an immigration judge to determine whether the
bar actually applies. The potential for immigration judge (IJ) review of the application of the
presumption under this proposed rule is unclear. It is clear, however, that an individual who was
deemed subject to the presumption would have to affirmatively request review by an IJ. This
makes the application of the rule more akin to the categorical bans prohibited by previous federal
courts than to other forms of presumptive bars.
IV.    In practice, implementation of the rule will be fraught with problems

           (A) The rule will cause confusion and inconsistent application at the ports of entry

Implementation of this rule can be expected to go poorly at the ports of entry. While there are
exceptions built into the rule for individuals who do not have an appointment to present at the
border nor prior authorization such as parole, how the exceptions will be determined and at what
stage in the process is unclear, and can easily lead to improper application of the rule. Will
individuals without an appointment be uniformly admitted upon presentation at the port, to be
assessed later by an asylum officer as to whether they meet the exemption, or will Customs and
Border Protection (CBP) officers turn away people who do not have an appointment? Though the
rule indicates the latter should not happen, experience with officers implementing previous
similar rules is a cause for concern that, while CBP may not be formally empowered to make
these determinations, in practice they often make their own determinations on the spot.



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Further complicating this process is how family units are treated under the proposed rule. For
families, the proposed rule states that the presumption of ineligibility does not apply if any
member of the family unit traveling together meets one of the exceptions.47 For example, the
presumption of ineligibility would not apply if one person in the family unit traveling together
was fleeing imminent and extreme danger. This presents a quandary for an individual—do they
wait to travel with their family, or do they flee on their own, leaving their family to have to meet
the higher standard for entry?
For those who do avail themselves of a processing appointment through the CBP One app, under
the proposed rule, there are no assurances as to how long individuals will be required to wait in
Mexico to make their appointments on the app. For migrants, then, this system will be
unpredictable and technology-dependent. Rather than creating a more predictable process, the
new rule only adds an additional requirement for individuals to be put on this new list: they must
access a smartphone, connect to the internet, download the CBP One app, and navigate that app
in order to even be put on a list.
Under Title 42, MPP, and the metering policy implemented under President Trump, similar
restrictions on entering the United States resulted in large communities of migrants settling in
temporary encampments by the ports of entry waiting for their opportunity to cross the
US-Mexican border as discussed above in Section III. Widespread media reports have
documented the challenges facing individuals living in these makeshift communities. Primary
among them are that the individuals must often live in the most dangerous cities in Mexico,
where they have been extremely vulnerable to kidnapping, extortion, rape, and other abuses.
In a March 2021 report, Human Rights Watch (HRW) documented widespread targeting of
asylum seekers waiting at the southern border.48 In interviews with 71 Venezuelan asylum
seekers who transited through Mexico, HRW concluded that “migrants in Mexico are exposed to
rape, kidnapping, extortion, assault, and psychological trauma.” 49 They articulated a fear of
reporting crimes and abuse to Mexican authorities.50 In addition to threatening the health and
safety of the asylum seekers, violence and other setbacks in Mexico also posed a major obstacle
to attending the hearing dates set in the United States.51 HRW writes:
        Nearly half of asylum seekers under the Remain in Mexico program lost their
        cases after missing court dates. Human Rights Watch has spoken to families who
        missed court dates because they were kidnapped in Mexico. Others were bused
        south by the Mexican government, leaving them thousands of miles from their
        hearing locations.52
The same difficulties that plagued these earlier border externalization programs will
affect users of CBP One. Kidnappings, violence, and extortion from criminal actors, and
limitations on movement by Mexican authorities will all prevent individuals from
booking appointments through CBP One and showing up once those appointments are
47
    NPRM at 11750.
48
   Human Rights Watch, Mexico: Abuses Against Asylum Seekers at US Border,
https://www.hrw.org/news/2021/03/05/mexico-abuses-against-asylum-seekers-us-border (Mar. 5, 2021).
49
   Id.
50
   Id.
51
   Id.
52
   Id.


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scheduled. Already, international media have reported on the death of a 15-year-old
Haitian boy waiting for his CBP One appointment in Reynosa, Mexico.53
In addition to the risks of waiting in Mexico, the CBP One app stands to inherit other
pitfalls of earlier Trump administration initiatives caused by inconsistencies across
different ports of entry. Due to the differences in processing capacity across ports of
entry, some ports will inevitably have more appointments, faster processing, or gain a
reputation for easier access. Migrants will be motivated to travel between ports of entry,
based on either real or rumored advantages at one port over another, exposing them to
greater risk of harm along the way, simply to get an appointment at the port with the most
appointments or fastest processing. Such movement was common under the Trump-era
“metering” practice: an October 27, 2020 memo prepared by the DHS Office of Inspector
General found that CBP agents themselves would tell migrants to travel to other ports
where processing could take place more quickly.54
This movement of migrants to find the best port will create artificial and unnecessary
inefficiencies in the asylum process, expose migrants to greater risk of harm in Mexico,
and undermine the goal of equitable and efficient implementation of the rule at the
southern border. These likely scenarios are not taken into account by the proposed rule.
The new system, then, introduces a number of elements that will cause implementation to go
poorly at the ports of entry. It will create new waitlists and feed into makeshift communities of
migrants forming around the ports of entry as they wait on the CBP One list, or wait to join that
list. For those who cannot access CBP One, the rule does not lay out a process by which CBP
will process their cases at the border, which may result in incentivizing crossing without
permission. This will present a drain on CBP resources as well as asylum officers responsible for
credible fear screening, while adding complexity to the process at a time when both agencies are
suffering from understaffing. In short, implementation at the border is expected to result in many
predictable problems.




53
   Jaime Jiménez, “Haitian Youth Dies in Reynosa, Waiting to Enter the United States [Muere joven haitiano en
Reynosa, esperaba ingresar a Estados Unidos],” El Sol de Tampico,
https://www.elsoldetampico.com.mx/policiaca/muere-joven-haitiano-en-reynosa-esperaba-ingresar-a-estados-unidos
-9552796.html (Jan. 31, 2023).
54
   DHS Office of Inspector General, OIG 21-02, CBP Has Taken Steps to Limit Processing of Undocumented Aliens
at Ports of Entry, 7, 10-12, https://www.oig.dhs.gov/sites/default/files/assets/2020-10/OIG-21-02-Oct20.pdf (Oct.
27, 2020).


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            (B) Implementation by asylum officers will be overly burdensome
In addition, the new system will add to the burden of asylum officers, who are also already
grossly understaffed. Already, the agency is processing record numbers of credible fear
interviews, and denials of this initial screening are being reviewed and overturned in record
numbers by the immigration judges.55 The Citizenship and Immigration Services (CIS)
Ombudsman warned in its most recent annual report to Congress that using asylum officers in
the credible fear interview (CFI) process has in turn reduced capacity to process affirmative
applications and contributed to a growing backlog of affirmative applications.56 By adding the
additional burden of screening for applicability and exceptions to the new rule, the fear
interviews can be expected to take even longer per case, and further contribute to growing
backlogs.

            (C) Implementation at the Immigration Court will go poorly

Far from furthering the agencies’ goal of streamlining asylum processing and easing the burden
on already-overtaxed immigration judges, the proposed regulation will overtax the Executive
Office for Immigration Review (EOIR) at both the negative credible fear review (NCFR) and
asylum merits stages.

            1. Negative Credible Fear Adjudications
The proposed rule presumes that the new process will cull potential asylum applicants from the
pool, and will result in fewer asylum seekers presenting their claims to EOIR. To the extent that
the new bar will result in more negative credible fear determinations it is true that the total
number of people who are placed in removal proceedings will quite likely fall. But any increase
in negative CFI determinations at the DHS level will result in a concurrent increase in NCFR
proceedings. As such, EOIR will need to divert more immigration judges to adjudicate more
credible fear review proceedings and those reviews will require significantly more administrative
resources than do NCFR adjudications under the current regulatory scheme. EOIR will be
overloaded on the front end, with more IJs expending more time on more negative credible fear
review proceedings, particularly since the proposed rule adds significant additional fact-based
determinations to the process.

The proposed rule lays out a complicated framework for assessing the applicability of the new
bar to asylum eligibility in NCFR proceedings. It requires that the IJ first evaluate de novo
whether the bar applies; that is, whether the applicant 1) had authorization to travel to the U.S. to
seek parole pursuant to a DHS-authorized parole process; 2) presented at a port of entry at a
pre-scheduled time and place unless it was not possible for them to access CPP One because of
language, literacy, or technical barriers or an undefined “other ongoing and serious obstacle;” or
3) applied for and was denied asylum or an undefined “other protection” in a third country en
route to the United States. That analysis will require significantly more factual development than

55
   TRAC Immigration, Immigration Judge Decisions Overturning Asylum Officer Findings in Credible Fear Cases,
https://trac.syr.edu/reports/712/ (Mar. 14, 2023).
56
   U.S. Dep’t Homeland Security, Citizenship and Immigration Services Ombudsman, Annual Report 2022, at 43,
https://www.dhs.gov/sites/default/files/2022-07/2022%20CIS%20Ombudsman%20Report_verified_medium_0.pdf
(June 30, 2022).


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does the current NCFR scheme—a scheme in which none of the bars to asylum apply, and in
which the relevant facts are limited to those relating to the applicant’s fear of persecution or
torture.

If the judge determines that the presumption applies, the rule further mandates that they engage
in still more factual development to review de novo whether “exceptionally compelling
circumstances exist” including (but not limited to) evidence that the applicant or their family 1)
faced an acute medical emergency; 2) faced an imminent and extreme threat to life or safety such
as rape, kidnapping, torture, or murder; or 3) was a victim of a severe form of trafficking in
persons.

The proposed rule places the burden on the applicant to establish either the inapplicability of the
presumption or an exception to that presumption by a preponderance of the evidence. But it does
not define or provide guidance on many of the dispositive terms (such as “extreme threat to life
or safety” or “acute medical emergency”), and does not articulate whether the “exceptionally
compelling circumstance” is in any way tied to the applicant’s failure to use CBP One—that is, it
does not clarify whether the exceptionally compelling circumstance must be one which
prevented the asylum seeker from scheduling an appointment or whether it may be an equitable
factor which mitigates in favor of granting humanitarian protection.

And finally, the rule not only permits but demands that immigration judges look outside of the
record of proceedings to rely on their own personal breadth of knowledge57 to reach a
conclusion. Not only requiring but actually mandating that IJs engage in speculation and
guesswork is wholly contrary to the notion of an unbiased adjudicator, and will lead to disparate
adjudications and confusion in the courts.

The rule would significantly expand the scope of NCFR proceedings, would place a tremendous
burden on the IJs to develop the factual record, and would not only encourage but actually
mandate that they engage in improper speculation and rely on facts outside of the record of
proceedings in the course of their adjudications.

             2. Asylum Adjudications
The proposed rule lays out a complicated framework for assessing the applicability of the new
bar to asylum eligibility to NCFR proceedings, but says not a word about substantive asylum
adjudications. As such, it will likely engender confusion among the nation’s IJs about whether
the rule even applies once an applicant has been placed in removal proceedings or whether it is
applicable only at the credible fear stage. This is because the text of the rule indicates that once
an individual passes the fear interview with the higher standard applied, it indicates the person
could then apply for asylum, withholding, or other humanitarian relief. The inclusion of asylum
as a possibility at this stage is unexplained and will cause confusion. And assuming the bar does
apply at the merits stage, the same issues discussed above—the lack of clarity as to many of the
dispositive terms and overly complicated adjudicatory framework—will continue to plague
adjudicators in the removal context.
57
  NPRM at 11752, proposed 8 CFR § 1208.13(c)(1), instructing that IJs in credible fear determinations “shall take
into account the credibility of the statements made by the [noncitizen] in support of the [noncitizen]’s claim and
such other facts as are known to the immigration judge.” (emphasis added).


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Far from easing EOIR’s burden, the proposed rule would front-end already overtaxed EOIR
resources to credible fear review proceedings, and would significantly expand the IJ’s duty to
develop a factual record in both NCFR and removal proceedings. And the lack of clarity in the
proposed rule as to the meaning of dispositive terms, the applicability to removal proceedings,
and the scope of the IJ’s authority to consider extra-record evidence will overtax the agency and
lead to disparate adjudications.
     V.    The proposed rule improperly makes asylum eligibility contingent on individuals’
           ability to use CBP One
With the proposed rule, CBP effectively has made the use of a mobile phone app—CBP One—a
threshold requirement for asylum. The scheme under the proposed new rule establishes a
rebuttable presumption of ineligibility for asylum for those who “present[ ] at a port of entry
without a pre-scheduled time and place,” i.e. an appointment, for inspection.58 Based on language
in a related document, CBP One is the “mechanism” for noncitizens to schedule a time to arrive
at ports of entry at the southwest border.59 Because asylum seekers now must submit information
prior to arrival at a port of entry and receive an appointment time for their inspection, CBP One
is, in practice, the only way asylum seekers can be processed at the border. To be clear, the
proposed rule would not codify the use of CBP One because it references a “DHS scheduling
system.” However, DHS has clarified in related documents that CBP One will serve as the “DHS
scheduling system.”60

The new heavy reliance on CBP One to prepare an asylum seeker to present at the border is
concerning given CBP One’s poor track record during its roll out as part of the Title 42
exemption process.

In short, the app has barred thousands of individuals from seeking exemptions to restrictions
under Title 42. Previously, international organizations had been tasked with entering information
on behalf of individuals seeking Title 42 exemptions and helping them secure an “appointment”
at ports of entry. Though CBP touted CBP One as a method an individual could use to enter
information to secure appointments on their own, users immediately encountered myriad issues
with CBP One that prohibited them from entering their information into the app and securing a
time and place for inspection. While the proposed rule acknowledges some of CBP One’s
failures by offering limited exceptions to the app’s use, the rule lacks guidance as to how these
exceptions will be applied. Because the proposed rule addresses asylum eligibility rather than
CBP officers’ conduct at ports of entry, this lack of guidance is particularly troublesome as it
leaves many questions unanswered relating to how asylum seekers, especially those without
appointments, will be able to access ports of entry.

First, the agency’s expansion of CBP One relied on the assumption that asylum seekers near the
U.S.-Mexico border would have obtained, or be able to obtain, a mobile phone that could support
the app’s functions. However, those who arrive at the border seeking safety in the United States
58
   NPRM at 11750 (to be codified at 8 C.F.R. § 208.33(a)(ii)).
59
   NPRM at 11707 fn. 25, citing CBP, Fact Sheet: Using CBP One to Schedule an Appointment,
https://www.cbp.gov/document/fact-sheets/cbp-one-fact-sheet-english (last modified Jan. 12, 2023).
60
   NPRM at 11750.


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often lack the latest phone models that can support the app’s functions.61 Those who cannot
afford a phone are shut out from the process unless they can procure assistance from
non-governmental organizations.

Though DHS states in the proposed rule that CBP One will help minimize the influence of
smugglers, the requirement that individuals have access to advanced technology to use CBP One
has played into the hands of unscrupulous actors at the border. The Office Chief for the United
Nations International Organization for Migration in Ciudad Juarez reported that people pose as
lawyers or other professionals and offer vulnerable migrants assistance using CBP One in
exchange for a fee.62 The government’s purported goal to use CBP One to create a safer way for
asylum seekers to access the asylum process is thwarted when the new system is based on an
assumption that users will have access to certain technology. When potential users lack a mobile
phone that supports CBP One, they are vulnerable to exploitation.

Another issue users have encountered with CBP One is challenges in meeting the requirement
that an individual submit a live photograph taken with their mobile phones while the app is
operating at various stages of the data entry process. Some users have not been able to submit
photos through the app because conditions such as bad lighting, poor internet connection, and
even darker skin tones often lead to CBP One rejecting the photo.63 When CBP One rejects a
user’s submission of a photo, it allows the user to try again. But multiple rejections cost users
valuable time and prevent them from obtaining appointments during the limited number of
timeslots at ports of entry on a given day. Though CBP has not informed the public about the
number of appointments available at the participating ports of entry, reports suggest that all
appointments are taken only minutes after they are released early in the morning. Thus, any
delays in accessing CBP One are costly.64

Issues with internet connectivity also limit asylum seekers’ access to CBP One. Registering as a
CBP One user, and then using the app’s functions, requires individuals to be connected to the
internet for a prolonged time. Users must first create an account through login.gov, then navigate
the app’s identity verification process, enter extensive biographic information for themselves and
their accompanying family members, and finally access CBP One’s scheduling feature.65
Throughout this process, if users are disconnected from their internet connection, the app
prohibits them from advancing to the next step, delaying their submissions.66 This particularly
burdens immigrants at shelters, which often lack reliable internet, forcing some individuals to
seek Wi-Fi signal in dangerous places. Families must wander into city centers controlled by
61
   Bernd Debusmann Jr., “At US border, tech issues plague new migrant applications,” BBC News,
https://www.bbc.com/news/world-us-canada-64814095 (Mar. 8, 2023).
62
   Julian Resendiz, “IOM warns asylum-seekers of CBP One scams in Juarez,” Border Report,
https://www.borderreport.com/immigration/iom-warns-asylum-seekers-of-cbp-one-scams-in-juarez/ (Jan. 23, 2023).
63
   Eileen Sullivan and Steve Fisher, “At the End of a Hard Journey, Migrants Face Another: Navigating
Bureaucracy,” The New York Times,
https://www.nytimes.com/2023/03/10/us/politics/migrants-asylum-biden-mexico.html (Mar. 10, 2023).
64
   Id.
65
   U.S. Dep’t of Homeland Security, “Privacy Impact Assessment for the CBP OneTM Mobile Application,”
https://www.dhs.gov/sites/default/files/2023-01/privacy-pia-cbp068-cbpmobileapplication-jan2023.pdf, 1, 15-16
(Feb. 19, 2021; updated Jan. 19, 2023).
66
   See Arelis R. Hernández, “Desperate migrants seeking asylum face a new hurdle: Technology,” The Washington
Post, https://www.washingtonpost.com/nation/2023/03/11/asylum-seekers-mexico-border-app/ (Mar. 11, 2023).


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cartels that “kidnap, rape and extort migrants” to find stable internet.67 In one tragic case, a
migrant was severely burned because he climbed onto the roof of a building and ran into
low-hanging power lines looking for Wi-Fi signal to make an appointment.68 Users also received
error messages while they used the app that prevented them from completing the pre-registration
process.69 Many families state that CBP One simply does not work.70

These issues are aggravated by how difficult it is to navigate CBP One. Asylum seekers may not
have the tech skills to be able to complete all the steps required to access CBP One. An
unintelligible error message may cause some to simply abandon use of the app altogether.
The limited number of appointments, coupled with CBP One’s systemic issues, have led to
families being separated at the border. The system requires asylum seekers to make appointments
for each member of the family.71 Individuals who can enter their information quicker are more
likely to get one of the coveted inspection appointments. This issue has left families with the
unenviable decision of either waiting an unknown amount of time for everyone to get an
appointment, or allowing one family member to take an appointment while leaving their family
behind with the hope those left in Mexico can later join them.72

Finally, CBP One is not accessible in the multiple languages spoken by asylum seekers. Until
February 2023, CBP One was only available in English and Spanish. Media reports indicate that
in February, CBP One became available in Haitian Creole.73 Based on government data showing
asylum seekers’ nationalities,74 many asylum seekers coming to the southern border speak many
other languages other than English, Spanish, and Creole; for example, Russian and Turkish.
Thus, thousands of asylum seekers could be deemed ineligible for asylum simply because they
do not speak one of the languages in which CBP One is available.

The agency has implemented some positive changes to CBP One. For example, CBP One now
allows individuals to submit their registration information separately from the time they schedule
an inspection appointment, which can reduce the time that people need to be connected to the
internet to get an appointment. Agency officials have also stated that the app was recently

67
   Eileen Sullivan and Steve Fisher, “At the End of a Hard Journey, Migrants Face Another: Navigating
Bureaucracy,” The New York Times,
https://www.nytimes.com/2023/03/10/us/politics/migrants-asylum-biden-mexico.html (Mar. 10, 2023).
68
   Arelis R. Hernández, “Desperate migrants seeking asylum face a new hurdle: Technology,” The Washington Post,
https://www.washingtonpost.com/nation/2023/03/11/asylum-seekers-mexico-border-app/ (Mar. 11, 2023).
69
   Regina Yurrita, “Asylum seekers met with issues from new CBP One app,” CBS8,
https://www.cbs8.com/article/news/local/asylum-seekers-met-with-issues-from-cbp-one-app/509-5f69579c-05e1-49
99-a7a9-720eab0cc680 (Feb. 1, 2023).
70
   Corrie Boudreaux, “Hundreds of frustrated Venezuelan migrants block bridge linking El Paso and Juárez,” El
Paso Matters, https://elpasomatters.org/2023/03/12/el-paso-juarez-bridge-blocked-by-venezuelan-migrants/ (Mar.
12, 2023).
71
   Arelis R. Hernández, “Desperate migrants seeking asylum face a new hurdle: Technology,” The Washington Post,
https://www.washingtonpost.com/nation/2023/03/11/asylum-seekers-mexico-border-app/ (Mar. 11, 2023).
72
   Id.
73
   Melissa del Bosque, “Facial recognition bias frustrates Black asylum applicants to US, advocates say,” The
GuardiaN, https://www.theguardian.com/us-news/2023/feb/08/us-immigration-cbp-one-app-facial-recognition-bias
(Feb. 8, 2023).
74
   Dep’t Homeland Security, Annual Flow Report, Refugees and Asylum: 2021, 9-11,
https://www.dhs.gov/sites/default/files/2022-10/2022_0920_plcy_refugees_and_asylees_fy2021.pdf ( Sept. 2022).


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updated to make groups of appointments available at the same time so families could stay
together.75

The agency must continue to improve CBP One’s functionality so asylum seekers can access
inspection appointments and their safety does not hinge upon a technological glitch. Otherwise,
the same issues that have plagued app users applying for Title 42 exemptions will prohibit people
from accessing asylum processing at ports of entry under the scheme outlined in the proposed
rule.

             (A) CBP has failed to clearly explain how individuals may obtain exemptions to CBP
                One, and restrictive agency interpretations of eligibility for exemptions may lead
                to wrongful denials

The proposed rule recognizes that in some situations people cannot access CBP One. The rule
purportedly exempts a person from using CBP One if they can demonstrate by a “preponderance
of the evidence” that they cannot access the app “due to language barriers, illiteracy, significant
technical issues, or other ongoing and serious obstacle.”76 Without examples of what information
an individual would need to provide or how the information will be assessed, this standard has
little meaning for asylum seekers. In addition, the proposed rule provides no details about
whether asylum seekers will be able to simply present at ports of entry and, if they can, what the
process will look like for people trying to demonstrate that an exemption to the use of CBP One
should apply to them. The rule states that people seeking processing at ports of entry will need to
appear at pre-scheduled times and places for their inspections, but DHS has not provided any
information as to how people without an appointment will be able to access ports of entry. This is
concerning, especially considering that many asylum seekers were turned back from ports of
entry during the implementation of Title 42 or due to metering.

The rule also fails to explain how the exemptions’ evidentiary standard—“preponderance of the
evidence”—might be met to demonstrate language barriers, illiteracy, significant technical
issues, or other “ongoing and serious” obstacles. For example, officers could ask asylum seekers
about their ability to read or write, but it is unclear whether individuals’ testimony about their
own abilities will be sufficient to apply an illiteracy exemption. It is also unclear whether an
individual’s failure to indicate that they believe an exception applies to a CBP officer would be
counted against them when an asylum officer reviews their case for applicability of the rule, as is
sometimes the case for asylum seekers in other contexts. The rule also fails to define what type
of technical difficulties qualify for the exemption and how individuals who encounter technical
difficulties with CBP One will be able to document them to meet the standard of proof
envisioned in the proposed rule.

This lack of clarity is particularly problematic as it relates to the language barrier exemption
because it will lead to disparate outcomes depending on individuals’ spoken languages.
Assuming no other exception applies, Spanish speakers, English speakers, and Creole speakers

75
   Eileen Sullivan and Steve Fisher, “At the End of a Hard Journey, Migrants Face Another: Navigating
Bureaucracy,” The New York Times,
https://www.nytimes.com/2023/03/10/us/politics/migrants-asylum-biden-mexico.html (Mar. 10, 2023).
76
   NPRM at 11750.


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are required to use CBP One because the app is available in those languages. For asylum seekers
who are not fluent in one of the languages in which the app is available, the rule provides no
standards as to how officials will determine asylum seekers’ language proficiency to justify an
exemption. This could lead to erroneous denials when applicants speak limited English but may
have trouble understanding the app’s English-only directions.

            (B) DHS’s lack of publicly available guidance has contributed to asylum seekers’
                troubles using the app

The proposed rule does not outline a plan to educate intending asylum seekers about the app,
even as media and advocacy groups question its workability. As DHS has expanded the uses for
CBP One so individuals can submit their own information, the agency has failed to educate
potential users about how to use the app and its potential risks. In contrast, the agency prepared
detailed presentations for staff members of international organizations instructing them how CBP
One worked as it recruited these staff members to help enter asylum seekers’ information into the
app to request exemptions to Title 42. A description of how CBP One’s functions work can only
be obtained by piecing together the limited information the agency has made available on the
CBP One webpage, the information on agency fact sheets, and several Privacy Impact
Assessments (PIA) published by DHS on different functions of the app. For example, while DHS
published a PIA dedicated to CBP One, a more detailed explanation about how CBP uses some
photographs submitted to the agency through the app is found in the Traveler Verification
Service PIA. In short, the agency has not created a user-friendly instruction manual for CBP One
or a one-stop repository where users can easily find information on the app.

This lack of information makes asylum seekers attempting to use CBP One vulnerable to fraud
and scams. Migrants have complained that, in Ciudad Juárez for example, individuals have
offered to help them navigate the app in exchange for money.77 DHS officials have stated that the
agency is continually improving CBP One.78 However, the agency lacks a cohesive publicly
available repository with all information related to CBP One, so it is unclear what changes the
agency is making to the app and when those changes will be made. When this information is
available, it is not effectively communicated to potential CBP One users.

            (C) A mobile app cannot be the only way vulnerable populations can access asylum

The proposed rule channels all asylum seekers into one track: seeking asylum at ports of entry
via the CBP One app (or mounting the evidentiary burden to show why they cannot access the
app). Implementation of technology tools to make border processing more efficient and safer is
likely inevitable, but for the technology to serve this laudable goal, it must work. Technology is
not infallible, and it is seldom accessible to all, which is why a mobile phone app cannot be the
only way vulnerable populations access their passage to safety. There should be other methods
for presenting the same information users provide through CBP One, and asylum seekers should
not be penalized for using alternatives to CBP One. All those who seek asylum should be able to

77
   Julian Resendiz, “IOM warns asylum-seekers of CBP One scams in Juárez,” Border Report,
https://www.borderreport.com/immigration/iom-warns-asylum-seekers-of-cbp-one-scams-in-juarez/ (Jan. 23, 2023).
78
   Sandra Sanchez, “DHS tweaks CBP One app after reports of family separation, agency says,” NewsNation,
https://www.newsnationnow.com/us-news/immigration/border-coverage/dhs-tweaks-cbp-one-app-after-reports-of-fa
mily-separations-agency-says (Mar. 6, 2023).


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access processing at ports of entry. These alternatives must be robust realistic alternatives to CBP
One and be widely publicized to ensure that asylum seekers can make an informed decision as to
their preferred method for making appointments. Forcing individuals to use CBP One, while
providing unworkable exemptions to the app’s use, will inevitably bar individuals from seeking
asylum at our borders. It also may lead to greater numbers of individuals attempting to reach the
United States outside the ports of entry, undermining DHS’s intended purpose for implementing
this rule.
VI.     The proposed rule will exacerbate problems with access to counsel
The proposed rule does not adequately address concerns regarding meaningful access to counsel
for asylum applicants. Notably missing from the Departments’ preamble is any mention of
access to counsel during the credible and reasonable fear interview process. The importance of
legal representation cannot be overstated. A person who can retain an attorney is far more likely
to succeed in immigration court.79 A 2015 study showed that for immigrants who were never
detained, those with lawyers were nearly five times more likely to obtain immigration relief than
those without (63 percent of those with representation obtained relief versus 13 percent of those
without representation).80 The proposed rule allows asylum officers at the border to quickly
determine whether a person can rebut the presumption of ineligibility or prove why they
shouldn’t be subject to the rule, with no explicit reference to access to counsel. Under the
proposed procedure, the asylum officer first determines whether the asylum seeker has rebutted
the presumption of asylum ineligibility.81 If they have not rebutted the presumption, then they
will have to show a higher bar of a “reasonable possibility” of persecution or torture.82 Because
of the fast-tracked nature of the proceedings that the proposed rule contemplates, it is unlikely
that asylum seekers will have counsel throughout this period to help them support this higher
threshold showing or to demonstrate that an exemption should apply. The May 2022 asylum
processing rule is telling in this regard. Under proceedings subject to that new rule, only one
percent of credible fear cases have had attorney representation.83
The proposed presumption of ineligibility is applied as a part of the credible fear screening
interviews at the border, which is an element of the expedited removal process.84 The expedited
removal process has long been rife with concerns of a lack of due process and little access to



79
   Ingrid V. Eagly & Steven Shafer, A National Study of Access to Counsel in Immigration Court, 164 U. Pa. L. Rev.
1, 48–59, https://scholarship.law.upenn.edu/cgi/viewcontent.cgi?article=9502&context=penn_law_review (2015).
80
    American Immigration Council, Access to Counsel in Immigration Court, 2-3,
https://www.americanimmigrationcouncil.org/sites/default/files/research/access_to_counsel_in_immigration_court.p
df (Sept. 2016).
81
   8 C.F.R. 208.33(a)(2).
82
   8 CFR 1208.33(c)(2)(ii).
83
    U.S. Dep’t of Homeland Security, “Asylum Processing Rule Cohort Report – December 2022,”
https://www.dhs.gov/immigration-statistics/special-reports/asylum-processing-rule-report (Jan. 6, 2023). (Tab:
Credible Fear Claims, “Final or Most Recent Credible Fear Outcome by Attorney Representation.” The available
data demonstrates that 42 cases have attorney representation out of 3,741 cases completed under this pilot program,
with four of these cases with attorney representation still pending completion.)
84
   See 208.33(c).


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counsel.85 The majority of asylum seekers navigate expedited removal without an attorney. Now,
under the proposed rule, they must mount a case, likely without an attorney, to make a case for
one of the exceptions to the proposed rule. Without counsel, they will likely struggle to provide
the evidentiary support needed to clear that burden, nor will they have the requisite knowledge of
asylum procedures to make a claim for relief. The United Nations High Commissioner for
Refugees (UNHCR) has specifically recommended that “exclusion” decisions, which would
include decisions such as those made on the applicability of the transit ban, not be made in
accelerated procedures such as expedited removal.86
The proposed rule will accelerate the already fast-tracked removal proceedings in a way that will
exacerbate barriers to counsel. Data collected from immigration cases that are part of another
recent initiative to fast-track immigration proceedings, known as the “Dedicated Docket,” makes
clear that accessing counsel takes time.87 In May 2021, the U.S. Department of Justice (DOJ) and
DHS announced the Dedicated Docket initiative, which places certain families who crossed
between ports of entry on or after May 28, 2021 into fast-tracked removal proceedings where an
IJ is generally expected to issue a decision within 300 days of the master calendar hearing.88 In
the first seven months of the Dedicated Docket initiative, only 15.5 percent of asylum seekers
had counsel to represent them in their proceedings, compared to 91.1 percent of asylum seekers
whose cases were decided over the same period, virtually all of whom were not in fast-tracked
proceedings.89 Of those who had been on the Dedicated Docket for seven months—more than
three times as long as the IFR’s timeline (60 days) for issuing an asylum decision—only 45
percent had an attorney to represent them in court.90 A total of 1,557 asylum seekers on the
Dedicated Docket have received deportation orders so far. Of these, only 75—just 4.7
percent—had representation. By contrast, since the start of the Dedicated Docket program just 13
people—all represented—have been granted asylum or another form of lawful relief from
deportation.91 These statistics are particularly troubling given the administration’s assurances that
families placed on the Dedicated Docket would have time, despite the expedited schedule, to
access representation.92

85
   See, e.g., Daniel Kanstroom, Expedited Removal and Due Process: “A Testing Crucible of Basic Principle” in the
Time of Trump, 75 Wash. & Lee L. Rev. 1323, 1356 (2018); Stephen Manning and Kari Hong, Getting It Righted:
Access to Counsel in Rapid Removals, 101 Marq. L. Rev. 673, 692 (2018).
86
   UNHCR, Guidelines on International Protection: Application of the Exclusion Clauses: Article 1F of the 1951
Convention relating to the Status of Refugees, III. Procedural Issues, 31 at p. 8-9,
https://www.refworld.org/docid/3f5857684.html (2003).
87
   TRAC Immigration, Unrepresented Families Seeking Asylum on “Dedicated Docket” Ordered Deported by
Immigration Courts, https://trac.syr.edu/immigration/reports/674/#f4 (Jan. 13, 2022) [hereinafter “TRAC Dedicated
Docket Report”].
88
   U.S. Dep’t of Justice, DHS and DOJ Announce Dedicated Docket Process for More Efficient Immigration
Hearings,
https://www.justice.gov/opa/pr/dhs-and-doj-announce-dedicated-docket-process-more-efficient-immigration-hearing
s (May 28, 2021).
89
   See TRAC Dedicated Docket Report.
90
   Id.
91
   Id.
92
   U.S. Dep’t of Justice, DHS and DOJ Announce Dedicated Docket Process for More Efficient Immigration
Hearings,


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These concerns relating to the Dedicated Docket will only be amplified by the addition of a new
evaluation of a rebuttable presumption against asylum eligibility. Those individuals subject to the
rebuttable presumption who pass the heightened “significant possibility” screening standard
applied by the proposed rule and are placed on the Dedicated Docket will find it even more
difficult to obtain counsel, as they will have to argue a case for withholding of removal while
simultaneously attempting to rebut the presumption a second time. In essence, the proposed rule
will further compound the already significant problems with access to counsel caused by the
Dedicated Docket.
Furthermore, it can only be presumed that most immigrants going through the new
rebuttable-presumption credible fear process will be detained. Among detained immigrants,
people with lawyers were twice as likely to obtain relief than those without lawyers (49 percent
of those with representation are able to obtain relief whereas only 23 percent of those without
representation are able to obtain relief).93 Notably, non-detained immigrants are much more
likely to have representation, with two-thirds of them having counsel compared to only 14
percent of detained immigrants.94 Recently arrived asylum seekers—who often have added
vulnerabilities, including trauma, language barriers, and a lack of familiarity with the U.S. legal
system—are especially dependent on counsel to understand and navigate our evolving and highly
complex U.S. asylum laws.
In sum, navigating the process outlined in the proposed rule, with its added burdens, imposes
new complexity to an asylum system that is already impenetrable to pro se individuals.
Navigating that system without the aid of counsel will have devastating consequences for those
fleeing persecution who are making a protection-based claim. The proposed rule fails to address
these challenges and the critical need for access to counsel.

VII.    Flawed data is at the heart of the justification for this proposed rule
There is a concerning and deeply flawed assumption within the rationale of the proposed rule
that an alleged disparity between credible fear grants and the number of IJ grants of relief
justifies the issuance of this proposed rule. The proposed rule asserts that “a full 83 percent of the
people who were subject to ER and claimed fear from 2014 to 2019 were referred to an IJ for
section 240 proceedings, but only 15 percent of those cases that were completed were granted
asylum or some other form of protection.”95

However, this 15 percent figure is misleading. The choice of the denominator of “total case
completions” in getting to this figure is problematic and artificially deflates this number. DHS
Office of Immigration Statistics (OIS) numbers divide asylum grants by total case completions,
which generally include cases that have been abandoned, not adjudicated, withdrawn, and



https://www.justice.gov/opa/pr/dhs-and-doj-announce-dedicated-docket-process-more-efficient-immigration-hearing
s (May 28, 2021).
93
   Supra note 79.
94
   Supra note 79.
95
   NPRM at 11716.


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 administratively closed.96 Including these “other closures” in the math deflates the overall grant
 rate, as many of those asylum applications may well have been found to be meritorious if
 litigated to their conclusion. The proposed rule cites OIS analysis which is not publicly available.
 However, available EOIR data on asylum decisions originating with a credible fear claim shows
 that when dividing the number of grants by the total of grants and denials (i.e., only looking at
 those cases which are adjudicated on the merits), the asylum grant rate rises to 36 percent.97
 Theoretically, this number would be higher if it included withholding of removal and Convention
 Against Torture (CAT) cases, which the 15 percent number includes.

 The administration acknowledges this methodological choice. Tucked in a footnote within the
 proposed rule is an acknowledgment that the 15 percent number includes case completions that
 were not decided on the merits, stating that “OIS estimates that 28 percent of cases decided on
 their merits are grants of relief” (emphasis added).98 Choosing to uplift the lower 15 percent
 number, which includes cases not decided on their merits in its math, is not only misleading but
 misrepresents the ratio of asylum seekers who present at our southern border with a meritorious
 claim of persecution.

 Whatever methodological choices are made in crunching numbers, the success rate in seeking
 relief from persecution should have no impact on meaningful access to asylum. The
 consequences of an asylum seeker being returned to persecution are simply too dire to be
 distilled to a number in an Excel chart.
VIII.    Relying on “legal pathways” disparately harms Black, Brown, and Indigenous
         asylum seekers
 The proposed rule applies only to people who seek protection at the southern border, and as a
 result, specifically impacts individuals who do not have access to a passport or a visa. An asylum
 seeker may not have access to a passport for any number of reasons, including affordability,
 bureaucratic instability, and that it would need to be issued by the government that may be
 persecuting them. Indeed, it is not uncommon for an individual facing persecution due to being
 critical of their government to have their passport revoked.99 If a passport is in hand, an asylum


 96
    NPRM at note 97; EOIR, “Executive Office for Immigration Review Adjudication Statistics: Asylum Decisions
 and Filing Rates in Cases Originating with a Credible Fear Claim,”
 https://www.justice.gov/eoir/page/file/1062976/download (Jan. 16, 2023).
 97
    EOIR, “Executive Office for Immigration Review Adjudication Statistics: Asylum Decisions and Filing Rates in
 Cases Originating with a Credible Fear Claim,” https://www.justice.gov/eoir/page/file/1062976/download (Jan. 16,
 2023). Period of time: 2014 to 2019.
 98
     NPRM at note 97.
 99
    See e.g., Melissa Medina Márquez, Adding to the Stress of Emigration from Venezuela: Passports hard to come by,
 Venezuela Politics and Human Rights,
 https://www.venezuelablog.org/migration-venezuela-passport-inefficiencies/#:~:text=A%20major%20factor%20is%
 20the,follow%2Dup%20after%20the%20first (Apr. 19, 2018) (stating “in early 2017 several opposition politicians
 and public figures reported having their passports seized or their migration procedures canceled.”); Charlie
 Campbell, “The Thai Junta Revokes a Famed Academic’s Passport in Its Crackdown on Dissidents,” Time,
  https://time.com/2971785/thailand-junta-pavin-chachavalpongpun-passport/ (July 10, 2014); The World, “This
 Egyptian musician's passport was revoked for his political songs. He still can't wait to go home again,”
 https://theworld.org/stories/2019-01-10/egyptian-musicians-passport-was-revoked-his-political-songs-he-still-cant-w
 ait-go (Jan. 10, 2019); Radio Free Europe Radio Liberty, “Iran Revokes Passports Of Celebrities Who Supported


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seeker is not likely to have access to a visa in a timely manner. While visa wait times vary by
post, a tourist visa requiring an interview in Guatemala City will have a 371-day wait as of
writing.100 Complicating this is the fact that someone is unlikely to get a tourist visa if they
intend to abandon their foreign residence to seek asylum.101 For individuals who cannot access a
passport and visa and are not one of the specific and limited countries with a parole program, the
southern border is their only avenue to asylum in the United States.

The availability of lawful pathways to a potential asylum seeker is more narrow for individuals
from predominantly Black countries. The Department of State has limited public statistics
available and does not state specific reasons for denying visas, but reports show disproportionate
denials for African countries. Professionals in international education, for example, report that
“[d]enial rates for US F1 visas reached ‘a new high’ in Nigeria in 2022, with around two in three
students being rejected” and “denial rates for students in Ghana and other Sub-Saharan regions
are trending in a similar fashion.”102 This problem is not a new one. A published author was
denied a visa to attend a prestigious literary residency.103 A University of Southern California
attempted to hold an Africa Trade Meeting without any Africans after losing “about 100
attendees, including speakers and government officials [due to visa denials]. The countries
affected included Sierra Leone, Guinea, Ghana, Nigeria, Ethiopia and South Africa.”104 While
AILA has heard reports of perceived higher denial rates of visas from its members, a 30-day
comment period is not a sufficient length of time to adequately survey more than 16,000
members.

The visa denials are significant because they leave only the Southern border open to asylum
seekers from these countries. This is reflected in the change in migrant flows, as according to a
Migrant Policy Institute (MPI) report, Africans are increasingly joining the migrant flows to the
southern land border of the United States.105

Someone who experiences persecution should not have to settle for the first country they transit
through if this will mean facing discrimination on account of their race. According to MPI, most
Africans “enter the Americas through Brazil or Ecuador,” and experiences with racism begin
then, “making it difficult for those who may otherwise intend to remain, at least in the short term,


Nationwide Protests,” https://www.rferl.org/a/iran-bans-celebrities-leaving-country-support-protests/32074157.html
(Oct. 10, 2022).
100
    U.S. Dep’t of State, “Global Visa Wait Times,”
https://travel.state.gov/content/travel/en/us-visas/visa-information-resources/global-visa-wait-times.html (Mar. 9,
2023).
101
    9 FAM 402.2-2(B), https://fam.state.gov/fam/09fam/09fam040202.html.
102
    Maureen Manning, “US visa denials in Sub-Saharan region concern stakeholders,” The Pie News,
https://thepienews.com/news/us-visa-denials-in-sub-saharan-region-concern-stakeholders/ (Jan. 18, 2023).
103
     Nkiacha Atemnkeng, “‘Try again next time’: my three visa rejections,” The Guardian,
https://www.theguardian.com/world/2020/oct/29/try-again-next-time-my-three-visa-rejections (Oct. 29, 2020).
104
    Michelle Quinn, “Africa Trade Meeting Has No Africans After US Visa Denials,” Voice of America,
https://www.voanews.com/a/african-trade-conference-canceled-after-visas-denied-african-delegates/3770907.html
(Mar. 17, 2017).
105
    Caitlyn Yates and Jesica Bolter, African Migration through the Americas: Drivers, Routes, and Policy Responses,
Migration Policy Institute, https://www.migrationpolicy.org/research/african-migration-through-americas (Oct.
2021).


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to secure housing and good jobs, and leading to violence and harassment for some.”106 The
Department of State Country Reports on Human Rights Practices for both of these countries
acknowledge a high level of racism.107 Both of these countries also signed the 1951 Convention
relating to the Status of Refugees and the 1967 Protocol, and under the proposed rule, African
arrivals would need to apply in these countries.108 The unsuitability of the proposed alternative
countries is discussed further below.

As discussed, requiring asylum seekers to use CBP One to seek asylum at the border disparately
harms Black asylum seekers due to the challenges recognizing Black faces.109 CBP One also has
accessibility issues for individuals who are illiterate in a language other than English, Spanish,
and Haitian Creole, which will include many native speakers of indigenous languages.
Indigenous languages such as Mam, K’iche’ and Q’anjob’al have become increasingly common
among asylum seekers in recent years and should not be discounted.110

In short, this proposed rule is significantly out of line with the Biden administration’s recent
executive order stating a “commitment to advancing equity for all . . . and addressing systemic
racism in our Nation’s policies and programs.”111
IX.     30 days is insufficient time to prepare a comment on a rule of this magnitude
The Biden administration has provided only 30 days for the public to comment on the proposed
rule, effectively denying the public the right to meaningfully comment under the notice and
comment rulemaking procedures required by the Administrative Procedure Act. This timeframe
is insufficient for a sweeping proposed rule that would deny many people access to asylum in
violation of U.S. law. On March 1, 2023, 172 organizations wrote to the agencies urging them to
provide at least 60 days to comment on the complex 153-page rule that would have enormous
implications for asylum access at the border and in USCIS and immigration court asylum
proceedings.112


106
    Id. at 2.
107
    U.S. Dep’t of State, 2021 Country Reports on Human Rights Practices: Brazil,
https://www.state.gov/reports/2021-country-reports-on-human-rights-practices/brazil/,
at 32 (“Despite this high representation within the general population, darker-skinned citizens, particularly
Afro-Brazilians, encountered discrimination.”); U.S. Dep’t of State, 2021 Country Reports on Human Rights
Practices: Ecuador, https://www.state.gov/reports/2021-country-reports-on-human-rights-practices/ecuador/ at 27,
(“Afro-Ecuadorian citizens . . . suffered pervasive discrimination, particularly regarding educational and economic
opportunity.”).
108
    UNHCR, States Parties to the 1951 Convention relating to the Status of Refugees and the 1967 Protocol.
109
     Melissa del Bosque, “Facial recognition bias frustrates Black asylum applicants to US, advocates say,” The
Guardian (Feb. 8, 2023).
110
    Jennifer Medina, “Anyone Speak K’iche’ or Mam? Immigration Courts Overwhelmed by Indigenous
Languages,” New York Times, https://www.nytimes.com/2019/03/19/us/translators-border-wall-immigration.html
(Mar. 19, 2019).
111
    Exec. Order No. 14091, 88 Fed. Reg. 10825,
https://www.federalregister.gov/documents/2023/02/22/2023-03779/further-advancing-racial-equity-and-support-for
-underserved-communities-through-the-federal (Feb. 16, 2023).
112
    Letter from 172 organizations to Attorney General Merrick Garland, Secretary Alejandro Mayorkas, et. al.,
https://immigrantjustice.org/sites/default/files/content-type/commentary-item/documents/2023-03/Biden%20Asylum
%20Ban%20-%20Extension%20letter%20to%2030-days%20comment%20period%20FINAL.pdf (Mar. 1, 2023).


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Executive Orders 12866 and 13563 state that agencies should generally provide at least 60 days
for the public to comment on proposed regulations.113 A minimum of 60 days is especially
critical given the rule’s attempt to ban asylum for many refugees in violation of U.S. law and
international commitments and return many to death, torture, and violence. While the agencies
cite the termination of the Title 42 policy in May 2023 as a justification to curtail the public’s
right to comment on the proposed rule, this reasoning is specious especially given that the
administration itself sought to formally end Title 42 nearly a year ago and has had ample time to
prepare for the end of the policy.

Providing a 30-day comment period for the proposed asylum ban is reminiscent of Trump
administration practices, when agencies routinely provided 30-day comment periods on
sweeping asylum rules, leaving the public little time to meaningfully assess and respond to
proposed rules.

For example, while AILA has heard reports of perceived higher denial rates of visas from our
members, a 30-day comment period is not a sufficient length of time to adequately survey our
more than 16,000 members, evaluate their responses, and incorporate them into a comment. This
is indicative of the many challenges presented by having a shortened comment period.

Furthermore, on March 23, we learned that the API technology on Regulations.gov had been
malfunctioning, causing an unknown number of public comments to be discarded when posted
via third-party software. In a conversation on March 23, a representative from Regulations.gov
indicated that the issue began on Monday, March 20. According to the representative, as of
Thursday afternoon, March 23, there was no timeline for a resolution and no plan for accepting
the public comments that failed to post to Regulations.gov. This technical outage effectively
shortened the 30-day period further and apparently discarded public comments without the
knowledge of the commenters.

  X.     The standards set to bypass the sunset date set up the proposed rule to be continued
         indefinitely
The structure created within this proposed rule would apply from the date of the termination of
the Title 42 public health order (May 11, 2023) until 24 months after the rule’s effective date.114
After the sunset date, the proposed rule would continue to apply to the asylum seekers who
entered under this rule.115 If the proposed rule is effective as scheduled, the sunset date will be a
few months into either the current administration’s second term or a few months into a new
administration.


113
    Exec. Order 12866, 58 Fed. Reg. 190,
https://www.archives.gov/files/federal-register/executive-orders/pdf/12866.pdf (Sep. 30, 1993) (stating “. . . each
agency should afford the public a meaningful opportunity to comment on any proposed regulation, which in most
cases should include a comment period of not less than 60 days.”); Exec. Order 13563, 76 Fed. Reg. 3821, 3822,
https://www.federalregister.gov/documents/2011/01/21/2011-1385/improving-regulation-and-regulatory-review
(Jan. 18, 2011) (stating “[t]o the extent feasible and permitted by law, each agency shall afford the public a
meaningful opportunity to comment through the Internet on any proposed regulation, with a comment period that
should generally be at least 60 days.”).
114
    NPRM at 11708-08.
115
    NPRM at 11726.


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It is highly problematic that the standard the proposed rule states for supporting the
determination that the sunset provision should be extended sets up a current or future
administration to extend the proposed rule indefinitely. The proposed rule states “if migration
remains or is expected to remain at a sustained or heightened level, despite the Departments’
actions, that could support a determination that the sunset provision should be lifted or
extended.”116 Notably, there is no definition of “sustained” or “heightened” levels.

Without a concrete definition of what is considered “sustained” or “heightened,” the sunset
clause grants DHS effectively unbounded discretion to continue using the heightened standard
set forth in the proposed rule. Every modern administration has looked to the southern border
and seen a problem thought to be sustained or heightened.117 This is part of a larger problem in
addressing border security more broadly: a lack of concrete standards and metrics. In 2011,
researchers observed DHS “has never clearly defined what border security means in practice,” an
observation that has withstood the test of time.118 Without clear definitions of what constitutes
“sustained,” “heightened,” or a border “emergency,” this administration or subsequent ones can
claim sustained or heightened numbers indefinitely.
XI.     Conclusion
AILA and the Council urge the administration not to move forward with this proposed rule and
to rescind the proposed rule. The consequences of this proposed rule are too grave to do
otherwise.

For any questions, please reach out to Amy Grenier at agrenier@aila.org or Rebekah Wolf at
rwolf@immcouncil.org.

Sincerely,

THE AMERICAN IMMIGRATION LAWYERS ASSOCIATION
THE AMERICAN IMMIGRATION COUNCIL

Attachments (4): Select Citations Sources

116
    NPRM at 11727.
117
    Notably, when issuing the Trump administration’s asylum ban in 2018, President Trump observed, “[f]ailing to
take immediate action to stem the mass migration the United States is currently experiencing and anticipating would
only encourage additional mass unlawful migration and further overwhelming of the system.” President Donald
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American Migrants at the Southwest Border,
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full control of the border.” George W. Bush, “Transcript: Bush’s Speech on Immigration,” New York Times,
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                                                                          As of: May 08, 2023
                                                                          Received: March 27, 2023
PUBLIC SUBMISSION                                                         Status: Posted
                                                                          Posted: March 29, 2023
                                                                          Tracking No. lfr-75e9-b2oa
                                                                          Comments Due: March 27, 2023
                                                                          Submission Type: Web

Docket: USCIS-2022-0016
Circumvention of Lawful Pathways

Comment On: USCIS-2022-0016-0001
Circumvention of Lawful Pathways

Document: USCIS-2022-0016-12269
Comment Submitted by Brooklyn Defender Services



                                    Submitter Information
Email: ksiegel@bds.org
Organization: Brooklyn Defender Services


                                       General Comment
Brooklyn Defender Services (“BDS”) submits the attached comment in response to Circumvention of Lawful
Pathways, a Notice of Proposed Rule published on February 23, 2023 by the Department of Homeland Security
and the Department of Justice, 88 Fed. Reg. 11,704, OMB Control Number 1651-0140, Doc. No. 2023-03718.



                                           Attachments
USCIS-2022-0016_BDS_Public_Comment_3_27_2023




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VLJQLILFDQWUHJXODWRU\DFWLRQV0RUHRYHUWKH'HSDUWPHQWVLQYRNHWKHLPSHQGLQJHQGRIWKH7LWOH
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KDG DPSOH WLPH WR FUDIW WKHLU SROLF\ DQG SURYLGH DQ DSSURSULDWH DPRXQW RI WLPH IRU SXEOLF
FRPPHQW 7KH 'HSDUWPHQWV VKRXOG ZLWKGUDZ WKH 1350 LQ LWV HQWLUHW\ DQG LQVWHDG SXUVXH D

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LVXQDEOHWRHYDOXDWHDSLHFHRIGDWDWKDWXQGHUSLQVWKH'HSDUWPHQWV¶VXSSRVHGQHHGIRUWKH1350
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KWWSVZZZGKVJRYVLWHVGHIDXOWILOHVSXEOLFDWLRQV<HDUERRNB,PPLJUDWLRQB6WDWLVWLFVBSGI


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       $VGLVFXVVHGWKURXJKRXWWKLVFRPPHQWWKHUHDUHPDQ\FRPSHOOLQJPRUDOSROLF\DQGOHJDO
UHDVRQV WR UHMHFW WKH 'HSDUWPHQWV¶ SURSRVDO 7KH 'HSDUWPHQWV¶ IDLOXUH WR SURYLGH VXEVWDQWLDO
HYLGHQFHWKDWWKH1350ZLOODFFRPSOLVKWKHJRDOVWKH\SURIHVVLVDQLQGHSHQGHQWUHDVRQWKDWLW
PXVWEHUHMHFWHG
            '     7KH 'HSDUWPHQWV REIXVFDWH RU IDLO WR DGGUHVV WKH JUDYH KXPDQLWDULDQ
                   FRQVHTXHQFHVRIWKHLUDV\OXPEDQV
                             7KH'HSDUWPHQWVLQFRUUHFWO\YRXFKIRUWKHVDIHW\RIWUDQVLWFRXQWULHVWKDW
                               FDQQRWDGHTXDWHO\SURWHFWUHIXJHHV
        7KH'HSDUWPHQWVFODLPWKDWWKHUHLVQRLVVXHLQUHTXLULQJUHIXJHHVWRILUVWDSSO\IRUDQGEH
GHQLHGDV\OXPLQDWUDQVLWFRXQWU\EHFDXVHWKHPRVWFRPPRQWUDQVLWFRXQWULHVKDYHEHFRPHVDIH
SODFHVIRUDV\OXPVHHNHUV7KH'HSDUWPHQWVLJQRUHVLJQLILFDQWHYLGHQFHWKDWWKHVHFRXQWULHVGR
QRWRIIHUUHIXJHHVVDIHW\DQGSURWHFWLRQFRPSDUDEOHWRWKH8QLWHG6WDWHV
        )RU H[DPSOH WKH 'HSDUWPHQWV UHIHU WR &RORPELD DV ³RQH RI WKH OHDGHUV LQ WKH :HVWHUQ
+HPLVSKHUH²DQGWKHZRUOG²LQ LWV UHVSRQVHWR WKH XQSUHFHGHQWHGVXUJHLQ LUUHJXODUPLJUDWLRQ
IURP9HQH]XHOD´,QIDFWSHUFHQWRI9HQH]XHODQZRPHQLQ&RORPELDUHSRUWHGEHLQJYLFWLPV
RI ERWK SV\FKRORJLFDO DQG SK\VLFDO YLROHQFH EHWZHHQ  DQG  0RUHRYHU &RORPELD
FRQWLQXHVWRVXIIHUIURPFKURQLFLQWHUQDOGLVSODFHPHQWZKLFKDIIHFWHGSHRSOHLQ
        ,Q 0H[LFR WRR DQRWKHU FRXQWU\ ZKRVH KXPDQLWDULDQ UHFRUG WKH 'HSDUWPHQWV WRXW WKH
UHDOLW\LVPXFKJULPPHU+XPDQ5LJKWV)LUVWIRUH[DPSOHGRFXPHQWHGRYHUUHSRUWVRI
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LQFOXGHWKHUDSHRID*XDWHPDODQWUDQVZRPDQE\0H[LFDQSROLFHDIWHUVKHZDVGHQLHGHQWU\WR
WKH8QLWHG6WDWHVDQGD\HDUROG9HQH]XHODQFKLOGDEGXFWHGDWJXQSRLQWDIWHUEHLQJH[SHOOHG
XQGHU7LWOH)XQGLQJSHUUHIXJHHVWDWXVDSSOLFDQWLQ0H[LFRIHOOIURPDSSUR[LPDWHO\
LQ  WR MXVW  LQ  $V\OXP VHHNHUV LQ 0H[LFR DOVR UHSRUWHG LQ  DQG  WKDW




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     ,QWHUQDO'LVSODFHPHQW&RORPELD81+&5 'HF KWWSVUHSRUWLQJXQKFURUJGRFXPHQW
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KWWSVZZZKUZRUJQHZVPH[LFRDV\OXPVHHNHUVIDFHDEXVHVVRXWKHUQERUGHU


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LPPLJUDWLRQDJHQWVWULHGWRGLVVXDGHWKHPIURPDSSO\LQJIRUUHIXJHHVWDWXVRUWXUQHGWKHPDZD\
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        ,Q RWKHU :HVWHUQ +HPLVSKHUH WUDQVLW FRXQWULHV WKH 86 'HSDUWPHQW RI 6WDWH LV LWVHOI D
VRXUFHIRULQIRUPDWLRQRQWKHLQDGHTXDF\RIDV\OXPSURFHGXUHV,QWKH1350WKH'HSDUWPHQWV
FODLPIRUH[DPSOHWKDW³WKH*RYHUQPHQWRI*XDWHPDODKDVWDNHQNH\VWHSVWRFRQWLQXHWRGHYHORS
LWVDV\OXPV\VWHP´7KHLUFROOHDJXHVDWWKH'HSDUWPHQWRI6WDWHKRZHYHUVWDWHLQ WKHLUODWHVW
FRXQWU\UHSRUWWKDW³LGHQWLILFDWLRQDQGUHIHUUDOPHFKDQLVPVIRUDV\OXPVHHNHUVZHUHLQDGHTXDWH´
DQGWKDW³WKHUHFRQWLQXHGWREHJDSVDQGODFNRIFODULW\LQWKHSURFHGXUHVIRULPSOHPHQWLQJWKH
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SHQGLQJFDVHVZHUHYXOQHUDEOHWRDEXVHDQGVH[XDOH[SORLWDWLRQ´
        7KH'HSDUWPHQWVVLPSO\LJQRUHWKHUHDOLW\WKDWWUDQVLWFRXQWULHVDUHGDQJHURXVIRUDV\OXP
VHHNHUVDQGGRQRWRIIHUDGHTXDWHSURWHFWLRQ7KHLUUHYLYDORIWKH7UXPSHUDWUDQVLWEDQLVWKHUHIRUH
DUELWUDU\DQGODFNLQJVXSSRUWLQVXEVWDQWLDOHYLGHQFH
                            7KH'HSDUWPHQWVGRQRWDGGUHVVWKHOLNHOLKRRGWKDWWKH1350ZLOOOHDGWR
                              PDVVGHSRUWDWLRQVOHDYHIDPLOLHVVHSDUDWHGDQGGHSULYHUHIXJHHVRIDSDWK
                              WRFLWL]HQVKLS
        7KH'HSDUWPHQWVGRQRWDGHTXDWHO\DGGUHVVWKHFRQVHTXHQFHVRIWKH1350LQWHUPVRIWKH
FRQGLWLRQV XQGHU ZKLFK UHIXJHHV ZLOO EH GHSRUWHG RU WKH RWKHUZLVH SUHFDULRXV VWDWXV RI SHRSOH
EDUUHGIURPDV\OXPXQGHUWKHSURSRVHGEDQV
         7R EHJLQ²DV GLVFXVVHG LQIUD 3DUW ,,*LL²WKH FRQVWUDLQWV RI WKH H[SHGLWHG UHPRYDO
SURFHVVDQGRIFUHGLEOHIHDUVFUHHQLQJVPDNHLWDOPRVWFHUWDLQWKDWYDVWQXPEHUVRIUHIXJHHVZLOO
IDFHVXPPDU\UHPRYDOIURPWKH8QLWHG6WDWHVLIWKH1350LVLPSOHPHQWHG/DQJXDJHEDUULHUV
DEXVLYH DQG GDQJHURXV FRQGLWLRQV RI FRQILQHPHQW DFXWH WUDXPD DQG ODFN RI NQRZOHGJH RI WKH
FRPSOH[LWLHVRIERWKH[LVWLQJDV\OXPODZDQGWKHQHZSUHVXPSWLRQZRXOGDOOFRQWULEXWHWRPDNLQJ
LW FKDOOHQJLQJ IRU DV\OXP VHHNHUV WR RYHUFRPH WKH SUHVXPSWLRQV LQ LQLWLDO VFUHHQLQJV -XVW DV
RFFXUUHGZKHQWKH7UXPSEDQZDVLQHIIHFWDQGGXULQJ7LWOHWKHVHPDVVGHSRUWDWLRQVDWWKH
ERUGHUZLOOXQODZIXOO\SXWUHIXJHHVLQKDUP¶VZD\DQGHQGDQJHUWKHLUOLYHV
      7KH'HSDUWPHQWVRIIHUWKHSRVVLELOLW\RIZLWKKROGLQJRIUHPRYDORUSURWHFWLRQXQGHUWKH
&$7 DV DOWHUQDWLYH IRUPV RI SURWHFWLRQ IRU SHRSOH GHQLHG DV\OXP XQGHU WKH 1350 +RZHYHU


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SUHVVXUHGWKHPWRDJUHHWRYROXQWDU\UHWXUQHYHQZKHQWKH\VDLGWKH\ZRXOGEHDWULVNRIYLROHQFHDQG
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KWWSVZZZVWDWHJRYUHSRUWVFRXQWU\UHSRUWVRQKXPDQULJKWVSUDFWLFHVJXDWHPDOD
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KWWSVZZZVWDWHJRYUHSRUWVFRXQWU\UHSRUWVRQKXPDQULJKWVSUDFWLFHVKRQGXUDV


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ZLWKKROGLQJRIUHPRYDODQG&$7DUHQRWUHSODFHPHQWVIRUSHRSOHZLWKDYDOLGDV\OXPFODLP)LUVW
ERWKUHTXLUHDSSOLFDQWVWRPHHWDKLJKHUVWDQGDUGRISURRILQRUGHUWRUHFHLYHSURWHFWLRQ0RUHRYHU
QHLWKHULVDSHUPDQHQWVWDWXVQRUGRWKH\SURYLGHGHILQLWLYHUHOLHIIURPGHSRUWDWLRQRUDSDWKZD\
WR SHUPDQHQW UHVLGHQFH RU FLWL]HQVKLS %'6 UHSUHVHQWV PDQ\ SHRSOH ZKR VHHN ZLWKKROGLQJ RI
UHPRYDORU&$7EHFDXVHRIVWDWXWRU\DV\OXPUHVWULFWLRQV7KRVHZKRDUHVXFFHVVIXOOLYHZLWKWKH
VWUHVVDQGSUHFDULW\RINQRZLQJKRZWKLQWKHLUSURWHFWLRQIURPGHSRUWDWLRQLV8QDEOHWRUHTXHVW
GHULYDWLYHVWDWXVIRUWKHLUIDPLO\PHPEHUVWKH\DOVRIDFHWKHSRVVLELOLW\RISHUPDQHQWVHSDUDWLRQ
DQGZRUU\IRUWKHVDIHW\RIORYHGRQHVZKRFRXOGQRWHVFDSHSHUVHFXWLRQRUWRUWXUH
         ,WLVXQIDLUDQGDUELWUDU\WRVXEMHFWUHIXJHHVWRDKLJKHUVWDQGDUGRISURRIDQGDQLQIHULRU
IRUPRIUHOLHIEDVHGRQIDFWRUVXQUHODWHGWRWKHVWUHQJWKRIWKHLUFODLPRUHYHQWRWKHLUVWDWXWRU\
HOLJLELOLW\IRUDV\OXP
        7KH'HSDUWPHQWVGRQRWDGHTXDWHO\DGGUHVVWKHOLNHOLKRRGWKDWWKH1350ZLOOUHVXOWLQ
ODUJHVFDOHGHSRUWDWLRQVRISHRSOHZLWKYDOLGDV\OXPFODLPVRUWKDWSHRSOHZLWKVXFKFODLPVZLOO
QHYHUKDYHDFFHVVWKHSURWHFWLRQWKH\GHVHUYH
           (      &%32QHLVDFXPEHUVRPHDQGLQDFFHVVLEOHSODWIRUPWKDWFDQQRWEHWUXVWHGWR
                   IDFLOLWDWHDSSRLQWPHQWVDWSRUWVRIHQWU\
        8QGHU WKH 1350 WKH RQO\ ZD\ UHIXJHHV FDQ UHTXHVW DV\OXP LV E\ SUHVFKHGXOLQJ DQ
DSSRLQWPHQWDWDSRUWRIHQWU\WKURXJKWKH&%32QHDSS%HFDXVHRIWKHDSS¶VGHILFLHQFLHVDQGWKH
XQFHUWDLQW\RI'+6¶H[SDQVLRQSODQVIRULWWKLVUHVWULFWLRQZLOOIXUWKHUOLPLWWKHQXPEHURIUHIXJHHV
DEOHWRH[HUFLVHWKHLUULJKWWRDSSO\IRUDV\OXP
        &%32QHLVDQGZLOOUHPDLQLQDFFHVVLEOHWRPDQ\DV\OXPVHHNHUV7KHDSSUHTXLUHVWKHXVH
RIDZRUNLQJVPDUWSKRQHFRQQHFWHGWRDFHOOXODUQHWZRUNRU:L)LZKLFKDVLJQLILFDQWQXPEHURI
DV\OXPVHHNHUVGRQRW KDYH7KH'HSDUWPHQWV DFNQRZOHGJHWKLV ³DFFHVVFRQFHUQ´EXW SURYLGH
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LQHOLJLELOLW\FUHDWHGZKHQDUHIXJHHGRHVQRWXVHWKHDSS,WLVDODUPLQJWKDW&%3DJHQWVZRXOG
KDYH GLVFUHWLRQ WR WXUQ DZD\ UHIXJHHV ZLWKRXW D VPDUWSKRQH OHDYLQJ WKHP YXOQHUDEOH WR
YLFWLPL]DWLRQDVWKH\WU\WRDFFHVVWKHDSSLQ0H[LFR$GGLWLRQDOO\WKHDSSGRHVQRWFOHDUO\LGHQWLI\
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ODEHOHG ³7UDYHOHU´  IHDWXUHV PDQ\ RWKHU XQUHODWHG VHUYLFHV DQG UHTXLUHV PXOWLSOH ORJLQ DQG
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LQGLJHQRXV SHRSOH IURP &HQWUDO $PHULFD PD\ KDYH EDVLF FRPPXQLFDWLRQ VNLOOV LQ (QJOLVK RU
6SDQLVK EXW FDQQRW UHDG RU ZULWH SURILFLHQWO\ LQ WKRVH ODQJXDJHV DQG DUH LQVWHDG IOXHQW LQ

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LQGLJHQRXVODQJXDJHV&%3DJHQWVDQGDV\OXPRIILFHUVZLOOOLNHO\ZURQJO\FRQFOXGHWKDWSHRSOH
LQWKLVSRVLWLRQGRQRWKDYHD³ODQJXDJHEDUULHU´WKDWZRXOGH[HPSWWKHPWKHUHTXLUHPHQWWRXVH
WKHDSS
         7KHDSS DOVR GLVFULPLQDWHV DJDLQVW%ODFN UHIXJHHVEHFDXVHLWVIDFLDOUHFRJQLWLRQ V\VWHP
UHMHFWVLPDJHVRISHRSOHZLWKGDUNHUVNLQWRQHVDZHOOGRFXPHQWHGSUREOHPLQIDFLDOUHFRJQLWLRQ
WHFKQRORJLHVWKDWWKH'HSDUWPHQWVKDYHIXOONQRZOHGJHRIEXWGRQRWDGGUHVV
       (YHQ LI UHIXJHHV KDYH DFFHVV WR WKH DSS DSSRLQWPHQW VORWV DUH H[WUHPHO\ OLPLWHG DQG
LQDGHTXDWHIRUWKHQXPEHURISHRSOHDOUHDG\WU\LQJWRERRNDQDSSRLQWPHQW,Q)HEUXDU\
WKHUHZHUHDWRWDORIDSSUR[LPDWHO\XQLTXHDSSRLQWPHQWVSHUGD\ ZLWKRQHDSSRLQWPHQWIRU
RQHSHUVRQ DQGWKRXVDQGVRISHRSOHZLWKSHQGLQJDSSRLQWPHQWVZHUHVHHNLQJVKHOWHULQ0H[LFDQ
ERUGHUFLWLHV7KH'HSDUWPHQWVVD\WKDW³&%3ZLOOXSRQWKHOLIWLQJRIWKH7LWOHSXEOLFKHDOWK
2UGHUH[SDQGDFFHVVWRWKH&%32QHDSS´7KH\SURYLGHQRGHWDLOVRQWKHLUH[SDQVLRQSODQV
LQFOXGLQJKRZPDQ\DSSRLQWPHQWVZLOOEHDYDLODEOHDQGZKDWQHZLQIRUPDWLRQWKHDSS²ZKLFK
GRHVQRWFXUUHQWO\DVNDERXWLQWHQWWRDSSO\IRUDV\OXP²ZLOOVROLFLW:LWKRXWDQ\LQIRUPDWLRQ
EH\RQGWKHH[LVWHQFHRIDJRDOWRH[SDQG&%32QH¶VXVHWKHSXELFFDQQRWPHDQLQJIXOO\FRPPHQW
RQWKH'HSDUWPHQWV¶H[SDQVLRQSODQIRU&%32QHDFHQWUDOFRPSRQHQWRIWKHSURFHVVLQJVFKHPH
WKH\SURSRVH
        5HTXLULQJDV\OXPVHHNHUVWRVFKHGXOHDQDSSRLQWPHQWWKURXJK&%32QHRIWHQZHHNVRU
PRQWKVDKHDGRIWLPHKDVDOUHDG\UHVXOWHGLQKRUULILFYLROHQFHLQFOXGLQJWKHPXUGHURID\HDU
ROG &XEDQ FKLOG ZKLOH KH ZDV ZDLWLQJ IRU ZHHNV IRU KLV DSSRLQWPHQW $ 9HQH]XHODQ IDPLO\
XQDEOHWRVHFXUHDQDSSRLQWPHQWDWDSRUWRIHQWU\QHDUWKHPLQ3LHGUDV1HJUDVDQGIRUFHGWRWUDYHO
RYHUPLOHVWRDQRWKHUSRUWRIHQWU\IRUDQDSSRLQWPHQWZDVNLGQDSSHGWRUWXUHGDQGH[WRUWHG
E\DFULPLQDOJURXSZKLOHWUDYHOLQJWRWKHLUDSSRLQWPHQW$IWHUGD\VWKHLUDEGXFWRUVEOLQGIROGHG
WKHP DQG EURXJKW WKHP WR WKH 860H[LFR ERUGHU WKUHDWHQLQJ WR PXUGHU WKHP LI WKH\ GLG QRW
FURVV$IWHUFURVVLQJWKHIDPLO\WULHGWRH[SODLQWR%RUGHU3DWUROWKDWWKH\KDGEHHQNLGQDSSHGDQG
IRUFHGWRFURVVEXWDJHQWVWROGWKHPWKH\ZHUHFULPLQDOVIRUFURVVLQJLOOHJDOO\DQGH[SHOOHGWKHP
EDFNWR0H[LFR:RPHQ/*%74,DQGVXUYLYRUVRIJHQGHUEDVHGYLROHQFH ³*%9´ ZLOOEH




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DGYRFDWHVVD\7+(*8$5',$1 )HE KWWSVZZZWKHJXDUGLDQFRPXVQHZVIHEXV
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HVSHFLDOO\ YXOQHUDEOH WR KDUP 7KH 'HSDUWPHQWV FRPSOHWHO\ LJQRUH WKHVH ZHOOGRFXPHQWHG
GDQJHUVDQH[WUHPHO\LPSRUWDQWDVSHFWRIWKHSUREOHPWKH\VHHNWRDGGUHVV
       ,WLVDODUPLQJWKH'HSDUWPHQWVZRXOGDOORZ&%32QH²DQLQDFFHVVLEOHDQGFXPEHUVRPH
SODWIRUPZLWKORQJZDLWWLPHV²WRSOD\VXFKDFHQWUDOUROHLQGHWHUPLQLQJHOLJLELOLW\IRUDV\OXP
7KH'HSDUWPHQWV¶UHOLDQFHRQWKHSODWIRUPGHPRQVWUDWHVRQFHPRUHKRZGHHSO\IODZHGSRRUO\
FRQVLGHUHGDQGGDQJHURXVWKHLUSURSRVDOLV
        )      7KH DV\OXP EDQV ZRXOG GLVSDUDWHO\ KDUP %ODFN EURZQ DQG LQGLJHQRXV
                DV\OXPVHHNHUVDQGGLVFULPLQDWHEDVHGRQQDWLRQDORULJLQ
       7KHSROLFLHVZLWKLQWKH1350ZLOOKDYHDGLVSDUDWHRQDV\OXPRQUHIXJHHVRIFRORUDQGRQ
UHIXJHHVIURP/DWLQ$PHULFDWKH&DULEEHDQDQG$IULFD
         7KH SURSRVHG UHVWULFWLRQV DSSO\ RQO\ WR SHRSOH ZKR VHHN DV\OXP DW WKH VRXWKZHVWHUQ
ERUGHU ZKHUH WKH YDVW PDMRULW\ RI DV\OXP VHHNHUV DUH SHRSOH RI FRORU DQG SHRSOH IURP /DWLQ
$PHULFDQDQGWKH&DULEEHDQFRXQWULHV,WGRHVQRWDSSO\WRSHRSOHDUULYLQJE\ODQGDWWKHQRUWKHUQ
ERUGHU E\ VHD RU E\ SODQH ZKHUH PRVW DV\OXP VHHNHUV DUH WUDYHOLQJ ZLWK D YLVD  ZKRVH
GHPRJUDSKLFVGLIIHUVKDUSO\IURPWKRVHRISHRSOHHQWHULQJWKH8QLWHG6WDWHVDWWKHVRXWKZHVWHUQ
ERUGHU'XULQJWKHSHULRGWKDWWKH7UXPSWUDQVLWEDQZDVLQHIIHFWLPPLJUDWLRQFRXUWDV\OXPGHQLDO
UDWHV VN\URFNHWHG IRU PDQ\ %ODFN EURZQ DQG LQGLJHQRXV DV\OXP VHHNHUV DW WKH VRXWKZHVWHUQ
ERUGHU)RUH[DPSOHDV\OXPJUDQWUDWHVGHFOLQHGE\SHUFHQWIRU&DPHURRQLDQDV\OXPVHHNHUV
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HQFRXQWHUVZLWKPLJUDQWVDWXVPH[LFRERUGHUUHPDLQQHDUUHFRUG
KLJKVaWH[W %XWWKDWLVQRORQJHU&1LFDUDJXD&3HUXDQG9HQH]
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        $VVWDWHGVXSUD3DUW,,)WKH'HSDUWPHQWV¶UHOLDQFHRQ&%32QHDOVRKDVDGLVSDUDWHLPSDFW
RQ%ODFNDV\OXPVHHNHUVGXHWRLWVIDFLDOUHFRJQLWLRQWHFKQRORJ\DQGWRLQGLJHQRXVDV\OXPVHHNHUV
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        7KH1350DOVRLQWURGXFHVQDWLRQDOLW\EDVHGGLVFULPLQDWLRQLQWRDV\OXPE\SURYLGLQJDQ
H[FHSWLRQIRUSHRSOHZKREHQHILWIURP'+6¶QHZSDUROHSURFHVVHVZKLFKDOORZFHUWDLQSHRSOH
IURP&XED+DLWL1LFDUDJXDDQG9HQH]XHODWRHQWHURUWHPSRUDULO\UHPDLQLQWKH8QLWHG6WDWHV
:KLOH WKLV H[HUFLVH RI '+6¶ SDUROH DXWKRULW\ SURYLGHV D PXFKQHHGHG SURFHGXUH IRU IDPLO\
UHXQLILFDWLRQLWLVLQDSSURSULDWHDQGXQIDLUWRXVHLWWRGHWHUPLQHZKRFDQDSSO\IRUDV\OXP,QWKH
FRQWH[WRIWKHSURSRVHGEDQVSDUROHIXQFWLRQVDVD³OHJDOSDWKZD\´H[SUHVVO\DYDLODEOHRQO\WR
SHRSOHIURP&XED+DLWL1LFDUDJXDDQG9HQH]XHOD$V\OXPSURFHGXUHVPD\QRWGHQ\UHIXJHHV
IURPRWKHUFRXQWULHVHTXDOSURWHFWLRQE\WUHDWLQJWKHPGLIIHUHQWO\EDVHGRQWKHLUQDWLRQDOLW\7KH
'HSDUWPHQWV¶SODQKDUQHVVHVSDUROH²DQRWKHUZLVHSRVLWLYHGHYHORSPHQW²WRGRMXVWWKDW
       7KLVGLVFULPLQDWLRQEDVHGRQUDFHHWKQLFLW\DQGQDWLRQDORULJLQLV\HWDQRWKHUUHDVRQWKDW
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           *       7KH 1350 XQHTXLYRFDOO\ YLRODWHV 8QLWHG 6WDWHV ODZ DQG LQWHUQDWLRQDO
                    KXPDQLWDULDQODZ
          ,QDGGLWLRQWRWKHGHIHFWVDQGVKRUWFRPLQJVGLVFXVVHGDERYHWKH1350PXVWEHUHVFLQGHG
LQ LWV HQWLUHW\ EHFDXVH LW LV IXQGDPHQWDOO\ XQODZIXO 7KH 1350 YLRODWHV WKH SODLQ PHDQLQJ RI
8QLWHG6WDWHVUHIXJHHODZDQGWKH8QLWHG6WDWHV¶FRPPLWPHQWVXQGHULQWHUQDWLRQDOUHIXJHHODZ
         7KH IRXQGDWLRQDO WH[WV RI ERWK 86 DQG LQWHUQDWLRQDO UHIXJHH ODZ DUH WKH  8QLWHG
1DWLRQV&RQYHQWLRQ5HODWLQJWRWKH6WDWXVRI5HIXJHHV ³&RQYHQWLRQ´ ZKLFKGHILQHGWKH
WHUP UHIXJHH DQG GHOLQHDWHG VWDWH SDUWLHV¶ REOLJDWLRQV WRZDUGV UHIXJHHV DQG WKH  8QLWHG
1DWLRQV 3URWRFRO 5HODWLQJ WR WKH 6WDWXV RI 5HIXJHHV ³ 3URWRFRO´  ZKLFK JDYH WKH 
&RQYHQWLRQXQLYHUVDODSSOLFDWLRQ,QDFFHGLQJWRWKH3URWRFROWKH8QLWHG6WDWHVFRPPLWWHG
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$PHQGPHQW V'XH3URFHVV&ODXVHFRQWDLQVZLWKLQLWWKHSURKLELWLRQDJDLQVWGHQ\LQJWRDQ\SHUVRQWKH
HTXDOSURWHFWLRQRIWKHODZV´ +X\QKY&DUOXFFL)6XSS ''&  ³'LVFULPLQDWLRQ
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UHODWLRQVKLSEHWZHHQWKHFODVVLILFDWLRQDQGSURPRWLRQRIDFRPSHOOLQJLQWHUHVWWKHFODVVLILFDWLRQLV
QHFHVVDU\WRDFKLHYHWKDWLQWHUHVWDQGWKHPHDQVRUSURFHGXUHVHPSOR\HGDUHSUHFLVHO\WDLORUHGWRVHUYH
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          7KHVHSURYLVLRQVLQFOXGHWKHUHTXLUHPHQWIRUDQRQGLVFULPLQDWRU\IUDPHZRUNWRGHWHUPLQH
UHIXJHHVWDWXVDQGSURKLELWLRQVRQLPSRVLQJSHQDOWLHVEDVHGRQXQDXWKRUL]HGHQWU\RQH[SHOOLQJ
DUHIXJHHZLWKRXWDSURFHHGLQJLQDFFRUGDQFHZLWKGXHSURFHVVRIODZDQGRQH[SHOOLQJDUHIXJHH
WR D WHUULWRU\ ³ZKHUH KLV OLIH RU IUHHGRP ZRXOG EH WKUHDWHQHG RQ DFFRXQW RI KLV UDFH UHOLJLRQ
QDWLRQDOLW\PHPEHUVKLSRIDSDUWLFXODUVRFLDOJURXSRUSROLWLFDORSLQLRQ´
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SURFHGXUHVLQWKH8QLWHG6WDWHVDQGDOLJQHGWKHPZLWKWKH&RQYHQWLRQDQG3URWRFRO
$VDFRQWHPSRUDU\FRPPHQWDWRUSXWLWWKHODZZDVLQWHQGHGWR³UHFRQFLOH>$PHULFDQ@UKHWRULF
ZLWKRXUODZRXUQDWLRQDOLPPLJUDWLRQSROLF\DQGRXULQWHUQDWLRQDOWUHDW\REOLJDWLRQVVRWKDWZH
FRXOG PDLQWDLQ D FRQVLVWHQW SRVWXUH WRZDUGV WKH ZRUOG DV D QDWLRQ ZLWK D VWURQJ KXPDQLWDULDQ
WUDGLWLRQDQGDXQLTXHKLVWRULFUROHDVDKDYHQIRUSHUVRQVIOHHLQJRSSUHVVLRQ´³%RWK+RXVHDQG
6HQDWH VSRQVRUV >RI WKH 5HIXJHH $FW@ HPSKDVL]HG WKDW WKH SXUSRVH ZDV WR FUHDWH D
QRQGLVFULPLQDWRU\ GHILQLWLRQ RI D UHIXJHH DQG WR PDNH 8QLWHG 6WDWHV ODZ FRQIRUP WR WKH 81
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       )RUWKHUHDVRQVEHORZWKH1350LVDQDIIURQWWRERWKWKHODQJXDJHDQGWKHSULQFLSOHVRI
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                          %\ UHVWULFWLQJ DV\OXP EDVHG RQ PDQQHU DQG SODFH RI HQWU\ WKH 1350
                            YLRODWHVWKHSODLQODQJXDJHRIWKHIRXQGDWLRQDOVWDWXWHRI86DV\OXPODZ²
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SUHVHQWLQWKH8QLWHG6WDWHVRUZKRDUULYHVLQWKH8QLWHG6WDWHV ZKHWKHURUQRWDGHVLJQDWHGSRUW
RIDUULYDO LUUHVSHFWLYHRIVXFKDOLHQ¶VVWDWXVPD\DSSO\IRUDV\OXPLQDFFRUGDQFHZLWK>WKLV
VWDWXWH@´ %RWK $UWLFOH ,,, FRXUWV DQG WKH %RDUG RI ,PPLJUDWLRQ $SSHDOV ³%,$´  KDYH
FRQVLVWHQWO\LQWHUSUHWHGWKLVSURYLVLRQWRPHDQWKDWSODFHDQGPDQQHURIHQWU\PD\QRWEHWKHEDVLV
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JURXQGVDVVWDWHGLQ$QGULDVLDQY,16)G WK&LU  ³>0DQQHURIHQWU\@



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        7KH1350FOHDUO\YLRODWHVWKLVSURYLVLRQE\GHQ\LQJWKHSRVVLELOLW\WRDSSO\IRUDV\OXP
EDVHGRQSODFHDQGPDQQHURIHQWU\LHE\EDUULQJDOODSSOLFDWLRQVQRWILOHGDWDSRUWRIHQWU\
GXULQJDQDSSRLQWPHQWVFKHGXOHGRQ&%32QH7KH'HSDUWPHQWV¶DWWHPSWWRVXSSRUWWKHOHJDOLW\
RIWKH1350IDOOVUHVRXQGLQJO\IODW
        7KH'HSDUWPHQWV¶GLVFUHWLRQWRUHJXODWHWKHDV\OXPV\VWHPGRHVQRWH[WHQGWRUXOHVOLNH
WKH 1350 ZKLFK YLRODWHV WKH DV\OXP VWDWXWH 7KH 'HSDUWPHQWV SRLQW WR WKHLU KLVWRU\ RI
³H[HUFLV>LQJ@GLVFUHWLRQQRZH[SUHVVO\DXWKRUL]HGE\&RQJUHVV>VLQFH@WRFUHDWHQHZUXOHV
JRYHUQLQJWKHJUDQWLQJRIDV\OXP´7KHGLUHFWVWDWXWRU\DXWKRULW\WKH\LQYRNHUHTXLUHVWKDWDQ\
³OLPLWDWLRQVDQGFRQGLWLRQV´EH³FRQVLVWHQWZLWK>VHFWLRQ@´7KHSURSRVDOVDUHQRWFRQVLVWHQW
ZLWKVHFWLRQDQGWKHUHIRUHFDQQRWEHMXVWLILHGXVLQJWKH'HSDUWPHQWV¶GLVFUHWLRQDU\DXWKRULW\
        7KH 'HSDUWPHQWV DOVR FLWH H[DPSOHV RI SUHYLRXV UHVWULFWLRQV RQ DV\OXP HOLJLELOLW\ WR
VXSSRUWWKHLUFRQWHQWLRQWKDWWKH\KDYHGLVFUHWLRQDU\DXWKRULW\WRLPSRVHWKHEDQVLQWKH1350
7KHVHH[DPSOHVGRQRWVXSSRUWWKDWFRQWHQWLRQ7REHJLQWKHH[DPSOHVWKH\FLWHGRQRWGLUHFWO\
YLRODWHWKHSODLQODQJXDJHRIVHFWLRQDQGSULPDULO\UHIOHFWUHVWULFWLRQVFRQWHPSODWHGE\WKH
&RQYHQWLRQDQGWKH3URWRFRO0RUHRYHUPDQ\RIWKRVHUHVWULFWLRQVZHUHFRGLILHGE\
&RQJUHVV DV H[FHSWLRQV RU EDUV WR VHFWLRQ  D  DQG WKHUHIRUH KDYH OLWWOH EHDULQJ RQ WKH
'HSDUWPHQWV¶ GLVFUHWLRQDU\ DXWKRULW\ 7KH 7UXPS DGPLQLVWUDWLRQ FLWHG WKHVH VDPH H[DPSOHV LQ
GHIHQGLQJ LWV DV\OXP EDQV WR ZKLFK WKH 1LQWK &LUFXLW &RXUW RI $SSHDOV UHVSRQGHG WKDW ³WKH
VWDWXWRU\EDUVLQWKH,1$GRQRWVHSDUDWHO\FRQIOLFWZLWKH[SOLFLWWH[WLQVHFWLRQ D ´DQGWKDW
³>W@KHDV\OXPEDUVLQWKH,1$DQGLQWKH&RQYHQWLRQDSSHDUWRVHUYHHLWKHUWKHVDIHW\RIWKRVH
DOUHDG\LQWKH8QLWHG6WDWHVRUWKHVDIHW\RIUHIXJHHV´7KHVDPHLVWUXHKHUH
        7KH'HSDUWPHQWVDOVROLVWSUHYLRXVUXOHPDNLQJWKDWDVVHUWHGEURDGGLVFUHWLRQWROLPLWWKH
DYDLODELOLW\RIDV\OXP+RZHYHUWKUHHRIWKHVL[UXOHVWKH\OLVWDUHSURSRVHGRULQWHULPILQDOUXOHV
LVVXHGE\WKH7UXPSDGPLQLVWUDWLRQWKDWZHUHVWUXFNGRZQDVYLRODWLRQVRIVHFWLRQ7KXV
WKHVH H[DPSOHV GHPRQVWUDWH WKH H[DFW RSSRVLWH RI ZKDW WKH 'HSDUWPHQWV DWWHPSW WR VKRZ WKH


VKRXOGQRWEHFRQVLGHUHGLQVXFKDZD\WKDWWKHSUDFWLFDOHIIHFWLVWRGHQ\UHOLHILQYLUWXDOO\FDVHV´ (DVW
%D\,,,)GDW ³6HFWLRQ D SURYLGHVWKDWPLJUDQWVDUULYLQJDQ\ZKHUHDORQJWKH8QLWHG
6WDWHV¶ERUGHUVPD\DSSO\IRUDV\OXP´ +XDQJY,16)G G&LU  ³>,@ILOOHJDO
PDQQHURIIOLJKWDQGHQWU\ZHUHHQRXJKLQGHSHQGHQWO\WRVXSSRUWDGHQLDORIDV\OXPYLUWXDOO\QR
SHUVHFXWHGUHIXJHHZRXOGREWDLQDV\OXP´  TXRWHGLQ(DVW%D\,,,)GDW +XVVDP)Y
6HVVLRQV)G WK&LU  ³>$@OWKRXJKWKH%,$PD\FRQVLGHUDQDOLHQ¶VIDLOXUHWR
FRPSO\ZLWKHVWDEOLVKHGLPPLJUDWLRQSURFHGXUHVLWPD\QRWGRVRWRWKHSUDFWLFDOH[FOXVLRQRIDOORWKHU
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JRYHUQPHQWGRHVQRWKDYHOLPLWOHVVGLVFUHWLRQWRUHJXODWHWKHDV\OXPV\VWHPLQRUGHUWRIXUWKHU
XOWUDYLUHVSROLFLHV
       6LPSO\SXWWKH'HSDUWPHQWVKDYHSURSRVHGDUXOHWKDWLVLQFRQVLVWHQWZLWKVHFWLRQ
7KH\GRQRWVKRZ²DQGFRXOGQRWVKRZ²WKDWWKH\KDYHGLVFUHWLRQWRHQDFWUHJXODWLRQVWKDWDUH
LQFRQVLVWHQWZLWKWKHDV\OXPVWDWXWH
         7KH 'HSDUWPHQWV DWWHPSW WR VNLUW WKH YLRODWLRQ RI VHFWLRQ  E\ HPSKDVL]LQJ WKDW D
UHEXWWDEOHSUHVXPSWLRQRILQHOLJLELOLW\FDQQRWYLRODWHVHFWLRQEHFDXVHLWLV³QRWDFDWHJRULFDO
EDU´ 7KHSUHVXPSWLRQLV QRW FRPSDUDEOHWKH\VD\WR WKHSUHYLRXVDGPLQLVWUDWLRQ¶VHQMRLQHG
PDQQHURIHQWU\EDQEHFDXVH³>W@KHFLUFXPYHQWLRQRIRUGHUO\UHIXJHHSURFHVVLQJZRXOGRQO\EH
UHOHYDQW ZKHUH WKH DSSOLFDQW FDQQRW GHPRQVWUDWH >D@ FRPSHOOLQJ UHDVRQ ZK\ WKH\ GLG QRW DYDLO
WKHPVHOYHVRIDJURZLQJQXPEHURIOHJDOSDWKZD\VWRWKH8QLWHG6WDWHV´7KHVHGLVWLQFWLRQVGR
QRWPDNHDGLIIHUHQFH7KHSRVVLELOLW\RIDUHEXWWDOSUHVXPSWLRQGRHVQRWPDNHWKHPDQQHURIHQWU\
EDQ FRQVLVWHQW ZLWK WKH VWDWXWH 7KH 'HSDUWPHQWV¶ SURSRVDO LPSHUPLVVLEO\ FRQGLWLRQV DFFHVV WR
DV\OXPRQPDQQHURIHQWU\$OOOHJDOLVVXHVLQDQDV\OXPPDWWHU²LQFOXGLQJFDWHJRULFDOVWDWXWRU\
EDUV²DUHFRQWHVWDEOH7KDWGRHVQRWPHDQWKDWWKH'HSDUWPHQWVFDQ FUDIWUHVWULFWLRQVKRZHYHU
HODERUDWH DQG FLUFXLWRXV WKDW YLRODWH WKH SODLQ ODQJXDJH RI VHFWLRQ  5HJDUGOHVV RI WKH
SRVVLELOLW\RIUHEXWWDOFRQGLWLRQLQJDV\OXPHOLJLELOLW\RQPDQQHURIHQWU\LVXQODZIXO
        )XUWKHUPRUH WKH 'HSDUWPHQWV DOVR UHO\ RQ DQ DOOHJHG GLVWLQFWLRQ LQ WKH ,1$ EHWZHHQ
OLPLWDWLRQVRQDSSO\LQJIRUDV\OXPDQGOLPLWDWLRQVRQHOLJLELOLW\IRUDIDYRUDEOHJUDQWRIDV\OXP
6HFWLRQ D DFFRUGLQJWRWKH'HSDUWPHQWVHQVKULQHVRQO\WKHULJKWWRDSSO\IRUDV\OXPDQG
WKHLUSURSRVDOWKH\FRQWLQXHLVRQO\DUHVWULFWLRQRQHOLJLELOLW\IRUDIDYRUDEOHJUDQWZLWKZKLFK
VHFWLRQ  D  LV QRW FRQFHUQHG +RZHYHU WKLV GLVWLQFWLRQ LV LOORJLFDO 7KH SUHYLRXV
DGPLQLVWUDWLRQ XQVXFFHVVIXOO\ PDGHWKHVDPHDUJXPHQWLQ GHIHQGLQJ LWVPDQQHURIHQWU\EDQ
7KHUHWKH1LQWK&LUFXLWUHMHFWHGWKHLGHDWKDW&RQJUHVVZRXOGPDNHVXFKDGLVWLQFWLRQ$VWKH
FRXUWVWDWHG³>H@[SOLFLWO\DXWKRUL]LQJDUHIXJHHWRILOHDQDSSOLFDWLRQEHFDXVHKHDUULYHGEHWZHHQ
SRUWV RI HQWU\ DQG WKHQ VXPPDULO\ GHQ\LQJ WKH DSSOLFDWLRQ IRU WKH VDPH UHDVRQ ERUGHUV RQ
DEVXUGLW\7KHFRQVHTXHQFHVRIGHQLDODWWKHDSSOLFDWLRQRUHOLJLELOLW\VWDJHDUHWRDUHIXJHHWKH
VDPH´7KHQRWLRQWKDWWKHVWDWXWHPDNHVWKHGLVWLQFWLRQWKH'HSDUWPHQWVSXWIRUZDUG²DQGWKDW


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³QRWLQDFFRUGDQFHZLWKWKHODZ´RU³LQH[FHVVRIVWDWXWRU\MXULVGLFWLRQDXWKRULW\RUOLPLWDWLRQV´ 
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 6HH)HG5HJ ³6HFWLRQGUDZVDGLVWLQFWLRQEHWZHHQWKRVHSHUPLWWHGWRDSSO\IRUDV\OXP
DQGWKRVHHOLJLEOHWRUHFHLYHDJUDQWRIDV\OXP´ 
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 6HH(DVW%D\,,,)GDW ³&ULWLFDOWRWKHJRYHUQPHQW VDUJXPHQWLVWKDWVHFWLRQVSOLWV
DV\OXPDSSOLFDWLRQV  D DQGHOLJLELOLW\  E LQWRWZRGLIIHUHQWVXEVHFWLRQVWKHUHIRUHWKH
JRYHUQPHQWH[SODLQV&RQJUHVVLQWHQGHGWRDOORZ'2-WRSURPXOJDWHOLPLWDWLRQVRQDV\OXPHOLJLELOLW\
ZLWKRXWUHJDUGWRWKHSURFHGXUHVDQGDXWKRUL]DWLRQVJRYHUQLQJDV\OXPDSSOLFDWLRQV´ 
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     ,G HPSKDVLVLQRULJLQDO 


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VXFKDGLVWLQFWLRQZRXOGVXSSRUWWKHOHJDOLW\RIWKHUXOH²LVQROHVVDEVXUGQRZWKDQZKHQWKH
1LQWK&LUFXLWLVVXHGLWVGHFLVLRQ
        )RUWKHVHUHDVRQVWKHPDQQHURIHQWU\EDQLVSODLQO\LQFRQVLVWHQWZLWKVHFWLRQ D 7KH
'HSDUWPHQWV¶MXVWLILFDWLRQVDUHXQDYDLOLQJ7KHHIIHFWRIWKHEDQZRXOGEHWRXQODZIXOO\FRQGLWLRQ
DV\OXPEDVHGRQPDQQHUDQGSODFHRIHQWU\DQGWKRXVDQGVRIUHIXJHHV²LQFOXGLQJPDQ\VLPLODUO\
VLWXDWHGWRSHRSOH%'6DVVLVWVLQSUHVHQWLQJPHULWRULRXVDV\OXPFODLPV²ZRXOGEHGHQLHGDFFHVV
WRSURWHFWLRQ
                            %\UHTXLULQJUHIXJHHVWRDSSO\IRUDV\OXPLQWUDQVLWWKH1350LVIRUVLPLODU
                              UHDVRQVLQFRQVLVWHQWZLWKWKHDV\OXPVWDWXWH
       7KH 1350¶V WUDQVLW EDQ LV XQODZIXO IRU VLPLODU UHDVRQV 7KH UHTXLUHPHQW WKDW SHRSOH
VHHNLQJ DV\OXP LQ WKH 8QLWHG 6WDWHV H[FHSW 0H[LFDQ QDWLRQDOV  ILUVW DSSO\ IRU DV\OXP LQ DQ\
FRXQWU\WKURXJKZKLFKWKH\WUDQVLWYLRODWHVWKHDV\OXPVWDWXWH
        7KH'HSDUWPHQWVFODLPWKDWWKHLUSURSRVDOGRHVQRWFRQIOLFWZLWK H[LVWLQJUHVWULFWLRQVLQ
VHFWLRQ7KLVLVLQFRUUHFW7KHVDIHWKLUGFRXQWU\EDUDSSOLHVLQFDVHVZKHUHDUHIXJHHFDQEH
UHPRYHG³SXUVXDQWWRDELODWHUDORUPXOWLODWHUDODJUHHPHQW´WRDFRXQWU\ZKHUHWKHUHIXJHH¶VOLIH
RU IUHHGRP ZRXOG QRW EH LQ GDQJHU RQ DFFRXQW RI D SURWHFWHG FKDUDFWHULVWLF DQG ³ZKHUH WKH
>UHIXJHH@ ZRXOG KDYH DFFHVV WR D IXOO DQG IDLU SURFHGXUH IRU GHWHUPLQLQJ D FODLP WR DV\OXP RU
HTXLYDOHQWWHPSRUDU\SURWHFWLRQ´7KHILUPUHVHWWOHPHQWEDUDSSOLHVZKHUHDUHIXJHH³UHFHLYHG>@
DQRIIHURISHUPDQHQWUHVLGHQWVWDWXVFLWL]HQVKLSRUVRPHRWKHUW\SHRISHUPDQHQWUHVHWWOHPHQW´
        ,QDOORWKHUFDVHV³WKHIDLOXUHWRDSSO\IRUDV\OXPLQDFRXQWU\WKURXJKZKLFK>DUHIXJHH@
KDV WUDQVLWHG KDV QR EHDULQJ RQ WKH YDOLGLW\ RI >WKH UHIXJHH¶V@ FODLP IRU DV\OXP LQ WKH 8QLWHG
6WDWHV´
         7KH 1350 KRZHYHU PDNHV DV\OXP HOLJLELOLW\ EURDGO\ GHSHQGHQW RQ ZKHWKHU RU QRW D
UHIXJHHKDVDSSOLHGIRUDV\OXPZKLOHWUDQVLWLQJWRWKH8QLWHG6WDWHV LQDQ\FRXQWU\RIWUDQVLW ,W
LV WKHUHIRUH XQODZIXO $V ZLWK WKH PDQQHU RI HQWU\ EDQ WKH 'HSDUWPHQWV UHO\ KHDYLO\ RQ WKH
SRVVLELOLW\RIUHEXWWLQJWKHSUHVXPSWLRQRILQHOLJLELOLW\WRDUJXHWKDWLWVWUDQVLWEDQLVFRQVLVWHQW
ZLWKWKHVWDWXWH7KH\UHDVRQWKDWWKHLUSURSRVDOLVQRWDEDQEHFDXVHWKHSUHVXPSWLRQLVUHEXWWHG
RQDVKRZLQJRI³LPPLQHQWDQGH[WUHPHWKUHDWWROLIHRUVDIHW\DWWKHWLPHRIHQWU\LQWRWKH8QLWHG
6WDWHV´%XWMXVWDVZLWKWKHPDQQHURIHQWU\EDQWKHVLPSOHIDFWRIFRQGLWLRQLQJHOLJLELOLW\EDVHG
RQ ZKHWKHU D UHIXJHH DSSOLHG IRU DV\OXP LQ WUDQVLW LV LWVHOI LQFRQVLVWHQW ZLWK WKH VWDWXWH 7KH
SRVVLELOLW\ RI UHEXWWLQJ WKH SUHVXPSWLRQ EDVHG RQ DQ LPPLQHQW GDQJHU DW WKH WLPH RI HQWU\ KDV
QRWKLQJ WR GR ZLWK D UHIXJHH¶V ODZIXO FKRLFH WR SUHIHU WR DYDLO WKHPVHOYHV RI SURWHFWLRQ LQ WKH



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VDIHW\RIWKHFRXQWULHVWKURXJKZKLFKUHIXJHHVWUDQVLWHQURXWHWRWKH8QLWHG6WDWHVDVZHOODVWKH
DGHTXDF\ RI WKHLU DV\OXP SURFHGXUHV $V GLVFXVVHG DERYH UHIXJHHV IDFH VLJQLILFDQW SK\VLFDO
GDQJHU LQ FRXQWULHV VXFK DV 0H[LFR &RORPELD *XDWHPDOD DQG +RQGXUDV QRQH RI ZKLFK FDQ
JXDUDQWHH D IXOO DQG IDLU DV\OXP SURFHGXUH ,Q HQMRLQLQJ WKH 7UXPSHUD WUDQVLW EDQ WKH 1LQWK
&LUFXLW VWDWHG WKDW ³WKH DJHQFLHV¶ FRQFOXVLRQLJQRUHV H[WHQVLYH HYLGHQFH LQ WKH UHFRUG
GRFXPHQWLQJWKHGDQJHURXVFRQGLWLRQVLQ0H[LFRDQG*XDWHPDODWKDWZRXOGOHDG>UHIXJHHV@ZLWK
YDOLGDV\OXPFODLPVWRSXUVXHWKRVHFODLPVLQWKH8QLWHG6WDWHVUDWKHUWKDQLQWKRVHFRXQWULHV´
7KHVDPHLVWUXHKHUH
        7KHSURSRVHGWUDQVLWEDQLVXQODZIXOEHFDXVHLWLVLQFRQVLVWHQWZLWKWKHDV\OXPVWDWXWHDQG
LJQRUHVWKHFRPSHOOLQJDQGODZIXOUHDVRQVWKDWDUHIXJHHZRXOGSUHIHUWRVHHNDV\OXPLQWKH8QLWHG
6WDWHV
                            7KH 1350 YLRODWHV WKH 8QLWHG 6WDWHV¶ FRPPLWPHQWV XQGHU LQWHUQDWLRQDO
                              UHIXJHHODZ
       ,Q DGGLWLRQ WR LWV LQFRPSDWLELOLW\ ZLWK 86 UHIXJHH ODZ WKH 1350 YLRODWHV YDULRXV
SURYLVLRQVRIWKH&RQYHQWLRQDQGWKH3URWRFROVXFKDVWKHEDQRQSHQDOWLHVEDVHGRQ
XQDXWKRUL]HGHQWU\WKHEDQRQH[SXOVLRQRIUHIXJHHVZLWKRXWGXHSURFHVVRIODZDQGWKHJXDUDQWHH
RIQRQGLVFULPLQDWLRQLQDV\OXPSURFHHGLQJV,QGHWHUPLQLQJWKDWWKH7UXPSHUDPDQQHURIHQWU\
EDQZDVXQUHDVRQDEOHWKH1LQWK&LUFXLWIDFWRUHGLQSURYLVLRQVRIWKH&RQYHQWLRQDQG
3URWRFRODQGWKHVDPHUHDVRQLQJDSSOLHVKHUH
         )LUVW WKH 1350 YLRODWHV $UWLFOH  RI WKH  &RQYHQWLRQ E\ LPSRVLQJ D SHQDOW\ RQ
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GHILFLHQFLHV²RIWZRLPSRUWDQWVDIHJXDUGVEXLOWLQWRWKHVWDWXWHFUHDWLQJWKHH[WUDRUGLQDU\IRUP
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DV\OXPIRUSHRSOHHQWHULQJWKH8QLWHG6WDWHVYLDWKHVRXWKZHVWERUGHUDQGDVVXFKZLOOKDYHD
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3UHVLGHQW2UWHJDDZDUGHGKLPVHOIDIRXUWKFRQVHFXWLYHWHUPLQ1RYHPEHUHOHFWLRQV
DIWHUDUELWUDULO\MDLOLQJQHDUO\RSSRVLWLRQILJXUHVEDUULQJDOOFUHGLEOHRSSRVLWLRQ
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H[HFXWLYHEUDQFKRIILFLDOVDQGPD\RUV2EVHUYHUVQRWHGVHULRXVIODZVLQ
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SHUVLVWHQWIODZVLQWKH&DULEEHDQUHJLRQDODQGPXQLFLSDOHOHFWLRQVDQG
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PDVNHGXQLWVZLWKWDFWLFDOWUDLQLQJDQGRUJDQL]DWLRQDFWLQFRRUGLQDWLRQZLWK
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SROLWLFDOSULVRQHUVSROLWLFDOO\PRWLYDWHGUHSULVDODJDLQVWLQGLYLGXDOVORFDWHGLQ
DQRWKHUFRXQWU\VHULRXVSUREOHPVZLWKWKHLQGHSHQGHQFHRIWKHMXGLFLDU\DUELWUDU\
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6HFWLRQ5HVSHFWIRUWKH,QWHJULW\RIWKH3HUVRQ
D $UELWUDU\'HSULYDWLRQRI/LIHDQG2WKHU8QODZIXORU3ROLWLFDOO\
0RWLYDWHG.LOOLQJV
7KHUHZHUHVHYHUDOUHSRUWVWKDWWKHJRYHUQPHQWRULWVDJHQWVFRPPLWWHGDUELWUDU\RU
XQODZIXONLOOLQJV+XPDQULJKWVRUJDQL]DWLRQVDQGLQGHSHQGHQWPHGLDDOOHJHG
VRPHNLOOLQJVZHUHSROLWLFDOO\PRWLYDWHGDQDOOHJDWLRQGLIILFXOWWRFRQILUPEHFDXVH
WKHJRYHUQPHQWUHIXVHGWRFRQGXFWRIILFLDOLQTXLULHV

5HSRUWVRINLOOLQJVZHUHFRPPRQLQWKHQRUWKFHQWUDOUHJLRQVDQGWKH1RUWK
&DULEEHDQ$XWRQRPRXV5HJLRQ 5$&1 +XPDQULJKWVJURXSVVDLGWKHVHNLOOLQJV
LOOXVWUDWHGDFRQWLQXDWLRQRIDFDPSDLJQRIWHUURULQWKHQRUWKFHQWUDODQG5$&1
UHJLRQVSHUSHWUDWHGE\SDUDSROLFHJURXSVWRVWDPSRXWSROLWLFDORSSRVLWLRQWRWKH
UXOLQJ6DQGLQLVWD1DWLRQDO/LEHUDWLRQ)URQW )6/1 SDUW\2Q0DUFKXQNQRZQ
DVVDLODQWVVKRW(UQHVWR-DUTXLQILYHWLPHVLQWKHFKHVWLQWKHQRUWKFHQWUDOWRZQRI
0XOXNXNX,PSULVRQHGLQIRUSDUWLFLSDWLQJLQSURGHPRFUDF\SURWHVWVLQ
0XOXNXNX-DUTXLQZDVUHOHDVHGZLWKRWKHUSROLWLFDOSULVRQHUVXQGHUD
DPQHVW\ODZ7KH1LFDUDJXDQ1DWLRQDO3ROLFH 113 DQGRIILFLDOPHGLDUHSRUWHG
-DUTXLQ¶VNLOOLQJE\IRFXVLQJRQWKHJRYHUQPHQW¶VSUHYLRXVDOOHJDWLRQVRI-DUTXLQ¶V
LQYROYHPHQWLQKRPLFLGHLOOHJDOZHDSRQVSRVVHVVLRQFROOXVLRQWRFRPPLWFULPHV
DQGNLGQDSSLQJLQDVVRFLDWLRQZLWKKLVSDUWLFLSDWLRQLQSURGHPRFUDF\
SURWHVWV$VRI2FWREHUQRDUUHVWVKDGEHHQPDGHLQWKHFDVH

2Q$XJXVWODQGLQYDGHUVOLQNHGWRWKHUXOLQJ)6/1SDUW\NLOOHGDWOHDVW
LQGLJHQRXVSHUVRQV7KHDWWDFNKDSSHQHGQHDU0XVDZDVLQWKH6DXQL$VWHUULWRU\
LQDSURWHFWHGDUHDRIWKH%RVDZDVELRVSKHUHUHVHUYH7KHDWWDFNLQFOXGHGUDSHDQG
GLVPHPEHUPHQW2Q6HSWHPEHUSROLFHVWDWHGWKHDWWDFNVWHPPHGIURPDTXDUUHO
RYHUDQDUWLVDQDOJROGPLQLQJVLWHDQGWKDWSROLFHKDGLGHQWLILHGDVVDLODQWVDQG
FDSWXUHGWKUHH:LWQHVVHVDQGLQGLJHQRXVULJKWVGHIHQGHUVGLVSXWHGWKHILQGLQJV
DQGVDLGSROLFHKDGDUUHVWHGLQGLYLGXDOVRWKHUWKDQWKRVHLGHQWLILHGDVSHUSHWUDWRUV
E\WKHFRPPXQLW\DQGKDGIDLOHGWRDGGUHVVWKHURRWFDXVHVWKDWOHDGWRVXFK
DWWDFNV

7KHUHZDVQRLQGLFDWLRQWKHJRYHUQPHQWLQYHVWLJDWHGFULPHVFRPPLWWHGE\SROLFH
DQGSDUDSROLFHJURXSVUHODWHGWRWKHSURGHPRFUDF\XSULVLQJ,Q$SULO


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3UHVLGHQW2UWHJDDQG9LFH3UHVLGHQW0XULOORRUGHUHGSROLFHDQGSDUDSROLFHIRUFHV
WRVXSSUHVVYLROHQFHSHDFHIXOSURWHVWVWKDWEHJDQRYHUGLVFRQWHQWZLWKD
JRYHUQPHQWGHFLVLRQWRUHGXFHVRFLDOVHFXULW\EHQHILWV%\ODWH1RYHPEHU
WKHHQVXLQJFRQIOLFWKDGOHIWDWOHDVWSHUVRQVGHDGPRUHWKDQLQMXUHG
WKRXVDQGVIRUFHGLQWRKLGLQJKXQGUHGVLOOHJDOO\GHWDLQHGDQGWRUWXUHGDQGDVRI
6HSWHPEHUPRUHWKDQLQH[LOHLQQHLJKERULQJFRXQWULHV%HJLQQLQJLQ
$XJXVWWKH2UWHJDJRYHUQPHQWLQVWLWXWHGDSROLF\RI³H[LOHMDLORUGHDWK´IRU
DQ\RQHSHUFHLYHGDVRSSRVLWLRQDPHQGHGWHUURULVPODZVWRLQFOXGHSURGHPRFUDF\
DFWLYLWLHVDQGXVHGWKHMXVWLFHV\VWHPWRSURVHFXWHFLYLOVRFLHW\DFWRUVDVWHUURULVWV
DVVDVVLQVDQGFRXSPRQJHUV3ROLFHDQGWKH3XEOLF3URVHFXWRU¶V2IILFHGHWDLQHG
EURXJKWWRWULDODQGLPSULVRQHGPDQ\PHPEHUVRIWKHSURGHPRFUDF\RSSRVLWLRQ
+XPDQULJKWVRUJDQL]DWLRQVGRFXPHQWHGWKDWWKHLQYHVWLJDWLRQVDQGSURVHFXWLRQV
GLGQRWFRQIRUPWRWKHUXOHRIODZ7KHJRYHUQPHQWFRQWLQXHGWRPDNHQRHIIRUWWR
LQYHVWLJDWHVHYHUDOLQFLGHQWVRIH[WUDMXGLFLDONLOOLQJVDQGWRUWXUHLQERWKWKH
1RUWKDQG6RXWK&DULEEHDQ$XWRQRPRXV5HJLRQV7KHDUP\FRQWLQXHGWRGHQ\LWV
LQYROYHPHQWLQFDVHVSHUFHLYHGE\KXPDQULJKWVRUJDQL]DWLRQVDVSROLWLFDOO\
PRWLYDWHGH[WUDMXGLFLDONLOOLQJV

E 'LVDSSHDUDQFH
6WDUWLQJRQ0D\SROLFHGHWDLQHGDWOHDVWPHPEHUVRIWKHRSSRVLWLRQDQGFLYLO
VRFLHW\OHDGHUVXVLQJD)HEUXDU\FKDQJHLQWKHFULPLQDOSURFHGXUDOFRGHWKDWDOORZV
IRUDGHWHQWLRQSHULRGRIXSWRGD\VGXULQJWKHSXEOLFSURVHFXWRU¶VLQLWLDO
LQYHVWLJDWLRQEHIRUHSUHVHQWLQJFKDUJHV:KLOHWHFKQLFDOO\XQGHUFXVWRG\RI
SROLFHRUSULVRQDXWKRULWLHVWKHGHWDLQHGOHDGHUVGLGQRWKDYHDFFHVVWROHJDO
FRXQVHORUIDPLO\YLVLWDWLRQV$XWKRULWLHVGLGQRWUHYHDOWKHORFDWLRQRIWKHVH
GHWDLQHHVDQGMXGLFLDODXWKRULWLHVUHMHFWHGKDEHDVFRUSXVZULWVLQWKHLUIDYRU
1DWLRQDODQGLQWHUQDWLRQDOKXPDQULJKWVRUJDQL]DWLRQVGHHPHGWKHGHWHQWLRQRI
WKHVHSROLWLFDOSULVRQHUVHIIHFWLYHO\DIRUPRIIRUFHGGLVDSSHDUDQFH$IWHU
DXWKRULWLHVKHOGWKHPLQFRPPXQLFDGRIRUPRQWKVDWOHDVWRIWKHVHSROLWLFDO
SULVRQHUVZHUHIRUPDOO\FKDUJHGLQ$XJXVWDWZKLFKWLPHWKH\ZHUHDOORZHG
OLPLWHGDFFHVVWROHJDOFRXQVHODQGWKUHHPLQXWHIDPLO\YLVLWV

F 7RUWXUHDQG2WKHU&UXHO,QKXPDQRU'HJUDGLQJ7UHDWPHQWRU




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3XQLVKPHQW
$OWKRXJKWKHODZSURKLELWVVXFKSUDFWLFHVJRYHUQPHQWRIILFLDOVLQWHQWLRQDOO\
FDUULHGRXWDFWVWKDWUHVXOWHGLQVHYHUHSK\VLFDORUPHQWDOVXIIHULQJIRUWKHSXUSRVHV
RIVHFXULQJLQIRUPDWLRQLQIOLFWLQJSXQLVKPHQWDQGSV\FKRORJLFDOO\GHWHUULQJRWKHU
FLWL]HQVIURPUHSRUWLQJRQWKHJRYHUQPHQW¶VDFWLRQVRUSDUWLFLSDWLQJLQFLYLFDFWLRQV
DJDLQVWWKHJRYHUQPHQW0HPEHUVRIFLYLOVRFLHW\DQGVWXGHQWOHDGHUVLQYROYHGLQ
WKHSURWHVWVWKDWEHJDQLQ$SULOZHUHPRUHOLNHO\WKDQPHPEHUVRIRWKHU
JURXSVWREHVXEMHFWHGWRVXFKWUHDWPHQW

2Q-XO\DXWKRULWLHVGHWDLQHGSURGHPRFUDF\VWXGHQWOHDGHU/HVWKHU$OHPDQ
$OIDURZLWKRXWDZDUUDQW7KH3XEOLF3URVHFXWRU¶V2IILFHODWHUDQQRXQFHGLWKDG
DFFXVHG$OHPDQRIWUHDVRQXQGHUWKH/DZIRUWKH'HIHQVHRIWKH5LJKWVRIWKH
3HRSOHWR,QGHSHQGHQW6RYHUHLJQW\DQG6HOI'HWHUPLQDWLRQIRU3HDFHRU/DZ
SDVVHGLQ'HFHPEHU3ULVRQDXWKRULWLHVKHOG$OHPDQLQFRPPXQLFDGR
LQVROLWDU\FRQILQHPHQWDWWKH(O&KLSRWHGHWHQWLRQFHQWHUZLWKQRDFFHVVWROHJDO
FRXQVHORUIDPLO\YLVLWVQRDFFHVVWRVXQOLJKWDQGZLWKOLJKWVRQKRXUVDGD\LQ
KLVFHOO+HHQGXUHGPXOWLSOHLQWHUURJDWLRQVDGD\$IWHUGD\VLQGHWHQWLRQKH
ZDVEULHIO\DOORZHGWRVHHDIDPLO\PHPEHUDQGDODZ\HU)ROORZLQJ$OHPDQ¶V
DUUDLJQPHQWKLVODZ\HUVDLGKHDSSHDUHGVHYHUHO\XQGHUZHLJKWDQGXQGHUGHHS
SV\FKRORJLFDOGXUHVV+XPDQULJKWVJURXSVFKDUDFWHUL]HG$OHPDQ¶VWUHDWPHQWE\
SULVRQDXWKRULWLHVDVSV\FKRORJLFDOWRUWXUH2WKHUSROLWLFDOSULVRQHUVVXIIHUHG
VLPLODUFRQGLWLRQVZKLOHLQGHWHQWLRQLQFOXGLQJVHYHUDOZKRKDGSURWHFWLYH
PHDVXUHVLQSODFHIURPWKH,QWHU$PHULFDQ&RPPLVVLRQRI+XPDQ5LJKWV

+XPDQULJKWVRUJDQL]DWLRQVUHSRUWHGIHPDOHSULVRQHUVZHUHUHJXODUO\VXEMHFWHGWR
VWULSVHDUFKHVGHJUDGLQJWUHDWPHQWDQGUDSHWKUHDWVZKLOHLQFXVWRG\RISDUDSROLFH
IRUFHVSULVRQRIILFLDOVDQGSROLFH3ULVRQRIILFLDOVIRUFHGIHPDOHSULVRQHUVWR
VTXDWQDNHGDQGEHDWWKHPRQWKHLUJHQLWDOVWRGLVORGJHDQ\VXSSRVHGO\KLGGHQ
LWHPV

,PSXQLW\SHUVLVWHGDPRQJSROLFHDQGSDUDSROLFHIRUFHVLQUHSRUWHGFDVHVRIWRUWXUH
PLVWUHDWPHQWRURWKHUDEXVHV7KH113¶V2IILFHRI,QWHUQDO$IIDLUVLVFKDUJHG
ZLWKLQYHVWLJDWLQJSROLFHVXVSHFWHGRIFRPPLWWLQJDFULPH7KH2IILFHRIWKH
0LOLWDU\3URVHFXWRULQYHVWLJDWHVFULPHVFRPPLWWHGE\WKHDUP\XQGHUWKH
MXULVGLFWLRQRIWKH2IILFHRIWKH0LOLWDU\$XGLWRU*HQHUDO:LWKFRPSOHWHFRQWURO


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RYHUWKHSROLFHSULVRQV\VWHPDQGMXGLFLDU\EUDQFKKRZHYHUWKH)6/1JRYHUQLQJ
DSSDUDWXVPDGHQRHIIRUWWRLQYHVWLJDWHDOOHJDWLRQVWKDWUHJLPHRSSRQHQWVZHUH
WRUWXUHGRURWKHUZLVHDEXVHG

3ULVRQDQG'HWHQWLRQ&HQWHU&RQGLWLRQV

3ULVRQFRQGLWLRQVZHUHKDUVKDQGSRWHQWLDOO\OLIHWKUHDWHQLQJ2YHUFURZGLQJSRRU
VDQLWDWLRQGLIILFXOWLHVREWDLQLQJPHGLFDOFDUHDQGYLROHQFHDPRQJSULVRQHUV
UHPDLQHGVHULRXVSUREOHPVLQSULVRQIDFLOLWLHV

3K\VLFDO&RQGLWLRQV3ULVRQFRQGLWLRQVFRQWLQXHGWRGHWHULRUDWHGXHWRDQWLTXDWHG
LQIUDVWUXFWXUHDQGLQFUHDVLQJLQPDWHSRSXODWLRQV'HVSLWHQHZWHPSRUDU\KROGLQJ
FHOOVLQWKH'LUHFWRUDWHRI-XGLFLDO$VVLVWDQFHWKHUHVWRIWKHSULVRQV\VWHPZDVLQ
SRRUFRQGLWLRQ7KHJRYHUQPHQWUHSRUWHGRYHUFURZGLQJLQILYHRIWKHVHYHQ
SULVRQVIRUPHQKROGLQJSULVRQHUVZLWKFDSDFLW\IRURUSHUFHQW
RYHUFDSDFLW\LQ7KHJRYHUQPHQWGLGQRWSURYLGHXSGDWHGILJXUHVIRUWKH
\HDU0RUHWKDQRIWKHVHLQPDWHVZHUHKHOGLQWKHSULVRQNQRZQDV/D
0RGHOR+XPDQULJKWVRUJDQL]DWLRQVFRQWLQXHGWREHFRQFHUQHGDERXWSULVRQ
RYHUFURZGLQJ'XHWRRYHUFURZGLQJSUHWULDOGHWDLQHHVRIWHQVKDUHGFHOOVZLWK
FRQYLFWHGSULVRQHUVDQGMXYHQLOHVVKDUHGFHOOVZLWKDGXOWV

0DQ\SULVRQHUVVXIIHUHGPLVWUHDWPHQWIURPSULVRQRIILFLDOVDQGRWKHULQPDWHV
+XPDQULJKWVRUJDQL]DWLRQVFRQILUPHGWKDWDWOHDVWPHQGHWDLQHGLQWKHFRQWH[W
RIWKHSURWHVWVZHUHVXEMHFWHGWRVROLWDU\FRQILQHPHQWLQPD[LPXPVHFXULW\
FHOOVRI/D0RGHOR3ULVRQLQVRPHFDVHVIRUPRQWKVDWDWLPH3ROLWLFDOSULVRQHUV
KHOGVLQFHWKHJRYHUQPHQW¶VFUDFNGRZQWKDWEHJDQLQ0D\ZHUHGHWDLQHGLQ
'LUHFWRUDWHRI-XGLFLDO$VVLVWDQFHWHPSRUDU\KROGLQJFHOOVNQRZQDV(O&KLSRWH
5HODWLYHVRIWKHSULVRQHUVUHSRUWHGWKDWDWOHDVWIRXUZRPHQZHUHKHOGLQVROLWDU\
FRQILQHPHQWLQ(O&KLSRWHVLQFH-XQH

,QPDWHVDOVRVXIIHUHGIURPSDUDVLWHVLQDGHTXDWHPHGLFDODWWHQWLRQIUHTXHQWIRRG
VKRUWDJHVDQGIRRGFRQWDPLQDWLRQFRQWDPLQDWHGZDWHUDQGLQDGHTXDWHVDQLWDWLRQ
7KH&29,'SDQGHPLFFRPSRXQGHGWKHVHFRQGLWLRQV7KHJRYHUQPHQWIDLOHG
WRWDNHDGHTXDWHPHDVXUHVWRSURWHFWLQPDWHVIURPLOOQHVV3ULVRQDXWKRULWLHV
SURKLELWHGWKHGHOLYHU\RIKHDOWKDQGK\JLHQHNLWVSURYLGHGE\IDPLO\PHPEHUVIRU
LQPDWHVWRSURWHFWWKHPVHOYHVIURP&29,'SDUWLFXODUO\LQWKHFDVHRISROLWLFDO



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SULVRQHUV+XPDQULJKWVJURXSVUHSRUWHGWKDWSULVRQDXWKRULWLHVUDQGRPO\
IXPLJDWHGSULVRQVZLWKLQPDWHVVWLOOLQVLGHWKHLUFHOOV$OWKRXJKVDQLWDU\
FRQGLWLRQVIRUIHPDOHLQPDWHVZHUHJHQHUDOO\EHWWHUWKDQWKRVHIRUPHQWKH\ZHUH
QHYHUWKHOHVVXQVDIHDQGXQK\JLHQLF$FFRUGLQJWRWKHPRVWUHFHQWO\DYDLODEOH
JRYHUQPHQWUHSRUWWKH+XPDQ5LJKWV2PEXGVPDQ¶V2IILFHUHFHLYHGILYH
FRPSODLQWVUHODWHGWRSULVRQFRQGLWLRQVEHWZHHQ-DQXDU\DQG6HSWHPEHU
RIZKLFKLWUHVROYHGIRXUDQGGLVPLVVHGRQHDVXQVXEVWDQWLDWHG7KH+XPDQ
5LJKWV2IILFHGLGQRWPDNHXSGDWHGQXPEHUVSXEOLFO\DYDLODEOHIRUWKH\HDU

&RQGLWLRQVLQMDLOVDQGWHPSRUDU\KROGLQJFHOOVZHUHDOVRKDUVK0RVWIDFLOLWLHV
ZHUHSK\VLFDOO\GHFUHSLWDQGLQIHVWHGZLWKYHUPLQKDGLQDGHTXDWHYHQWLODWLRQ
HOHFWULFLW\RUVHZDJHV\VWHPVDQGODFNHGSRWDEOHZDWHU

7KHJRYHUQPHQWFRQWLQXHGWRUHOHDVHFRPPRQFULPLQDOVRXWVLGHRIODZIXOO\
SUHVFULEHGSURFHGXUHVWHOOLQJWKHPWKHLUUHOHDVHZDV³WKDQNVWRWKHSUHVLGHQW´
%HWZHHQ-DQXDU\DQG2FWREHUWKHJRYHUQPHQWUHOHDVHGXSWRSULVRQHUV
,QGHSHQGHQWPHGLDDQGKXPDQULJKWVRUJDQL]DWLRQVUHSRUWHGWKDWIROORZLQJWKHLU
UHOHDVHVRPHRIWKHVHLQGLYLGXDOVZHUHUHVSRQVLEOHIRUDWOHDVWWZRIHPLFLGHVDQG
RQHNLOOLQJ

$GPLQLVWUDWLRQ$OWKRXJKSULVRQHUVDQGGHWDLQHHVFRXOGVXEPLWFRPSODLQWVWR
MXGLFLDODXWKRULWLHVZLWKRXWFHQVRUVKLSDQGUHTXHVWLQYHVWLJDWLRQRIFUHGLEOH
DOOHJDWLRQVRILQKXPDQFRQGLWLRQVDXWKRULWLHVRIWHQLJQRUHGRUGLGQRWSURFHVV
FRPSODLQWV7KHH[WHQWWRZKLFKWKHJRYHUQPHQWLQYHVWLJDWHGDOOHJDWLRQVRISRRU
SULVRQFRQGLWLRQVZDVXQNQRZQ7KHJRYHUQPHQWRPEXGVPDQFRXOGVHUYHRQ
EHKDOIRISULVRQHUVDQGGHWDLQHHVWRFRQVLGHUVXFKPDWWHUVDVLQIRUPDODOWHUQDWLYHV
WRLQFDUFHUDWLRQIRUQRQYLROHQWRIIHQGHUVDOWKRXJKWKLVJHQHUDOO\GLGQRWRFFXU

7KHJRYHUQPHQWUHVWULFWHGSROLWLFDOSULVRQHUV¶DFFHVVWRYLVLWRUVDWWRUQH\VDQG
SK\VLFLDQV6WDIIPHPEHUVRIKXPDQULJKWVRUJDQL]DWLRQVIDPLO\PHPEHUVDQG
RWKHULQWHUHVWHGSDUWLHVZHUHQRWDOORZHGDFFHVVWRWKHSULVRQV\VWHPRUWRSULVRQHUV
LQFXVWRG\

,QGHSHQGHQW0RQLWRULQJ7KHJRYHUQPHQWSHUPLWWHGWKH,QWHUQDWLRQDO
&RPPLWWHHRIWKH5HG&URVV ,&5& DFFHVVWRVRPHSULVRQHUVEXWGHQLHGSULVRQ
YLVLWVE\ORFDOKXPDQULJKWVJURXSVDQGPHGLDRXWOHWV7KHJRYHUQPHQWUHSRUWHGO\



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GHQLHGWKH,&5&DFFHVVWRSROLWLFDOSULVRQHUVGHWDLQHGVLQFH0D\GHVSLWH
,&5&UHTXHVWVWRVHHWKRVHGHWDLQHHV1RQJRYHUQPHQWDORUJDQL]DWLRQV 1*2V 
JHQHUDOO\UHFHLYHGFRPSODLQWVWKURXJKIDPLO\PHPEHUVRILQPDWHVDQGRIWHQZHUH
XQDEOHWRIROORZXSRQFDVHVXQWLODIWHUWKHUHOHDVHRIWKHSULVRQHUGXHWRODFNRI
DFFHVV7KHJRYHUQPHQWGHQLHGDOOUHTXHVWVIURPORFDOKXPDQULJKWVRUJDQL]DWLRQV
IRUDFFHVVWRSULVRQIDFLOLWLHV

G $UELWUDU\$UUHVWRU'HWHQWLRQ
7KHODZSURKLELWVDUELWUDU\DUUHVWDQGGHWHQWLRQDQGSURYLGHVIRUWKHULJKWRIDQ\
SHUVRQWRFKDOOHQJHWKHODZIXOQHVVRIKLVRUKHUDUUHVWRUGHWHQWLRQLQFRXUW
+XPDQULJKWV1*2VKRZHYHUQRWHGKXQGUHGVRIFDVHVRIDUELWUDU\DUUHVWVE\
SROLFHDQGSDUDSROLFHIRUFHVDOWKRXJKSDUDSROLFHKDYHQRDXWKRULW\WRPDNH
DUUHVWV+XPDQULJKWVRUJDQL]DWLRQVUHSRUWHGSROLFHDQGSDUDSROLFHDJHQWV
URXWLQHO\GHWDLQHGDQGUHOHDVHGJRYHUQPHQWRSSRQHQWVZLWKLQDKRXUZLQGRZ
EH\RQGZKLFKWKH3XEOLF3URVHFXWRU¶V2IILFHZRXOGKDYHWRUHTXHVWWRH[WHQG
GHWHQWLRQIRUXSWRGD\VWRFRQWLQXHLWVLQYHVWLJDWLRQ'HWHQWLRQVRISROLWLFDO
RSSRQHQWVPRVWO\RFFXUUHGZLWKRXWDZDUUDQWRUIRUPDODFFXVDWLRQDQGIRUFDXVHV
RXWVLGHWKHOHJDOIUDPHZRUN

$UUHVW3URFHGXUHVDQG7UHDWPHQWRI'HWDLQHHV

7KHODZUHTXLUHVSROLFHWRREWDLQDZDUUDQWIURPDMXGLFLDODXWKRULW\SULRUWR
GHWDLQLQJDVXVSHFWDQGWRQRWLI\IDPLO\PHPEHUVRIWKHGHWDLQHH¶VZKHUHDERXWV
ZLWKLQKRXUVEXWWKLVUDUHO\KDSSHQHGLQWKHFRQWH[WRIDUUHVWVUHODWHGWRFLYLO
XQUHVW

3ROLFHPD\KROGDVXVSHFWOHJDOO\IRUKRXUVEHIRUHDUUDLJQPHQWRUUHOHDVH
KRZHYHUD)HEUXDU\DPHQGPHQWWRWKHFULPLQDOSURFHGXUDOFRGHDOORZVIRUWKH
3XEOLF3URVHFXWRU¶V2IILFHWRUHTXHVWDQH[WHQVLRQIRUWRGD\VLIDMXGJH
GHHPVWKHFDVHFRPSOH[$MXGJHWKHQPXVWRUGHUWKHVXVSHFWUHOHDVHGRU
WUDQVIHUUHGWRMDLOIRUSUHWULDOGHWHQWLRQ7KHVXVSHFWLVSHUPLWWHGIDPLO\PHPEHU
YLVLWVDIWHUWKHLQLWLDOKRXUV$GHWDLQHHKDVWKHULJKWWREDLOXQOHVVDMXGJH
GHHPVWKHUHLVDIOLJKWULVN7KHFULPLQDOFRGHOLVWVDQXPEHURIFULPHVWKDWPD\EH
WULHGE\DMXGJHZLWKRXWDMXU\DQGWKDWZRXOGQRWTXDOLI\IRUEDLORUKRXVHDUUHVW
GXULQJWKHGXUDWLRQRIWKHWULDO'HWDLQHHVKDYHWKHULJKWWRDQDWWRUQH\



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LPPHGLDWHO\IROORZLQJWKHLUDUUHVWDQGWKHVWDWHSURYLGHVLQGLJHQWGHWDLQHHVZLWKD
SXEOLFGHIHQGHU,QVHYHUDOLQVWDQFHVDXWKRULWLHVGHQLHGKDYLQJGHWDLQHHVXQGHU
FXVWRG\LQDVSHFLILFMDLOHYHQWRWKHLUIDPLO\PHPEHUVRUOHJDOFRXQVHO3ROLFH
URXWLQHO\UHMHFWHGFRPSODLQWVILOHGE\SURGHPRFUDF\RSSRVLWLRQDFWLYLVWV

7KHJRYHUQPHQWXVHGPRQH\ODXQGHULQJODZVDIRUHLJQDJHQWVODZDQGDODZIRU
WKHGHIHQVHRIVRYHUHLJQW\DJDLQVWSROLWLFDORSSRQHQWV+XPDQULJKWVRUJDQL]DWLRQV
DQGFLYLOVRFLHW\DFWLYLVWVDVVHUWHGWKDWWKHVHODZVFRQVWLWXWHGSDUWRIDODUJHU
VFKHPHE\WKHUXOLQJ)6/1SDUW\WRH[HUWLWVRZQFRQFHSWRIVRYHUHLJQVHFXULW\
ODLGRXWLQWKH6RYHUHLJQ6HFXULW\/DZZKLFKVLJQLILFDQWO\EURDGHQHGWKH
GHILQLWLRQRIVWDWHVRYHUHLJQW\DQGVHFXULW\DVDSUHWH[WWRDUUHVWSURWHVWHUVDQG
FLWL]HQVLWGHHPHGLQRSSRVLWLRQWRLWVJRDOV

$UELWUDU\$UUHVW$FFRUGLQJWR1*2VDQGRWKHUKXPDQULJKWVJURXSVDUELWUDU\
DUUHVWVRFFXUUHGUHJXODUO\SDUWLFXODUO\RIWKRVHWKHJRYHUQPHQWGHHPHGDFWLYH
RSSRVLWLRQPHPEHUVRUSDUWLFLSDQWVLQSUHYLRXVSURGHPRFUDF\SURWHVWV7KH
JRYHUQPHQWGHWDLQHGVHYHUDOPHPEHUVRIWKHRSSRVLWLRQIRUH[WHQGHGSHULRGVXVLQJ
/DZ /DZIRUWKH'HIHQVHRIWKH5LJKWVRIWKH3HRSOHWR,QGHSHQGHQFH
6RYHUHLJQW\DQG6HOI'HWHUPLQDWLRQIRU3HDFH 7KHVWDWXWHGRHVQRWVSHFLI\
VHQWHQFLQJJXLGHOLQHVDQGWKHLQGLYLGXDOVZHUHHYHQWXDOO\FKDUJHGXQGHURWKHU
VWDWXWHV

)RUH[DPSOHWKHSROLWLFDOSULVRQHUVGHWDLQHGEHWZHHQ0D\DQG1RYHPEHUZHUH
QRWDOORZHGWRFKRRVHWKHLURZQOHJDOFRXQVHODQGZHUHDUELWUDULO\DVVLJQHGD
SXEOLFGHIHQGHUIRUWKHLULQLWLDOSUHWULDOKHDULQJV$IWHUKROGLQJWKHSROLWLFDO
SULVRQHUVLQFRPPXQLFDGRIRUPRQWKVWKHJRYHUQPHQWSHUPLWWHGPRVWWRFKRRVH
WKHLURZQOHJDOFRXQVHODQGDOORZHGIDPLO\YLVLWVRQWKUHHRFFDVLRQV7KHODZ
DOORZVIRUIDPLO\YLVLWVUDQJLQJIURPHYHU\HLJKWGD\VWRHYHU\GD\V)DPLO\
YLVLWVZHUHUHVWULFWHGWRRQFHDPRQWKRQO\WRKLJKO\GDQJHURXVSULVRQHUV3ULVRQ
DXWKRULWLHVKHOGWKHSROLWLFDOSULVRQHUVLQFRPPXQLFDGRIRUWRGD\VEHIRUH
DOORZLQJWKHPWRVHHDQDWWRUQH\RIWKHLUFKRLFHDQGUHFHLYHOLPLWHGIDPLO\YLVLWV
7KHLUKHDULQJVZHUHQRWSXEOLFDQGPRVWODZ\HUVGLGQRWUHFHLYHDFRS\RIWKH
FRXUWUHFRUGVSULRUWRWKHWULDO,QDQHIIRUWWRLPSHGHDFFHVVWROHJDOFRXQVHO
KHDULQJVIRUSROLWLFDOSULVRQHUVZHUHKHOGLQVLGHWKHMDLOLQVWHDGRIDFRXUWRIODZ
RXWVLGHRIQRUPDOZRUNLQJKRXUV-XGLFLDORIILFLDOVGLGQRWUHFRUGWKHKHDULQJVRU
JLYHWKHGHIHQGDQW¶VOHJDOFRXQVHODWUDQVFULSWRIWKHKHDULQJV2WKHUSULVRQHUVDOVR


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UHSRUWHGDODFNRILPPHGLDWHDFFHVVWRDQDWWRUQH\RUOHJDOFRXQVHODQGZHUHQRW
DIIRUGHGRQHGXULQJWKHLUGHWHQWLRQ

,QPDQ\FDVHVSROLFHDQGSDUDSROLFHGHWDLQHGSHUVRQVZKRKDGSDUWLFLSDWHGLQ
SURGHPRFUDF\SURWHVWVLQDQGEXWZKRZHUHQRWFXUUHQWO\SDUWLFLSDWLQJ
LQDQ\DFWLYLW\GHHPHGLOOHJDORULQRSSRVLWLRQWRWKHUXOLQJSDUW\3ROLFHRIWHQ
DUUHVWHGWKHVHLQGLYLGXDOVZLWKRXWDZDUUDQWDQGRFFDVLRQDOO\HQWHUHGSULYDWH
KRPHVRUEXVLQHVVHVZLWKRXWDFRXUWRUGHU,QVHYHUDOFDVHVSROLFHUDLGHGDQG
UDQVDFNHGWKHKRXVHVRIWKRVHGHWDLQHGDOVRZLWKRXWFRXUWZDUUDQWV0DQ\DUUHVWV
ZHUHDOOHJHGO\PDGHZLWKRXWLQIRUPLQJIDPLO\PHPEHUVRUOHJDOFRXQVHO5HSRUWV
ZHUHFRPPRQRIDUPHGKRRGHGPHQLQSODLQFORWKHVDFWLQJDORQHRUWRJHWKHUZLWK
SROLFHWRDUUHVWDQGGHWDLQSURGHPRFUDF\SURWHVWHUV,QVHYHUDOFDVHVJURXSVRI
KRRGHGPHQORRWHGWKHKRPHVRISROLWLFDORSSRQHQWVLPPHGLDWHO\DIWHUSROLFHOHIW
WKHVFHQH+XPDQULJKWVRUJDQL]DWLRQVLQGLFDWHGWKDWGHOD\VLQWKHUHOHDVHRI
SULVRQHUVDIWHUILQLVKLQJSULVRQWHUPVOHGWRPDQ\FDVHVRIDUELWUDU\FRQWLQXDWLRQRI
DVWDWHRIDUUHVW3ROLFHDOVRFRPPLWWHGLUUHJXODUDUUHVWVDQGGHWHQWLRQVXQGHUWKH
JXLVHRILQYHVWLJDWLRQVLQWRDUPHGRSSRVLWLRQJURXSVRURWKHUYLROHQWFULPHVLQWKH
QRUWKFHQWUDOUHJLRQVRIWKHFRXQWU\

3UHWULDO'HWHQWLRQ/HQJWK\SUHWULDOGHWHQWLRQFRQWLQXHGWREHDSUREOHP0DQ\
RSSRVLWLRQOHDGHUVDQGSURGHPRFUDF\SURWHVWHUVZHUHGHWDLQHGDQGKHOGZLWKQR
FKDUJHVDQGZLWKRXWIROORZLQJGXHSURFHVV2EVHUYHUVQRWHGWKDWLQVHYHUDO
LQVWDQFHVOHQJWK\SUHWULDOGHWHQWLRQZDVLQWHQWLRQDODJDLQVWVSHFLILFSURWHVWOHDGHUV
2EVHUYHUVDWWULEXWHGRWKHUGHOD\VWROLPLWHGIDFLOLWLHVDQRYHUEXUGHQHGMXGLFLDO
V\VWHPMXGLFLDOLQDFWLRQDQGKLJKFULPHUDWHV1RLQIRUPDWLRQZDVDYDLODEOHRQ
WKHSHUFHQWDJHRIWKHSULVRQSRSXODWLRQLQSUHWULDOGHWHQWLRQRUWKHQDWLRQDODYHUDJH
OHQJWKRISUHWULDOGHWHQWLRQ

'HWDLQHH¶V$ELOLW\WR&KDOOHQJH/DZIXOQHVVRI'HWHQWLRQEHIRUHD&RXUW
:KLOHWKHODZSURYLGHVGHWDLQHHVWKHDELOLW\WRFKDOOHQJHWKHOHJDOLW\RIWKHLU
GHWHQWLRQEHIRUHDFRXUWWKHJRYHUQPHQWJHQHUDOO\GLGQRWDOORZWKRVHDUUHVWHG
GXULQJSURWHVWVWRFKDOOHQJHLQFRXUWWKHODZIXOQHVVRIWKHLUDUUHVWVRUGHWHQWLRQV
,QFDVHVRISROLWLFDORSSRQHQWVMXGJHVUHJXODUO\GHQLHGRULJQRUHGFRQVWLWXWLRQDO
SURWHFWLRQVIRUGHWDLQHHVLQFOXGLQJKDEHDVFRUSXV




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H 'HQLDORI)DLU3XEOLF7ULDO
7KHODZSURYLGHVIRUDQLQGHSHQGHQWMXGLFLDU\EXWWKHJRYHUQPHQWGLGQRWUHVSHFW
MXGLFLDOLQGHSHQGHQFHDQGLPSDUWLDOLW\7KHODZUHTXLUHVYHWWLQJRIQHZMXGLFLDO
DSSRLQWPHQWVE\WKH6XSUHPH&RXUWRI-XVWLFHDSURFHVVGRPLQDWHGE\WKH
JRYHUQPHQW2QFHDSSRLQWHGPRVWMXGJHVVXEPLWWHGWRSROLWLFDOSUHVVXUHDQG
HFRQRPLFLQGXFHPHQWVIRUWKHPVHOYHVRUIDPLO\PHPEHUVWKDWFRPSURPLVHGWKHLU
LQGHSHQGHQFH7KHSROLWLFDOSULVRQHUVDUUHVWHGEHWZHHQ0D\DQG1RYHPEHU
ZHUHVXEMHFWHGWRFORVHGSUHWULDOKHDULQJVZLWKRXWDFFHVVWRWKHLURZQODZ\HUV
RUQRWLILFDWLRQRIIDPLO\PHPEHUV7KHFRXUWDUELWUDULO\DVVLJQHGSXEOLFGHIHQGHUV
IRUWKHVHGHWDLQHHV$OWKRXJKWKH3XEOLF3URVHFXWRU¶V2IILFHDQQRXQFHGWKHVH
KHDULQJVDIWHUZDUGVGHWDLOVZHUHVFDUFH7KHVHGHWDLQHHVZHUHKHOG
LQFRPPXQLFDGRIRUXSWRGD\VZLWKRXWDFFHVVWRLQGHSHQGHQWSULYDWHOHJDO
FRXQVHORUWRIDPLO\PHPEHUV7KHMXVWLFHV\VWHPGLGQRWFRQILUPWKHORFDWLRQRI
WKHVHGHWDLQHHV7KHFDVHVRIWKHVHGHWDLQHHVGLGQRWDSSHDULQDQRQOLQHV\VWHP
IRUSXEOLFDFFHVVWROHJDOFDVHV)LYH)6/1DOLJQHGMXGJHV±+HQU\0RUDOHV1DOLD
8EHGD$EHODUGR$OYLU.DUHQ&KDYDUULDDQG*ORULD6DDYHGUD±RYHUVDZWKH
SUHWULDOKHDULQJVDJDLQVWWKHVHGHWDLQHHV7KHVHMXGJHVURXWLQHO\GHQLHGZULWVLQ
IDYRURIWKHGHIHQGDQWVDQGLQVRPHFDVHVGHQLHGGHIHQGDQWVDQGWKHLUODZ\HUV
DFFHVVWRWKHDFFXVDWLRQVDQGRWKHUFRXUWGRFXPHQWVEHIRUHWKHKHDULQJV$IWHU
KROGLQJWKHPLQFRPPXQLFDGRIRUPRQWKVWKHJRYHUQPHQWSHUPLWWHGPRVWSROLWLFDO
SULVRQHUVWRFKRRVHWKHLURZQOHJDOFRXQVHOVWDUWLQJLQ$XJXVW

1*2VFRPSODLQHGRIGHOD\HGMXVWLFHFDXVHGE\MXGLFLDOLQDFWLRQDQGZLGHVSUHDG
LPSXQLW\HVSHFLDOO\UHJDUGLQJIDPLO\DQGGRPHVWLFYLROHQFHDQGVH[XDODEXVH,Q
FDVHVDJDLQVWSROLWLFDODFWLYLVWVMXGJHVDWWKHELGGLQJRIWKHJRYHUQPHQWKDQGHG
GRZQELDVHGMXGJPHQWVLQFOXGLQJDGGLQJFKDUJHVIRUFULPHVQRWSUHVHQWHGE\WKH
SURVHFXWRU¶VRIILFH/DZ\HUVIRUSROLWLFDOSULVRQHUVUHSRUWHGWKDWMXGJHVURXWLQHO\
GLVPLVVHGGHIHQGDQWV¶HYLGHQFHDQGDFFHSWHGSURVHFXWRUV¶DQRQ\PRXVVRXUFHVDV
YDOLG,QPDQ\FDVHVWULDOVWDUWWLPHVZHUHFKDQJHGZLWKQRLQIRUPDWLRQSURYLGHG
WRRQHRUERWKVLGHVRIWKHWULDODFFRUGLQJWRKXPDQULJKWVRUJDQL]DWLRQV
$XWKRULWLHVRFFDVLRQDOO\IDLOHGWRUHVSHFWFRXUWRUGHUV

7ULDO3URFHGXUHV

7KHODZSURYLGHVWKHULJKWWRDIDLUDQGSXEOLFWULDO&KDQJHVWRWKHODZHQDFWHGLQ


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KRZHYHUDOORZMXGJHVWRGHQ\MXU\WULDOVLQDZLGHUUDQJHRIFDVHVGHQ\EDLO
RUKRXVHDUUHVWEDVHGRQXQFOHDUUXOHVDQGDUELWUDULO\PRYHDFDVHIURPRWKHU
MXGLFLDOGLVWULFWVWR0DQDJXDWRWKHGLVDGYDQWDJHRIGHIHQGDQWVWKHLUIDPLOLHVRU
WKHLUFRXQVHO'HIHQGDQWVKDYHWKHULJKWWREHIXOO\DQGSURPSWO\LQIRUPHGRIWKH
FKDUJHVDJDLQVWWKHPDQGWKHULJKWWRDIDLUWULDODOWKRXJKWKLVZDVQRWUHVSHFWHG
:KLOHWKHODZHVWDEOLVKHVVSHFLILFWLPHSHULRGVIRUFDVHVWRFRPHWRWULDOPRVW
FDVHVHQFRXQWHUHGORQJGHOD\V7ULDOVDUHSXEOLFH[FHSWLQVRPHFDVHVLQYROYLQJ
PLQRUVRUDWWKHYLFWLP¶VUHTXHVW7KHODZUHTXLUHVGHIHQGDQWVPXVWEHSUHVHQWDW
WKHLUWULDODOWKRXJKWKLVZDVQRWDOZD\VUHVSHFWHG

7KHKHDULQJVIRUPDQ\SROLWLFDOSULVRQHUVGHWDLQHGEHWZHHQ0D\DQG6HSWHPEHU
GLGQRWFRQIRUPWROHJDOSURFHGXUHV7KHGHIHQGDQWVZHUHGHWDLQHGZLWKRXW
ZDUUDQWVDQGZHUHQRWDIIRUGHGOHJDOFRXQVHORIWKHLUFKRLFHRUDFFHVVWRWKHLU
IDPLO\PHPEHUVZLWKLQKRXUVDIWHUWKHLUGHWHQWLRQRUGXULQJDWOHDVWWZRLQLWLDO
KHDULQJV7KHLUORFDWLRQZDVQRWSXEOLFO\GLVFORVHGMXGJHVGLVPLVVHGRULJQRUHG
KDEHDVFRUSXVZULWVLQWKHLUIDYRUKHDULQJVDQGWULDOVZHUHFORVHGWRWKHSXEOLFDQG
KHOGZLWKLQWKHGHWHQWLRQFHQWHUDQGZKHQWKH\ILQDOO\KDGDFFHVVWRWKHLUOHJDO
FRXQVHORIFKRLFHMXGLFLDODQGSULVRQRIILFLDOVGHQLHGODZ\HUVDFFHVVWRWKHLU
FOLHQWVDQGUHIXVHGWRSURYLGHODZ\HUVZLWKWKHFRXUWGRFXPHQWVEHIRUHWULDO
LQFOXGLQJWKHFKDUJHVDJDLQVWWKHLUFOLHQWV

$FFRUGLQJWRWKHFRQVWLWXWLRQGHIHQGDQWVDUHSUHVXPHGLQQRFHQWXQWLOSURYHQ
JXLOW\2EVHUYHUVFODLPHGKRZHYHUWKDWWKHH[WHQVLRQRIWLPHIURPKRXUVWRXS
WRGD\VWKDWDGHWDLQHHFDQEHKHOGGXULQJDSUHWULDOLQYHVWLJDWLRQSRVHGDQ
XQGXHSUHVXPSWLRQRIJXLOWRQGHIHQGDQWV,QWKHFDVHRIWKHSROLWLFDOSULVRQHUV
GHWDLQHGEHWZHHQ0D\DQG1RYHPEHU&KLHIRI3ROLFH)UDQFLVFR'LD]WROGRIILFLDO
PHGLDWKDWSROLFHKDG³HQRXJKSURRIWRHQVXUHWKDWWKHVHWHUURULVWVWKHVHYDQGDOV
WKHVHFRXSPRQJHUVIDFHWKHFRQVHTXHQFHV´'LD]JDYHWKHLQWHUYLHZZKHQWKH
GHIHQGDQWVZHUHVWLOODZDLWLQJWULDODQGEHIRUHDQ\FKDUJHVZHUHFRQILUPHG7KH
3XEOLF3URVHFXWRU¶V2IILFHSUHVHQWHGSROLFHRIILFHUVDVZLWQHVVHVLQKHDULQJVRQ
WKHVHFKDUJHV,QKHUGDLO\SUHVVEULHILQJV9LFH3UHVLGHQW0XULOORIUHTXHQWO\
UHIHUUHGWRSROLWLFDOSULVRQHUVDV³WHUURULVWV´DQG³FRXSPRQJHUV´DOWKRXJKWKH
SULVRQHUVZHUHVWLOODZDLWLQJWULDO

0LJUDWLRQDXWKRULWLHVFRQILVFDWHGWKHSDVVSRUWVRIDWOHDVW1LFDUDJXDQVDWHLWKHU
WKHLQWHUQDWLRQDODLUSRUWRUDWODQGERUGHUFURVVLQJVDOWKRXJKWKHLQGLYLGXDOVKDGQR


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IRUPDOFKDUJHVSHQGLQJDJDLQVWWKHP2IILFLDOVSURYLGHGQRH[SODQDWLRQRWKHUWKDQ
VD\LQJDXWKRULWLHVKLJKHUXSWKHFKDLQRIFRPPDQGKDGRUGHUHGPLJUDWRU\
UHVWULFWLRQVDJDLQVWWKHLQGLYLGXDOV6RPHKXPDQULJKWVGHIHQGHUVVDZWKLVDVDGH
IDFWRSUHVXPSWLRQRIJXLOWZLWKRXWDIRUPDODFFXVDWLRQ7KHJRYHUQPHQWDOVR
SUHYHQWHGDFLYLOVRFLHW\OHDGHUIURPUHWXUQLQJWRWKHFRXQWU\ZLWKRXWUHDVRQRU
IRUPDOFKDUJHDJDLQVWWKHLQGLYLGXDO8QGHUWKHODZGHIHQGDQWVKDYHWKHULJKWWR
OHJDOFRXQVHODQGWKHVWDWHSURYLGHVSXEOLFGHIHQGHUVIRULQGLJHQWSHUVRQV
'HIHQGDQWVKDYHWKHULJKWWRDGHTXDWHWLPHDQGIDFLOLWLHVWRSUHSDUHDGHIHQVHEXW
MXGJHVFRPPRQO\IDLOHGWRJUDQWFRXQVHO¶VDFFHVVWRWKHGHIHQGDQW,QVHYHUDO
LQVWDQFHVUHODWHGWRSURGHPRFUDF\SURWHVWVGHIHQGDQWVZHUHQRWDOORZHGWRQDPH
WKHLUOHJDOFRXQVHODQGWKHFRXUWDSSRLQWHGDSXEOLFGHIHQGHUZKLFKIDPLO\
PHPEHUVDQGKXPDQULJKWVRUJDQL]DWLRQVFODLPHGZDVGHWULPHQWDOWRWKH
GHIHQGDQW¶VFDVH,QPDQ\FDVHVLQYROYLQJWKHJRYHUQPHQW¶VSROLWLFDORSSRQHQWV
SULYDWHGHIHQVHODZ\HUVZHUHEDUUHGIURPPHHWLQJZLWKGHIHQGDQWVDQGWULDOWLPHV
ZHUHVHWRXWVLGHRIZRUNLQJKRXUVLQDQHIIRUWWRIRUFHWKHDFFXVHGWRDFFHSWD
SXEOLFGHIHQGHUDSSRLQWHGE\DELDVHGMXGLFLDU\$GGLWLRQDOO\VHYHUDOSUHWULDO
KHDULQJVWRRNSODFHLQGHWHQWLRQFHQWHUVUDWKHUWKDQDFRXUWURRPZLWKRXWQRWLI\LQJ
GHIHQGDQWV¶OHJDOFRXQVHO,QDWOHDVWRQHLQVWDQFHODZ\HUVZKRHQWHUHGWKH
GHWHQWLRQFHQWHUWRSDUWLFLSDWHLQWKHWULDOZHUHWKUHDWHQHGE\DJXDUGZKR
ZRQGHUHGDORXGZKHWKHUWKHODZ\HUVZRXOGEHDOORZHGWROHDYHWKHSULVRQDIWHUWKH
KHDULQJ$WOHDVWVHYHQODZ\HUVGHIHQGLQJSROLWLFDOSULVRQHUVZHUHIRUFHGWRIOHH
WKHFRXQWU\GXHWRKDUDVVPHQWDQGGHDWKWKUHDWVDJDLQVWWKHP$OWKRXJKWKH
FRQVWLWXWLRQUHFRJQL]HVLQGLJHQRXVODQJXDJHVLQGLJHQRXVGHIHQGDQWVZHUHQRW
DOZD\VJUDQWHGFRXUWLQWHUSUHWHUVRUWUDQVODWRUV8QGHUWKHODZGHIHQGDQWVPD\
FRQIURQWDQGTXHVWLRQZLWQHVVHVDQGKDYHWKHULJKWWRDSSHDODFRQYLFWLRQ
'HIHQGDQWVPD\SUHVHQWWKHLURZQZLWQHVVHVDQGHYLGHQFHLQWKHLUGHIHQVH
KRZHYHUVRPHMXGJHVUHIXVHGWRDGPLWHYLGHQFHRQEHKDOIRIWKHGHIHQVH
'HIHQGDQWVPD\QRWEHFRPSHOOHGWRWHVWLI\RUFRQIHVVJXLOW1HYHUWKHOHVVPDQ\
GHIHQGDQWVFRQWLQXHGWREHLQWHUURJDWHGE\SROLFHDQGSULVRQJXDUGVZKLOHWKHLU
WULDOVZHUHLQSURFHVV

:RPHQ¶VULJKWVRUJDQL]DWLRQVEHOLHYHGWKHFRXUWV\VWHPFRQWLQXHGWRRSHUDWH
XQGHUXQRIILFLDORUGHUVQRWWRLPSRVHMDLOWLPHRUSUHWULDOGHWHQWLRQLQGRPHVWLF
YLROHQFHFDVHV7KHSROLF\UHSRUWHGO\DSSOLHGRQO\WRGRPHVWLFYLROHQFHFDVHVWKDW
DXWKRULWLHVFRQVLGHUHGPLOG



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3ROLWLFDO3ULVRQHUVDQG'HWDLQHHV

+XPDQULJKWV1*2VFKDUDFWHUL]HGDVSROLWLFDOSULVRQHUVWKRVHGHWDLQHGLQWKH
FRQWH[WRISURGHPRFUDF\SURWHVWVDQGWKRVHGHWDLQHGDVSDUWRIWKHJRYHUQPHQW¶V
FUDFNGRZQRQWKHSROLWLFDORSSRVLWLRQVWDUWLQJLQ0D\7KHJRYHUQPHQWGRHVQRW
UHFRJQL]HSROLWLFDOSULVRQHUVDVDQLQPDWHFDWHJRU\DQGFRQVLGHUVDOOSULVRQHUVWREH
FRPPRQFULPLQDOV$FFRUGLQJWRKXPDQULJKWVRUJDQL]DWLRQVWKHJRYHUQPHQW
FRQWLQXHGWRKROGPRUHWKDQSROLWLFDOSULVRQHUVDVRI6HSWHPEHUZLWKDWOHDVW
RIWKHPLQVROLWDU\FRQILQHPHQW

3ROLWLFDOSULVRQHUVGLGQRWUHFHLYHDSSURSULDWHKHDOWKFDUHLQFOXGLQJZKLOH
VXIIHULQJ&29,'V\PSWRPV6HYHUDOSROLWLFDOSULVRQHUVZHUHVHYHUHO\
XQGHUQRXULVKHGZLWKQRDFFHVVWRVXQOLJKWRUDSSURSULDWHKHDOWKFDUHVHUYLFHV
6RPHSROLWLFDOSULVRQHUVZHUHGHQLHGDFFHVVWRPHGLFLQHDQGPHGLFDOWUHDWPHQWIRU
FKURQLFLOOQHVVHV

3ROLWLFDOSULVRQHUVZHUHNHSWWRJHWKHUZLWKFRPPRQFULPLQDOV$GYRFDF\JURXSV
UHSRUWHGWKDWSULVRQDXWKRULWLHVLQVWLJDWHGTXDUUHOVEHWZHHQWKHJHQHUDOSULVRQ
SRSXODWLRQDQGSROLWLFDOSULVRQHUVE\EODPLQJSROLWLFDOSULVRQHUVIRUDQ\ZLWKKHOG
SULYLOHJHVRIWHQUHVXOWLQJLQYLROHQFH+XPDQULJKWVRUJDQL]DWLRQVUHFHLYHG
VHYHUDOUHSRUWVRISROLWLFDOSULVRQHUVEHLQJEHDWHQWKUHDWHQHGKHOGLQVROLWDU\
FRQILQHPHQWIRUZHHNVDQGVXIIHULQJIURPSRRUYHQWLODWLRQDQGSRLVRQHGRU
FRQWDPLQDWHGIRRGDQGZDWHU

7KHJRYHUQPHQWGLGQRWSHUPLWDFFHVVWRSROLWLFDOSULVRQHUVE\ORFDOKXPDQULJKWV
JURXSV

3ROLWLFDOO\0RWLYDWHG5HSULVDODJDLQVW,QGLYLGXDOV/RFDWHG2XWVLGHWKH
&RXQWU\

*URXSVRIH[LOHVLQ&RVWD5LFDDOOHJHGSROLWLFDOSHUVHFXWLRQE\SDUDSROLFHDQG
)6/1V\PSDWKL]HUVZKRFURVVHGWKHERUGHUWRWDUJHWH[LOHV)DPLO\PHPEHUVRI
RSSRVLWLRQH[LOHVZHUHVXUYHLOOHGDQGKDUDVVHGLQDQDWWHPSWWRIRUFHH[LOHVWR
UHWXUQWRWKHFRXQWU\DQGIDFHDUUHVW,QDWOHDVWRQHLQVWDQFHPLJUDWLRQDXWKRULWLHV
ZLWKKHOGGRFXPHQWDWLRQIRUDPLQRUWRH[LWWKHFRXQWU\LQDQHIIRUWWRIRUFHWKH
H[LOHGIDWKHUWRUHWXUQWR1LFDUDJXDDQGIDFHDUUHVW7KH3XEOLF3URVHFXWRU¶V2IILFH
DFFXVHGWKUHHH[LOHG1LFDUDJXDQVRIFRQVSLULQJWRXQGHUPLQHQDWLRQDOLQWHJULW\


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,Q2FWREHUWKH1DWLRQDO$VVHPEO\DSSURYHGWKHSROLWLFDOO\PRWLYDWHG
&\EHUFULPHV/DZZKLFKHVWDEOLVKHVWKHJRYHUQPHQWPD\XVHWKHLQWHUQDWLRQDO
H[WUDGLWLRQV\VWHPWRSXUVXH1LFDUDJXDQVDEURDGZKRFRPPLWVRFDOOHG
F\EHUFULPHV

&LYLO-XGLFLDO3URFHGXUHVDQG5HPHGLHV

,QGLYLGXDOVDQGRUJDQL]DWLRQVPD\ILOHVXLWLQFLYLOFRXUWVWRVHHNGDPDJHVIRU
DOOHJHGKXPDQULJKWVYLRODWLRQVEXWDXWKRULWLHVGLGQRWDOZD\VUHVSHFWFRXUW
GHFLVLRQV

7KHODFNRIDQHIIHFWLYHFLYLOODZV\VWHPUHVXOWHGLQVRPHFLYLOPDWWHUVEHLQJ
SXUVXHGDVFULPLQDOFDVHVZKLFKZHUHRIWHQUHVROYHGPRUHTXLFNO\,QVHYHUDO
LQVWDQFHVLQGLYLGXDOVDQGJURXSVDSSHDOHGWRWKH,QWHU$PHULFDQ&RPPLVVLRQRQ
+XPDQ5LJKWV ,$&+5 ZKLFKSDVVHGWKHLUFDVHVWRWKH,QWHU$PHULFDQ&RXUWRI
+XPDQ5LJKWV7KHJRYHUQPHQWUHJXODUO\GLVPLVVHGRULJQRUHGRUGHUVIURPWKH
,QWHU$PHULFDQ&RXUWRI+XPDQ5LJKWVLQFOXGLQJRUGHUVWRSURWHFWRUUHOHDVH
FHUWDLQSROLWLFDOSULVRQHUV

3URSHUW\6HL]XUHDQG5HVWLWXWLRQ

7KHJRYHUQPHQWUHJXODUO\IDLOHGWRWDNHHIIHFWLYHDFWLRQZLWKUHVSHFWWRVHL]XUH
UHVWLWXWLRQRUFRPSHQVDWLRQRISULYDWHSURSHUW\7KHVHIDLOXUHVZHUHH[DFHUEDWHG
E\WKHVRFLDOXSKHDYDOLQLQZKLFKJURXSVRISHUVRQVLQFOXGLQJPHPEHUVRI
WKH)6/1LOOHJDOO\WRRNRYHUSULYDWHO\RZQHGODQGVZLWKLPSOLFLWDQGH[SOLFLW
VXSSRUWE\PXQLFLSDODQGQDWLRQDORIILFLDOV6RPHODQGVHL]XUHVZHUHSROLWLFDOO\
WDUJHWHGDQGGLUHFWHGDJDLQVWVSHFLILFLQGLYLGXDOVVXFKDVEXVLQHVVRZQHUV
WUDGLWLRQDOO\FRQVLGHUHGLQGHSHQGHQWRUDJDLQVWWKHUXOLQJSDUW\,Q$XJXVWWKH
JRYHUQPHQWVHL]HGWKHKRXVHRILQGHSHQGHQWMRXUQDOLVW3DWULFLD2UR]FRZKLOHVKH
ZDVLQH[LOHDQGSROLFHHYLFWHGKHUSDUHQWVIURPWKHKRXVH2Q6HSWHPEHUWKH
JRYHUQPHQWUHYRNHGDGRQDWLRQRISURSHUW\WRWKH1DWLRQDO3XEOLF
$FFRXQWDQW¶V&ROOHJH7KHUHYRFDWLRQKDSSHQHGVHYHUDOGD\VDIWHUWKH3XEOLF
3URVHFXWRU¶V2IILFHVXPPRQHGWKHFRRUGLQDWRURIWKHFROOHJHIRUTXHVWLRQLQJ
UHJDUGLQJWKHJRYHUQPHQW¶VSROLWLFDOO\PRWLYDWHGPRQH\ODXQGHULQJFDVHDJDLQVWD
IRXQGDWLRQUXQE\DSUHVLGHQWLDOSUHFDQGLGDWH

7KH2IILFHRIWKH$WWRUQH\*HQHUDOURXWLQHO\HLWKHUUHMHFWHGUHTXHVWVWRHYLFW


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LOOHJDORFFXSDQWVRIUHDOSURSHUW\RUIDLOHGWRUHVSRQGWRWKHUHTXHVWVDOWRJHWKHU
1DWLRQDODQGORFDOSROLFHDOVRURXWLQHO\UHIXVHGWRHYLFWLOOHJDORFFXSDQWVRIUHDO
SURSHUW\3ROLFHRIWHQWRRNQRDFWLRQDJDLQVWYLROHQFHSHUSHWUDWHGE\LOOHJDO
RFFXSDQWVZKLOHDFWLQJVZLIWO\DJDLQVWDQ\XVHRIIRUFHE\OHJLWLPDWHSURSHUW\
RZQHUV7KHMXGLFLDOV\VWHPGHOD\HGILQDOGHFLVLRQVRQFDVHVDJDLQVWLOOHJDO
RFFXSDQWV0HPEHUVRIWKHMXGLFLDU\LQFOXGLQJWKRVHDWVHQLRUOHYHOVZHUHZLGHO\
EHOLHYHGWREHFRUUXSWRUVXEMHFWWRSROLWLFDOSUHVVXUH:KHQMXGJHVLVVXHGRUGHUV
LQIDYRURIODQGRZQHUVHQIRUFHPHQWRIFRXUWRUGHUVZDVIUHTXHQWO\VXEMHFWWR
QRQMXGLFLDOFRQVLGHUDWLRQV,QWKHIDFHRIJRYHUQPHQWLQDFWLRQVRPHODQGRZQHUV
ZHUHIRUFHGWRSD\VTXDWWHUVWROHDYHWKHLUUHDOSURSHUW\$VRI6HSWHPEHUQLQH
1*2VVWLOOGLGQRWKDYHDOHJDOUHVROXWLRQRUDQ\W\SHRIFRPSHQVDWLRQDIWHUWKH
1DWLRQDO$VVHPEO\DQQXOOHGWKHLUOHJDOVWDWXVDQGWKHJRYHUQPHQWVHL]HGWKHLU
SURSHUWLHVLQ

I $UELWUDU\RU8QODZIXO,QWHUIHUHQFHZLWK3ULYDF\)DPLO\+RPH
RU&RUUHVSRQGHQFH
7KHODZSURKLELWVDUELWUDU\RUXQODZIXOLQWHUIHUHQFHZLWKSULYDF\IDPLO\KRPH
DQGFRUUHVSRQGHQFH7KHJRYHUQPHQWKRZHYHUIDLOHGWRUHVSHFWWKHVH
SURKLELWLRQV,QVHYHUDOWULDOVDJDLQVWSROLWLFDORSSRVLWLRQPHPEHUVWKH3XEOLF
3URVHFXWRU¶V2IILFHSUHVHQWHGPHVVDJHVHPDLOVDQGGRFXPHQWVH[FKDQJHG
WKURXJKSULYDWHSKRQHVDQGFRPSXWHUVREWDLQHGE\SROLFHWKURXJKUDLGVZLWKRXW
MXGLFLDOZDUUDQWV)6/1JUDVVURRWVRUJDQL]DWLRQVVXFKDVWKH&LWL]HQ3RZHU
&RXQFLOVFROOXGHGZLWKSDUDSROLFHRUSDUW\OR\DOLVWVWRWDUJHWWKHKRPHVRI
SURGHPRFUDF\SURWHVWHUV:LWKRXWDZDUUDQWDQGXQGHUQROHJDODXWKRULW\WKHVH
JURXSVLOOHJDOO\UDLGHGKRPHVDQGGHWDLQHGRFFXSDQWV3ROLFHURXWLQHO\VWDWLRQHG
SROLFHYHKLFOHVDQGRIILFHUVRXWVLGHWKHKRPHVRIRSSRVLWLRQPHPEHUVKDUDVVLQJ
YLVLWRUVDQGRIWHQSURKLELWLQJRSSRVLWLRQPHPEHUVIURPOHDYLQJWKHLUKRXVHV
7KHVHDFWLRQVZHUHZLGHVSUHDGLQODUJHFLWLHVSDUWLFXODUO\0DQDJXD0DWDJDOSD
(VWHOL0DVD\D5LYDV/HRQDQG-LQRWHJD

7KH0LQLVWU\RI+HDOWKFRQWLQXHGWRKROGVHYHUDOEXLOGLQJVVHL]HGE\WKH,QWHULRU
0LQLVWU\LQIURPLQGHSHQGHQWWHOHYLVLRQVWDWLRQ1RWLFLDVDQGQHZV
PDJD]LQH&RQILGHQFLDODQGQLQH1*2VZKHQLWDQQXOOHGWKHOHJDOVWDWXVRIWKH
PHGLDJURXSVDQG1*2V7KHPLQLVWU\RUGHUHGWKHVHL]HGDVVHWVWUDQVIHUUHGWR



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JRYHUQPHQWRZQHUVKLSWRFUHDWHD&RPSUHKHQVLYH$WWHQWLRQDQG5HSDUDWLRQ)XQG
IRUWKH9LFWLPVRI7HUURULVP7KHJRYHUQPHQWFDUULHGRXWWKLVGHIDFWR
FRQILVFDWLRQZLWKRXWIROORZLQJGXHSURFHVVRUSURYLGLQJDSSURSULDWHFRPSHQVDWLRQ
WRWKHODZIXORZQHUV3ROLFHDJDLQUDLGHGWKHRIILFHVDQGWHOHYLVLRQVWXGLRRI
&RQILGHQFLDORQ0D\DFWLQJZLWKRXWDMXGLFLDOZDUUDQWDQGVHL]LQJWHOHYLVLRQ
HTXLSPHQWFRPSXWHUVDQGGRFXPHQWVIURPWKHQHZVRXWOHW

'RPHVWLF1*2V&DWKROLF&KXUFKUHSUHVHQWDWLYHVMRXUQDOLVWVDQGRSSRVLWLRQ
PHPEHUVDOOHJHGWKHJRYHUQPHQWPRQLWRUHGWKHLUHPDLODQGWHOHSKRQH
FRQYHUVDWLRQV&KXUFKUHSUHVHQWDWLYHVDOVRVWDWHGWKHLUVHUPRQVZHUHPRQLWRUHG
$VSDUWRIDFRQWLQXLQJVRFLDOPHGLDFDPSDLJQDJDLQVWSURGHPRFUDF\SURWHVWV
UXOLQJSDUW\PHPEHUVDQGVXSSRUWHUVXVHGVRFLDOPHGLDWRSXEOLVKSHUVRQDO
LQIRUPDWLRQRIKXPDQULJKWVGHIHQGHUVDQGFLYLOVRFLHW\PHPEHUV3URJRYHUQPHQW
VXSSRUWHUVPDUNHGWKHKRXVHVRIFLYLOVRFLHW\PHPEHUVZLWKGHURJDWRU\VOXUVRU
WKUHDWVDQGWKHQSXEOLVKHGSKRWRJUDSKVRIWKHPDUNHGKRXVHVRQVRFLDOPHGLD2Q
VHYHUDORFFDVLRQVWKHPDUNLQJVZHUHDFFRPSDQLHGE\RUOHGWRGHVWUXFWLRQRI
SULYDWHSURSHUW\$OWKRXJKWKHODZSURKLELWVWKHXVHRIGURQHVVRPHPHPEHUVRI
WKHRSSRVLWLRQFODLPHG)6/1VXSSRUWHUVXVHGGURQHVWRVS\RQWKHLUKRXVHV

,QKDELWDQWVLQQRUWKHUQWRZQVSDUWLFXODUO\LQWKHGHSDUWPHQWVRI1XHYD6HJRYLD
-LQRWHJDDQG0DGUL]DVZHOODVWKH5$&1DQGWKH6RXWK&DULEEHDQ$XWRQRPRXV
5HJLRQ 5$&6 DOOHJHGUHSHDWHGJRYHUQPHQWLQWHUURJDWLRQVDQGVHDUFKHVZLWKRXW
FDXVHRUZDUUDQWUHODWHGWRVXSSRVHGVXSSRUWIRUDUPHGJURXSVRUSURGHPRFUDF\
SURWHVWVZKLOHJRYHUQPHQWRIILFLDOVFODLPHGWKH\ZHUHFRQIURQWLQJFRPPRQ
FULPLQDOV6HYHUDORSSRVLWLRQPHPEHUVZKRZHUHIRUPHU&RQWUDVFODLPHGWKH\
ZHUHUHJXODUO\VXUYHLOOHGVWRSSHGDQGGHWDLQHGE\SROLFHIRUTXHVWLRQLQJIRU
VHYHUDOKRXUVXVXDOO\LQFRQQHFWLRQZLWKDOOHJHGFRQWDFWZLWKUHDUPHGJURXSVRU
DQWLJRYHUQPHQWSURWHVWV7KHLQGLYLGXDOVDOVRVDLGSURJRYHUQPHQWV\PSDWKL]HUV
YHUEDOO\WKUHDWHQHGWKHPRXWVLGHWKHLUKRPHVDQGVXUYHLOOHGDQGGHIDFHGWKHLU
KRXVHV

7KHUXOLQJSDUW\UHSRUWHGO\UHTXLUHGFLWL]HQVWRGHPRQVWUDWHSDUW\PHPEHUVKLSWR
REWDLQRUUHWDLQHPSOR\PHQWLQWKHSXEOLFVHFWRUDQGKDYHDFFHVVWRSXEOLFVRFLDO
SURJUDPV




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6HFWLRQ5HVSHFWIRU&LYLO/LEHUWLHV
D )UHHGRPRI([SUHVVLRQ,QFOXGLQJIRU0HPEHUVRIWKH3UHVVDQG
2WKHU0HGLD
7KHODZSURYLGHVIRUIUHHGRPRIH[SUHVVLRQLQFOXGLQJIRUPHPEHUVRIWKHSUHVV
DQGRWKHUPHGLDEXWWKHJRYHUQPHQWGLGQRWUHVSHFWWKLVULJKW5HVWULFWLRQVRQ
SUHVVIUHHGRPWKHDEVHQFHRIDQLQGHSHQGHQWMXGLFLDU\DQGDQRQGHPRFUDWLF
SROLWLFDOV\VWHPFRPELQHGWRLQKLELWIUHHGRPRIH[SUHVVLRQLQFOXGLQJIRUPHPEHUV
RIPHGLD$OWKRXJKWKHODZSURYLGHVWKDWWKHULJKWWRLQIRUPDWLRQPD\QRWEH
VXEMHFWHGWRFHQVRUVKLSWKHJRYHUQPHQWDQGDFWRUVXQGHULWVFRQWUROUHWDOLDWHG
DJDLQVWWKHSUHVVDQGUDGLRDQGWHOHYLVLRQVWDWLRQVE\EORFNLQJWUDQVPLVVLRQV
LPSHGLQJWKHLPSRUWRILQNDQGSDSHUDQGFRPPLWWLQJYLROHQFHDJDLQVWMRXUQDOLVWV
7KHJRYHUQPHQWVRXJKWWRFRQWUROLQIRUPDWLRQRQWKH&29,'SDQGHPLFE\
UHVWULFWLQJQHZVFRYHUDJHDQGEORFNLQJLQGHSHQGHQWPHGLDDFFHVVWRSXEOLFKHDOWK
EULHILQJVDVZHOODVXVLQJJRYHUQPHQWDOLJQHGPHGLDWRSXEOLVKPLVLQIRUPDWLRQ

)UHHGRPRI([SUHVVLRQ7KHJRYHUQPHQWXVHGUHSULVDOVDQG/DZWRUHVWULFW
WKHDELOLW\RILQGLYLGXDOVWRFULWLFL]HWKHJRYHUQPHQW3HUVRQVZKRFULWLFL]HGWKH
JRYHUQPHQWWKHUXOLQJSDUW\RULWVSROLFLHVZHUHVXEMHFWHGWRSROLFHDQGSDUDSROLFH
VXUYHLOODQFHKDUDVVPHQWLPSULVRQPHQWDQGDEXVH%HJLQQLQJLQ0D\WKH
JRYHUQPHQWXVHGWKHODZDVDSUHWH[WWRDUUHVWDQGLPSULVRQSUHVLGHQWLDO
FDQGLGDWHVLQGHSHQGHQWMRXUQDOLVWVFLYLOVRFLHW\PHPEHUVRSSRVLWLRQOHDGHUV
1*2ZRUNHUVVWXGHQWOHDGHUVKXPDQULJKWVGHIHQGHUVIDUPZRUNHUDGYRFDWHVDQG
SULYDWHVHFWRUOHDGHUVZKRFULWLFL]HGWKHJRYHUQPHQW3URJRYHUQPHQWVXSSRUWHUV
FRQVLGHUHGWKHXVHRIWKHQDWLRQDOIODJDQGWKHQDWLRQDOFRORUVRIZKLWHDQGEOXHDV
DFWVRIGHILDQFHDQGDWWDFNHGRSSRVLWLRQDFWLYLVWVIO\LQJWKHIODJRUQDWLRQDOFRORUV

)UHHGRPRI([SUHVVLRQIRU0HPEHUVRIWKH3UHVVDQG2WKHU0HGLD,QFOXGLQJ
2QOLQH0HGLD,QGHSHQGHQWPHGLDZHUHDFWLYHDQGH[SUHVVHGDZLGHYDULHW\RI
YLHZVDOEHLWPDLQO\WKURXJKRQOLQHYHQXHVGXHWRWKHJRYHUQPHQW¶VUHVWULFWLRQV
DQGLQWLPLGDWLRQ,Q-XQHDQG-XO\WKHJRYHUQPHQWDUUHVWHGILYHLQGHSHQGHQW
MRXUQDOLVWVLQFOXGLQJWKUHHSUHVLGHQWLDOSUHFDQGLGDWHVDQGWKHJHQHUDOPDQDJHURI
WKHFRXQWU\¶VODUJHVWSULQWGDLO\QHZVSDSHURQFKDUJHVRI³XQGHUPLQLQJQDWLRQDO
LQWHJULW\´$VRI2FWREHUWKHJHQHUDOPDQDJHUDQGWKUHHRIWKHMRXUQDOLVWVZHUH



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DZDLWLQJWULDOVZKLOHLQSULVRQDQGWZRMRXUQDOLVWVUHPDLQHGXQGHUKRXVHDUUHVW
7KH3XEOLF3URVHFXWRU¶V2IILFHVXPPRQHGDWOHDVWMRXUQDOLVWVDVSDUWRIDQ
LQYHVWLJDWLRQLQWRDOOHJHGPRQH\ODXQGHULQJDJDLQVWWKH9LROHWD%DUULRVGH
&KDPRUUR)RXQGDWLRQDQ1*2WKDWVXSSRUWHGLQGHSHQGHQWPHGLDE\RIIHULQJ
MRXUQDOLVPWUDLQLQJSURJUDPV,QVRPHFDVHVWKHMRXUQDOLVWVKDGUHFHLYHGVHHG
IXQGLQJWRSXUVXHQHZGLJLWDOVWDUWXSVRURWKHUIRUPVRILQGHSHQGHQWMRXUQDOLVP
$WOHDVWMRXUQDOLVWVIOHGLQWRH[LOHGXHWRWKUHDWVRUVXPPRQVIURPWKH3XEOLF
3URVHFXWRU¶V2IILFHZKLFKLQWKHFDVHRIRWKHULQGHSHQGHQWMRXUQDOLVWVDQGSROLWLFDO
RSSRQHQWVUHVXOWHGLQLPSULVRQPHQW

,QGHSHQGHQWPHGLDRXWOHWVH[SHULHQFHGYDQGDOLVPVHL]XUHRIEURDGFDVWHTXLSPHQW
F\EHUDWWDFNVDQGFULPLQDOGHIDPDWLRQFKDUJHV2Q$XJXVWDIWHUDSXEOLF
FRPSODLQWE\WKHQHZVSDSHU/D3UHQVDWKDWWKH&XVWRPV2IILFHKDGZLWKKHOGLWV
SDSHUDQGSULQWLQJPDWHULDOIRUPRQWKVSROLFHUDLGHGWKHQHZVSDSHU¶VKHDGTXDUWHUV
DQGGHWDLQHGWKHJHQHUDOPDQDJHUSUHYHQWLQJKLPIURPDFFHVVLQJOHJDOFRXQVHO
DQGGHWDLQLQJKLPIRUVHYHUDOZHHNVZLWKRXWEULQJLQJKLPEHIRUHDMXGJH3ROLFH
KHOG/D3UHQVDMRXUQDOLVWVDQGVWDIIIRUKRXUVLQVLGHWKHQHZVSDSHU¶VRIILFHVDQG
DOORZHGSURJRYHUQPHQWPHGLDWRHQWHUDQGILOPWKHSROLFHUDLG3ROLFHODWHU
DQQRXQFHGWKHUDLGZDVSDUWRIDQLQYHVWLJDWLRQLQWRWKHQHZVSDSHUIRUPRQH\
ODXQGHULQJDQGWD[HYDVLRQ/D3UHQVDWKHODVWUHPDLQLQJGDLO\SULQWQHZVSDSHU
ZLWKQDWLRQDOGLVWULEXWLRQPRYHGWRRQOLQHRQO\FRQWHQWDQGGLVPLVVHGKDOILWV
HPSOR\HHVLQ6HSWHPEHUEHFDXVHRIJRYHUQPHQWSHUVHFXWLRQ

7KHJRYHUQPHQWUHSHDWHGO\GHQLHGEURDGFDVWLQJOLFHQVHVDQGRWKHUSHUPLWVIRU
LQGHSHQGHQWPHGLD,QGHSHQGHQWQHZVRXWOHWVIDFHGUHVWULFWLRQVRQVSHHFKVXFKDV
QRWEHLQJSHUPLWWHGWRDWWHQGRIILFLDOJRYHUQPHQWHYHQWVEHLQJGHQLHGLQWHUYLHZV
E\JRYHUQPHQWRIILFLDOVDQGUHFHLYLQJOLPLWHGRUQRGLUHFWDFFHVVWRJRYHUQPHQW
LQIRUPDWLRQ2IILFLDOPHGLDKRZHYHUZHUHQRWVLPLODUO\UHVWULFWHG7KH
JRYHUQPHQWSXEOLVKHGIDOVH&29,'GDWDWKDWPLQLPL]HGWKHVSUHDGRIWKH
LOOQHVVLQWKHFRXQWU\,QWHUQDWLRQDOUHSRUWVDQGXQSXEOLVKHGRIILFLDOGRFXPHQWV
VKRZHGWKHJRYHUQPHQWLQWHQWLRQDOO\PLVOHGWKHSXEOLFDERXWWKHVHYHULW\RIWKH
SDQGHPLFWRDYRLGDQHFRQRPLFGRZQWXUQ

,QGHSHQGHQWPHGLDIDFHGRIILFLDODQGXQRIILFLDOUHVWULFWLRQVUHSULVDOVDQG
KDUDVVPHQWEXWWKH\ZHUHQRQHWKHOHVVVXFFHVVIXOLQH[SUHVVLQJDYDULHW\RIYLHZV
-RXUQDOLVWVIURPPDQ\VWDWLRQVZHUHWKUHDWHQHGDQGKDUDVVHGZLWKWKHSXUSRVHRI


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OLPLWLQJWKHLUHGLWRULDOLQGHSHQGHQFH$FFRUGLQJWRD6HSWHPEHUUHSRUWE\WKH
9LROHWD%DUULRVGH&KDPRUURIRXQGDWLRQWLWOHG$VVDXOWRQ,QGHSHQGHQW3UHVVLQ
1LFDUDJXDEHWZHHQ'HFHPEHUDQG-XQHWKHUHZHUHDVVDXOWVRQ
MRXUQDOLVWVZKLOHWKH\SHUIRUPHGWKHLUGXWLHV2IWKRVHDVVDXOWVZHUH
SHUSHWUDWHGDJDLQVWIHPDOHMRXUQDOLVWVDQGLQFOXGHGVH[XDOYLROHQFHDQGWKUHDWVRI
UDSH

6LJQLILFDQWVWDWHLQIOXHQFHRZQHUVKLSDQGFRQWURORYHUWKHPDMRULW\RIPHGLD
RXWOHWVFRQWLQXHG1DWLRQDOWHOHYLVLRQZDVODUJHO\FRQWUROOHGHLWKHUE\EXVLQHVV
DVVRFLDWHVRIWKHSUHVLGHQWRUGLUHFWO\RZQHGDQGDGPLQLVWHUHGE\KLVIDPLO\
PHPEHUV(LJKWRIWKHEDVLFFKDQQHOVDYDLODEOHZHUHXQGHUGLUHFW)6/1
LQIOXHQFHRURZQHGDQGFRQWUROOHGE\SHUVRQVZLWKFORVHWLHVWRWKHJRYHUQPHQW
0HGLDVWDWLRQVRZQHGE\WKHSUHVLGHQWLDOIDPLO\JHQHUDOO\OLPLWHGQHZV
SURJUDPPLQJDQGVHUYHGDVRXWOHWVIRUSURJRYHUQPHQWRU)6/1SURSDJDQGDDQG
FDPSDLJQDGYHUWLVHPHQWV2Q-XQHWKHJRYHUQLQJDXWKRULW\IRU
WHOHFRPPXQLFDWLRQVSXEOLVKHGDGHFUHHREOLJLQJDOOSULYDWHFDEOHVWDWLRQVWRORFNLQ
WKHLUEURDGFDVWVWRRIILFLDOWHOHYLVLRQDQGUDGLRIRUHPHUJHQF\RUVSHFLDOLQWHUHVW
PHVVDJLQJ7KLVGHFUHHFRPSRXQGHGWKHDOUHDG\HVWDEOLVKHGREOLJDWLRQIRURSHQ
DLUWHOHYLVLRQDQGUDGLRVWDWLRQVWRGRWKHVDPH7KLVREOLJDWLRQZDVHQIRUFHGHYHU\
WLPHWKHSUHVLGHQWSDUWLFLSDWHGLQDSXEOLFHYHQWHYHQZKHQLWZDVDSROLWLFDOSDUW\
HYHQW3UHVVDQGKXPDQULJKWVRUJDQL]DWLRQVFODLPHGWKHXVHRIVWDWHIXQGVIRU
RIILFLDOPHGLDDVZHOODVELDVHGGLVWULEXWLRQRIJRYHUQPHQWDGYHUWLVLQJGROODUV
SODFHGLQGHSHQGHQWRXWOHWVDWDQH[WUHPHGLVDGYDQWDJH

9LROHQFHDQG+DUDVVPHQW-RXUQDOLVWVZHUHVXEMHFWWRJRYHUQPHQWYLROHQFH
KDUDVVPHQWDQGGHDWKWKUHDWV)RXUMRXUQDOLVWVUHPDLQHGLQSULVRQWKUHHDIWHUWKH\
LQGLFDWHGWKH\ZRXOGUXQDVSUHVLGHQWLDOFDQGLGDWHVDQGRQHIRUH[SUHVVLQJKLV
YLHZVRQVRFLDOPHGLD7ZRRWKHUVUHPDLQHGXQGHUKRXVHDUUHVW6LQFH0D\PRUH
WKDQMRXUQDOLVWVIOHGLQWRH[LOHZLWKSHQGLQJDFFXVDWLRQVDJDLQVWWKHPIURPWKH
3XEOLF3URVHFXWRU¶V2IILFH$WOHDVWMRXUQDOLVWVKDGDOUHDG\IOHGIROORZLQJWKH
JRYHUQPHQW¶VFUDFNGRZQRQSURWHVWHUVLQ7KH0LQLVWU\RI+HDOWKWRRN
SRVVHVVLRQRIRIILFHVEHORQJLQJWRWHOHYLVLRQVWDWLRQ1RWLFLDVDQGQHZV
PDJD]LQH&RQILGHQFLDOZKLFKKDGEHHQFORVHGDQGXQGHUSROLFHFXVWRG\VLQFHD
UDLGRIWKRVHIDFLOLWLHV

&HQVRUVKLSRU&RQWHQW5HVWULFWLRQV7KHJRYHUQPHQWFRQWLQXHGWRDUELWUDULO\


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SHQDOL]HWKRVHZKRSXEOLVKHGLWHPVFRXQWHUWRWKHUXOLQJSDUW\¶VLGHRORJ\7KH
JRYHUQPHQWUHVWULFWHGDFFHVVWRSXEOLFHYHQWVREOLJDWHGLQGHSHQGHQWSUHVVWRXVH
RIILFLDOPHGLDWRFRYHUSUHVLGHQWLDODFWLYLWLHVDQGDFWLYHO\XVHGWUROOIDUPVWR
DPSOLI\LWVRZQPHVVDJLQJRUDWWDFNLQGHSHQGHQWPHGLDZHEVLWHV,Q1RYHPEHU
0HWD )DFHERRN¶VSDUHQWFRPSDQ\ DQQRXQFHGWKHUHPRYDORIWUROOIDUPVRSHUDWHG
E\WKHJRYHUQPHQWLPSOLFDWLQJWKHWHOHFRPPXQLFDWLRQVUHJXODWRU7(/&25WKH
6XSUHPH&RXUWRI-XVWLFHDQGWKH6RFLDO6HFXULW\,QVWLWXWH

5HVWULFWLRQVLQDFTXLULQJEURDGFDVWOLFHQVHVDQGHTXLSPHQWSUHYHQWHGPHGLDIURP
RSHUDWLQJIUHHO\%HJLQQLQJLQPHGLDRXWOHWVZHUHXQDEOHWRDSSO\IRUQHZ
EURDGFDVWLQJOLFHQVHVZKLOHWKH*HQHUDO/DZ /DZ RQ7HOHFRPPXQLFDWLRQV
ZDVXQGHUUHYLHZLQWKH1DWLRQDO$VVHPEO\7KHJRYHUQPHQWH[WHQGHGWKH
YDOLGLW\RIH[LVWLQJOLFHQVHVLQGHILQLWHO\+XPDQULJKWVJURXSVDQGLQGHSHQGHQW
PHGLDDOVRUHSRUWHGWKDWWKHIDLOXUHWRDSSURYHRUGHQ\/DZUHVXOWHGLQ
XQFHUWDLQW\VXUURXQGLQJWKHSXUFKDVHDQGLPSRUWRIJRRGVUHODWHGWREURDGFDVWLQJ
$VDUHVXOWLQGHSHQGHQWUDGLRRZQHUVFRQWLQXHGWRGHIHUORQJWHUPLQYHVWPHQWV

6RPHLQGHSHQGHQWPHGLDRZQHUVDOVRDOOHJHGWKHJRYHUQPHQWH[HUWHGSUHVVXUHRQ
SULYDWHILUPVWROLPLWDGYHUWLVLQJLQLQGHSHQGHQWPHGLDDOWKRXJKRWKHUREVHUYHUV
EHOLHYHGWKHODFNRIDGYHUWLVLQJZDVWKHUHVXOWRIVHOIFHQVRUVKLSE\SULYDWH
FRPSDQLHVRUDEXVLQHVVGHFLVLRQEDVHGRQFLUFXODWLRQQXPEHUV0DQ\MRXUQDOLVWV
SUDFWLFHGVHOIFHQVRUVKLSIHDULQJHFRQRPLFDQGSK\VLFDOUHSHUFXVVLRQVIRU
LQYHVWLJDWLYHUHSRUWLQJRQFULPHRURIILFLDOFRUUXSWLRQ,QDGGLWLRQPHGLDRXWOHW
RZQHUVH[HUFLVHGVHOIFHQVRUVKLSE\FKRRVLQJQRWWRSXEOLVKQHZVWKDWDIIHFWHG
SXEOLFSHUFHSWLRQVRIWKHJRYHUQPHQWRUWKH)6/1

/LEHO6ODQGHU/DZV,Q)HEUXDU\)6/1DOLJQHGMXGJH-RVH(UQHVWR0DUWLQH]
IRXQGMRXUQDOLVW'DYLG4XLQWDQDJXLOW\RQWUXPSHGXSVODQGHUFKDUJHVDIWHU
4XLQWDQDZDVDFFXVHGE\DVWDIIPHPEHURIDQRIILFLDOWHOHYLVLRQVWDWLRQLQ
$QRWKHU)6/1DOLJQHGMXGJH)DWLPD5RVDOHVGHQLHG4XLQWDQD¶VUHTXHVWIRU
DSSHDOLQ$SULO,Q-XQHDMXGJHGHQLHGDQDSSHDORQEHKDOIRILQGHSHQGHQWUDGLR
VWDWLRQGLUHFWRU.DOXD6DOD]DULQDVODQGHUFDVHEURXJKWDJDLQVW6DOD]DUE\)6/1
PXQLFLSDOZRUNHUV6ODQGHUDQGOLEHODUHERWKSXQLVKDEOHE\ILQHVUDQJLQJIURP
WRWLPHVWKHPLQLPXPGDLO\ZDJH

1DWLRQDO6HFXULW\+XPDQULJKWV1*2VDQGFLYLOVRFLHW\RUJDQL]DWLRQVDUJXHG



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WKH6RYHUHLJQ6HFXULW\/DZH[HPSOLILHGWKHJRYHUQPHQW¶VIDLOXUHWRUHVSHFWFLYLO
OLEHUWLHV$OWKRXJKQRWFLWHGLQVSHFLILFFDVHVWKHODZDSSOLHVWR³DQ\RWKHUIDFWRU
WKDWFUHDWHVGDQJHUWRWKHVHFXULW\RIWKHSHRSOHOLIHIDPLO\DQGFRPPXQLW\DV
ZHOODVWKHVXSUHPHLQWHUHVWVRIWKH1LFDUDJXDQQDWLRQ´7KHJRYHUQPHQWXVHGDQG
WKUHDWHQHGIXUWKHUXVHRIWKH&\EHUFULPHV/DZZKLFKLQFOXGHVDVRQOLQHFULPHV
VRFLDOPHGLDSRVWVGHHPHGGDQJHURXVE\WKHUHJLPHDQGJUDQWVODZHQIRUFHPHQW
DFFHVVWRLQIRUPDWLRQV\VWHPVDQGRWKHUGDWD2Q6HSWHPEHUWKH3XEOLF
3URVHFXWRU¶V2IILFHDFFXVHGLQGLJHQRXVULJKWVDFWLYLVW$PDUX5XL]RIF\EHUFULPHV
DIWHUKHUHSRUWHGH[WHQVLYHO\RQVRFLDOPHGLDDERXWWKHNLOOLQJRILQGLJHQRXV
SHUVRQVE\LQGLYLGXDOVVXVSHFWHGE\KXPDQULJKWVJURXSVWRKDYHWLHVWRWKH
JRYHUQPHQW3HQDOWLHVIRURQOLQHFULPHVLQFOXGHSULVRQWLPHDQGKHIW\ILQHV
GLVSURSRUWLRQDWHWRWKHFULPHVDVEURDGO\GHILQHGE\WKHODZ

$SROLFHUHJXODWLRQUHVWULFWVFULWLFLVPRIJRYHUQPHQWSROLFLHVDQGRIILFLDOVXQGHU
WKHJXLVHRISURWHFWLQJQDWLRQDOVHFXULW\

,QWHUQHW)UHHGRP

7KHUHZHUHFUHGLEOHUHSRUWVWKDWWKHJRYHUQPHQWPRQLWRUHGSULYDWHRQOLQH
FRPPXQLFDWLRQVZLWKRXWDSSURSULDWHOHJDODXWKRULW\DQGLQVRPHFDVHVUHVWULFWHGRU
GLVUXSWHGDFFHVVWRWKHLQWHUQHWRUFHQVRUHGRQOLQHFRQWHQW,QGHSHQGHQWPHGLD
UHSRUWHGWKHJRYHUQPHQWSURYLGHGORJLVWLFDOVXSSRUWIRU³WUROOIDUPV´WKDWURXWLQHO\
FDUULHGRXWF\EHUDWWDFNVDJDLQVWRSSRVLWLRQPHGLDZHEVLWHVDQGVRFLDOPHGLD
DFFRXQWV7UROOVDQGERWVUHSRUWHGO\WUDFNHGRSSRVLWLRQDQGSURJRYHUQPHQWVRFLDO
PHGLDDFFRXQWVWRUHWDOLDWHDJDLQVWXVHUVGHHPHGRSSRQHQWVWRWKHUXOLQJSDUW\DQG
WRDPSOLI\SURJRYHUQPHQWPHVVDJLQJ

6HYHUDO1*2VFODLPHGWKHJRYHUQPHQWPRQLWRUHGWKHLUHPDLODQGRQOLQHDFWLYLW\
ZLWKRXWDSSURSULDWHOHJDODXWKRULW\3DLGJRYHUQPHQWVXSSRUWHUVXVHGVRFLDOPHGLD
DQGZHEVLWHFRPPHQWDU\VSDFHVWRKDUDVVSURPLQHQWPHPEHUVRIFLYLOVRFLHW\
KXPDQULJKWVGHIHQGHUVDQGZHOONQRZQMRXUQDOLVWV

$VSDUWRIDFRQWLQXLQJVRFLDOPHGLDFDPSDLJQDJDLQVWSURGHPRFUDF\SURWHVWV
UXOLQJSDUW\PHPEHUVDQGVXSSRUWHUVXVHGVRFLDOPHGLDWRSXEOLVKSHUVRQDO
LQIRUPDWLRQRIKXPDQULJKWVGHIHQGHUVDQGFLYLOVRFLHW\PHPEHUV&LYLOVRFLHW\
PHPEHUVDOOHJHGJRYHUQPHQWRIILFHVSURYLGHGWKHLQIRUPDWLRQWRSHQDOL]HWKHIUHH



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H[SUHVVLRQRIRSLQLRQV*RYHUQPHQWVXSSRUWHUVDOVRXVHGWKHSHUVRQDOO\
LGHQWLILDEOHLQIRUPDWLRQWRPDUNWKHKRXVHVRIFLYLOVRFLHW\PHPEHUVZLWKHLWKHU
GHURJDWRU\VOXUVRUWKUHDWVWKHQSXEOLVKHGSKRWRJUDSKVRIWKHPDUNHGKRXVHVRQ
VRFLDOPHGLD

$FDGHPLF)UHHGRPDQG&XOWXUDO(YHQWV

7KHUHZHUHJRYHUQPHQWUHVWULFWLRQVRQDFDGHPLFIUHHGRPDQGPDQ\VWXGHQWV
DFDGHPLFVDQGUHVHDUFKHUVUHSRUWHGSUHVVXUHWRFHQVRUWKHPVHOYHV

3XEOLFXQLYHUVLWLHVFRQWLQXHGWRZLWKKROGWKHUHFRUGVRIPDQ\XQLYHUVLW\VWXGHQWV
ZKRSDUWLFLSDWHGLQSURGHPRFUDF\SURWHVWV,QPDQ\FDVHVVWXGHQWVZKRZHQWLQWR
H[LOHFRXOGQRWFRQWLQXHWKHLUVWXGLHVDEURDGZLWKRXWWKHLUUHFRUGV(QWUDQFHVWR
SXEOLFXQLYHUVLWLHVUHPDLQHGXQGHUVXUYHLOODQFHE\SURJRYHUQPHQWJXDUGVRUSROLFH
ZKRUHJXODUO\FKHFNHGYLVLWRUVDQGVHDUFKHGWKHLUEHORQJLQJV±DSUDFWLFHEHJXQ
DIWHUWKHSURGHPRFUDF\SURWHVWVRI

+XPDQULJKWV1*2VDQGFLYLOVRFLHW\JURXSVUHSRUWHGDXWKRULWLHVUHTXLUHGVWXGHQWV
LQHOHPHQWDU\DQGVHFRQGDU\SXEOLFVFKRROVWRSDUWLFLSDWHLQSURJRYHUQPHQWUDOOLHV
ZKLOHVFKRROVZHUHLQVHVVLRQ3ROLWLFDOSURSDJDQGDIRUWKHUXOLQJSDUW\ZDVSRVWHG
LQVLGHSXEOLFVFKRROV7HDFKHURUJDQL]DWLRQVDQG1*2VDOOHJHGFRQWLQXLQJ)6/1
LQWHUIHUHQFHLQWKHVFKRROV\VWHPWKURXJKWKHXVHRIVFKRROIDFLOLWLHVDV)6/1
FDPSDLJQKHDGTXDUWHUVIDYRULWLVPVKRZQWRPHPEHUVRI)6/1\RXWKJURXSVRUWR
FKLOGUHQRI)6/1PHPEHUVSROLWLFL]HGDZDUGLQJRIVFKRODUVKLSVDQGWKHXVHRI
SUR)6/1HGXFDWLRQPDWHULDOV2Q6HSWHPEHUWKH3XEOLF3URVHFXWRU¶V2IILFH
LVVXHGDQDFFXVDWLRQDJDLQVWZULWHUDQGIRUPHUYLFHSUHVLGHQW6HUJLR5DPLUH]IRU
³FRPPLWWLQJDFWVWKDWLQFLWHKDWUHGDQGYLROHQFH´FRQVSLULQJWR³XQGHUPLQH
QDWLRQDOLQWHJULW\´DQGPRQH\ODXQGHULQJ7KH&XVWRPV2IILFHZLWKKHOG
5DPLUH]¶VODWHVWQRYHOHIIHFWLYHO\EDQQLQJLWIURPHQWHULQJWKHFRXQWU\LQDSSDUHQW
UHWDOLDWLRQDQGLQWLPLGDWLRQDJDLQVW5DPLUH]IRUKLVSXEOLFFRPPHQWDU\LQ
LQWHUQDWLRQDOIRUDDJDLQVWWKH)6/1SDUW\WKHSUHVLGHQWDQGWKHYLFHSUHVLGHQW

E )UHHGRPVRI3HDFHIXO$VVHPEO\DQG$VVRFLDWLRQ
7KHJRYHUQPHQWUHVWULFWHGIUHHGRPVRISHDFHIXODVVHPEO\DQGDVVRFLDWLRQ




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)UHHGRPRI3HDFHIXO$VVHPEO\

7KHJRYHUQPHQWGLGQRWUHVSHFWWKHOHJDOULJKWWRSXEOLFDVVHPEO\GHPRQVWUDWLRQ
DQGPRELOL]DWLRQ3URGHPRFUDF\PDUFKHVDQGSURWHVWVFRQWLQXHGWREHEDQQHG
GXULQJWKH\HDU3ROLFHDQGSDUDSROLFHDFWLYHO\SHUVHFXWHGKDUDVVHGDQG
RFFDVLRQDOO\LPSHGHGSULYDWHPHHWLQJVRI1*2VFLYLOVRFLHW\JURXSVDQG
RSSRVLWLRQSROLWLFDORUJDQL]DWLRQV3ROLFHIDLOHGWRSURWHFWSHDFHIXOSURWHVWHUVIURP
DWWDFNVWKH\DOVRFRPPLWWHGDWWDFNVDQGSURYLGHGORJLVWLFDOVXSSRUWWRRWKHU
DWWDFNHUV+XPDQULJKWVRUJDQL]DWLRQVUHSRUWHGSROLFHVWRSSHGWUDIILFIRUDQG
RWKHUZLVHSURWHFWHGSURJRYHUQPHQWGHPRQVWUDWLRQV

3ROLFHURXWLQHO\VXUURXQGHGVXUYHLOOHGDQGWKUHDWHQHGPHHWLQJVRISROLWLFDOSDUWLHV
DQGFLYLOVRFLHW\RUJDQL]DWLRQV3ROLFHHQWHUHGSULYDWHPHHWLQJVSDFHVWRGLVUXSW
JDWKHULQJVRIRSSRVLWLRQSDUWLHVDQGFLYLOVRFLHW\RUJDQL]DWLRQV

)UHHGRPRI$VVRFLDWLRQ

7KHODZSURYLGHVIRUIUHHGRPRIDVVRFLDWLRQLQFOXGLQJWKHULJKWWRRUJDQL]HRU
DIILOLDWHZLWKSROLWLFDOSDUWLHVQHYHUWKHOHVVWKH6XSUHPH(OHFWRUDO&RXQFLODQG
1DWLRQDO$VVHPEO\XVHGWKHLUDFFUHGLWDWLRQSRZHUVIRUSROLWLFDOSXUSRVHV1DWLRQDO
$VVHPEO\DFFUHGLWDWLRQLVPDQGDWRU\IRU1*2VWRUHFHLYHIXQGLQJKDYHEDQN
DFFRXQWVRUOHJDOO\HPSOR\ZRUNHUV7KH0LQLVWU\RIWKH,QWHULRUKDVRYHUVLJKWRI
UHJXODWRU\FRPSOLDQFHE\1*2VDQGSURYLGHVFHUWLILFDWHV0DQ\1*2VWKDW
ZRUNHGRQWRSLFVRIGHPRFUDF\KXPDQULJKWVDQGZRPHQ¶VLVVXHVFRPSODLQHGWKH
PLQLVWU\SXUSRVHIXOO\ZLWKKHOGFHUWLILFDWLRQWRKLQGHUWKHLUZRUNDQGDFFHVVWR
IXQGLQJ

%HJLQQLQJLQ)HEUXDU\WKHJRYHUQPHQWEHJDQHQIRUFLQJWKH)RUHLJQ$JHQWV
/DZZLWKIDUUHDFKLQJLPSOLFDWLRQVIRUHQWLWLHVDQGHPSOR\HHVRIHQWLWLHVUHFHLYLQJ
IXQGLQJIURPRXWVLGHWKHFRXQWU\7KHODZUHTXLUHVDQ\RQHUHFHLYLQJIXQGLQJIURP
IRUHLJQVRXUFHVWRUHJLVWHUZLWKWKH0LQLVWU\RIWKH,QWHULRUDQGSURYLGHPRQWKO\
GHWDLOHGDFFRXQWVRIKRZIXQGVDUHLQWHQGHGWREHXVHG$GGLWLRQDOO\1*2VQHHG
WRSUHVHQWWKHLUOHJDODFFUHGLWDWLRQVXEMHFWWRDQQXDOUHQHZDOE\WKHPLQLVWU\
0DQ\1*2VFRPSODLQHGWKDWWKHPLQLVWU\SXUSRVHIXOO\ZLWKKHOGRUGHOD\HGWKLV
DFFUHGLWDWLRQZKLFKOHGWRWKHORVVRIWKHLUOHJDOVWDWXV,QGLYLGXDOVZKRUHJLVWHUDV
IRUHLJQDJHQWVFDQQRWSDUWLFLSDWHLQLQWHUQDOSROLWLFVRUUXQIRUHOHFWHGSRVLWLRQVIRU



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XSWRRQH\HDUDIWHUEHLQJUHPRYHGIURPWKHUHJLVWU\)DLOXUHWRUHJLVWHUFDQOHDGWR
ILQHVMXGLFLDOIUHH]LQJRIDVVHWVDQGWKHORVVRIOHJDOVWDWXVIRUDVVRFLDWLRQVRU
1*2V7KH9LROHWD%DUULRVGH&KDPRUUR)RXQGDWLRQGHFLGHGWRFORVHEHIRUHWKH
GHDGOLQHWRUHJLVWHUWRDYRLGEHLQJODEHOHGDIRUHLJQDJHQW7KHJRYHUQPHQW
WKURXJKWKH3XEOLF3URVHFXWRU¶V2IILFHDFFXVHGWKH1*2LWVVWDIIDQGWKH
EHQHILFLDULHVRILWVJUDQWVRIPRQH\ODXQGHULQJ8SWRLQGLYLGXDOVLQFOXGLQJ
YHQGRUVFRQVXOWDQWVVWDIIDQGMRXUQDOLVWVZHUHVXPPRQHGIRUWKH
LQYHVWLJDWLRQ6RPH1*2VWDIIUHPDLQHGLPSULVRQHGGXULQJWKHJRYHUQPHQW¶V
GD\LQYHVWLJDWLRQSHULRG,Q-XQHWKHJRYHUQPHQWSODFHG&ULVWLDQD&KDPRUURWKH
IRXQGDWLRQ¶VIRUPHUH[HFXWLYHGLUHFWRUDQGDOHDGLQJRSSRVLWLRQSUHVLGHQWLDO
SUHFDQGLGDWHXQGHUKRXVHDUUHVWRQUHODWHGDFFXVDWLRQVRIPRQH\ODXQGHULQJ

F )UHHGRPRI5HOLJLRQ
6HHWKH'HSDUWPHQWRI6WDWH¶V,QWHUQDWLRQDO5HOLJLRXV)UHHGRP5HSRUWDW
KWWSVZZZVWDWHJRYUHOLJLRXVIUHHGRPUHSRUW

G )UHHGRPRI0RYHPHQWDQGWKH5LJKWWR/HDYHWKH&RXQWU\
7KHODZSURYLGHVIRUIUHHGRPRILQWHUQDOPRYHPHQWIRUHLJQWUDYHOHPLJUDWLRQ
DQGUHSDWULDWLRQEXWWKHJRYHUQPHQWGLGQRWDOZD\VUHVSHFWWKHVHULJKWV2Q-XO\
WKHJRYHUQPHQWGHQLHG/HVWKHU-DYLHU$OHPDQHQWU\WRWKHFRXQWU\GHVSLWH
EHLQJD1LFDUDJXDQFLWL]HQDQGVKRZLQJDYDOLG1LFDUDJXDQSDVVSRUW$OHPDQZDV
RUGHUHGWRIO\RXWRIWKHFRXQWU\WKHVDPHGD\$OHPDQZDVWKHIDWKHURIVWXGHQW
OHDGHU/HVWKHU$OHPDQ$OIDURZKRZDVDUUHVWHGRQ-XO\LQDFUDFNGRZQRQWKH
RSSRVLWLRQ7KHJRYHUQPHQWVWULFWO\FRQWUROOHGWKHHQWU\RISHUVRQVDIILOLDWHGZLWK
VRPHJURXSVVSHFLILFDOO\KXPDQLWDULDQDQGIDLWKEDVHGRUJDQL]DWLRQV7KH
JRYHUQPHQWPD\SUHYHQWWKHGHSDUWXUHRIWUDYHOHUVZLWKSHQGLQJOHJDOFDVHVWKH
JRYHUQPHQWXVHGWKLVDXWKRULW\DJDLQVWLQGLYLGXDOVLQYROYHGLQWKHSROLWLFDO
RSSRVLWLRQDQGPHGLDZKRKDGQRWEHHQFKDUJHGZLWKDQ\FULPHV7KHODZ
UHTXLUHVH[LWYLVDVIRUPLQRUV

,QFRXQWU\0RYHPHQW3ROLFHFRQVLVWHQWO\UHVWULFWHGWKHWUDYHORIRSSRVLWLRQ
PHPEHUVWRFLWLHVRWKHUWKDQWKHLUKRPHWRZQ,QPDQ\FDVHVSROLFHUHVWULFWHGWKH
PRYHPHQWRISROLWLFDORSSRQHQWVRXWVLGHWKHLUKRPHVDOWKRXJKWKHVHLQGLYLGXDOV
GLGQRWKDYHSHQGLQJFKDUJHVDJDLQVWWKHPRUMXGLFLDOO\LPSRVHGUHVWULFWLRQVRQ



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WKHLUPRYHPHQW

)RUHLJQ7UDYHO0LJUDWLRQDXWKRULWLHVFRQILVFDWHGWKHSDVVSRUWVRIDWOHDVW
1LFDUDJXDQVZKRZHUHWU\LQJWROHDYHWKHFRXQWU\$XWKRULWLHVWROGWKHLQGLYLGXDOV
WKDWPLJUDWLRQUHVWULFWLRQVKDGEHHQOHYLHGRQWKHPDOWKRXJKWKHLQGLYLGXDOVKDG
QRIRUPDODFFXVDWLRQVRUFKDUJHVDJDLQVWWKHP

&LWL]HQVKLS2Q$XJXVWWKHUXOLQJ)6/1SDUW\XVHGLWVFRQWURORYHU
JRYHUQPHQWDJHQFLHVWRUHYRNHWKH1LFDUDJXDQQDWLRQDOLW\RIRSSRVLWLRQOHDGHU
&DUPHOOD5RJHUV$PEXUQ DOVRNQRZQDV.LWW\0RQWHUUH\ ZLWKRXWGXHSURFHVV
7KHUXOLQJSDUW\KRZHYHULVVXHGFLWL]HQVKLSWRLGHRORJLFDOO\DOLJQHGIRUHLJQHUV
IOHHLQJFRUUXSWLRQFKDUJHVLQWKHLUFRXQWULHVVXFKDVIRUPHU6DOYDGRUDQSUHVLGHQW
6DOYDGRU6DQFKH]&HUHQDQGVHYHUDORIKLVFORVHIDPLO\PHPEHUVE\SDVVLQJWKH
ODZDQGSURFHGXUHV

H 6WDWXVDQG7UHDWPHQWRI,QWHUQDOO\'LVSODFHG3HUVRQV
$FFRUGLQJWRFRQWDFWVDQGORFDOPHGLDKXQGUHGVRISDUWLFLSDQWVLQWKH
SURGHPRFUDF\SURWHVWVDQGRWKHUVZKRUDQDIRXORIWKH2UWHJDUHJLPHUHPDLQHGLQ
KLGLQJWRHYDGHJRYHUQPHQWSHUVHFXWLRQLQFOXGLQJDUELWUDU\DUUHVWGHWHQWLRQDQG
WRUWXUH7KHVHLQGLYLGXDOVUHSRUWHGEHLQJXQDEOHWRILQGZRUNRUVWXG\GXHWRIHDU
RIJRYHUQPHQWUHSULVDOV$VWKHURRWFDXVHRIWKLVIRUFHGGLVSODFHPHQWWKH
JRYHUQPHQWGLGQRWSURPRWHWKHVDIHYROXQWDU\GLJQLILHGUHWXUQUHVHWWOHPHQWRU
ORFDOLQWHJUDWLRQRILQWHUQDOO\GLVSODFHGSHUVRQV7KHJRYHUQPHQWGRHVQRWKDYH
SROLFLHVDQGSURWHFWLRQVIRULQWHUQDOO\GLVSODFHGSHUVRQVLQOLQHZLWKWKH81
*XLGLQJ3ULQFLSOHVRQ,QWHUQDO'LVSODFHPHQW

I 3URWHFWLRQRI5HIXJHHV
7KHJRYHUQPHQWGRHVQRWFRRSHUDWHZLWKWKH2IILFHRIWKH81+LJK&RPPLVVLRQHU
IRU5HIXJHHVDQGRWKHUKXPDQLWDULDQRUJDQL]DWLRQVLQSURYLGLQJSURWHFWLRQDQG
DVVLVWDQFHWRUHIXJHHVUHWXUQLQJUHIXJHHVDV\OXPVHHNHUVVWDWHOHVVSHUVRQVDQG
RWKHUSHUVRQVRIFRQFHUQ7KHJRYHUQPHQWKDVQRWSURYLGHGXSGDWHGLQIRUPDWLRQ
RQUHIXJHHVRUDV\OXPVHHNHUVVLQFH

$FFHVVWR$V\OXP7KHODZSURYLGHVIRUWKHJUDQWLQJRIDV\OXPRUUHIXJHHVWDWXV
DQGWKHJRYHUQPHQWKDVHVWDEOLVKHGDV\VWHPIRUSURYLGLQJSURWHFWLRQWRUHIXJHHV


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2QO\WKHH[HFXWLYHEUDQFKRUWKHFRXQWU\¶VHPEDVVLHVDEURDGPD\JUDQWDV\OXPIRU
SROLWLFDOSHUVHFXWLRQ7KH1LFDUDJXDQ1DWLRQDO&RPPLVVLRQIRU5HIXJHHVKDVQRW
PHWVLQFH

'XUDEOH6ROXWLRQV7KHJRYHUQPHQWUHFRJQL]HGSHUVRQVDVUHIXJHHVLQ
WKHPRVWUHFHQW\HDUIRUZKLFKLQIRUPDWLRQZDVDYDLODEOH%\\HDU¶VHQGSDUWQHU
DJHQFLHVHVWLPDWHGWKHUHZHUHPRUHWKDQUHIXJHHVRUSHUVRQVLQUHIXJHHOLNH
VLWXDWLRQVLQWKHFRXQWU\

J 6WDWHOHVV3HUVRQV
5HJLVWUDWLRQRIELUWKVLQUXUDODUHDVZDVGLIILFXOWGXHWRVWUXFWXUDOFRQVWUDLQWVDQG
WKHJRYHUQPHQWWRRNQRPHDVXUHVWRDGGUHVVWKLVUHVXOWLQJLQDQXPEHURIGHIDFWR
VWDWHOHVVSHUVRQVLQWKHFRXQWU\ VHHVHFWLRQ&KLOGUHQ 

6HFWLRQ)UHHGRPWR3DUWLFLSDWHLQWKH3ROLWLFDO3URFHVV
:KLOHWKHODZSURYLGHVFLWL]HQVWKHDELOLW\WRFKRRVHWKHLUJRYHUQPHQWLQIUHHDQG
IDLUSHULRGLFHOHFWLRQVEDVHGRQXQLYHUVDODQGHTXDOVXIIUDJHDQGFRQGXFWHGE\
VHFUHWEDOORWWKHJRYHUQPHQWUHVWULFWHGIUHHGRPRIH[SUHVVLRQSHDFHIXODVVHPEO\
DQGDVVRFLDWLRQ,QVWLWXWLRQDOIUDXGDPRQJRWKHUREVWDFOHVSUHFOXGHG
RSSRUWXQLWLHVIRUPHDQLQJIXOFKRLFH

(OHFWLRQVDQG3ROLWLFDO3DUWLFLSDWLRQ
5HFHQW(OHFWLRQV,Q1RYHPEHU3UHVLGHQW2UWHJDDZDUGHGKLPVHOIDIRXUWKWHUP
LQRIILFHIROORZLQJDGHHSO\IODZHGHOHFWRUDOSURFHVVFKDUDFWHUL]HGE\KLVWRULFDOO\
ORZYRWHUWXUQRXW2UWHJDDQGKLV)6/1SDUW\FDQFHOOHGWKHOHJDOUHJLVWUDWLRQRIDOO
FUHGLEOHRSSRVLWLRQSROLWLFDOSDUWLHVMDLOHGRSSRVLWLRQSUHVLGHQWLDOFDQGLGDWHVRQ
VSXULRXVFKDUJHVDQGFRPPLWWHGEODWDQWHOHFWRUDOIUDXG,QGHSHQGHQWREVHUYHU
JURXSVDQGLQWHUQDWLRQDORUJDQL]DWLRQVFKDUDFWHUL]HGWKHHOHFWRUDOSURFHVVDVQRW
FUHGLEOH7KHJRYHUQPHQWGLGQRWDOORZFUHGLEOHLQGHSHQGHQWHOHFWRUDOREVHUYHUV
LQWRWKHFRXQWU\7KHHOHFWLRQVH[SDQGHGWKHUXOLQJSDUW\¶VVXSHUPDMRULW\LQ
WKH1DWLRQDO$VVHPEO\ZKLFKSUHYLRXVO\DOORZHGIRUFKDQJHVLQWKHFRQVWLWXWLRQ
WKDWH[WHQGHGWKHUHDFKRIH[HFXWLYHEUDQFKSRZHUDQGWKHHOLPLQDWLRQRI
UHVWULFWLRQVRQUHHOHFWLRQIRUH[HFXWLYHEUDQFKRIILFLDOVDQGPD\RUV2Q
1RYHPEHUDWRWDORIPHPEHUVWDWHVRIWKH2UJDQL]DWLRQRI$PHULFDQ6WDWHV


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 2$6 YRWHGLQIDYRURIDUHVROXWLRQGHFODULQJWKHHOHFWLRQVZHUH³QRWIUHHIDLURU
WUDQVSDUHQWDQGODFNGHPRFUDWLFOHJLWLPDF\´

7KH&DULEEHDQUHJLRQDODQGPXQLFLSDOHOHFWLRQVZHUHPDUUHGE\
ZLGHVSUHDGLQVWLWXWLRQDOIUDXGDQGKHDY\VHFXULW\IRUFHSUHVHQFH

&LYLOVRFLHW\JURXSVH[SUHVVHGFRQFHUQVRYHUWKHODFNRIDWUDQVSDUHQWDQGIDLU
HOHFWRUDOSURFHVVOHDGLQJXSWRWKHQDWLRQDOHOHFWLRQVWKH&DULEEHDQ
UHJLRQDOHOHFWLRQVDQGWKHPXQLFLSDOHOHFWLRQV(OHFWRUDOH[SHUWVEXVLQHVV
OHDGHUVUHSUHVHQWDWLYHVRIWKH&DWKROLF&KXUFKDQGFLYLOVRFLHW\RUJDQL]DWLRQV
UHSRUWHGWKDWDODFNRIDFFUHGLWHGGRPHVWLFRULQWHUQDWLRQDOREVHUYDWLRQLQDGGLWLRQ
WRWKHUXOLQJSDUW\¶VFRQWURORYHUDOODVSHFWVRIWKHRIILFLDOHOHFWRUDOVWUXFWXUHDQG
DOOEUDQFKHVRIJRYHUQPHQWFRPELQHGWRLPSHGHKROGLQJIUHHDQGIDLUHOHFWLRQV

3ROLWLFDO3DUWLHVDQG3ROLWLFDO3DUWLFLSDWLRQ7KH6XSUHPH(OHFWRUDO&RXQFLO
 &6( DQQRXQFHGRQ0D\WKDWLWKDGFDQFHOOHGWKHOHJDOVWDWXVRIWKHRSSRVLWLRQ
'HPRFUDWLF5HVWRUDWLRQ3DUW\2Q0D\WKH&6(DQQRXQFHGLWFDQFHOOHGWKH
OHJDOVWDWXVWKH&RQVHUYDWLYH3DUW\2Q$XJXVWWKH&6(UHYRNHGWKHOHJDOVWDWXV
RIDWKLUGRSSRVLWLRQSDUW\&LWL]HQVIRU/LEHUW\7KHUHPDLQLQJSROLWLFDOSDUWLHV
ZHUHFRQWUROOHGE\WKH2UWHJDUHJLPHSDYLQJWKHZD\IRU2UWHJDWRUXQXQRSSRVHG
LQWKH1RYHPEHUHOHFWLRQV,QWKH1DWLRQDO$VVHPEO\SDVVHGDODZWKDWEDUV
DQ\RQHIURPUXQQLQJIRURIILFHZKRPWKHJRYHUQPHQWGHVLJQDWHGDVD³WUDLWRU´
GHILQLQJWKHWHUPVREURDGO\WKDWLWFRXOGEHDSSOLHGWRDQ\RQHZKRH[SUHVVHG
RSSRVLWLRQWRWKHUXOLQJSDUW\,Q-XQHWKHUXOLQJSDUW\XVHGWKLVODZWRMDLODWOHDVW
VL[LQGLYLGXDOVZKRKDGVLJQDOHGWKH\ZRXOGUXQDVRSSRVLWLRQSUHVLGHQWLDO
FDQGLGDWHV

7KHJRYHUQPHQWXVHGVWDWHUHVRXUFHVIRUSROLWLFDODFWLYLWLHVWRHQKDQFHWKH)6/1¶V
HOHFWRUDODGYDQWDJHLQUHFHQWHOHFWLRQV,QGHSHQGHQWPHGLDKXPDQULJKWVJURXSV
DQGRSSRVLWLRQSDUWLHVUHSRUWHGWKHJRYHUQPHQWXVHGSXEOLFIXQGVWRSURYLGH
VXEVLGL]HGIRRGKRXVLQJYDFFLQDWLRQVDFFHVVWRFOLQLFVDQGRWKHUEHQHILWVGLUHFWO\
WKURXJKHLWKHU)6/1OHG³IDPLO\FDELQHWV´ FRPPXQLW\EDVHGERGLHVWKDW
DGPLQLVWHUJRYHUQPHQWVRFLDOSURJUDPV RUSDUW\FRQWUROOHG6DQGLQLVWDOHDGHUVKLS
FRPPLWWHH &/6 V\VWHPVZKLFKUHSRUWHGO\FRHUFHGFLWL]HQVLQWR)6/1
PHPEHUVKLSZKLOHGHQ\LQJVHUYLFHVWRRSSRVLWLRQPHPEHUV7KHUHJLPHDOVRPDGH
SDUW\PHPEHUVKLSPDQGDWRU\IRUDQLQFUHDVLQJQXPEHURISXEOLFVHFWRUHPSOR\HHV



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2EVHUYHUVQRWHGJRYHUQPHQWHPSOR\HHVFRQWLQXHGWREHSUHVVXUHGLQWRDIILOLDWLQJ
ZLWKWKH)6/1DQGSDUWLFLSDWLQJLQSDUW\DFWLYLWLHV'XULQJWKH\HDUWKH
JRYHUQPHQWSUHVVXUHGSXEOLFVHUYDQWVWRSDUWLFLSDWHLQPDVVSXEOLFJDWKHULQJV
LQFOXGLQJVSRUWVHYHQWVSROLWLFDOUDOOLHVDQGPDUFKHVGHVSLWHWKHGDQJHUVRI
VSUHDGLQJ&29,'YLDPDVVJDWKHULQJV

7KH)6/1DOVRXVHGLWVDXWKRULW\WRGHFLGHZKRFRXOGREWDLQQDWLRQDOLGHQWLW\
FDUGV3HUVRQVVHHNLQJWRREWDLQRUUHWDLQSXEOLFVHFWRUHPSOR\PHQWQDWLRQDO
LGHQWLW\GRFXPHQWVRUYRWHUUHJLVWUDWLRQZHUHREOLJHGWRREWDLQUHFRPPHQGDWLRQ
OHWWHUVIURP&/6EORFNFDSWDLQV7KRVHZLWKRXWLGHQWLW\FDUGVZHUHXQDEOHWRYRWH
DQGKDGGLIILFXOW\SDUWLFLSDWLQJLQWKHOHJDOHFRQRP\RUFRQGXFWLQJEDQN
WUDQVDFWLRQV6XFKSHUVRQVDOVRZHUHVXEMHFWWRUHVWULFWLRQVLQHPSOR\PHQWDFFHVV
WRFRXUWVDQGODQGRZQHUVKLS&LYLOVRFLHW\RUJDQL]DWLRQVFRQWLQXHGWRH[SUHVV
FRQFHUQDERXWWKHSROLWLFL]HGGLVWULEXWLRQRILGHQWLW\FDUGVDOOHJLQJWKLVZDVRQH
ZD\WKH)6/1PDQLSXODWHGSDVWHOHFWLRQVDQGWKDWWKH&6(IDLOHGWRSURYLGH
LGHQWLW\FDUGVWRRSSRVLWLRQPHPEHUVZKLOHZLGHO\GLVWULEXWLQJWKHPWRSDUW\
OR\DOLVWV

3DUWLFLSDWLRQRI:RPHQDQG0HPEHUVRI0LQRULW\*URXSV1RODZVOLPLW
SDUWLFLSDWLRQRIZRPHQRUPHPEHUVRIPLQRULW\JURXSVLQFOXGLQJSHUVRQVZLWK
GLVDELOLWLHVOHVELDQJD\ELVH[XDOWUDQVJHQGHUTXHHUDQGLQWHUVH[ /*%74, 
SHUVRQVDQGLQGLJHQRXVSHUVRQVLQWKHSROLWLFDOSURFHVVDQGWKH\GLGSDUWLFLSDWH
DOWKRXJKREVHUYHUVQRWHGPRVWZRPHQLQHOHFWHGSRVLWLRQVDWWKHPXQLFLSDODQG
QDWLRQDOOHYHOVKHOGOLPLWHGSRZHURULQIOXHQFHLQWKHLUUHVSHFWLYHERGLHV

6HFWLRQ&RUUXSWLRQDQG/DFNRI7UDQVSDUHQF\LQ
*RYHUQPHQW
7KHODZSURYLGHVFULPLQDOSHQDOWLHVIRUFRUUXSWLRQE\RIILFLDOVDOWKRXJKWKH
JRYHUQPHQWGLGQRWLPSOHPHQWWKHODZHIIHFWLYHO\7KHUHZHUHQXPHURXVUHSRUWV
RIJRYHUQPHQWFRUUXSWLRQGXULQJWKH\HDULQFOXGLQJLQWKHSROLFHIRUFHWKH&6(
WKH6XSUHPH&RXUWFXVWRPVDQGWD[DXWKRULWLHVDQGRWKHUJRYHUQPHQWRUJDQV
7KH6XSUHPH&RXUWDQGORZHUOHYHOFRXUWVUHPDLQHGSDUWLFXODUO\VXVFHSWLEOHWR
EULEHVPDQLSXODWLRQDQGSROLWLFDOLQIOXHQFHHVSHFLDOO\E\WKH)6/1&RPSDQLHV
UHSRUWHGWKDWEULEHU\RISXEOLFRIILFLDOVXQODZIXOVHL]XUHVDQGDUELWUDU\



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DVVHVVPHQWVE\FXVWRPVDQGWD[DXWKRULWLHVZHUHFRPPRQ0XQLFLSDO
JRYHUQPHQWVDQGUHJLRQDOJRYHUQPHQWVRIWKH&DULEEHDQ&RDVWZHUHDOVRSODJXHG
E\FRUUXSWLRQ7KH0DQDJXDPXQLFLSDOJRYHUQPHQWUHSRUWHGO\HQJDJHGLQFRUUXSW
SUDFWLFHVUHODWHGWRLQIUDVWUXFWXUHSURMHFWV

$JHQHUDOVWDWHRISHUPLVVLYHQHVVKLQGHUHGWKHSRVVLELOLW\RIDGGUHVVLQJWKH
SUREOHPHIIHFWLYHO\$ODFNRIVWURQJLQVWLWXWLRQVDZHDNV\VWHPRIFKHFNVDQG
EDODQFHVDQGWKHUHJLPH¶VDEVROXWHFRQWURORIJRYHUQPHQWLQVWLWXWLRQVDOORZHGIRU
FRUUXSWLRQWRFRQWLQXHZLWKLPSXQLW\

&RUUXSWLRQ7KH2IILFHRIWKH&RPSWUROOHUUHVSRQVLEOHIRUFRPEDWLQJFRUUXSWLRQ
ZLWKLQJRYHUQPHQWDJHQFLHVDQGRIILFHVGLGQRWFDUU\RXWDFRPSOHWHYHULILFDWLRQ
RIWKHJRYHUQPHQW¶VIXOOILQDQFLDOVWDWHPHQWV)RUH[DPSOHWKHFRPSWUROOHU
PDLQWDLQHGWKDW$OEDQLVDDSULYDWHFRPSDQ\FRQWUROOHGE\UHJLPHLQVLGHUVWKDW
LPSRUWHGDQGVROG9HQH]XHODQSHWUROHXPSURGXFWVDVZHOODVDVVRFLDWHGUHYHQXH
XQGHUWKH9HQH]XHODRLOFRRSHUDWLRQDJUHHPHQWZDVQRWVXEMHFWWRDXGLWEHFDXVH
WKH1DWLRQDO$VVHPEO\GLGQRWDSSURYHWKHDJUHHPHQW7KH)LQDQFLDO$QDO\VLV
8QLWGLGQRWIXOO\LPSOHPHQWLWVPDQGDWHLQSURVHFXWLQJPRQH\ODXQGHULQJRI
JRYHUQPHQWRIILFLDOVDQGIRFXVHGRQLQYHVWLJDWLQJ3UHVLGHQW2UWHJD¶VSROLWLFDO
RSSRVLWLRQ

([HFXWLYHEUDQFKRIILFLDOVFRQWLQXHGWREHLQYROYHGLQEXVLQHVVHVILQDQFHGE\
HFRQRPLFDQGGHYHORSPHQWDODVVLVWDQFHIXQGVOHQWE\WKH9HQH]XHODQOHG
%ROLYDULDQ$OOLDQFHIRUWKH3HRSOHVRI2XU$PHULFD $/%$ DOORILWRXWVLGHWKH
QRUPDOEXGJHWDU\SURFHVVFRQWUROOHGE\WKHOHJLVODWXUH7KLVLQFOXGHGWKH
1LFDUDJXDQ(OHFWULF7UDQVPLVVLRQ(QWHUSULVHZKLFKIXQQHOHG$/%$IXQGLQJDQG
RWKHURLOEDVHGDVVLVWDQFHLQWRSULYDWHO\RZQHGEXVLQHVVHV0HGLDUHSRUWHGWKDW
FRPSDQLHVOLQNHGWRSUHYLRXV$/%$IXQGHGFRQWUDFWVDQGZLWKOLQNVWRWKH
SUHVLGHQW¶VIDPLO\ZHUHWLJKWO\FRQWUROOHGE\PHPEHUVRI2UWHJD¶VLQQHUFLUFOH
ZLWKOLWWOHSXEOLFRYHUVLJKW&DVHVRIPLVPDQDJHPHQWRIWKHVHIXQGVE\SXEOLF
RIILFLDOVZHUHUHSRUWHGO\KDQGOHGSHUVRQDOO\E\)6/1PHPEHUVDQG3UHVLGHQW
2UWHJD¶VLPPHGLDWHIDPLO\UDWKHUWKDQE\WKHJRYHUQPHQWHQWLWLHVLQFKDUJHRI
SXEOLFIXQGV

6HFWLRQ*RYHUQPHQWDO3RVWXUH7RZDUGV,QWHUQDWLRQDODQG
1RQJRYHUQPHQWDO,QYHVWLJDWLRQRI$OOHJHG$EXVHVRI+XPDQ

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5LJKWV
7KHJRYHUQPHQWLPSRVHGVLJQLILFDQWDQGLQFUHDVLQJEXUGHQVRQWKHOLPLWHGQXPEHU
RIKXPDQULJKWVRUJDQL]DWLRQVLWDOORZHGWRRSHUDWHLQWKHFRXQWU\7KH1LFDUDJXDQ
&HQWHUIRU+XPDQ5LJKWVUHPDLQHGGHSULYHGRILWVOHJDOVWDWXVKLQGHULQJLWVDELOLW\
WRLQYHVWLJDWHKXPDQULJKWVDEXVHV7KH1LFDUDJXDQ3UR+XPDQ5LJKWV
$VVRFLDWLRQFRQWLQXHGWRRSHUDWHIURPH[LOHLQ&RVWD5LFDDQGIRFXVHGPRUHRQWKH
1LFDUDJXDQH[LOHFRPPXQLW\2WKHUKXPDQULJKWVRUJDQL]DWLRQVIDFHGVLJQLILFDQW
KDUDVVPHQWDQGSROLFHVXUYHLOODQFH+XPDQLWDULDQRUJDQL]DWLRQVIDFHGREVWDFOHVWR
RSHUDWLQJRUGHQLDORIHQWU\DQGJRYHUQPHQWRIILFLDOVKDUDVVHGDQGLQWLPLGDWHG
GRPHVWLFDQGLQWHUQDWLRQDO1*2VFULWLFDORIWKHJRYHUQPHQWRUWKH)6/16RPH
1*2VUHSRUWHGJRYHUQPHQWLQWLPLGDWLRQFUHDWHGDFOLPDWHRIIHDULQWHQGHGWR
VXSSUHVVFULWLFLVP

7KHJRYHUQPHQWFRQWLQXHGWRSUHYHQWQRQ)6/1DIILOLDWHG1*2VDQGFLYLOVRFLHW\
JURXSVIURPSDUWLFLSDWLQJLQJRYHUQPHQWVRFLDOSURJUDPVVXFKDV3URJUDPD$PRU
ZKLFKSURYLGHVVRFLDOSURWHFWLRQVWRFKLOGUHQDQGDGROHVFHQWVDQG+DPEUH&HURD
SURJUDPWKDWGLVWULEXWHVOLYHVWRFNIRUVPDOOKROGHUSURGXFWLRQ7KHJRYHUQPHQW
IUHTXHQWO\XVHG)6/1FRQWUROOHGIDPLO\FDELQHWVDQGSDUW\FRQWUROOHG&/6VWR
DGPLQLVWHUWKHVHSURJUDPV*RYHUQPHQWSURJUDPVSXUSRUWHGO\FUHDWHGWRSURYLGH
VXSSRUWIRUYLFWLPVRIWKHYLROHQFHVLQFHEHQHILWHGRQO\)6/1SDUW\
PHPEHUV,QFUHDVHGJRYHUQPHQWUHVWULFWLRQVRQGRPHVWLF1*2V¶DELOLW\WRUHFHLYH
IXQGLQJGLUHFWO\IURPLQWHUQDWLRQDOGRQRUVVHULRXVO\KLQGHUHGWKH1*2V¶DELOLW\WR
RSHUDWH,QDGGLWLRQLQFUHDVHGFRQWURORYHUWKHHQWU\RIIRUHLJQYLVLWRUVRU
YROXQWHHUJURXSVLQWRWKHFRXQWU\KLQGHUHGWKHZRUNRIKXPDQLWDULDQJURXSVDQG
KXPDQULJKWV1*2V7KH6ZHGLVK1*2:H(IIHFWGLVFRQWLQXHGLWVDFWLYLWLHVLQ
WKHFRXQWU\LQ'HFHPEHUDIWHU\HDUVRIKXPDQLWDULDQDLGZRUNFLWLQJGLIILFXOWLHV
LQFRPSO\LQJZLWKWKHIRUHLJQDJHQWVODZ6RPHJURXSVUHSRUWHGGLIILFXOWLHVLQ
PRYLQJGRQDWHGJRRGVWKURXJKFXVWRPVDQGVDLGJRYHUQPHQWRIILFLDOVZHUHUDUHO\
FRRSHUDWLYHRUUHVSRQVLYHWRWKHLUFRPSODLQWV

6HYHUDOGRPHVWLF1*2VUHSRUWHGWKDWWKH0LQLVWU\RIWKH,QWHULRUSXUSRVHIXOO\
GHQLHGUHFHLSWRIWKHLUFRPSOLDQFHGRFXPHQWDWLRQDQGZLWKKHOGRUXQGXO\GHOD\HG
SURYLGLQJFHUWLILFDWLRQVLQRUGHUWRUHYRNHWKHOHJDOVWDWXVRI1*2V1*2VXQGHU
JRYHUQPHQWLQYHVWLJDWLRQUHSRUWHGSUREOHPVDFFHVVLQJWKHMXVWLFHV\VWHPDQG



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GHOD\VLQILOLQJSHWLWLRQVDVZHOODVSUHVVXUHIURPVWDWHDXWKRULWLHV0DQ\1*2V
EHOLHYHGFRPSWUROOHUDQGWD[DXWKRULWLHVDXGLWHGWKHLUDFFRXQWVDVDPHDQVRI
LQWLPLGDWLRQ:KLOHOHJDOO\SHUPLWWHGVSRWDXGLWVZHUHDFRPPRQIRUPRI
KDUDVVPHQWDQGRIWHQXVHGVHOHFWLYHO\DFFRUGLQJWR1*2V1*2VUHSRUWHG
GLIILFXOWLHVLQVFKHGXOLQJPHHWLQJVZLWKDXWKRULWLHVDQGLQUHFHLYLQJRIILFLDO
LQIRUPDWLRQGXHWRDJURZLQJFXOWXUHRIVHFUHF\/RFDO1*2VUHSRUWHGKDYLQJWR
FKDQQHOUHTXHVWVIRUPHHWLQJVZLWKPLQLVWU\RIILFLDOVDQGIRUSXEOLFLQIRUPDWLRQ
WKURXJKWKH0LQLVWU\RI)RUHLJQ$IIDLUV7KHVHUHTXHVWVZHUHJHQHUDOO\QRW
SURFHVVHG1*2VDOVRUHSRUWHGJRYHUQPHQWKRVWLOLW\RUDJJUHVVLRQZKHQ
TXHVWLRQLQJRUVSHDNLQJZLWKRIILFLDOVRQVXEMHFWVVXFKDVFRUUXSWLRQDQGWKHUXOH
RIODZ*URXSVRSSRVLQJWKHFRQVWUXFWLRQRIDSURSRVHGLQWHURFHDQLFFDQDODOVR
UHSRUWHGEHLQJKDUDVVHGDQGSODFHGXQGHUVXUYHLOODQFH7KUHHPHPEHUVRIWKH
)DUPZRUNHU¶V0RYHPHQWRSSRVLQJWKHFDQDOZHUHDUUHVWHGLQFOXGLQJD
SUHVLGHQWLDOSUHFDQGLGDWHDQGPDQ\PRUHIOHGLQWRH[LOH

7KHJRYHUQPHQWHQIRUFHGWKHODZWKDWUHTXLUHVDQ\FLWL]HQZRUNLQJIRU
³JRYHUQPHQWVFRPSDQLHVIRXQGDWLRQVRUIRUHLJQRUJDQL]DWLRQV´WRUHJLVWHUZLWK
WKH,QWHULRU0LQLVWU\UHSRUWPRQWKO\WKHLULQFRPHDQGVSHQGLQJDQGSURYLGHSULRU
QRWLFHRIKRZWKHIRUHLJQIXQGVDUHLQWHQGHGWREHVSHQW7KHODZHVWDEOLVKHV
VDQFWLRQVIRUWKRVHZKRGRQRWUHJLVWHU

7KH8QLWHG1DWLRQVRU2WKHU,QWHUQDWLRQDO%RGLHV7KHJRYHUQPHQWGLGQRW
DOORZWKH2IILFHRIWKH81+LJK&RPPLVVLRQHUIRU+XPDQ5LJKWV 2+&+5 RU
,$&+5WRVHQGZRUNLQJJURXSVWRPRQLWRUWKHKXPDQULJKWVVLWXDWLRQLQWKH
FRXQWU\7KHJRYHUQPHQWGLGQRWFRRSHUDWHZLWKWKHVHJURXSVDVQRWHGLQ
2+&+5DQG,$&+5UHSRUWV

7KHJRYHUQPHQWFRQWLQXHGWREORFNWKHHQWUDQFHRIWKH2$6KLJKOHYHO
FRPPLVVLRQWRKHOSUHVROYHWKHFRXQWU\¶VVRFLRSROLWLFDOFULVLV7KHJRYHUQPHQWGLG
QRWVHQGDUHSUHVHQWDWLYHWRDQ\RIWKH,$&+5VHVVLRQV7KHDWWRUQH\JHQHUDO
SDUWLFLSDWHGLQD0D\,$&+5KHDULQJRQSURWHFWLYHPHDVXUHVDZDUGHGWRWKH
KXPDQULJKWV1*2&(1,'+7KHDWWRUQH\JHQHUDOUHMHFWHGDQ\FODLPVRI
ZURQJGRLQJDQGVWDWHGWKHJRYHUQPHQWZDVDFWLQJDFFRUGLQJWRLWVODZV,QVHYHUDO
LQVWDQFHVSURJRYHUQPHQWVXSSRUWHUVGHWDLQHGRUKDUDVVHGSURWHVWHUVSURWHFWHGE\
,$&+5SUHFDXWLRQDU\PHDVXUHV



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*RYHUQPHQW+XPDQ5LJKWV%RGLHV7KH2IILFHRIWKH2PEXGVPDQIRU+XPDQ
5LJKWVOHGVLQFHE\'DUOLQJ5LRVDVRFLRORJLVWZLWKQRSUHYLRXVKXPDQ
ULJKWVH[SHULHQFHDQG$GROIR-DUTXLQDOVRZLWKQRSUHYLRXVKXPDQULJKWV
H[SHULHQFHZDVSHUFHLYHGDVSROLWLFL]HGDQGLQHIIHFWLYH,QWKH81+XPDQ
5LJKWV&RXQFLOGHPRWHGWKH2IILFHRIWKH2PEXGVPDQIRU+XPDQ5LJKWVIURP
FDWHJRU\$WR%IRULWVODFNRILQGHSHQGHQFH

6HFWLRQ'LVFULPLQDWLRQDQG6RFLHWDO$EXVHV
:RPHQ
5DSHDQG'RPHVWLF9LROHQFH7KHODZFULPLQDOL]HVDOOIRUPVRIUDSHRIPHQRU
ZRPHQUHJDUGOHVVRIWKHUHODWLRQVKLSEHWZHHQWKHYLFWLPDQGWKHDFFXVHG
6HQWHQFHVIRUWKRVHFRQYLFWHGRIUDSHUDQJHIURPHLJKWWR\HDUV¶LPSULVRQPHQW
7KHODZFULPLQDOL]HVGRPHVWLFYLROHQFHDQGSURYLGHVSULVRQVHQWHQFHVUDQJLQJ
IURPRQHWR\HDUV

7KHJRYHUQPHQWIDLOHGWRHQIRUFHUDSHDQGGRPHVWLFYLROHQFHODZVOHDGLQJWR
ZLGHVSUHDGLPSXQLW\DQGUHSRUWVRILQFUHDVHGYLROHQFHIURPUHOHDVHGRIIHQGHUV
HPEROGHQHGE\WKHLUUHOHDVH7KH1*2&DWKROLFVIRUWKH5LJKWVWR'HFLGH
UHSRUWHGWKDWWKHUHZHUHIHPLFLGHVDVRI-XO\PRVWRIWKHPFRPPLWWHGDIWHUWKH
YLFWLPVVXIIHUHGVH[XDOYLROHQFH7KHJRYHUQPHQWFRQWLQXHGWRXVH)6/1OHG
IDPLO\FDELQHWVDQG&/6VLQPHGLDWLRQSURFHVVHVLQFDVHVRIGRPHVWLFYLROHQFH
%RWKSURFHVVHVZHUHSROLWLFL]HGDQGGLGQRWRSHUDWHDFFRUGLQJWRWKHUXOHRIODZ
7KHJRYHUQPHQWHPSOR\HGOLPLWHGSXEOLFHGXFDWLRQVKHOWHUVKRWOLQHV
SV\FKRVRFLDOVHUYLFHVDQGSROLFHWUDLQLQJLQQRPLQDODQGXQVXFFHVVIXODWWHPSWVWR
DGGUHVVWKHSUREOHP

2EVHUYHUVUHSRUWHGDJHQHUDOLQFUHDVHLQVH[XDOFULPHVDQGYLROHQFHDJDLQVWZRPHQ
GXULQJWKH\HDUKRZHYHUGDWDZHUHXQUHOLDEOH1*2VZRUNLQJRQZRPHQ¶VLVVXHV
UHSRUWHGWKDWYLROHQFHDJDLQVWZRPHQUHPDLQHGKLJKDQGWKDWSROLFHJHQHUDOO\
XQGHUVWDWHGLWVVHYHULW\7KHJRYHUQPHQWGLGQRWFRRUGLQDWHZLWKZRPHQ¶VULJKWV
1*2VDQGDFWLYHO\EORFNHGWKHLURSHUDWLRQVDQGDFFHVVWRIXQGLQJ

6H[XDO+DUDVVPHQW7KHODZSURKLELWVVH[XDOKDUDVVPHQWDQGWKRVHFRQYLFWHG
IDFHRQHWRWKUHH\HDUVHQWHQFHVLQSULVRQRUWKUHHWRILYH\HDUVLIWKHYLFWLPLV



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\RXQJHUWKDQ1RLQIRUPDWLRQZDVDYDLODEOHRQJRYHUQPHQWHIIRUWVWRSUHYHQW
RUSURVHFXWHFRPSODLQWVRIVH[XDOKDUDVVPHQW

5HSURGXFWLYH5LJKWV7KHUHZHUHQRUHSRUWVRIFRHUFHGDERUWLRQRULQYROXQWDU\
VWHULOL]DWLRQRQWKHSDUWRIJRYHUQPHQWDXWKRULWLHV

:KLOHWKHUHZHUHQRFXOWXUDOEDUULHUVWKDWDGYHUVHO\DIIHFWHGZRPHQ¶VDFFHVVWR
KHDOWKFDUHVHUYLFHVUXUDOZRPHQ¶VDFFHVVWRKHDOWKFDUHGXULQJSUHJQDQF\DQG
FKLOGELUWKZDVKLQGHUHGE\ORQJGLVWDQFHVWRDSSURSULDWHKHDOWKFDUHIDFLOLWLHVLQ
VFDUFHO\SRSXODWHGDUHDVZLWKSRRUWUDQVSRUWDWLRQLQIUDVWUXFWXUH:RPHQLQVRPH
DUHDVVXFKDVWKH5$&1DQGWKH5$&6ODFNHGZLGHVSUHDGDFFHVVWRPHGLFDOFDUH
RUSURJUDPVDQGPDWHUQDOGHDWKDIIHFWHGSRRUUXUDOZRPHQPRUHWKDQWKHLUXUEDQ
FRXQWHUSDUWV7KLVDOVRDIIHFWHGLQGLJHQRXVDQG$IURGHVFHQGDQWZRPHQLQWKH
5$&1DQGWKH5$&6PRUHWKDQQRQLQGLJHQRXVZRPHQLQRWKHUUHJLRQV,Q
DGGLWLRQDGROHVFHQWVRIWHQIDFHGVRFLDOVWLJPDZKHQVHHNLQJFRQWUDFHSWLRQ
PHWKRGV

7KHJRYHUQPHQWSURYLGHGOLPLWHGDFFHVVWRVH[XDODQGUHSURGXFWLYHKHDOWKVHUYLFHV
IRUVXUYLYRUVRIVH[XDOYLROHQFH7KH0LQLVWU\RI+HDOWKKDGDVWDQGLQJSURWRFRO
IRUWKHSURYLVLRQRIKHDOWKVHUYLFHVWRVXUYLYRUVRIVH[XDOYLROHQFHZKLFKLQFOXGHG
WKHSURYLVLRQRIHPHUJHQF\FRQWUDFHSWLRQZLWKLQILYHGD\VRIWKHDVVDXOWDVZHOODV
WUHDWPHQWRI+,9RUVH[XDOO\WUDQVPLWWHGGLVHDVHV:RPHQ¶VULJKWVRUJDQL]DWLRQV
KRZHYHUFODLPHGWKH0LQLVWU\RI+HDOWKGLGQRWDOZD\VSURYLGHWKLVWUHDWPHQWGXH
WRIHDURIVXEYHUWLQJWKHJRYHUQPHQW¶VVWULFWSUROLIHSROLF\GLUHFWHGE\WKH
SUHVLGHQWDQGYLFHSUHVLGHQW:KLOHQROHJDOEDUULHUVLPSHGHDGROHVFHQWJLUOV¶
DFFHVVWRHGXFDWLRQGXHWRSUHJQDQF\RUPRWKHUKRRGHFRQRPLFKDUGVKLSVDQGD
ODFNRIVRFLDOVDIHW\QHWVWRSURWHFW\RXQJPRWKHUVRIWHQLPSHGHGFRQWLQXHG
HGXFDWLRQIRUSUHJQDQWJLUOVRU\RXQJPRWKHUV

'LVFULPLQDWLRQ7KHODZSURYLGHVIRUJHQGHUHTXDOLW\LQDFFHVVWRHGXFDWLRQ
ODERUULJKWVDQGFLYLOULJKWV1HYHUWKHOHVVZRPHQRIWHQH[SHULHQFHG
GLVFULPLQDWLRQLQHPSOR\PHQWREWDLQLQJFUHGLWDQGUHFHLYLQJHTXDOSD\IRUVLPLODU
ZRUNDVZHOODVLQRZQLQJDQGPDQDJLQJEXVLQHVVHV:KLOHWKHJRYHUQPHQW
HQIRUFHGWKHODZHIIHFWLYHO\LQWKHSXEOLFVHFWRUZRPHQLQSRVLWLRQVRISRZHU
IDFHGOLPLWDWLRQVDQGWKHLUDXWKRULW\ZDVOLPLWHGFRPSDUHGZLWKWKDWRIPHQ)RU
H[DPSOHGHVSLWHDODZWKDWUHTXLUHVHTXDOSDUWLFLSDWLRQRIPHQDQGZRPHQLQ



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HOHFWHGSRVLWLRQVPDOHSROLWLFDOSDUW\OHDGHUVRIWHQPDGHGHFLVLRQVRQSXEOLF
SROLF\ZLWKRXWLQWHUQDOGHEDWHRULQSXWIURPIHPDOHSROLWLFDOOHDGHUV(QIRUFHPHQW
ZDVQRWHIIHFWLYHLQWKHSULYDWHVHFWRURUWKHODUJHULQIRUPDOVHFWRU

6\VWHPLF5DFLDORU(WKQLF9LROHQFHDQG'LVFULPLQDWLRQ
([FOXVLRQDU\WUHDWPHQWEDVHGRQUDFHVNLQFRORUDQGHWKQLFLW\ZDVFRPPRQ
HVSHFLDOO\LQKLJKHULQFRPHXUEDQDUHDV'DUNHUVNLQQHGSHUVRQVRI$IULFDQ
GHVFHQWIURPWKH5$&1DQGWKH5$&6DORQJZLWKRWKHUVDVVXPHGWREHIURP
WKRVHDUHDVH[SHULHQFHGGLVFULPLQDWLRQVXFKDVEHLQJVXEMHFWHGWRH[WUDVHFXULW\
PHDVXUHVDQGLOOHJDOVHDUFKHVE\SROLFH,QGLJHQRXVDQGRWKHUHWKQLFJURXSVIURP
WKH5$&1DQGWKH5$&6DOOHJHGWKDWGLVFULPLQDWRU\DWWLWXGHVWRZDUGHWKQLFDQG
UDFLDOPLQRULWLHVZHUHUHVSRQVLEOHIRUWKHODFNRIJRYHUQPHQWUHVRXUFHVGHYRWHGWR
WKRVHUHJLRQV7KHJRYHUQPHQWIRFXVHGDWWHQWLRQDQGUHVRXUFHVRQPDLQWDLQLQJ
SROLWLFDOFRQWURORYHUGHFLVLRQPDNLQJERGLHVLQWKHUHJLRQVZKHUHPRVWLQGLJHQRXV
JURXSVOLYHG

,QGLJHQRXV3HRSOHV
,QGLJHQRXVSHUVRQVFRQVWLWXWHGDSSUR[LPDWHO\SHUFHQWRIWKHSRSXODWLRQDQGOLYHG
SULPDULO\LQWKH5$&1DQGWKH5$&6'HVSLWHKDYLQJDXWRQRPRXVJRYHUQLQJ
ERGLHVGHFLVLRQVDIIHFWLQJWKHLUODQGVFXOWXUHVWUDGLWLRQVRUWKHH[SORLWDWLRQRI
HQHUJ\PLQHUDOVWLPEHUDQGRWKHUQDWXUDOUHVRXUFHVRQWKHLUODQGVZHUHODUJHO\
PDGHRUDSSURYHGE\QDWLRQDOJRYHUQPHQWDXWKRULWLHVRUE\)6/1UHSUHVHQWDWLYHV
,QGLYLGXDOVIURPILYHPDMRULQGLJHQRXVJURXSV±WKH0LVNLWR6XPR0D\DQJQD
*DULIXQD RI$IUR$PHULQGLDQRULJLQ &UHROHDQG5DPD±WKHDOOHJHGJRYHUQPHQW
GLVFULPLQDWLRQWKURXJKXQGHUUHSUHVHQWDWLRQLQWKHOHJLVODWLYHEUDQFK

1*2VDQGLQGLJHQRXVULJKWVJURXSVGHQRXQFHGWKHLQFUHDVLQJQXPEHURINLOOLQJV
RILQGLJHQRXVSHUVRQVDWWKHKDQGVRIQRQLQGLJHQRXVSRSXODWLRQVHQFURDFKLQJRQ
WKHLUODQGVLQWKH5$&1DQGWKH5$&6DQGWKH\FODLPHGWKHJRYHUQPHQWIDLOHGWR
SURWHFWWKHFLYLODQGSROLWLFDOULJKWVRILQGLJHQRXVFRPPXQLWLHV,Q$XJXVWDUPHG
JROGPLQHUVDWWDFNHGDQDUWLVDQDOJROGPLQLQJVLWHDQGNLOOHGXSWRLQGLJHQRXV
SHUVRQVLQDQHIIRUWWRGULYHLQGLJHQRXVSRSXODWLRQVDZD\IURPWKHVLWH7KHDWWDFN
RFFXUUHGLQWKH6DXQL$VWHUULWRU\LQWKH%RVDZDVSURWHFWHGELRVSKHUH'XULQJWKH
UDLGWKHDWWDFNHUVDOVRUDSHGWZRZRPHQDQGGLVPHPEHUHGVRPHRIWKHERGLHVRI



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WKHLUYLFWLPV3ROLFHDQQRXQFHGWKHDUUHVWVRIWKUHHRILQGLYLGXDOVDFFXVHGRI
WKHFULPHEXWPDQ\REVHUYHUVGRXEWHGWKHJRYHUQPHQW¶VQDUUDWLYHSDUWLFXODUO\
EHFDXVHWKRVHDUUHVWHGZHUHLQGLJHQRXVSHUVRQVLQFOXGLQJDVLEOLQJRIRQHRIWKH
UDSHYLFWLPV6RPHREVHUYHUVDOOHJHGJRYHUQPHQWDQG)6/1LQYROYHPHQWLQWKH
YLROHQFHDJDLQVW0LVNLWRSRSXODWLRQVLQWKH5$&1DORQJWKH&RFR5LYHUHLWKHUE\
IDLOLQJWRGHIHQGLQGLJHQRXVSRSXODWLRQVRUDVDFFRPSOLFHVWRQRQLQGLJHQRXV
JURXSVLQYDGLQJLQGLJHQRXVODQGV,QGLJHQRXVJURXSVFRQWLQXHGWRFRPSODLQRI
ULJKWVYLRODWLRQVLQFRQQHFWLRQZLWKJRYHUQPHQWSODQVWREXLOGDQLQWHURFHDQLF
FDQDOWKURXJKWKHLUWHUULWRU\

,QGLJHQRXVSHUVRQVIURPUXUDODUHDVRIWHQODFNHGELUWKFHUWLILFDWHVLGHQWLW\FDUGV
DQGODQGWLWOHV:KLOHWKHJRYHUQPHQWGLGQRWGHQ\WKHVHULJKWVLIUHTXHVWHGLW
IDYRUHG)6/1SDUW\PHPEHUVRYHURWKHUFRQVWLWXHQWV$GGLWLRQDOO\LQGLJHQRXV
JURXSVDOOHJHGWKHJRYHUQPHQWSURYLGHGLGHQWLW\FDUGVWRRXWVLGHUVZKR
HQFURDFKHGRQLQGLJHQRXVODQGVLQWKH5$&6DQGWKH5$&1OHDGLQJWR
RYHUUHSUHVHQWDWLRQRI)6/1DOLJQHGQRQLQGLJHQRXVSHUVRQVLQUHJLRQDOJRYHUQLQJ
ERGLHV0RVWLQGLJHQRXVLQGLYLGXDOVLQUXUDODUHDVODFNHGDFFHVVWRSXEOLFVHUYLFHV
DQGGHWHULRUDWLQJURDGVKLQGHUHGDFFHVVWRKHDOWKFDUHIRUPDQ\

,QGLJHQRXVZRPHQIDFHGPXOWLSOHOHYHOVRIGLVFULPLQDWLRQEDVHGRQWKHLUHWKQLFLW\
JHQGHUDQGORZHUHFRQRPLFVWDWXV)RUH[DPSOHLQGLJHQRXVZRPHQGRQRW
UHFHLYHPHGLFDODWWHQWLRQHGXFDWLRQSROLFHSURWHFWLRQRUUHSUHVHQWDWLRQLQ
JRYHUQPHQWDWWKHVDPHOHYHODVQRQLQGLJHQRXVZRPHQ

7KURXJKRXWWKH\HDULQGLJHQRXVOHDGHUVDOOHJHGWKDWUHJLRQDODQGQDWLRQDO
JRYHUQPHQWVJUDQWHGORJJLQJDQGPLQLQJFRQFHVVLRQVWRSULYDWHILUPVDQGWR
JRYHUQPHQWDIILOLDWHGEXVLQHVVHVVXFKDV$/%$)RUHVWDOZLWKRXWDGHTXDWH
FRQVXOWDWLRQRIWKHLQGLJHQRXVFRPPXQLW\DQGWKDWORJJLQJDQGPLQLQJFRQWLQXHG
LQYLRODWLRQRIQDWLRQDODXWRQRP\ODZVLQWKH5$&6DQGWKH5$&1

&KLOGUHQ
%LUWK5HJLVWUDWLRQ&LWL]HQVKLSLVGHULYHGE\ELUWKZLWKLQWKHFRXQWU\¶VWHUULWRU\
DQGIURPRQH¶VSDUHQWV/RFDOFLYLOUHJLVWULHVUHJLVWHUELUWKVZLWKLQPRQWKV
DOWKRXJKPDQ\SHUVRQVHVSHFLDOO\LQUXUDODUHDVODFNHGELUWKFHUWLILFDWHV
5HJLVWUDWLRQLQUXUDODUHDVZDVGLIILFXOWGXHWRVWUXFWXUDOFRQVWUDLQWVDQGWKH



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JRYHUQPHQWWRRNQRPHDVXUHVWRDGGUHVVWKLVUHVXOWLQJLQDJURZLQJQXPEHURIGH
IDFWRVWDWHOHVVSHUVRQVLQWKHFRXQWU\3HUVRQVZLWKRXWFLWL]HQVKLSGRFXPHQWVZHUH
XQDEOHWRREWDLQQDWLRQDOLGHQWLW\FDUGVDQGFRQVHTXHQWO\FRXOGQRWYRWHDQGKDG
GLIILFXOW\SDUWLFLSDWLQJLQWKHOHJDOHFRQRP\DQGFRQGXFWLQJEDQNWUDQVDFWLRQV
6XFKSHUVRQVDOVRZHUHVXEMHFWWRUHVWULFWLRQVLQHPSOR\PHQWDFFHVVWRFRXUWVDQG
ODQGRZQHUVKLS

&KLOG$EXVH$FFRUGLQJWRWKHFULPLQDOFRGHSULVRQVHQWHQFHVIRUUDSH
FRPPLWWHGDJDLQVWPLQRUVUDQJHIURPWR\HDUVDQGIRUFKLOGDEXVHIURP
VHYHQWR\HDUV*RYHUQPHQWHIIRUWVZHUHLQVXIILFLHQWWRFRPEDWFKLOGDEXVHDQG
VH[XDOYLROHQFHDJDLQVWPLQRUV+LJKUDWHVRIVH[XDOYLROHQFHDJDLQVWWHHQDJHJLUOV
FRQWULEXWHGWRKLJKUDWHVRIWHHQDJHSUHJQDQF\DFFRUGLQJWR81,&()

&KLOG(DUO\DQG)RUFHG0DUULDJH7KHPLQLPXPOHJDODJHIRUPDUULDJHLV
IRUPHQDQGZRPHQRUZLWKSDUHQWDODXWKRUL]DWLRQ7KHUHZHUHFUHGLEOHUHSRUWV
RIIRUFHGHDUO\PDUULDJHVLQVRPHUXUDOLQGLJHQRXVFRPPXQLWLHV81,&()¶V
6WDWHRIWKH:RUOG¶V&KLOGUHQWKHPRVWUHFHQWGDWDDYDLODEOHUHSRUWHGSHUFHQW
RIZRPHQWR\HDUVRIDJHZHUHPDUULHGRULQDXQLRQE\DJHDQG
SHUFHQWZHUHPDUULHGE\DJH1RLQIRUPDWLRQZDVDYDLODEOHRQJRYHUQPHQW
HIIRUWVWRDGGUHVVRUSUHYHQWIRUFHGDQGHDUO\PDUULDJH

6H[XDO([SORLWDWLRQRI&KLOGUHQ7KHODZSURKLELWVVH[XDOH[SORLWDWLRQLQ
JHQHUDODQGGHVLJQDWHVHQWLFLQJFKLOGUHQRUDGROHVFHQWVWRHQJDJHLQVH[XDODFWLYLW\
DVDQDJJUDYDWLQJFRQGLWLRQ7KHJRYHUQPHQWJHQHUDOO\GLGQRWHQIRUFHWKHODZ
SHUWDLQLQJWRFKLOGVH[WUDIILFNLQJ3HQDOWLHVLQFOXGHWR\HDUVLQSULVRQIRUD
SHUVRQZKRHQWLFHVRUIRUFHVDQ\LQGLYLGXDOWRHQJDJHLQVH[XDODFWLYLW\DQGWR
\HDUVLQSULVRQIRUWKHVDPHDFWVLQYROYLQJFKLOGUHQRUDGROHVFHQWV7KHODZ
GHILQHVVWDWXWRU\UDSHDVVH[XDOUHODWLRQVZLWKFKLOGUHQDJHVRU\RXQJHU

7KHODZDOVRSURKLELWVFKLOGSRUQRJUDSK\DQGWKHJRYHUQPHQWJHQHUDOO\HQIRUFHG
LW7KHSHQDOW\IRULQGXFLQJIDFLOLWDWLQJSURPRWLQJRUXVLQJDPLQRUIRUVH[XDORU
HURWLFSXUSRVHVLVWR\HDUVLQSULVRQ

7KHFRXQWU\ZDVDGHVWLQDWLRQIRUFKLOGVH[WRXULVP7KHODZLPSRVHVDSHQDOW\RI
ILYHWRVHYHQ\HDUVLQSULVRQIRUWKRVHFRQYLFWHGRIFKLOGVH[WRXULVP

,QWHUQDWLRQDO&KLOG$EGXFWLRQV7KHFRXQWU\LVDSDUW\WRWKH+DJXH


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&RQYHQWLRQRQWKH&LYLO$VSHFWVRI,QWHUQDWLRQDO&KLOG$EGXFWLRQ6HHWKH
'HSDUWPHQWRI6WDWH¶V$QQXDO5HSRUWRQ,QWHUQDWLRQDO3DUHQWDO&KLOG$EGXFWLRQDW
KWWSVWUDYHOVWDWHJRYFRQWHQWWUDYHOHQ,QWHUQDWLRQDO3DUHQWDO&KLOG
$EGXFWLRQIRUSURYLGHUVOHJDOUHSRUWVDQGGDWDUHSRUWHGFDVHVKWPO

$QWL6HPLWLVP
7KHFRXQWU\KDVDYHU\VPDOO-HZLVKSRSXODWLRQ7KHUHZHUHQRNQRZQUHSRUWVRI
DQWL6HPLWLFDFWV

7UDIILFNLQJLQ3HUVRQV
6HHWKH'HSDUWPHQWRI6WDWH¶V7UDIILFNLQJLQ3HUVRQV5HSRUWDW
KWWSVZZZVWDWHJRYWUDIILFNLQJLQSHUVRQVUHSRUW

3HUVRQVZLWK'LVDELOLWLHV
7KHODZUHTXLUHVSHUVRQVZLWKGLVDELOLWLHVWRKDYHDFFHVVWRHGXFDWLRQKHDOWK
VHUYLFHVSXEOLFEXLOGLQJVDQGWUDQVSRUWDWLRQDOWKRXJKWKLVGLGQRWRFFXULQ
SUDFWLFH3HUVRQVZLWKGLVDELOLWLHVIDFHGVHYHUHSUREOHPVDFFHVVLQJVFKRROVSXEOLF
KHDOWKIDFLOLWLHVDQGRWKHULQVWLWXWLRQV&KLOGUHQZLWKGLVDELOLWLHVDWWHQGHGVFKRROV
ZLWKQRQGLVDEOHGSHHUVVSHFLDOL]HGVFKRROPDWHULDOVZHUHQRWUHDGLO\DYDLODEOHDQG
RQRFFDVLRQZHUHEORFNHGE\WKH0LQLVWU\RI(GXFDWLRQ$QHFGRWDOHYLGHQFH
VXJJHVWHGWKDWFKLOGUHQZLWKGLVDELOLWLHVFRPSOHWHGVHFRQGDU\HGXFDWLRQDWD
VLJQLILFDQWO\ORZHUUDWHWKDQRWKHUFKLOGUHQ3XEOLFVFKRROVZHUHUDUHO\ZHOO
HTXLSSHGDQGWHDFKHUVZHUHSRRUO\WUDLQHGLQSURYLGLQJDSSURSULDWHDWWHQWLRQWR
FKLOGUHQZLWKGLVDELOLWLHV3ROLFHVWDWLRQVDQGSXEOLFKHDOWKFDUHIDFLOLWLHVGLGQRW
KDYHVWDIIWUDLQHGLQVLJQODQJXDJHPDNLQJSHUVRQVZLWKKHDULQJGLVDELOLWLHV
GHSHQGHQWRQFDUHWDNHUV0DQ\YRWLQJIDFLOLWLHVZHUHQRWDFFHVVLEOH$GYRFDWHV
IRUSHUVRQVZLWKGLVDELOLWLHVFRPSODLQHGRIDODFNRIDFFHVVLEOHSXEOLF
WUDQVSRUWDWLRQ6RPHSHUVRQVZLWKGLVDELOLWLHVUHSRUWHGWD[LGULYHUVRIWHQUHIXVHG
WKHPVHUYLFHGXHWRWKHSHUFHLYHGH[WUDEXUGHQRQWKHGULYHUWRDLGFXVWRPHUVZLWK
GLVDELOLWLHV$GYRFDWHVIRUSHUVRQVZLWKGLVDELOLWLHVFODLPHGLQWHUSUHWHUVIRUWKH
GHDIZHUHQRWDFFHVVLEOHDWVFKRROVDQGXQLYHUVLWLHVPDNLQJLWGLIILFXOWIRUWKHVH
SHUVRQVWRREWDLQHGXFDWLRQ*RYHUQPHQWFOLQLFVDQGKRVSLWDOVSURYLGHGFDUHIRU
YHWHUDQVDQGRWKHUSHUVRQVZLWKGLVDELOLWLHVEXWWKHTXDOLW\RIFDUHZDVJHQHUDOO\



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SRRU

'LVFULPLQDWLRQDJDLQVWSHUVRQVZLWKSK\VLFDOVHQVRU\LQWHOOHFWXDODQGPHQWDO
GLVDELOLWLHVZDVZLGHVSUHDGGHVSLWHEHLQJSURKLELWHGE\ODZ/DZVUHODWHGWR
SHUVRQVZLWKGLVDELOLWLHVGRQRWVWLSXODWHSHQDOWLHVIRUQRQFRPSOLDQFHDOWKRXJK
SHQDOWLHVPD\EHLVVXHGXQGHUWKHJHQHUDOODERULQVSHFWLRQFRGH7KH0LQLVWU\RI
WKH)DPLO\0LQLVWU\RI/DERUDQG+XPDQ5LJKWV2IILFHDUHDPRQJJRYHUQPHQW
DJHQFLHVUHVSRQVLEOHIRUWKHSURWHFWLRQDQGDGYDQFHPHQWRIULJKWVRISHUVRQVZLWK
GLVDELOLWLHV7KHJRYHUQPHQWGLGQRWHQIRUFHWKHODZHIIHFWLYHO\GLGQRWPDQGDWH
DFFHVVLELOLW\WREXLOGLQJVLQIRUPDWLRQDQGFRPPXQLFDWLRQVDQGGLGQRWPDNH
LQIRUPDWLRQDYDLODEOHRQHIIRUWVWRLPSURYHUHVSHFWIRUWKHULJKWVRISHUVRQVZLWK
GLVDELOLWLHV$GYRFDF\RUJDQL]DWLRQVIRUSHUVRQVZLWKGLVDELOLWLHVUHSRUWHGSHUVRQV
ZLWKGLVDELOLWLHVDFFRXQWHGIRUOHVVWKDQSHUFHQWRISXEOLFVHFWRUHPSOR\HHV
GHVSLWHWKHOHJDOO\PDQGDWHGPLQLPXPUHSUHVHQWDWLRQRISHUFHQW)XUWKHUUHSRUWV
LQGLFDWHGSXEOLFLQVWLWXWLRQVGLGQRWVXIILFLHQWO\FRRUGLQDWHZLWKWKH/DERU0LQLVWU\
WRDFFRPPRGDWHSHUVRQVZLWKGLVDELOLWLHVLQWKHZRUNSODFH:KLOHWKHUHZHUHQR
RIILFLDOUHSRUWVRIYLROHQFHKDUDVVPHQWRULQWLPLGDWLRQDJDLQVWSHUVRQVZLWK
GLVDELOLWLHVE\JRYHUQPHQWRIILFLDOVWKHUHZHUHVHYHUDODQHFGRWDOUHSRUWVRI
YLROHQFHDQGKDUDVVPHQW7KHVHLQFLGHQWVJHQHUDOO\ZHQWXQUHSRUWHGPDLQO\
EHFDXVHYLFWLPVGLGQRWZDQWWRIDFHWKHEXUGHQVRPHSURFHVVRIILOLQJDFRPSODLQW

+,9DQG$,'66RFLDO6WLJPD
7KHODZSURYLGHVVSHFLILFSURWHFWLRQVIRUSHUVRQVZLWK+,9RU$,'6DJDLQVW
GLVFULPLQDWLRQLQHPSOR\PHQWDQGKHDOWKVHUYLFHVEXWVXFKSHUVRQVFRQWLQXHGWR
VXIIHUVRFLHWDOGLVFULPLQDWLRQ$QDGPLQLVWUDWLYHUHVROXWLRQLVVXHGE\WKH0LQLVWU\
RI+HDOWKFRQWLQXHGLQHIIHFWGHFODULQJWKDW+,9$,'6SDWLHQWVVKRXOGQRWVXIIHU
GLVFULPLQDWLRQDQGPDNLQJDYDLODEOHDFRPSODLQWVRIILFH

$FWVRI9LROHQFH&ULPLQDOL]DWLRQDQG2WKHU$EXVHV%DVHGRQ
6H[XDO2ULHQWDWLRQDQG*HQGHU,GHQWLW\
/*%74,JURXSVUHSRUWHGGLVFULPLQDWLRQDODFNRIDFFHVVWRMXVWLFHDQGDODFNRI
UHVSRQVHIURPSROLFH7KHJRYHUQPHQWDQG)6/1VXSSRUWHUVIUHTXHQWO\WDUJHWHG
/*%74,SDUWLFLSDQWVLQFLYLOSURWHVWVLQSDUWLFXODUXVLQJRQOLQHVPHDUFDPSDLJQV
DQGSK\VLFDODWWDFNVLQVRPHFDVHV/*%74,RSSRVLWLRQPHPEHUVZHUH



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SDUWLFXODUO\WDUJHWHGZLWKVH[XDOYLROHQFHE\SROLFHSDUDSROLFHDQG
SURJRYHUQPHQWVXSSRUWHUV7KH2EVHUYDWRU\IRU+XPDQ5LJKWV9LRODWLRQV$JDLQVW
/*%74,3HUVRQVVWDWHGWKHUHZHUHDWWDFNVDJDLQVW/*%74,LQWKHILUVWVL[
PRQWKVRIWKH\HDURQHKDOIDJDLQVWWUDQVJHQGHUZRPHQ/*%74,DFWLYLVWVVDLG
/*%74,SROLWLFDOSULVRQHUVKLGWKHLURULHQWDWLRQIHDULQJLQFUHDVHGDEXVHIURP
SULVRQJXDUGV5HOLDEOHGDWDRQWKHEUHDGWKRIVXFKGLVFULPLQDWLRQZHUHQRW
DYDLODEOH1RVSHFLILFODZVH[LVWWRSXQLVKKDWHFULPHVDJDLQVW/*%74,SHUVRQV

7UDQVJHQGHUZRPHQGHWDLQHGIRUSDUWLFLSDWLQJLQSURGHPRFUDF\SURWHVWVZHUH
SDUWLFXODUO\KDUDVVHGZKLOHLQFXVWRG\7KH\ZHUHKHOGZLWKPDOHLQPDWHVIRUFHG
WRVWULSLQIURQWRIWKHLUSHHUVDQGVSHFLILFDOO\KDUDQJXHGE\JXDUGV7KHODZGRHV
QRWUHFRJQL]HWKHULJKWWRJHQGHULGHQWLW\VHOIGHWHUPLQDWLRQDQGDVVXFKWKH
SHQLWHQWLDU\V\VWHPLVQRWUHTXLUHGWRVHSDUDWHLQPDWHVEDVHGRQJHQGHULGHQWLW\
&HOLD&UX]DSROLWLFDOSULVRQHUDQGWUDQVJHQGHUZRPDQZDVJLYHQDPQHVW\DQG
UHOHDVHGLQ$SULODOWKRXJKKHUWULDOFRQWLQXHGDQGDQDSSHDOVFRXUWUDWLILHGKHU
JXLOW\VHQWHQFHLQ-XQH

$OWKRXJKLWGRHVQRWPHQWLRQVH[XDORULHQWDWLRQDQGJHQGHULGHQWLW\VSHFLILFDOO\
WKHODZVWDWHVDOOSHUVRQVDUHHTXDOEHIRUHWKHODZDQGSURYLGHVIRUWKHULJKWWR
HTXDOSURWHFWLRQ1RODZVVSHFLILFDOO\FULPLQDOL]HFRQVHQVXDOVDPHVH[VH[XDO
FRQGXFWEHWZHHQDGXOWV/*%74,SHUVRQVKRZHYHUFRQWLQXHGWRIDFH
ZLGHVSUHDGVRFLHWDOGLVFULPLQDWLRQDQGDEXVHSDUWLFXODUO\LQKRXVLQJHGXFDWLRQ
DQGHPSOR\PHQW/*%74,RUJDQL]DWLRQVFRQWLQXHGWRFRPSODLQWKHODZFXUWDLOHG
WKHULJKWVRI/*%74,KRXVHKROGVE\GHILQLQJIDPLOLHVDVQHFHVVDULO\KHDGHGE\D
PDQDQGDZRPDQWKLVGHILQLWLRQSDUWLFXODUO\DIIHFWHG/*%74,KRXVHKROGV¶
DFFHVVWRVRFLDOVHFXULW\VXUYLYRUEHQHILWVDQGDGRSWLRQULJKWV

6HFWLRQ:RUNHU5LJKWV
D )UHHGRPRI$VVRFLDWLRQDQGWKH5LJKWWR&ROOHFWLYH%DUJDLQLQJ
7KHODZSURYLGHVIRUWKHULJKWRIDOOZRUNHUVLQWKHSXEOLFDQGSULYDWHVHFWRUV
H[FHSWIRUWKRVHLQWKHPLOLWDU\DQGSROLFHWRIRUPDQGMRLQLQGHSHQGHQWXQLRQVRI
WKHLUFKRLFHZLWKRXWSULRUDXWKRUL]DWLRQDQGWREDUJDLQFROOHFWLYHO\7KH
JRYHUQPHQW¶VFRQWURORIDOOPDMRUXQLRQVHIIHFWLYHO\QXOOLILHGWKRVHULJKWV7KH
UXOLQJSDUW\XVHGLWVFRQWURORYHUPDMRUXQLRQVWRKDUDVVDQGLQWLPLGDWHZRUNHUVLQ



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VHYHUDOVHFWRUVLQFOXGLQJHGXFDWLRQKHDOWKFDUHWKHSXEOLFVHFWRUDQGIUHHWUDGH
]RQHV7KHFRQVWLWXWLRQUHFRJQL]HVWKHULJKWWRVWULNHDOWKRXJKLWSODFHVVRPH
UHVWULFWLRQV7KHODZSURKLELWVDQWLXQLRQGLVFULPLQDWLRQEXWGRHVQRWSURYLGHIRU
PHDVXUHVWRSURWHFWDJDLQVWULJKWVYLRODWLRQ%XUGHQVRPHDQGOHQJWK\FRQFLOLDWLRQ
SURFHGXUHVDQGJRYHUQPHQWFRQWURORIDOOPDMRUXQLRQVLPSHGHGZRUNHUV¶DELOLW\WR
FDOOVWULNHV,QVPDOOHUEXVLQHVVHVZKHUHPDMRUXQLRQVZHUHQRWSUHVHQWWKH
JRYHUQPHQWFUHDWHGSDUDOOHOODERUXQLRQVWRFRQIXVHDQGGLIIXVHHIIRUWVWRRUJDQL]H
VWULNHVRURWKHUODERUDFWLRQV,QDGGLWLRQLIDVWULNHFRQWLQXHVIRUGD\VZLWKRXW
UHVROXWLRQWKH0LQLVWU\RI/DERUPD\VXVSHQGWKHVWULNHDQGVXEPLWWKHPDWWHUWR
DUELWUDWLRQ

&ROOHFWLYHEDUJDLQLQJDJUHHPHQWVODVWXSWRWZR\HDUVDQGDUHDXWRPDWLFDOO\
UHQHZHGLIQHLWKHUSDUW\UHTXHVWVLWVUHYLVLRQ&ROOHFWLYHEDUJDLQLQJDJUHHPHQWVLQ
WKHIUHHWUDGH]RQHUHJLRQVKRZHYHUDUHIRUILYH\HDUSHULRGV&RPSDQLHVLQ
GLVSXWHVZLWKWKHLUHPSOR\HHVPXVWQHJRWLDWHZLWKWKHHPSOR\HHV¶XQLRQLIRQH
H[LVWV%\ODZVHYHUDOXQLRQVPD\FRH[LVWDWDQ\RQHHQWHUSULVHDQGWKHODZ
SHUPLWVPDQDJHPHQWWRVLJQVHSDUDWHFROOHFWLYHEDUJDLQLQJDJUHHPHQWVZLWKHDFK
XQLRQ

7KHJRYHUQPHQWVRXJKWWRIRVWHUUHVROXWLRQRIODERUFRQIOLFWVWKURXJKLQIRUPDO
QHJRWLDWLRQVUDWKHUWKDQIRUPDODGPLQLVWUDWLYHRUMXGLFLDOSURFHVVHV7KHODZGRHV
QRWHVWDEOLVKVSHFLILFILQHVIRUODERUODZYLRODWLRQVDQGSHQDOWLHVZHUH
FRPPHQVXUDWHZLWKWKRVHIRURWKHUODZVLQYROYLQJGHQLDOVRIFLYLOULJKWVVXFKDV
GLVFULPLQDWLRQ$OWKRXJKWKHODZHVWDEOLVKHVDODERUFRXUWDUELWUDWLRQSURFHVVLW
ZDVVXEMHFWWRORQJZDLWWLPHVDQGOHQJWK\DQGFRPSOLFDWHGSURFHGXUHVDQGPDQ\
ODERUGLVSXWHVZHUHUHVROYHGRXWRIFRXUW

)UHHGRPRIDVVRFLDWLRQDQGWKHULJKWWRFROOHFWLYHEDUJDLQLQJZHUHQRWUHVSHFWHG
DQGWKHJRYHUQPHQWRIWHQLQWHUYHQHGIRUSROLWLFDOUHDVRQV7KHJRYHUQPHQWGLGQRW
HIIHFWLYHO\HQIRUFHWKHODZV0RVWODERUXQLRQVZHUHKLVWRULFDOO\DOOLHGZLWK
SROLWLFDOSDUWLHVEXWLQUHFHQW\HDUVWKHJRYHUQPHQWUHSRUWHGO\GLVVROYHGXQLRQV
DQGILUHGZRUNHUVQRWDVVRFLDWHGZLWKWKHUXOLQJ)6/1,QGHSHQGHQWODERUH[SHUWV
UHSRUWHGWKH0LQLVWU\RI/DERUGHQLHGRUXQGXO\GHOD\HGSURYLGLQJOHJDO
UHFRJQLWLRQWRXQLRQVWKDWZHUHQRWDOLJQHGZLWKWKH)6/1

3ROLWLFDOO\PRWLYDWHGILULQJVFRQWLQXHGWREHDSUREOHP0RVWRIWKHGRFWRUVDQG



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XQLYHUVLW\VWDIIIURPWKHSXEOLFVHFWRUILUHGIRUSROLWLFDOUHDVRQVVLQFHKDGQRW
UHFHLYHGVHYHUDQFHSD\DVRI6HSWHPEHU/DERUH[SHUWVKLJKOLJKWHGVLPLODU
LQVWDQFHVRISXEOLFVHFWRUHPSOR\HHVEHLQJILUHGZLWKRXWUHFHLYLQJVHYHUDQFHSD\
)6/1SDUW\DIILOLDWLRQRUOHWWHUVRIUHFRPPHQGDWLRQIURPSDUW\VHFUHWDULHVIDPLO\
FDELQHWFRRUGLQDWRUVRURWKHUSDUW\RIILFLDOVZHUHDOOHJHGO\UHTXLUHGIURP
DSSOLFDQWVVHHNLQJSXEOLFVHFWRUMREV

7KHJRYHUQPHQWUHVWULFWHGWKHRUJDQL]LQJRIWUDGHXQLRQVDQGWHDFKHUVSHUFHLYHGWR
EHLQRSSRVLWLRQWRWKHJRYHUQPHQW

7KHUHZHUHQRNQRZQGRFXPHQWHGLQVWDQFHVRIVWULNHVEHLQJGHFODUHGLOOHJDO
8QGHUWKHODZGXULQJDVWULNHHPSOR\HUVPD\QRWKLUHUHSODFHPHQWZRUNHUVEXW
XQLRQVDOOHJHGWKLVSUDFWLFHZDVFRPPRQ:LOGFDWVWULNHV±WKRVHZLWKRXWXQLRQ
DXWKRUL]DWLRQ±ZHUHKLVWRULFDOO\FRPPRQ

(PSOR\HUVLQWHUIHUHGLQWKHIXQFWLRQLQJRIZRUNHUV¶RUJDQL]DWLRQVDQGFRPPLWWHG
RWKHUYLRODWLRQVUHODWHGWRIUHHGRPRIDVVRFLDWLRQDQGFROOHFWLYHEDUJDLQLQJ/DERU
OHDGHUVQRWHGHPSOR\HUVURXWLQHO\YLRODWHGFROOHFWLYHEDUJDLQLQJDJUHHPHQWVDQG
ODERUODZVZLWKLPSXQLW\

2IILFLDOXQLRQIHGHUDWLRQVZHUHDFFXVHGRISURWHFWLQJHPSOR\HULQWHUHVWVE\
LGHQWLI\LQJDQGLVRODWLQJZRUNHUVZKRDWWHPSWHGWRRUJDQL]HDVZHOODVIUXVWUDWLQJ
VXFKDWWHPSWVWKURXJKDUELWUDU\SURFHGXUDOEDUULHUVWKDWGHOD\DSSURYDOSURFHVVHV
)HGHUDWLRQVDOVRSHUPLWWHGLOOHJDOILULQJVRIZRUNHUVZKRWULHGWRRUJDQL]H
WKHPVHOYHVWKHZRUNHUVIDFHGUHWDOLDWLRQDQGSHUPDQHQWH[FOXVLRQIURPMREVLQWKH
IUHHWUDGH]RQHV

0DQ\HPSOR\HUVLQWKHIRUPDOVHFWRUFRQWLQXHGWREODFNOLVWRUILUHXQLRQPHPEHUV
DQGGLGQRWUHLQVWDWHWKHP0DQ\RIWKHVHFDVHVGLGQRWUHDFKWKHFRXUWV\VWHPRUD
PHGLDWLRQSURFHVVOHGE\WKH0LQLVWU\RI/DERU(PSOR\HUVRIWHQGHOD\HG
VHYHUDQFHSD\PHQWVWRILUHGZRUNHUVRURPLWWHGWKHSD\PHQWVDOWRJHWKHU
(PSOR\HUVDOVRDYRLGHGOHJDOSHQDOWLHVE\RUJDQL]LQJHPSOR\HUOHGXQLRQVODFNLQJ
LQGHSHQGHQFHDQGE\IUHTXHQWO\XVLQJFRQWUDFWZRUNHUVWRUHSODFHVWULNLQJ
HPSOR\HHV7KHUHZHUHUHSRUWV)6/1SDUW\GXHVZHUHDXWRPDWLFDOO\GHGXFWHG
IURPSD\FKHFNV




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E 3URKLELWLRQRI)RUFHGRU&RPSXOVRU\/DERU
7KHODZSURKLELWVDOOIRUPVRIIRUFHGRUFRPSXOVRU\ODERU7KHUHZDVQR
LQIRUPDWLRQDYDLODEOHUHJDUGLQJJRYHUQPHQWHQIRUFHPHQWRIWKHVHODZV3HQDOWLHV
ZHUHFRPPHQVXUDWHZLWKWKRVHIRURWKHUDQDORJRXVVHULRXVFULPHVVXFKDV
NLGQDSSLQJ'HVSLWHUHSRUWHGSROLWLFDOZLOOWRFRPEDWKXPDQWUDIILFNLQJLQFOXGLQJ
ODERUWUDIILFNLQJGXULQJWKH\HDUWKHJRYHUQPHQWGLGQRWWDNHVXIILFLHQWDFWLRQWR
DGGUHVVWKHVFRSHRIWKHSUREOHPDQGSURYLGHGRQO\OLPLWHGLQIRUPDWLRQDERXWLWV
ODZHQIRUFHPHQWHIIRUWV

2EVHUYHUVQRWHGUHSRUWVRIIRUFHGODERULQFOXGLQJRIPHQZRPHQDQGFKLOGUHQLQ
DJULFXOWXUHFRQVWUXFWLRQPLQLQJVWUHHWEHJJLQJDQGGRPHVWLFVHUYLWXGH9LFWLP
LGHQWLILFDWLRQSURVHFXWLRQDQGFRQYLFWLRQUHPDLQHGLQDGHTXDWHDQGYLFWLPV¶
IDPLO\PHPEHUVZHUHRIWHQFRPSOLFLWLQWKHLUH[SORLWDWLRQ7UDIILFNHUVOXUHG
UHVLGHQWVRIUXUDORUERUGHUUHJLRQVZLWKWKHSURPLVHRIKLJKSD\LQJMREVLQXUEDQ
DQGWRXULVWDUHDVEXWWKHQVXEMHFWHGWKHPWRVH[XDOH[SORLWDWLRQDQGIRUFHGODERU

$OVRVHHWKH'HSDUWPHQWRI6WDWH¶V7UDIILFNLQJLQ3HUVRQV5HSRUWDW
KWWSVZZZVWDWHJRYWUDIILFNLQJLQSHUVRQVUHSRUW

F 3URKLELWLRQRI&KLOG/DERUDQG0LQLPXP$JHIRU(PSOR\PHQW
7KHODZSURKLELWVWKHZRUVWIRUPVRIFKLOGODERU7KHODZHVWDEOLVKHVWKHPLQLPXP
DJHIRUHPSOR\PHQWDWDQGOLPLWVWKHZRUNGD\IRUDQ\LQGLYLGXDOEHWZHHQDJHV
RIDQGWRVL[KRXUVDQGWKHZRUNZHHNWRKRXUV7KRVHEHWZHHQDQG
PXVWKDYHSDUHQWDODSSURYDOWRZRUNRUHQWHULQWRDIRUPDOODERUFRQWUDFW7KHODZ
SURKLELWVWHHQDJHGRPHVWLFZRUNHUVIURPVOHHSLQJLQWKHKRXVHVRIWKHLUHPSOR\HUV
,WLVLOOHJDOIRUPLQRUVWRZRUNLQSODFHVWKH0LQLVWU\RI/DERUFRQVLGHUVKDUPIXOWR
WKHLUKHDOWKRUVDIHW\VXFKDVPLQHVJDUEDJHGXPSVDQGQLJKWHQWHUWDLQPHQW
YHQXHVDQGWRXQGHUWDNHFHUWDLQDJULFXOWXUDOZRUN7KHJRYHUQPHQWPRVWO\
HQIRUFHGWKHODZLQWKHIRUPDOVHFWRUEXWHQIRUFHPHQWZDVLQVXIILFLHQWLQWKHPXFK
ODUJHULQIRUPDOVHFWRUZKHUHFKLOGODERUZDVPRUHSUHYDOHQW/HJDOSHQDOWLHVIRU
SHUVRQVHPSOR\LQJFKLOGUHQLQGDQJHURXVZRUNZHUHFRPPHQVXUDWHZLWKWKRVHIRU
RWKHUDQDORJRXVVHULRXVFULPHVVXFKDVNLGQDSSLQJ

7KHJRYHUQPHQWXVHGOLPLWHGUHVRXUFHVWRFRQFHQWUDWHRQFKLOGODERUYLRODWLRQVLQ



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VHOHFWVHFWRUVLQQDUURZJHRJUDSKLFDUHDVVXFKDVFRIIHHJURZLQJUHJLRQVDQG
JDYHRQO\OLPLWHGDWWHQWLRQWRWKHODUJHLQIRUPDOVHFWRU7KHJRYHUQPHQWUHSRUWHG
KDYLQJVHSDUDWHGQLQHFKLOGUHQIURPZRUNEHWZHHQ-DQXDU\DQGWKHILUVW
VHPHVWHURI

7KHJRYHUQPHQWVLJQHGWKRXVDQGVRIFRRSHUDWLYHDJUHHPHQWVZLWKHPSOR\HUVWR
SUHYHQWWKHKLULQJRIPLQRUVDQGFRQWLQXHG3URJUDPD$PRUZKLFKDLPHGWR
HUDGLFDWHFKLOGODERUE\UHLQWHJUDWLQJDEDQGRQHGFKLOGUHQLQWRVRFLHW\,QIRUPDWLRQ
RQWKHSURJUDP¶VDFWLYLWLHVIXQGLQJDQGHIIHFWLYHQHVVZDVXQDYDLODEOHEXW
LQGHSHQGHQWREVHUYHUVGHHPHGLWLQVXIILFLHQW

/DZVWRHOLPLQDWHFKLOGODERUZHUHQRWIXOO\LPSOHPHQWHGDQGODFNHGDFRQVLVWHQW
PHFKDQLVPWRFRRUGLQDWHHIIRUWVWRDGGUHVVFKLOGODERU7KHJRYHUQPHQWDOVR
GLYHVWHGUHVRXUFHVIURPFKLOGODERUSUHYHQWLRQ$WWHQGDQFHLQVHFRQGDU\VFKRROV
UHPDLQHGPXFKORZHUWKDQLQSULPDU\VFKRROVLQFUHDVLQJWKHULVNRIROGHUFKLOGUHQ
HQJDJLQJLQH[SORLWDWLYHODERU7KHFRXQWU\PDGHPLQLPDODGYDQFHPHQWLQHIIRUWV
WRHOLPLQDWHWKHZRUVWIRUPVRIFKLOGODERU

)LIWHHQSHUFHQWRIFKLOGUHQODFNHGELUWKFHUWLILFDWHVZKLFKLQFUHDVHGWKHLUULVNIRU
KXPDQWUDIILFNLQJLQFOXGLQJIRUWKHSXUSRVHVRIFRPPHUFLDOVH[XDOH[SORLWDWLRQ

&KLOGODERUUHPDLQHGZLGHVSUHDG$FFRUGLQJWRRUJDQL]DWLRQVWKDWZRUNHGRQ
FKLOGUHQ¶VULJKWVWKLVOLNHO\LQFUHDVHGWRDOPRVWFKLOGUHQZRUNLQJLQVRPH
IRUPRIFKLOGODERU$FRPPRQIHDWXUHRIFKLOGODERUZDVWKHSUHYDOHQFHRIXQSDLG
IDPLO\ZRUNDQGWKH1DWLRQDO,QVWLWXWHRI'HYHORSPHQW,QIRUPDWLRQVWDWHG
SHUFHQWRIFKLOGUHQDQGDGROHVFHQWVZHUHXQSDLGZRUNHUV

&KLOGUHQHQJDJHGLQWKHZRUVWIRUPVRIFKLOGODERULQFOXGLQJLQFRPPHUFLDOVH[XDO
H[SORLWDWLRQ VHHVHFWLRQ 0RVWFKLOGODERURFFXUUHGLQIRUHVWU\ILVKLQJDQGWKH
LQIRUPDOVHFWRULQFOXGLQJRQFRIIHHSODQWDWLRQVDQGVXEVLVWHQFHIDUPV&KLOGODERU
DOVRRFFXUUHGLQWKHSURGXFWLRQRIGDLU\SURGXFWVRUDQJHVEDQDQDVWREDFFRSDOP
SURGXFWVFRIIHHULFHDQGVXJDUFDQHFDWWOHUDLVLQJVWUHHWVDOHVJDUEDJHGXPS
VFDYHQJLQJVWRQHFUXVKLQJJROGPLQLQJDQGTXDUU\LQJRISXPLFHDQGOLPHVWRQH
FRQVWUXFWLRQPDULMXDQDDQGRWKHUGUXJSURGXFWLRQDQGWUDIILFNLQJVWUHHW
SHUIRUPLQJGRPHVWLFZRUNDQGWUDQVSRUW3HUVRQVZLWKGLVDELOLWLHVDQGFKLOGUHQ
ZHUHVXEMHFWHGWRIRUFHGEHJJLQJSDUWLFXODUO\LQ0DQDJXDDQGQHDUWRXULVWFHQWHUV



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&KLOGUHQZRUNLQJLQDJULFXOWXUHVXIIHUHGIURPVXQH[SRVXUHH[WUHPHWHPSHUDWXUHV
DQGGDQJHURXVSHVWLFLGHVDQGRWKHUFKHPLFDOV&KLOGUHQZRUNLQJLQWKHILVKLQJ
LQGXVWU\ZHUHDWULVNIURPSROOXWHGZDWHUDQGGDQJHURXVRFHDQFRQGLWLRQV

$OVRVHHWKH'HSDUWPHQWRI/DERU¶V)LQGLQJVRQWKH:RUVW)RUPVRI&KLOG/DERU
DWKWWSVZZZGROJRYDJHQFLHVLODEUHVRXUFHVUHSRUWVFKLOGODERUILQGLQJVDQGWKH
'HSDUWPHQWRI/DERU¶V/LVWRI*RRGV3URGXFHGE\&KLOG/DERURU)RUFHG/DERUDW
KWWSVZZZGROJRYDJHQFLHVLODEUHSRUWVFKLOGODERUOLVWRIJRRGV

G 'LVFULPLQDWLRQZLWK5HVSHFWWR(PSOR\PHQWDQG2FFXSDWLRQ
7KHODZDQGUHJXODWLRQVSURKLELWGLVFULPLQDWLRQUHJDUGLQJUDFHVH[JHQGHU
GLVDELOLW\ODQJXDJHVH[XDORULHQWDWLRQRUJHQGHULGHQWLW\+,9RURWKHU
FRPPXQLFDEOHGLVHDVHVWDWXVRUVRFLDOVWDWXV7KHJRYHUQPHQWGLGQRWGHWHUVXFK
GLVFULPLQDWLRQEHFDXVHLWGLGQRWHIIHFWLYHO\HQIRUFHWKHODZDQGUHJXODWLRQV
3HQDOWLHVIRUYLRODWLRQVZHUHFRPPHQVXUDWHZLWKODZVUHODWHGWRFLYLOULJKWVVXFK
DVHOHFWLRQLQWHUIHUHQFH

'LVFULPLQDWLRQLQHPSOR\PHQWWRRNPDQ\IRUPV$OWKRXJKZRPHQJHQHUDOO\KDG
HTXDODFFHVVWRHPSOR\PHQWIHZZRPHQKDGVHQLRUSRVLWLRQVLQEXVLQHVVDQG
ZRUNHGLQWKHLQIRUPDOVHFWRULQKLJKHUQXPEHUVWKDQPHQLQWKHSXEOLFVHFWRURU
LQHOHFWHGSRVLWLRQVDQDXWRFUDWLFUXOLQJSROLWLFDOSDUW\OLPLWHGZRPHQ¶V
LQGHSHQGHQFHDQGLQIOXHQFH,QDGGLWLRQZRPHQ¶VZDJHVZHUHJHQHUDOO\ORZHU
ZKHQFRPSDUHGZLWKWKRVHRIPDOHFRXQWHUSDUWVHYHQIRUWKHVDPHSRVLWLRQDQG
ZRUNSHUIRUPHG:RUNSODFHFKDOOHQJHVIRUSHUVRQVZLWKGLVDELOLWLHVLQFOXGHG
LQDGHTXDWHLQIUDVWUXFWXUHODFNRIHGXFDWLRQDORSSRUWXQLWLHVDQGDJHQHUDOO\ORZ
UDWHRISXEOLFVHUYLFHVSRVLWLRQVGHVSLWHDOHJDOUHTXLUHPHQWWKDWDFHUWDLQ
SHUFHQWDJHEHDYDLODEOHWRWKHP/*%74,RUJDQL]DWLRQVUHSRUWHGWKDWVH[XDO
RULHQWDWLRQDQGJHQGHULGHQWLW\FRQWLQXHGWREHDEDVLVIRUGLVFULPLQDWRU\EHKDYLRU

:RUNHUVZKRGLVDJUHHGZLWKJRYHUQPHQWUHFRPPHQGDWLRQVZHUHILUHGDQGRQO\
WKRVHZLWKDPHPEHUVKLSFDUGRIWKHUXOLQJSDUW\ZHUHKLUHG

H $FFHSWDEOH&RQGLWLRQVRI:RUN
:DJHDQG+RXU/DZV7KHODZHVWDEOLVKHVDVWDWXWRU\PLQLPXPZDJHIRU
HFRQRPLFVHFWRUV$FFRUGLQJWRWKH0LQLVWU\RI/DERUWKHDYHUDJHOHJDOPLQLPXP


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ZDJHFRYHUHGRQO\SHUFHQWRIWKHFRVWRIEDVLFJRRGV7KHPLQLVWU\WRJHWKHU
ZLWKZRUNHUV¶XQLRQVDOLJQHGZLWKWKHUXOLQJSDUW\DJUHHGWRDSHUFHQWZDJH
LQFUHDVHIRUWKH\HDU3XEOLFVHFWRUHPSOR\HHVUHFHLYHGDSHUFHQWVDODU\LQFUHDVH
LQ$XJXVW)UHHWUDGH]RQHUHJLRQVKDGDZDJHLQFUHDVHRISHUFHQWSUHQHJRWLDWHG
LQDILYH\HDUDJUHHPHQWH[SHFWHGWRH[SLUHLQ7KHVDODU\LQFUHDVHUHPDLQHG
XQFKDQJHGGHVSLWHIUHHWUDGH]RQHUHSUHVHQWDWLYHVUHSRUWLQJXQVWHDG\LQGXVWU\
SHUIRUPDQFH

7KHPLQLPXPZDJHZDVJHQHUDOO\HQIRUFHGRQO\LQWKHIRUPDOVHFWRUHVWLPDWHGWR
EHSHUFHQWRIWKHHFRQRP\7KH0LQLVWU\RI/DERULVWKHSULPDU\HQIRUFHPHQW
DJHQF\

7KHVWDQGDUGOHJDOZRUNZHHNLVDPD[LPXPRIKRXUVZLWKRQHGD\RIUHVW7KH
ODZGLFWDWHVDQREOLJDWRU\\HDUHQGERQXVHTXLYDOHQWWRRQHPRQWK¶VSD\
SURSRUWLRQDOWRWKHQXPEHURIPRQWKVZRUNHG7KHODZPDQGDWHVSUHPLXPSD\IRU
RYHUWLPHSURKLELWVFRPSXOVRU\RYHUWLPHDQGVHWVDPD[LPXPRIWKUHHKRXUVRI
RYHUWLPHSHUGD\QRWWRH[FHHGQLQHKRXUVSHUZHHN3HQDOWLHVIRUYLRODWLRQVRI
PLQLPXPZDJHDQGRYHUWLPHODZVZHUHQRWFRPPHQVXUDWHZLWKWKRVHIRUVLPLODU
FULPHVVXFKDVIUDXG

$FFRUGLQJWR,QWHUQDWLRQDO/DERU2UJDQL]DWLRQJXLGHOLQHVWKHQXPEHURIODERU
LQVSHFWRUVZDVLQVXIILFLHQWIRUWKHVL]HRIWKHZRUNIRUFHZKLFKLQFOXGHG
DSSUR[LPDWHO\WKUHHPLOOLRQZRUNHUV7KHODZDOORZVLQVSHFWRUVWRFRQGXFW
XQDQQRXQFHGLQVSHFWLRQVDQGLQLWLDWHVDQFWLRQVIRUHJUHJLRXVYLRODWLRQV

2FFXSDWLRQDO6DIHW\DQG+HDOWK7KH1DWLRQDO&RXQFLORI/DERU+\JLHQHDQG
6DIHW\LQFOXGLQJLWVGHSDUWPHQWDOFRPPLWWHHVLVUHVSRQVLEOHIRULPSOHPHQWLQJ
ZRUNHUVDIHW\OHJLVODWLRQDQGFROODERUDWLQJZLWKRWKHUJRYHUQPHQWDJHQFLHVDQG
FLYLOVRFLHW\RUJDQL]DWLRQVLQGHYHORSLQJDVVLVWDQFHSURJUDPVDQGSURPRWLQJ
WUDLQLQJDQGSUHYHQWLRQDFWLYLWLHV$FFRUGLQJWRODERUFRQWDFWVWKHFRXQFLOZDV
LQDFWLYHWKURXJKRXWWKH\HDU7KHJRYHUQPHQWGLGQRWDOORFDWHDGHTXDWHVWDIIRU
RWKHUPHDVXUHVWRHQDEOHWKH2IILFHRI+\JLHQHDQG2FFXSDWLRQDO6DIHW\WRHQIRUFH
RFFXSDWLRQDOVDIHW\DQGKHDOWK 26+ SURYLVLRQV3HQDOWLHVIRUYLRODWLRQVRI26+
ODZVZHUHFRPPHQVXUDWHZLWKWKRVHIRUFULPHVVXFKDVQHJOLJHQFHEXWWKH\ZHUH
LQIUHTXHQWO\HQIRUFHGDQGRQO\LQWKHIRUPDOVHFWRU




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26+VWDQGDUGVDOVRZHUHQRWZLGHO\HQIRUFHGLQDQH[SDQGLQJODUJHLQIRUPDO
VHFWRUZKLFKUHSUHVHQWHGSHUFHQWRIHPSOR\PHQWDQGSHUFHQWRIEXVLQHVVHV
DFFRUGLQJWRUHSRUWVIURPWKH&RQVXOWDQWVIRU%XVLQHVV'HYHORSPHQWDQGWKH
1LFDUDJXDQ)RXQGDWLRQIRU(FRQRPLFDQG6RFLDO'HYHORSPHQW$OWKRXJKPRUH
UHFHQWVWDWLVWLFVRQLQIRUPDOLW\ZHUHQRWDYDLODEOHH[SHUWVYLHZHGWKLVLQGLFDWRUDV
QHFHVVDULO\ULVLQJEHFDXVHRIVRFLRSROLWLFDOXQUHVWDQGWKHDIWHUPDWKRIWKH&29,'
SDQGHPLF%\ODZZRUNHUVPD\UHPRYHWKHPVHOYHVIURPVLWXDWLRQVWKDW
HQGDQJHUWKHLUKHDOWKRUVDIHW\ZLWKRXWMHRSDUG\WRWKHLUHPSOR\PHQW,WZDV
XQFOHDUZKHWKHUDXWKRULWLHVHIIHFWLYHO\SURWHFWHGHPSOR\HHVLQVXFKFDVHV

,QIRUPDO6HFWRU7KHLQIRUPDOVHFWRULQFOXGHGWKHEXONRIZRUNHUVLQVWUHHWVDOHV
DJULFXOWXUHDQGUDQFKLQJWUDQVSRUWDWLRQGRPHVWLFODERUILVKLQJDQGPLQRU
FRQVWUXFWLRQ/HJDOOLPLWDWLRQVRQKRXUVZRUNHGRIWHQZHUHLJQRUHGE\HPSOR\HUV
ZKRFODLPHGZRUNHUVUHDGLO\YROXQWHHUHGIRUH[WUDKRXUVIRUDGGLWLRQDOSD\
9LRODWLRQVRIZDJHDQGKRXUUHJXODWLRQVLQWKHLQIRUPDOVHFWRUZHUHFRPPRQDQG
JHQHUDOO\QRWLQYHVWLJDWHGSDUWLFXODUO\LQVWUHHWVDOHVGRPHVWLFZRUNDQG
DJULFXOWXUHZKHUHFKLOGUHQFRQWLQXHGWRZRUNLQWREDFFREDQDQDDQGFRIIHH
SODQWDWLRQV&RPSXOVRU\RYHUWLPHZDVUHSRUWHGLQWKHSULYDWHVHFXULW\VHFWRU
ZKHUHJXDUGVRIWHQZHUHUHTXLUHGWRZRUNH[FHVVLYHVKLIWVZLWKRXWUHOLHI




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(;(&87,9(6800$5<
3DQDPDLVDPXOWLSDUW\FRQVWLWXWLRQDOGHPRFUDF\,QYRWHUVFKRVH/DXUHQWLQR
&RUWL]R&RKHQDVSUHVLGHQWLQQDWLRQDOHOHFWLRQVWKDWLQWHUQDWLRQDODQGGRPHVWLF
REVHUYHUVFRQVLGHUHGJHQHUDOO\IUHHDQGIDLU

7KHFRXQWU\KDVQRPLOLWDU\IRUFHV7KH3DQDPD1DWLRQDO3ROLFHLVSULQFLSDOO\
UHVSRQVLEOHIRULQWHUQDOODZHQIRUFHPHQWDQGSXEOLFRUGHUDQGWKH1DWLRQDO%RUGHU
6HUYLFHKDQGOHVERUGHUVHFXULW\7KHFRXQWU\DOVRKDVD1DWLRQDO$HURQDYDO
6HUYLFHWKDWLVUHVSRQVLEOHIRUFDUU\LQJRXWQDYDODQGDLURSHUDWLRQV&LYLOLDQ
DXWKRULWLHVPDLQWDLQHGHIIHFWLYHFRQWURORYHUWKHVHFXULW\IRUFHV7KHUHZHUH
FUHGLEOHUHSRUWVWKDWPHPEHUVRIVHFXULW\IRUFHVFRPPLWWHGVRPHDEXVHV

6LJQLILFDQWKXPDQULJKWVLVVXHVLQFOXGHGFUHGLEOHUHSRUWVRIVHULRXVSUREOHPVZLWK
WKHLQGHSHQGHQFHRIWKHMXGLFLDU\VHULRXVUHVWULFWLRQVRQIUHHH[SUHVVLRQDQG
PHGLDLQFOXGLQJFHQVRUVKLSDQGWKHH[LVWHQFHRIFULPLQDOOLEHOODZVDQGVHULRXV
JRYHUQPHQWFRUUXSWLRQ

,PSXQLW\DPRQJVHFXULW\IRUFHVH[LVWHGGXHWRZHDNDQGGHFHQWUDOL]HGLQWHUQDO
FRQWUROPHFKDQLVPVIRUFRQGXFWDQGHQIRUFHPHQW&RUUXSWLRQZDVDVHULRXV
SUREOHPLQWKHH[HFXWLYHMXGLFLDODQGOHJLVODWLYHEUDQFKHVDVZHOODVLQWKH
VHFXULW\IRUFHV7KHODZSURYLGHVFULPLQDOSHQDOWLHVIRUFRUUXSWLRQE\RIILFLDOVEXW
WKHJRYHUQPHQWJHQHUDOO\GLGQRWLPSOHPHQWWKHODZHIIHFWLYHO\

6HFWLRQ5HVSHFWIRUWKH,QWHJULW\RIWKH3HUVRQ
D $UELWUDU\'HSULYDWLRQRI/LIHDQG2WKHU8QODZIXORU3ROLWLFDOO\
0RWLYDWHG.LOOLQJV
7KHUHZHUHQRUHSRUWVWKHJRYHUQPHQWRULWVDJHQWVFRPPLWWHGDUELWUDU\RU
XQODZIXONLOOLQJV




                          &RXQWU\5HSRUWVRQ+XPDQ5LJKWV3UDFWLFHVIRU
           8QLWHG6WDWHV'HSDUWPHQWRI6WDWH%XUHDXRI'HPRFUDF\+XPDQ5LJKWVDQG/DERU
                                                                                        CLP_PC_024113
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E 'LVDSSHDUDQFH
7KHUHZHUHQRUHSRUWVRIGLVDSSHDUDQFHVE\RURQEHKDOIRIJRYHUQPHQWDXWKRULWLHV

F 7RUWXUHDQG2WKHU&UXHO,QKXPDQRU'HJUDGLQJ7UHDWPHQWRU
3XQLVKPHQW
7KHFRQVWLWXWLRQSURKLELWVVXFKSUDFWLFHVDQGWKHUHZHUHQRUHSRUWVWKDW
JRYHUQPHQWRIILFLDOVHPSOR\HGWKHP

,PSXQLW\DPRQJVHFXULW\IRUFHVH[LVWHGGXHWRZHDNDQGGHFHQWUDOL]HGLQWHUQDO
FRQWUROPHFKDQLVPVIRUFRQGXFWDQGHQIRUFHPHQWLQDGGLWLRQWRDFXOWXUHRI
FRUUXSWLRQ3RRUDYDLODELOLW\RIGDWDPDGHWKHH[WHQWRILPSXQLW\GLIILFXOWWR
JDXJH7KH1DWLRQDO&ULPLQDO6WDWLVWLFV'LUHFWRUDWHZDVXQDEOHWRSURYLGH
WKRURXJKGDWDRQWKHSROLFH¶VLQWHUQDODIIDLUVDVWKHJRYHUQPHQWUDUHO\PDGHFDVHV
RISROLFHDEXVHRUFRUUXSWLRQSXEOLF7KH3DQDPD1DWLRQDO3ROLFH¶VLQWHUQDODIIDLUV
RIILFHLVUHVSRQVLEOHIRUHQIRUFLQJFRQGXFWYLRODWLRQVEXWZDVLQHIILFLHQWDQG
UHVLVWHGHIIRUWVWRPRGHUQL]H1DWLRQDOSROLFHDXWKRULWLHVSURYLGHGWUDLQLQJDQG
LQIRUPDWLRQWRRIILFHUVWRGLVFRXUDJHLQYROYHPHQWLQQDUFRWLFVWUDIILFNLQJDQG
FRUUXSWLRQ

3ULVRQDQG'HWHQWLRQ&HQWHU&RQGLWLRQV

3ULVRQFRQGLWLRQVUHPDLQHGKDUVKGXHWRRYHUFURZGLQJLQVXIILFLHQWLQWHUQDO
VHFXULW\DVKRUWDJHRISULVRQJXDUGVODFNRISRWDEOHZDWHUDQGLQDGHTXDWHPHGLFDO
VHUYLFHVDQGVDQLWDU\FRQGLWLRQV

3K\VLFDO&RQGLWLRQV$FFRUGLQJWRWKH0LQLVWU\RI*RYHUQPHQW¶V1DWLRQDO
'LUHFWRUDWHRIWKH3HQLWHQWLDU\6\VWHP '*63 DVRI2FWREHUWKHSULVRQV\VWHP
KHOGSULVRQHUVLQIDFLOLWLHVZLWKDQLQWHQGHGFDSDFLW\RI3UHWULDO
GHWDLQHHVVKDUHGFHOOVZLWKFRQYLFWHGSULVRQHUVGXHWRVSDFHFRQVWUDLQWV3ULVRQ
FRQGLWLRQVIRUZRPHQZHUHJHQHUDOO\EHWWHUWKDQIRUPHQEXWFRQGLWLRQVIRUERWK
SRSXODWLRQVZHUHSRRU6HYHUDOIDFLOLWLHVZHUHRYHUFURZGHGDQGVHYHUDORWKHUV
ODFNHGDGHTXDWHLQPDWHVHFXULW\DQGPHGLFDOFDUHEDVLFVXSSOLHVIRUSHUVRQDO
K\JLHQHDQGSRWDEOHZDWHU

1RQJRYHUQPHQWDORUJDQL]DWLRQV 1*2V ZLWKDFFHVVWRSULVRQVUHSRUWHGWKDWVHOI



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GHVFULEHGHYDQJHOLFDOSDVWRUVDQGJDQJOHDGHUVFRQWLQXHGWRWLJKWO\FRQWUROWKH
SDYLOLRQVLQVLGHWKHSULVRQV7KH1*2VUHSRUWHGSHUFHLYHGIDYRULWLVPWRZDUGV
HYDQJHOLFDOLQPDWHVZKRDSSRLQWHGWKHPVHOYHV³OHDGHUVRIWKHSULVRQSDYLOLRQV´
1*2UHSUHVHQWDWLYHVDOVRUHSRUWHGWKDWSHUFHLYHGFRUUXSWLRQZLWKLQWKHSULVRQ
V\VWHPHQDEOHGWKHVH³OHDGHU´LQPDWHVWRUHFHLYHSULYLOHJHVPRVWOLNHO\UHTXLULQJ
WKHFROODERUDWLRQRISROLFHRUFLYLOLDQFXVWRGLDQV2WKHULQPDWHVKDGWRVHFXUH
DSSURYDORIWKHVH³OHDGHUV´ZKLFKRIWHQLQYROYHGSD\PHQWRIEULEHVWRREWDLQ
H[SHGLWHGWUDQVIHUVRUDFFHVVWRWKHLUOHJDOFRXQVHORUV

*DQJDFWLYLW\LQSULVRQVUHSUHVHQWHGDGDLO\WKUHDWWRSULVRQHUVDIHW\1*2
UHSUHVHQWDWLYHVVDLGSULVRQVHFXULW\SHUVRQQHODQGLQPDWHV¶UHODWLYHVZHUHOLNHO\
FRPSOLFLWLQWKHVPXJJOLQJRIZHDSRQV,Q0DUFKDQG$SULOFDWVDQGSLJHRQVZHUH
XVHGWRVPXJJOHLOOLFLWVXEVWDQFHVLQWRWKH&RORQ1XHYD(VSHUDQ]DSULVRQ,Q$SULO
DQG-XO\SULVRQVHFXULW\DJHQWVFDXJKWGURQHVHQWHULQJWKHSULVRQV¶SHULPHWHUV
FDUU\LQJHLWKHUZHDSRQVGUXJVRUFHOOSKRQHV$XWKRULWLHVIRXQGDGRJVHUYLQJDV
DPHVVDJHFRXULHUEHWZHHQJDQJPHPEHUVZLWKLQWKH/D-R\DSULVRQFRPSOH[

'HVSLWHYDULRXVVDQLWDU\SURWRFROVLPSOHPHQWHGGXHWRWKHSDQGHPLFPHGLFDOFDUH
RYHUDOOZDVLQDGHTXDWHGXHWRODFNRISHUVRQQHOWUDQVSRUWDWLRQDQGPHGLFDO
UHVRXUFHV$VRI$XJXVWWKH2PEXGVPDQ¶V2IILFHKDGUHFHLYHGFRPSODLQWV
DJDLQVWSULVRQVRIWKHPIRUKXPDQULJKWVYLRODWLRQVGXHWRODFNRIPHGLFDO
FDUHGXULQJWKHSDQGHPLF$XWKRULWLHVWUDQVIHUUHGSDWLHQWVZLWKVHULRXVLOOQHVVHVWR
SXEOLFFOLQLFVEXWWKHUHZHUHFRQVWDQWGLIILFXOWLHVLQDUUDQJLQJLQPDWH
WUDQVSRUWDWLRQ'XULQJWKH\HDUWKH'*63DGDSWHGDWUXFNWRZRUNDVDQDPEXODQFH
WRVHUYHWKH/D-R\DFRPSOH[7UDQVIHURILQPDWHVGHSHQGHGRQWKHDYDLODELOLW\RI
SROLFHYHKLFOHVRUWKHOLPLWHGQDWLRQDODPEXODQFHV\VWHP6WDUWLQJLQ)HEUXDU\
'*63EHJDQLWVQDWLRQZLGHYDFFLQDWLRQSURJUDPZKLFKLQFOXGHGYDFFLQHVDJDLQVW
WXEHUFXORVLVKHSDWLWLVPHDVOHVLQIOXHQ]DDQG&29,'

$GPLQLVWUDWLRQ$XWKRULWLHVFRQGXFWHGLQYHVWLJDWLRQVRIFUHGLEOHDOOHJDWLRQVRI
PLVWUHDWPHQW

,QGHSHQGHQW0RQLWRULQJ7KHJRYHUQPHQWSHUPLWWHGSULVRQPRQLWRULQJE\
LQGHSHQGHQWQRQJRYHUQPHQWDOREVHUYHUV7KH2PEXGVPDQ¶V2IILFHSULVRQV
RIILFHUFRQGXFWHGVHYHUDOXQDQQRXQFHGYLVLWVZLWKRXWUHVWULFWLRQV+XPDQULJKWV
1*2VVHHNLQJDFFHVVWRSULVRQVZHUHUHTXLUHGWRVHQGDZULWWHQUHTXHVWWRWKH


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'*63GD\VLQDGYDQFH

G$UELWUDU\$UUHVWRU'HWHQWLRQ
7KHODZSURKLELWVDUELWUDU\DUUHVWDQGGHWHQWLRQDQGSURYLGHVIRUWKHULJKWRIDQ\
SHUVRQWRFKDOOHQJHWKHODZIXOQHVVRIKLVRUKHUDUUHVWRUGHWHQWLRQLQFRXUW7KH
JRYHUQPHQWJHQHUDOO\REVHUYHGWKHVHUHTXLUHPHQWV

$UUHVW3URFHGXUHVDQG7UHDWPHQWRI'HWDLQHHV

7KHODZUHTXLUHVDUUHVWLQJRIILFHUVWRLQIRUPGHWDLQHHVLPPHGLDWHO\RIWKHUHDVRQV
IRUDUUHVWRUGHWHQWLRQDQGRIWKHULJKWWRLPPHGLDWHOHJDOFRXQVHO'XULQJWKH
SDQGHPLFWKHUHZHUHVHYHUDOFRPSODLQWVRIDEXVHRIDXWKRULW\E\SROLFHDJHQWV
GHWDLQLQJSHUVRQVGXULQJWKHTXDUDQWLQHDQGFXUIHZ0RVWFRPSODLQWVIRFXVHGRQ
WKHYHUEDOPLVWUHDWPHQWRIFLWL]HQVDWFKHFNSRLQWV

/HJDOFDVHVRSHQHGSULRUWRWKHWUDQVLWLRQWRWKHDFFXVDWRU\MXVWLFHV\VWHP 63$ 
FRQWLQXHGWREHSURFHVVHGXQGHUWKHSUHYLRXVLQTXLVLWRULDOV\VWHP&RXUWV¶UXOLQJ
XQGHUWKHLQTXLVLWRULDOV\VWHPLQWKH3DQDPDDQG/D&KRUUHUDMXGLFLDOGLVWULFWV
ZHUHVFKHGXOHGWRFORVHSHUPDQHQWO\LQ'HFHPEHU%RWKV\VWHPVGHPRQVWUDWHG
YXOQHUDELOLWLHVWRFRUUXSWLRQLQHIILFLHQFLHVDQGEXUHDXFUDWLFREVWDFOHV,QIRUPDOLW\
LQWKHMXGLFLDOSURFHVVHVVXFKDVVHQGLQJGRFXPHQWVWKURXJKPRELOHPHVVHQJHU
SODWIRUPVLQVWHDGRIRIILFLDOHPDLOVEHFDPHWKHQRUPIRUVRPHORZHUOHYHOFRXUW
MXGJHVWKXVMHRSDUGL]LQJWKHWUDQVSDUHQF\RIWKHMXGLFLDOSURFHVV

8QGHUWKH63$EDLOH[LVWVEXWZDVUDUHO\JUDQWHGEHFDXVHRILPSOHPHQWDWLRQRID
OHVVFRVWO\SURYLVLRQDOUHOHDVHV\VWHP8QGHUWKHLQTXLVLWRULDOV\VWHPDEDLO
SURFHGXUHH[LVWVIRUDOLPLWHGQXPEHURIFULPHVEXWZDVODUJHO\XQXVHG0RVWEDLO
SURFHHGLQJVZHUHDWWKHGLVFUHWLRQRIWKH3URVHFXWRU¶V2IILFHDQGFRXOGQRWEH
LQLWLDWHGE\GHWDLQHHVRUWKHLUOHJDOFRXQVHO%DLOZDVJUDQWHGLQKLJKSURILOH
FRUUXSWLRQFDVHVZKLFKSURPSWHGFRPSODLQWVE\FLYLOVRFLHW\WKDWWKH3XEOLF
0LQLVWU\ZDVDGPLQLVWHULQJ³VHOHFWLYH´MXVWLFH

7KHODZSURKLELWVSROLFHIURPGHWDLQLQJDGXOWVXVSHFWVIRUPRUHWKDQKRXUVEXW
DOORZVDXWKRULWLHVWRGHWDLQPLQRUVXVSHFWVIRUKRXUV8QGHUWKH63$DUUHVWV
DQGGHWHQWLRQGHFLVLRQVZHUHPDGHRQDSUREDEOHFDXVHEDVLV



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$UELWUDU\$UUHVW'XULQJWKH&29,'SDQGHPLFLQGLYLGXDOVYLRODWLQJ
FXUIHZVHVWDEOLVKHGQDWLRQZLGHZHUHDUUHVWHGEXWKDGDFFHVVWROHJDO
UHSUHVHQWDWLRQ7KH\ZHUHUHOHDVHGDIWHUSD\LQJWKHFRUUHVSRQGLQJILQH

3UHWULDO'HWHQWLRQ$FFRUGLQJWRRIILFLDOVWDWLVWLFVDVRI2FWREHUDSSUR[LPDWHO\
SHUFHQWRILQPDWHVKDGQRWEHHQFRQYLFWHG)XOOLPSOHPHQWDWLRQRIWKH63$
VWUXFWXUHQDWLRQZLGHGHFUHDVHGWKHQXPEHURISUHWULDOGHWDLQHHVFRQVLVWHQWO\VLQFH
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H'HQLDORI)DLU3XEOLF7ULDO
:KLOHWKHODZSURYLGHVIRUDQLQGHSHQGHQWMXGLFLDU\WKHODFNRIFULPLQDO
FRQYLFWLRQVIRUFRUUXSWLRQUHLQIRUFHGZLGHVSUHDGSXEOLFRSLQLRQWKDWWKHMXGLFLDO
V\VWHPZDVVXVFHSWLEOHWRFRUUXSWLQWHUQDODQGH[WHUQDOLQIOXHQFH

0RVWDOOHJDWLRQVRIPDQLSXODWLRQRIWKHMXVWLFHV\VWHPFRQWLQXHGWREHUHODWHGWR
WKHLQIOXHQFHRISROLWLFDODFWRUV)RUPHUSUHVLGHQW5LFDUGR0DUWLQHOOL¶V
H[WUDGLWLRQIURPWKH8QLWHG6WDWHVWRIDFHLOOHJDOZLUHWDSSLQJFKDUJHVUHVXOWHGLQDQ
$XJXVW³QRWJXLOW\´YHUGLFWEXWDQDSSHDOE\WKHSURVHFXWRUVZDVDGPLWWHGE\
WKH6XSHULRU&RXUWLQ1RYHPEHU$QHZWULDOEHJDQLQ-XO\IRXURIWKHVL[
SODLQWLIIVZLWKGUHZIURPWKHFDVHDWWKDWWLPH7KHWULDOHQGHGRQ1RYHPEHUZLWK
0DUWLQHOOL¶VDFTXLWWDODGHFLVLRQGHFULHGE\PDQ\SURPLQHQWPHPEHUVRIFLYLO
VRFLHW\

8QOLNHLQDFFXVDWRU\V\VWHPFDVHVFRXUWSURFHHGLQJVIRUFDVHVLQSURFHVVXQGHUWKH
LQTXLVLWRULDOV\VWHPZHUHQRWSXEOLFO\DYDLODEOH$VDUHVXOWQRQSDUWLHVWR
LQTXLVLWRULDOFDVHSURFHHGLQJVGLGQRWKDYHDFFHVVWRWKHPXQWLODYHUGLFWZDV
UHDFKHG8QGHUWKHLQTXLVLWRULDOV\VWHPMXGJHVFRXOGGHFLGHWRKROGSULYDWH
KHDULQJVDQGGLGVRLQKLJKSURILOHFDVHV&RQVHTXHQWO\WKHMXGLFLDU\VRPHWLPHV
IDFHGDFFXVDWLRQVSDUWLFXODUO\LQKLJKSURILOHFDVHVRISURFHGXUDOLUUHJXODULWLHV
6LQFHPRVWRIWKHVHFDVHVKDGQRWUHDFKHGFRQFOXVLRQWKHUHFRUGVUHPDLQHGXQGHU
VHDO,QWHUHVWHGSDUWLHVJHQHUDOO\GLGQRWIDFHJDJRUGHUVDQGEHFDXVHRIWKLVODFN
RIWUDQVSDUHQF\LWZDVGLIILFXOWWRYHULI\IDFWV

7ULDO3URFHGXUHV

7KHODZSURYLGHVIRUWKHULJKWWRDIDLUDQGSXEOLFWULDODQGWKHMXGLFLDU\JHQHUDOO\


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HQIRUFHGWKLVULJKW7KHODZSURYLGHVWKDWDOOFLWL]HQVFKDUJHGZLWKFULPHVHQMR\
WKHULJKWWRDSUHVXPSWLRQRILQQRFHQFH7KH\KDYHWKHULJKWWREHLQIRUPHG
SURPSWO\DQGLQGHWDLORIWKHFKDUJHV ZLWKIUHHODQJXDJHLQWHUSUHWDWLRQDYDLODEOH
IRUQRQ6SDQLVKVSHDNLQJLQPDWHV WRKDYHDWULDOZLWKRXWXQGXHGHOD\WRKDYH
FRXQVHORIWKHLUFKRLFHDQGDGHTXDWHWLPHDQGIDFLOLWLHVWRSUHSDUHDGHIHQVHWR
UHIUDLQIURPLQFULPLQDWLQJWKHPVHOYHVRUFORVHUHODWLYHVDQGWREHWULHGRQO\RQFH
IRUDJLYHQRIIHQVH7KHDFFXVHGPD\EHSUHVHQWZLWKFRXQVHOGXULQJWKH
LQYHVWLJDWLYHSKDVHRISURFHHGLQJV

%\ODZWKHMXGLFLDOEUDQFKLVWKHRQO\HQWLW\WKDWVFKHGXOHVKHDULQJVZLWKLQWKH
63$ZKLOHWKH3HQLWHQWLDU\6\VWHPLVLQFKDUJHRIIDFLOLWDWLQJORJLVWLFVIRU
GHWDLQHHV¶DWWHQGDQFHDWYLUWXDOLQSHUVRQKHDULQJV'HWHQWLRQFHQWHUVIDFHG
SUREOHPVZLWKYLUWXDOKHDULQJVGXHWRODFNRIVXIILFLHQWHTXLSPHQWDQGUHOLDEOH
ZLUHOHVVFRQQHFWLRQVWRVXSSRUWPDQ\VFKHGXOHGKHDULQJVZKLFKFUHDWHGGHOD\V
)ROORZLQJDFKDQJHLQ63$OHDGHUVKLSLQ-DQXDU\WKHUHZHUHUHSRUWVWKDWVRPH
FRXUWVXQRIILFLDOO\WUDQVIHUUHGWKHDXWKRULW\WRVHWGDWHVIRUYLUWXDOKHDULQJVWRWKH
3HQLWHQWLDU\6\VWHP7KLVFKDQJHOHGWRUHSRUWVRIXQIDLUDGPLQLVWUDWLRQRI
MXVWLFHVIXUWKHUGHOD\VRUPLVVHGKHDULQJVDQGDODFNRIDFFXUDWHVWDWLVWLFVRQWKH
QXPEHURIKHDULQJVFRQGXFWHGWKURXJKRXWWKH\HDU

7KHIXOO\LPSOHPHQWHG63$V\VWHPVWLSXODWHVWKDWWULDOVPXVWEHFRPSOHWHGLQOHVV
WKDQPRQWKV'XHWRWKHSDQGHPLFD6XSUHPH&RXUWGHFUHHLQ-DQXDU\
H[WHQGHGWKHWHUPWRPRQWKV-XGJHVPD\RUGHUGHWDLQHHVWREHSUHVHQWGXULQJ
WKHSUHWULDOSKDVHWRSURYLGHRUH[SDQGXSRQVWDWHPHQWVRUWRFRQIURQWZLWQHVVHV
7ULDOVDUHFRQGXFWHGEDVHGRQHYLGHQFHSUHVHQWHGE\WKHSXEOLFSURVHFXWRU
'HIHQGDQWVKDYHWKHULJKWWREHSUHVHQWDWWULDODQGWRFRQVXOWZLWKDQDWWRUQH\LQD
WLPHO\PDQQHUDORQJZLWKWKHULJKWWRHQWHULQWRDSOHDGHDO'XULQJWKHSDQGHPLF
PDQ\RIWKHVHKHDULQJVZHUHFRQGXFWHGYLUWXDOO\EXWDWWLPHVDOOHJHGWHFKQLFDO
LVVXHVFDXVHGIXUWKHUGHOD\VLQWKHKHDULQJV'HIHQGDQWVKDYHDULJKWWRDSSHDO
7KH3HQLWHQWLDU\6\VWHP¶VODFNRIHTXLSPHQWVLJQLILFDQWO\UHGXFHGLWVFDSDELOLW\WR
FRQGXFWYLUWXDOKHDULQJV0RVWSULVRQVZHUHOLPLWHGLQWKHLUFDSDFLW\WRKROG
VHYHUDOKHDULQJVDWRQFHGXHDODFNRIDYDLODEOHFRPSXWHUV)DLOXUHWRKROGD
KHDULQJPHDQWWKDWWKHDIIHFWHGLQPDWHVKDGWRZDLWPRQWKVRQDYHUDJHIRUD
UHVFKHGXOHGKHDULQJ7KHUHZHUHIHZLIDQ\KHDULQJVZLWKPXOWLSOHLQPDWHV

7KH3XEOLF'HIHQGHU¶V2IILFHFRQWLQXHGWRIDLOWRLQLWLDWHWKHIRUPDOSURFHVVIRU

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HDUO\UHOHDVHRILQPDWHVLQDWLPHO\IDVKLRQGHVSLWHZULWWHQLQVWUXFWLRQVIURPWKH
MXGLFLDOEUDQFK1RGLVFLSOLQDU\DFWLRQVZHUHWDNHQ

3ROLWLFDO3ULVRQHUVDQG'HWDLQHHV

7KHUHZHUHQRUHSRUWVRISROLWLFDOSULVRQHUVRUGHWDLQHHV

&LYLO-XGLFLDO3URFHGXUHVDQG5HPHGLHV

&LWL]HQVKDYHDFFHVVWRWKHFRXUWVWREULQJODZVXLWVVHHNLQJGDPDJHVIRURU
FHVVDWLRQRIKXPDQULJKWVYLRODWLRQVDOWKRXJKPRVWGLGQRWSXUVXHVXFKODZVXLWV
GXHWRWKHOHQJWKRIWKHSURFHVV7KHUHDUHDGPLQLVWUDWLYHDQGMXGLFLDOUHPHGLHVIRU
DOOHJHGZURQJVDQGDXWKRULWLHVRIWHQJUDQWHGWKHPWRFLWL]HQVZKRIROORZHG
WKURXJKZLWKWKHSURFHVV$FRXUWPD\RUGHUFLYLOUHPHGLHVLQFOXGLQJIDLU
FRPSHQVDWLRQWRWKHLQGLYLGXDOLQMXUHG,QGLYLGXDOVRURUJDQL]DWLRQVWKDWKDYH
H[KDXVWHGGRPHVWLFUHPHGLHVPD\VXEPLWSHWLWLRQVDOOHJLQJKXPDQULJKWV
YLRODWLRQVWRWKH,QWHU$PHULFDQ&RPPLVVLRQRQ+XPDQ5LJKWV

I$UELWUDU\RU8QODZIXO,QWHUIHUHQFHZLWK3ULYDF\)DPLO\+RPH
RU&RUUHVSRQGHQFH
7KHODZSURKLELWVDUELWUDU\LQWHUIHUHQFHZLWKSULYDF\IDPLO\KRPHRU
FRUUHVSRQGHQFHDQGWKHJRYHUQPHQWJHQHUDOO\UHVSHFWHGWKHVHSURKLELWLRQV

6HFWLRQ5HVSHFWIRU&LYLO/LEHUWLHV,QFOXGLQJ
D)UHHGRPRI([SUHVVLRQ,QFOXGLQJIRU0HPEHUVRIWKH3UHVVDQG
2WKHU0HGLD
7KHFRQVWLWXWLRQSURYLGHVIRUIUHHGRPRIH[SUHVVLRQLQFOXGLQJIRUPHPEHUVRIWKH
SUHVVDQGRWKHUPHGLD7KHJRYHUQPHQWJHQHUDOO\UHVSHFWHGWKLVULJKWEXW
MRXUQDOLVWVDQGPHGLDRXWOHWVQRWHGDFRQWLQXDWLRQRIFULPLQDODQGFLYLOOLEHODQG
VODQGHUODZVXLWVZKLFKWKH\FRQVLGHUHGDWKUHDWWRIUHHGRPRIH[SUHVVLRQDQG
IUHHGRPRIWKHSUHVV,QDGGLWLRQPHGLDH[SUHVVHGFRQFHUQZLWKJRYHUQPHQWDQG
SULYDWHVHFWRUDWWHPSWVWRZLWKGUDZSDLGDGYHUWLVHPHQWV±DVLJQLILFDQWVRXUFHRI
IXQGLQJ±ZKHQRXWOHWVSXEOLVKHGLQIRUPDWLRQWKDWZDVXQIDYRUDEOHWRWKHP



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9LROHQFHDQG+DUDVVPHQW,Q$SULOWKH,QWHU$PHULFDQ3UHVV$VVRFLDWLRQLVVXHG
DUHSRUWKLJKOLJKWLQJLQVWDQFHVRISROLFHDJJUHVVLRQDJDLQVWMRXUQDOLVWVFRYHULQJ
SXEOLFSURWHVWV,Q1DWLRQDO$VVHPEO\GHSXW\=XOD\5RGULJXH]VXHG
MRXUQDOLVW0DXULFLR9DOHQ]XHODRIWKHRQOLQHPHGLDRXWOHW)RFR3DQDPDLQIDPLO\
FRXUWRQFKDUJHVRIJHQGHUEDVHGYLROHQFHLQIULQJLQJWKHULJKWVRIDPLQRUDQG
DWWDFNLQJKHUSHUVRQDOOLEHUW\DQGLQWHJULW\9DOHQ]XHODUHSRUWHG5RGULJXH]¶V
DOOHJHGLQYROYHPHQWLQWUDIILFNLQJJROG,Q6HSWHPEHUSURVHFXWRU/RUHQD4XLUR]
RIILFLDOO\ILOHGWKHFDVHDQGLWZDVVXEVHTXHQWO\DSSURYHGE\DIDPLO\FRXUWMXGJH
7KHSURFHVVLQJDQGDGPLVVLRQRIJHQGHUYLROHQFHFKDUJHV LQVWHDGRIOLEHODQG
VODQGHU UHVXOWHGLQSXEOLFFRPSODLQWVE\VRFLDOPHGLDXVHUVDQGFLYLOVRFLHW\
RUJDQL]DWLRQV7KH1DWLRQDO&RXQFLORQ-RXUQDOLVPDQGWKH1DWLRQDO)RUXPRI
-RXUQDOLVWVLVVXHGDSUHVVVWDWHPHQWTXHVWLRQLQJWKHFKDUJHVDQGUDLVLQJFRQFHUQV
UHJDUGLQJIUHHGRPRIWKHSUHVV

,Q$SULOODZ\HU5RQLHU2UWL]DPHPEHURIIRUPHUSUHVLGHQW0DUWLQHOOL¶VOHJDO
GHIHQVHWHDPSXEOLFO\WKUHDWHQHG)RFR3DQDPDIRULWVQHJDWLYHFRYHUDJHRI
0DUWLQHOOL,QUHVSRQVHWKH-RXUQDOLVWV)RUXP1DWLRQDO&RXQFLORI-RXUQDOLVWVDQG
3DQDPDQLDQ%URDGFDVWLQJ$VVRFLDWLRQLVVXHGDMRLQWVWDWHPHQWFRQGHPQLQJGLUHFW
WKUHDWVRIYLROHQFHDJDLQVWPHGLDFDOOLQJ2UWL]¶VVWDWHPHQWV³LQWROHUDEOH´,Q-XQH
MRXUQDOLVW)ORU0L]UDFKLUHFHLYHGGHDWKWKUHDWVDIWHUKHULQYHVWLJDWLYHUHSRUWLQJ
XQFRYHUHGDQXQUHJLVWHUHG&29,'YDFFLQDWLRQFOLQLFFODQGHVWLQHO\
DGPLQLVWHULQJYDFFLQHVLQWKHXSVFDOHQHLJKERUKRRGRI&RFRGHO0DU0L]UDFKL
ILOHGDUHSRUWZLWKWKH$WWRUQH\*HQHUDO¶V2IILFHZKLFKRSHQHGDQLQYHVWLJDWLRQ
LQWRWKHPDWWHU

,Q$XJXVW$QQHWWH3ODQHOOVFRIRXQGHURIWKH1*2,QGHSHQGHQW0RYHPHQW
 029,1 UHFHLYHGDQRQ\PRXVWKUHDWVYLDWKLUGSDUWLHVIROORZLQJWKH1*2¶V
SXEOLFDWLRQRIDOOHJHGFRUUXSWLRQVFKHPHVLQWKH1DWLRQDO$VVHPEO\029,1LV
WKHIRXQGHUDQGIXQGHURI)RFR3DQDPD

/LEHO6ODQGHU/DZV7KHODZFULPLQDOL]HVGHIDPDWLRQDQGSHQDOWLHVLQFOXGH
ILQHVLPSULVRQPHQWRUERWK7KHFDVHUHODWHGWRWKHFLYLOFRXUWRUGHUHG
VHL]XUHRI&RUSUHQVD¶VDVVHWVUHPDLQHGLQWKHFRXUWVDZDLWLQJDUXOLQJ&RUSUHQVD
ZDVRYHUGXHRQSRVWLQJILQDQFLDOEDLORIPRUHWKDQRQHPLOOLRQGROODUVIRUD
OLEHODQGVODQGHUODZVXLWEURXJKWE\IRUPHUSUHVLGHQW3HUH]%DOODGDUHV&RUSUHQVD
KDGEHHQDSSHDOLQJWKHFDVHIRUHLJKW\HDUV


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,QWHUQHW)UHHGRP

7KHJRYHUQPHQWGLGQRWUHVWULFWRUGLVUXSWDFFHVVWRWKHLQWHUQHWRUFHQVRURQOLQH
FRQWHQWDQGWKHUHZHUHQRFUHGLEOHUHSRUWVWKDWWKHJRYHUQPHQWPRQLWRUHGSULYDWH
RQOLQHFRPPXQLFDWLRQVZLWKRXWDSSURSULDWHOHJDODXWKRULW\

$FDGHPLF)UHHGRPDQG&XOWXUDO(YHQWV

7KHUHZHUHQRJRYHUQPHQWUHVWULFWLRQVRQDFDGHPLFIUHHGRPRUFXOWXUDOHYHQWV

E)UHHGRPVRI3HDFHIXO$VVHPEO\DQG$VVRFLDWLRQ
7KHODZSURYLGHVIRUWKHIUHHGRPVRISHDFHIXODVVHPEO\DQGDVVRFLDWLRQDQGWKH
JRYHUQPHQWJHQHUDOO\UHVSHFWHGWKHVHULJKWV

F)UHHGRPRI5HOLJLRQ
6HHWKH'HSDUWPHQWRI6WDWH¶V,QWHUQDWLRQDO5HOLJLRXV)UHHGRP5HSRUWDW
KWWSVZZZVWDWHJRYUHOLJLRXVIUHHGRPUHSRUW

G)UHHGRPRI0RYHPHQWDQGWKH5LJKWWR/HDYHWKH&RXQWU\
7KHODZSURYLGHVIRUIUHHGRPRILQWHUQDOPRYHPHQWIRUHLJQWUDYHOHPLJUDWLRQ
DQGUHSDWULDWLRQEXWGXHWRWKH&29,'SDQGHPLFWKHJRYHUQPHQWLVVXHG
VHYHUDOUHVROXWLRQVOLPLWLQJPRYHPHQWVQDWLRQZLGH/LPLWDWLRQVLQFOXGHGVWULFW
TXDUDQWLQHUXOHVDQGORQJFXUIHZV,Q-XO\WKH6XSUHPH&RXUWRI-XVWLFHUXOHG
XQFRQVWLWXWLRQDODOO0LQLVWU\RI+HDOWKGHFUHHVIRUELGGLQJPRYHPHQWEDVHGRQ
JHQGHUGDWHDQGQDWLRQDOLGHQWLILFDWLRQQXPEHUV7KHUXOLQJZDVVLJQLILFDQWIRU
WKHWUDQVJHQGHUQRQELQDU\DQGJHQGHUQRQFRQIRUPLQJFRPPXQLWLHVDVZHOODVIRU
SHUVRQVZLWKGLVDELOLWLHVZKRZHUHPRVWGLUHFWO\DIIHFWHGE\WKHVWULFWPRYHPHQW
UHVWULFWLRQVLPSRVHGLQ

H6WDWXVDQG7UHDWPHQWRI,QWHUQDOO\'LVSODFHG3HUVRQV

1RWDSSOLFDEOH




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I3URWHFWLRQRI5HIXJHHV
7KHJRYHUQPHQWFRRSHUDWHGZLWKWKH2IILFHRIWKH81+LJK&RPPLVVLRQHUIRU
5HIXJHHV 81+&5 DQGRWKHUKXPDQLWDULDQRUJDQL]DWLRQVLQSURYLGLQJSURWHFWLRQ
DQGDVVLVWDQFHWRUHIXJHHVDV\OXPVHHNHUVVWDWHOHVVSHUVRQVDQGRWKHUSHUVRQVRI
FRQFHUQ

,QWHUQDWLRQDORUJDQL]DWLRQDQG1*2SDUWQHUVUHSRUWHGWKDWWKHUHFRQWLQXHGWREH
EDUULHUVWRLQWHJUDWLRQRIDV\OXPVHHNHUVDQGUHIXJHHVLQFOXGLQJEXWQRWOLPLWHGWR
ODFNRIZRUNRSSRUWXQLWLHVDQGEDUULHUVSUHYHQWLQJFKLOGUHQLQWKHVHSRSXODWLRQV
IURPDWWHQGLQJVFKRRO

$FFHVVWR$V\OXP7KHODZSURYLGHVIRUDV\OXPRUUHIXJHHVWDWXVDQGWKH
JRYHUQPHQWKDVHVWDEOLVKHGDV\VWHPIRUSURYLGLQJSURWHFWLRQWRUHIXJHHV'HVSLWH
WKHOLIWLQJRIPRYHPHQWUHVWULFWLRQVWKH3DQDPDQLDQ1DWLRQDO2IILFHIRU$WWHQWLRQ
WR5HIXJHHV 213$5 UHFHLYHGDVLJQLILFDQWO\UHGXFHGQXPEHURIDV\OXPDQG
UHIXJHHDSSOLFDWLRQV213$5UHGXFHGLWVEDFNORJRIDV\OXPFDVHVIURPQHDUO\
WREXWPRVWFDVHVZHUHGLVPLVVHGRUDV\OXPVHHNHUVKDGOHIWWKH
FRXQWU\$GPLVVLRQDQGDSSURYDOUDWHVIRUDV\OHHVUHPDLQHGH[WUHPHO\ORZGXULQJ
WKH\HDU OHVVWKDQSHUFHQW 213$5SURFHVVHGLQLWLDODV\OXPDSSOLFDWLRQV
2QFHDFDVHLVDSSURYHGIRUFRQVLGHUDWLRQWKHDSSOLFDWLRQLVUHIHUUHGWRWKH
1DWLRQDO&RPPLVVLRQIRU5HIXJHHVDQLQWHUDJHQF\FRPPLWWHHWKDWGHFLGHVWKH
ILQDOVWDWXVRIHYHU\FDVH7KLVFRPPLWWHHPHHWVRQO\DIHZWLPHVD\HDUDQG
DGMXGLFDWHVIHZHUWKDQFDVHVDQQXDOO\7KHHQWLUHSURFHVVFRXOGWDNHXSWRWKUHH
\HDUV7KRVHLQLWLDOO\DGPLWWHGLQWRWKHSURFHVVE\213$5PD\REWDLQZRUN
DXWKRUL]DWLRQEXWWKHZDLWLQJSHULRGDOVRQRUPDOO\WRRND\HDUDQGGLGQRW
JXDUDQWHHILQDODSSURYDO

7KHJRYHUQPHQWDSSURYHGDQGLPSOHPHQWHGDSURWRFROIRULGHQWLILFDWLRQUHIHUUDO
DQGDWWHQWLRQIRUPLQRUVUHTXLULQJLQWHUQDWLRQDOSURWHFWLRQKRZHYHUWKH
LQVWLWXWLRQDOSURWRFROIRUSURWHFWLQJPLQRUVZKRPLJUDWHZDVSHQGLQJ
LPSOHPHQWDWLRQDSSURYDO

7KHJRYHUQPHQWFRQWLQXHGWRPDQDJHFDPSVLQWKH'DULHQDQG&KLULTXL3URYLQFHV
WKDWSURYLGHIRRGVKHOWHUDQGPHGLFDODVVLVWDQFHWRPLJUDQWV&RQGLWLRQVLQWKH
FDPSVUHPDLQHGGLIILFXOW$WOHDVWRQHFDPSGLGQRWKDYHUHJXODUDFFHVVWRSRWDEOH


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ZDWHUDQGDWWLPHVKDGXQVDQLWDU\FRQGLWLRQVGXHWRWKHXQSUHFHGHQWHGLQFUHDVHRI
UHIXJHHVDV\OXPVHHNHUVDQGPLJUDQWV$XWKRULWLHVUHSRUWHGFRQWLQXHGPLJUDWLRQ
IURP%UD]LO&KLOH&XED+DLWL9HQH]XHODDVZHOODVIURP6RXWK$VLDDQG$IULFD
1HDUO\DOOWKHPLJUDQWVHQWHUHGE\IRRWWKURXJKWKH'DULHQ*DSDURDGOHVVH[SDQVH
RIMXQJOHRQWKHHDVWHUQERUGHUZLWK&RORPELD,QWHUQDWLRQDORUJDQL]DWLRQV
UHSRUWHGDQLQFUHDVHLQDFWVRIYLROHQFHDJDLQVWPLJUDQWVGXULQJWKHLUWUHNWKURXJK
WKH'DULHQ*DSLQFOXGLQJVH[XDODVVDXOWVUREEHULHVDQGNLOOLQJVSURPSWLQJ
DXWKRULWLHVWRSHUPDQHQWO\DVVLJQWKUHH3XEOLF0LQLVWU\RIILFLDOVWRGRFXPHQW
FULPLQDOFRPSODLQWVIURPPLJUDQWV

213$5GLGQRWKDYHDSHUPDQHQWSUHVHQFHDWPLJUDQWFDPSVLQWKH'DULHQUHJLRQ
SHUVRQVZKRZLVKHGWRUHTXHVWDV\OXPKDGWRDSSURDFKWKH1DWLRQDO%RUGHU
6HUYLFHDQLQWHUQDWLRQDORUJDQL]DWLRQRUDQ1*2WRUHTXHVWSURWHFWLRQDQGWKHQ
PHHWZLWKDQ213$5UHSUHVHQWDWLYHFUHDWLQJEDUULHUVWRDFFHVVDQGGHOD\V

$FFRUGLQJWR81+&5DQGLWV1*2LPSOHPHQWLQJSDUWQHUVWKRXVDQGVRISHUVRQV
LQWKHFRXQWU\QHHGHGLQWHUQDWLRQDOSURWHFWLRQ7KHVHLQFOXGHGSHUVRQVLQWKH
DV\OXPDQGUHIXJHHSURFHVVSHUVRQVGHQLHGUHIXJHHVWDWXVDQGSHUVRQVZKRGLG
QRWDSSO\IRUUHIXJHHVWDWXVGXHWRODFNRINQRZOHGJHRUIHDURIGHSRUWDWLRQ

(PSOR\PHQW5HIXJHHVUHFRJQL]HGE\DXWKRULWLHVKDYHWKHULJKWWRZRUNEXW
UHFRJQL]HGUHIXJHHVFRPSODLQHGWKDWWKH\IDFHGGLVFULPLQDWRU\KLULQJSUDFWLFHV
7RSUHYHQWVXFKGLVFULPLQDWLRQ213$5UHPRYHGWKHZRUG³UHIXJHH´IURP
UHFRJQL]HGUHIXJHHV¶LGHQWLILFDWLRQFDUGV%\ODZ213$5FRQWLQXHGWRDVVLVW
DSSOLFDQWVDGPLWWHGWRWKHUHIXJHHSURFHVVZLWKREWDLQLQJWHPSRUDU\ZRUNSHUPLWV
7HPSRUDU\ZRUNSHUPLWVDUHYDOLGIRURQH\HDUEXWPD\EHUHQHZHGDVPDQ\WLPHV
DVQHHGHGXQWLOWKH1DWLRQDO&RPPLVVLRQIRU5HIXJHHVLVVXHVDILQDOUHVROXWLRQRQ
DFDVH

$FFHVVWR%DVLF6HUYLFHV(GXFDWLRQDXWKRULWLHVVRPHWLPHVGHQLHGUHIXJHHV
DFFHVVWRHGXFDWLRQDQGUHIXVHGWRLVVXHGLSORPDVWRRWKHUVLIWKH\FRXOGQRW
SUHVHQWFRPSOHWHFHUWLILHGVFKRROUHFRUGVIURPWKHLUFRXQWU\RIRULJLQ7KH
0LQLVWU\RI(GXFDWLRQFRQWLQXHGWRHQIRUFHWKHJRYHUQPHQW¶VGHFUHH
UHTXLULQJVFKRROVWRDFFHSWVWXGHQWVLQWKHDV\OXPSURFHVVDWWKHJUDGHOHYHO
FRPPHQVXUDWHZLWKWKHDSSOLFDQWV¶SULRUVWXGLHV$81+&5VXUYH\FRQGXFWHG
GXULQJWKH\HDUIRXQGWKDWVFKRRODJHUHIXJHHFKLOGUHQRIWHQGLGQRWKDYHWKH


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ILQDQFLDOUHVRXUFHVRUWRROVWRWDNHDGYDQWDJHRIRSSRUWXQLWLHVIRUYLUWXDOHGXFDWLRQ
$VDUHVXOWRIWKHORQJZDLWWLPHVWREHHQWHUHGLQWRWKHDV\OXPV\VWHPPDQ\
DSSOLFDQWVHQFRXQWHUHGGLIILFXOWLHVDFFHVVLQJEDVLFVHUYLFHVVXFKDVKHDOWKFDUH
ILQDQFLDOVHUYLFHVDQGDSSURSULDWHKRXVLQJ

'XUDEOH6ROXWLRQV7KHODZDOORZVSHUVRQVOHJDOO\UHFRJQL]HGDVUHIXJHHVRUZLWK
DV\OXPVWDWXVZKRKDYHOLYHGLQWKHFRXQWU\IRUPRUHWKDQWKUHH\HDUVWRVHHN
SHUPDQHQWUHVLGHQF\

J6WDWHOHVV3HUVRQV
7KHJRYHUQPHQWFRQWLQXHGWRZRUNZLWK&RORPELDWRUHFRJQL]HDSSUR[LPDWHO\
VWDWHOHVVSHUVRQVRQWKHERUGHU

6HFWLRQ)UHHGRPWR3DUWLFLSDWHLQWKH3ROLWLFDO3URFHVV
7KHODZSURYLGHVFLWL]HQVWKHDELOLW\WRFKRRVHWKHLUJRYHUQPHQWLQIUHHDQGIDLU
SHULRGLFHOHFWLRQVKHOGE\VHFUHWEDOORWEDVHGRQXQLYHUVDODQGHTXDOVXIIUDJH,Q
2FWREHUFLWL]HQVSURWHVWHGDJDLQVWWKH1DWLRQDO$VVHPEO\¶VSURSRVHGHOHFWRUDO
UHIRUPVZKLFKVHYHUDOPHPEHUVRIFLYLOVRFLHW\KDGFULWLFL]HGDVSROLWLFDOO\
PRWLYDWHGPHFKDQLVPVWKDWFRXOGLQFUHDVHFRUUXSWLRQDQGFOLHQWHOLVP

(OHFWLRQVDQG3ROLWLFDO3DUWLFLSDWLRQ
5HFHQW(OHFWLRQV,Q0D\YRWHUVFKRVH/DXUHQWLQR&RUWL]R&RKHQDV
SUHVLGHQWLQQDWLRQDOHOHFWLRQVWKDWLQGHSHQGHQWREVHUYHUVFRQVLGHUHGJHQHUDOO\IUHH
DQGIDLU(OHFWHGDWWKHVDPHWLPHZHUHQDWLRQDOOHJLVODWRUVPD\RUVORFDO
UHSUHVHQWDWLYHVDQGFRXQFLOPHPEHUV$JURXSRILQWHUQDWLRQDOREVHUYHUVIURPWKH
2UJDQL]DWLRQRI$PHULFDQ6WDWHVWKH(8HOHFWRUDO1*2VUHJLRQDOHOHFWRUDO
DXWKRULWLHVDQGWKHGLSORPDWLFFRUSVFRQVLGHUHGWKHHOHFWLRQVIDLUDQGWUDQVSDUHQW

3ROLWLFDO3DUWLHVDQG3ROLWLFDO3DUWLFLSDWLRQ7KHODZUHTXLUHVQHZSROLWLFDO
SDUWLHVWRPHHWVWULFWPHPEHUVKLSDQGRUJDQL]DWLRQDOVWDQGDUGVWRJDLQRIILFLDO
UHFRJQLWLRQDQGSDUWLFLSDWHLQQDWLRQDOFDPSDLJQV3ROLWLFDOSDUWLHVPXVWREWDLQWKH
HTXLYDOHQWRISHUFHQWRIWRWDOYRWHVFDVWWRPDLQWDLQOHJDOVWDQGLQJ:KHQWKH
\HDUEHJDQWKHUHZHUHVL[UHJLVWHUHGSROLWLFDOSDUWLHVEXWWKUHHQHZSROLWLFDO
PRYHPHQWVDOVRUHFHLYHGWKH(OHFWRUDO7ULEXQDO¶VRIILFLDOUHFRJQLWLRQ7KHWKUHH


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QHZSDUWLHVZHUH5HDOL]DQGR0HWDV 5HDOL]LQJ*RDOV OHGE\IRUPHUSUHVLGHQW
0DUWLQHOOL0RYLPLHQWR2WUR&DPLQR $QRWKHU3DWK0RYHPHQW OHGE\WKH
WKLUGUXQQHUXS5LFDUGR/RPEDQDDQG3DUWLGR$OWHUQDWLYD,QGHSHQGLHQWH6RFLDO
 $OWHUQDWLYH6RFLDO,QGHSHQGHQW3DUW\RU3$,6 OHGE\PHPEHUVRIWKH
HYDQJHOLFDOFRPPXQLW\

3DUWLFLSDWLRQRI:RPHQDQG0HPEHUVRI0LQRULW\*URXSV1RODZVOLPLW
SDUWLFLSDWLRQRIZRPHQRUPHPEHUVRIPLQRULW\JURXSVLQWKHSROLWLFDOSURFHVVDQG
WKH\GLGSDUWLFLSDWH

6HFWLRQ&RUUXSWLRQDQG/DFNRI7UDQVSDUHQF\LQ
*RYHUQPHQW
7KHODZSURYLGHVFULPLQDOSHQDOWLHVIRUFRUUXSWLRQE\RIILFLDOVEXWWKHJRYHUQPHQW
JHQHUDOO\GLGQRWLPSOHPHQWWKHODZHIIHFWLYHO\&RUUXSWLRQUHPDLQHGDVHULRXV
SUREOHPLQWKHH[HFXWLYHMXGLFLDODQGOHJLVODWLYHEUDQFKHVDVZHOODVLQWKH
VHFXULW\IRUFHV

&RUUXSWLRQ,Q0DUFKWKH3XEOLF0LQLVWU\ILOHGFKDUJHVDJDLQVWLQGLYLGXDOV
DFFXVHGRIXVLQJPLOOLRQLQSXEOLFIXQGVWRSXUFKDVHWKH(GLWRUD3DQDPD
$PHULFDQHZVSDSHUJURXS,Q$SULOWKH3XEOLF0LQLVWU\ILOHGFKDUJHVDJDLQVWWZR
IRUPHUSUHVLGHQWV5LFDUGR0DUWLQHOOLDQG-XDQ&DUORV9DUHODDQGWKUHHIRUPHU
PLQLVWHUV'HPHWULR³-LPP\´3DSDGLPLWULX)UDQN'H/LPDDQG-DLPH)RUGIRU
FRUUXSWLRQUHODWHGWRWKH2GHEUHFKWFDVH$VRI2FWREHUWKHFRXUWVKDGQRWPDGHD
GHFLVLRQLQHLWKHUFDVH

,Q-XQHDPDMRUVFDQGDOEURNHQDWLRQZLGHZKHQMRXUQDOLVWVIRXQGDSULYDWHFOLQLF
DGPLQLVWHULQJ3IL]HUYDFFLQHVIRUDQDOOHJHGIHHRI&29,'YDFFLQHV
 3IL]HUDQG$VWUD=HQHFD ZHUHVROHO\PDQDJHG±SXUFKDVHGJXDUGHGDQG
DGPLQLVWHUHG±E\WKH0LQLVWU\RI+HDOWK,Q'HFHPEHUWKH3XEOLF0LQLVWU\
SUHVVHGFULPLQDOFKDUJHVDJDLQVWWZRLQGLYLGXDOVLQYROYHGLQWKHFDVH6HSDUDWHO\
IRUPHUSUHVLGHQW(UQHVWR3HUH]%DOODGDUHVSXEOLFO\DGPLWWHGWREHLQJYDFFLQDWHG
SULRUWRQDWLRQDODYDLODELOLW\DORQJZLWKPHPEHUVRIKLVIDPLO\DWKLVUHVLGHQFH
0HDQZKLOHWKHUHVWRIWKHFRXQWU\LQFOXGLQJ3UHVLGHQW&RUWL]RDZDLWHGWKHLUWXUQ
DVGLFWDWHGE\WKHPLQLVWU\¶VVWULFWJXLGHOLQHVRQDJHKHDOWKFRQGLWLRQVDQGSODFH
RIUHVLGHQFH7KH3XEOLF0LQLVWU\GLGQRWRSHQLQYHVWLJDWLRQVLQWRWKHPDWWHURU


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ILOHFKDUJHVIRUDEXVHRIDXWKRULW\RUFRUUXSWLRQ

&RUUXSWLRQDQGODFNRIDFFRXQWDELOLW\FRQWLQXHGLQWKHSROLFHIRUFH7KHSXEOLF
IRUFHVODFNHGDQLPSDUWLDOLQYHVWLJDWLYHERG\IRULQWHUQDOLQYHVWLJDWLRQV7KH
DEVHQFHRIFOHDUVWDQGDUGRSHUDWLQJSURFHGXUHVDOORZHGIRUGLVFUHWLRQE\DJHQWVRQ
DFDVHE\FDVHEDVLV7KHODFNRISHULRGLFDXGLWVRYHURSHUDWLRQVWRRYHUVHH
HIILFLHQF\HIILFDF\DFFRXQWDELOLW\DQGWUDQVSDUHQF\FRQWULEXWHGWRWKHSUREOHP
,Q6HSWHPEHUDXWKRULWLHVDUUHVWHGDFRUSRUDODQGWZRDJHQWVIURPWKH,QVWLWXWLRQDO
3URWHFWLRQ6HUYLFHLQDFRXQWHUQDUFRWLFVVWLQJWKDWUHYHDOHGDQHWZRUNRI
LQGLYLGXDOVWUDIILFNLQJGUXJVIURP&RORPELD

$VRI2FWREHULQYHVWLJDWLRQVFRQWLQXHGLQWKHFDVHLQYROYLQJZHDSRQVDQG
ZHDSRQVWUDIILFNLQJFKDUJHVDJDLQVWPRUHWKDQLQGLYLGXDOVPRVWRIZKRPZHUH
KLJKOHYHOVHFXULW\RIILFLDOVGXULQJWKHSUHYLRXVJRYHUQPHQW7KHFKDUJHVLQYROYHG
WKHLOOHJDOGLVWULEXWLRQWRWKHRIILFLDOVRIOHJDOO\LPSRUWHGZHDSRQVVRPH
GHVLJQDWHG³ZHDSRQVRIZDU´7KH3XEOLF6HFXULW\$IIDLUV'LUHFWRUDWHWKHRIILFH
ZLWKLQWKH6HFXULW\0LQLVWU\WKDWUHJXODWHVDQGOLFHQVHVILUHDUPVZDVDVVRFLDWHG
ZLWKFRUUXSWLRQLQWKHSDVWDQGDWOHDVWWZRIRUPHURIILFHUGLUHFWRUVZHUHIDFLQJ
FKDUJHVZLWKRQHRIWKHPLPSOLFDWHGLQWKHFDVH6RPHGHIHQGDQWVILOHGOHJDO
SURFHHGLQJVEHIRUHWKH6XSUHPH&RXUWDOOHJLQJFRXUWV¶UHVWULFWLRQVWRWKHLUULJKWWR
GHIHQVHE\ORZHUFRXUWV$VRI2FWREHUWKHFRXUWKDGQRWUXOHGRQWKHZULWRI
PDQGDPXV

7KHUHZHUHQRGHYHORSPHQWVLQWKH3XEOLF0LQLVWU\LQYHVWLJDWLRQVRIQDWLRQDO
JRYHUQPHQWLQVWLWXWLRQVDOOHJHGO\RYHUSD\LQJIRUYHQWLODWRUVDQGSXUFKDVLQJXVHG
YHQWLODWRUVWRWUHDW&29,'SDWLHQWV

6HFWLRQ*RYHUQPHQWDO3RVWXUH7RZDUG,QWHUQDWLRQDODQG
1RQJRYHUQPHQWDO,QYHVWLJDWLRQRI$OOHJHG$EXVHVRI+XPDQ
5LJKWV
6HYHUDOGRPHVWLFDQGLQWHUQDWLRQDOKXPDQULJKWVJURXSVJHQHUDOO\RSHUDWHGZLWKRXW
JRYHUQPHQWUHVWULFWLRQLQYHVWLJDWLQJDQGPDNLQJSXEOLFWKHLUILQGLQJVRQKXPDQ
ULJKWVFDVHV

*RYHUQPHQW+XPDQ5LJKWV%RGLHV7KHRPEXGVPDQHOHFWHGE\WKH1DWLRQDO


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$VVHPEO\KHDGVDQRIILFHZLWKOHJDOEXWQRQELQGLQJDXWKRULW\7KH2PEXGVPDQ¶V
2IILFHUHIHUVFDVHVWRWKHSURSHULQYHVWLJDWLQJDXWKRULWLHVDQGILOHVFDVHVEHIRUHWKH
3XEOLF0LQLVWU\,QDQDWLRQDOWHOHYLVLRQLQWHUYLHZLQ$XJXVWWKHRPEXGVPDQ
SXEOLFO\FRPSODLQHGWKDWWKHJRYHUQPHQWUHIXVHGWRGHGLFDWHVXIILFLHQWUHVRXUFHV
IRUKXPDQULJKWVSXUSRVHV LQYHVWLJDWLRQVLQIRUPDWLRQJDWKHULQJLQIUDVWUXFWXUH
DQGPRUHSURIHVVLRQDOVWDIIDQGWUDLQLQJDPRQJRWKHUV 7KH0LQLVWU\RI(FRQRP\
DQG)LQDQFHUHGXFHGWKH2PEXGVPDQ¶V2IILFHEXGJHWWRPLOOLRQDQ
DPRXQWOLNHLWVEXGJHW7KHRPEXGVPDQ¶VH[HFXWLYHWHDPVDLGWKHUHGXFWLRQ
ZRXOGGLPLQLVKWKHHQWLW\¶VFDSDFLW\WRRYHUVHHKXPDQULJKWVLVVXHVLQWKH
PDQDJHPHQWRISULVRQVDQGPLJUDQWFDPSVLQYHVWLJDWHUHSRUWVRIJHQGHUYLROHQFH
DQGGLVFULPLQDWLRQDJDLQVWSHUVRQVZLWKGLVDELOLWLHVPHPEHUVRIHWKQLFJURXSVDV
ZHOODVOHVELDQJD\ELVH[XDOWUDQVJHQGHUTXHHUDQGLQWHUVH[ /*%74, 
SHUVRQVDQGVXVWDLQVWDIILQJRIWKUHHRILWVRIILFHVDQGPDLQWDLQLWVYHKLFOHIOHHW

6HFWLRQ'LVFULPLQDWLRQDQG6RFLHWDO$EXVHV
:RPHQ
5DSHDQG'RPHVWLF9LROHQFH7KHODZFULPLQDOL]HVUDSHRIPHQRUZRPHQ
LQFOXGLQJVSRXVDOUDSHDQGVWLSXODWHVSULVRQWHUPVRIILYHWR\HDUV5DSHV
FRQWLQXHGWRFRQVWLWXWHPRVWVH[XDOFULPHVLQYHVWLJDWHGE\WKH1DWLRQDO3ROLFH
'LUHFWRUDWHRI-XGLFLDO,QYHVWLJDWLRQ,Q$SULOWKH6XSUHPH&RXUWIRXQG1DWLRQDO
$VVHPEO\PHPEHU$UTXHVLR$ULDVD*XQD<DODQDWLYHQRWJXLOW\LQERWKRIKLV
FKDUJHVIRUVH[XDODVVDXOWDOOHJLQJD³ODFNRIHYLGHQFH´$ULDVZDVD
SK\VLFLDQLQKLVLQGLJHQRXVFRPDUFD DOHJDOO\GHVLJQDWHGVHPLDXWRQRPRXVDUHD 
DQGZDVGHQRXQFHGE\VHYHUDO*XQD<DODZRPHQIRUVH[XDOPLVFRQGXFWDQG
DEXVH$ULDVUHWXUQHGWRKLVOHJLVODWLYHVHDWRQ-XO\7KHODZDJDLQVWJHQGHU
YLROHQFHVWLSXODWHVVWLIISHQDOWLHVIRUKDUDVVPHQWJHQGHUEDVHGYLROHQFHDQGERWK
SK\VLFDODQGHPRWLRQDODEXVH)RUH[DPSOHWKHODZVWDWHVWKDWVHQWHQFLQJIRU
IHPLFLGHLVWR\HDUVLQSULVRQZKHUHDVSHQDOWLHVIRURWKHUIRUPVRIKRPLFLGH
UDQJHIURPWR\HDUVLQSULVRQ7KHODZZDVQRWHIIHFWLYHO\HQIRUFHG
2IILFLDOVDQGFLYLOVRFLHW\RUJDQL]DWLRQVDJUHHGWKDWGRPHVWLFYLROHQFHFRQWLQXHGWR
EHDVHULRXVSUREOHP

$VRI2FWREHUWKH3XEOLF0LQLVWU\UHSRUWHGQHZFDVHVRIGRPHVWLFYLROHQFH
QDWLRQZLGHLQFOXGLQJDWWHPSWHGIHPLFLGHVDQGIHPLFLGHV7KHSURYLQFHRI

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                                         3DJH                          CLP_PC_024127
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3DQDPD2HVWHDQGWKH1JDEH%XJOHFRPDUFDOHGWKHQXPEHUVZLWKIRXUIHPLFLGHV
HDFKIROORZHGE\WKH3DQDPD3URYLQFHZLWKWKUHHFDVHV,Q$XJXVW3DQDPD
&LW\¶VGHSXW\PD\RU-XG\0HDQDSUHVVHGFKDUJHVDJDLQVWKHUSDUWQHUIRUGRPHVWLF
YLROHQFH7KHDOOHJHGDEXVHUZDVGHWDLQHGIRUVHYHUDOKRXUV7KHMXGJHUHOHDVHG
KLPZKLOHUHTXLULQJWKDWWKHDFFXVHGUHOHDVHKLVSDVVSRUWWRWKHFRXUWDSSHDUEHIRUH
WKHFRXUW¶VRIILFHHYHU\0RQGD\:HGQHVGD\DQG)ULGD\DQGDGKHUHWRD
UHVWUDLQLQJRUGHUIURP0HDQD7KHSURVHFXWRUILOHGDQDSSHDOEXWWKHMXGJHXSKHOG
WKHGHFLVLRQ

)URP-DQXDU\WKURXJK$XJXVWWKH1DWLRQDO,QVWLWXWHIRU:RPHQ¶V$IIDLUV
FRQWLQXHGWRRSHUDWHLWVKRWOLQHWRJLYHOHJDOJXLGDQFHWRYLFWLPVRIGRPHVWLF
YLROHQFHDQGH[WHQGHGLWVVHUYLFHVWRLQFOXGHPHQWDOKHDOWKVHUYLFHVIRUZRPHQ
IDFLQJVWUHVVDVDUHVXOWRIWKH&29,'SDQGHPLF+RXUVRIRSHUDWLRQZHUH
UHGXFHGIURPWRDPWRSPGXHWRDVKRUWDJHRISURIHVVLRQDOVWDIIWR
VXSSRUWWKHKRWOLQH,IDFDOOHUZHUHDWULVNGXULQJWKHFDOOWKHRSHUDWRUZRXOG
PDNHDFRQQHFWLRQZLWKWKH6SHFLDOL]HG8QLWIRU'RPHVWLFDQG*HQGHU9LROHQFH
ZLWKLQWKHSROLFHGHSDUWPHQW$IWHUSURIHVVLRQDOVWDIIUHWXUQHGWRLQSHUVRQZRUN
LQ6HSWHPEHUWKHKRWOLQHVHUYLFHVZHUHGLVFRQWLQXHGGXHWRVWDIILQJOLPLWDWLRQV
7KHLQVWLWXWHFRQWLQXHGWRZRUNXQGHUDEXGJHWWKDWGLGQRWDOORZIRUYLFWLP
VHUYLFHVDQGDVVLVWDQFH

6H[XDO+DUDVVPHQW7KHODZSURKLELWVVH[XDOKDUDVVPHQWLQFDVHVRIHPSOR\HU
HPSOR\HHUHODWLRQVLQWKHSXEOLFDQGSULYDWHVHFWRUVDQGLQWHDFKHUVWXGHQWUHODWLRQV
EXWQRWEHWZHHQFROOHDJXHV9LRODWRUVIDFHDPD[LPXPWKUHH\HDUSULVRQVHQWHQFH
7KHH[WHQWRIWKHSUREOHPZDVGLIILFXOWWRGHWHUPLQHEHFDXVHFRQYLFWLRQVIRU
VH[XDOKDUDVVPHQWZHUHUDUHSUHHPSOR\PHQWVH[XDOKDUDVVPHQWZDVQRW
DFWLRQDEOHDQGWKHUHZDVDODFNRIIRUPDOUHSRUWV RQO\FDVHVKDGEHHQUHSRUWHG
DVRI6HSWHPEHU 

,QYHVWLJDWLRQVDWWKH3XEOLF0LQLVWU\FRQWLQXHGLQWKHFDVHRID1DWLRQDO
$HURQDYDO6HUYLFH 6(1$1 IHPDOHSLORWZKRILOHGDFULPLQDOFRPSODLQWIRU
VH[XDOKDUDVVPHQWDJDLQVWKHULPPHGLDWHVXSHUYLVRU%RWKWKHPDQDFFXVHGRIWKH
KDUDVVPHQWDQGWKHYLFWLPZHUHWUDQVIHUUHGWRRWKHUGHSDUWPHQWVDQGJLYHQQHZ
GXWLHV)RUPRQWKVGXULQJWKH\HDUPDQ\UHVWURRPVIRUZRPHQDW6(1$1
UHPDLQHGORFNHGGXHWRWKHSHQGLQJFDVH,QWKHVHFDVHVZRPHQQHHGHGWRREWDLQ
DNH\IURPDVSHFLILFRIILFHWRDFFHVVWKHLUUHVWURRPV5HVWURRPVIRUPHQ

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FRQWLQXHGWREHRSHQDQGXQORFNHGDWDOOWLPHV

5HSURGXFWLYH5LJKWV7KHUHZHUHQRUHSRUWVRIFRHUFHGDERUWLRQRULQYROXQWDU\
VWHULOL]DWLRQRQWKHSDUWRIJRYHUQPHQWDXWKRULWLHV

7KHODZSHUPLWVPHGLFDOSURIHVVLRQDOVWRSHUIRUPDERUWLRQVRQO\LIWKHIHWXVWKH
PRWKHURUERWKDUHLQGDQJHURULQVRPHYHU\OLPLWHGFDVHVLIWKHSUHJQDQF\LV
WKHUHVXOWRIUDSH

7KHJRYHUQPHQWSURYLGHGVH[XDODQGUHSURGXFWLYHKHDOWKVHUYLFHVIRUVXUYLYRUVRI
VH[XDOYLROHQFHLQFOXGLQJHPHUJHQF\FRQWUDFHSWLRQ

'LVFULPLQDWLRQ7KHODZSURKLELWVGLVFULPLQDWLRQEDVHGRQJHQGHUDQGZRPHQ
HQMR\HGWKHVDPHOHJDOVWDWXVDQGULJKWVDVPHQEXWWKHODZZDVQRWHQIRUFHG)RU
H[DPSOH6(1$1SHUPLWWHGIHPDOHSLORWVWRIO\RQO\DVFRSLORWVZKLOHPDOH
QHZFRPHUVZLWKOHVVVHQLRULW\ZHUHDOORZHGWRIO\DVSULQFLSDOSLORWVZLWKRXW
UHVWULFWLRQV7KHODZUHFRJQL]HVMRLQWSURSHUW\LQPDUULDJHV7KHODZGRHVQRW
PDQGDWHHTXDOSD\IRUPHQDQGZRPHQLQHTXLYDOHQWMREV6RPHHPSOR\HUV
FRQWLQXHGWRUHTXHVWSUHJQDQF\WHVWVDOWKRXJKLWLVDQLOOHJDOKLULQJSUDFWLFH7KH
ODZSXWVUHVWULFWLRQVRQZRPHQZRUNLQJLQMREVGHHPHGKD]DUGRXV

6\VWHPLF5DFLDORU(WKQLF9LROHQFHDQG'LVFULPLQDWLRQ
0LQRULW\JURXSVZHUHJHQHUDOO\LQWHJUDWHGLQWRPDLQVWUHDPVRFLHW\3UHMXGLFHZDV
GLUHFWHGKRZHYHUDWUHFHQWOHJDOLPPLJUDQWVWKH$IUR3DQDPDQLDQFRPPXQLW\
DQGLQGLJHQRXV3DQDPDQLDQV

7KH$IUR3DQDPDQLDQFRPPXQLW\FRQWLQXHGWREHXQGHUUHSUHVHQWHGLQ
JRYHUQPHQWDOSRVLWLRQVDQGLQSROLWLFDODQGHFRQRPLFSRZHU$UHDVZKHUHPDQ\
$IUR3DQDPDQLDQVOLYHGODJJHGLQWHUPVRIJRYHUQPHQWVHUYLFHVDQGVRFLDO
LQYHVWPHQW7KHJRYHUQPHQW¶V1DWLRQDO6HFUHWDULDWIRUWKH'HYHORSPHQWRI$IUR
3DQDPDQLDQVIRFXVHGRQWKHVRFLRHFRQRPLFDGYDQFHPHQWRIWKLVFRPPXQLW\

$VRI$XJXVWWKH2PEXGVPDQ¶V2IILFHKDGUHFHLYHGVL[FRPSODLQWVRIUDFLVP
)LYHRIWKHFRPSODLQWVLQYROYHGWKHXVHRIWUDGLWLRQDO$IULFDQFRVWXPHVDWZRUN
VLWHV7KHVL[WKUHSRUWFRQFHUQHGDSXEOLFVFKRROWKDWEDUUHGDVWXGHQW¶VXVHRIKDLU
EUDLGV$IWHUWKHRPEXGVPDQFRQWDFWHGWKHVFKRROSULQFLSDOUHJDUGLQJWKHPDWWHU


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WKHVWXGHQWZDVDOORZHGWRDWWHQGKLVYLUWXDOFODVVHVLQEUDLGV

7KHODZSURKLELWVGLVFULPLQDWLRQLQDFFHVVWRSXEOLFDFFRPPRGDWLRQVVXFKDV
UHVWDXUDQWVVWRUHVDQGRWKHUSULYDWHO\RZQHGHVWDEOLVKPHQWV/LJKWHUVNLQQHG
LQGLYLGXDOVFRQWLQXHGWREHRYHUUHSUHVHQWHGLQPDQDJHPHQWSRVLWLRQVDQGMREVWKDW
UHTXLUHGGHDOLQJZLWKWKHSXEOLFVXFKDVEDQNWHOOHUVDQGUHFHSWLRQLVWV

,QGLJHQRXV3HRSOHV
7KHODZDIIRUGVLQGLJHQRXVSHUVRQVWKHVDPHSROLWLFDODQGOHJDOULJKWVDVRWKHU
FLWL]HQVSURWHFWVWKHLUHWKQLFLGHQWLW\DQGQDWLYHODQJXDJHVDQGUHTXLUHVWKH
JRYHUQPHQWWRSURYLGHELOLQJXDOOLWHUDF\SURJUDPVLQLQGLJHQRXVFRPPXQLWLHV
'HVSLWHWKHODZ¶VUHTXLUHPHQWWKHJRYHUQPHQWIDLOHGWRDVVLJQIXQGVQHFHVVDU\IRU
FRPSOHWLRQRIWKHELOLQJXDOOLWHUDF\SURMHFW,QGLJHQRXVSHUVRQVKDYHWKHOHJDO
ULJKWWRWDNHSDUWLQGHFLVLRQVDIIHFWLQJWKHLUODQGVFXOWXUHVWUDGLWLRQVDQGWKH
DOORFDWLRQDQGH[SORLWDWLRQRIQDWXUDOUHVRXUFHV1HYHUWKHOHVVWKH\FRQWLQXHGWREH
PDUJLQDOL]HGLQPDLQVWUHDPVRFLHW\7UDGLWLRQDOFRPPXQLW\OHDGHUVJRYHUQHG
FRPDUFDVIRUILYHRIWKHFRXQWU\¶VVHYHQLQGLJHQRXVJURXSV

6HYHUDORIWKHJURXSVIDFHGLQWHUQDOJRYHUQDQFHSUREOHPVVLQFHWKH\HLWKHUGLGQRW
KDYHOHJDOO\HOHFWHGDXWKRULWLHVRUWKHJRYHUQPHQWGHOD\HGWKHUHFRJQLWLRQRIWKHLU
GXO\HOHFWHGDXWKRULWLHV7KLVFRPSOLFDWHGWKHUHFHLSWRIJRYHUQPHQWIXQGV
LQFOXGLQJWKRVHDOORWWHGWRFRPEDWWKHVSUHDGRI&29,''XULQJWKH\HDUWKH
JRYHUQPHQWLVVXHGDQH[HFXWLYHGHJUHHUHJXODWLQJHOHFWLRQVLQWKH1JDEH%XJOH
FRPDUFDZKLFKKDGEHHQRQVWDQGE\VLQFH

7KHJRYHUQPHQWXQRIILFLDOO\UHFRJQL]HGHLJKWRWKHUWUDGLWLRQDOLQGLJHQRXV
JRYHUQPHQWDXWKRULWLHVRQWKHEDVLVWKDWWKHVHHLJKWUHJLRQVZHUHWUDGLWLRQDOO\
RUJDQL]HGLQGLJHQRXVVHWWOHPHQWVDQGWHUULWRULHVWKDWZHUHH[FOXGHGIURPWKH
FRQVWLWXWLRQZKHQWKHRULJLQDOFRPDUFDVZHUHGHVLJQDWHGLQ7KHWUDGLWLRQDO
JRYHUQPHQWDXWKRULWLHVDUHRUJDQL]HGXQGHUDQDWLRQDOFRRUGLQDWLQJERG\IRU
LQGLJHQRXVDIIDLUVWKH1DWLRQDO&RRUGLQDWRURI,QGLJHQRXV3HRSOHV,Q$XJXVWWKH
FRRUGLQDWLQJERG\VWDWHGWKDWKLJKOHYHOJRYHUQPHQWDXWKRULWLHVKDGLJQRUHGWKHLU
PHHWLQJUHTXHVWVZKLFKWKH\FRQVLGHUHGGLVFULPLQDWRU\VLQFHWKHJRYHUQPHQWKHOG
PHHWLQJVZLWKRWKHUHWKQLFJURXSVDQGDVVRFLDWLRQV7KHFRRUGLQDWLQJERG\DOVR
H[SUHVVHGFRQFHUQWKDWWKHJRYHUQPHQWZDVVWDOOLQJIXOOLPSOHPHQWDWLRQRIWKH


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,QGLJHQRXV3HRSOHV'HYHORSPHQW3ODQ

2IILFLDOVIURPYDULRXVJRYHUQPHQWHQWLWLHVFRQWLQXHGWRPHHWZLWKWUDGLWLRQDO
RUJDQL]HGDXWKRULWLHVIURPLQGLJHQRXVFRPPXQLWLHVPDQ\RIZKRPUHTXHVWHG
UHFRJQLWLRQRIWKHLUODQGYLDFROOHFWLYHWLWOHV1RFROOHFWLYHODQGWLWOHVZHUHJUDQWHG
GXULQJWKH\HDUKRZHYHUDQGODQGFRQIOLFWVFRQWLQXHGWRDULVH6HYHUDO(PEHUD
FRPPXQLWLHVLQ'DULHQ3URYLQFHFODLPHGWKDWLOOHJDOVHWWOHUVFRQWLQXHGWRHQWHU
WKHLUODQGVGXULQJWKH&29,'SDQGHPLFGHVSLWHWKHQDWLRQZLGHPRYHPHQW
UHVWULFWLRQVDQGWKDWWKHLUFRPSODLQWVZHQWXQDGGUHVVHG7KH6XSUHPH&RXUWRI
-XVWLFHUXOHGWKH1DVRFRPDUFDFRQVWLWXWLRQDODQGWKHOHJDOSURFHVVIRULWVFUHDWLRQ
ZDVXQGHUZD\,Q-XQHWKH%UL%ULSHRSOHVXEPLWWHGDGHPDQGWRWKH6XSUHPH
&RXUWIRUSURWHFWLRQRIWKHLUKXPDQULJKWVUHTXHVWLQJWKDWWKHFRXUWRYHUWXUQWKH
GHQLDORIWKHLUDSSOLFDWLRQIRUFROOHFWLYHWLWOHWRWKHLUODQGV

7KH%DUUR%ODQFRGDPSURMHFWRSSRVHGE\WKH1JDEH%XJOHSHRSOHVFRQWLQXHGWR
RSHUDWHXQKLQGHUHG7KHUHZHUHQRSODQVE\WKHJRYHUQPHQWWRKDOWGDP
RSHUDWLRQV

$OWKRXJKWKHODZLVWKHXOWLPDWHDXWKRULW\LQLQGLJHQRXVFRPDUFDVPDQ\
LQGLJHQRXVSHRSOHVKDGQRWUHFHLYHGVXIILFLHQWLQIRUPDWLRQWRXQGHUVWDQGWKHLU
ULJKWV$GGLWLRQDOO\GXHWRWKHLQDGHTXDWHHGXFDWLRQDOV\VWHPDYDLODEOHLQWKH
FRPDUFDVPDQ\LQGLJHQRXVSHRSOHVZHUHXQDZDUHRIRUIDLOHGWRXVHDYDLODEOH
OHJDOFKDQQHOV

6RFLHWDODQGHPSOR\PHQWGLVFULPLQDWLRQDJDLQVWLQGLJHQRXVSHUVRQVZDV
ZLGHVSUHDG(PSOR\HUVIUHTXHQWO\GHQLHGLQGLJHQRXVZRUNHUVEDVLFULJKWV
SURYLGHGE\ODZVXFKDVDPLQLPXPZDJHVRFLDOVHFXULW\EHQHILWVWHUPLQDWLRQ
SD\DQGMREVHFXULW\/DERUHUVRQWKHFRXQWU\¶VDJULFXOWXUDOSODQWDWLRQV PRVWRI
ZKRPZHUHLQGLJHQRXVSHUVRQV FRQWLQXHGWRZRUNLQRYHUFURZGHGDQGXQVDQLWDU\
FRQGLWLRQV7KH0LQLVWU\RI/DERUFRQGXFWHGOLPLWHGRYHUVLJKWRIZRUNLQJ
FRQGLWLRQVLQUHPRWHDUHDV

$FFHVVWRKHDOWKFDUHFRQWLQXHGWREHDVLJQLILFDQWSUREOHPIRULQGLJHQRXV
FRPPXQLWLHVSULPDULO\GXHWRSRRULQIUDVWUXFWXUHDQGODFNRISHUVRQQHODQG
VXSSOLHV'XULQJWKH\HDUWKH(PEHUDKHDOWKDQGVDQLWDU\LQIUDVWUXFWXUHFROODSVHG
XQGHUWKHLQFUHDVHGLQIOX[RIPLJUDQWVHPHUJLQJIURP&RORPELD7KH1JDEH


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%XJOHSHRSOHFORVHGWKH,QWHUDPHULFDQ+LJKZD\RQVHYHUDORFFDVLRQVGHPDQGLQJ
VLJQLILFDQWLPSURYHPHQWVWRWKHLUFRPDUFD¶VURDGV\VWHP'HILFLHQFLHVLQWKH
HGXFDWLRQDOV\VWHPGHHSHQHGDWDOOOHYHOVGXULQJWKH&29,'SDQGHPLF
$OWKRXJKWKHSXEOLFVFKRROV\VWHPUHPDLQHGRSHUDWLRQDOWKURXJKYLUWXDOHGXFDWLRQ
WKHFRPDUFDVW\SLFDOO\KDGYHU\OLPLWHGDFFHVVWRLQWHUQHWDQGUDGLRVLJQDOV7KHVH
WHFKQRORJLFDOEDUULHUVSUHYHQWHGLQGLJHQRXVVWXGHQWVIURPDFFHVVLQJHGXFDWLRQDO
RSSRUWXQLWLHV

&KLOGUHQ
%LUWK5HJLVWUDWLRQ7KHODZSURYLGHVFLWL]HQVKLSIRUDOOSHUVRQVERUQLQWKH
FRXQWU\EXWSDUHQWVRIFKLOGUHQERUQLQUHPRWHDUHDVVRPHWLPHVKDGGLIILFXOW\
REWDLQLQJELUWKUHJLVWUDWLRQFHUWLILFDWHV

&KLOG$EXVH&KLOGDEXVHLVLOOHJDO7KHODZKDVVHYHUDODUWLFOHVSHUWDLQLQJWR
FKLOGDEXVHDQGLWVSHQDOWLHVZKLFKGHSHQGRQWKHW\SHRIDEXVHDQGUDQJHIURPVL[
PRQWKVWR\HDUV¶LPSULVRQPHQWLIWKHDEXVHIDOOVXQGHUDFULPHWKDWFDUULHVD
KLJKHUSHQDOW\3XEOLF0LQLVWU\VWDWLVWLFVDVRI6HSWHPEHUUHSRUWHGWKDW
FKLOGUHQZHUHYLFWLPVRIGLIIHUHQWW\SHVRIDEXVHWKH3XEOLF0LQLVWU\EHOLHYHG
WKHVHFULPHVZHUHXQGHUUHSRUWHG7KH0LQLVWU\RI6RFLDO'HYHORSPHQWPDLQWDLQHG
DIUHHKRWOLQHIRUFKLOGUHQDQGDGXOWVWRUHSRUWFKLOGDEXVHDQGDGYHUWLVHGLWZLGHO\
7KHPLQLVWU\SURYLGHGIXQGLQJWRFKLOGUHQ¶VVKHOWHUVRSHUDWHGE\1*2V

,Q)HEUXDU\WKH:RPHQ¶V&KLOGUHQDQG<RXWK&RPPLVVLRQRIWKH1DWLRQDO
$VVHPEO\UHYHDOHGWKHUHVXOWVRIDVWXG\FRPPLVVLRQHGLQRIFKLOGUHQ¶V
VKHOWHUVQDWLRQZLGH7KHSDJHUHSRUWZKLFKZDVQRWPDGHSXEOLFEXWZDV
ZLGHO\GLVFXVVHGE\OHJLVODWRUVDOOHJHGO\UHYHDOHGZLGHVSUHDGDEXVHLQFOXGLQJ
VH[XDODEXVHQHJOLJHQFHODFNRIVXSSO\RIPHGLFDWLRQVDQGDGPLQLVWUDWLYH
LUUHJXODULWLHVLQWKHVKHOWHUVLQYHVWLJDWHG7KHVHVKHOWHUVZHUHPDQDJHGE\1*2V
VXSHUYLVHGE\WKH1DWLRQDO6HFUHWDULDWIRU&KLOGUHQ$GROHVFHQWVDQG)DPLO\
$IIDLUV 6(11,$) DQGRSHUDWHGZLWKJRYHUQPHQWIXQGLQJ

,QODWH$XJXVW6(11,$)DQQRXQFHGWKDWEHWZHHQ0D\DQG-XO\LWILOHGHLJKW
FULPLQDOFRPSODLQWVIRUDOOHJHGDEXVHLQVKHOWHUVLQUHVSRQVHWRDOHJLVODWRUZKR
DOHUWHGWKHPHGLDDERXWUHFHLYLQJDQRQ\PRXVFRPSODLQWVGHWDLOLQJDGGLWLRQDODEXVH
FDVHVLQ6(11,$)VXSHUYLVHGVKHOWHUV$VRI6HSWHPEHUWKH3XEOLF0LQLVWU\KDG


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RSHQHGFDVHVFKDUJHGLQGLYLGXDOVDQGFRQYLFWHGWKUHHRWKHUV

&KLOG(DUO\DQG)RUFHG0DUULDJH7KHPLQLPXPOHJDODJHIRUPDUULDJHLV
7KHJRYHUQPHQWSURKLELWVHDUO\PDUULDJHHYHQZLWKSDUHQWDOSHUPLVVLRQ

6H[XDO([SORLWDWLRQRI&KLOGUHQ7KHODZSURKLELWVWKHFRPPHUFLDOVH[XDO
H[SORLWDWLRQVDOHDQGRIIHULQJIRUSURVWLWXWLRQRIFKLOGUHQLQDGGLWLRQWRFKLOG
SRUQRJUDSK\2IILFLDOVIURPWKH0LQLVWU\IRU3XEOLF6HFXULW\SURVHFXWHGFDVHVRI
VH[XDODEXVHRIFKLOGUHQLQFOXGLQJZLWKLQLQGLJHQRXVFRPPXQLWLHV0LQLVWU\
RIILFLDOVEHOLHYHGFRPPHUFLDOVH[XDOH[SORLWDWLRQRIFKLOGUHQRFFXUUHGLQFOXGLQJLQ
WRXULVWDUHDVLQ3DQDPD&LW\DQGLQEHDFKFRPPXQLWLHVDOWKRXJKWKH\GLGQRWNHHS
VHSDUDWHVWDWLVWLFV$VRI6HSWHPEHUWKHUHZHUHQRFDVHVUHSRUWHGQDWLRQZLGHRI
FKLOGVH[XDOWRXULVP

,QWHUQDWLRQDO&KLOG$EGXFWLRQV7KHFRXQWU\LVDSDUW\WRWKH+DJXH
&RQYHQWLRQRQWKH&LYLO$VSHFWVRI,QWHUQDWLRQDO&KLOG$EGXFWLRQ6HHWKH
'HSDUWPHQWRI6WDWH¶V$QQXDO5HSRUWRQ,QWHUQDWLRQDO&KLOG$EGXFWLRQDW
KWWSVWUDYHOVWDWHJRYFRQWHQWWUDYHOHQ,QWHUQDWLRQDO3DUHQWDO&KLOG
$EGXFWLRQIRUSURYLGHUVOHJDOUHSRUWVDQGGDWDUHSRUWHGFDVHVKWPO

$QWL6HPLWLVP
-HZLVKFRPPXQLW\OHDGHUVHVWLPDWHGWKHUHZHUH-HZVLQWKHFRXQWU\7KHUH
ZHUHQRNQRZQUHSRUWVRIDQWL6HPLWLFDFWV

7UDIILFNLQJLQ3HUVRQV
6HHWKH'HSDUWPHQWRI6WDWH¶V7UDIILFNLQJLQ3HUVRQV5HSRUWDW
KWWSVZZZVWDWHJRYWUDIILFNLQJLQSHUVRQVUHSRUW

3HUVRQVZLWK'LVDELOLWLHV
3HUVRQVZLWKGLVDELOLWLHVIDFHGGLIILFXOW\DFFHVVLQJHGXFDWLRQKHDOWKVHUYLFHV
SXEOLFEXLOGLQJVDQGWUDQVSRUWDWLRQRQDQHTXDOEDVLVZLWKRWKHUV*RYHUQPHQW
LQIRUPDWLRQDQGFRPPXQLFDWLRQLVQRWSURYLGHGLQDFFHVVLEOHIRUPDWVDQGWKHUHLV
QRODZUHTXLULQJVXFKDFFHVV7KHODZPDQGDWHVWKDWSHUVRQVZLWKGLVDELOLWLHVKDYH
DFFHVVWRHGXFDWLRQDQGKHDOWKVHUYLFHVLQFOXGLQJUHKDELOLWDWLRQDQGWKHUDSLHV


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SXEOLFWUDQVSRUWDWLRQSXEOLFDQGSULYDWHEXLOGLQJVVSRUWVDQGFXOWXUDOHYHQWVDQG
MREVZLWKRXWGLVFULPLQDWLRQ,QSUDFWLFHKRZHYHUDFFHVVLELOLW\ZDVOLPLWHG

3ULYDWHVFKRROVVWDUWHGUHRSHQLQJLQ-XQHEXWSXEOLFVFKRROVUHPDLQHGFORVHG
GXULQJWKH\HDUGXHWRWKHSDQGHPLF3XEOLFVFKRROVWDXJKWYLDWKHSXEOLF6HU79
UDGLRDQGWHOHYLVLRQVWDWLRQV2QO\RFFDVLRQDOO\GLGWKH0LQLVWU\RI(GXFDWLRQ
IDFLOLWDWHVLJQODQJXDJHLQWHUSUHWDWLRQIRUVWXGHQWVZLWKKHDULQJGLVDELOLWLHVGXULQJ
FODVVHVWDXJKWRQWHOHYLVLRQ6FKRROVGLGQRWDGGUHVVRWKHUGLVDELOLWLHVGXULQJKRPH
DQGYLUWXDOVFKRROLQJ

0RVWRI3DQDPD&LW\¶VEXVIOHHWUHPDLQHGZKHHOFKDLULQDFFHVVLEOH3XEOLFEXVHVLQ
WKHUHVWRIWKHFRXQWU\ZHUHVPDOODQGQRWDGDSWHGIRUSHUVRQVZLWKGLVDELOLWLHV
7KH3DQDPD&LW\0HWURHOHYDWRUVUHPDLQHGFORVHGIRUPRVWRIWKH\HDUDFFRUGLQJ
WR1*2UHSUHVHQWDWLYHV$ODFNRIUDPSVIXUWKHUOLPLWHGDFFHVVWRROGHUVWDWLRQV
DOWKRXJK0HWUR/LQHKDGUDPSDFFHVV

+,9DQG$,'66RFLDO6WLJPD
7KHODZSURKLELWVGLVFULPLQDWLRQDJDLQVWSHUVRQVZLWK+,9DQG$,'6LQ
HPSOR\PHQWDQGHGXFDWLRQ'LVFULPLQDWLRQKRZHYHUFRQWLQXHGWREHFRPPRQ
GXHWRLJQRUDQFHRIWKHODZDQGDODFNRIPHFKDQLVPVIRUHQVXULQJFRPSOLDQFH
/*%74,LQGLYLGXDOVZLWK+,9RU$,'6UHSRUWHGPLVWUHDWPHQWE\SXEOLFKHDOWK
FDUHZRUNHUV

(PSOR\HHVDUHQRWREOLJDWHGWRGLVFORVHWKHLUFRQGLWLRQWRWKHHPSOR\HUEXWLIWKH\
GRVRWKHHPSOR\HUPXVWNHHSWKHLQIRUPDWLRQFRQILGHQWLDO(PSOR\HUVPD\EH
ILQHGIRUQRWNHHSLQJDQHPSOR\HH¶VPHGLFDOFRQGLWLRQFRQILGHQWLDO7KH
JRYHUQPHQWZDVQRWDFWLYHLQSUHYHQWLQJGLVFULPLQDWLRQDJDLQVWSHUVRQVZLWK+,9
DQG$,'6

7KHUHZHUHIHZHUSXEOLF+,9$,'6PHGLFDOWUHDWPHQWVDQGVXSSOLHVDYDLODEOH
VLQFHPRVWPHGLFDOUHVRXUFHVZHUHGHGLFDWHGWRILJKWLQJ&29,'7KH
8QLYHUVLW\RI*XDWHPDODIXQGHGVWLJPDIUHH³IULHQGO\FOLQLFV´IRU/*%74,
&29,'SDWLHQWVEXWDFWLYLVWVUHSRUWHGWKDWVWDIIPHPEHUVLQWKHVHFOLQLFVZHUH
QRWIULHQGO\WRWKHLUYLVLWRUV

'XULQJWKH\HDUWKHUHZDVRQO\RQHDSSRLQWPHQWSHUPRQWKDWWKH0LQLVWU\RI


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+HDOWK¶VIDFLOLWLHVIRUWKH+,9YLUDOORDGWHVW3UHJQDQWZRPHQZKRQHHGHGWKHWHVW
ZHUHSULRULWL]HGIRUDSSRLQWPHQWVRYHUPHPEHUVRIWKH/*%74,FRPPXQLW\

$FWVRI9LROHQFH&ULPLQDOL]DWLRQDQG2WKHU$EXVHV%DVHGRQ
6H[XDO2ULHQWDWLRQDQG*HQGHU,GHQWLW\
'XULQJWKH&29,'SDQGHPLF/*%74,SHUVRQVUHSRUWHGKDUDVVPHQWE\
SXEOLFKHDOWKRIILFLDOVEXWWKHUHZHUHQRSXEOLFUHSRUWVRISROLFHKDUDVVPHQW
GXULQJWKH\HDU

,Q-XQH/*%74,DFWLYLVWVRUJDQL]HGWZR3ULGH0RQWKSDUDGHVLQ3DQDPD&LW\
(DUO\LQWKHPRQWKWKHSULYDWH0XVHXPRI/LEHUW\DQG+XPDQ5LJKWVUDLVHGWKH
3ULGHIODJEXWGD\VODWHULWZDVYDQGDOL]HGE\DJURXSRI³SURIDPLO\´DQGDQWL
VDPHVH[PDUULDJHDFWLYLVWVGXULQJDSURWHVWRXWVLGHWKHPXVHXP3DUWRIWKH
PXVHXP¶VERDUGGHFLGHGQRWWRUDLVHWKHIODJDJDLQ$VDUHVXOWILYHERDUG
PHPEHUVVXEPLWWHGWKHLUUHVLJQDWLRQVWRWKHERDUG¶VSUHVLGHQWLQSURWHVW7KH
&DQDO0XVHXPDOVRUDLVHGWKH3ULGHIODJEXWODWHUWRRNLWGRZQXSRQUHFHLYLQJD
JRYHUQPHQWUHTXHVWFLWLQJDODZWKDWVWLSXODWHRQO\WKH3DQDPDQLDQIODJFDQEH
IORZQLQJRYHUQPHQWEXLOGLQJV7KH&DQDO0XVHXPLVDMRLQWSULYDWHSXEOLF
YHQWXUHDQGUHFHLYHGSXEOLFIXQGLQJ

7KHODZGRHVQRWSURKLELWGLVFULPLQDWLRQEDVHGRQVH[XDORULHQWDWLRQ7KHUHZDV
VRFLHWDOGLVFULPLQDWLRQEDVHGRQVH[XDORULHQWDWLRQDQGJHQGHULGHQWLW\ZKLFK
RIWHQOHGWRGHQLDORIHPSOR\PHQWRSSRUWXQLWLHV6DPHVH[PDUULDJHFRQWLQXHGWR
EHSURKLELWHGE\ODZ$VRI2FWREHUWKH6XSUHPH&RXUWKDGQRWUXOHGRQWKH
FODVVDFWLRQODZVXLWUHTXHVWLQJWKHDUWLFOHRIWKHIDPLO\FRGHWKDWUHIHUVWRPDUULDJH
DV³WKHXQLRQRIDPDQDQGDZRPDQ´DQGWKXVIRUELGVVDPHVH[OHJDOXQLRQVEH
GHFODUHGXQFRQVWLWXWLRQDO3DQDPDQLDQVDPHVH[FRXSOHVZKRZHUHPDUULHG
DEURDGZHUHQRWDOORZHGWROHJDOO\UHJLVWHUWKHLUPDUULDJH,Q6HSWHPEHUWKH
6XSUHPH&RXUWGLGQRWDGPLWDZULWRIPDQGDPXVILOHGE\DORFDOODZILUPDJDLQVW
WKH&LYLO5HJLVWU\¶VGHFLVLRQQRWWRUHJLVWHUWKHVDPHVH[PDUULDJHRID3DQDPDQLDQ
FLWL]HQDQGKLV&RORPELDQVSRXVHKHOGLQ&RORPELDLQ




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6HFWLRQ:RUNHU5LJKWV
D)UHHGRPRI$VVRFLDWLRQDQGWKH5LJKWWR&ROOHFWLYH%DUJDLQLQJ
7KHODZSURYLGHVIRUSULYDWHVHFWRUZRUNHUVWRIRUPDQGMRLQLQGHSHQGHQWXQLRQV
EDUJDLQFROOHFWLYHO\DQGFRQGXFWVWULNHV3XEOLFVHFWRUHPSOR\HHVPD\RUJDQL]HWR
FUHDWHDSURIHVVLRQDODVVRFLDWLRQWREDUJDLQFROOHFWLYHO\RQEHKDOIRILWVPHPEHUV
HYHQWKRXJKSXEOLFLQVWLWXWLRQVDUHQRWOHJDOO\REOLJHGWREDUJDLQZLWKWKH
DVVRFLDWLRQ0HPEHUVRIWKHQDWLRQDOSROLFHDUHWKHRQO\ZRUNHUVSURKLELWHGIURP
FUHDWLQJSURIHVVLRQDODVVRFLDWLRQV7KHUHZHUHSXEOLFZRUNHUDVVRFLDWLRQV
UHJLVWHUHG7KH1DWLRQDO)HGHUDWLRQRI3XEOLF6HUYDQWV )(1$6(3 DQXPEUHOOD
IHGHUDWLRQRISXEOLFVHFWRUZRUNHUDVVRFLDWLRQVWUDGLWLRQDOO\IRXJKWWRHVWDEOLVK
ULJKWVVLPLODUWRWKRVHRISULYDWHVHFWRUXQLRQV7KHODZSURKLELWVDQWLXQLRQ
GLVFULPLQDWLRQDQGUHTXLUHVUHLQVWDWHPHQWRIZRUNHUVWHUPLQDWHGIRUXQLRQDFWLYLW\
EXWGRHVQRWSURYLGHDGHTXDWHPHDQVRISURWHFWLQJWKLVULJKW

8QLRQVDQGDVVRFLDWLRQVDUHUHTXLUHGWRUHJLVWHUZLWKWKH0LQLVWU\RI/DERU,IWKH
PLQLVWU\GRHVQRWUHVSRQGWRDSULYDWHVHFWRUXQLRQUHJLVWUDWLRQDSSOLFDWLRQZLWKLQ
FDOHQGDUGD\VWKHXQLRQDXWRPDWLFDOO\JDLQVOHJDOUHFRJQLWLRQSURYLGHGWKH
UHTXHVWLVVXEPLWWHGGLUHFWO\ZLWKWKHVXSSRUWLQJGRFXPHQWDWLRQUHTXLUHG,QWKH
SXEOLFVHFWRUSURIHVVLRQDODVVRFLDWLRQVJDLQOHJDOUHFRJQLWLRQDXWRPDWLFDOO\LIWKH
0LQLVWU\RI*RYHUQPHQWGRHVQRWUHVSRQGWRUHJLVWUDWLRQDSSOLFDWLRQVZLWKLQ
GD\V$FFRUGLQJWR)(1$6(3OHDGHUVPRVWDVVRFLDWLRQVZHUHDSSURYHGDOWKRXJK
VRPHFDVHVZHUHGHQLHGIRUSROLWLFDOUHDVRQV$FFRUGLQJWRRIILFLDOVRXUFHVWKH
0LQLVWU\RI/DERUDSSURYHGDSSOLFDWLRQVIRUWKHIRUPDWLRQRIWZRSULYDWHVHFWRU
XQLRQVDQGRQHSXEOLFVHFWRUDVVRFLDWLRQGXULQJWKH\HDU

7KHODZDOORZVDUELWUDWLRQE\PXWXDOFRQVHQWDWWKHUHTXHVWRIHPSOR\HHVRUWKH
PLQLVWU\LQFDVHVRIFROOHFWLYHGLVSXWHVDWSULYDWHO\KHOGFRPSDQLHV,WDOORZV
HLWKHUSDUW\WRDSSHDOLIDUELWUDWLRQLVPDQGDWHGGXULQJDFROOHFWLYHGLVSXWHDWD
SXEOLFVHUYLFHFRPSDQ\7KH0LQLVWU\RI/DERU%RDUGRI$SSHDOVDQG
&RQFLOLDWLRQKDVWKHDXWKRULW\WRUHVROYHFHUWDLQODERUGLVDJUHHPHQWVZLWKLQWKH
SULYDWHVHFWRUVXFKDVLQWHUQDOXQLRQGLVSXWHVHQIRUFHPHQWRIWKHPLQLPXPZDJH
DQGVRPHGLVPLVVDOLVVXHV)RUH[DPSOHWKH0LQLVWU\RI/DERUDVDPHGLDWRULQ
ELHQQLDOPLQLPXPZDJHQHJRWLDWLRQVEHWZHHQXQLRQVDQGEXVLQHVVHVLQ
DQQRXQFHGDPLQLPXPZDJHLQFUHDVHRISHUFHQWZKHQQHJRWLDWLRQVIDLOHG

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*RYHUQPHQWUHJXODWLRQVRQXQLRQPHPEHUVKLSSODFHVRPHUHVWULFWLRQVRQIUHHGRP
RIDVVRFLDWLRQ7KHFRQVWLWXWLRQPDQGDWHVWKDWRQO\FLWL]HQVPD\VHUYHRQD
XQLRQ¶VH[HFXWLYHERDUG,QDGGLWLRQWKHODZUHTXLUHVDPLQLPXPRISHUVRQVWR
IRUPDSULYDWHVHFWRUXQLRQ HLWKHUE\DFRPSDQ\DFURVVWUDGHVRUE\WUDGHDFURVV
FRPSDQLHV DQGDOORZVRQO\RQHXQLRQSHUEXVLQHVVHVWDEOLVKPHQW7KH
,QWHUQDWLRQDO/DERU2UJDQL]DWLRQFULWLFL]HGWKHSHUVRQPLQLPXPDVWRRODUJHIRU
ZRUNHUVZDQWLQJWRIRUPDXQLRQZLWKLQDFRPSDQ\0DQ\GRPHVWLFODERUXQLRQV
DVZHOODVWKHSXEOLFDQGSULYDWHVHFWRUVUHLWHUDWHGWKHLUVXSSRUWIRUNHHSLQJWKH
ILJXUHDWLQGLYLGXDOVVLQFHKDYLQJDJUHDWHUQXPEHURISDUWLFLSDQWVFDQ
VWUHQJWKHQDXQLRQ¶VLQIOXHQFH

,QWKHSXEOLFVHFWRUSURIHVVLRQDODVVRFLDWLRQVUHSUHVHQWWKHPDMRULW\RIZRUNHUV
7KHODZVWLSXODWHVRQO\RQHDVVRFLDWLRQPD\H[LVWSHUSXEOLFVHFWRULQVWLWXWLRQDQG
SHUPLWVQRPRUHWKDQRQHFKDSWHUSHUSURYLQFH$WOHDVWSXEOLFVHUYDQWVDUH
UHTXLUHGWRIRUPDSURIHVVLRQDODVVRFLDWLRQ1RODZSURWHFWVWKHMREVRISXEOLF
VHFWRUZRUNHUVLQWKHHYHQWRIDVWULNH)(1$6(3FRQWHQGHGWKHUHZDVQRSROLWLFDO
ZLOOWRDOORZDOOSXEOLFVHUYDQWVZLWKLQPLQLVWULHVWRIRUPXQLRQVEHFDXVHWKLV
FRXOGHOLPLQDWHSRVLWLRQVIRUSROLWLFDODSSRLQWHHV

7KHODZSURKLELWVIHGHUDWLRQVDQGFRQIHGHUDWLRQVIURPFDOOLQJVWULNHV,QGLYLGXDO
SURIHVVLRQDODVVRFLDWLRQVXQGHU)(1$6(3PD\QHJRWLDWHRQEHKDOIRIWKHLU
PHPEHUVEXWWKH0LQLVWU\RI/DERUFDQRUGHUFRPSXOVRU\DUELWUDWLRQ$FFRUGLQJ
WRWKHODERUFRGHWKHPDMRULW\RISULYDWHVHFWRUHPSOR\HHVPXVWVXSSRUWDVWULNH
DQGVWULNHVDUHSHUPLWWHGRQO\LIWKH\DUHUHODWHGWRLPSURYHPHQWRIZRUNLQJ
FRQGLWLRQVDFROOHFWLYHEDUJDLQLQJDJUHHPHQWUHSHDWHGYLRODWLRQVRIOHJDOULJKWVRU
VXSSRUWIRUDQRWKHUZRUNHUVVWULNHRQWKHVDPHSURMHFW VROLGDULW\VWULNH ,QHYHQW
RIDVWULNHDWOHDVWWRSHUFHQWRIWKHZRUNIRUFHPXVWFRQWLQXHWRSURYLGH
PLQLPXPVHUYLFHVSDUWLFXODUO\SXEOLFVHUYLFHVGHILQHGE\ODZDVHVVHQWLDOVXFKDV
WUDQVSRUWDWLRQVDQLWDWLRQPDLOGHOLYHU\KRVSLWDOFDUHWHOHFRPPXQLFDWLRQVDQG
SURYLVLRQRIQHFHVVDU\IRRG

6WULNHVLQHVVHQWLDOWUDQVSRUWDWLRQVHUYLFHVDUHOLPLWHGWRWKRVHLQYROYLQJSXEOLF
SDVVHQJHUVHUYLFHV7KHODZSURKLELWVVWULNHVE\3DQDPD&DQDO$XWKRULW\
HPSOR\HHVEXWDOORZVSURIHVVLRQDODVVRFLDWLRQVWRRUJDQL]HDQGEDUJDLQ
FROOHFWLYHO\RQLVVXHVVXFKDVVFKHGXOHVDQGVDIHW\DQGSURYLGHVDUELWUDWLRQWR
UHVROYHGLVSXWHV7KH&DQDO$XWKRULW\LVDQDXWRQRPRXVHQWLW\LQGHSHQGHQWRIWKH

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QDWLRQDOJRYHUQPHQWDQGDVVXFKLVVXEMHFWWRLWVRZQODERUUHJXODWLRQ

7KH0LQLVWU\RIWKH3UHVLGHQF\&RQFLOLDWLRQ%RDUGLVUHVSRQVLEOHIRUUHVROYLQJ
SXEOLFVHFWRUZRUNHUFRPSODLQWV7KHERDUGUHIHUVFRPSODLQWVLWFDQQRWUHVROYHWR
DQDUELWUDWLRQSDQHOZKLFKFRQVLVWVRIUHSUHVHQWDWLYHVIURPWKHHPSOR\HUWKH
SURIHVVLRQDODVVRFLDWLRQDQGDWKLUGPHPEHUFKRVHQE\WKHILUVWWZR,IWKHGLVSXWH
FDQQRWEHUHVROYHGLWLVUHIHUUHGWRDWULEXQDOXQGHUWKHERDUG2EVHUYHUV
KRZHYHUQRWHGWKDWWKH0LQLVWU\RIWKH3UHVLGHQF\KDGQRWQDPHGWKHWULEXQDO
MXGJHV7KHDOWHUQDWLYHWRWKHERDUGLVWKHFLYLOFRXUWV\VWHPEXWWKRVHSURFHGXUHV
FDQWDNHPRUHWKDQWKUHH\HDUVDQGXVXDOO\UHVXOWLQQHJDWLYHRXWFRPHVIRUWKH
HPSOR\HH:KLOH6XSUHPH&RXUWGHFLVLRQVDUHILQDOODERURUJDQL]DWLRQVPD\
DSSHDOFDVHVLQLQWHUQDWLRQDOKXPDQULJKWVFRXUWV

7KHJRYHUQPHQWGLGQRWFRQVLVWHQWO\HQIRUFHWKHODZLQWKHIRUPDOVHFWRUDQGZDV
OHVVOLNHO\WRHQIRUFHWKHODZLQPRVWUXUDODUHDV VHHVHFWLRQ,QGLJHQRXV
3HRSOHV 7KURXJKRXWWKH\HDUWKHDGPLQLVWUDWLRQFRQWLQXHGWRGLVPLVVSXEOLF
ZRUNHUVPRVWO\ZLWKRXWFLWLQJDOHJDOEDVLVDQGDOOZLWKRXWSD\LQJQHJRWLDWHG
HPSOR\PHQWEHQHILWVVXFKDVSDLGYDFDWLRQOHDYHRUVHYHUDQFHSD\$FFRUGLQJWR
UHSRUWVWKHVHILULQJVZHUHGXHWRWKHFKDQJHLQJRYHUQPHQWDQGQRWWKH&29,'
SDQGHPLF$QHVWLPDWHGSXEOLFZRUNHUVKDGEHHQGLVPLVVHGVLQFHWKHVWDUW
RI3UHVLGHQW&RUWL]R¶VDGPLQLVWUDWLRQLQ,Q$XJXVW)(1$6(3SUHVHQWHGD
ODZVXLWWRWKH6XSUHPH&RXUWIRUQRQFRPSOLDQFHZLWK'HFUHHRIZKLFK
SURKLELWVHPSOR\HHVIURPEHLQJILUHGGXULQJWKHVWDWHRIHPHUJHQF\LPSRVHGGXHWR
WKHSDQGHPLF,QWKHODZVXLW)(1$6(3DOVRFODLPHGWKDWZRUNHUVZHUHQRWSDLG
IRUPRQWKVDIWHUEHLQJFDOOHGEDFNWRZRUNGXULQJWKHSDQGHPLF

7KHJRYHUQPHQWDQGHPSOR\HUVJHQHUDOO\UHVSHFWHGIUHHGRPRIDVVRFLDWLRQ
3HQDOWLHVIRUYLRODWLRQVZHUHFRPPHQVXUDWHZLWKWKRVHIRUVLPLODURIIHQVHV

E3URKLELWLRQRI)RUFHGRU&RPSXOVRU\/DERU
$OWKRXJKWKHODZSURKLELWVDOOIRUPVRIKXPDQWUDIILFNLQJLQFOXGLQJIRUFHGODERU
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LQFOXGHPRYHPHQWZKLFKLVLQFRQVLVWHQWZLWKLQWHUQDWLRQDOSURWRFROV7KHODZ
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7KHJRYHUQPHQWHQIRUFHGWKHODZLQWKHIRUPDOVHFWRU7KH0LQLVWU\RI/DERU
LQYHVWLJDWHGKXPDQWUDIILFNLQJIRUWKHSXUSRVHRIIRUFHGODERUJUDQWHGUHVLGHQF\
DQGZRUNSHUPLWVIRUIRUHLJQWUDIILFNLQJYLFWLPVDQGSURYLGHGDGGLWLRQDOIRRGDQG
K\JLHQHVXSSRUWWRWUDIILFNLQJYLFWLPVGXULQJWKHSDQGHPLF$XWKRULWLHVSURVHFXWHG
DQGFRQYLFWHGIHZHUSHUSHWUDWRUVRIODERUH[SORLWDWLRQDQGLGHQWLILHGIHZHU
SRWHQWLDOIRUFHGODERUYLFWLPVFRPSDUHGZLWKSUHYLRXV\HDUV,Q-XO\WKH3XEOLF
0LQLVWU\VHQWHQFHGDSHUVRQWR\HDUVLQSULVRQIRUWKHFULPHVRIWUDIILFNLQJLQ
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DOVRGLVTXDOLILHGIURPH[HUFLVLQJSXEOLFIXQFWLRQVIRUILYH\HDUVDIWHUFRPSOHWLQJ
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SURKLELWVHPSOR\PHQWRIFKLOGUHQ\RXQJHUWKDQDQGFKLOGUHQZKRKDYHQRW
FRPSOHWHGSULPDU\VFKRROPD\QRWEHJLQZRUNXQWLO7KHODZDOORZVFKLOGUHQ
DJHVWRWRSHUIRUPOLJKWZRUNLQDJULFXOWXUHLIWKHZRUNLVRXWVLGHUHJXODU
VFKRROKRXUV7KHODZDOVRDOORZVDFKLOGROGHUWKDQWRSHUIRUPOLJKWGRPHVWLF
ZRUNDQGVWLSXODWHVWKDWHPSOR\HUVPXVWHQVXUHWKHFKLOGDWWHQGVVFKRROWKURXJK
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WUDLQLQJIDFLOLW\LQYLRODWLRQRILQWHUQDWLRQDOVWDQGDUGV

7KHJRYHUQPHQWLQFRQVLVWHQWO\HQIRUFHGWKHODZFULPLQDOSHQDOWLHVZHUH
FRPPHQVXUDWHZLWKWKRVHIRUVLPLODUFULPHVEXWZHUHQRWHQIRUFHGLQDOOVHFWRUV
&KLOGUHQZHUHH[SORLWHGLQIRUFHGODERUSDUWLFXODUO\GRPHVWLFVHUYLWXGHDQG
VXEMHFWHGWRVH[WUDIILFNLQJDQGVH[XDOH[SORLWDWLRQ$IWHUWKHJRYHUQPHQW
SURVHFXWHGDQGFRQYLFWHGLWVILUVWFKLOGODERUFDVHLQ6HSWHPEHULWVWDUWHG
LQYHVWLJDWLQJDVHFRQGFDVHDQGSURYLGHGVRFLDOVHUYLFHVWRFKLOGYLFWLPVDQG
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&KLOGODERURFFXUUHG$FFRUGLQJWRWKHREVHUYDWLRQVRIDZHOONQRZQ1*2RQ
FKLOGODERUEHIRUHWKHSDQGHPLFFKLOGODERUZDVFHQWHUHGLQWKHDJULFXOWXUDO
VHFWRUEXWSDQGHPLFPRYHPHQWUHVWULFWLRQVIRUFHGFKLOGUHQDQGDGROHVFHQWVWRDOVR
EHFRPHVWUHHWYHQGRUVLQXUEDQDUHDV&KLOGUHQZRUNHGLQDJULFXOWXUHZKHUHWKH\
FRXOGEHVXEMHFWHGWRKD]DUGRXVZRUN&KLOGUHQIURPLQGLJHQRXVDQG$IUR
GHVFHQGHQWFRPPXQLWLHVZHUHPRVWYXOQHUDEOHWRWKHZRUVWIRUPVRIFKLOGODERU

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DWKWWSVZZZGROJRYDJHQFLHVLODEUHVRXUFHVUHSRUWVFKLOGODERUILQGLQJVDQGWKH
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KWWSVZZZGROJRYDJHQFLHVLODEUHSRUWVFKLOGODERUOLVWRIJRRGV

G'LVFULPLQDWLRQZLWK5HVSHFWWR(PSOR\PHQWDQG2FFXSDWLRQ
7KHODZSURKLELWVGLVFULPLQDWLRQEDVHGRQUDFHVH[UHOLJLRQSROLWLFDORSLQLRQ
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GLVFULPLQDWLRQEDVHGRQVH[XDORULHQWDWLRQRUJHQGHULGHQWLW\$OWKRXJKWKH
FRXQWU\LVDPHPEHURIWKH,QWHUQDWLRQDO(TXDO3D\&RDOLWLRQZKLFKSURPRWHVSD\
SDULW\EHWZHHQZRPHQDQGPHQDJHQGHUZDJHJDSFRQWLQXHGWRH[LVWDQGQRODZ
PDQGDWHVHTXDOSD\IRUHTXDOZRUN7KHODZSXWVUHVWULFWLRQVRQZRPHQZRUNLQJ
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7KHJRYHUQPHQWGLGQRWHIIHFWLYHO\HQIRUFHWKHODZDQGSHQDOWLHVZHUHQRW
FRPPHQVXUDWHZLWKWKRVHIRUVLPLODUFULPHV'HVSLWHOHJDOSURWHFWLRQV
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GLVDELOLW\DQG+,9SRVLWLYHVWDWXV'XULQJWKHMRELQWHUYLHZSURFHVVDSSOLFDQWV
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+,9$,'6WHVWLQJ7KHODZUHTXLUHVDOOODERUDWRULHVWRLQIRUPDSSOLFDQWVWKDWDQ
+,9WHVWZLOOEHDGPLQLVWHUHGEXWSULYDWHVHFWRUODERUDWRULHVRIWHQGLGQRWFRPSO\
,WZDVFRPPRQSUDFWLFHIRUSULYDWHVHFWRUKXPDQUHVRXUFHVRIILFHVWRWHUPLQDWH
DSSOLFDWLRQVRI+,9SRVLWLYHFLWL]HQVZLWKRXWLQIRUPLQJWKHDSSOLFDQW:KLOH
SULYDWHODERUDWRULHVRIWHQLQIRUPHGODZHQIRUFHPHQWRI+,9SRVLWLYHPLJUDQWVWKH
1DWLRQDO0LJUDWLRQ6HUYLFHGLGQRWHQJDJHLQGHSRUWDWLRQSURFHGXUHVEDVHG
VSHFLILFDOO\RQDPLJUDQW¶V+,9VWDWXV1*2VQRWHGWKDWGXULQJMRELQWHUYLHZV
ZRPHQZHUHRIWHQDVNHGLIWKH\ZHUHPDUULHGSUHJQDQWRUSODQQHGWRKDYH
FKLOGUHQ,WZDVFRPPRQSUDFWLFHIRUKXPDQUHVRXUFHVRIILFHVWRWHUPLQDWHWKH
DSSOLFDWLRQVRIZRPHQZKRLQGLFDWHGDSRVVLELOLW\RISUHJQDQF\LQWKHQHDUIXWXUH
 VHHVHFWLRQ:RPHQ 3HUVRQVZLWKGLVDELOLWLHVFRQWLQXHGWRIDFHGLVFULPLQDWLRQ
LQKLULQJDQGDFFHVVLQJWKHZRUNVSDFH

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:DJHDQG+RXU/DZV7KHODZSURYLGHVIRUDQDWLRQDOPLQLPXPZDJHRQO\IRU
SULYDWHVHFWRUZRUNHUV7KHZDJHZDVDERYHWKHSRYHUW\OLQH3XEOLFVHUYDQWV
UHFHLYHGORZHUZDJHVWKDQWKHLUSULYDWHVHFWRUFRXQWHUSDUWVEXWVDODULHVZHUH
DERYHWKHSRYHUW\OLQH0RVWZRUNHUVIRUPDOO\HPSOR\HGLQXUEDQDUHDVHDUQHGWKH
PLQLPXPZDJHRUPRUH$FFRUGLQJWRVRPHUHSRUWVWKHSDQGHPLFHOLPLQDWHGDV
PXFKDVSHUFHQWRIIRUPDOMREVLQWKHSULYDWHVHFWRU

7KHODZHVWDEOLVKHVDVWDQGDUGZRUNZHHNRIKRXUVSURYLGHVIRUDWOHDVWRQH
KRXUUHVWSHULRGZHHNO\OLPLWVWKHQXPEHURIKRXUVZRUNHGSHUZHHNSURYLGHVIRU
SUHPLXPSD\IRURYHUWLPHDQGSURKLELWVFRPSXOVRU\RYHUWLPH7KHUHLVQRDQQXDO
OLPLWRQWKHWRWDOQXPEHURIRYHUWLPHKRXUVDOORZHG,IHPSOR\HHVZRUNPRUHWKDQ
WKUHHKRXUVRIRYHUWLPHLQRQHGD\RUPRUHWKDQQLQHRYHUWLPHKRXUVLQDZHHN
H[FHVVRYHUWLPHKRXUVPXVWEHSDLGDWDQDGGLWLRQDOSHUFHQWDERYHWKHQRUPDO
ZDJH:RUNHUVKDYHWKHULJKWWRGD\VRISDLGYDFDWLRQIRUHYHU\PRQWKVRI
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2FFXSDWLRQDO6DIHW\DQG+HDOWK7KH0LQLVWU\RI/DERULVUHVSRQVLEOHIRU
VHWWLQJKHDOWKDQGVDIHW\VWDQGDUGV6WDQGDUGVZHUHJHQHUDOO\FXUUHQWDQG
DSSURSULDWHIRUWKHLQGXVWULHVLQWKHFRXQWU\7KHODZUHTXLUHVHPSOR\HUVWR
SURYLGHDVDIHZRUNSODFHHQYLURQPHQWLQFOXGLQJWKHSURYLVLRQRISURWHFWLYH
FORWKLQJDQGHTXLSPHQWIRUZRUNHUV(TXLSPHQWZDVRIWHQRXWGDWHGEURNHQRU


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ODFNLQJVDIHW\GHYLFHVGXHLQODUJHSDUWWRIHDUWKDWUHSODFHPHQWFRVWVZRXOGEH
SURKLELWLYH$IWHUWKHEHJLQQLQJRIWKHSDQGHPLFDOOZRUNSODFHVZHUHUHTXLUHGWR
HVWDEOLVKDKHDOWKFRPPLWWHHWRHQIRUFHWKHPDQGDWRU\KHDOWKVWDQGDUGVHVWDEOLVKHG
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LQVSHFWLRQRIILFHFRQVLVWVRIWZRJURXSVWKH3DQDPD&LW\EDVHGKHDGTXDUWHUV
JURXSDQGWKHUHJLRQDOJURXS7KHQXPEHURILQVSHFWRUVDQGVDIHW\RIILFHUVZDV
VXIILFLHQWWRHQIRUFHZDJHKRXUDQGVDIHW\UHJXODWLRQVDGHTXDWHO\LQWKHIRUPDO
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XQGHUVKRUWWHUPFRQWUDFWVWRDYRLGSD\LQJEHQHILWVWKDWDFFUXHWRORQJWHUP
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FRQWLQXRXVO\RQVKRUWWHUPFRQWUDFWVEXWGLGQRWFRQYHUWWKHPWRSHUPDQHQW
HPSOR\HHVDVUHTXLUHGE\ODZ7KHODZVWDWHVWKDWHPSOR\HUVKDYHWKHULJKWWR
GLVPLVVDQ\HPSOR\HHZLWKRXWFDXVHGXULQJWKHWZR\HDUWHQXUHWHUP$VDUHVXOW
HPSOR\HUVIUHTXHQWO\KLUHGZRUNHUVIRURQH\HDUDQGPRQWKVDQGVXEVHTXHQWO\
GLVPLVVHGWKHPWRFLUFXPYHQWODZVWKDWPDNHILULQJHPSOR\HHVPRUHGLIILFXOWDIWHU
WZR\HDUVRIHPSOR\PHQW7KLVSUDFWLFHLVLOOHJDOLIWKHVDPHHPSOR\HHLVUHKLUHG
DVDWHPSRUDU\ZRUNHUDIWHUEHLQJGLVPLVVHGDOWKRXJKHPSOR\HHVUDUHO\UHSRUWHG
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,QZRUNSODFHVDFFLGHQWVZHUHUHJLVWHUHG&RQVWUXFWLRQZDVWKHPRVWGDQJHURXV
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UHJLVWHUHG,QVRPHFDVHVHTXLSPHQWZDVRXWGDWHGEURNHQRUODFNLQJVDIHW\
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ZLWKLQYHVWLJDWLQJWKHVHLQFLGHQWV7KHPRVWKD]DUGRXVVHFWRUVZHUHFRQVWUXFWLRQ
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DVVLVWHGWKH1DWLRQDO$XWKRULW\IRU0LFUR6PDOODQG0HGLXP6L]HG%XVLQHVVHVWR
LQVWLWXWHSROLFLHVWRKHOSIRUPDOL]HWKHHFRQRP\LQFOXGLQJWKHFUHDWLRQRIVRIW
ORDQVDQGSROLFLHVWRKHOSHPSOR\HUVSD\UHTXLUHGVRFLDOVHFXULW\IHHVWR
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                                                                               As of: May 08, 2023
                                                                               Received: March 27, 2023
PUBLIC SUBMISSION                                                              Status: Posted
                                                                               Posted: March 29, 2023
                                                                               Tracking No. lfr-eg5p-zvje
                                                                               Comments Due: March 27, 2023
                                                                               Submission Type: Web

Docket: USCIS-2022-0016
Circumvention of Lawful Pathways

Comment On: USCIS-2022-0016-0001
Circumvention of Lawful Pathways

Document: USCIS-2022-0016-12324
Comment Submitted by International Refugee Assistance Project



                                      Submitter Information
Email: asiddiqi@refugeerights.org
Organization: International Refugee Assistance Project


                                          General Comment
Please see the attached. The International Refugee Assistance Project (IRAP) submits this comment in
opposition to the Department of Homeland Security (DHS) and Department of Justice (DOJ)’s Notice of
Proposed Rulemaking and Request for Comment on Circumvention of Lawful Pathways, CIS No. 2736-22,
Docket No: USCIS 2022-0016, A.G. Order No. 5605-2023, 88 Fed. Reg. 11704, published in the Federal
Register on February 23, 2023.

IRAP strongly opposes all aspects of the NPRM except for its proposed rescission of the prior rules establishing
bars to asylum that are currently subject to court orders. IRAP urges the administration not to finalize this NPRM
with the exception of the rescission of the Trump-era rules, and to stop punishing refugees who enter at the U.S.
southern border. Instead, the administration must devote resources to humane asylum processing and just
adjudications. IRAP welcomes the opportunity to discuss this Comment with you further. If you have any
questions, please reach out to Sunil Varghese at policy@refugeerights.org.



                                              Attachments
IRAP Comment - Circumvention of Lawful Pathways Proposed Rule




                                                                                          CLP_PC_031200
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March 27, 2023

Submitted via: https://www.regulations.gov.

Daniel Delgado                                    Lauren Alder Reid
Acting Director                                   Assistant Director,
Border and Immigration Policy                     OΊce of Policy, EOIR
OΊce of Strategy, Policy, and Plans               U.S. Dep’t of Justice
U.S. Dep’t of Homeland Security                   telephone (703) 305-0289
telephone (202) 447-3459


      Re: Notice of Proposed Rulemaking and Request for Comment on
      Circumvention of Lawful Pathways

Dear Acting Director Daniel Delgado and Assistant Director Lauren Alder Reid:


The International Refugee Assistance Project (IRAP) respectfully submits this
comment in opposition to the Department of Homeland Security (DHS) and
Department of Justice (DOJ)’s Notice of Proposed Rulemaking and Request for
Comment on Circumvention of Lawful Pathways, CIS No. 2736-22, Docket No:
USCIS 2022-0016, A.G. Order No. 5605-2023, 88 Fed. Reg. 11704 (“the NPRM” or
“the Proposed Rule”), published in the Federal Register on February 23, 2023.

IRAP strongly opposes all aspects of the NPRM except for its proposed rescission of
the prior rules establishing bars to asylum that are currently subject to court
orders. See 88 Fed. Reg. 11727-28.

The International Refugee Assistance Project and its Interest in the Issue

The International Refugee Assistance Project (IRAP) provides comprehensive legal
services to refugees and displaced persons. Since our establishment, we have
provided legal assistance to thousands of displaced persons seeking legal pathways
from conΉict zones to safe countries.




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IRAP’s goal is to ensure that available services and legal protections go to those who
are most in need. Our clients include LGBTI individuals, religious minorities subject
to targeted violence, survivors of sexual and gender-based violence, children with
medical emergencies for which local treatment is not available, and interpreters
being targeted by the Islamic State, militias, and the Taliban in retaliation for their
work with the United States and NATO.

Of particular relevance to the NPRM, IRAP works with Derechos Humanos
Integrados en Acción (DHIA), a Mexican non-governmental organization, to provide
daily services to migrants in Ciudad Juárez seeking legal information and
representation. Until January 2023 and the rollout of the CBP One application, IRAP
represented individual clients in Ciudad Juárez seeking to enter the United States
via Title 42 Exemptions. IRAP continues to provide legal information and assistance
to migrants in Ciudad Juárez who are struggling to use CBP One, amid the
application’s many glitches and complications. IRAP also screens clients for
eligibility for other pathways to enter the United States and provides legal
representation as appropriate. Finally, IRAP intends to provide clients with legal
advice and legal information about how to lawfully enter the United States to seek
asylum after Title 42’s anticipated end in May 2023.

The Agencies’ Notice of Proposed Rulemaking

The agencies propose to create substantial barriers to many, if not most, asylum
seekers’ ability to access the U.S. asylum system enshrined in statute by Congress.
In general, all refugees seeking to enter the United States by land at the southern
border with Mexico would be presumed ineligible to seek asylum unless they could
demonstrate, to the government’s satisfaction, that they had applied for and been
denied asylum in one of the countries they transited through, or they were
successful in making an appointment to present themselves at a port of entry using
the CBPOne application.1 See 88 Fed. Reg. 11704. Only a “narrow set” of refugees
who seek to present themselves at a port of entry but are unable to make an
appointment using CBPOne due to “serious obstacle[s]” such as “illiteracy”, would

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 While much of the agencies’ discussion concerns the existence of the parole programs for certain
migrants from Cuba, Haiti, Nicaragua, and Venezuela (“CHNV parole programs”), those programs
require accepted individuals to Ήy into the United States, 88 Fed. Reg. 1249-1250 (2023), and so by
deΈnition, do not provide protection to refugees who seek to enter the United States by land.



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be exempt from the presumption.2 Id. at 11723 & n.173. Unaccompanied minors
would also be exempt from the presumption. Id. at 11707.

For refugees subject to the presumption, all are to be presumed ineligible for
asylum in the United States unless they can “demonstrat[e] exceptionally
compelling circumstances,” such as an “[a]cute medical emergency,” “an imminent
and extreme threat to their life or safety,” or that they were a victim of “a severe
form of traΊcking.” Id. at 11723. They bear the burden to prove such
circumstances by a preponderance of the evidence. Id. This showing must be
made both at the beginning of the credible fear interview (CFI) before an asylum
oΊcer, and, for those cases that are permitted to proceed to aΊrmative or
defensive asylum application merits proceedings, before the adjudicator
considering the merits. Id. at 11707.

In addition, for asylum seekers who are barred from asylum under the
presumption, the rule would heighten the legal standard they must meet to
demonstrate that they may be entitled to protection under the Convention Against
Torture or withholding of removal. SpeciΈcally, such individuals must demonstrate
a “reasonable possibility” that they will su·er persecution or torture at the CFI
screening, rather than a “signiΈcant possibility,” to be placed in removal
proceedings. Id. at 11742. In addition, under the NPRM, negative CFI
determinations of individuals subjected to the ban will be reviewed by an
immigration judge only at the express request of the individual, no longer as a
matter of course. Id. at 11744.

The agencies identify several purposes that they state motivate their proposed rule,
speciΈcally: (1) an anticipated “unmanageable Ήow of migrants” at the U.S. southern
border when the Title 42 restrictions are lifted, and as a result, a concern that
federal and local border infrastructure will be overwhelmed and immigration court
backlogs will grow; (2) a concern about “putting migrants’ lives at risk” by policies
that incentivize the use of smugglers and human traΊckers to cross the border; (3)
a concern that increasing existing immigration backlogs harm individuals with
“meritorious” claims by delaying positive resolution of their cases and reward
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 The NPRM does not explain the circumstances under which such individuals would be permitted to
enter at a port of entry, and so presumably it contemplates that such individuals would have no
choice but to enter without inspection between ports of entry.



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individuals with “non-meritorious” claims who are able to remain in the United
States while their cases are pending; and (4) a desire to urge migrants “to seek
protection in third countries in the region.” Id. at 11705, 11707, 11737.

The agencies state that they are proposing a “temporary” 2-year rule, but are
soliciting comments on whether the rule should be in place for more or less time;
they intend to have their new regulatory regime in place when Title 42 ends; and
they may rely on an interim Έnal rulemaking while the notice and comment
rulemaking process is underway. Id. at 11727.

IRAP opposes the NPRM on the following grounds:

IRAP’s Opposition to the NPRM

      I.     The Agencies Have Failed to Adequately Explain Their Reasoning

The NPRM rests on several explicit or implicit premises, which are not suΊciently
explained or supported by the evidence the agencies have identiΈed.

             a. The Agencies Have Not Adequately Explained Their Basis for
                Believing that a “Surge” in Border Crossings is Imminent

First, the NPRM rests on the premise that the end of Title 42 will lead to an
“unmanageable Ήow of migrants'' at the southern border that will overwhelm the
federal government’s ability to “safely, humanely, and eΊciently administer the
immigration system, including the asylum system.” Id. at 11707, 11729. The
agencies do not, however, provide data showing that the federal government is
currently overwhelmed, notwithstanding the NPRM’s repeated discussion of
historically high rates of border encounters by the agencies. Rather, they cite
internal government data that the agencies say shows some CBP facilities were at
or over capacity earlier this Έscal year. Id. at 11714. But the agencies concede that
their data is from before the Cuba, Haiti, and Nicaragua parole programs went into
e·ect, and they say these programs were highly “success[ful]” in reducing the
number of individuals seeking to enter the U.S., id. at 11711. As such, it is not at all
clear whether any CBP facilities are currently at capacity.




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To predict what may happen in the future, the agencies rely on a single internal
projection by DHS, Έnding that “encounter numbers may increase to 11,000-13,000
per day” when Title 42 ends, absent policy changes. Id. at 11728-29 & n.189
(emphasis added) (citing “DHS Post-Title 42 Planning Model generated on January 6,
2023”); see also id. 11705, 11731, 11746. But this projection also relies on data from
before the CHNV parole programs went into e·ect, such that it does not reΉect the
government’s current capacity with far fewer people seeking to enter the United
States. Moreover, the agencies provide no information about the data or
assumptions DHS relied upon in making its projection, as would be necessary to
allow commenters to assess the validity of the projection. Nor do the agencies
identify all the outputs generated by the DHS Post-Title 42 Planning Model; they
concede that the 11,000-13,000 number is in the “upper bounds” of the model’s
outputs, id. at 11705 n.11 & 11706, but they fail to provide the other predictions the
model made that would allow the public to consider reasonable alternatives.

In short, the agencies do not suΊciently identify the problem the NPRM purports to
solve. The explanation of why the federal government will be unable to meet the
demands placed on it in the immediate aftermath of Title 42 lifting absent this new
policy proposal is noticeably lacking. The agencies’ failure is particularly striking
given that they justify the NPRM as a “temporary” measure that is speciΈcally
designed to respond to a “unique” time-limited situation. Id. at 11730.

             b. The Agencies Have Not Adequately Explained their Basis for
                Believing that Viable Alternatives Exist for Asylum Seekers

                    i. CHNV Parole Programs

The NPRM rests on the premise that refugees seeking protection from persecution
have viable alternatives to entering the United States without inspection. The
agencies concede that a deterrence-only policy is not suΊcient to meet their goals,
and providing “lawful processes for individuals who intend to migrate” is a “critical
component to reducing migratory Ήows.” Id. at 11713. To that end, the agencies
describe three di·erent processes, incorrectly assuming each is a viable alternative
for asylum seekers without suΊcient explanation.




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First, the agencies identify the CHNV parole programs as one “lawful pathway”
refugees can use in lieu of approaching the southern border by land. At the
threshold, those pathways are limited to nationals of four countries. Moreover, as
the agencies recognize, those pathways are limited to individuals who have a
passport, have a Έnancial sponsor in the United States, and are able to pay for their
airfare to the United States. In short, the design of the parole pathways all but
ensures that the most vulnerable refugees, forced to Ήee without time to prepare
documents and resources, are categorically excluded. Finally, even with respect to
those who are able to qualify for the program, the agencies o·er no information as
to how many applicants have applied and how quickly the monthly cap of 30,000
individuals from all four countries has been Έlled.

Notably, the agencies state that Venezuelan, Nicaraguan, and Cuban nationals are
expected to comprise a “signiΈcant part” of the increased number of individuals
seeking to cross the border after Title 42 ends. See id. at 11731; see also id. at
11712. In doing so, they essentially concede that the parole programs—speciΈc to
these nationals—are insuΊcient to meet their need for refuge in the United States.

                   ii. The Agencies Have Not Adequately Explained Their Basis
                       for Believing that Asylum is Meaningfully Available in
                       Transit Countries

The agencies also assume that seeking asylum in a transit country is a viable option
for many refugees. The agencies’ data fails to support their assumption. In
particular, the agencies focus on the increasing number of asylum applications
received in Mexico and Costa Rica, see id. at 11721-22, but not on whether those
applications result in access to meaningful protection in those countries for
individuals who need it.

For example, with respect to Mexico—the country through which all individuals will
necessarily transit if they are approaching the southern border by land—the
agencies rely on media accounts to suggest that most of the refugee cases Έled in
2021 were approved, see id. at 11721 n.145. But the Mexican government’s publicly
available data shows otherwise: Mexico’s overburdened asylum system has too few
resources to meet the current demand for its services and its backlog is rapidly




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growing.3 The Mexican Commission for Refugee Assistance (COMAR) limited staΊng
and geographic presence mean that many refugees are simply unable to access it.
And Mexico requires individuals to apply for asylum within 30 days of their entry to
the country, so if individuals are unable to quickly access the system, they will be
barred through no fault of their own.

                         iii. The Agencies Have Not Adequately Explained Their Basis
                              for Believing that CBP One Is a Functional System That
                              Will Enable Asylum Seekers to Access the Border

Finally, the agencies assume that CBP One is or will be a meaningful mechanism by
which asylum seekers can access the southern border. See id. at 11707. But CBP
One was designed for a much narrower purpose and it has repeatedly failed in the
face of the new demands placed on it.4 Technological problems that refugees have
encountered when trying to use CBP One have been well-documented and include
issues such as the lack of proper functionality for people with darker skin tones.5
But the NPRM myopically fails to address any of the issues currently plaguing CBP
One, incorrectly assuming that most migrants have smartphones, third parties can
assist migrants in accessing CBP One, and the “very narrow” exception for
individuals who are unable to accept the app for speciΈc reasons cures any
remaining concerns. See id. at 11720, 11723 n.173.

Moreover, among the current problems with CBP is the extremely limited number
of appointments available each day. While the agencies vaguely assert that the
government will “expand implementation” of the application after Title 42 is lifted,
they fail to provide any information related to the number of appointments that
they will make available each day, as would be necessary to enable commenters to
the NPRM to assess whether appointments will even begin to meet the need.


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 A detailed discussion on this issue based, in part, on data obtained from the Mexican Commission
for Refugee Assistance (COMAR) follows below in Section III.f.

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    An in-depth discussion of the inadequacies of CBP One follows below in Section III.f.
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 See e.g., “CBP One Is Riddled With Flaws That Make the App Inaccessible to Many Asylum Seekers,”
Immigration Impact, American Immigration Council, February 28, 2023, available at:
https://immigrationimpact.com/2023/02/28/cbp-one-app-Ήaws-asylum-seekers/.



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Despite vague statements that narrow categories of people who are unable to
access or use CBP One,6 the NPRM provides no process or explanation on how
these individuals would access a port of entry without an appointment. See id. at
11720. Based on IRAP’s observations of the current implementation of CBP One,
they cannot. This virtually guarantees that asylum seekers who cannot access CBP
One will have no choice but to enter without inspection between ports of entry,
likely with the assistance of smugglers, and putting themselves at grave risk. This
outcome runs expressly counter to the agencies’ stated goals of increasing the
safety of migrants, reducing their dependence on smugglers, and reducing the
number of people entering between ports of entry given the associated strain on
limited CBP resources.

               c. The Agencies Have Not Adequately Explained Their About-Face
                  on Legal Standards

The NPRM is premised on the idea that the vast majority of asylum claims are not
meritorious, and that those cases can be e·ectively weeded out at the threshold of
the process by imposing more stringent standards – for example, by requiring
asylum seekers subjected to the ban to prove that they fear a “reasonable
possibility” of persecution or torture. But as the government recently recognized in
the context of the Credible Fear and Asylum Processing Interim Final Rule, the
higher standard is not e·ective at screening out “non-meritorious” claims. Id. at
11746 (citing 87 FR 18078, 18092). The government’s abrupt about-face today is not
based on new data, but rather the lack of evidence that the reasonable probability
standard is not e·ective in the context in which it is currently used, see id. at
11746-47 (information available when the government made its prior
determination).

Moreover, the agencies’ premise runs counter to IRAP’s extensive experience
representing and assisting asylum seekers at the U.S. southern border. Based on
IRAP’s experience, we believe that asylum seekers who would ultimately prevail on
the merits will be screened out by the NPRM’s asylum ban. To take an illustrative
client example: a Salvadoran woman who has been a victim of rape repeatedly in

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 “due to language barrier, illiteracy, signiΈcant technical failure, or other ongoing and serious
obstacle” will be exempted from the rebuttable presumption if they arrive at ports of entry without
an appointment,


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Mexico by gangs because of her family relationships, whom Mexican authorities
have been unwilling to assist, and who had been in hiding for 6 months prior to
entering the U.S. because she could not safely travel to the U.S.-Mexico border until
mere days prior to her entry.7 Under current law, this client would not be barred
from asylum because of the dangers she faced in Mexico, whether she applied for
and received asylum or any other status in the United States.8 However, under the
NPRM, if she is unable to access an appointment through CBP One – as has been
the case for most of IRAP’s clients – this same woman is unlikely to meet the
requirement of an “imminent and extreme” threat to life and safety if she were to
attempt to access asylum at the U.S.-Mexico border because she had been in hiding
for six months and therefore the threat may not be “imminent” under the NPRM.
See id. at 11707 n.27 (the “imminent” requirement cannot be satisΈed by “a prior
threat that no longer poses an immediate threat”). And so, if the NPRM becomes
law, this woman would be denied the chance to even present an asylum claim that
today she would likely win.

         II.     The Agencies’ Stated Purposes are Not Reasonably Related to the
                 Results of the Proposed Rule

Among the goals the agencies identiΈed in promulgating the NPRM were to
promote the safety of migrants and lessen reliance on smugglers across the border
and maximize government capacity, which they say is strained when CBP must
search for individuals between ports of entry. But the rule is all but certain to
ensure that migrants who would otherwise seek to present themselves at a port of
entry will have no choice but to cross between ports when they are unable to make
an appointment using CBP One. This will increase reliance on smugglers, and
greatly increase the risks to migrants. And CBP will, according to the agencies, need
to divert resources away from processing at ports of entry to patrolling between
ports of entry.

Another of the goals identiΈed by the agencies is to increase the percentage of
“meritorious” asylum claims. While IRAP strongly disputes the agencies’ premise for

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 These facts are representative of fact patterns that IRAP has seen present in our clients’ cases but
have been edited in their details to avoid directly identifying any particular client.
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    See 8 C.F.R. § 208.15(b) for the standard for the Έrm resettlement bar to asylum.



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the reasons described, supra, even if the goal were valid, the agencies’ NPRM is
designed to have the opposite e·ect. SpeciΈcally, the NPRM privileges asylum
seekers who have applied for asylum and been denied in another country. Such
individuals will not be subject to the asylum ban, while nearly all other asylum
seekers at the border will be banned. As a result, and given the design and
purpose of the NPRM, individuals who have been denied asylum elsewhere will be
much more likely to have their asylum cases adjudicated on the merits. While
many of these individuals likely will ultimately prevail in U.S. courts even if they
were unsuccessful in other countries, the likely result of this rule privileging claims
already denied in other countries over claims that have not been previously
adjudicated will be an increase in the portion of claims the U.S. government Έnds
“non-meritorious.”

          III.    The Agencies Have Failed to Consider the Full Impact of the NPRM

                  a. The NPRM is contrary to Congress’s intent when it created the
                     current asylum system

Congress intentionally designed the asylum system to create a minimal burden at
the initial, rapid screening stage. In May 1939, the St. Louis sailed from Germany
carrying over 900 predominantly Jewish refugees in search of safety. The United
States did not allow the passengers to land. According to the Holocaust Memorial
Museum, 254 passengers aboard the ship turned away from our shores were killed
in the Holocaust.

In 1948, a collection of nations riddled with shock and guilt over all that had
transpired and animated by the promise of “never again” drafted the Universal
Declaration of Human Rights. Among them, Articles 13 and 14 state plainly and
powerfully that “everyone has the right to freedom of movement and residence
within the borders of each State,” the “right to leave any country, including his own”
and the corresponding right “to seek and to enjoy in other countries asylum from
persecution.”9




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    Universal Declaration of Human Rights, Articles 13-14 (1948).



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In 1951, the United Nations Conference of Plenipotentiaries on the Status of
Refugees and Stateless Persons took place and convening parties drafted and
signed the Convention relating to the Status of Refugees. With pen to paper guided
by the horrors of the persecution of Jewish, LGBTQIA+, Roma, disabled, and
countless other persons, the participating drafters produced the following
deΈnition of a refugee:

      Any person who as a result of events occurring before 1 January 1951 and
      owing to a well-founded fear of being persecuted for reasons of race,
      religion, nationality, membership of a particular social group or political
      opinion, is outside the country of his nationality and is unable or, owing to
      such fear, is unwilling to avail himself of the protection of that country; or
      who, not having a nationality and being outside the country of his former
      habitual residence as a result of such events, is unable or, owing to such fear,
      is unwilling to return to it.

In 1967, the temporal and geographical limitations of the Convention’s deΈnition
were removed in recognition of the unfortunate reality that the mass displacement
and persecution of the Holocaust and World War II would not remain a singular
aberration in human history. The United States ratiΈed the 1967 protocol, binding
us to this centerpiece of international refugee protection.

Finally, and most relevantly, in 1980, the United States enshrined the international
law refugee deΈnition into its domestic law by passing the Refugee Act of 1980. As a
result, under U.S. law, a person seeking asylum would henceforth be expected to
meet the refugee deΈnition and, crucially, could do so by arriving at the border and
asking to be screened at a port of entry or by entering without prior inspection and
then declaring their fear of persecution.

All of this brings us to 2023. For all of the ways this NPRM emphasizes the
importance of “lawful” pathways, it at best misses and at worst intentionally seeks
to undo the fact that in both international and domestic U.S. law, asylum itself is a
lawful pathway—and one that already has an extensive body of law composed of
statutes, case law, and regulations. Moreover, the manner of entry is “only one of a
number of factors which should be balanced in exercising discretion [to grant
asylum], and the weight accorded to this factor may vary depending on the facts of


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a particular case” as held by the Board of Immigration Appeals, explicitly
withdrawing previous precedent “insofar as it suggests that the circumvention of
orderly refugee procedures alone is suΊcient to require the most unusual showing
of countervailing equities.”10 The NPRM falls short of the Department of Justice’s
own precedent, short of U.S. domestic law, short of our international obligations,
and well short of the promise to ‘never again’ be complicit in acts like turning away
the passengers of the St. Louis. The U.S. Government cannot cite eΊciency and
order to justify the abrogation of the rights of individuals Ήeeing persecution to
seek asylum.

               b. The agencies failed to consider that the CHNV parole programs
                  are inaccessible to many, if not most, refugees

The Proposed Rule incorrectly assumes that CHNV parole processes are a viable
pathway for individuals to lawfully enter the United States to pursue their asylum
claims. These parole processes have requirements that are often incongruent with
the lived reality of most refugees. For example, the requirement for a valid,
unexpired passport alone already disqualiΈes a signiΈcant percentage of refugees.
Although there are some carve-outs for expired Venezuelan passports, the need for
exceptions only proves that the reality of migration and the experiences that lead
people to need to seek asylum are incompatible with such documentation
requirements. In January 2023, IRAP spoke with numerous Haitian nationals who
were interested in pursuing the parole program but realized they were not eligible
because they did not have passports and could not obtain passports due to the
same fears and security risks that had driven them to Ήee and seek asylum in the
Έrst place.

The nationality-speciΈc programs referenced above also require a sponsor residing
in the United States. This requirement is unrealistic and unrelated to the fact that
individuals seeking asylum are facing dangers and threats to their safety, and only
serves to impose another bar that would disqualify countless people. The agencies
suggest that these pathways increase the accessibility of humanitarian protection
but by including a Έnancial sponsorship component, the agencies are creating a


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  Matter of Pula, 19 I&N Dec. 467, 473 (BIA 1987) (distinguishing and withdrawing from Matter of
Salim) (emphasis added).



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class and resource stratiΈcation as to who receives refugee protection in the United
States. Moreover, the tie back to sponsors already residing in the United States
perpetuates the existing inequities in who is able to get to the United States, who is
able to successfully navigate the legal system of seeking asylum, and who is able to
reach the Έnancial stability required by this sponsorship component. Whether in
terms of language access, Έnancial resources, access to counsel, or many other
facets, there is no way in which such reliance upon the CHNV parole processes is
going to “increase accessibility” to anything for anyone in an equitable way.

             c. The agencies failed to adequately consider the substantial
                accessibility issues plaguing CBP One

The NPRM provides that the asylum ban will not apply to noncitizens who
demonstrate that they were unable to access the CBP One application for speciΈc
reasons. See 88 FR 11704, 11720. The NPRM is silent, however, on how an individual
would demonstrate such inaccessibility and how an adjudicator would determine
whether it was “truly not possible” for the individual to access or use the
application.

The NPRM also fails to explain how individuals seeking an exception from the
asylum ban would actually be processed upon presenting at a Port Of Entry (POE).
While the NPRM’s text strongly suggests that such individuals will be turned away
from ports of entry and left with no choice but to enter without inspection, the
NPRM’s text fails to make this explicit. The NPRM contemplates that the exception
analysis will be done at the CFI stage (as well as at the merits stage), but it fails to
consider the practicality of this approach. Are translators readily available for those
with language barriers whom the NPRM speciΈcally contemplates will be covered by
the exception? Will individuals be forced to linger in CBP detention while
interpreters for indigenous languages are found? Does an individual qualify for the
exception if they do not have a phone/smart device? The Proposed Rule fails to
address any of these important questions.

Simply put, CBP One lacks the technological capacity necessary for the widespread
use envisioned by the NPRM, let alone play its role as asylum gatekeeper at the
border, as envisioned in the NPRM. CBP One was “not created for the purposes of
data collection,” but to bring overlapping CBP services together on di·erent CBP


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mobile apps.11 For instance, documents obtained by the American Immigration
Council (“AIC”) show that, when announcing the CBP One’s oΊcial launch, CBP
noted the app’s “limited capabilities” - those being its narrow abilities to be utilized
for the Form I-94 and to make appointments scheduling inspections of perishable
cargo. Id. AIC’s documents also show that the original plans of the application (the
“Capability Roadmap”) did not include its use for processing individuals at ports of
entry. Id. The limited purposes for which CBP One was intended and designed
compared to the purposes proposed in the NPRM justiΈably cause alarm.

Perhaps unsurprisingly given its origins, individuals attempting to use CBP One are
already encountering signiΈcant issues that prevent them from accessing the
border.12 IRAP’s clients and communities we serve at the border in Ciudad Juárez
have reported many technical issues, including error messages (appearing in
English regardless of the language selected for CBP One access), frequent need to
change the password and update the application, the application crashing
unexpectedly, inability to upload Έles, and issues with facial recognition, especially
for people with darker skin tones. These discriminatory and technological issues
have made it extremely diΊcult, if not impossible, for at-risk asylum seekers to
complete the registration process.

IRAP sta· at the border have directly witnessed the technical failures of the
application. For example, members of a Venezuelan family with darker skin were
unable to complete their registration because CBP One’s facial recognition did not
pick up the image of all three family members (father, mother, and child). The
family experienced persecution in Venezuela and were forced to Ήee after the child
was shot and severely injured. While in Mexico, the mother was kidnapped and

11
  American Immigration Council. Government Documents Reveal Information about the
Development of the CBP One App. February 28, 2023
(https://www.americanimmigrationcouncil.org/FOIA/government-documents-reveal-information-abo
ut-development-cbp-one-app).
12
  See, e.g., Melissa del Bosque. “Facing Bias: CBP’s Immigration App Doesn’t Recognize Black Faces,
Barring Thousands from Seeking Asylum,” The Border Chronicle, February 7, 2023
(https://www.theborderchronicle.com/p/facing-bias-cbps-immigration-app); “U.S. Border Protection
App Causes Tech Headaches for Asylum Seekers,” February 1, 2023
(https://www.marketplace.org/shows/marketplace-tech/u-s-border-protection-app-causes-tech-head
aches-for-asylum-seekers/).



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sexually assaulted, and the child has been unable to receive medical treatment for
the gunshot injury. The family has been unable to obtain an appointment since the
app was rolled out and continues to wait in dangerous conditions in Mexico despite
months of e·orts to enter the United States lawfully. Id.


Notably, the CBP One system does not account for the amount of time that a
person has been waiting to access the port of entry, or the number of times
that they have tried and failed to obtain an appointment. Rather, CBP One is a
roulette system where vulnerable migrants must rush to their mobile phones
every day once the system opens at 11:00 a.m. EST and test their luck by trying
to obtain an appointment.13 Due to the very limited number of appointments
available, only a limited number of lucky individuals (or bots) receive an
appointment and therefore the opportunity to enter the United States.


CBP One’s appointment process also fails to take into account the vulnerability
of the migrant and the urgency of their need to access the port of entry. In
order to make an appointment, a person must certify that they or someone
traveling with them meets the broad vulnerability criteria, which include:
physical or mental illness, disability, no access to safe shelter in Mexico, or
having been threatened or harmed while in Mexico. The application does not
ask for any details about vulnerabilities, and there is no opportunity for anyone
to provide such detail via the app. As a result, CBP One is incapable of
prioritizing the scheduling of cases based on the gravity of a person’s situation
in Mexico and how urgently they need protection in the U.S.


For example, a single adult traveler who was a victim of a robbery in Mexico
but is no longer in danger relies on the same mechanism for making an
appointment as a single mother traveling with young children who are Ήeeing
cartel members and who currently are unable to obtain urgent medical care for
the children in Mexico. But the notable di·erence between these two
individuals is that the single traveler who is not in danger is much more likely
to obtain an appointment than the family because the family must use the
facial recognition technology for each member of the family unit, which takes

13
  Though the time has been subject to change in the last several months, furthering confusion and
frustration at the border.


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more time, and all but ensures that the limited appointments available will be
taken by the time the family Έnishes the process.

Vulnerable families are also at a signiΈcant disadvantage because appointments for
family units (as opposed to for individuals) are practically nonexistent. CBP has
claimed that the app’s recent update in late February makes it easier for families to
secure appointments, but IRAP has observed that vulnerable families are forced to
wait for appointments indeΈnitely.14 The example of “Claudia”15, one of IRAP’s
clients, is illustrative of the broader issues IRAP has observed. “Claudia” is a
Salvadoran woman traveling with her two young children who Ήed her country after
her husband and siblings were murdered by gang members in her home. They
urgently need protection in the U.S. because while in Mexico, the gang members
became aware of their location and began to make death threats. Additionally, both
of her children su·er from medical conditions and mental health symptoms as a
result of the trauma they endured in El Salvador, and they are unable to access
proper medical care in Mexico. “Claudia” attempted to make an appointment
together with her children for three months through the CBP One app. Every time
that she selected a time slot available, the app notiΈed her that there was no
availability for three individuals. She decided to register by herself and was able to
Έnd an appointment. When she approached the border with her children, hoping
that CBP oΊcials would allow them to enter the U.S., she was told that only she
would be allowed to enter because the children were not registered. After ruling
out the option of leaving her children behind, “Claudia” returned to the shelter with
the children. Despite needing urgent protection in the U.S., they are still unable to
get an appointment together.

The proliferation of bots and auto clickers - software that automates the CBP One
application process in milliseconds - have made the process even more arbitrary




14
  Andrea Castillo, “Asylum Seekers Face Decision to Split Up Families or Wait IndeΈnitely Under New
Border Policy,” Los Angeles Times, February 24, 2023
(https://www.latimes.com/politics/story/2023-02-24/asylum-seeking-families-consider-separation-sh
ortage-mobile-app-appointments).
15
     Name changed to protect conΈdentiality.



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and stacked the odds against the most vulnerable refugees.16 It is now impossible
for those without auto clickers to obtain an appointment through CBP One. Id.
Autoclickers have made it impossible for humans to compete with, often leading to
the application crashing, and they add an additional element of unfairness for
individuals attempting to use CBP One who are unaware of autoclickers’ existence
or simply do not have smartphones capable of downloading these types of
line-skipping apps. Id.


Prior to the launch of CBP One as the main channel to seek protection in the
U.S., trusted legal aid organizations, like IRAP, were able to Ήag urgent cases to
CBP by submitting Title 42 requests on behalf of migrants. For example, in
November 2022, IRAP sta· identiΈed 25 vulnerable families and submitted Title
42 exemptions on their behalf; every exemption was granted and the families
were able to enter and receive protection in the U.S. Since January 2023, IRAP
sta· have identiΈed dozens of migrants, who need urgent protection but have
not been able to get an appointment through the app. For instance, “Rose”17, a
Haitian woman and IRAP client was eight months pregnant with twins and
su·ering from diabetes. She Ήed Haiti after gang members forced her out of
her house and attempted to assault her sexually. While in Mexico, “Rose” was
unable to access specialized medical care for her high-risk pregnancy.
Additionally, she lived in a house with water damage and a mold infestation,
posing signiΈcant health risks given her pregnancy. IRAP sent an email to CBP
via the same channel used for Title 42 exemption requests before the launch of
CBP One, explaining her urgent situation and requesting an exemption to Title
42. IRAP received no response to its request.

In sum, CBP One does not allow, and was not created for, vulnerable asylum
seekers to access the U.S. asylum system. It does not serve this purpose, nor was it
designed to be used at anything close to the scale that the agencies contemplate.
Even use at the current scale has led the application to crashing, fraud,
discriminatory practices, and auto-clicking/bots/third-party markets targeting
refugees. The agencies have utterly failed to consider any of these issues.
16
  Stephania Corpi Arnaud, “Once a Ticket Scalpers’ Tool, Auto Clickers Now Help Migrants Enter the
U.S.,” February 23, 2023 (https://restofworld.org/2023/auto-clicker-migrants-us-mexico/).

17
     Name changed to protect conΈdentiality.



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               d. The agencies failed to adequately consider that the NPRM will
                  increase CBP detention times

Conditions for migrants in Customs and Border Protection’s detention facilities
have been broadly documented as insuΊcient and, too often, dangerous. Even
though the 2009 CBP Security Policy and Procedures Handbook describes CBP
holding cells as small concrete rooms “not designed for sleeping,”18 people are
regularly held in these facilities sometimes for several nights— a period that we can
expect only to increase under the NPRM due to the need for increased screening.
The agency has admitted to the limitations of its detention facilities and, in 2015,
issued its National Standards on Transport, Escort, Detention and Search (TEDS),
which determined that detention in CBP facilities should “generally” last no longer
than 72 hours, and that “every e·ort must be made to hold detainees for the least
amount of time required for their processing.”19 IRAP sta· have observed that
migrants being paroled into the United States remain in CBP custody generally for
at least 24 hours, and often for longer. An OΊce of Inspector General (OIG)
investigation in 2022 focused on El Paso Border Patrol facilities found that 87% of
people detained from October to November 2021 spent longer than 72 hours in
Border Patrol custody.20

It is commonly understood and has been consistently reported that CBP facilities
are unΈt for long-term detention due to unsanitary conditions, extremely low
temperatures, lack of proper food and other suboptimal conditions.21 Detainees

18
  CBP Security and Procedures Handbook, HB 1400-02B, August 13, 2009
(https://info.publicintelligence.net/CBP-SecurityHandbook.pdf).
19
  CBP National Standards on Transport, Escort, Detention and Search, October 2015
(https://www.cbp.gov/sites/default/Έles/assets/documents/2020-Feb/cbp-teds-policy-october2015.p
df).
20
  El Paso Sector Border Patrol Struggled With Prolonged Detention and Consistent Compliance with
TEDS Standards, Department of Homeland Security, OΊce of the Inspector General, OIG-22-57,
August 9, 2022 (https://www.oig.dhs.gov/sites/default/Έles/assets/2022-08/OIG-22-57-Aug22.pdf).
21
  See, e.g., “In the Freezer: Abusive Conditions for Women and Children in US Immigration Holding
Cells,” Human Rights Watch, February 28, 2018
(https://www.hrw.org/report/2018/02/28/freezer/abusive-conditions-women-and-children-us-immigr
ation-holding-cells); Hannah CritchΈeld, “Border Patrol Burritos are Making People Sick, Doctors Say,”
Phoenix New Times, January 14, 2020


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are forced to sleep on the Ήoor or concrete furniture without mats or suΊcient
covers.22 Furthermore, CBP facilities are often unsanitary, and it has been reported
that detainees have limited to no access to showers and personal hygiene supplies
while in custody.23

Treatment of people in CBP custody is widely reported as punitive and inhumane.
In 2019, OIG learned as part of their investigations into conditions at CBP facilities
in Texas that some detainees had been held in these facilities in “standing-room
only conditions for days or weeks.” In July 202l, OIG issued a memorandum
describing how CBP consistently failed to show that it conducted required medical
screenings or consistent welfare checks to detainees.24 The Freedom of Information
Act (FOIA) documents obtained by Human Rights Watch in 2021 identiΈed over 160
misconduct and abuse incidents against asylum applicants at the hands of oΊcers,
particularly CBP oΊcers and agents.25

Lack of access to counsel in CBP custody and other detention facilities will pose a
serious barrier to fair asylum processing under the rule. IRAP attorneys have
consistently heard from their clients being paroled into the United States through
Title 42 exemptions that CBP oΊcers do not provide them with thorough
information about their legal rights, or that they are issued documents, such as

(https://www.phoenixnewtimes.com/news/burritos-border-patrol-ice-migrants-sick-asylum-arizona-c
asa-alitas-11425176).
22
  Brief for the American Immigration Council and the American Immigration Lawyers Association as
Amici Curiae at 4-5, Las Americas Immigrant Advocacy Center, et al v. Chad Wolf, et al, 507 F.Supp.3d 1
(D.D.C. 2020).
23
  Guillermo Cantor, “Hieleras (Iceboxes) in the Rio Grande Valley Sector,” American Immigration
Council Special Report, December 2015
(https://www.americanimmigrationcouncil.org/sites/default/Έles/research/hieleras_iceboxes_in_the_
rio_grande_valley_sector.pdf).
24
  “CBP Needs to Strengthen its Oversight and Policy to Better Care for Migrants Needing Medical
Attention,” Department of Homeland Security, OΊce of the Inspector General, OIG-21-48, July 20,
2021 (https://www.oig.dhs.gov/sites/default/Έles/assets/2021-07/OIG-21-48-Jul21.pdf).
25
  “‘They Treat You Like You Are Worthless’: Internal DHS Reports of Abuses by US Border OΊcials,”
Human Rights Watch, October 21, 2021
(https://www.hrw.org/report/2021/10/21/they-treat-you-you-are-worthless/internal-dhs-reports-abu
ses-us-border-oΊcials).


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Notices to Appear or Orders of Supervision, that are not explained to them at all or
in a language that they do not understand while in CBP custody.

This is particularly problematic in the context of legal services providers who are
not permitted to enter Border Patrol facilities or provided with a mechanism to
contact their clients while detained there. Asylum seekers detained in CBP facilities
are not able to make phone calls, including to counsel they might have retained
before their crossing. Without access to counsel or proper legal information, even
those who still qualify for asylum under the NPRM will likely not be able to access
such relief. Because of the lack of access to counsel at CBP facilities, asylum
seekers with imminent threats to their life or safety, who should be able to rebut
the presumption under the rule, are likely to be deported back to Mexico due to
erroneous information being provided by Border Patrol oΊcers and lack of
suΊcient, compassionate, and accessible screening of their vulnerabilities.

We are concerned that, in order to meaningfully apply the NPRM, detention in CBP
facilities would increase and exceed 72 hours. The conditions of CBP facilities lead
to sleep deprivation, poor health, and further traumatization that directly a·ect the
ability of asylum seekers to meaningfully assert their rights. Instead of addressing
the underlying suboptimal conditions of these facilities, the NPRM increases
reliance on these facilities for the processing of asylum seekers. The U.S.
government should not rely on the expansion of these facilities to further
implement this rule, as there is extensive evidence that the basic human needs of
detainees are not being met. Therefore, these facilities should not be used to hold
detainees for any form of vulnerability assessment, including assessments of
“exceptionally compelling circumstances” that rebut their presumption of asylum
ineligibility under this rule.

             e. The agencies failed to adequately consider the additional
                burdens the NPRM would impose on asylum oΊcers and
                immigration judges

The NPRM would further burden the immigration system by imposing di·erent
standards and factors to review in asylum cases, which would exacerbate current
backlogs and delays and increase the chances for error. For example, the NPRM
would require adjudicators to perform new legal assessments of other countries’


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asylum processes. The NPRM does not explain how immigration adjudicators are
to treat a denial of asylum in a third country, and speciΈcally, whether a previous
denial of asylum and all related records are to become part of the immigration case
Έle and part of the merits determination. If so, an adjudicator would need to
examine evidence that was previously submitted in the country of transit and
records of proceedings in order to make a determination on the credibility and
materiality of the case before them in the United States. Obtaining such Έles would
take additional time and resources, as would making complex determinations on
laws and regulations of other countries. Additionally, credible fear interviews and
judicial reviews of credible fear decisions provide insuΊcient time to make these
complex inquiries. Imposing this resource-intensive and highly-nuanced
assessment would prolong asylum and credible fear proceedings, contributing to
the very backlogs that the NPRM is purportedly designed to lessen.

            f. The agencies failed to adequately consider the substantial
               limitations of Mexico’s asylum system

The NPRM would require asylum seekers subject to the presumption to show an
asylum denial from a third country they transited through before arriving at the
U.S. border. As most asylum seekers presenting at the southern border are
non-Mexicans who travel through Mexico to reach the U.S., thousands of migrants
will presumably Έle for, or be forced to Έle for, asylum in Mexico, a country whose
asylum system is already overburdened due to limited resources, lack of funding,
and an increasing caseload they are struggling to keep up with. If the NPRM were
to go into e·ect, it would put even more pressure on a system that is already
straining to function making it an ineΊcient and nonviable alternative for migrants
seeking to apply for asylum.

In Mexico, migrants can only apply for asylum before the Mexican Commission for
Refugee Assistance. COMAR is the entity responsible for adjudicating asylum claims
and determining refugee status in Mexico. Thus, its decisions have signiΈcant
implications for the lives and safety of asylum seekers and refugees in Mexico.
However, the agency has long been criticized for its growing backlog of cases, lack
of resources, and overall inability to provide adequate services to asylum seekers.




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COMAR is already overwhelmed with the enormous number of applications it has
received over the past decade which has led to long delays in the processing and
adjudication of applications. Between 2014 and 2019, Mexico registered a 3,190%
increase in the number of asylum applications it received - from 2,137 in 2014 to
70,310 in 2019.26 After a slight dip in 2020 due to COVID-19, the number ballooned
again in 2021 to 129,780 applications. Id. Of these nearly 130,000 applications
received, only 38,099 were processed. Id. Furthermore, in January 2023 alone,
Mexico received 12,863 asylum applications - a 120% increase compared to January
2022 and a 97% increase compared to January 2021. Id. It is expected that the
NPRM will cause asylum applications Έled in Mexico to skyrocket even more, a
scenario that the country simply does not have the capacity to handle.

As the backlog of unresolved claims continues to increase, the time asylum seekers
are waiting to receive a decision continues to increase as well. Under Mexican law,
COMAR must evaluate an application and issue a decision within 45 business days
from the date the process started. However, reports show that some asylum
seekers wait over two years for COMAR to resolve their claims.27 This backlog is
particularly problematic given the barriers asylum seekers face in accessing work
and government services during their waiting periods, such as lack of access to
humanitarian visas. Furthermore, Mexican law stipulates that asylum seekers must
remain in the state where they Έled their asylum application. If they fail to present
themselves for two consecutive weeks before COMAR, their asylum process
automatically ends.28 This means migrants are forced to remain in states where
they receive little to no support, living conditions at shelters are often abysmal, and
jobs are diΊcult or impossible to get. Given that the NPRM requires that migrants

26
  Data obtained from the Mexican Commission for Refugee Assistance (COMAR), “La Comar en
Números,” January 2023
(https://www.gob.mx/comar/articulos/la-comar-en-numeros-327441?idiom=es).


27
  Rachel Schmidke, “A New Way Forward: Strengthening the Protection Landscape in Mexico,”
Refugees International, November 12, 2020
(https://www.refugeesinternational.org/reports/2020/11/9/a-new-way-forward-strengthening-the-pr
otection-landscape-in-mexico).
28
  “Mexican Asylum System for U.S. Immigration Lawyers F.A.Q.,” AsylumAccess, November 2019
(https://asylumaccess.org/wp-content/uploads/2019/11/Mexican-Asylum-FAQ-for-US-Immigration-La
wyers.pdf).


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receive a denial before attempting to seek asylum in the U.S., many refugees will be
forced to wait for an indeΈnite amount of time in dangerous situations until they
receive a decision from COMAR.

COMAR is also severely underfunded as Mexico’s government has limited Έnancial
resources to allocate towards the country’s asylum system. Over the years, its
minuscule budget has not been able to keep pace with its mushrooming caseload.
In 2019, although the number of asylum applications more than doubled compared
to the previous year, COMAR’s budget was reduced from $1.3 million to $1 million.29
In 2020 and 2021, the budget was increased to roughly $2 million, but according to
COMAR oΊcials, this amount was insuΊcient even for basic operational expenses.
Id. If the NPRM goes into e·ect and no additional resources are allocated to
COMAR, the agency will Έnd itself in a dire situation, one that will ultimately result
in asylum seekers having to wait even longer to have their claims processed.

Another problem resulting from COMAR’s lack of suΊcient funding is that there are
only 10 locations across the country, most of which are understa·ed and
overwhelmed, further restricting the agency’s ability to handle its growing caseload.
Reports from Mexican attorneys with whom IRAP collaborates in Ciudad Juárez
(CDJ) indicate that there is only one person in the CDJ COMAR oΊce charged with
adjudicating applications for refugee protection in Mexico, and the Mexican
government has expressed no intention to increase staΊng. COMAR operations
also have yet to recover from setbacks experienced during the COVID-19 pandemic
when they had to reduce in-oΊce sta· capacity to process claims. As a result, they
temporarily suspended their 45-day timeline for processing meaning there is no
longer a time limit to process claims.30 The reduction in sta· and the suspension of
the 45-day limit coupled with the likely e·ects of the proposed rule will only lead to
high burnout rates, sta· turnover, and further addition to the backlog and time it
takes for cases to be resolved.



29
  “Mexico: Asylum Seekers Face Abuses at Southern Border,” Human Rights Watch, June 6, 2022
(https://www.hrw.org/news/2022/06/06/mexico-asylum-seekers-face-abuses-southern-border).
30
  Ariel G. Ruiz Soto, “One Year After the U.S.-Mexico Agreement: Reshaping Mexico’s Migration
Priorities,” Migration Policy Institute, June 2020
(https://www.migrationpolicy.org/research/one-year-us-mexico-agreement).



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Additionally, none of COMAR’s oΊces are located at any airport or border crossing,
further creating barriers for refugees to easily access the system31– particularly
given that Mexican law requires asylum seekers to apply within 30 days of their
arrival in Mexico absent extenuating circumstances beyond their control.32 Instead,
many COMAR oΊces are situated in some of the country’s poorest and most
dangerous states. For instance, the busiest COMAR oΊce is located in Tapachula,
Chiapas where approximately 70% of refugee status claims are made. Id. Reports
indicate that sta· at the Tapachula oΊce have had trouble keeping up with the
demand for appointments where crowds of people seeking asylum gather outside
the oΊce early in the morning to wait in line. Id. In August 2021, COMAR tried to
establish an online appointment system, however, within a few weeks,
appointments were booked through the end of the year. And, according to media
reports, people began to take advantage of desperate asylum seekers by selling
appointments for hundreds of dollars.33 This is just one of the countless examples
that showcase the NPRM’s misguided reliance on the Mexican asylum system to
justify excluding asylum seekers from even seeking protection in the United States.
The NPRM would only add to these deΈciencies and further weaken an already
dysfunctional system.

Mexico’s asylum system is struggling to keep up with the increase in hemispheric
migration over the past decade and lacks the necessary resources to e·ectively
process and manage the increasing number of asylum applications. There is simply
not enough sta·, funding, or infrastructure to handle the already growing caseload

31
  “Mexico: Asylum Seekers Face Abuses at Southern Border,” Human Rights Watch, June 6, 2022
(https://www.hrw.org/news/2022/06/06/mexico-asylum-seekers-face-abuses-southern-border).
32
  Amparo en Revision 353/2019 of the Mexican Supreme Court, Oct. 16, 2019
(https://www.refworld.org/cases,MEX,60be49fb4.html); Amparo en Revision 6268/2019 of the
Mexican Supreme Court, June 2, 2020
(https://www2.scjn.gob.mx/ConsultaTematica/PaginasPub/DetallePub.aspx?AsuntoID=261293);
“Mexican Asylum System for U.S. Immigration Lawyers FAQ,” Asylum Access, Nov. 2019
(https://asylumaccess.org/wp-content/uploads/2019/11/Mexican-Asylum-FAQ-for-US-Immigration-La
wyers.pdf).
33
  “Las Citas en la Comar Tienen un Costo y no Tenemos el Dinero: Haitianos,” Diario del Sur, March
24, 2023
(https://www.diariodelsur.com.mx/local/la-citas-en-la-comar-tienen-un-costo-y-no-tenemos-el-diner
o-haitianos-7264038.html).



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and the proposed rule will only further strain the Mexican asylum system while
punishing asylum seekers themselves for its shortcomings. The expected new
surge of applications as a result of the proposed rule would likely overwhelm a
system that is already struggling to operate under less-than-optimal conditions.
Ultimately, Mexico’s asylum system is not ready for the inevitable inΉux of asylum
seekers it faces in the coming months and years if the NPRM were to go into e·ect.
This fatal Ήaw in the NPRM will prevent it from meeting any of the agencies’ stated
purposes and force refugees into harm's way.

             g. The agencies failed to adequately consider the additional
                burdens the NPRM would impose on organizations providing
                direct services, like IRAP

The agencies’ failure to explain many of the key details of how the NPRM would
work in practice harms IRAP’s ability to engage in its mission-driven programming
to assist individuals in need of humanitarian assistance. IRAP provides direct legal
services to clients at the border as well as remote know-your-options presentations
to migrants and asylum seekers in Ciudad Juárez, Mexico regarding Title 42,
nationality-based parole programs, and the credible fear process in the United
States. Without concrete information as to how the NPRM will be implemented,
IRAP will be unable to adequately advise its clients, partner organizations, and the
communities it serves.

For example, the NPRM proposes that individuals be required to use the CBP One
application to request appointments to present at the border, but it fails to provide
any insight into how the agencies plan to Έx the many problems with CBP One that
refugees are currently encountering. The NPRM provides insuΊcient details on
questions such as, will more appointments per day be available than currently are
available? Will the application require information about a person’s claim for
protection and/or the urgency of their protection needs in Mexico as a precursor to
obtaining an appointment?

To provide another example, IRAP currently has a client who only speaks the
indigenous language Mixteco. As a result, the client is unable to navigate CBP and
has therefore been unable to make an appointment. The NPRM suggests that
asylum seekers in this situation would be able to qualify for an exception, but it fails


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to provide any additional information that would be of any use to asylum seekers
or their legal representatives. Notably, the NPRM leaves unclear whether this client
would have an option to present themself at a port of entry without using the app,
or if the only way they could enter the United States would be without
inspection—putting their life in peril. More generally, the limited information in the
NPRM is insuΊcient to determine whether a client’s failed e·orts to make an
appointment using CBP One are likely to be considered “suΊcient” to justify
requesting an exception from the presumption or whether they would be expected
by the U.S. government to endure further hardship or danger in Mexico before
qualifying for the exception.

And to provide yet another example, under the NPRM it is unclear how the
government will evaluate claims of “imminent and extreme” threats. How
immediate must the threat be? Is it enough to have been threatened with murder
the night before one presents at the border? The week before? The month before?
It is also unclear how severe the threat to life or safety must be - the examples
provided in the NPRM include “rape, kidnapping, torture or murder”, but what
about severe beatings?

To take an illustrative example from IRAP’s direct services work: a Haitian man and
his brother Ήed to the Dominican Republic after their family was directly targeted
by a local gang. They remained in the Dominican Republic until members of the
same gang who had targeted their family in Haiti found them in the neighboring
country. The brothers then Ήed to Chile but were attacked at gunpoint by a group
of men believed to be part of the same gang and had to Ήee once more to Mexico,
where one of the brothers was diagnosed with prostatitis, a painful and distressing
disorder of the prostate gland, but could not access treatment.34 Under the NPRM,
the violence and threats experienced in two transit countries would apparently not
meet the rebuttable presumption’s requirements of an “imminent and extreme”
threat to life and safety. As written, if the NPRM becomes law, the brothers would
likewise be denied even the opportunity to present an asylum claim despite facing
signiΈcant threats to their lives in more than one transit country. Furthermore, the
signiΈcant medical need of the brother after arriving in Mexico does not appear to


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  These facts are representative of fact patterns that IRAP has seen present in our clients’ cases but
they have been edited in their details to avoid directly identifying any particular client.



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qualify as an “acute medical emergency” for the alternative basis for rebutting the
presumption.

The answers to these and other questions about how the NPRM is to be
implemented are necessary for IRAP to understand how the Proposed Rule would
apply to its clients and the communities it serves.

      V.      The Agencies Have Deprived the Public of Adequate Notice of
              their Proposed Rule and Adequate Opportunity to Comment

           a. The Agencies Failed to SuΊciently Explain Their Proposal, as
              Needed to Enable the Public an Adequate Opportunity to
              Comment

For all of the reasons described the agencies’ failure to explain the data underlying
their premises and failure to explain how the NPRM would be implemented in
practice deprives interested commenters like IRAP of notice of what the agencies
intend to do and why. Commenters like IRAP are thereby deprived of their right to
an adequate opportunity to comment.

           b. The 30-day Comment Window is InsuΊcient to Enable a
              Meaningful Opportunity to Comment

The limited 30-day window the agencies provided the public to comment is
insuΊcient. Executive Order 12866 requires agencies to “…a·ord the public a
meaningful opportunity to comment on any proposed regulation, which in most
cases should include a comment period of not less than 60 days.” Executive Order
13563 likewise directs agencies to “...a·ord the public a meaningful opportunity to
comment through the Internet on any proposed regulation, with a comment period
that should generally be at least 60 days.”

The agencies purport to justify the truncated 30-day comment period for this
proposed regulation by relying on their desire to have the rule in place by the time
Title 42 expulsions end on May 11th, 2023 but do not even attempt to explain why
refusing to give the public and stakeholders adequate time to analyze the proposed
rule furthers that goal.


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The Centers for Disease Control (CDC) announced its intention to end Title 42
nearly a year ago, in April 2022. The agencies essentially appeal to their own
foot-dragging to justify depriving the American public and relevant stakeholders of
a meaningful opportunity to respond to a complicated 153-page rule that will inΉict
immense human su·ering.

The implications of this rule are vast. The agencies devised this rule with the intent
of drastically limiting access to the asylum system. The agencies’ notice takes little
time to assess or even acknowledge the massive humanitarian, legal, and economic
burdens of this rule and even goes so far as to solicit that analysis from
commenters.

      VI.     The Agencies Failed to Consider Reasonable Alternatives


            a. Agencies Failed to Consider An Extremely Limited Duration
              Proposal


For the reasons discussed, the NPRM’s proposed system should never go into
e·ect. Even a single day of the Proposed Rule preventing asylum seekers from
accessing safety in the United States will cause grave harm and violate U.S. law.
Nonetheless, the length of the NPRM (a minimum of two years), is incongruent and
disproportionate with its stated purposes. Such a lengthy draconian measure goes
beyond addressing “this urgent and extreme situation” in which it is “particularly
diΊcult to precisely predict” what will happen in the aftermath of Title 42. See id. at
11705-06; see also id. at 11708 (“rule is justiΈed” due to concerns about “the
possibility of a surge in irregular migration” after Title 42 ends).


As laid out above, the agencies have not provided suΊcient information to
accurately identify the “problem” they are trying to address. However, if the
agencies are trying to prepare contingency plans in advance of the rollback of Title
42, the NPRM’s duration should more appropriately be extremely limited, as
opposed to indeΈnite. A more temporary measure would cause much less harm
than the NPRM.


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To the extent the agencies contend that their proposal is necessary to respond to
“unique” circumstances that are directly tied to the end of Title 42, see 85 Fed. Reg.
11725 n.176, 11744, 11746; but see supra (explaining that this premise is
unfounded), they should have considered as a reasonable alternative an
extraordinarily limited timeframe of perhaps up to 30 days. Such a timeframe
would enable the agencies to actually observe what impact the end of Title 42 has
on the number of people seeking to access the United States via the southern
border and to address any sharp changes requiring changes to government
capacity in the region. At the same time, a shorter timeframe will ensure that a
system that is contrary to the letter and spirit of United States law, and that ignores
the reality of the lack of genuine options confronting people in humanitarian need,
does not become enshrined as the new status quo. Should the agencies consider
such a time-limited alternative, they could also consider ways to remedy the denials
of rights anticipated in even that 30-day period in a way likely to cause signiΈcantly
less human su·ering than the NPRM’s contemplated long-term implementation.


          b. Agencies Failed to Consider Whether to Expand Pathways


The agencies rely on the changes to migration patterns after the CHNV parole
programs took e·ect to argue that new pathways combined with punitive
measures are highly successful. See, e.g., 85 Fed. Reg. 11706. And the agencies
concede that punitive measures alone are not suΊcient. Id. at 11713. But the
agencies conspicuously fail to consider whether new and/or expanded pathways
uncoupled with punitive measures are suΊcient to alleviate the number of people
seeking to enter at the U.S. southern border, even though the e·ectiveness of
pathways alone would explain the “success” of the CHNV and Ukraine parole
programs.


Given that the agencies anticipate that the need for protection is likely to be
signiΈcantly greater than that provided by the existing parole programs and other
existing pathways, see supra, one reasonable alternative would be to create



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additional legal pathways or expand the existing ones. In particular, the agencies
should consider expanding pathways targeted at assistance for the most vulnerable
individuals with immediate protection needs who, as explained supra, are not
served by the CHNV parole programs.


          c. Agencies Failed to Consider Allowing Migrants to Present Without
              An Appointment


The agencies have deΈned the NPRM to presumptively apply to individuals who
present at a port of entry and are inspected by an immigration oΊcer. See id. at
11723 (deΈning “enters the United States at the southwest land border”). To avoid
being subject to the presumption, such individuals must Έt within the “narrow set
of cases in which it was truly not possible for the noncitizen to access or use the
DHS system due to language barrier, illiteracy, signiΈcant technical failure, or other
ongoing and serious obstacle.” Id. at 11723 & n.173. Moreover, separate and apart
from the legal impediments to this group obtaining asylum, there is nothing in the
NPRM that discusses how the agencies plan to process such individuals at ports of
entry without a CBP One appointment, leaving them no choice but to enter without
inspection.


The agencies’ proposal actively undermines several of their stated goals–most
notably, reducing the dangers to migrants, reducing migrants’ reliance on
smugglers, and reducing the burdens on federal government infrastructure which
occur when CBP oΊcers must be redistributed. See 88 Fed. Reg. 11707, 11715. An
obvious and reasonable alternative is to ensure that migrants who seek to present
themselves at ports of entry and who are unable to obtain appointments using CBP
One are encouraged to do so, as has historically been the case. At a minimum,
such individuals should not be presumptively deemed ineligible for asylum where
the only behavior that the agencies seek to deter is their inability to obtain an
appointment through a glitchy smartphone app, perhaps because they are part of a
family unit, or have a darker complexion, or do not have access to an auto-clicker.



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      VII.    IRAP Agrees With the Agencies’ Proposal to Formally Rescind the
              Enjoined Trump-Era Rules


IRAP welcomes the agencies’ proposal to formally rescind the Trump-era rules
severely limiting access to asylum that have been held unlawful and enjoined by
various courts. See 88 Fed. Reg. 11727. These rules were unlawful and wrong when
Έrst promulgated and they remain so now. Moreover, the government now
recognizes that these approaches were ine·ective at achieving their stated aims,
because, for example, they added signiΈcant complexity to asylum processing and
thus led to further delays and backlogs. See id. at 11744. Finally, IRAP agrees with
the agencies’ assessment that no reliance interests would be impacted by the
rescission of the rules because they have been enjoined for years. See id. at 11728.


      VIII.   Conclusion


IRAP strongly opposes the Proposed Rule as it is illegal, inhumane, and
discriminatory. The NPRM is riddled with insuΊcient explanations and fails to
consider reasonable alternatives. It violates the existing statutory framework and
mandate of the agencies to protect and provide a fair asylum process. It will deny
access to protection to many of the most vulnerable and send refugees back to
places of persecution and torture.


IRAP urges the administration not to Έnalize this NPRM with the exception of the
rescission of the Trump-era rules, and to stop punishing refugees who enter at the
U.S. southern border. Instead, the administration must devote resources to
humane asylum processing and just adjudications. IRAP welcomes the opportunity
to discuss this Comment with you further.



Sincerely,




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                                                                             Comments Due: March 27, 2023
                                                                             Submission Type: Web

Docket: USCIS-2022-0016
Circumvention of Lawful Pathways

Comment On: USCIS-2022-0016-0001
Circumvention of Lawful Pathways

Document: USCIS-2022-0016-12343
Comment Submitted by American Gateways



                                     Submitter Information
Email: ednay@americangateways.org
Organization: American Gateways


                                        General Comment
March 27, 2023

American Gateways respectfully submits the attached comments in response to the Notice of Proposed
Rulemaking regarding Circumvention of Lawful Pathways, which was published by U.S. Citizenship and
Immigration Services, the Department of Homeland Security; and the Executive Office for Immigration Review,
Department of Justice on February 23, 2023 (RIN 1615-AC83 / 1125-AB26 / USCIS Docket No. 2022-0016 /
A.G. Order No. 5605-2023).

Thank you for the opportunity to submit comments. Please do not hesitate to contact me via phone at 512-279-
0879 or via email at Ednay@americangateways.org to provide further information.

Sincerely,

Edna Yang
Co-Executive Director
American Gateways



                                             Attachments
American Gateways Comments to Proposed Rule - Circumvention of Lawful Pathways




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Comments Submitted by American Gateways RE: Joint Notice of Proposed Rulemaking
(NPRM) by U.S. Citizenship and Immigration Services, Department of Homeland Security;
the Executive Office for Immigration Review, Department of Justice: Circumvention of
Lawful Pathways; RIN 1615-AC83 / 1125-AB26 / USCIS Docket No. 2022-0016/ A.G. Order
No. 5605-2023 (published in the Federal Register on February 23, 2023).


American Gateways provides much needed legal representation for indigent immigrants in Central
Texas. Our mission is to champion the dignity and human rights of immigrants, refugees, and
survivors of persecution, torture, conflict, and human trafficking through exceptional legal services
at low or no cost, education, and advocacy. Our agency began in 1987 as the Political Asylum
Project of Austin and was founded to provide legal representation to Central American immigrants
fleeing persecution and seeking asylum in the United States. Over the past thirty-three years,
American Gateways has become an indispensable legal services provider for low-income asylum
seekers and immigrants in Central Texas.

American Gateways opposes the notice of proposed rulemaking regarding Circumvention of
Lawful Pathways (the “Proposed Rule”), published by the Department of Homeland Security
(DHS) and Department of Justice (DOJ) (collectively, the “Departments”) on February 23, 2023,
and requests that the Departments promptly rescind the Proposed Rule. American Gateways
describes below how some of the proposed changes will impact our organization and our clients,
and the reasons for our opposition. Omission of any proposed change from these comments should
not be interpreted as tacit approval. American Gateways opposes all aspects of the Proposed Rule
that would erode the due process rights of asylum seekers or otherwise impede—in any way—the
ability of individuals who have suffered persecution to access humanitarian protection in the
United States. At the same time, American Gateways expresses heightened concern regarding the
disproportionate harms that will befall certain asylum seekers—namely, detained and pro se
asylum seekers—if the Proposed Rule is not withdrawn. The Departments propose to implement
a presumption of ineligibility for asylum upon certain noncitizens arriving at the U.S. southern
border who (1) did not seek asylum in a country of transit or (2) did not obtain an appointment to
present at the border using a mobile phone application known as “CBP One.” The proposed
changes will prevent current and future asylum seekers from accessing protection they merit under
domestic and international law, result in the return of many asylum seekers to harm, without
allowing them their legal right to seek protection under the asylum law. The proposed rule also
leaves others in the United States without stable protection. Rather than “align with the
[Immigration and Nationality Act] and Congress’s general intent to create an asylum and
protection system that adjudicates claims both expeditiously and fairly,” 88 Fed. Reg. 11704,
11746, the Proposed Rule would only result in lower rates of representation, poorly prepared
filings, due process violations, higher denial rates, and the more rapid deportation of refugees back
to the persecution from which they fled.

                           I.     GENERAL COMMENTS

   A. The shortened comment period does not provide adequate time for meaningful
      participation in the rulemaking process.




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Although the Administrative Procedures Act (“APA”) does not prescribe a minimum time period
for comments, agencies must afford interested persons a reasonable and meaningful opportunity
to participate in the rulemaking process. See 5 U.S.C. § 553(c) (“After notice required by this
section, the agency shall give interested persons an opportunity to participate in the rule making
through submission of written data, views, or arguments. . . .”). Furthermore, Executive Order
12866 provides that the public’s opportunity to comment “in most cases should include a comment
period of not less than 60 days.” Exec. Order No. 12866, 58 Fed. Reg. 51735, 51740 (Oct. 4, 1993).
Despite having had the Proposed Rule “reviewed . . . as a ‘significant regulatory action’ under . . .
Executive Order [13563],” 88 Fed. Reg. 11704, 11748, the Departments have deviated from the
customary 60-day comment period, instead allowing the public only 30 days to submit comments
to the Proposed Rule.

American Gateways objects to the shortened 30-day comment period. As discussed herein, the
Proposed Rule contains several substantial changes to regulations governing asylum and
withholding of removal that would have a detrimental impact on immigrants seeking asylum and
other forms of humanitarian protection.1 For example, the Proposed Rule would introduce a new
condition on asylum eligibility, in the form of a presumption of ineligibility for asylum for certain
noncitizens who enter the United States at the southwest land border, thereby rendering it more
difficult for asylum seekers to meet the conditions for asylum eligibility. The Proposed Rule would
only allow noncitizens to rebut this presumption if they are able to demonstrate “exceptionally
compelling circumstances by a preponderance of the evidence,” a heightened evidentiary burden
that is very difficult to meet and will likely impose unduly harsh consequences on pro se asylum
seekers. The public should be afforded adequate time to meaningfully consider and respond to the
complex revisions proposed by the Department.

The Departments have offered no fitting justification for shortening the comment period. The
Departments’ sole proffered defense is that they are issuing the Proposed Rule with this 30-day
comment period “because they seek to be in a position to finalize the proposed rule, as appropriate,
before the Title 42 Public Health Order is lifted.”2 88 Fed. Reg. 11704, 11708. While the
Departments cite the termination of the Title 42 policy in May 2023 as a justification to curtail the
public’s right to comment on the proposed rule, this reasoning is specious especially given that the
administration itself sought to formally end Title 42 nearly a year ago and has had ample time to
prepare for the end of the policy. The lack of sufficient explanation for shortening the comment
period signals that the Departments have improperly prejudged the issues and intend to implement
the Proposed Rule without having provided interested persons with a meaningful opportunity to
participate. At the same time, the shortened comment period suggests that the Departments desire


    1
      American Gateways uses the term “asylum seekers” throughout these comments to refer to individuals seeking
asylum, as well as those seeking statutory withholding of removal or withholding under the Convention Against
Torture.
     2 The Departments argue that the “lifting of the Order could occur as a result of several different litigation and
policy developments, including the vacatur of the preliminary injunction entered in Louisiana v. CDC, No. 22–cv–
885, 2022 WL 1604901 (W.D. La. May 20, 2022), appeal pending, No. 22–30303 (5th Cir.); the lifting of the stay
entered by the Supreme Court in Arizona v. Mayorkas, No. 22A544, 2022 WL 17957850 (U.S. Dec. 27, 2022); or ‘the
expiration of the Secretary of HHS’ declaration that COVID–19 constitutes a public health emergency,’ 86 FR at
42829.” 88 Fed. Reg. 11704, 11708. The Departments further argue that “[t]he termination of the Secretary of HHS’
declaration that COVID–19 constitutes a public health emergency is expected to occur on May 11, 2023,” based on a
recent announcement of such intent by the Executive Office of the President’s Office of Management and Budget. Id.


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not to improve the efficiency or quality of procedures governing asylum and withholding of
removal, but to push through their divisive political agenda in disregard of public comments.

American Gateways therefore respectfully requests that, if the Proposed Rule is not withdrawn,
the comment period be extended for at least an additional 30 days consistent with Executive Order
12866.

    B. The Proposed Rule fails to engage in a cost/benefit analysis, as required by law.

Executive Orders 12866 and 13563 require agencies to assess all costs and benefits of regulatory
changes, including both quantifiable and qualitative factors, and choose the regulatory alternative
that maximizes net benefits.3 The Departments acknowledge that the Office of Information and
Regulatory Affairs of the Office of Management and Budget (“OMB”) has “reviewed” the
Proposed Rule as a “significant regulatory action” within the meaning of Executive Order 12866.
88 Fed. Reg. 11704, 11748. Yet, the Proposed Rule contains no meaningful assessment of costs,
benefits, and regulatory alternatives. Instead, the Departments list a single purported cost to
migrants of the Proposed Rule—briefly noting that ineligibility for asylum under the presumptive
condition “would entail a loss of the benefits of asylum, although [such migrants] would continue
to be eligible for statutory withholding of removal and withholding under the CAT,” id. at 11748—
and a cost to the Departments, noting that the Proposed Rule “would require additional time for
asylum officers, during fear screenings, to inquire into the applicability of the presumption and
whether the presumption has been rebutted,” id.

The Departments cannot discharge their obligation to fully assess costs and benefits of the
proposed regulatory changes by simply disregarding the real harms that would flow from the
Proposed Rule, especially for detained and pro se asylum seekers. Moreover, the Department’s
evident implication that a new presumption of asylum ineligibility for noncitizens who did not
seek asylum in a country of transit or did not obtain an appointment to present at the border will
have virtually no further impact on asylum seekers beyond their loss of a path to citizenship and
inability to petition for certain family members to join them in the United States is absurd. Most
pro se asylum seekers struggle to understand and adequately prepare for asylum application
procedures, and they would face significant challenges retaining counsel or even pro se legal
assistance when faced with the significantly increased likelihood of expedited removal.
Furthermore, given the speed at which expedited removal takes place, there is rarely an opportunity
to collect evidence or even merely consult with an attorney, family member, or friend before the
decision is made.

Agencies may “propose or adopt a regulation only upon a reasoned determination that the benefits
of the intended regulation justify its costs.” Exec. Order No. 12866 § 1(b)(6) (1993). Rather than
engage in a cost-benefit analysis, as the law requires, the Departments simply assert that a

    3
          See Exec. Order No. 12866 § 1(b)(6) (1993), https://www.archives.gov/files/federal-register/executive-
orders/pdf/12866.pdf (“Each agency shall assess both the costs and the benefits of the intended regulation and,
recognizing that some costs and benefits are difficult to quantify, propose or adopt a regulation only upon a reasoned
determination that the benefits of the intended regulation justify its costs.”); Exec. Order No. 13563,
https://obamawhitehouse.archives.gov/the-press-office/2011/01/18/executive-order-13563-improving-regulation-
and-regulatory-review (supplementing and reaffirming the mandate in Executive Order 12866 that agencies “must
take into account benefits and costs, both quantitative and qualitative” when implementing regulations).


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presumption of asylum ineligibility for certain noncitizens will present benefits in the form of
“improved relationships with, and enhanced opportunities to coordinate with and benefit from the
migration policies of, regional neighbors; large-scale reductions in strains on limited national
resources; preservation of the Departments’ continued ability to safely, humanely, and effectively
enforce and administer the immigration laws; and a reduction in the role of exploitative
transnational criminal organizations and smugglers.” 88 Fed. Reg. 11704, 11748. But this listing
of purported benefits improperly discounts obvious costs to the Proposed Rule. Executive Orders
cannot be so easily circumvented. Indeed, the Proposed Rule would effectively operate as an
asylum ban for individuals based on factors that do not relate to their fear of return and would
result in asylum denials for all who are unable to establish that they qualify for the extremely
limited exceptions to the presumption of asylum ineligibility. Its use in expedited removal will
require asylum seekers—many of whom have suffered persecution and violence and undergone a
harrowing journey to reach safety—to prove that the rule does not apply to them in a credible fear
interview shortly after arrival in the United States, while detained and with little to no access to
counsel, likely without knowledge of how the rule works or what they need to prove.

American Gateways acknowledges that the Proposed Rule is only at the public comment stage of
the rule-making process. However, the Departments’ utter failure to consider a host of relevant
factors and indifference toward the harmful impact their proposal would have on individuals
seeking humanitarian protection are incurable deficiencies. If the Departments were to consider
all aspects of the issue, as they are required to do under Executive Orders 12866 and 13563, they
cannot possibly conclude that any purported benefits of the Proposed Rule outweigh its
tremendous costs. Rather than push forward with a proposal that is doomed for judicial
invalidation, the Departments should rescind the Proposed Rule.

   C. The Proposed Rule, if made final, would violate the Administrative Procedure Act.

Under the Administrative Procedure Act (APA) (5 U.S.C. §§ 551-559), courts are authorized to
“hold unlawful and set aside agency action, findings, and conclusions found to be (A) arbitrary,
capricious, an abuse of discretion or otherwise not in accordance with the law; (B) contrary to
constitutional right, power, privilege, or immunity; (C) in excess of statutory jurisdiction,
authority, or limitations, or short of statutory right . . . .” 5 U.S.C. § 706(2)(A)-(C). The Proposed
Rule contravenes or is otherwise inconsistent with several provisions of the governing statute,
infringes upon due process rights, is not the product of reasoned decision-making, and is otherwise
arbitrary and capricious. If implemented in its current form, the Proposed Rule would be subject
to judicial invalidation on multiple grounds.

For example, several provisions of the Proposed Rule are contrary to constitutional rights because
they infringe upon the due process rights of asylum seekers. The presumption of asylum
ineligibility, coupled with the high burden asylum seekers must meet to show they can overcome
this presumption—i.e., by showing they sought asylum in a country of transit, or obtained an
appointment to present at the border using CBP One—would substantially interfere with asylum
seekers’ ability to obtain counsel and a full and fair hearing on their claims for relief. Throughout
its comments, American Gateways highlights some of the constitutional violations that would flow
from the Proposed Rule.




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Additionally, the Proposed Rule, as well as the separate provisions thereof, is arbitrary and
capricious. The arbitrary-and-capricious standard requires that an agency “examine the relevant
data and articulate a satisfactory explanation for its action, including a ‘rational connection
between the facts and the choice made.’” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm
Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (quoting Burlington Truck Lines, Inc. v. United States,
371 U.S. 156, 168 (1962)). When reviewing an agency’s proffered explanation, courts “must
‘consider whether the decision was based on a consideration of the relevant factors and whether
there has been a clear error of judgment.’” Id. at 43 (quoting Bowman Transp., Inc. v. Arkansas-
Best Freight Sys., Inc., 419 U.S. 281, 285 (1974)). Further, courts require that an agency provide
the “essential facts upon which the administrative decision was based,” United States v.
Dierckman, 201 F.3d 915, 926 (7th Cir. 2000) (quoting Bagdonas v. Dep’t of Treasury, 93 F.3d
422, 426 (7th Cir. 1996)), and explain the justification for its determinations with actual evidence
beyond a “conclusory statement,” Allied-Signal, Inc. v. Nuclear Reg. Comm’n, 988 F.2d 146, 152
(D.C. Cir. 1993). In general, an agency decision is arbitrary and capricious

                if the agency has relied on factors which Congress has not intended
                it to consider, entirely failed to consider an important aspect of the
                problem, offered an explanation for its decision that runs counter to
                the evidence before the agency, or is so implausible that it could not
                be ascribed to a difference in view or the product of agency
                expertise.
Id. In other words, agency actions are subject to invalidation where an agency fails to adequately
explain its decision, fails to consider relevant factors, including the policy effects of its decisions,
fails to adequately explain illogical actions, or reaches a conclusion that contradicts the underlying
record. What counts as “relevant” is context specific, but the U.S. Supreme Court has previously
instructed that agency decision-making on immigration matters “must use an approach that is tied
to the purposes of the immigration laws or the appropriate operation of the immigration system.”
Judulang v. Holder, 565 U.S. 42, 132 S. Ct. 476, 478 (2011).

Here, the Departments propose a rule that is so plainly contrary to the “purposes of the immigration
laws” and the “appropriate operation of the immigration system” that it is necessarily arbitrary and
capricious. The Departments claim that the Proposed Rule is “designed to improve the overall
functioning of the immigration system and to improve processing of asylum applications.” 88 Fed.
Reg. 11704, 11736. The Departments do not sufficiently explain how any of the proposed
changes—which will largely vet out meritorious claims and harm asylum seekers, without
resulting in greater efficiency—support these stated purposes (which are, at best, conclusory).
Moreover, the Departments entirely fail to consider several important aspects of the problems they
claim to address, and they do not balance concerns of adjudicatory efficiency and deterrence
against the rights of individuals seeking humanitarian protection or the country’s international
obligations to afford such protection.

For example, the Departments propose a new presumption of asylum ineligibility for noncitizens
who enter the country from the southern border and who (1) did not apply for and receive a formal
denial of protection in a transit country; and (2) entered between ports of entry at the southern
border or entered at a port of entry without a previously scheduled appointment through the CBP
One mobile application, subject to extremely limited exceptions. Although the Departments



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loosely suggest that this procedure would be both desirable and necessary in order to more
effectively screen out unmeritorious (i.e., frivolous) claims and alleviate burdens on immigration
court dockets, they do not actually pinpoint any interests that would be furthered by denying
asylum applicants the right to a hearing. Even if this presumption would enhance efficiency (which
it will not), the Departments also completely fail to consider that allowing the summary denial of
asylum applications will result in the deportation of thousands of refugees entitled to protection
under domestic and international law. The Departments make no attempt to explain how the
proposed process comports with fundamental notions of fairness or the constitutional and statutory
right to a full and fair hearing. The Departments also fail to adequately evaluate the impacts of this
provision on pro se applicants, detained applicants, and other particularly vulnerable groups. In
essence, the Departments propose to penalize asylum seekers for their lack of familiarity with U.S.
immigration law. There is no basis in U.S. tradition or law for imposing such harsh sanctions
absent evidence of knowingly fraudulent conduct. The Departments offer no effective explanation
for this change in policy, no explanation for how the policy will conserve resources, and no
assessment of its devastating implications, particularly for asylum seekers who could be rendered
permanently ineligible for any benefits under the INA simply because they cannot afford to retain
an attorney to help them articulate their claim—or do not have enough time to do so, given the
severe restrictions placed upon them by the application of this new presumption at the credible
fear interview stage.

   D. If the Proposed Rule is not withdrawn, it should not have any retroactive
      applicability.

The Proposed Rule is wholly silent on the issue of retroactive applicability. To avoid any doubt
concerning the retroactive applicability of the Proposed Rule, the Departments should at the very
least make an affirmative pronouncement that the Proposed Rule will definitively not apply
retroactively. Indeed, if the Proposed Rule becomes final and effective, it should not apply to
anyone whose latest entry into the United States was prior to the effective date(s) of the rule.
Alternatively, any final rule should specifically identify the individuals and claims to which the
Proposed Rule, and any provisions thereof, would apply.

Section 551 of the Administrative Procedures Act (APA) sets forth clear standards for rulemaking.
According to subsection 5, “‘rule making’ means agency process for formulating, amending, or
repealing a rule,” 5 U.S.C. § 551(5), which is what the Departments seek to do. Subsection 4,
however, requires that any such rulemaking have a future effect. The APA defines a “rule” to mean
“the whole or a part of an agency statement of general or particular applicability and future effect
designed to implement, interpret, or prescribe law or policy or describing the organization,
procedure, or practice requirements of an agency.” 5 U.S.C. § 551(4) (emphasis added). “The only
plausible reading of the italicized phrase is that rules have legal consequences only for the future.”
Bowen v. Georgetown Univ. Hosp., 488 U.S. 204, 216 (1988). This meaning is bolstered by the
remainder of the definition, which goes on to say that a rule “includes the approval or prescription
for the future of rates, wages, corporate or financial structures or reorganizations thereof, prices,
facilities, appliances, services or allowances therefor or of valuations, costs, or accounting, or
practices bearing on any of the foregoing.” 5 U.S.C. § 551(4) (emphasis added). Indeed, the
government’s own authority on interpretation of the APA—the Attorney General’s Manual on the




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Administrative Procedure Act4 (a guide given great weight by courts and used by agencies in
adjusting their procedures to the requirements of the APA)—notes that “‘rule’ includes agency
statements not only of general applicability but also those of particular applicability applying either
to a class or to a single person. In either case, they must be of future effect, implementing or
prescribing future law.”5

Simply put, “[r]etroactivity is not favored in the law.” Bowen, 488 U.S. at 208. “Thus,
congressional enactments and administrative rules will not be construed to have retroactive effect
unless their language requires this result.” Id.; see also Criger v. Becton, 902 F.2d 1348, 1353 (8th
Cir. 1990) (“[L]aws are to have prospective effect only, unless the law-making entity has indicated
otherwise.”). Retroactivity is disfavored because the due process clause “protects the interests in
fair notice and repose that may be compromised by retroactive legislation.” Landgraf v. USI Film
Prods., 511 U.S. 244, 266 (1994); Hem v. Maurer, 458 F.3d 1185, 1190 (10th Cir. 2006). “It is
well established that the Fifth Amendment entitles aliens to due process of law in deportation
proceedings.” Reno v. Flores, 507 U.S. 292 (1993) (citing Yamataya v. Fisher, 189 U.S. 86, 100-
01 (1903) (“[T]his Court has never held, nor must we now be understood as holding, that
administrative officers, when executing the provisions of a statute involving the liberty of persons,
may disregard the fundamental principles that inhere in ‘due process of law’ as understood at the
time of the adoption of the Constitution.”)). “[A]liens who have once passed through our gates,
even illegally, may be expelled only after proceedings conforming to traditional standards of
fairness encompassed in due process of law.” F.L.B. v. Lynch, 180 F. Supp. 3d 811, 819 (W.D.
Wash. 2016) (quoting Shaughnessy v. United States ex rel. Mezei, 345 U.S. 206, 212 (1953)).

Retroactivity will necessarily infringe upon due process rights if the Proposed Rule, or any
provision thereof, is applied to claims of asylum seekers whose latest entry into the United States
was before the effective date(s) of the proposed changes. The Supreme Court has repeatedly
warned against retroactive legislation, because it “would impair rights a party possessed when he
acted, increase a party’s liability for past conduct, or impose new duties with respect to transactions
already completed.” Landgraf, 511 U.S. at 280. If the result of legislation “attaches new legal
consequences to events completed before its enactment[,]” courts should be guided by “familiar
considerations of fair notice, reasonable reliance, and settled expectations.” Id. at 269-70. This
same principle must be followed here.

Consistent with addressing due process concerns, the Departments should specify that the
Proposed Rule does not have any retroactive effect. As the Departments admit, in FY 2022, EOIR
hired 104 Immigration Judges for a total of 634 and completed a record 312,486 cases. Yet the
number of cases pending before the immigration courts has risen to nearly 1.8 million, as the courts
were unable to keep pace with the incoming volume. 88 Fed. Reg. 11704, 11715. Applying the
Proposed Rule to pending claims would jeopardize the safety and security of nearly two million
people, whose cases would be thrown into a state of uncertainty. Such uncertainty would, without
doubt, increase the burden on immigration courts and judges as asylum seekers and their
representatives attempt to reconcile the effects of the new rules on their own cases. Moreover,
applying the Proposed Rule to those who last entered the United States prior to the effective date(s)

     4 Tom C. Clark, U.S. Dep’t of Justice, Attorney General’s Manual on the Administrative Procedure Act (photo.
reprint 1973) (1947), https://archive.org/details/AttorneyGeneralsManualOnTheAdministrativeProcedureActOf1947.
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         Id. at 13.


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would undermine reliance interests and add to the uncertainty while the inevitable litigation pends.
At the very least, the Departments should specify to whom each of the new provisions would apply
so that all individuals who might be impacted by the Proposed Rule are on notice of the
Departments’ intentions and can, as appropriate, challenge any attempt at retroactive application.

                            II.     SPECIFIC COMMENTS

    A. The Proposed Rule’s introduction of a presumption of asylum ineligibility for certain
       noncitizens emphasizes efficiency at the expense of due process.

American Gateways acknowledges that Immigration Courts are faced with a tremendous backlog
of cases and that the Departments endeavor to increase the speed and efficiency of proceedings.
Yet, in several respects, the Proposed Rule prioritizes efficiency over fairness, thereby threatening
the due process rights of asylum seekers.

“‘It is well established that the Fifth Amendment entitles aliens to due process of law in deportation
proceedings.’” Demore v. Kim, 538 U.S. 510, 523 (2003) (quoting Reno v. Flores, 507 U.S. 292,
306 (1993)). Indeed, for over a century, the Supreme Court has repeatedly affirmed that the “Due
Process Clause applies to all persons within the United States, including aliens, whether their
presence here is lawful, unlawful, temporary, or permanent.” Zadvydas v. Davis, 533 U.S. 678,
679 (2001). As early as 1896, the Court held that due process rights applied to an individual
detained for unauthorized entry into the United States. See Wong Wing v. United States, 163 U.S.
228, 238 (1896). Less than a decade later, the Court reaffirmed that immigrants in removal
proceedings are guaranteed due process rights, including the right “to be heard upon the questions
involving [the] right to be and remain in the United States.” Yamataya v. Fisher, 189 U.S. 86, 101
(1903); see also Mathews v. Diaz, 426 U.S. 67, 77 (1976) (Fifth Amendment protects all persons
“from deprivation of life, liberty, or property without due process of law”) (citations omitted);
Plyler v. Doe, 457 U.S. 202, 210 (1982) (same).

It is similarly well settled that due process requires: (1) notice and (2) an opportunity to be heard.
See, e.g., Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 314 (1950) (“‘The fundamental
requisite of due process of law is the opportunity to be heard.’ This right to be heard has little
reality or worth unless one is informed that the matter is pending and can choose for himself
whether to appear or default, acquiesce or contest.”) (internal citations omitted). In the immigration
context, due process requires that “[a]n alien who faces deportation is entitled to a full and fair
hearing of his claims.” Agyeman v. INS, 296 F.3d 871, 877 (9th Cir. 2002) (internal quotation
marks and citation omitted); see also Colmenar v. INS, 210 F.3d 967, 971 (9th Cir. 2000) (“[A]n
alien who faces deportation is entitled to a full and fair hearing of [her] claims and a reasonable
opportunity to present evidence on [her] behalf.”); Bah v. Keisler, 249 F. App’x 876, 879 (2d Cir.
2007) (“Due process in the asylum context requires that an applicant receive a full and fair hearing
that provides a meaningful opportunity to be heard.”) (citing Li Hua Lin v. U.S. Dep’t of Justice,
453 F.3d 99, 104-05 (2d Cir. 2006)); Cano-Merida v. INS, 311 F.3d 960, 964 (9th Cir. 2002)
(failure to allow the petitioner to present oral testimony constitutes a denial of right to due process).

The civil rather than criminal nature of removal proceedings does not diminish this due process
right:



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       Though deportation is not technically a criminal proceeding, it visits a great hardship on
       the individual and deprives him of the right to stay and live and work in this land of
       freedom. That deportation is a penalty . . . cannot be doubted. Meticulous care must be
       exercised lest the procedure by which he is deprived of that liberty not meet the essential
       standards of fairness.

Bridges v. Wixon, 326 U.S. 135, 154 (1945). Procedural due process rights have also animated
statutory rights that apply to immigration proceedings. Section 240 of the Immigration and
Nationality Act (INA) delineates the contours of a fair hearing and enumerates the rights that apply
to persons in removal proceedings. The INA provides that an “Immigration Judge shall administer
oaths, receive evidence, and interrogate, examine, and cross-examine the alien and any witnesses.”
8 U.S.C. § 1229a(b)(1). Moreover, “the alien shall have a reasonable opportunity to examine the
evidence against the alien, to present evidence on the alien’s own behalf, and to cross-examine the
witnesses presented by the Government.” Id. § 1229a(b)(4)(B). The INA’s implementing
regulations also require a hearing. The BIA has acknowledged that “[a]t a minimum, . . . the
regulations require that an applicant for asylum and withholding take the stand, be placed under
oath, and be questioned as to whether the information in the written application is complete and
correct.” Matter of Fefe, 20 I. & N. Dec. 116, 118 (BIA 1989).

It is critical that asylum seekers be given an opportunity to understand the procedure they are
facing, to obtain counsel, and to present all evidence in support of their claim in a full merits
hearing. Under the Proposed Rule, asylum seekers could be deported without an asylum hearing
if they do not pass their fear screenings. See generally 88 Fed. Reg. 11704, 11724-25. The
Proposed Rule will be implemented during the expedited removal process, where asylum seekers
are swiftly deported without a day in court if they do not pass their fear screenings. Id. (“Although
the rebuttable presumption would apply to any noncitizen who is described in proposed 8 CFR
208.33(a)(1), it would most frequently be relevant for noncitizens who are subject to expedited
removal under section 235(b)(1) of the INA, 8 U.S.C. 1225(b)(1).”).

During the threshold fear interview, asylum seekers will be required to show that the ban does not
apply to them or, if it does, that they can rebut the presumption of ineligibility by proving they fall
within one of the Rule’s exceptions. Id. This will be impossible for many given that these
screenings typically occur over the phone while asylum seekers are detained, with little or no
access to counsel. Language barriers, abusive and dangerous conditions of confinement, acute
trauma, and lack of knowledge of the requirements of this complex rule would make it extremely
challenging for asylum seekers to overcome this ban in preliminary screenings. Many would be
unable to prove to an asylum officer that they should not be banned from the right to apply for
asylum by the rule. Those who cannot rebut the presumption will then be forced to meet a “more
likely than not” standard just to be able to present a claim to lesser protections in the form of
withholding of removal or CAT protection. Id.

For those forced to undergo this credible fear screening while in detention, the obstacles to due
process are so high as to render success unachievable for most, regardless of the merits of their
asylum claim. Asylum seekers will be forced through their fear interviews while in government




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custody in notoriously difficult and abusive conditions,6 without prior knowledge as to the rule’s
details or workings, and only a few hours or days away from the dangers and horrors of their flight.
Even if legal service providers are able to obtain the ability to provide brief orientation or
consultation services prior to a credible fear interview, there will be no meaningful access to
representation for asylum seekers navigating this complex process.

The severe consequences asylum seekers would face as a result of implementation of the Proposed
Rule’s presumption of asylum ineligibility, especially at the expedited removal stage, cannot be
understated. American Gateways has witnessed the problems with credible fear interviews
firsthand. Indeed, American Gateways has observed several credible fear interview denials where
the asylum officer did not follow the law, cut off the applicant’s answers to questions, mocked the
applicant, or had an interpreter in a language the applicant did not fully understand. Given the
reality that Immigration Judges routinely rubberstamp asylum officers’ determinations, there is an
unacceptable chance that justice will be miscarried. Further, while asylum applicants who reach
the Immigration Judge review stage have a right to counsel, Immigration Judges often limit the
participation of legal counsel at the review hearing. Often, Immigration Judges do not allow
attorneys to ask additional clarifying questions or make legal arguments to support asylum seekers’
claims. Most Immigration Judge reviews last less than five minutes, and in many instances the
Immigration Judges do not ask for any clarification or additional testimony from applicants.

For example, Ms. C was a detained asylum seeker who was fleeing persecution based on the
murder of her husband who was a police officer. He was targeted because he was a police officer
who investigated gang activity. After he was killed, Ms. C began to receive threats and was
attacked. She fled because she feared that she would be killed if she remained in her home country.
She was given a negative credible fear interview finding. She requested an Immigration Judge
review. The review before the Immigration Judge took minutes. He affirmed the decision of the
asylum officer. American Gateways intervened and requested a reinterview for Ms. C based on
the legal error in the asylum officer’s decision and the cursory and insufficient review by the
Immigration Judge. The Asylum Office granted Ms. C an additional interview where she was
represented by American Gateways. She was interviewed for nearly two hours and her attorney
was able to provide legal arguments on her behalf. Because of this additional advocacy and




     6 See, e.g., Catherine E. Shoichet, “The Death Toll in ICE Custody Is the Highest It’s Been in 15 Years,” CNN,
September 30, 2020, https:// www.cnn.com/2020/09/30/us/ice-deaths-detention-2020/index.html; Joel Rose, “ACLU
Calls on DHS to Close ICE Detention Centers, Citing High Cost of Empty Beds,” NPR, April 28, 2021,
https://www.npr.org/2021/04/28/991679868/aclu-calls-on-dhs-toclose-ice-detention-centers-citing-high-cost-of-
empty-beds; Laura Wilson, “Violence Against Women and Girls in ICE Custody,” Global Rights for Women,
September 21, 2020, https://globalrightsforwomen.org/featured/violence-against-women-and-girlsice-custody;
Caitlin Dickerson, Seth Freed Wessler, and Miriam Jordan, “Immigrants Say They Were Pressured into Unneeded
Surgeries,” New York Times, September 29, 2020, https://www.nytimes.com/2020/09/29/us/ice-hysterectomies-
surgeries-georgia. html; Ian Urbina, “The Capricious Use of Solitary Confinement against Detained Immigrants,”
Atlantic, September 6, 2019, https:// www.theatlantic.com/politics/archive/2019/09/ice-uses-solitary-confinement-
among-detained-immigrants/597433; and Noah Lanard, “Guards Pepper-Spray Protesting Asylum Seekers at an ICE
Detention Center,” Mother Jones, June 25, 2020, https://www. motherjones.com/politics/2020/06/guards-pepper-
spray-protesting-asylum-seekers-at-an-ice-detention-center.


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representation, the Asylum Office overturned its initial decision in Ms. C’s credible fear interview
and allowed her to move forward with her asylum claim.

In another instance, a detained American Gateways client was given a negative credible fear
interview determination for lack of nexus between her feared harm and a protected ground. Due
to American Gateways’ representation during the request for review by an Immigration Judge, the
client was able to prove up nexus on at least two protected grounds and was issued a notice to
appear. She ultimately prevailed in her case. In several other instances, American Gateways’
attorneys have helped clients overcome adverse credibility findings during their interview that
were largely the result of poor interpretation, false assumptions, or missed questions. In other
instances, American Gateways’ staff have been able to overturn negative credible fear interview
determinations where the asylum officer did not evaluate the applicant for eligibility for protection
under the Convention Against Torture.

These due process violations would be magnified if the administration pursues its reported plan to
conduct credible fear interviews within days of asylum seekers’ arrival in Customs and Border
Protection (CBP) custody, where dire conditions and lack of access to counsel would exacerbate
the due process nightmare. The Trump administration similarly conducted credible fear interviews
in CBP custody through the Prompt Asylum Claim Review (PACR) and Humanitarian Asylum
Review Process (HARP) programs, which the Biden administration ended.7 Resurrecting this
policy and imposing the asylum ban in these fear screenings would be a due process fiasco.

Asylum seekers detained in CBP custody have frequently reported8 being provided insufficient or
inedible food and water; lack of access to showers and other basic hygiene; and inability to sleep
because of overcrowding, lack of adequate bedding, cold conditions, and lights that are kept on all
night. For asylum seekers subjected to PACR and HARP, positive credible fear determinations
plummeted9: according to a January 2021 United States Government Accountability Office report,




     7 “Executive Order on Creating a Comprehensive Regional Framework to Address the Causes of Migration, to
Manage Migration throughout North and Central America, and to Provide Safe and Orderly Processing of Asylum
Seekers at the United States Border.” The White House. The United States Government, February 4, 2021.
https://www.whitehouse.gov/briefing-room/presidential-actions/2021/02/02/executive-order-creating-a-
comprehensive-regional-framework-to-address-the-causes-of-migration-to-manage-migration-throughout-north-and-
central-america-and-to-provide-safe-and-orderly-processing/.
     8 See, e.g., Human Rights Watch. “‘They Treat You Like You Are Worthless’: Internal DHS Reports on Abuses
by US Border Officials.” Human Rights Watch, 21 Oct. 2021, https://www.hrw.org/report/2021/10/21/they-treat-you-
you-are-worthless/internal-dhs-reports-abuses-us-border-officials; Human Rights First. “Family Detention at Berks
County Residential Center.” Human Rights First, 1 Dec. 2022, https://humanrightsfirst.org/wp-
content/uploads/2022/12/Final-Berks-Factsheet-12.1.2022_FINAL-1.pdf; Human Rights Watch. “‘The Freezer’
Abusive Conditions for Women and Children in US Immigration Holding Cells.” Human Rights Watch, 28 Feb. 2018,
https://www.hrw.org/report/2018/02/28/freezer/abusive-conditions-women-and-children-us-immigration-holding-
cells.
     9 Human Rights First. “A Pretense of Protection: The Dangerous Impact of the U.S. ‘Remain in Mexico’ Policy.”
Human Rights First, Jan. 2023, https://humanrightsfirst.org/wp-content/uploads/2023/01/PretenseofProtection-
21.pdf.


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only 18 percent of individuals in PACR and 30 percent in HARP passed their screenings, as shown
in the figure below.10




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This is compared to 40 percent nationwide (excluding HARP and PACR) during the same period.12

The following examples from the American Gateways experience highlight the impacts of
detention on asylum seekers and the ways in which the Proposed Rule would lead to magnified
due process violations for detained asylum seekers in particular:

    x    American Gateways has worked with a number of indigenous Kichwa speakers from
         Ecuador at the Hutto detention center. After months of difficulty in locating an interpreter
         that the detained women needed, American Gateways was able to locate one interpreter
         who speaks the correct dialect, which the women could understand. Coordinating a time
         when the interpreter is available that also corresponds to the rigid schedule at the detention
         center (so as not to conflict with numerous counts and other meetings at the facility) has
         often been difficult. Many of these women have family and community support in the U.S.
         and would be able to find representation and interpretation services much more easily if
         they were not detained and each of these women are asylum seekers who have suffered a
         great deal of trauma. Detention has exacerbated their trauma and also made them feel more
         isolated, due to the inability to communicate effectively with American Gateways, with
         ICE, with the Asylum Office, and with the Immigration Court.
    x    American Gateways represented an unaccompanied minor, Miss K, from Sierra Leone who
         had been incorrectly placed in adult detention at Hutto. She was 17 years old and spoke
         only Krio. Finding an appropriate interpreter was incredibly difficult and it also became
         clear that ICE and the contractors at the detention center were communicating (or
         attempting to communicate) with her in English despite the fact that she did not understand
         English. Several medical authorizations and other documents were explained to Miss K in
         English. Despite not understanding what she was signing, she did so out of fear. Once
         American Gateways was able to obtain a Krio interpreter (of which there are very limited

    10 U.S. Government Accountability Office. “Central America: Regional Development Plan Includes Strategies
to Address Migration, but Implementation Challenges Remain.” GAO-21-144, U.S. Government Accountability
Office, Feb. 2021, https://www.gao.gov/assets/gao-21-144.pdf.
    11 Id.
    12 Id.


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         numbers), American Gateways was able to review the documents she signed with her and
         discovered that she did not understand that she had consented to medical procedures,
         including a dental exam. Detention made communicating with Miss K more difficult
         because there were limited options for Krio interpreters. American Gateways had to
         prepare her asylum case via a phone interpreter when that interpreter was available. She
         should have been released, and correctly identified as an unaccompanied minor thus
         limiting her detention, but the language barrier was something that prevented this in the
         first place.

    x    American Gateways became very involved in the asylum cases of several women from
         East Africa because Immigration Judges were requiring proof of female genital mutilation
         (FGM) in order to grant these women asylum. However, the medical staff at Hutto would
         not perform the exams needed to prove FGM. American Gateways had to coordinate with
         an outside clinic and ICE to get the exams performed, but this proved to be burdensome.
         Detention only creates substantial barriers to these types of efforts, and pro se respondents
         would have little to no chance of prevailing on FGM-based claims when detention facilities
         refuse access to necessary medical exams.

Detention thus severely raises the hurdles asylum seekers already face in obtaining legal counsel,
locating interpreters who speak the asylum seeker’s language or dialect, or even collecting any
other resources—such as documents or medical proof—that could assist the asylum seeker with
overcoming the presumption of asylum ineligibility during credible fear screenings. It is
undeniable that these barriers raise grave due process concerns under the Fifth Amendment.

Furthermore, American Gateways emphasizes that the Proposed Rule fails to recognize the
significant due process concerns raised by the various parole processes that have already been
implemented and from which the Departments claim to draw “lessons” in drafting the Proposed
Rule—i.e., the Uniting for Ukraine (“U4U”) and Venezuela parole processes, as well as the
processes for Cubans, Haitians, and Nicaraguans, under which DHS imposed new consequences
for those who cross the border without authorization in the form of returns to Mexico. 88 Fed. Reg.
11704, 11706. These parole programs have been criticized as allowing only small numbers of
migrants into the United States, and having a disproportionately negative impact on low-income
individuals who may not be able to find sponsors as required under the programs. For example, up
to 30,000 “qualifying nationals” per month from Cuba, Nicaragua, Haiti and Venezuela have been
allowed “to reside legally in the United States for up to two years and to receive permission to
work here during that period” pursuant to the parole process created for migrants of those
nationalities.13 But as the Departments themselves acknowledge, the number of daily encounters
prior to announcement of these processes was 928 for Cuban, Haitian, and Nicaraguan nationals
alone, and over 1,100 for Venezuelan nationals—on average more than 740,220 per year, or
61,685 per month. See 88 Fed. Reg. 11704, 11706. Moreover, the parole process for Haitians



    13 Lavers, M. K. (2023, January 6). Advocacy groups criticize new Biden immigration policies. Washington
Blade: LGBTQ News, Politics, LGBTQ Rights, Gay News. https://www.washingtonblade.com/2023/01/05/advocacy-
groups-criticize-new-biden-immigration-policies/.


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ignores the fact that Haiti lacks a functioning government, creating severe obstacles for Haitian
migrants attempting to obtain passports in the first instance.14

    B. The Proposed Rule’s exceptions to the “rebuttable presumption” will be impossible
       to navigate for pro se asylum seekers.

The Proposed Rule creates a complex system to bypass the rebuttable presumption, which includes
demonstrating by the “preponderance of the evidence” that “exceptionally compelling
circumstances exist.” 88 Fed. Reg. 11704, 11723. The Proposed Rule specifically lists a number
of “per se grounds for rebuttal” of the presumption: acute medical emergency, imminent and
extreme threat to life or safety (such as rape, kidnapping, torture, or murder), and satisfying the
legal definition of a “victim of a severe form of tracking in persons.” Id.

Navigating this added layer to our already complex asylum system will be particularly problematic
given the application of the rebuttable presumption to the credible fear interview stage. Under this
Proposed Rule, the asylum officer determines whether the asylum seeker has rebutted this
presumption. Id. at 11724 (“For each noncitizen referred to an asylum officer for a credible fear
interview, the asylum officer would first determine if the noncitizen is covered by and fails to rebut
the presumption of ineligibility”). If they have not, they receive a negative fear determination for
their asylum claim. Id. The asylum officer will then determine whether the asylum seeker
established a “reasonable possibility” of persecution or torture—a standard that is higher than the
credible fear standard and more difficult to meet.15 They will likely navigate this rebuttable
presumption alone, as asylum seekers very rarely have attorney representation at this stage.

Asylum seekers face a difficult time obtaining representation for their initial asylum office
“hearing.” Legal representation rates among noncitizens in removal proceedings generally are low.
As of 2016, only 37% of individuals appearing before immigration courts secured legal
representation.16 Immigrants in detention were the least likely to obtain representation—only 14%
had legal counsel.17 Access to counsel is often outcome-determinative. Represented detainees are
ten-and a-half times more likely than their pro se counterparts to win their cases.18 The disparities
are similarly high for asylum seekers (both detained and non-detained). In Fiscal Year (FY) 2020,



     14 “Passport rush blamed on US policy stalls adoptions in Haiti.” Associated Press, February 10, 2023,
https://apnews.com/article/biden-politics-united-states-government-caribbean-haiti-
f98a84e03e56e2702fb6880ec1825f0f (noting that the “U.S. policy change has unleashed a rush for passports at Haiti’s
main immigration office,” and that “the ensuing demand for Haitian passports has overwhelmed Haiti’s passport office
in the capital, Port-au-Prince, where people with appointments cannot squeeze through the aggressive crowd or secure
new appointments.”).
     15 American Immigration Council. “Asylum in the United States.” Accessed March 26, 2023.
https://www.americanimmigrationcouncil.org/research/asylum-united-states.
     16 Ingrid Eagly & Steven Shafer, Access To Counsel In Immigration Court, Am. Immigration Council (Sept. 28,
2016), https://www.americanimmigrationcouncil.org/research/access-counsel-immigration-court.
     17 Eagly, https://www.americanimmigrationcouncil.org/research/access-counsel-immigration-court. Since 2000,
representation rates for detained individuals have ranged between roughly 10% and 30%. According to some
estimates, the rates leveled off between 2015 and 2017 at about 30%. See TRAC Immigration, Who Is Represented in
Immigration Court? (Oct. 16, 2017), https://trac.syr.edu/immigration/reports/485/.
     18 Eagly, https://www.americanimmigrationcouncil.org/research/access-counsel-immigration-court.


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the overall asylum denial rate rose for the eighth straight year to 71.6%.19 The denial rate for
unrepresented asylum seekers was a staggering 82.3% (versus 68.9% for represented asylum
seekers).20 During the first quarter of FY 2020, less than 27% of asylum requests were granted in
immigration court—a 36.6% decline from FY 2016.21 The asylum grant rate for Central American
migrants has declined even more steeply to 13.3%—a 50% decline from FY 2016.22 For those
caged in detention facilities, where myriad barriers frustrate efforts to access counsel and basic
legal information, circumstances are even more dire. Because noncitizens appearing before
immigration courts have no right to government-appointed counsel, pro se respondents must often
confront the complex process of drafting filings, filling out forms, and presenting arguments to a
judge with little to no legal, technical, or linguistic guidance. As a result, thousands of detained
immigrations without legal representation rely on legal services organizations like American
Gateways for pro se legal assistance.

Furthermore, even if they somehow proceed past the credible fear interview stage to a full asylum
adjudication, pro se respondents face significant challenges in appearing before immigration
courts without counsel. Most individuals in removal proceedings do not speak English and have
little, if any, familiarity with U.S. immigration law, which courts have described as “a maze of
hyper-technical statutes and regulations that engender waste, delay, and confusion,” including
among immigration lawyers.23 Applications for relief must be submitted in English, or they will
be deemed abandoned and the respondent ordered removed. Without the assistance of counsel,
few individuals—many of whom are torture or trauma survivors who suffer from post-traumatic
stress disorder or other mental health ailments—can successfully complete required legal forms,
much less complete them within the required time constraints. Given this, it is imperative that
asylum seekers be given an opportunity to obtain counsel and present all evidence in support of
their claims in full merits hearings before Immigration Judges.

The Biden administration faces a very real challenge at the southern border. This region is where
the most vulnerable asylum seekers arrive, including those who do not have access to a plane ticket
to fly to the United States through the newly established parole programs. However, the Proposed
Rule is not the answer to these challenges. This Proposed Rule adds unnecessary complexity to



     19 TRAC Immigration, Asylum Denial Rates Continue To Climb (Oct. 28, 2020),
https://trac.syr.edu/immigration/reports/630/ (asylum was granted in just 26.3% of cases; in an additional 2.1% of
cases, some other form of relief (e.g., statutory withholding of removal or withholding of removal under CAT) was
granted when asylum itself was denied); see also TRAC Immigration, Record Number of Asylum Cases in FY 2019
(Jan. 8, 2020), https://trac.syr.edu/immigration/reports/588/ (reporting asylum denial rate of 69% in FY 2019).
     20 TRAC Immigration, Asylum Denial Rates Continue to Climb, supra note 19. Between FY 2019 and FY 2020,
the percentage of unrepresented asylum seekers increased from 15.6% to 20%. Id. This decrease in representation is
one of several factors that have contributed to the increase in denial rates.
     21 Human Rights First, Grant Rates Plummet As Trump Administration Dismantles U.S. Asylum System, Blocks
and             Deports            Refugees,          Fact           Sheet,          2            (June         2020),
https://www.humanrightsfirst.org/sites/default/files/AdministrationDismantlingUSAsylumSystem.pdf. USCIS has
not released data for the first quarter of FY 2020. As of FY 2019, the asylum grant rate for affirmative asylum claims
adjudicated before USCIS was 30.7%—a decline of 28.8% since FY 2016. Id.
     22 Id. at 1; see also TRAC Immigration, Asylum Denial Rates Continue to Climb, supra note 19 (reporting that
denial rates for asylum seekers from Honduras, Guatemala, and El Salvador in FY 2020 were 87.3%, 85.8%, and 85%,
respectively).
     23 Drax v. Reno, 338 F.3d 98, 99 (2d Cir. 2003).


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the asylum process that will become insurmountable barriers to asylum, especially to those who
do not have legal counsel.

    C. The Proposed Rule’s presumption of asylum ineligibility would disparately harm
       black, brown, and indigenous asylum seekers.

The Proposed Rule discriminates against asylum seekers based on manner of entry and transit and
will have a racially disparate impact on asylum seekers from Africa, the Caribbean, and Latin
America. The proposed ban, which applies only to people who seek protection at the southern
border, will disproportionately harm people of color who do not have the resources or ability to
arrive in the United States by plane.

The United States and other countries employ visa regimes to prevent low income people of color
from reaching their countries’ territories to seek asylum while often allowing access to people from
wealthier and predominantly white nations.24 Imposing a ban on refugees seeking safety at the
southwest border will, like the Trump third-country transit ban, disproportionately harm people of
color who must undertake an often difficult and dangerous journey to arrive in the United States
by way of the southern border. During the period that the Trump transit ban was implemented,
immigration court asylum denial rates skyrocketed for many Black, Brown, and Indigenous
asylum seekers requesting safety at the southern border.25 For instance, asylum grant rates declined
by 45 percent for Cameroonian asylum applicants, 32.4 percent for Cubans, 29.9 percent for
Venezuelans, 17 percent for Eritreans, 12.9 percent for Hondurans, 12 percent for Congolese
(DRC), and 7.7 percent for Guatemalans from December 2019 to March 2020, compared to the
year before the third-country transit asylum ban began to affect refugee claims, according to data
analyzed by Syracuse University’s Transactional Records Access Clearinghouse.

Additionally, as discussed below, requiring asylum seekers to use CBP One to seek asylum at the
border disparately harms Black asylum seekers due to racial bias in its facial recognition
technology26 and is inaccessible to many Indigenous, African, and other asylum seekers due to
language barriers. This proposed asylum ban will significantly thwart the Biden administration’s
stated commitment to racial justice and equity.27

The ban also builds in nationality-based discrimination in access to asylum, as it largely bans
asylum for people who do not enter the United States via limited parole initiatives or previously
scheduled appointments at ports of entry while simultaneously only affording limited access to


     24 Women’s Refugee Commission. “Visa Regimes: A Threat to Migrants’ Access to Safety and Asylum.” June
2022. Accessed March 26, 2023. https://www.womensrefugeecommission.org/wp-content/uploads/2022/06/Visa-
Regimes-A-Threat-to-Migrants-Access-to-Safety-and-Asylum.pdf.
     25 Human Rights First. “The Asylum Ban: Ending the Ban and Protecting Asylum Seekers.” January 2023.
Accessed               March                 26,                2023.              https://humanrightsfirst.org/wp-
content/uploads/2023/01/AsylumBanFactsheet_final2.pdf.
     26 Melissa del Bosque, “Facial recognition bias frustrates Black asylum applicants to US, advocates say,” The
Guardian, February 8, 2023.
     27 “Executive Order on Further Advancing Racial Equity and Support for Underserved Communities Through
The Federal Government,” EO 13985, February 16, 2023, https://www.whitehouse.gov/briefing-room/presidential-
actions/2023/02/16/executive-order-on-further-advancing-racial-equity-and-support-for-underserved-communities-
through-the-federal-government/ (accessed March 26, 2023).


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parole initiatives for certain nationalities.28 For instance, while there are currently limited parole
initiatives for some nationalities, there are no similar parole initiatives for people from Guatemala,
Honduras, and El Salvador—and recent reporting has indicated the Biden administration plans to
wield the asylum ban against these nationalities.29

    D. The Proposed Rule’s presumption of asylum ineligibility raises concerns regarding
       domestic and international refugee and asylum law obligations.

As a signatory to the 1967 Protocol of the 1951 Convention Relating to the Status of Refugees (the
“1967 Protocol”),30 the United States has obligations under international law to afford protections
to individuals who have a well-founded fear of being persecuted in their home country.
Furthermore, when Congress passed the Refugee Act in 1980, thereby incorporating those
obligations into domestic law, it made its intentions abundantly clear: The purpose was to enforce
the “historic policy of the United States to respond to the urgent needs of persons subject to
persecution in their homelands.”31

The Proposed Rule, in its totality, contravenes this congressional intent and U.S. law governing
asylum access, expedited removal procedures, and prohibitions on the return of refugees to
persecution and torture. In purporting to protect the United States from asylum seekers, the
Proposed Rule turns the presumption in favor of extending protections to asylum seekers on its
head. The Departments’ attempt to dismantle the asylum system is unlawful and indefensible.

As a historical matter, the United States played a lead role in drafting the Refugee Convention in
the aftermath of World War II. By later acceding to the Refugee Protocol, the United States
promised to abide by the Convention’s legal requirements. These requirements include non-
discriminatory access to asylum, the prohibition against returning refugees to persecution, and the
prohibition against imposing improper penalties on people seeking refugee protection based on
manner of entry. The U.N. Refugee Agency (UNHCR) previously warned, with respect to the
Trump administration’s entry and transit bans, that such asylum bans are not consistent with
fundamental protections of refugee law, including the right to seek asylum, the principle of non-
refoulement, and the prohibition against penalties for irregular entry. By denying asylum where an
individual has not used certain limited migration pathways, the Proposed Rule attempts to
unlawfully use the existence of lawful pathways as a justification to deny access to asylum at the




     28 Human Rights Watch. “Biden’s New Plan No Help for Desperate Venezuelan Refugees.” Human Rights
Watch, 28 Oct. 2022, https://www.hrw.org/news/2022/10/28/bidens-new-plan-no-help-desperate-venezuelan-
refugees.
     29 NBC News. “Biden to block migrants with Trump-era Stephen Miller tactic.” NBC News, 8 Mar. 2022,
https://www.nbcnews.com/politics/immigration/biden-block-migrants-trump-era-stephen-miller-tactic-rcna71282.
     30 The 1967 Protocol incorporates Articles 2 through 34 of the 1951 Refugee Convention, making those
provisions binding on countries that have acceded to the 1967 Protocol, including countries like the United States that
have not acceded to the Convention itself. See Protocol Relating to the Status of Refugees, Jan. 31, 1967, 606 U.N.T.S.
267, https://www.refworld.org/docid/3ae6b3ae4.html (hereinafter the 1967 Protocol); Convention Relating to the
Status of Refugees, July 28, 1951, 189 U.N.T.S. 137, https://www.refworld.org/docid/3be01b964.html (hereinafter
the 1951 Refugee Convention).
     31 Refugee Act of 1980, § 101(a), Pub. L. No. 96–212, 94 Stat. 102 (1980) (hereinafter the 1980 Refugee Act).


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border.32 UNHCR, IOM, and UNICEF recently warned that the provision of safe pathways “cannot
come at the expense of the fundamental human right to seek asylum.”33

Furthermore, the Refugee Act of 1980, which incorporated these principles of the 1967 Protocol
into domestic U.S. law, provides any person arriving at a U.S. border the right to seek asylum,
regardless of the person’s status or manner of entry. Specifically, 8 U.S.C. 1158 provides that
people may apply for asylum regardless of manner of entry into the United States. It also delineates
limited exceptions where an asylum seeker may be denied asylum based on travel through another
country, but these restrictions only apply where an individual was “firmly resettled” in another
country (defined to mean the person was eligible for or received permanent legal status in that
country) or if the U.S. has a formal “safe third country” agreement with a country where refugees
would be safe from persecution and have access to fair asylum procedures. The statute prohibits
the administration from issuing restrictions on asylum that are inconsistent with these provisions.
8 U.S.C. 1231 codified the prohibition against returning refugees to countries where they face
persecution.

But the central function of this Proposed Rule is to limit asylum eligibility at the southern border
based on a person’s manner of entry or transit, their ability to access technology, and/or the number
of appointments that DHS decides to make available on a given day. The presumption of asylum
ineligibility that arises from this function directly contravenes the principle of non-discriminatory
asylum access codified by the 1980 Refugee Act. The Proposed Rule, which conditions access to
asylum on manner of entry and transit, would result in the return of refugees to danger and
unequivocally contravenes these provisions of U.S. law.

Indeed, this central premise of the Rule recalls similar bans issued by the Trump administration,
which were repeatedly struck down by federal courts.34 During the time it was in place, the Trump-
era rule that banned asylum seekers based on their manner of transit resulted in migrants with
strong claims to asylum being rapidly deported to their persecutors, and separated countless
families when refugees barred from asylum under the rule obtained lesser protections that did not
allow them to apply for family members abroad. These harms will inevitably recur under the
Proposed Rule.


     32 See generally Comment on the Proposed Rule by the Department of Homeland Security (DHS) and the
Executive Office for Immigration Review (EOIR) on Circumvention of Lawful Pathways | Human Rights Watch.
“Comment on the Proposed Rule by the Department of Homeland Security (DHS) and the Executive Office for
Immigration Review (EOIR) on Circumvention of Lawful Pathways,” March 24, 2023.
https://www.hrw.org/news/2023/03/24/comment-proposed-rule-department-homeland-security-dhs-and-executive-
office.
     33 “UNHCR, IOM and UNICEF Welcome New Pathways for Regular Entry to the US, Reiterate Concern over
Restrictions on Access to Asylum,” Joint statement by UNHCR, IOM, and UNICEF, October 14, 2022,
https://www.unhcr.org/en-us/news/press/2022/10/63497be44/unhcr-iom-and-unicef-welcome-new-pathways-for-
regular-entry-to-the-us-reiterate.html (accessed March 26, 2023).
     34 O.A. et al. v. Donald J. Trump et al. and S.M.S.R. et al. v. Donald J. Trump et al., No. 1:18-cv-02718-RDM,
Memorandum                    Opinion,               (D.D.C.                Aug.               2,              2019),
https://www.caircoalition.org/sites/default/files/Memo%20Opinion%20Dkt.%2092.pdf (accessed March 26, 2023);
Capital Area Immigrants’ Rights Coal. v. Trump, Civil Action No. 19-2117 (TJK) and Civil Action No. 19-2530
(TJK), (D.D.C. June 30, 2020), https://casetext.com/case/capital-area-immigrants-rights-coal-v-trump (accessed
March 26, 2023); East Bay v. Barr, No. 19-cv-04073-JST, (N.D. Cal. February 16, 2021),
https://www.aclu.org/cases/east-bay-v-barr?document=pi-order (accessed March 26, 2023).


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The Proposed Rule also violates specific congressional intent concerning asylum seekers. In 1996,
Congress created the expedited removal process through the Illegal Immigration Reform and
Immigrant Responsibility Act (IIRIRA). Under this process, asylum seekers placed in expedited
removal who establish a credible fear of persecution must be referred for full asylum adjudications.
The Proposed Rule attempts to unlawfully circumvent the credible fear screening standard
established by Congress, which was intended to be a low screening threshold. The government is
required to refer asylum seekers in expedited removal for full asylum adjudications if they can
show a “significant possibility” that they could establish asylum eligibility in a full hearing. The
Proposed Rule attempts to eviscerate this standard by first requiring asylum seekers to prove to an
asylum officer by a preponderance of evidence that they can rebut the presumption of asylum
ineligibility, and then requiring those who cannot overcome the presumption to meet a higher fear
standard before being permitted to seek protection. This provision is inconsistent with U.S. law.

In addition, the Proposed Rule violates the Refugee Convention’s prohibition against imposing
improper penalties on asylum seekers based on their irregular entry into the country of refuge. The
Departments explicitly note that the asylum ban would inflict “consequences” on people seeking
asylum—a blatant attempt to punish people based on their manner of entry into the United States.
These consequences could include the denial of access to asylum, deportation to harm, family
separation, and deprivation of a path to naturalization. With respect to the Trump administration’s
entry ban, UNHCR has stated that “[n]either the 1951 Convention nor the 1967 Protocol permits
parties to condition access to asylum procedures on regular entry.”35

The Proposed Rule’s implementation of a presumption of asylum ineligibility for many
noncitizens entering the U.S. from the southern border violates these key provisions of U.S. law
and treaty commitments. Indeed, similar Trump administration asylum bans targeting refugees at
the border based on manner of entry and transit were vacated and enjoined by federal courts for
violating these provisions of U.S. law, as discussed throughout these comments. In 2021, when
the Biden administration first considered adopting an asylum ban, legal counsel for the White
House warned that it could be struck down as illegal for the same reason that federal courts struck
down the Trump administration bans. Nonetheless, the Departments have decided to proceed with
this patently illegal policy.36

Finally, the Proposed Rule will, in effect, shift to other countries the responsibility for adjudicating
asylum claims, providing appropriate reception arrangements, and granting international




     35 See generally Comment on the Proposed Rule by the Department of Homeland Security (DHS) and the
Executive Office for Immigration Review (EOIR) on Circumvention of Lawful Pathways | Human Rights Watch.
“Comment on the Proposed Rule by the Department of Homeland Security (DHS) and the Executive Office for
Immigration Review (EOIR) on Circumvention of Lawful Pathways,” March 24, 2023.
https://www.hrw.org/news/2023/03/24/comment-proposed-rule-department-homeland-security-dhs-and-executive-
office.
     36 Camilo Montoya-Galvez, “U.S. Officials Clashed over Asylum Restriction, and Its Legality, Before Biden
Proposed It,” CBS News, March 1, 2023, https://www.cbsnews.com/news/immigration-biden-asylum-restrictions-
legality/ (accessed March 26, 2023).


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protection.37 This is true regardless of whether the individual is pursuing protection in the United
States. The Proposed Rule would have a potential significant negative impact on those individuals,
particularly in cases where they lack a reasonable connection or link to those States but do have
one to the United States.38

The Proposed Rule’s conditionality based on transit vitiates the right to seek asylum and the core
principle of non-refoulement.39 First, such conditionality amounts to a unilateral, de facto transfer
of responsibility for adjudication to another state without the necessary safeguards in place, and
second, the conditionality goes beyond the exhaustive exclusion framework contemplated in the
1951 Convention and its 1967 Protocol.40

Asylum seekers should ordinarily be processed in the state in which they seek asylum.41 As a
limited exception to this general rule, states may enter into an agreement with another state to
facilitate the transfer of asylum seekers.42 While international law does not prevent states from
entering into responsibility-sharing arrangements which allocate responsibility for adjudicating
asylum claims between them, it does require protections to ensure that the individual’s rights are
upheld.43 Any transfer of people who may be in need of international protection from one country
to another must ensure that asylum seekers receive the protection guaranteed to them by the 1951
Convention, including but not limited to, the protection from refoulement articulated in Article
33.44

    E. The Proposed Rule’s presumption of asylum ineligibility for asylum seekers who did
       not obtain an appointment to present at the border using CBP One raises equal access
       concerns.

The Proposed Rule introduces an entirely new concept into the U.S. asylum system—it renders
asylum at the southern border contingent on migrants’ ability to access and properly utilize a
mobile phone app prior to their arrival. All asylum seekers attempting to enter the United States
between ports of entry and those arriving at ports who are subject to the new transit grounds of
ineligibility will be ineligible for asylum unless they made an advance appointment to present at
the port of entry using the CBP One app.

Requiring access to technology to secure asylum access fails to account for gaps in technology,
language access, and economic disparities between groups of migrants attempting to use the app
while fleeing harm. The result will be an asylum system that leaves behind those with fewer
resources, often those in the greatest need.



    37 See generally United Nations High Commissioner for Refugees (UNHCR), “Comments of the United Nations
High Commissioner for Refugees on the Proposed Rule: Circumvention of Lawful Pathways” (20 March 2023),
accessed March 26, 2023, https://www.refworld.org/pdfid/6417e6674.pdf.
    38 Id.
    39 Id.
    40 Id.
    41 Id.
    42 Id.
    43 Id.
    44 Id.


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Furthermore, the CBP One app in its limited roll-out has already proven extremely flawed: users
have reported frequent glitches and appointments that fill up before they can access them; and the
facial recognition technology is racially disparate in application, often rejecting photos of migrants
with darker skin.45

CBP One is an extremely flawed government tool for requesting an appointment at a port of entry
and is inaccessible to many asylum seekers due to financial, language, technological, and other
barriers. It clearly discriminates against Black and Indigenous asylum seekers, and has very limited
appointment slots such that requiring asylum seekers to use the application essentially turns asylum
access into a lottery. The Proposed Rule attempts to establish CBP One as the only mechanism to
request asylum at the southern border and seeks to punish those who cannot wait indefinitely in
danger while they attempt to schedule an appointment.

The rule requires asylum seekers at the southwest border to schedule appointments through the
CBP One app and would generally deny asylum to refugees who arrive at a border port of entry
without a previously scheduled appointment and were not denied protection in a transit country.
CBP One is impossible for many asylum seekers to access or use,46 including those who do not
have the resources to obtain a smartphone, access to Wi-Fi, or the ability to navigate the app. The
app is not available in most languages—including Indigenous languages—and all error messages
are in English, effectively barring many asylum seekers from using the app. It also disparately
harms Black asylum seekers47 due to racial bias in its facial recognition technology, which has
prevented many from obtaining an appointment. Asylum seekers who can access and navigate the
app are still often unable to schedule appointments due to extremely limited slots and are forced
to remain in dangerous conditions indefinitely. Requiring asylum seekers to use CBP One at the
southwest border also raises concerns that the system will be used for illegal metering (based not
on wait time but on luck, technology skills, or resources to secure an appointment—turning asylum
access in effect into a lottery).

Requiring asylum seekers to schedule an appointment through CBP One has already resulted in
horrific violence and death, including the murder of a 17-year-old Cuban child in Mexico who was
required to wait weeks for an appointment.48

    F. If the Proposed Rule is to apply at all, it should not apply at the credible fear interview
       stage; asylum seekers should be given the opportunity to have an asylum hearing
       before the Immigration Judge.


     45 Herrera, J., Solomon, D., Articles, V., Holley, P., Cantu, R., Hooks, C., Hardy, M., Oldershausen, S. V.,
Scudder, C., Sharpe, P., Ross, R., O’Neal, S., & McCarthy, W. (2023, March 2). Fleeing for Your Life? There’s An
App for That. Texas Monthly. https://www.texasmonthly.com/news-politics/cbp-app-asylum-biden-administration/.
     46 Leutert, Stephanie, and Caitlyn Yates. “Asylum Processing at the U.S.-Mexico Border: February 2023.”
Strauss Center for International Security and Law. The University of Texas at Austin, February 2023.
https://www.strausscenter.org/wp-content/uploads/Feb_2023_Asylum_Processing.pdf.
     47 Bosque, Melissa del. “Facial Recognition Bias Frustrates Black Asylum Applicants to US, Advocates Say.”
the Guardian, February 8, 2023. https://www.theguardian.com/us-news/2023/feb/08/us-immigration-cbp-one-app-
facial-recognition-bias.
     48 Herrera, Jack, Dan Solomon, View Articles, Peter Holley, Ryan Cantu, Christopher Hooks, Michael Hardy, et
al. “Fleeing for Your Life? There’s An App for That.” Texas Monthly, March 2, 2023.
https://www.texasmonthly.com/news-politics/cbp-app-asylum-biden-administration/.


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The asylum ban would apply in the fundamentally flawed expedited removal process as well as in
full asylum adjudications before USCIS and the immigration court. As mentioned above,
expedited removal is the process that allows the U.S. government to deport people arriving at the
border without ever seeing an Immigration Judge if they do not express fear or do not pass a
“credible fear” screening interview where they must show a significant possibility that they could
establish asylum eligibility in a full hearing.

In expedited removal, asylum seekers covered by the Proposed Rule would be required to gather
the evidence and arguments necessary to “rebut the presumption of ineligibility” (in other words,
prove they fall within one of the few exceptions to the rule). Those who fail to do so would be
automatically subject to a higher screening standard (in violation of 8 U.S. Code § 1225 governing
credible fear interviews) and would face deportation to danger if they cannot pass the screening.
Even those who do pass would be subject to the presumption of ineligibility in an immigration
hearing and if barred from asylum would only be eligible for lesser forms of protection known as
Withholding of Removal or Convention Against Torture (CAT) protection. These protections do
not provide a pathway to citizenship, are subject to revocation at any time, and do not allow people
to petition for their spouses and children.

The Proposed Rule will also apply to immigrants in full asylum hearings before USCIS and the
immigration court. In these proceedings, asylum seekers would be denied asylum if they cannot
rebut the presumption of ineligibility, resulting in the deportation of many refugees and leaving
others with only lesser forms of protection available to them.

Asylum seekers who are banned by the rule during their credible fear interviews would have to
meet a heightened screening standard in order to access immigration court hearings and would be
subject to deportation if they cannot pass the screening. As discussed above, the Proposed Rule’s
attempt to illegally elevate the credible fear standard established by Congress violates the statute
and congressional intent in setting a low screening threshold.

Even when an applicant who applies for asylum affirmatively is able to develop a full evidentiary
record before an asylum officer, it is still extremely difficult to prevail on meritorious claims. For
detained applicants, it is even harder to prevail on a meritorious claim before an asylum officer.
Detained applicants are much more likely to be unrepresented and rarely have the ability to develop
evidence before the asylum officer. In these cases, it is even more critical that applicants have the
opportunity to present their claims at a full evidentiary hearing before an Immigration Judge.

Ultimately, to ensure that asylum seekers due process rights are protected, they must receive full
hearings in front of Immigration Judges—not just a de novo record review. Eliminating the full
hearing does not properly balance efficiency and fairness considerations especially, as noted
above, for detained and other pro se litigants. If the Departments want to increase efficiency, then
they should place all applicants in Section 240 removal proceedings instead of expedited removal
proceedings, which are only compounding the existing backlog of cases. Placing applicants whose
defensive asylum applications are denied by USCIS into full Section 240 proceedings will also
remedy the disparate treatment of defensive cases and affirmative cases, the latter of which are
referred to Immigration Court for a full hearing if denied by USCIS.




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                                                                   Adoption       Parental Child            Certify
                                                                                    Abduction              Documents



 Travel.State.Gov > Travel Advisories > Mexico Travel Advisory
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Mexico Travel Advisory
                                                                                       Travel Advisory
                       See State Summaries                              C K
  Travel Advisory                                                                      Levels
  October 5, 2022



   Last Updated: Reissued with updates to health
   information

   See state summaries and advisory levels below for
   information on your specific travel destination. Some areas of
   Mexico have increased risk of crime and kidnapping.

   Country Summary: Violent crime – such as homicide,
   kidnapping, carjacking, and robbery – is widespread and
   common in Mexico. The U.S. government has limited ability
   to provide emergency services to U.S. citizens in many areas                       Information for
   of Mexico, as travel by U.S. government employees to certain                       Vaccinated
   areas is prohibited or restricted. In many states, local                           Travelers
   emergency services are limited outside the state capital or
   major cities.

   U.S. citizens are advised to adhere to restrictions on U.S.                        The CDC's latest
   government employee travel. State-specific restrictions are                        guidance on
   included in the individual state advisories below. U.S.                            international travel
   government employees may not travel between cities after                           for vaccinated
   dark, may not hail taxis on the street, and must rely on                           people can be
   dispatched vehicles, including app-based services like Uber,                       found here .
   and regulated taxi stands. U.S. government employees should
   avoid traveling alone, especially in remote areas. U.S.
   government employees may not drive from the U.S.-Mexico
   border to or from the interior parts of Mexico, except daytime
   travel within Baja California and between Nogales and                              Assistance for
   Hermosillo on Mexican Federal Highway 15D, and between                             U.S. Citizens
   Nuevo Laredo and Monterrey on Highway 85D.

   Read the country information page for additional information                       U.S. Embassy
   on travel to Mexico.                                                               Mexico City
                                                                                      Paseo de la Reforma
   Do Not Travel To:                                                                  305
                                                                                      Colonia Cuauhtemoc
               Colima state due to crime and kidnapping.                              06500 Ciudad de
                                                                                                                                CLP_PC_033467
Mexico Travel Advisory
                         Case 4:18-cv-06810-JST Document 181-3 Filed 06/23/23 Page 272 of 283
                 Guerrero state due to crime.                         Mexico
                                                                      Mexico
                 Michoacan state due to crime and kidnapping.
                 Sinaloa state due to crime and kidnapping              Telephone
                 Tamaulipas state due to crime and kidnapping.          Emergency
                 Zacatecas state due to crime and kidnapping.         U.S. Citizen Services:
                                                                      From Mexico 800-681-
                                                                      9374 or 55-8526-2561.
       Reconsider Travel To:                                          From the United States
                                                                      1-844-528-6611
                 Baja California state due to crime and kidnapping.
                                                                        Fax
                 Chihuahua state due to crime and kidnapping.
                                                                        Email
                 Durango state due to crime.                          Contact Form
                 Guanajuato state due to crime and kidnapping.          Website
                 Jalisco state due to crime and kidnapping.           U.S. Embassy Mexico
                                                                      City
                 Morelos state due to crime.
                 Sonora state due to crime and kidnapping.

       Exercise Increased Caution When Traveling To:
                                                                       Mexico Map
                 Aguascalientes state due to crime.
                 Baja California Sur state due to crime.
                 Chiapas state due to crime.
                 Coahuila state due to crime.
                 Hidalgo state due to crime.
                 Mexico City due to crime.
                 Mexico State due to crime.
                 Nayarit state due to crime.
                 Nuevo Leon state due to crime and kidnapping.
                 Oaxaca state due to crime.
                                                                       View Larger Map
                 Puebla state due to crime and kidnapping.
                 Queretaro state due to crime.
                 Quintana Roo state due to crime and kidnapping.
                 San Luis Potosi state due to crime and kidnapping.
                                                                      Search for Travel
                                                                         Advisories
                 Tabasco state due to crime.
                                                                       Country or area
                 Tlaxcala state due to crime.
                 Veracruz state due to crime.

       Exercise Normal Precautions When Traveling To:

                 Campeche state
                 Yucatan state

       Visit our website for Travel to High-Risk Areas.

       If you decide to travel to Mexico:

                 Review the U.S. Embassy's webpage on COVID-19.
                 Visit the CDC’s web page on Travel and COVID-19.
                 Keep traveling companions and family back home
                 informed of your travel plans. If separating from
                                                                                               CLP_PC_033468
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         your travel group, send a friend your GPS location.
         If taking a taxi alone, take a photo of the taxi number
         and/or license plate and text it to a friend.
         Use toll roads when possible and avoid driving alone
         or at night. In many states, police presence and
         emergency services are extremely limited outside the
         state capital or major cities.
         Exercise increased caution when visiting local bars,
         nightclubs, and casinos.
         Do not display signs of wealth, such as wearing
         expensive watches or jewelry.
         Be extra vigilant when visiting banks or ATMs.
         Enroll in the Smart Traveler Enrollment Program
         (STEP) to receive Alerts and make it easier to locate
         you in an emergency.
         Follow the Department of State
         on Facebook and Twitter.
         Follow the U.S. Embassy on Facebook and Twitter.
         Review the Country Security Report for Mexico.
         Mariners planning travel to Mexico should check for
         U.S. maritime advisories and alerts, which include
         instructions on reporting suspicious activities and
         attacks to Mexican naval authorities.
         Prepare a contingency plan for emergency situations.
         Review the Traveler’s Checklist.
         Visit the CDC page for the latest Travel Health
         Information related to your travel.

Aguascalientes state – Exercise Increased Caution

Exercise increased caution due to crime.

Criminal activity and violence may occur throughout the state.

There are no restrictions on travel for U.S. government
employees in Aguascalientes state.

Baja California state – Reconsider Travel

Reconsider travel due to crime and kidnapping.

Transnational criminal organizations compete in the border
area to establish narco-trafficking and human smuggling
routes. Violent crime and gang activity are common.
Travelers should remain on main highways and avoid remote
locations. Of particular concern is the high number of
homicides in the non-tourist areas of Tijuana. Most homicides
appeared to be targeted; however, criminal organization
assassinations and territorial disputes can result in bystanders
being injured or killed. U.S. citizens and LPRs have been
victims of kidnapping.

U.S. government employees must adhere to the noted
restrictions:

         Mexicali Valley: U.S. government employees
         should avoid the Mexicali Valley due to the
         heightened possibility of violence between rival
                                                                             CLP_PC_033469
                 Case 4:18-cv-06810-JST Document 181-3 Filed 06/23/23 Page 274 of 283
         cartel factions. The boundaries of the restricted area
         are: to the east, the Baja California/Arizona and Baja
         California/Sonora borders; to the south, from La
         Ventana (on Highway 5) due east to the Colorado
         River; to the west, Highway 5; and to the north,
         Boulevard Lazaro Cardenas/Highway 92/Highway 1
         to Carretera Aeropuerto, from the intersection of
         Highway 1 and Carretera Aeropuerto due north to
         the Baja California/California border, and from that
         point eastward along the Baja California/California
         border.

Travelers may use Highways 2 and 2D to transit between
Mexicali, Los Algodones, and San Luis Rio Colorado during
daylight hours. Travelers may also use Highways 1 and 8 to
transit to and from the Mexicali Airport during daylight hours.
Travel on Highway 5 is permissible during daylight hours.

There are no other travel restrictions for U.S. government
employees in Baja California state. These include high-traffic
tourism areas of border and coastal communities, such
as Tijuana, Ensenada, and Rosarito.

Baja California Sur state – Exercise Increased Caution

Exercise increased caution due to crime.

Criminal activity and violence may occur throughout the state.

There are no restrictions on travel for U.S. government
employees in Baja California Sur state, which includes tourist
areas in: Cabo San Lucas, San Jose del Cabo, and La Paz.

Campeche state – Exercise Normal Precautions

Exercise normal precautions.

There are no restrictions on travel for U.S. government
employees in Campeche state.

Chiapas state – Exercise Increased Caution

Exercise increased caution due to crime.

Criminal activity and violence may occur throughout the state.

There are no restrictions on travel for U.S. government
employees in Chiapas state, which includes tourist areas
in: Palenque, San Cristobal de las Casas, and Tuxtla
Gutierrez.

Chihuahua state – Reconsider Travel

Reconsider travel due to crime and kidnapping.

Violent crime and gang activity are common. Most homicides
are targeted assassinations against members of criminal
organizations. Battles for territory between criminal groups
have resulted in violent crime in areas frequented by U.S.
citizens and U.S. government employees, including
restaurants and malls during daylight hours. Bystanders have
been injured or killed in shooting incidents. U.S. citizens and
LPRs have been victims of kidnapping.

                                                                             CLP_PC_033470
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U.S. government employee travel is limited to the following
areas with the noted restrictions:

         Ciudad Juarez: U.S. government employees may
         travel to the area of Ciudad Juarez bounded to the
         east by Bulevar Independencia; to the south by De
         los Montes Urales/Avenida Manuel J
         Clouthier/Carretera de Juarez; to the west by Via
         Juan Gabriel/Avenida de los Insurgentes/Calle
         Miguel Ahumada/Francisco Javier Mina/Melchor
         Ochampo; and to the north by the U.S.-Mexico
         border. Direct travel to the Ciudad Juarez
         airport (officially called Abraham Gonzalez
         International Airport) and the factories located along
         Bulevar Independencia and Las Torres is permitted.
         Travel to San Jeronimo is permitted only through the
         United States via the Santa Teresa U.S. Port of
         Entry; travel via Anapra is prohibited.

U.S. government employees may only travel from Ciudad
Juarez to Chihuahua City during daylight hours via Federal
Highway 45, with stops permitted only at the Federal Police
station, the Umbral del Milenio overlook area, the border
inspection station at KM 35, and the shops and restaurants on
Federal Highway 45 in the town of Villa Ahumada.

         Chihuahua City: U.S. government employees may
         travel at any time to the area of Chihuahua City
         bounded to the north by Avenida Transformación; to
         the east by Avenida Tecnológico/Manuel Gómez
         Morin; to the west by the city boundary; and to the
         south by Route 16/Calle Tamborel.
         Nuevo Casas Grandes Area (including Nuevo
         Casas Grandes, Casas Grandes, Mata Ortiz,
         Colonia Juarez, Colonia LeBaron, and
         Paquime): U.S. government employees may only
         travel to the Nuevo Casas Grandes area during
         daylight hours through the United States, entering
         Mexico at the Palomas U.S. Port of Entry on New
         Mexico Route 11 before connecting to Mexico
         Federal Highway 2, and subsequently Federal
         Highway 10, to Nuevo Casas Grandes. Employees
         are permitted to stay overnight in the cities of Nuevo
         Casas Grandes and Casas Grandes only.
         Ojinaga: U.S. government employees must travel to
         Ojinaga via U.S. Highway 67 and enter through the
         U.S. Port of Entry in Presidio, Texas.
         Palomas: U.S. government employees must travel to
         Palomas via U.S. highways through the U.S. Port of
         Entry in Columbus, New Mexico.

U.S. government employees may not travel to other areas of
Chihuahua, including Copper Canyon.

Coahuila state – Exercise Increased Caution

Exercise increased caution due to crime.

Violent crime and gang activity occur in parts of Coahuila
state.

                                                                            CLP_PC_033471
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       U.S. government employees must adhere to the following
       travel restrictions:

                 Zaragoza, Morelos, Allende, Nava, Jimenez, Villa
                 Union, Guerrero, and Hidalgo municipalities:
                 U.S. government employees may not travel to these
                 municipalities.
                 Piedras Negras and Ciudad Acuña: U.S.
                 government employees must travel directly from the
                 United States and observe a curfew from midnight to
                 6:00 a.m. in both cities.

       There are no other restrictions on travel for U.S. government
       employees in Coahuila state.

       Colima state – Do Not Travel

       Do not travel due to crime and kidnapping.

       Violent crime and gang activity are widespread. Most
       homicides are targeted assassinations against members of
       criminal organizations. ௗShooting incidents between criminal
       groups have injured or killed bystanders. U.S. citizens and
       LPRs have been victims of kidnapping.

       Travel for U.S. government employees is limited to the
       following areas with noted restrictions:

                 Manzanillo: U.S. government employee travel is
                 limited to the tourist and port areas of Manzanillo.
                 Employees traveling to Manzanillo from Guadalajara
                 must use Federal Toll Road 54D during daylight
                 hours.


       U.S. government employees may not travel to other areas of
       Colima state.

       Durango state – Reconsider Travel

       Reconsider travel due to crime.

       Violent crime and gang activity are common in parts of
       Durango state.

       U.S. government employees must adhere to the following
       travel restrictions:

                 West and south of Federal Highway 45: U.S.
                 government employees may not travel to this region
                 of Durango state.

       There are no other restrictions on travel for U.S. government
       employees in Durango state.

       Guanajuato state – Reconsider Travel

       Reconsider travel due to crime and kidnapping.

       Gang violence, often associated with the theft of petroleum
       and natural gas from the state oil company and other
       suppliers, occurs in Guanajuato, primarily in the south and
                                                                                     CLP_PC_033472
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central areas of the state. Of particular concern is the high
number of murders in the southern region of the state
associated with cartel-related violence. U.S. citizens and LPRs
have been victims of kidnapping.

U.S. government employees must adhere to the following
travel restrictions:

         Areas south of Federal Highway 45D: U.S.
         government employees may not travel to the area
         south of and including Federal Highway 45D,
         Celaya, Salamanca, and Irapuato.

There are no other restrictions on travel for U.S. government
employees in Guanajuato state, which includes tourist areas
in: San Miguel de Allende, Guanajuato City,
and surrounding areas.

Guerrero state – Do Not Travel

Do not travel due to crime.

Crime and violence are widespread. Armed groups operate
independently of the government in many areas of Guerrero.
Members of these groups frequently maintain roadblocks and
may use violence towards travelers. U.S. citizens and LPRs
have been victims of kidnapping in previous years.

Travel for U.S. government employees is limited to the
following area with the noted restrictions:

         Taxco: U.S. government employees must use
         Federal Highway 95D, which passes through
         Cuernavaca, Morelos, and stay within downtown
         tourist areas of Taxco. Employees may visit Grutas
         de Cacahuamilpa National Park during the day with
         a licensed tour operator.

U.S. government employees may not travel to other areas of
the state of Guerrero, including to tourist areas
in Acapulco, Zihuatanejo, and Ixtapa.

Hidalgo state – Exercise Increased Caution

Exercise increased caution due to crime.

Criminal activity and violence may occur throughout the state.

There are no restrictions on travel for U.S. government
employees in Hidalgo state.

Jalisco state – Reconsider Travel

Reconsider travel due to crime and kidnapping.

Violent crime and gang activity are common in parts of
Jalisco state. In Guadalajara, territorial battles between
criminal groups take place in tourist areas. Shooting incidents
between criminal groups have injured or killed innocent
bystanders. U.S. citizens and LPRs have been victims of
kidnapping.

U.S. government employees must adhere to the following
travel restrictions:
                                                                             CLP_PC_033473
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         Jalisco-Michoacan border and Federal Highway
         110: U.S. government employees may not travel to
         the area between Federal Highway 110 and the
         Jalisco-Michoacan border, nor travel on Federal
         Highway 110 between Tuxpan, Jalisco, and the
         Michoacan border.
         Federal Highway 80: U.S. government employees
         may not travel on Federal Highway 80 south of
         Cocula.
         State Highway 544: U.S. government employees
         may not travel on State Highway 544 between
         Mascota and San Sebastian del Oeste.

There are no other restrictions on travel for U.S government
employees in Jalisco state which includes tourist areas
in: Guadalajara Metropolitan Area, Puerto Vallarta
(including neighboring Riviera Nayarit), Chapala,
and Ajijic.

Mexico City (Ciudad de Mexico) – Exercise Increased
Caution

Exercise increased caution due to crime.

Both violent and non-violent crime occur throughout Mexico
City. Use additional caution, particularly at night, outside of
the frequented tourist areas where police and security patrol
more routinely. Petty crime occurs frequently in both tourist
and non-tourist areas.

There are no restrictions on travel for U.S. government
employees in Mexico City.

Mexico State (Estado de Mexico) – Exercise Increased
Caution

Exercise increased caution due to crime.

Both violent and non-violent crime occur throughout Mexico
State. Use additional caution in areas outside of the frequented
tourist areas, although petty crime occurs frequently in tourist
areas as well.

There are no restrictions on travel for U.S. government
employees in Mexico State.

Michoacan state – Do Not Travel

Do not travel due to crime and kidnapping.

Crime and violence are widespread in Michoacan state. U.S.
citizens and LPRs have been victims of kidnapping.

Travel for U.S. government employees is limited to the
following areas with the noted restrictions:

         Federal Highway 15D: U.S. government
         employees may travel on Federal Highway 15D to
         transit the state between Mexico City and
         Guadalajara.
         Morelia: U.S. government employees may travel by
         air and by land using Federal Highways 43 or 48D
                                                                             CLP_PC_033474
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         from Federal Highway 15D.
         Lazaro Cardenas: U.S. government employees
         must travel by air only and limit activities to the city
         center or port areas.

U.S. government employees may not travel to other areas of
the state of Michoacan, including the portions of
the Monarch Butterfly Reserve located in Michoacan.

Morelos state – Reconsider Travel

Reconsider travel due to crime.

Violent crime and gang activity are common in parts of
Morelos state.

There are no restrictions on travel for U.S. government
employees in Morelos state.

Nayarit state – Exercise Increased Caution

Exercise increased caution due to crime.

Criminal activity and violence may occur throughout Nayarit
state.

         There are no restrictions on travel for U.S
         government employees in Nayarit state, including
         tourist areas in: Riviera Nayarit (including Nuevo
         Vallarta, Punta Mita, Sayulita, and Bahia de
         Banderas), and Santa Maria del Oro.

Nuevo Leon state – Exercise Increased Caution

Exercise increased caution due to crime and kidnapping.

Criminal activity and violence may occur throughout the state.
U.S. citizens and LPRs have been victims of kidnapping.

There are no restrictions on travel for U.S. government
employees in Nuevo Leon state.

Oaxaca state – Exercise Increased Caution

Exercise increased caution due to crime.

Criminal activity and violence occur throughout the state.

U.S. travelers are reminded that U.S. government employees
must adhere to the following travel restrictions:

         Isthmus region: U.S. government employees may
         not travel to the area of Oaxaca bounded by Federal
         Highway 185D to the west, Federal Highway 190 to
         the north, and the Oaxaca-Chiapas border to the east.
         This includes the cities of Juchitan de Zaragoza,
         Salina Cruz, and San Blas Atempa.
         Federal Highway 200 northwest of Pinotepa: U.S.
         government employees may not use Federal
         Highway 200 between Pinotepa and the Oaxaca-
         Guerrero border.

There are no restrictions on travel for U.S. government
                                                                             CLP_PC_033475
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employees to other parts of Oaxaca state, which include
tourist areas in: Oaxaca City, Monte Alban, Puerto
Escondido, and Huatulco.

Puebla state – Exercise Increased Caution

Exercise increased caution due to crime and kidnapping.

Criminal activity and violence may occur throughout the state.
U.S. citizens and LPRs have been victims of kidnapping.

There are no restrictions on travel for U.S. government
employees in Puebla state.

Queretaro state – Exercise Increased Caution

Exercise increased caution due to crime.

Criminal activity and violence may occur throughout the state.

There are no restrictions on travel for U.S. government
employees in Queretaro state.

Quintana Roo state – Exercise Increased Caution

Exercise increased caution due to crime and kidnapping.

Criminal activity and violence may occur in any location, at
any time, including in popular tourist destinations. Travelers
should maintain a high level of situational awareness, avoid
areas where illicit activities occur, and promptly depart from
potentially dangerous situations. U.S. citizens and LPRs have
been victims of kidnapping.

While not directed at tourists, shootings between rival gangs
have injured innocent bystanders. Additionally, U.S. citizens
have been the victims of both non-violent and violent crimes
in tourist and non-tourist areas.

There are no restrictions on travel for U.S. government
employees in Quintana Roo state, which include tourist areas
in: Cancun, Cozumel, Isla Mujeres, Playa del
Carmen, Tulum, and the Riviera Maya. However,
personnel are advised to exercise increased situational
awareness after dark in downtown areas of Cancun, Tulum,
and Playa del Carmen, and to remain in well-lit pedestrian
streets and tourist zones.

San Luis Potosi state – Exercise Increased Caution

Exercise increased caution due to crime and kidnapping.

Criminal activity and violence may occur throughout the
state. U.S. citizens and LPRs have been victims of
kidnapping.

There are no restrictions on travel for U.S. government
employees in San Luis Potosi state.

Sinaloa state – Do Not Travel

Do not travel due to crime and kidnapping.

Violent crime is widespread. Criminal organizations are based
in and operating in Sinaloa. U.S. citizens and LPRs have been
                                                                            CLP_PC_033476
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victims of kidnapping.

Travel for U.S. government employees is limited to the
following areas with the noted restrictions:

         Mazatlan: U.S. government employees may travel
         to Mazatlan by air or sea only, are limited to the
         Zona Dorada and historic town center, and must
         travel via direct routes between these destinations
         and the airport and sea terminal.
         Los Mochis and Topolobampo: U.S. government
         employees may travel to Los Mochis and
         Topolobampo by air or sea only, are restricted to the
         city and the port, and must travel via direct routes
         between these destinations and the airport.

U.S. government employees may not travel to other areas of
Sinaloa state.

Sonora state – Reconsider Travel

Reconsider travel due to crime and kidnapping.

Sonora is a key location used by the international drug trade
and human trafficking networks. Violent crime is widespread.
U.S. citizens and LPRs have been victims of kidnapping.

U.S. government employees must adhere to the following
travel restrictions:

         Travel between Hermosillo and Nogales: U.S.
         government employees may travel between the U.S.
         Ports of Entry in Nogales and Hermosillo during
         daylight hours via Federal Highway 15 only.
         Travelers should exercise caution and avoid
         unnecessary stops as security incidents, including
         sporadic, armed carjackings, have been reported
         along this highway during daylight hours.
         Puerto Peñasco: U.S. government employees may
         travel between Puerto Peñasco and the Lukeville-
         Sonoyta U.S. Port of Entry during daylight hours via
         Federal Highway 8 only.
         San Luis Rio Colorado, Cananea, and Agua
         Prieta: U.S. government employees may travel
         directly from the nearest U.S. Port of Entry to San
         Luis Rio Colorado, Cananea, and Agua Prieta but
         may not go beyond the city limits.
         Triangular region near Mariposa U.S. Port of
         Entry: U.S. government employees may not travel
         to the triangular region west of the Mariposa U.S.
         Port of Entry, east of Sonoyta, and north of Altar
         municipality.
         Nogales: U.S. government employees may not travel
         to the area north of Avenida Tecnologico, west of
         Bulevar Luis Donaldo Colosio (Periferico), and east
         of Federal Highway 15D (Corredor Fiscal) and the
         residential areas to the east of Plutarco Elias Calles.
         U.S. government employees may not use taxi
         services in Nogales.
         Eastern and southern Sonora (including San
         Carlos Nuevo Guaymas and Alamos): U.S.
                                                                            CLP_PC_033477
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         government employees may not travel to areas of
         Sonora east of Federal Highway 17, the road
         between Moctezuma and Sahuaripa, and State
         Highway 20 between Sahuaripa and the intersection
         with Federal Highway 16. U.S. government
         employees may travel to San Carlos Nuevo Guaymas
         and Alamos; travel to Alamos is only permitted by
         air and within city limits. U.S. government
         employees may not travel to areas of Sonora south of
         Federal Highway 16 and east of Federal Highway 15
         (south of Hermosillo), as well as all points south of
         Guaymas, including Empalme, Guaymas, Obregon,
         and Navojoa.

U.S. government employees may travel to other parts of
Sonora state in compliance with the above restrictions,
including tourist areas in: Hermosillo, Bahia de Kino, and
Puerto Penasco.

Tabasco state – Exercise Increased Caution

Exercise increased caution due to crime.

Criminal activity and violence may occur throughout the state.

There are no restrictions on travel for U.S. government
employees in Tabasco state.

Tamaulipas state – Do Not Travel

Do not travel due to crime and kidnapping.

Organized crime activity – including gun battles, murder,
armed robbery, carjacking, kidnapping, forced
disappearances, extortion, and sexual assault – is common
along the northern border and in Ciudad Victoria. Criminal
groups target public and private passenger buses, as well as
private automobiles traveling through Tamaulipas, often
taking passengers and demanding ransom payments.

Heavily armed members of criminal groups often patrol areas
of the state and operate with impunity particularly along the
border region from Reynosa to Nuevo Laredo. In these areas,
local law enforcement has limited capacity to respond to
incidents of crime. Law enforcement capacity is greater in the
tri-city area of Tampico, Ciudad Madero, and Altamira, which
has a lower rate of violent criminal activity compared to the
rest of the state.

U.S. citizens and LPRs have been victims of kidnapping.

Travel for U.S. government employees is limited to the
following areas with the noted restrictions:

         Matamoros and Nuevo Laredo: U.S. government
         employees may only travel within a limited radius
         around and between the U.S. Consulates in Nuevo
         Laredo and Matamoros, their homes, the respective
         U.S. Ports of Entry, and limited downtown sites,
         subject to an overnight curfew.
         Overland travel in Tamaulipas: U.S. government
         employees may not travel between cities in
         Tamaulipas using interior Mexican highways. Travel
                                                                            CLP_PC_033478
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         between Nuevo Laredo and Monterrey is limited to
         Federal Highway 85D during daylight hours with
         prior authorization.

U.S. government employees may not travel to other parts of
Tamaulipas state.

Tlaxcala state – Exercise Increased Caution

Exercise increased caution due to crime.

Criminal activity and violence may occur throughout the state.

There are no restrictions on travel for U.S. government
employees in Tlaxcala state.

Veracruz state – Exercise Increased Caution

Exercise increased caution due to crime.

Violent crime and gang activity occur with increasing
frequency in Veracruz, particularly in the center and south
near Cordoba and Coatzacoalcos. While most gang-related
violence is targeted, violence perpetrated by criminal
organizations can affect bystanders. Impromptu roadblocks
requiring payment to pass are common.

There are no restrictions on travel for U.S. government
employees in Veracruz state.

Yucatan state – Exercise Normal Precautions

Exercise normal precautions.

There are no restrictions on travel for U.S. government
employees in Yucatan state, which include tourist areas
in: Chichen Itza, Merida, Uxmal, and Valladolid.

Zacatecas state – Do Not Travel

Do not travel due to crime and kidnapping.

Violent crime, extortion, and gang activity are widespread in
Zacatecas state. U.S. citizens and LPRs have been victims of
kidnapping.

Travel for U.S. government employees is limited to the
following areas with the noted restrictions:

         Zacatecas City: U.S. government employee travel is
         limited to Zacatecas City proper, and employees may
         not travel overland to Zacatecas City.
         U.S. government employees may not travel to other
         areas of Zacatecas state.




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